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                                            official capacity
                                                     capacity as    Attorney General
                                                                 as Attorney General of
                                                                                     of
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Andrew J.
Andrew    J. Pincus
             Pincus                               Alexander A.
                                                 Alexander    A. Berengaut
                                                                 Berengaut
Avi M.
Avi M. Kupfer
        Kupfer                                     Counsel  of Record
                                                   Counsel of  Record
MAYER B
MAYER      ROWN LLP
         BROWN    LLP                             David  M. Zionts
                                                  David M.   Zionts
1999 K
1999  K Street,
         Street, NW
                 NW                              Megan
                                                 Megan A. A. Crowley
                                                             Crowley
Washington, DC
Washington,    DC 20006
                    20006                        C OVINGTON &
                                                 COVINGTON     &B   URLING LLP
                                                                  BURLING  LLP
(202)
(202) 263-3220
       263-3220                                  One
                                                 One CityCenter
                                                      CityCenter
apincus@mayerbrown.com
apincus@mayerbrown.com                           850  Tenth Street,
                                                 850 Tenth    Street, NW
                                                                      NW
                                                 Washington,
                                                 Washington, DC DC 20001
                                                                     20001
Counsel   for Petitioners
Counsel for   Petitioners                        (202)
                                                 (202) 662-6000
                                                        662-6000
TikTok   Inc. and
TikTok Inc.   and ByteDance
                   ByteDance Ltd.Ltd.            aberengaut@cov.com
                                                 aberengaut@cov.com
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                                      John
                                      John E.
                                            E. Hall
                                               Hall
                                      Anders Linderot
                                      Anders  Linderot
                                      S.
                                      S. Conrad
                                         Conrad Scott
                                                 Scott
                                      C OVINGTON &
                                      COVINGTON    &B  URLING LLP
                                                    BURLING   LLP
                                      The New
                                      The       York Times
                                          New York   Times Building
                                                            Building
                                      620
                                      620 Eighth  Avenue
                                          Eighth Avenue
                                      New   York, New
                                      New York,        York 10018
                                                  New York  10018
                                      (212)
                                      (212) 841-1000
                                            841-1000

                                      Counsel for Petitioners
                                      Counsel for Petitioners
                                      TikTok Inc. and
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Prepared by the research staff of the
U.S.-China Economic and Security Review Commission (USCC.gov)                                                                                    Cam,




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       Violations, and Trade
                       Trade Loopholes
                             Loopholes
       Nicholas Kaufman,
       Nicholas Kaufman, Policy
                         Policy Analyst,
                                Analyst, Economics
                                         Economics and
                                                   and Trade
                                                       Trade
       This
       This Issue
             Issue Brief   details the
                    Brief details  the challenges
                                        challenges posed
                                                    posed by
                                                           by Chinese   “fast fashion”
                                                               Chinese "fast             platforms, including
                                                                              fashion" platforms,     including exploitation   of trade
                                                                                                                 exploitation of  trade
       loopholes;  concerns about
       loopholes; concerns    about production
                                      production processes,
                                                  processes, sourcing
                                                              sourcing relationships,
                                                                       relationships, product    safety, and
                                                                                        product safety,   and use
                                                                                                              use of
                                                                                                                  of forced
                                                                                                                     forced labor;
                                                                                                                            labor; and
                                                                                                                                    and
       violations  of intellectual  property  rights. These platforms  primarily   rely on  U.S. consumers    downloading
       violations of intellectual property rights. These platforms primarily rely on U.S. consumers downloading and using    and  using
       Chinese   apps to
       Chinese apps    to curate
                          curate and
                                  and deliver
                                       deliver products.
                                               products. The  primary focus
                                                          The primary         of this
                                                                       focus of  this Issue
                                                                                      Issue Brief  is first
                                                                                             Brief is first mover
                                                                                                            mover Shein,  about which
                                                                                                                  Shein, about   which
       the most
       the most data
                 data is
                       is available,
                          available, with
                                     with additional
                                           additional discussion  of Temu,
                                                       discussion of        which has
                                                                     Temu, which     has rapidly
                                                                                         rapidly expanded
                                                                                                 expanded itsits U.S. market presence
                                                                                                                 U.S. market  presence
       in the past
       in the past year.
                   year. These
                           These firms’  commercial success
                                  firms' commercial    success has
                                                                has encouraged
                                                                    encouraged both
                                                                                  both established
                                                                                        established Chinese
                                                                                                      Chinese e-commerce     platforms
                                                                                                               e-commerce platforms
       and startups
       and           to copy
            startups to copy its  model, posing
                              its model,  posing risks  and challenges
                                                  risks and             to U.S.
                                                            challenges to  U.S. regulations,  laws, and
                                                                                regulations, laws,   and principles  of market
                                                                                                          principles of market access.
                                                                                                                                access.

       Key
       Key Findings
           Findings
       Founded
       Founded inin 2008,
                    2008, Shein
                          Shein has emerged as
                                has emerged   as aa leading
                                                    leading player
                                                            player for  “fast fashion”
                                                                    for "fast fashion"* consumers.
                                                                                         consumers. Shein     and similar
                                                                                                      Shein and   similar companies
                                                                                                                          companies
       work to
       work  to market
                market new,
                         new, fashionable clothes from
                              fashionable clothes    from online  and celebrity
                                                          online and   celebrity trends
                                                                                  trends and
                                                                                          and deliver  them quickly
                                                                                               deliver them           to consumers.
                                                                                                              quickly to consumers.
       Amid increased
       Amid   increased online
                         online purchases
                                purchases and
                                           and fast-shifting   trends influenced
                                                fast-shifting trends   influenced byby social
                                                                                        social media,
                                                                                               media, fast   fashion has
                                                                                                        fast fashion has grown
                                                                                                                          grown to
                                                                                                                                 to aa
       $106.4
       $106.4 billion
               billion industry as of
                       industry as of 2022.
                                      2022. † 1 Using   data analysis
                                                Using data   analysis of
                                                                       of its
                                                                          its users'
                                                                              users’ search  history and
                                                                                     search history  and aa consolidated
                                                                                                             consolidated and
                                                                                                                           and high-
                                                                                                                                high-
       speed supply
       speed  supply chain,
                      chain, Shein  has outpaced
                             Shein has  outpaced competitors—including
                                                    competitors—including Zara  Zara and
                                                                                     and H&M—to
                                                                                           H&M—to take take aa dominant
                                                                                                               dominant position
                                                                                                                          position in
                                                                                                                                   in
       the U.S.
       the      market, aa business
           U.S. market,    business model
                                    model that
                                           that other
                                                 other Chinese
                                                        Chinese firms   are seeking
                                                                 firms are   seeking to
                                                                                      to replicate.
                                                                                         replicate.
        Numerous controversial
       Numerous     controversial practices
                                   practices have
                                              have supported
                                                   supported Shein     and other
                                                               Shein and     other Chinese   e-commerce firms'
                                                                                   Chinese e-commerce      firms’ rapid  growth.
                                                                                                                  rapid growth.
        Investigations  in 2022
        Investigations in  2022 alleged
                                alleged that
                                        that Shein
                                             Shein failed to declare
                                                   failed to declare that
                                                                     that it
                                                                          it had
                                                                             had sourced
                                                                                 sourced cotton
                                                                                          cotton from Xinjiang for
                                                                                                 from Xinjiang      its products,
                                                                                                                for its products,
       aa violation
          violation of
                    of the
                       the Uyghur
                            Uyghur Forced
                                    Forced Labor
                                           Labor Prevention    Act. These
                                                  Prevention Act.   These claims   are exacerbated
                                                                            claims are exacerbated by
                                                                                                    by further
                                                                                                       further reports  of illegal
                                                                                                               reports of  illegal
        labor conditions among
        labor conditions   among the
                                  the suppliers
                                      suppliers of
                                                of Chinese   fast fashion
                                                   Chinese fast   fashion firms   as well
                                                                           firms as  well as
                                                                                          as findings that Shein
                                                                                             findings that        products pose
                                                                                                            Shein products   pose

          Fast fashion
       ** Fast fashion is
                       is defined as cheap,
                          defined as        trendy clothing
                                     cheap, trendy          that samples
                                                   clothing that samples ideas
                                                                         ideas from the catwalk
                                                                               from the catwalk or
                                                                                                or celebrity
                                                                                                   celebrity culture
                                                                                                             culture and turns them
                                                                                                                     and turns them into garments at
                                                                                                                                    into garments at
          high speed
          high       to meet
               speed to meet emerging
                             emerging consumer     demand. Katherine
                                        consumer demand.     Katherine Saxon,   “Fast Fashion
                                                                         Saxon, "Fast Fashion 2021
                                                                                               2021 Guide
                                                                                                     Guide –— What
                                                                                                              What It
                                                                                                                   It Means,
                                                                                                                      Means, Problems, and Examples,”
                                                                                                                             Problems, and Examples,"
                           August 2021.
          Fibre2Fashion, August
         Fibre2Fashion,             2021. https://wwwfibre2fashion.com/industry-article/9163/fast-fashion-2021-guide-what-it-means-problems-
                                             https://www.fibre2fashion.com/industry-article/9163/fast-fashion-2021-guide-what-it-means-problems-
          and-examples.
          and-examples.
         China has
       † China  has accounted
                    accounted as the largest
                              as the largest supplier  to the
                                              supplier to the U.S.
                                                              U.S. apparel   market through
                                                                    apparel market  through 2021;
                                                                                             2021; Beth
                                                                                                    Beth Wright,
                                                                                                         Wright, "ANALYSIS:
                                                                                                                 “ANALYSIS: China      Market Share
                                                                                                                                China Market        of
                                                                                                                                              Share of
          US Apparel
          US  Apparel Imports
                       Imports Rises
                               Rises after  Four-Year Lull,”
                                      after Four-Year          Just Style,
                                                        Lull," Just         March 4,
                                                                     Style, March 4, 2022.
                                                                                      2022. https://www.just-style.com/features/analysis-china-market-
                                                                                            https://www.just-s@e.com/features/analysis-china-market-
          share-of-us-apparel-imports-rises-after-four-year-lull/.
         share-of-us-apparel-imports-rises-after-four-year-lull/.


       Disclaimer:
       Disclaimer: The   U.S.-China Economic
                    The U.S.-China   Economic and and Security  Review Commission
                                                      Security Review                 was created
                                                                          Commission was   created by
                                                                                                   by Congress
                                                                                                       Congress toto report
                                                                                                                     report on the national
                                                                                                                            on the national
       security implications
       security implications of the bilateral
                             of the bilateral trade
                                              trade and
                                                    and economic    relationship between
                                                        economic relationship            the United
                                                                                 between the United States
                                                                                                      States and the People's
                                                                                                             and the  People’s Republic
                                                                                                                               Republic of
                                                                                                                                         of
       China.  For more
       China. For  more information,  visit www.uscc.gov
                        infounation, visit  www.uscc.gov or    follow the
                                                           or follow   the Commission  on Twitter
                                                                           Commission on   Twitter at
                                                                                                   at @USCC_GOV.
                                                                                                       @USCC_GOV.
       This report is
       This report       the product
                      is the          of research
                              product of             performed by
                                          research perfolined     by professional   staff of
                                                                      professional staff  of the
                                                                                              the U.S.-China
                                                                                                   U.S.-China Economic
                                                                                                                Economic andand Security   Review
                                                                                                                                Security Review
       Commission      (USCC) and
       Commission (USCC)             was prepared
                                 and was  prepared toto support
                                                        support the
                                                                  the ongoing
                                                                      ongoing research
                                                                                research and   deliberations of
                                                                                         and deliberations   of the
                                                                                                                 the Commission.   Posting of
                                                                                                                     Commission. Posting    of this
                                                                                                                                               this
       report to
       report to the
                  the Commission’s       website is
                        Commission's website         intended to
                                                  is intended   to promote
                                                                    promote greater
                                                                             greater awareness
                                                                                      awareness and     understanding of
                                                                                                   and understanding    of developing
                                                                                                                           developing issues    for
                                                                                                                                        issues for
       congressional staff
       congressional    staff and the public,
                              and the public, in  support of
                                               in support  of the
                                                              the Commission’s     efforts to
                                                                   Commission's efforts    to "monitor,
                                                                                              “monitor, investigate,
                                                                                                          investigate, and report” on
                                                                                                                       and report" on U.S.-China
                                                                                                                                      U.S.-China
       economic    relations and
       economic relations          their implications
                               and their                for U.S.
                                         implications for   U.S. national
                                                                   national security,
                                                                            security, as  mandated by
                                                                                       as mandated     by Public
                                                                                                          Public Law
                                                                                                                  Law 106-398   (as subsequently
                                                                                                                       106-398 (as  subsequently
       modified in
       modified  in law,
                     law, see
                           see uscc.gov/charter).
                               uscc.gov/charter). The   public release
                                                   The public   release of this document
                                                                        of this document does     not imply
                                                                                           does not   imply an  endorsement by
                                                                                                            an endorsement   by the
                                                                                                                                the Commission,
                                                                                                                                    Commission,
       any
       any individual
           individual Commissioner,
                         Commissioner, or or the
                                             the Commission’s
                                                 Commission's otherother professional
                                                                         professional staff,
                                                                                       staff, of
                                                                                              of the
                                                                                                 the views
                                                                                                     views or
                                                                                                            or considerations
                                                                                                               considerations raised
                                                                                                                              raised in
                                                                                                                                     in this
                                                                                                                                        this staff-
                                                                                                                                             staff-
       prepared report.
       prepared  report.

       U.S.-China Economic
       U.S.-China Economic and
                           and Security Review Commission
                               Securit Review  Commission                                                                                           1
                                                                                                                                                    1

                                                                   APP-531
                                                                   APP-531
   USCA Case #24-1113                           Document #2060757                                 Filed: 06/20/2024                    Page 10 of 313

health hazards
health hazards and
               and environmental
                   environmental risks.
                                  risks. Shein and several
                                         Shein and  several other
                                                            other Chinese   fast fashion
                                                                   Chinese fast  fashion firms
                                                                                         firms have
                                                                                               have also
                                                                                                     also faced
                                                                                                           faced aa high
                                                                                                                    high
volume of
volume     copyright infringement
        of copyright              accusations and
                     infringement accusations  and lawsuits
                                                   lawsuits for
                                                             for intellectual property (IP)
                                                                 intellectual property (IP) rights violations.
                                                                                            rights violations.
Shein and similar
Shein and         companies present
          similar companies    present aa range of challenges
                                          range of             to U.S.
                                                   challenges to  U.S. interests,
                                                                       interests, including
                                                                                  including difficulties
                                                                                            difficulties monitoring
                                                                                                         monitoring supply
                                                                                                                       supply
sources and
sources and obstacles
             obstacles in  ensuring fair
                       in ensuring        market practices
                                    fair market             with U.S.
                                                  practices with        competitors. These
                                                                  U.S. competitors.   These companies     also exploit
                                                                                             companies also    exploit trade
                                                                                                                         trade
de minimis
de minimis import
            import exemptions,    through which
                    exemptions, through     which firms
                                                    firms make
                                                          make shipments
                                                                 shipments toto the
                                                                                the United
                                                                                    United States  that are
                                                                                            States that  are below
                                                                                                             below anan $800
                                                                                                                         $800
value and
value and are
          are therefore
              therefore not
                         not subject
                              subject to
                                      to import
                                          import duties.
                                                 duties. Taken   together, Shein
                                                         Taken together,           and similar
                                                                           Shein and   similar firms  serve as
                                                                                               firms serve   as aa case study
                                                                                                                   case study
of Chinese
of Chinese e-commerce     platforms outmaneuvering
           e-commerce platforms      outmaneuvering regulators     to grow
                                                        regulators to grow aa dominant
                                                                               dominant U.S.   market presence.
                                                                                         U.S. market   presence.

Shein’s
Shein's Business
        Business Model: User Data
                 Model: User Data and
                                  and Supply
                                      Supply Chain
                                             Chain Integration
                                                   Integration
 Shein’s business model
 Shein's business   model isis distinguished
                               distinguished by    its reliance
                                                by its reliance on  tracking and
                                                                 on tracking and analyzing
                                                                                  analyzing user
                                                                                             user data.
                                                                                                  data. Founded
                                                                                                         Founded byby Chris  Xu,
                                                                                                                      Chris Xu,
aa Chinese   national with
   Chinese national    with aa background
                                background in  in search
                                                  search engine    optimization, Shein
                                                           engine optimization,          draws on
                                                                                   Shein draws   on customer
                                                                                                    customer data    and search
                                                                                                                data and  search
 history with
 history with the
                the assistance
                    assistance of
                                of artificial
                                    artificial intelligence   (AI) algorithms
                                               intelligence (AI)   algorithms to
                                                                               to discern
                                                                                   discern emerging
                                                                                            emerging fashion
                                                                                                      fashion preferences
                                                                                                                preferences and
                                                                                                                              and
 patterns. 2 With
 patterns.2  With these
                   these rapid
                          rapid insights,
                                 insights, Shein    can begin
                                             Shein can    begin manufacturing
                                                                 manufacturing andand delivering
                                                                                       delivering clothes
                                                                                                  clothes to
                                                                                                           to market
                                                                                                              market ahead
                                                                                                                       ahead ofof
 competitors. To
 competitors.      aid its
                To aid     data collection,
                       its data collection, the
                                              the company's
                                                  company’s appapp also
                                                                    also requests that users
                                                                         requests that users share
                                                                                             share their
                                                                                                   their data
                                                                                                         data and
                                                                                                              and activity
                                                                                                                   activity from
                                                                                                                            from
 other apps,
 other apps, including
              including social   media, in
                         social media,       exchange for
                                          in exchange    for discounts  and special
                                                             discounts and  special deals  on Shein
                                                                                    deals on  Shein products.
                                                                                                     products.'3
While Shein
While          has aa supplier
       Shein has      supplier model
                               model built
                                      built on
                                            on tech-driven
                                                tech-driven insights,  it has
                                                             insights, it has struggled
                                                                              struggled to
                                                                                        to protect
                                                                                           protect user
                                                                                                    user data.
                                                                                                         data. New
                                                                                                               New York
                                                                                                                    York State
                                                                                                                           State
fined
fined Shein’s    owner, Zoetop—a
       Shein's owner,     Zoetop—a HongHong Kong-based
                                              Kong-based LLC       that  owns   Shein
                                                             LLC that owns Shein and   and  sister
                                                                                            sister company
                                                                                                   company     ROMWE—$1.9
                                                                                                               ROMWE—$1.9
million in
million  in 2022
            2022 for
                   for mishandling
                        mishandling credit
                                      credit card
                                             card and
                                                   and other
                                                        other personal
                                                               personal information
                                                                          information following
                                                                                       following anan investigation  of aa 2018
                                                                                                      investigation of     2018
cyberattack that
cyberattack   that exposed   the user
                   exposed the   user data
                                      data of
                                            of 39
                                               39 million
                                                  million accounts,
                                                           accounts, including
                                                                      including 800,000    users in
                                                                                  800,000 users     New York.'
                                                                                                 in New   York. 4 The
                                                                                                                  The office
                                                                                                                       office of
                                                                                                                              of
the New
the New York
           York attorney
                  attorney general
                            general found
                                     found that
                                            that Zoetop
                                                  Zoetop had
                                                          had misled
                                                               misled consumers
                                                                        consumers about
                                                                                    about the
                                                                                           the extent
                                                                                                extent of
                                                                                                       of its
                                                                                                          its data
                                                                                                              data breach,
                                                                                                                   breach, had
                                                                                                                             had
notified "only
notified  “only aa fraction”  of affected
                   fraction" of  affected users
                                          users that
                                                 that data
                                                      data credentials  had been
                                                           credentials had   been compromised,
                                                                                   compromised, andand had
                                                                                                        had not
                                                                                                            not reset the login
                                                                                                                reset the  login
credentials or
credentials     otherwise taken
             or otherwise   taken steps  to protect
                                   steps to protect many
                                                    many ofof the
                                                              the exposed
                                                                  exposed accounts.*
                                                                             accounts.* 55
Aside from
Aside           anticipating trends,
        from anticipating      trends, Shein’s
                                         Shein's success    also hinges
                                                   success also  hinges onon its  ability to
                                                                              its ability  to deliver
                                                                                              deliver products
                                                                                                       products to to consumers
                                                                                                                       consumers on  on aa
compressed timeline
compressed      timeline and
                          and atat low   cost. The
                                   low cost.    The company’s
                                                    company's integrated     supply chain
                                                                 integrated supply            enables it
                                                                                      chain enables        to bring
                                                                                                        it to bring clothes
                                                                                                                      clothes to
                                                                                                                               to market
                                                                                                                                  market
in about
in  about five
          five toto seven
                    seven days,     when its
                            days, when     its competitors  may take
                                               competitors may    take three
                                                                        three weeks
                                                                              weeks oror longer.'
                                                                                          longer.6 While
                                                                                                    While Shein      initially marketed
                                                                                                             Shein initially   marketed
products   it  purchased    from    third  parties, it has built a  sizeable  exclusive    supplier  base   in Guangdong
products it purchased from third parties, it has built a sizeable exclusive supplier base in Guangdong Province,               Province,
allowing it
allowing   it to
              to improve     manufacturing and
                  improve manufacturing         and delivery
                                                     delivery times.*
                                                              times. † According
                                                                       According to to aa 2021
                                                                                          2021 report
                                                                                                 report byby United    Kingdom (UK)-
                                                                                                              United Kingdom       (UK)-
based Channel
based   Channel 4,     nearly half
                    4, nearly  half ofof the
                                         the clothing
                                              clothing suppliers
                                                        suppliers in
                                                                  in Guangzhou
                                                                      Guangzhou areare partnered
                                                                                         partnered with
                                                                                                    with Shein.
                                                                                                            Shein.77 This
                                                                                                                     This control    over
                                                                                                                            control over
its own
its own supply
         supply enables
                   enables Shein
                             Shein toto produce   small batches
                                        produce small    batches of
                                                                 of apparel
                                                                     apparel quickly,
                                                                              quickly, rather   than the
                                                                                         rather than  the typical
                                                                                                           typical practice
                                                                                                                    practice of
                                                                                                                              of placing
                                                                                                                                  placing
bulk orders,
bulk  orders, as as U.S.
                    U.S. firms   do. Shein
                          firms do.            may produce
                                       Shein may    produce asas few
                                                                 few asas 50  pieces of
                                                                          50 pieces   of clothing
                                                                                          clothing in
                                                                                                    in its  first production
                                                                                                        its first                batch in
                                                                                                                  production batch     in
order to
order  to accelerate
          accelerate delivery
                        delivery toto buyers.'
                                       buyers. 8
Although founded
Although   founded inin China,
                        China, Shein    does not
                                 Shein does   not sell
                                                   sell domestically,
                                                        domestically, instead     marketing products
                                                                         instead marketing               exclusively abroad.
                                                                                               products exclusively    abroad. Its
                                                                                                                               Its
presence has
presence  has grown
              grown considerably
                      considerably in   the United
                                     in the United States   over the
                                                     States over the last   three years.
                                                                       last three  years. With
                                                                                          With an
                                                                                                an aggressive
                                                                                                   aggressive digital
                                                                                                                digital and
                                                                                                                        and social
                                                                                                                            social
media advertising
media   advertising campaign
                     campaign complemented
                                 complemented by   by the
                                                       the expansion
                                                           expansion of of online
                                                                            online buying
                                                                                    buying during
                                                                                             during the
                                                                                                     the COVID-19      pandemic,
                                                                                                          COVID-19 pandemic,
Shein’s  market share
Shein's market   share of
                        of fast
                           fast fashion  sales in
                                fashion sales     the United
                                               in the  United States
                                                              States rose    from 18
                                                                       rose from       percent in
                                                                                    18 percent  in March   2020 to
                                                                                                   March 2020    to 40
                                                                                                                    40 percent
                                                                                                                        percent in
                                                                                                                                in
March   2022. By
March 2022.9  9
                    November 2022,
                By November      2022, Shein    accounted for
                                         Shein accounted    for 50
                                                                50 percent
                                                                     percent of of all
                                                                                   all fast fashion sales
                                                                                       fast fashion sales in  the United
                                                                                                           in the  United States,
                                                                                                                           States,
ahead of
ahead  of brands   H&M (16
          brands H&M      (16 percent)
                               percent) and
                                         and Zara
                                              Zara (13
                                                    (13 percent).1°
                                                         percent). 10 After
                                                                      After surging
                                                                              surging past
                                                                                        past Tiktok,
                                                                                             Tiktok, Instagram,   and Twitter
                                                                                                      Instagram, and            to
                                                                                                                        Twitter to
briefly become
briefly become the
                 the most
                     most downloaded
                           downloaded appapp in  the United
                                              in the United States   in May
                                                             States in  May 2022,
                                                                               2022, Shein   maintained its
                                                                                      Shein maintained   its growing
                                                                                                             growing popularity,
                                                                                                                      popularity,

   Of the
** Of the leaked New York
          leaked New      resident accounts,
                     York resident accounts, 375,000 were via
                                             375,000 were     Shein accounts,
                                                          via Shein accounts, and
                                                                              and 255,294
                                                                                  255,294 New
                                                                                          New York residents were
                                                                                              York residents were not
                                                                                                                  not notified
                                                                                                                      notified about
                                                                                                                               about the
                                                                                                                                     the
   breach, according
   breach, according to  to the
                            the New
                                  New York
                                       York attorney
                                              attorney general's
                                                         general’s office.
                                                                    office. Zoetop   did not
                                                                            Zoetop did   not detect
                                                                                              detect the
                                                                                                      the intrusion   until it
                                                                                                          intrusion until      was later
                                                                                                                            it was         notified by
                                                                                                                                     later notified by its  payment
                                                                                                                                                        its payment
   processor that
   processor  that its
                    its systems    appeared to
                        systems appeared      to have
                                                  have been
                                                        been compromised.
                                                              compromised. In   In addition,
                                                                                   addition, Zoetop’s
                                                                                             Zoetop's public
                                                                                                         public statements      about the
                                                                                                                  statements about     the breach   misrepresented
                                                                                                                                            breach misrepresented
   the breach's
   the breach’s size
                 size and
                       and scope.     For example,
                             scope. For    example, Zoetop
                                                      Zoetop falsely
                                                               falsely stated  that only
                                                                        stated that only 6.4   million consumers
                                                                                          6.4 million   consumers werewere affected
                                                                                                                            affected by by the
                                                                                                                                           the breach
                                                                                                                                               breach and
                                                                                                                                                       and that
                                                                                                                                                             that the
                                                                                                                                                                  the
   company
   company waswas working
                    working notifying
                                 notifying all  of the
                                            all of  the impacted
                                                        impacted customers.
                                                                    customers. Zoetop     also represented,
                                                                                  Zoetop also   represented, falsely,    that it
                                                                                                                falsely, that       “ha[d] seen
                                                                                                                                 it "ha[d]        no evidence
                                                                                                                                            seen no              that
                                                                                                                                                     evidence that
   [customer] credit
   [customer]   credit card
                        card information     was taken
                               information was     taken from   [its] systems.”
                                                          from [its]  systems." Two    years later,
                                                                                  Two years   later, Zoetop
                                                                                                     Zoetop found     customer login
                                                                                                              found customer       login credentials
                                                                                                                                         credentials for
                                                                                                                                                      for ROMWE
                                                                                                                                                           ROMWE
   accounts available
   accounts  available on on the
                              the dark  web. New
                                   dark web.   New York     State Office
                                                      York State   Office of
                                                                           of the
                                                                              the Attorney
                                                                                   Attorney General,     Attorney General
                                                                                             General, Attorney      General James
                                                                                                                               James Secures
                                                                                                                                       Secures $1.9
                                                                                                                                                 $1.9 Million
                                                                                                                                                      Million from
                                                                                                                                                                from
   E-Commerce SHEIN
   E-Commerce      SHEIN and and ROMWE
                                   ROMWE Owner Owner Zoetop
                                                        Zoetop for
                                                                 for Failing
                                                                      Failing to  Protect Consumers'
                                                                               to Protect  Consumers’ Data,        October 12,
                                                                                                           Data, October     12, 2022.
                                                                                                                                    2022. https://ag.ny.gov/press-
                                                                                                                                          https://ag.ny.gov/press-
   release/2022/attorney-general-james-secures-19-million-e-commerce-shein-and-romwe-owner-zoetop.
   release/2022/attorney-general-james-secures-19-million-e-commerce-shein-and-romwe-owner-zoetop.
† Shein  utilizes aa distributed
  Shein utilizes      distributed network
                                     network ofof suppliers
                                                   suppliers across
                                                              across Guangdong       Province and
                                                                       Guangdong Province        and has
                                                                                                       has steadily
                                                                                                            steadily accumulated
                                                                                                                      accumulated more more than
                                                                                                                                              than 200
                                                                                                                                                    200 contracted
                                                                                                                                                          contracted
   manufacturers near
   manufacturers    near its  major shipping
                          its major   shipping hub
                                                 hub in  Guangzhou. These
                                                      in Guangzhou.            contractors are
                                                                        These contractors   are directly
                                                                                                directly fed
                                                                                                          fed direction
                                                                                                               direction from
                                                                                                                         from Shein      on production
                                                                                                                                  Shein on  production details
                                                                                                                                                         details and
                                                                                                                                                                 and
   batch size
   batch size in
               in order
                  order toto produce
                             produce Shein      products on
                                        Shein products     on an
                                                              an expedited    timeline. Lora
                                                                  expedited timeline.    Lora Jones,    “Shein: The
                                                                                               Jones, "Shein:    The Secretive      Chinese Brand
                                                                                                                       Secretive Chinese      Brand Dressing
                                                                                                                                                     Dressing GenGen
   Z,” BBC,
   Z,"        November 9,
       BBC, November            2021. https://www.bbc.com/news/business-59163278.
                            9, 2021.   https://www.bbc.com/news/business-59163278.


U.S.-China Economic
U.S.-China Economic and
                    and Security Review Commission
                        Securit Review  Commission                                                                                                                 2
                                                                                                                                                                   2

                                                                      APP-532
                                                                      APP-532
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finishing the year
finishing the year as
                   as the
                      the most
                          most downloaded
                               downloaded platform
                                          platform for  beauty and
                                                    for beauty and fashion
                                                                   fashion across
                                                                           across the
                                                                                  the U.S. application marketplace."
                                                                                      U.S. application marketplace. 11
With 27
With     million downloads,
      27 million downloads, Shein    had more
                               Shein had more than
                                              than double
                                                   double second-place
                                                           second-place Nike's
                                                                         Nike’s 12.5  million downloads.12
                                                                                12.5 million  downloads. 12
The  experience of
The experience   of Shein’s   expanding presence
                     Shein's expanding               in the
                                           presence in    the United
                                                              United States
                                                                      States runs  counter to
                                                                             runs counter    to that
                                                                                                that of
                                                                                                     of U.S.
                                                                                                         U.S. e-commerce
                                                                                                              e-commerce
platforms in
platforms in China. *
                       Major digital
             China.* Major   digital and
                                     and e-commerce
                                          e-commerce firms     face staunch
                                                         firms face staunch regulatory  barriers establishing
                                                                             regulatory barriers  establishing operations.
                                                                                                               operations.
including onerous
including onerous censorship
                   censorship restrictions   and stiff
                                restrictions and stiff legal
                                                        legal regulations
                                                              regulations regarding  cybersecurity. 13
                                                                          regarding cybersecurity.    13
                                                                                                         These market and
                                                                                                         These market and
non-market barriers
non-market  barriers forced  Amazon to
                      forced Amazon    to close
                                          close down   its Chinese
                                                down its            marketplace in
                                                           Chinese marketplace      2019. 14
                                                                                 in 2019.14

                                                 Chinese
                                                 Chinese e-Commerce
                                                         e-Commerce on
                                                                    on U.S.
                                                                       U.S. Social
                                                                            Social Media
                                                                                   Media
     Social media increasingly
     Social media               plays aa central
                   increasingly plays    central role in the
                                                 role in the marketing
                                                             marketing of
                                                                        of goods
                                                                           goods to
                                                                                 to U.S.
                                                                                    U.S. consumers.
                                                                                         consumers. In  2022, U.S.
                                                                                                     In 2022,       firms
                                                                                                               U.S. firms
     spent an
     spent  an estimated
               estimated $56  billion promoting
                          $56 billion  promoting their
                                                    their products
                                                           products on
                                                                     on social
                                                                        social networks.15
                                                                               networks. 15 Half
                                                                                            Half of
                                                                                                 of Gen
                                                                                                    Gen ZZ (18-25)
                                                                                                            (18–25) and
                                                                                                                      and
     Millennial (26–41) consumers
     Millennial (26-41)  consumers made
                                     made purchases     directly via
                                            purchases directly   via social media platforms,
                                                                     social media platforms, according
                                                                                             according to
                                                                                                        to the
                                                                                                           the 2022
                                                                                                               2022 U.S.
                                                                                                                     U.S.
     Digital
     Digital Trust
             Trust Survey. 16
                   Survey.16
     Among Chinese
     Among    Chinese e-commerce
                      e-commerce firms,
                                      firms, Shein and Temu—another
                                             Shein and Temu—another China-based
                                                                         China-based fast
                                                                                       fast fashion app—are particularly
                                                                                            fashion app—are    particularly
     well positioned
     well            to exploit
          positioned to exploit social   media platforms
                                 social media  platforms as
                                                         as aa key
                                                                key conduit
                                                                    conduit to
                                                                            to U.S.
                                                                               U.S. consumers.
                                                                                    consumers. Shein   has more
                                                                                                 Shein has  more than
                                                                                                                  than 250
                                                                                                                       250
     million followers
     million            across its
              followers across      social media
                                its social  media channels.
                                                   channels.'17
                                                                The  “#shein” TikTok
                                                                The "#shein"            tag has
                                                                               TikTok tag   has over
                                                                                                over 3.3
                                                                                                      3.3 billion  views. 18
                                                                                                          billion views.18
     Temu
     Temu has
            has invested heavily in
                invested heavily      social media
                                   in social media marketing,
                                                    marketing, purchasing
                                                                 purchasing 8,900  ads across
                                                                             8,900 ads across Meta
                                                                                               Meta platforms
                                                                                                     platforms in
                                                                                                                in January
                                                                                                                   January
     2023 alone.19
     2023  alone. 19
     Both
     Both Shein   and Temu
           Shein and         partner closely
                      Temu partner             with social
                                      closely with  social media
                                                            media influencers.
                                                                  influencers. In
                                                                                In aa standardized  application process
                                                                                      standardized application            on
                                                                                                                 process on
     its website,
     its website, Shein seeks influencer
                  Shein seeks  influencer partnerships
                                           partnerships in   exchange for
                                                         in exchange   for shopping
                                                                           shopping perks,
                                                                                       perks, bonuses,  and exposure
                                                                                              bonuses, and             to its
                                                                                                             exposure to  its
     “community of
     "community    of 1M+
                      1M+ followers.”   20
                            followers."20  Temu,   which requires
                                           Temu, which              applicants to
                                                           requires applicants  to have
                                                                                   have atat least 300 followers,
                                                                                             least 300 followers, similarly
                                                                                                                   similarly
     offers shopping
     offers shopping perks
                      perks and
                             and rewards.   21
                                   rewards.21  Influencers are
                                               Influencers  are encouraged
                                                                encouraged to to post  “haul” videos
                                                                                 post "haul"   videos of
                                                                                                       of Shein  and Temu
                                                                                                          Shein and   Temu
     products on
     products  on U.S.
                   U.S. social media platforms,
                        social media               where they
                                       platforms, where    they are
                                                                are shown
                                                                    shown trying
                                                                            trying on
                                                                                    on clothes   and other
                                                                                        clothes and  other accessories
                                                                                                            accessories and
                                                                                                                         and
     recommending    products to
     recommending products     to followers.
                                  followers.


Controversies
Controversies in
              in Shein’s
                 Shein's Business Practices
                         Business Practices
Several concerning patterns
Several concerning patterns and
                            and practices have aided
                                practices have aided Shein’s market approach.
                                                     Shein's market approach.
     ••            labor. Shein
           Forced labor.
           Forced                   cotton apparel
                              Shein cotton apparel sourcing
                                                    sourcing practices    appear to
                                                              practices appear    to be  in direct
                                                                                     be in         violation of
                                                                                            direct violation of the
                                                                                                                 the Uyghur
                                                                                                                     Uyghur Forced
                                                                                                                              Forced
           Labor  Prevention      Act. A  Bloomberg    investigation   published   in November     2022   cross-referenced
           Labor Prevention Act. A Bloomberg investigation published in November 2022 cross-referenced climate                climate
           and weather
           and weather signatures       on cotton
                            signatures on  cotton fabrics  used in
                                                   fabrics used   in clothing
                                                                     clothing from
                                                                              from Shein     to determine
                                                                                      Shein to  determine that
                                                                                                            that they
                                                                                                                  they originated
                                                                                                                        originated in
                                                                                                                                   in
           Xinjiang. †fi 22
           Xinjiang.     22
                            The
                            The Uyghur
                                  Uyghur Forced
                                          Forced Labor
                                                  Labor Prevention    Act bans
                                                         Prevention Act    bans the
                                                                                the use
                                                                                     use of
                                                                                          of Xinjiang
                                                                                             Xinjiang cotton
                                                                                                       cotton in
                                                                                                               in imported
                                                                                                                  imported clothing
                                                                                                                             clothing
           unless the
           unless the supplier
                        supplier can
                                   can definitively
                                       definitively prove
                                                    prove that
                                                           that the
                                                                the cotton
                                                                     cotton was
                                                                            was not
                                                                                 not aa product
                                                                                        product of
                                                                                                 of forced  labor, aa step
                                                                                                    forced labor,     step that
                                                                                                                           that Shein
                                                                                                                                Shein
           has not
           has not taken.1
                   taken. ‡ 23 23


     ••    Other  exploitative labor
           Other exploitative        practices and
                               labor practices and labor  violations. Outside
                                                    labor violations.         of concerns
                                                                      Outside of           about forced
                                                                                 concerns about  forced labor,
                                                                                                         labor, aa 2022
                                                                                                                   2022
           investigation by
           investigation by Channel
                             Channel 44 found
                                         found aa pattern of labor
                                                  pattern of       practice violations
                                                             labor practice violations at
                                                                                       at Shein-affiliated
                                                                                          Shein-affiliated factories
                                                                                                           factories in
                                                                                                                     in
           Guangzhou. 24 In
           Guangzhou.24   In one factory, workers
                             one factory, workers were
                                                   were paid
                                                        paid the
                                                             the equivalent of $556
                                                                 equivalent of $556 aa month
                                                                                       month to
                                                                                             to make
                                                                                                make 500    garments aa
                                                                                                       500 garments

   While no
** While no U.S.
            U.S. fast-fashion
                 fast-fashion company
                              company has attempted market
                                      has attempted market expansion
                                                           expansion into
                                                                     into China
                                                                          China comparable to Shein
                                                                                comparable to       or Temu's
                                                                                              Shein or Temu's inroads
                                                                                                              inroads in the U.S.
                                                                                                                      in the U.S.
   market, the
   market,   the experience  of U.S.
                 experience of  U.S. e-commerce
                                     e-commerce companies
                                                    companies inin China
                                                                   China isis noteworthy
                                                                              noteworthy duedue to
                                                                                                 to the
                                                                                                    the Chinese
                                                                                                        Chinese government's
                                                                                                                  government's strict
                                                                                                                                 strict regulation
                                                                                                                                        regulation of
                                                                                                                                                   of all
                                                                                                                                                       all
   internet  companies and
   internet companies    and expanded
                             expanded control
                                         control of
                                                 of the
                                                    the e-commerce
                                                        e-commerce market.
                                                                       market. Bien
                                                                                 Bien Perez,
                                                                                       Perez, "China's
                                                                                               “China’s E-Commerce
                                                                                                          E-Commerce Crackdown:
                                                                                                                          Crackdown: Timeline
                                                                                                                                        Timeline of
                                                                                                                                                  of
   Beijing’s Actions
   Beijing's   Actions to
                       to Bring
                          Bring Tech
                                 Tech Giants
                                       Giants in
                                               in Line
                                                  Line with
                                                        with National
                                                             National Policy,"
                                                                        Policy,” South
                                                                                   South China
                                                                                          China Morning
                                                                                                  Morning Post,    November 22,
                                                                                                             Post, November    22, 2021.
                                                                                                                                   2021.
   https://www.scmp.com/tech/policy/article/3156719/chinas-e-commerce-crackdown-timeline-beijings-actions-bring-tech-giants.
   https://www.scmp.com/tech/policy/article/3156719/chinas-e-commerce-crackdown-timeline-beijings-actions-bring-tech-giants.
  Bloomberg contracted
† Bloomberg                Agroisolab GmbH,
                contracted Agroisolab   GmbH, aa lab
                                                  lab in
                                                      in Germany,
                                                         Germany, to to test
                                                                        test the
                                                                             the items
                                                                                 items using
                                                                                        using stable
                                                                                               stable isotope  analysis. This
                                                                                                      isotope analysis.        process measures
                                                                                                                          This process  measures variations
                                                                                                                                                   variations
   in the isotopes
   in the           of carbon,
          isotopes of  carbon, oxygen,    and hydrogen
                                oxygen, and   hydrogen in in the
                                                             the cotton’s   fibers to
                                                                 cotton's fibers    to determine
                                                                                       determine the
                                                                                                   the climate
                                                                                                        climate characteristics
                                                                                                                characteristics and
                                                                                                                                 and altitude  of the
                                                                                                                                      altitude of the region
                                                                                                                                                       region
   where it
   where      was grown.
           it was grown. Shein’s
                          Shein's cotton   was compared
                                    cotton was              with two
                                                compared with     two fabric   samples from
                                                                       fabric samples           Xinjiang and.
                                                                                         from Xinjiang     and. The
                                                                                                                The first  batch of
                                                                                                                     first batch of Shein
                                                                                                                                     Shein garments    tested,
                                                                                                                                            garments tested,
   which included
   which             pants and
           included pants   and aa blouse,
                                   blouse, matched
                                           matched the
                                                     the Xinjiang
                                                          Xinjiang samples
                                                                    samples with
                                                                               with only
                                                                                      only slight
                                                                                           slight variations.
                                                                                                   variations. Sheridan   Prasso, "Shein's
                                                                                                               Sheridan Prasso,    “Shein’s Cotton
                                                                                                                                             Cotton Tied    to
                                                                                                                                                      Tied to
   Chinese Region
   Chinese    Region Accused
                      Accused ofof Forced
                                   Forced Labor,"
                                           Labor,” Bloomberg
                                                     Bloomberg News,      November 20,
                                                                  News, November       20, 2022.
                                                                                           2022. https://www.bloomberg.com/news/features/2022-11-
                                                                                                   https://www.bloomberg.com/news/features/2022-11-
   21/shein-s-cotton-clothes-tied-to-xinjiang-china-region-accused-of-forced-labor?sref=mxbIZFb4.
   21/shein-s-cotton-clothes-tied-to-xinjiang-china-region-accused-of-forced-labor?srefrmxbIZFb4.
  Xinjiang Province
‡ Xinjiang    Province is the source
                       is the          of 87
                               source of  87 percent
                                             percent of   Chinese cotton
                                                       of Chinese   cotton asas of
                                                                                of 2021.
                                                                                    2021. U.S.
                                                                                           U.S. importers
                                                                                                  importers bought
                                                                                                              bought about
                                                                                                                      about $8.4   million worth
                                                                                                                             $8.4 million   worth ofof cotton
                                                                                                                                                       cotton
   products from
   products   from China
                    China in  2022, despite
                           in 2022,  despite restrictions;
                                             restrictions; Sheridan
                                                           Sheridan Prasso,     “Shein’s Cotton
                                                                      Prasso, "Shein's     Cotton Tied    to Chinese
                                                                                                    Tied to  Chinese Region
                                                                                                                      Region Accused
                                                                                                                               Accused of of Forced
                                                                                                                                             Forced Labor,"
                                                                                                                                                     Labor,”
   Bloomberg News,
  Bloomberg              November 20,
                 News, November       20, 2022.
                                          2022. https://www.bloomberg.com/news/features/2022-11-21/shein-s-cotton-clothes-tied-to-xinjiang-
                                                  https://www.bloomberg.com/news/features/2022-11-21/shein-s-cotton-clothes-tied-to-xinjiang-
   china-region-accused-of-forced-labor?sref=mxbIZFb4.
   china-region-accused-of-forced-labor?srefrmxbIZFb4.


U.S.-China Economic
U.S.-China Economic and
                    and Security Review Commission
                        Securit Review  Commission                                                                                                          3
                                                                                                                                                            3

                                                                   APP-533
                                                                   APP-533
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          day. 25 Workers
          day."   Workers had     their first
                             had their        month’s pay
                                        first month's   pay withheld
                                                            withheld inin order  to ensure
                                                                          order to         worker retention.
                                                                                    ensure worker   retention. In another factory,
                                                                                                               In another   factory,
          workers had
          workers    had no
                          no base
                              base pay
                                    pay and
                                         and were
                                               were instead
                                                     instead paid
                                                             paid 44 cents
                                                                     cents aa garment.
                                                                               garment. These    workers were
                                                                                         These workers    were fined
                                                                                                                 fined heavily
                                                                                                                         heavily for
                                                                                                                                 for
          mistakes in
          mistakes       stitching or
                      in stitching  or sewing.
                                        sewing.2626
                                                    The
                                                    The report
                                                         report further
                                                                further found     workers in
                                                                          found workers    in Shein
                                                                                               Shein factories   working 18-hour
                                                                                                      factories working     18-hour
          workdays with
          workdays     with one
                             one day  off aa month,
                                  day off     month, clear  violations of
                                                      clear violations  of both
                                                                            both Chinese
                                                                                  Chinese labor   laws and
                                                                                           labor laws  and Shein’s   own supplier
                                                                                                            Shein's own     supplier
          Code
          Code of of Conduct.
                     Conduct.2727
                                   Shein  has faced
                                   Shein has   faced other
                                                      other recent  accusations of
                                                            recent accusations     of violating
                                                                                      violating labor
                                                                                                 labor laws.
                                                                                                       laws. Reuters
                                                                                                              Reuters reported
                                                                                                                         reported in
                                                                                                                                  in
          2021 that
          2021   that Shein   made false
                      Shein made           statements and
                                    false statements    and lacked
                                                            lacked disclosures
                                                                    disclosures regarding
                                                                                  regarding its
                                                                                             its labor conditions, in
                                                                                                 labor conditions,     violation of
                                                                                                                    in violation  of
          the UK’s
          the UK's Modern
                        Modern Slavery      Act. 28
                                  Slavery Act.      A 2021
                                                 28 A  2021 report
                                                              report from
                                                                      from Public
                                                                             Public Eye,
                                                                                      Eye, aa Swiss   Human Rights
                                                                                               Swiss Human                watchdog,
                                                                                                                Rights watchdog,
          described six
          described    six Shein-affiliated
                           Shein-affiliated factories   without suitable
                                              factories without  suitable fire
                                                                           fire exits
                                                                                exits and
                                                                                      and workers
                                                                                          workers placed
                                                                                                    placed on
                                                                                                            on extended     working
                                                                                                                extended working
          hours of
          hours      about 75
                  of about     hours aa week
                            75 hours     week with
                                                with no
                                                      no overtime
                                                          overtime pay,   another violation
                                                                    pay, another   violation of
                                                                                             of Chinese
                                                                                                 Chinese labor
                                                                                                          labor law.  29
                                                                                                                 law.29
    ••           hazards. The
         Health hazards.
         Health             The environmental
                                   environmental andand health
                                                        health impacts
                                                                impacts of of Shein  products are
                                                                              Shein products   are also
                                                                                                   also facing  scrutiny. A
                                                                                                        facing scrutiny.  A CBC
                                                                                                                            CBC
         Marketplace     investigation found
         Marketplace investigation        found Shein  clothing materials
                                                 Shein clothing   materials containing
                                                                              containing high
                                                                                          high levels  of potentially
                                                                                                levels of  potentially hazardous
                                                                                                                       hazardous
         chemicals, including
         chemicals,   including lead,
                                   lead, perfluoroalkyl  (PFA), and
                                          perfluoroalkyl (PFA),   and phthalates.
                                                                      phthalates. ** 30
                                                                                     30
                                                                                        Health Canada
                                                                                        Health          tested aa Shein
                                                                                               Canada tested            jacket for
                                                                                                                  Shein jacket for
         toddlers and
         toddlers and found
                        found itit to
                                    to have
                                       have 20  times the
                                             20 times the amount
                                                          amount of of lead
                                                                        lead considered
                                                                             considered safe
                                                                                          safe for children, while
                                                                                               for children, while aa purse
                                                                                                                      purse from
                                                                                                                            from
         Shein  contained over
         Shein contained     over five    times the
                                     five times  the accepted
                                                     accepted level
                                                               level for
                                                                      for children.31
                                                                           children.31 Environmental     group Greenpeace
                                                                                        Environmental group      Greenpeace also
                                                                                                                             also
         released
         released aa study  alleging that
                     study alleging     that various
                                             various chemicals
                                                     chemicals used
                                                                 used in
                                                                       in Shein
                                                                          Shein products
                                                                                 products exceeded    the level
                                                                                           exceeded the   level permitted  by EU
                                                                                                                 permitted by  EU
         regulations.
         regulations.'322
    ••    Climate  and environmental
          Climate and                    impact. The
                        environmental impact.      The UN
                                                       UN Environmental
                                                             Environmental Program         estimates that
                                                                               Program estimates       that due
                                                                                                            due to
                                                                                                                 to its
                                                                                                                     its high-volume
                                                                                                                         high-volume
          output, the
          output, the fashion
                      fashion industry    is responsible
                                industry is  responsible for
                                                           for 10 percent of
                                                               10 percent  of annual
                                                                               annual global
                                                                                        global carbon     emissions, more
                                                                                                 carbon emissions,      more than
                                                                                                                                than all
                                                                                                                                      all
          international flights
          international          and maritime
                         flights and  maritime shipping     combined. At
                                                 shipping combined.     At its
                                                                            its current
                                                                                current rate    of growth,
                                                                                          rate of  growth, the
                                                                                                             the fashion    industry’s
                                                                                                                 fashion industry's
          greenhouse gas
          greenhouse   gas emissions
                            emissions will
                                       will surge
                                             surge more
                                                   more than
                                                          than 50  percent by
                                                                50 percent by 2030.
                                                                                2030.3'33 Shein  and other
                                                                                          Shein and   other fast
                                                                                                             fast fashion    platforms
                                                                                                                  fashion platforms
          are exacerbating
          are exacerbating this
                             this trend
                                  trend by
                                        by supplying
                                            supplying higher
                                                       higher volumes
                                                                volumes of
                                                                         of cheaply
                                                                             cheaply produced
                                                                                        produced clothing.
                                                                                                    clothing. AA Bloomberg
                                                                                                                  Bloomberg reportreport
          found  that Shein
          found that          products contain
                      Shein products    contain 95.2  percent new
                                                 95.2 percent   new plastics
                                                                     plastics rather   than recycled
                                                                               rather than               materials, while
                                                                                              recycled materials,     while the
                                                                                                                              the large
                                                                                                                                   large
          volume of
          volume   of shipments
                      shipments and and low
                                        low reuse
                                              reuse rate  among Shein
                                                    rate among           products increases
                                                                   Shein products                  textile waste.34
                                                                                     increases textile     waste. Good
                                                                                                                   34
                                                                                                                       Good on     You,
                                                                                                                               on You,
          which ranks
          which         the environmental
                 ranks the   environmental impact
                                              impact of
                                                      of fashion
                                                         fashion companies,
                                                                  companies, gavegave Shein    its lowest
                                                                                       Shein its   lowest rating.
                                                                                                           rating.' 35


    ••    Copyright    infringement. Shein
          Copyright infringement.               and other
                                        Shein and    other Chinese
                                                            Chinese e-commerce
                                                                       e-commerce platforms       and their
                                                                                      platforms and    their suppliers
                                                                                                             suppliers have
                                                                                                                         have been    met
                                                                                                                               been met
          with numerous
          with   numerous claims
                             claims that
                                     that they
                                           they consistently
                                                 consistently violate
                                                                 violate U.S.
                                                                          U.S. IP  law, with
                                                                               IP law,   with the
                                                                                               the Wall           Journal reporting
                                                                                                          Street Journal
                                                                                                    Wall Street            reporting in in
          2022 that
          2022   that Shein
                      Shein in  particular had
                             in particular   had over
                                                  over 50
                                                        50 outstanding
                                                           outstanding federal
                                                                          federal cases  over three
                                                                                   cases over   three years
                                                                                                      years levied   against it
                                                                                                             levied against      alleging
                                                                                                                              it alleging
          trademark or
          trademark    or copyright
                           copyright infringement.
                                      infringement.36  36
                                                          In
                                                          In aa June
                                                                June 2021    case, AirWear
                                                                      2021 case,    AirWear International,     the parent
                                                                                              International, the   parent company
                                                                                                                           company of   of
          shoe seller
          shoe   seller Dr.
                        Dr. Martens,    filed aa lawsuit
                             Martens, filed                against Shein
                                                 lawsuit against            for its
                                                                    Shein for   its alleged
                                                                                    alleged "clear
                                                                                             “clear intent   to sell
                                                                                                     intent to  sell counterfeits"
                                                                                                                      counterfeits” and
                                                                                                                                      and
          for
          for copying    the company’s
               copying the                  designs. 37 Complaints
                             company's designs.37       Complaints and and cases
                                                                            cases against
                                                                                   against Shein
                                                                                            Shein range
                                                                                                   range from    major U.S.
                                                                                                          from major           designers
                                                                                                                        U.S. designers
          and retailers
          and   retailers like
                          like Ralph
                               Ralph Lauren
                                      Lauren to to independent     artists who
                                                   independent artists     who claim
                                                                                claim Shein    suppliers have
                                                                                        Shein suppliers   have used
                                                                                                                 used their
                                                                                                                       their designs
                                                                                                                             designs onon
          Shein    clothing without
          Shein clothing      without permission.
                                        permission. Independent         designers who
                                                        Independent designers        who earn     more of
                                                                                           earn more     of their
                                                                                                            their income
                                                                                                                   income online
                                                                                                                             online areare
          particularly vulnerable,
          particularly   vulnerable, asas they
                                           they have
                                                 have fewer
                                                        fewer resources    with which
                                                                resources with    which to
                                                                                         to pursue
                                                                                             pursue legal   action against
                                                                                                     legal action    against Shein    and
                                                                                                                              Shein and
          its suppliers."
          its suppliers. 38
    ••   Avoiding tariffs
         Avoiding           and customs
                    tariffs and            inspections. Shein
                                 customs inspections.   Shein clothing   and accessories
                                                               clothing and  accessories average
                                                                                         average about
                                                                                                  about $11
                                                                                                         $11 per item. 39 This
                                                                                                             per item.39  This
         under-market pricing
         under-market     pricing means
                                    means Shein
                                            Shein is
                                                  is exempt  from the
                                                     exempt from    the standard
                                                                        standard 16.5  percent import
                                                                                  16.5 percent          duty and
                                                                                                import duty  and 7.5
                                                                                                                  7.5 percent
                                                                                                                      percent
         tariff specific
         tariff           to China.
                specific to  China.4040
                                        De  minimis packages
                                        De minimis   packages are
                                                                are also
                                                                    also exempt   from customs
                                                                          exempt from   customs inspection,  allowing Shein
                                                                                                 inspection, allowing   Shein
         to ship
         to ship directly   to consumers
                  directly to  consumers andand helping
                                                 helping the
                                                         the company    avoid scrutiny
                                                             company avoid              over its
                                                                               scrutiny over its cotton sourcing. Shein
                                                                                                 cotton sourcing.         also
                                                                                                                   Shein also
         benefits from
         benefits  from aa tax
                            tax break
                                 break in
                                        in China:
                                           China: in
                                                   in response  to the
                                                      response to  the escalating
                                                                       escalating U.S.-China   trade dispute,
                                                                                   U.S.-China trade  dispute, in 2018 China
                                                                                                              in 2018   China
         waived export
         waived   export tariffs
                           tariffs for
                                   for direct-to-consumer  businesses. 41
                                       direct-to-consumer businesses.'




* Research involving humans suggest that exposure to high levels of these PFAs and phthalates may pose risks of liver and kidney damage;
* Research involving humans suggest that exposure to high levels of these PFAs and phthalates may pose risks of liver and kidney damage;
   Agency for
   Agency   for Toxic
                Toxic Substance
                      Substance and
                                and Disease
                                    Disease Registry,
                                             Registry, "What
                                                       “What are
                                                              are the
                                                                  the health
                                                                      health effects
                                                                             effects of
                                                                                     of PFAS?"
                                                                                        PFAS?” Center
                                                                                                 Centerfor
                                                                                                        for Disease
                                                                                                            Disease Control, November 1,
                                                                                                                    Control, November    2022.
                                                                                                                                      1, 2022.
   https://www.atsdr.cdc.gov/pfas/health-effects/index.html.
   https.//www.atsdr.                                         New Jersey
                      cdc.gov/pfas/health-effects/index.html. New          Department of
                                                                    Jersey Department       Health, Hazardous
                                                                                         of Health, Hazardous Substance
                                                                                                               Substance Fact
                                                                                                                         Fact Sheet, May 2010.
                                                                                                                              Sheet, May 2010.
   https://nj.gov/health/eoh/rtkweb/documents/fs/1454.pdf.
   https://nigov/health/eoh/rtkweb/documents/fs/1454.pdf

U.S.-China Economic
U.S.-China Economic and
                    and Security Review Commission
                        Securit Review  Commission                                                                                          4
                                                                                                                                            4

                                                            APP-534
                                                            APP-534
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                                         De Minimis Packages
                                         De Minimis          from China
                                                    Packages from China Evade
                                                                        Evade Tariffs
                                                                              Tariffs
     Chinese   e-commerce’s growth
     Chinese e-commerce's     growth in    the United
                                       in the  United States     has been
                                                         States has   been aided
                                                                            aided by
                                                                                   by exploitation
                                                                                       exploitation of
                                                                                                     of favorable
                                                                                                         favorable import
                                                                                                                     import
     regulations,
     regulations, especially the high
                  especially the high de   minimis threshold
                                      de minimis     threshold for
                                                                for U.S.  customs inspection
                                                                     U.S. customs   inspection and
                                                                                               and tariffs.
                                                                                                    tariffs. A
                                                                                                             A de   minimis
                                                                                                                de minimis
     threshold demarcates
     threshold              the value
                demarcates the  value below
                                      below which
                                              which goods
                                                       goods are
                                                              are considered
                                                                   considered too
                                                                               too small
                                                                                   small to
                                                                                         to be
                                                                                             be subject
                                                                                                subject to
                                                                                                         to tariffs
                                                                                                            tariffs or
                                                                                                                    or most
                                                                                                                       most
     inspections.  In the
     inspections. In  the United
                          United States, this threshold
                                 States, this threshold was
                                                          was raised   from $200
                                                                raised from  $200 toto $800  in 2016.42
                                                                                       $800 in  2016. 42 By  contrast, it
                                                                                                         By contrast,  it is
                                                                                                                          is
     roughly  $7 (renminbi
     roughly $7  (renminbi [RMB]
                            [RMB] 50)   in China.
                                    50) in China.'43


     A sizeable
     A            majority of
        sizeable majority    of de
                                de minimis
                                   minimis packages,     which increased
                                             packages, which    increased from
                                                                           from 410.5    million packages
                                                                                   410.5 million  packages inin fiscal  year (FY)
                                                                                                                fiscal year   (FY)
     2018 to
     2018   to 685.1   million packages
                685.1 million   packages inin FY
                                               FY 2022,
                                                   2022, came
                                                          came from
                                                                 from China.   44
                                                                        China.44  This  correlates closely
                                                                                  This correlates   closely with
                                                                                                             with the
                                                                                                                   the rise   of e-
                                                                                                                        rise of  e-
     commerce deliveries
     commerce     deliveries from
                              from China   to the
                                    China to  the United
                                                  United States.
                                                          States.45 Shipments
                                                                  45
                                                                     Shipments ofof de
                                                                                    de minimis
                                                                                       minimis packages
                                                                                                 packages from     China in
                                                                                                            from China        2021
                                                                                                                          in 2021
     were about
     were   about seven
                  seven times
                          times the
                                 the amount
                                     amount ofof Canada,  the second-largest
                                                 Canada, the  second-largest shipper
                                                                               shipper of
                                                                                        of de
                                                                                           de minimis
                                                                                              minimis packages
                                                                                                         packages toto the
                                                                                                                       the United
                                                                                                                            United
     States. 46
     States.46  Customs    data indicate
                Customs data    indicate that
                                         that in
                                               in 2022,  more than
                                                  2022, more   than 10  percent of
                                                                     10 percent   of Chinese
                                                                                     Chinese imports
                                                                                              imports by by value
                                                                                                            value now
                                                                                                                   now arrive
                                                                                                                         arrive as
                                                                                                                                 as
     de minimis
     de  minimis shipments,
                   shipments, upup from  well under
                                    from well   under 11 percent
                                                         percent aa decade ago. In
                                                                    decade ago.      2021, the
                                                                                  In 2021, the Federal
                                                                                                Federal Reserve
                                                                                                          Reserve Bank
                                                                                                                   Bank of of New
                                                                                                                              New
     York estimated
     York               that the
            estimated that   the U.S.
                                  U.S. Department
                                       Department ofof the
                                                        the Treasury
                                                            Treasury loses  as much
                                                                      loses as  much asas $10
                                                                                          $10 billion
                                                                                               billion aa year
                                                                                                          year in tariffs through
                                                                                                               in tariffs through
     tariff strategies
     tariff strategies like de minimis.47
                       like de  minimis. 47


Temu, Others Follow
Temu, Others Follow Shein’s
                    Shein's Model
                            Model
Temu
Temu hashas replicated
             replicated Shein’s  process of
                         Shein's process  of quickly
                                             quickly manufacturing
                                                      manufacturing andand shipping
                                                                            shipping clothing     to U.S.
                                                                                        clothing to        consumers. Temu
                                                                                                      U.S. consumers.  Temu
recently   sponsored two
recently sponsored     two advertisements
                           advertisements that
                                           that aired
                                                aired during
                                                       during Super
                                                               Super Bowl
                                                                      Bowl LVII    at aa cost
                                                                             LVII at     cost of
                                                                                              of approximately
                                                                                                 approximately $14
                                                                                                                 $14 million
                                                                                                                      million
dollars, causing
dollars,  causing aa 45 percent surge
                     45 percent surge in
                                      in downloads
                                         downloads ofof its app and
                                                        its app and aa daily active user
                                                                       daily active  user jump
                                                                                           jump of
                                                                                                 of 20
                                                                                                     20 percent
                                                                                                        percent on the day
                                                                                                                on the day of
                                                                                                                           of
the Super
the         Bowl. 48 As
    Super Bowl.'      As of
                         of March
                            March 2023,
                                   2023, Temu    and Shein
                                          Temu and    Shein rank  in the
                                                             rank in the top
                                                                         top five
                                                                              five free
                                                                                   free apps
                                                                                         apps on
                                                                                               on the
                                                                                                   the Apple
                                                                                                       Apple Store,  ahead of
                                                                                                             Store, ahead  of
retailers  Amazon and
retailers Amazon     and Walmart.49
                         Walmart. 49
Like
Like Shein,
      Shein, Temu’s     success raises
              Temu's success       raises flags   about its
                                           flags about        business practices.
                                                          its business   practices. Temu’s
                                                                                    Temu's lack      of affiliation
                                                                                               lack of   affiliation with
                                                                                                                     with established
                                                                                                                           established
brands has
brands  has brought
            brought concerns
                      concerns of of product
                                     product quality
                                                quality as
                                                         as well
                                                             well as
                                                                  as accusations
                                                                     accusations ofof copyright
                                                                                      copyright infringement.
                                                                                                   infringement. As As of
                                                                                                                       of April
                                                                                                                           April 2023,
                                                                                                                                  2023,
Temu   has received
Temu has   received 235      complaints in
                       235 complaints      in the
                                               the last
                                                   last year
                                                        year with
                                                               with the
                                                                     the Better
                                                                          Better Business
                                                                                 Business Bureau,       earning aa 2.1
                                                                                              Bureau, earning       2.1 out
                                                                                                                        out of
                                                                                                                             of 55 stars
                                                                                                                                   stars
customer   rating. 50
                       PDD     Holdings,     Temu’s     parent   company     that  operates    the  related
customer rating. 5° PDD Holdings, Temu's parent company that operates the related e-commerce platform          e-commerce     platform
Pinduoduo
Pinduoduo inin China,    was accused
               China,** was    accused by by China
                                              China Labor
                                                     Labor Watch
                                                              Watch ofof "extreme
                                                                         “extreme overtime,"
                                                                                   overtime,” requiring       employees to
                                                                                                 requiring employees      to work
                                                                                                                             work 380
                                                                                                                                    380
hours per
hours per month.51
          month. 51 The
                      The company
                            company faced       protests online
                                        faced protests            after several
                                                         online after           worker deaths
                                                                        several worker   deaths in   2021. 52 Additionally,
                                                                                                  in 2021.52    Additionally, in
                                                                                                                               in April
                                                                                                                                  April
2023, CNN
2023,  CNN reported     that multiple
             reported that    multiple cybersecurity
                                         cybersecurity teams
                                                          teams found
                                                                 found sophisticated
                                                                         sophisticated malware
                                                                                        malware on  on Pinduoduo’s     mobile app
                                                                                                       Pinduoduo's mobile       app for
                                                                                                                                     for
Google Android
Google   Android devices.
                   devices. The     malware enabled
                              The malware                 the Pinduoduo
                                                enabled the    Pinduoduo appapp to
                                                                                to bypass
                                                                                   bypass user
                                                                                             user security
                                                                                                  security permissions
                                                                                                              permissions and
                                                                                                                            and access
                                                                                                                                 access
private messages,
private messages, change      settings, view
                    change settings,     view data
                                                data from   other apps,
                                                     from other   apps, and
                                                                         and prevent  uninstallation. The
                                                                              prevent uninstallation.    The investigation
                                                                                                               investigation followed
                                                                                                                              followed
Google’s suspension
Google's  suspension of  of the
                            the app
                                app from     the Google
                                      from the   Google Play     store in
                                                           Play store  in March   2023. †fi 53
                                                                           March 2023.      53
Numerous other
Numerous    other established
                    established and
                                 and emerging
                                     emerging Chinese    e-commerce firms
                                                Chinese e-commerce    firms seek   to penetrate
                                                                             seek to            the U.S.
                                                                                      penetrate the       market by
                                                                                                    U.S. market    by modeling
                                                                                                                      modeling
their strategies
their strategies onon Shein   and Temu’s
                        Shein and  Temu's businesses.
                                            businesses. LightInTheBox,
                                                         LightlnTheBox, anan established
                                                                              established Chinese
                                                                                           Chinese e-commerce
                                                                                                     e-commerce firm firm listed
                                                                                                                           listed
on the
on  the New
        New York
              York Stock
                       Stock Exchange
                             Exchange since
                                        since 2013,  has invested
                                              2013, has            heavily in
                                                          invested heavily in aa social
                                                                                 social media
                                                                                        media strategy
                                                                                               strategy that
                                                                                                         that mimics
                                                                                                              mimics Shein’s.
                                                                                                                        Shein's.
With the
With   the help
           help ofof aa New
                        New York-based
                             York-based advertising
                                           advertising agency,
                                                       agency, LightInTheBox
                                                                LightlnTheBox has      now partnered
                                                                                  has now   partnered with
                                                                                                       with more
                                                                                                             more than
                                                                                                                     than 2,000
                                                                                                                           2,000
influencers, and
influencers,   and the
                     the company's
                          company’s products
                                       products reach   200 million
                                                 reach 200   million people
                                                                     people via
                                                                              via influencer-posted    content. 54 Clothing
                                                                                   influencer-posted content.54     Clothing e-e-
commerce is
commerce     is aa surging
                   surging Chinese
                            Chinese industry.
                                      industry. Chinese  state media
                                                Chinese state  media outlet
                                                                      outlet Sixth
                                                                             Sixth Tone
                                                                                     Tone reported  that there
                                                                                          reported that   there are
                                                                                                                 are more
                                                                                                                      more than
                                                                                                                             than
ten other
ten  other startup-style
           startup-style Chinese
                            Chinese firms   founded since
                                     firms founded   since 2019
                                                            2019 emulating
                                                                  emulating Shein’s    business model
                                                                             Shein's business    model and
                                                                                                         and expanding
                                                                                                              expanding their
                                                                                                                            their
U.S.  presence, including
U.S. presence,     including Cider,
                              Cider, Urbanic,
                                      Urbanic, ChicV,
                                                ChicV, Doublefs,
                                                        Doublefs, Cupshe,   and JollyChic.
                                                                   Cupshe, and               Though none
                                                                                  JollyChic. Though    none have
                                                                                                              have the
                                                                                                                     the market
                                                                                                                          market
share of
share  of Shein
          Shein or or Temu,
                       Temu, all
                              all similarly
                                  similarly offer
                                            offer products
                                                  products at
                                                            at comparable
                                                               comparable prices
                                                                           prices with
                                                                                    with expedited   delivery times.
                                                                                         expedited delivery    times. 5555 Their
                                                                                                                           Their


   PDD Holdings
** PDD Holdings Inc.
                Inc. changed
                     changed its name from
                             its name      Pinduoduo Inc.
                                      from Pinduoduo Inc. at an annual
                                                          at an annual shareholders’ meeting on
                                                                       shareholders' meeting    February 8,
                                                                                             on February 8, 2023.
                                                                                                            2023. PDD
                                                                                                                  PDD Holdings
                                                                                                                      Holdings Inc.,
                                                                                                                               Inc.,
   “Form 6-K:
   "Form   6-K: Report
                Report of
                        of Foreign
                           Foreign Private   Issuer Pursuant
                                     Private Issuer Pursuant to  Rule 13a-16
                                                              to Rule  13a-16 Or
                                                                               Or 15d-16
                                                                                  15d-16 Under
                                                                                           Under the
                                                                                                   the Securities
                                                                                                       Securities Exchange
                                                                                                                   Exchange Act
                                                                                                                              Act Of
                                                                                                                                   Of 1934,"
                                                                                                                                      1934,” U.S.
                                                                                                                                               U.S.
   Securities Exchange
   Securities Exchange Commission,       February 9,
                         Commission, February         2023.
                                                   9, 2023.
   https://www.sec.gov/Archives/edgar/data/1737806/000110465923014742/tm235930d1_6k.htm.
   https://www.sec.gov/Archives/edgar/data/1737806/000110465923014742/tm235930d1                    6k.htm.
† Sergey   Toshin, director
  Sergey Toshin,   director of  the app
                             of the app security company Oversecured,
                                        security company    Oversecured, found   that the
                                                                          found that  the Pinduoduo
                                                                                          Pinduoduo app app had
                                                                                                            had exploited   about 50
                                                                                                                 exploited about   50 vulnerabilities
                                                                                                                                      vulnerabilities on
                                                                                                                                                       on
   the Android
   the Android operating
                operating system.    According to
                            system. According    to CNN,
                                                    CNN, Pinduoduo
                                                           Pinduoduo company
                                                                       company insiders
                                                                                 insiders said  the malware
                                                                                           said the  malware was
                                                                                                              was intentionally
                                                                                                                    intentionally developed
                                                                                                                                  developed toto spy
                                                                                                                                                 spy on
                                                                                                                                                      on
   users and
   users and competitors   to boost
              competitors to  boost sales.  Following reports
                                     sales. Following  reports that
                                                               that the
                                                                    the app
                                                                        app included   malware, the
                                                                            included malware,     the company    disbanded the
                                                                                                      company disbanded      the engineering  team
                                                                                                                                 engineering team
   charged with
   charged  with developing
                 developing malware
                               malware and
                                         and reportedly  transferred most
                                             reportedly transferred   most of them to
                                                                           of them  to Temu.   Nectar Gan,
                                                                                       Temu. Nectar    Gan, Yong     Xiong, and
                                                                                                             Yong Xiong,    and Juliana  Liu, "`I've
                                                                                                                                 Juliana Liu,  “‘I’ve
   never seen
   never  seen anything
               anything like  this:’ One
                         like this:' One of
                                          of China’s  most popular
                                             China's most   popular apps
                                                                     apps has the ability
                                                                          has the ability to
                                                                                          to spy  on its
                                                                                             spy on      users, say
                                                                                                     its users, say experts,”
                                                                                                                     experts," CNN,  April 2,
                                                                                                                               CNN, April  2, 2023.
                                                                                                                                               2023.
   https://www.cnn.com/2023/04/02/tech/china-pinduoduo-malware-cybersecurity-analysis-intl-hnk/index.html.
   https://www.cnn.com/2023/04/02/tech/china-pinduoduo-malware-cybersecufity-analysis-intl-hnk/index.html.

U.S.-China Economic
U.S.-China Economic and
                    and Security Review Commission
                        Securit Review  Commission                                                                                                     5
                                                                                                                                                       5

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rapid proliferation raises
rapid proliferation raises concerns  they will
                           concerns they  will rely  on controversial
                                                rely on controversial practices
                                                                      practices similar
                                                                                similar to
                                                                                        to those
                                                                                           those of
                                                                                                 of Shein and Temu
                                                                                                    Shein and      to
                                                                                                              Temu to
undercut competitors
undercut competitors and
                       and gain
                           gain aa foothold
                                   foothold in
                                            in the
                                               the United
                                                   United States.
                                                          States.

Considerations
Considerations for Congress
               for Congress
Given the
Given  the rapid increase in
           rapid increase     the market
                           in the market share
                                           share of
                                                 of Shein  and other
                                                    Shein and  other Chinese  e-commerce firms
                                                                     Chinese e-commerce           in the
                                                                                            firms in the United
                                                                                                         United States, the
                                                                                                                States, the
U.S. government should
U.S. government    should bebe vigilant
                                vigilant in
                                         in ensuring  that these
                                            ensuring that  these firms  adhere to
                                                                 firms adhere  to U.S.
                                                                                  U.S. laws
                                                                                        laws and
                                                                                              and regulations  and are
                                                                                                   regulations and  are not
                                                                                                                        not
granted unfair
granted  unfair advantages
                advantages over
                             over U.S.
                                   U.S. firms.
                                         firms. Congress  can help
                                                Congress can        safeguard U.S.
                                                               help safeguard  U.S. interests by addressing
                                                                                    interests by addressing the
                                                                                                             the following
                                                                                                                 following
gaps in
gaps in U.S. policy to
        U.S. policy  to respond
                        respond toto the
                                     the business
                                         business models
                                                   models and
                                                            and practices
                                                                practices of
                                                                          of Shein and other
                                                                             Shein and  other Chinese
                                                                                               Chinese e-commerce
                                                                                                       e-commerce firms.
                                                                                                                     firms.
    ••   Shein and
         Shein   and perhaps
                       perhaps other
                                  other Chinese
                                         Chinese fastfastfashion
                                                           fashionfirms
                                                                     firms appear
                                                                             appear toto be  sourcing goods
                                                                                         be sourcing      goods in    violation of
                                                                                                                   in violation     of the
                                                                                                                                        the Uyghur
                                                                                                                                             Uyghur
         Forced Labor
         Forced    Labor Prevention
                              Prevention Act.     The investigation
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                                                                                Bloomberg News News tracing
                                                                                                        tracing cotton
                                                                                                                    cotton fibers
                                                                                                                              fibers toto Xinjiang
                                                                                                                                           Xinjiang
         highlights not
         highlights    not only
                             only the
                                   the platform's
                                        platform’s likely
                                                      likely violation
                                                                violation ofof U.S.
                                                                               U.S. law
                                                                                     law but
                                                                                           but also
                                                                                                also that
                                                                                                      that the
                                                                                                             the U.S.    government does
                                                                                                                  U.S. government          does not
                                                                                                                                                 not
         have tools
         have   tools toto effectively    screen most
                            effectively screen    most e-commerce
                                                            e-commerce shipments
                                                                            shipments fromfrom China.
                                                                                                 China. Packages
                                                                                                            Packages that that enter
                                                                                                                                enter thethe United
                                                                                                                                             United
         States,
         States, including
                  including the the millions
                                    millions that
                                               that enter    below the
                                                     enter below     the de   minimis threshold,
                                                                          de minimis    threshold, areare frequently
                                                                                                           frequently not  not inspected.
                                                                                                                                inspected. Those
                                                                                                                                              Those
         that are
         that are inspected
                    inspected are are often
                                      often subject
                                              subject to to rudimentary       visual checks
                                                              rudimentary visual      checks without
                                                                                               without the  the technology
                                                                                                                 technology or    or screening
                                                                                                                                      screening toto
         trace fabric
         trace            origin and
                fabric origin     and other
                                       other violations.       Without the
                                              violations. Without        the proper
                                                                              proper staffing
                                                                                       staffing and
                                                                                                  and technological
                                                                                                       technological tools, tools, U.S.     customs
                                                                                                                                     U.S. customs
         officials are
         officials    are poorly
                            poorly positioned
                                     positioned to  to identify
                                                         identify andand cease
                                                                           cease low-cost      shipments that
                                                                                   low-cost shipments          that violate
                                                                                                                      violate U.S.U.S. laws     and
                                                                                                                                          laws and
         regulations.
         regulations.
    ••   Chinese
         Chinese e-commerce          platforms and
                     e-commerce platforms         and suppliers
                                                         suppliers routinely
                                                                      routinely violate
                                                                                  violate U.S.    IP rights
                                                                                            U.S. IP   rights laws,
                                                                                                               laws, andand the      consequences
                                                                                                                               the consequences
         they  face are
         theyface    are insufficient
                           insufficient to  deterfuture
                                         to deter            violations. Several
                                                   future violations.      Several U.S.    firms, from
                                                                                     U.S. firms,   from large     brands to
                                                                                                           large brands      to in-home
                                                                                                                                in-home studios,
                                                                                                                                            studios,
         have singled
         have   singled outout Chinese
                                Chinese firms
                                          firms for    infringing on
                                                 for infringing         their copyrights.
                                                                     on their                 This is
                                                                                copyrights. This     is aa particular
                                                                                                           particular issue
                                                                                                                         issue for
                                                                                                                                 for independent
                                                                                                                                      independent
         artists who
         artists  who have      their designs
                         have their    designs used
                                                 used without
                                                         without permission
                                                                    permission by by Shein     suppliers or
                                                                                       Shein suppliers       or other
                                                                                                                 other Chinese        e-commerce
                                                                                                                         Chinese e-commerce
         platforms and
         platforms     and suppliers,
                             suppliers, as
                                         as they
                                            they may
                                                  may not       have the
                                                           not have   the resources
                                                                           resources toto pursue
                                                                                           pursue legal
                                                                                                    legal remedies.
                                                                                                            remedies.
    ••   Current    customs and
         Current customs         and tariff
                                      tariff levels   disproportionately benefit
                                             levels disproportionately          benefit Chinese
                                                                                         Chinese e-commerce
                                                                                                     e-commerce firms. firms. TheThe de     minimis
                                                                                                                                       de minimis
         exemption level
         exemption       level ofof $800
                                    $800 allows
                                            allows forfor packages
                                                             packages shipped
                                                                        shipped to  to the
                                                                                        the United
                                                                                              United States       under that
                                                                                                         States under       that level
                                                                                                                                   level toto avoid
                                                                                                                                              avoid
         inspection and
         inspection     and existing
                              existing tariffs.
                                        tariffs. Shein
                                                 Shein and  and other
                                                                  other e-commerce
                                                                        e-commerce firms         are uniquely
                                                                                         firms are    uniquely positioned
                                                                                                                    positioned to   to exploit
                                                                                                                                       exploit this
                                                                                                                                                this
         exemption, as
         exemption,      as their
                             their products
                                   products are
                                              are shipped
                                                  shipped individually         and nearly
                                                                individually and    nearly all
                                                                                             all fall below the
                                                                                                 fall below     the de   minimis threshold.
                                                                                                                     de minimis       threshold.

                             Past
                             Past Congressional and State
                                  Congressional and State Efforts
                                                          Efforts on Chinese e-Commerce
                                                                  on Chinese e-Commerce
    Congress  and at
    Congress and  at least one state
                     least one  state government
                                      government have
                                                  have already
                                                        already taken
                                                                taken steps
                                                                      steps to
                                                                            to evaluate
                                                                               evaluate and
                                                                                        and address
                                                                                            address the
                                                                                                    the problematic
                                                                                                        problematic
    practices of
    practices of Chinese
                 Chinese fast
                         fast fashion
                              fashion firms  and other
                                       firms and other Chinese
                                                       Chinese e-commerce    platforms.
                                                               e-commerce platforms.
    ••   In
         In February
            February 2023,
                      2023, Senators
                            Senators Bill
                                      Bill Cassidy
                                           Cassidy (R-LA),
                                                    (R-LA), Elizabeth  Warren (D-MA),
                                                            Elizabeth Warren           and Sheldon
                                                                              (D-MA), and          Whitehouse (D-
                                                                                           Sheldon Whitehouse  (D-
         RI) wrote to
         RI) wrote   to Shein’s
                        Shein's CEO    seeking information
                                CEO seeking                  on its
                                                 information on     alleged sourcing
                                                                its alleged sourcing of
                                                                                     of Xinjiang
                                                                                        Xinjiang cotton.
                                                                                                 cotton. The letter
                                                                                                         The letter
         requested
         requested aa response within 30
                      response within     days. 56
                                      30 days.'
    ••   The
         The COMPETE
              COMPETE Act    Act of
                                 of 2022
                                    2022 passed
                                          passed by
                                                  by the
                                                     the House
                                                         House inin the
                                                                    the 117th
                                                                        117th Congress   included aa provision
                                                                               Congress included     provision to
                                                                                                               to remove   de
                                                                                                                   remove de
         minimis privileges
         minimis    privileges for  goods sourced
                                for goods   sourced from    nonmarket economies
                                                     from nonmarket                  with known
                                                                         economies with    known IP IP violations,
                                                                                                       violations, including
                                                                                                                    including
         China.
         China.' 57
                    The
                    The bill
                         bill sought  to effectively
                              sought to               close the
                                         effectively close  the de
                                                                 de minimis
                                                                     minimis loophole   that both
                                                                              loophole that  both Shein   and Temu
                                                                                                   Shein and   Temu exploit
                                                                                                                       exploit
         when importing
         when   importing goods
                             goods into  the United
                                    into the United States.  58
                                                      States.58 After reconciliation
                                                                After                in conference
                                                                      reconciliation in  conference committees,     however,
                                                                                                      committees, however,
         the final
         the final CHIPS    and Science
                    CHIPS and             Act did
                                 Science Act  did not
                                                   not include  language addressing
                                                       include language   addressing de
                                                                                      de minimis
                                                                                          minimis thresholds.
                                                                                                   thresholds.
    ••   At the
         At the state  level, New
                 state level, New York
                                   York State’s
                                          State's Fashion
                                                   Fashion Sustainability  and Social
                                                            Sustainability and         Accountability Act
                                                                                Social Accountability      Act would
                                                                                                               would more
                                                                                                                      more
         closely monitor
         closely monitor clothing  sourcing and
                          clothing sourcing  and environmental   impact. The
                                                  environmental impact.       act would
                                                                         The act  would severely
                                                                                         severely limit
                                                                                                   limit the
                                                                                                          the market
                                                                                                              market access
                                                                                                                     access
         of Shein
         of        and Temu
            Shein and   Temu in  New York
                              in New   York State.  The act
                                             State. The act was
                                                            was reintroduced   to the
                                                                 reintroduced to  the State Assembly in
                                                                                      State Assembly     in February
                                                                                                            February 2023,
                                                                                                                      2023,
         with stronger
         with stronger provisions
                        provisions for
                                   for legally binding environmental
                                       legally binding environmental and
                                                                       and labor standards in
                                                                           labor standards  in the
                                                                                               the fast
                                                                                                   fast fashion
                                                                                                        fashion industry. 59
                                                                                                                industry.59




U.S.-China Economic
U.S.-China Economic and
                    and Security Review Commission
                        Securit Review  Commission                                                                                                6
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                                                              APP-536
                                                              APP-536
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      Office  of the
                 the Attorney
                      Attorney General,
                               General, Attorney
                                           Attorney General
                                                       General James
                                                                  James Secures
                                                                           Secures $1.9
                                                                                     $1.9 Million
                                                                                          Million from
                                                                                                   from E-Commerce
                                                                                                          E-Commerce SHEINSHEIN andand ROMWE
                                                                                                                                         ROMWE OwnerOwner Zoetop
                                                                                                                                                           Zoetopfor
                                                                                                                                                                   for
      Failing to
      Failing     Protect Consumers’
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                                                       Attorney General,
                                                                   General, Attorney
                                                                              Attorney General
                                                                                         General James
                                                                                                   James Secures
                                                                                                            Secures $1.9
                                                                                                                     $1.9 Million
                                                                                                                            Million from
                                                                                                                                     from E-Commerce
                                                                                                                                           E-Commerce SHEIN
                                                                                                                                                          SHEIN and
                                                                                                                                                                  and
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                                       “THE IMPORT
                                               IMPORT SECURITY
                                                          SECURITY AND   AND FAIRNESS
                                                                               FAIRNESS ACT,"
                                                                                           ACT,” Congressman
                                                                                                   Congressman EarlEarl Blumenauer,
                                                                                                                          Blumenauer,
    blumenauer.house.gov/sites/evo-subsites/blumenauer-evo.house.gov/files/One%20Pager%20-
    blumenauer.house.gov/sites/evo-subsites/blumenauer-evo.house.gov/files/One%20Pager%20-
    %20Import%20Security%20and%20Fairness%20Act.pdf.
    %20Import%20Secufity%20and%20Fairness%20Actpdf
59 Kaley Roshitch, “Albany Bound: ‘Fashion Act’ Supporters Hope to Stir Renewed Support,” WWD, March 8, 2023,
59 Kaley Roshitch, "Albany Bound: `Fashion Act' Supporters Hope to Stir Renewed Support," WWD, March 8, 2023,
    https://wwd.com/sustainability/business/new-york-fashion-act-supporters-albany-sustainability-bills-1235576182/ ;; Nicole
    https://wwd.com/sustainability/business/new-york-fashion-act-supporters-albany-sustainability-bills-1235576182/                 Nicole Grenfield,
                                                                                                                                            Grenfield,
    “New York
   "New    York IsIs Exposing
                     Exposing the
                               the Fashion  Industry for
                                   Fashion Industry        What It
                                                       for What It Is:
                                                                   Is: aa Climate
                                                                          Climate Nightmare,"
                                                                                  Nightmare,” NRDC,
                                                                                                NRDC, February
                                                                                                         February 13,
                                                                                                                   13, 2023.
                                                                                                                        2023.
    https://www.nrdc.org/stories/new-york-exposing-fashion-industry-what-it-climate-nightmare.
    https.//www.nrdc.org/stories/new    York-exposingfashion-industry-what-it-climate-nightmare.




U.S.-China Economic
U.S.-China Economic and
                    and Security Review Commission
                        Securit Review  Commission                                                                                                     9
                                                                                                                                                       9

                                                                 APP-539
                                                                 APP-539
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                     Exhibit
                     Exhibit P
                             P




                               APP-540
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            REP. MIKE GALLAGHER
            REP. MIKE GALLAGHER INTERVIEWED
                                INTERVIEWED ON
                                            ON FOX
                                               FOX NEWS (Nov. 16,
                                                   NEWS (Nov. 16, 2023)
                                                                  2023)



  President
  President Biden:
            Biden:   The
                     The United
                         United States    will continue
                                   States will continue to
                                                        to compete  vigorously with
                                                           compete vigorously    with the
                                                                                      the PRC.   But we'll
                                                                                          PRC. But   we'll
                     manage that
                     manage    that competition
                                    competition responsibly
                                                 responsibly so it doesn't
                                                             so it doesn't veer
                                                                           veer into
                                                                                into conflict
                                                                                     conflict or
                                                                                              or accidental
                                                                                                 accidental
                     conflict.
                     conflict.

  Anchor:
  Anchor:            So  that from
                     So that  from late   last night,
                                     late last night, California,  Northern California
                                                      California, Northern    California President
                                                                                         President Biden
                                                                                                    Biden
                     talking to
                     talking  to reporters
                                 reporters for   about 20
                                             for about  20 minutes
                                                            minutes after
                                                                     after his
                                                                           his high
                                                                               high stakes
                                                                                    stakes one-on-one
                                                                                            one-on-one meeting
                                                                                                        meeting
                     with the
                     with  the Chinese
                               Chinese President
                                          President XiXi yesterday
                                                         yesterday afternoon.
                                                                    afternoon. The   two leaders
                                                                                 The two           meeting face-
                                                                                           leaders meeting face-
                     to-face —
                     to-face  — first   time in
                                  first time  in about
                                                 about aa year
                                                          year that
                                                               that summit
                                                                    summit Northern
                                                                             Northern California.
                                                                                        California. Mike
                                                                                                    Mike
                     Gallagher is
                     Gallagher   is aa Republican   out of
                                       Republican out    of Wisconsin,
                                                            Wisconsin, chairman
                                                                         chairman ofof the
                                                                                       the House
                                                                                            House China
                                                                                                   China
                     Committee.
                     Committee. And And Sir,   thank you
                                          Sir, thank  you for
                                                           for your
                                                               your time
                                                                    time and
                                                                          and good
                                                                               good morning
                                                                                     morning toto you.
                                                                                                  you.

                     So  they spoke
                     So they  spoke for   what, 33 1/2
                                     for what,         hours or
                                                   1/2 hours   or so
                                                                  so and
                                                                     and while
                                                                         while this
                                                                               this was
                                                                                    was happening  the
                                                                                        happening the
                     Chinese
                     Chinese Foreign
                               Foreign Ministry
                                         Ministry put  out aa statement
                                                   put out    statement about
                                                                         about Taiwan.
                                                                               Taiwan. And
                                                                                        And then
                                                                                            then at
                                                                                                 at the
                                                                                                    the end
                                                                                                        end
                     of the
                     of the press
                            press conference
                                  conference last    night, this
                                               last night,  this is what President
                                                                 is what President Biden  was asked,
                                                                                    Biden was asked, about
                                                                                                      about
                     President  Xi still
                     President Xi  still being
                                         being what
                                               what hehe considered
                                                         considered aa dictator.
                                                                        dictator.

  Question  from
  Question from      After today
                     After today would
                                 would you
                                         you still
                                             still refer to President
                                                   refer to           Xi as
                                                            President Xi as aa dictator?
                                                                               dictator? This is aa term
                                                                                         This is    term that
                                                                                                         that
  Journalist:
  Journalist:        you used
                     you used earlier this year.
                              earlier this year.

  President
  President Biden:
            Biden:   Well, look,
                     Well,        he is!
                           look, he   is! II mean
                                             mean he's
                                                  he’s aa dictator
                                                          dictator in
                                                                   in the
                                                                      the sense
                                                                          sense that
                                                                                that he's
                                                                                     he’s aa guy
                                                                                             guy who
                                                                                                 who runs
                                                                                                      runs aa
                     country,  that is a communist    country   based  on a form  of government
                     country, that is a communist country based on a form of government           totally
                                                                                                  totally
                     different than
                     different  than ours.
                                     ours.

  Anchor:
  Anchor:            Before that, there
                     Before that, there was
                                        was aa lot
                                               lot of
                                                   of nice
                                                      nice words
                                                           words between
                                                                 between the
                                                                         the two.
                                                                             two. How
                                                                                  How did you read
                                                                                      did you read it
                                                                                                   it
                     based on
                     based on the
                              the output
                                   output from
                                          from California?
                                                 California?

  Congressman
  Congressman        Well, first
                     Well, first II have
                                    have to
                                          to say that President
                                             say that President Biden    is correct.
                                                                  Biden is  correct. Xi
                                                                                     Xi Jinping   is aa dictator.
                                                                                          Jinping is    dictator.
  Gallagher:
  Gallagher:         When John
                     When           Kerry, who
                            John Kerry,     who was
                                                 was in
                                                      in these
                                                         these meetings,
                                                                meetings, was
                                                                            was asked
                                                                                 asked whether
                                                                                         whether Xi
                                                                                                  Xi was
                                                                                                       was aa
                     dictator, he
                     dictator, he refused    to answer
                                    refused to  answer and
                                                        and instead
                                                             instead said
                                                                      said that
                                                                           that Xi
                                                                                Xi is
                                                                                    is aa major
                                                                                          major decider.
                                                                                                decider. SoSo II
                     expect the
                     expect  the President's
                                  President's handlers    will be
                                                handlers will  be trying
                                                                  trying to
                                                                          to clean
                                                                             clean that
                                                                                   that up.
                                                                                          up.

                     As for
                     As  for the
                             the meeting
                                 meeting itself,
                                           itself, it's
                                                   it's important
                                                         important to  to understand
                                                                          understand that
                                                                                       that getting
                                                                                            getting this
                                                                                                      this meeting
                                                                                                            meeting hashas
                     been the
                     been  the focus
                               focus ofof U.S. foreign policy
                                          U.S. foreign     policy for
                                                                    for the
                                                                         the past  year. The
                                                                             past year.  The stakes    were very
                                                                                             stakes were     very high
                                                                                                                   high
                     and thus
                     and  thus far all we
                               far all we have
                                           have are
                                                 are promises
                                                       promises of  of future   talks and
                                                                        future talks  and potentially    new pandas
                                                                                           potentially new     pandas
                     coming back
                     coming         to the
                              back to   the D.C.  Zoo. I'm
                                            D.C. Zoo.          afraid that's
                                                          I'm afraid    that's incredibly
                                                                               incredibly disappointing      because
                                                                                           disappointing because
                     we've taken
                     we've  taken our
                                   our foot  off the
                                        foot off the gas
                                                       gas when
                                                            when it  it comes
                                                                        comes toto things
                                                                                   things like  sanctioning Chinese
                                                                                          like sanctioning      Chinese
                     officials for
                     officials for egregious   human rights
                                   egregious human                abuses, pushing
                                                          rights abuses,    pushing back
                                                                                      back against
                                                                                            against this
                                                                                                       this
                     unprecedented pressure
                     unprecedented               against Taiwan,
                                       pressure against                 transparency around
                                                            Taiwan, transparency       around thethe spy
                                                                                                     spy balloon,
                                                                                                           balloon, oror
                     the origins
                     the origins of
                                 of COVID.
                                     COVID. So      it came
                                                So it   came atat aa great
                                                                     great cost
                                                                            cost to
                                                                                  to even  get to
                                                                                     even get  to this
                                                                                                   this meeting,
                                                                                                        meeting, and
                                                                                                                   and II
                     hope that
                     hope  that more
                                more will
                                       will come
                                            come outout ofof it.
                                                             it. Though
                                                                 Though II do    support the
                                                                             do support   the establishment
                                                                                               establishment of  of aa
                     military-to-military communication
                     military-to-military   communication channel,channel, that
                                                                             that alone
                                                                                   alone won't
                                                                                          won't bebe enough
                                                                                                     enough to to deter
                                                                                                                  deter
                     PLA   invasion of
                     PLA invasion    of Taiwan.
                                         Taiwan.



  Martha
  Martha             So,
                     So, Congressman,  you know
                         Congressman, you   know it,
                                                   it, it
                                                       it seems to me
                                                          seems to me that
                                                                       that the
                                                                            the alliances
                                                                                alliances that
                                                                                           that have
                                                                                                have been
                                                                                                       been
  MacCallum:
  MacCallum:         growing in
                     growing in the
                                the world,
                                    world, you
                                           you see
                                                see North
                                                     North Korea,
                                                             Korea, Iran,
                                                                    Iran, Russia,
                                                                          Russia, China.   And so
                                                                                    China. And   so it's
                                                                                                    it's
                     extremely
                     extremely important that the
                               important that the United
                                                  United States    strengthen its
                                                            States strengthen      ties —
                                                                               its ties — Australia,
                                                                                          Australia, Japan
                                                                                                       Japan




                                                APP-541
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                  and other
                  and  other countries
                              countries in
                                        in the
                                           the region,  which of
                                                region, which of course
                                                                  course China
                                                                          China does   not want
                                                                                  does not want to
                                                                                                to see.
                                                                                                   see. So
                                                                                                        So
                  that's sort
                  that's sort of
                              of the
                                 the meat
                                     meat of
                                           of where
                                              where this
                                                     this reconstruction
                                                          reconstruction ofof the
                                                                              the geopolitical
                                                                                  geopolitical world
                                                                                               world is
                                                                                                     is
                  right
                  right now.   Do you
                         now. Do   you think
                                       think they
                                              they talked
                                                   talked about
                                                           about that
                                                                 that at
                                                                      at all?
                                                                         all?

  Congressman
  Congressman     II quite
                     quite honestly
                           honestly don't
                                      don't know
                                             know ifif that
                                                       that was
                                                            was the
                                                                  the subject
                                                                        subject of of the
                                                                                      the conversation.
                                                                                          conversation. II will
                                                                                                             will say
                                                                                                                   say aa
  Gallagher:
  Gallagher:      lot of the
                  lot of  the most
                              most important     things that
                                     important things     that happened
                                                               happened at   at APEC
                                                                                 APEC had had nothing
                                                                                               nothing toto do
                                                                                                            do with
                                                                                                                with
                  Biden
                  Biden andand Xi's
                                Xi’s conversation,    but were
                                      conversation, but    were precisely
                                                                   precisely conversations        among the
                                                                                conversations among        the allies,
                                                                                                                allies,
                  some of
                  some    of whom
                             whom youyou just
                                          just referenced.
                                               referenced. There
                                                              There waswas aa trilateral
                                                                                trilateral meeting
                                                                                            meeting between
                                                                                                      between Japan,
                                                                                                                 Japan,
                  us, and
                  us,  and South    Korea. There
                            South Korea.            was aa Quad
                                            There was               meeting that
                                                            Quad meeting         that was
                                                                                      was reportedly     very
                                                                                            reportedly very
                  constructive. To
                  constructive.        your broader
                                   To your   broader point
                                                       point though,
                                                              though, we we need
                                                                              need to to push
                                                                                         push back
                                                                                               back against
                                                                                                      against CCP
                                                                                                               CCP
                  aggression in
                  aggression    in concert   with our
                                   concert with    our regional     allies. It
                                                        regional allies.        is the
                                                                            It is  the goal
                                                                                        goal of
                                                                                              of the
                                                                                                 the CCP
                                                                                                      CCP toto sever
                                                                                                               sever
                  our treaty
                  our  treaty alliances
                              alliances inin the
                                             the region    and ultimately
                                                  region and    ultimately to  to push   us out
                                                                                   push us   out of
                                                                                                  of the
                                                                                                     the Pacific   all
                                                                                                         Pacific all
                  the way
                  the  way back
                             back to
                                   to Hawaii
                                       Hawaii as
                                               as step
                                                   step one   in aa multi
                                                         one in     multi step
                                                                            step effort    to achieve
                                                                                   effort to  achieve global
                                                                                                        global
                  domination and
                  domination     and undermine
                                       undermine American
                                                    American leadership.
                                                                 leadership. All  All the
                                                                                      the more
                                                                                           more reason    why we
                                                                                                  reason why     we not
                                                                                                                     not
                  only need
                  only         to reinforce
                         need to  reinforce existing    alliances but
                                              existing alliances     but look
                                                                          look to to create  new ones
                                                                                     create new    ones and
                                                                                                         and bring
                                                                                                              bring
                  partners more
                  partners   more firmly
                                    firmly into   the camp
                                            into the  camp ofof the
                                                                 the free
                                                                       free world.
                                                                            world.

  Anchor:
  Anchor:         Just to put
                  Just to put aa button
                                 button on
                                        on this,
                                            this, what
                                                  what the
                                                       the statement
                                                           statement said
                                                                      said —
                                                                           — II mean
                                                                                mean while
                                                                                       while the
                                                                                              the summit
                                                                                                  summit is is
                  happening OK
                  happening    OK —    Taiwan —
                                    — Taiwan       the question
                                                — the  question of
                                                                 of Taiwan  is the
                                                                    Taiwan is  the most
                                                                                    most important
                                                                                           important and
                                                                                                     and
                  most sensitive
                  most  sensitive issue
                                   issue in
                                         in China-US
                                            China-US relations.
                                                        relations. End
                                                                   End Quote
                                                                       Quote onon that.
                                                                                  that. II wanna
                                                                                           wanna move
                                                                                                  move toto
                  this TikTok
                  this TikTok story.
                                story. Martha,  we've been
                                       Martha, we've         talking about
                                                       been talking  about this
                                                                           this all
                                                                                all morning.
                                                                                    morning. GoGo for  it.
                                                                                                   for it.

  Martha
  Martha          So  this disturbing
                  So this               trend on
                           disturbing trend    on TikTok,
                                                    TikTok, Congressman         Gallagher, of
                                                               Congressman Gallagher,         of mostly
                                                                                                  mostly young
                                                                                                           young
  MacCallum:
  MacCallum:      people, the
                  people,   the ones
                                 ones that
                                      that II saw,
                                              saw, sharing
                                                     sharing Osama
                                                               Osama binbin Laden's
                                                                            Laden's letter    to America
                                                                                       letter to  America thatthat he
                                                                                                                   he
                  wrote   the  year after 9/11   to  sort of  describe  all of the  reasons    for  what
                  wrote the year after 9/11 to sort of describe all of the reasons for what he did. And    he  did. And
                  try to
                  try to justify
                         justify the
                                  the attacks
                                      attacks onon 9/11.   And these
                                                    9/11. And     these people
                                                                        people responding,
                                                                                 responding, to  to this
                                                                                                     this letter,
                                                                                                          letter, which
                                                                                                                   which
                  has now
                  has  now been
                             been taken
                                   taken down,
                                          down, saying
                                                    saying things
                                                             things like
                                                                     like he
                                                                          he was
                                                                              was right,    this is
                                                                                   right, this   is mind
                                                                                                    mind blowing,
                                                                                                            blowing,
                  my mind
                  my   mind isis now
                                 now open,
                                      open, are
                                              are so
                                                   so deeply
                                                       deeply disturbing
                                                                 disturbing to
                                                                             to me
                                                                                me asas II watched
                                                                                           watched them
                                                                                                      them this
                                                                                                              this
                  morning and
                  morning    and II would
                                    would imagine
                                             imagine that
                                                        that if  as people
                                                              if as people start
                                                                            start to
                                                                                  to get
                                                                                      get aa look
                                                                                             look atat this,
                                                                                                       this, they
                                                                                                             they will
                                                                                                                   will
                  be very
                  be  very disturbed
                            disturbed as
                                       as well.
                                           well. Let's    watch some
                                                  Let's watch      some of
                                                                         of this.
                                                                            this.

  TikTok posts:
  TikTok posts:   Girl!
                  Girl!

                  What?
                  What?

                  They
                  They found the letter!
                       found the letter!

                  What letter?
                  What letter?

                  The
                  The letter!
                      letter!

                  What letter!?
                  What letter!?

                  Osama’s letter.
                  Osama's letter.

                  So
                  So II just
                        just read
                             read aa letter
                                     letter to
                                            to America
                                               America and
                                                       and II will
                                                              will never
                                                                   never look at life
                                                                         look at life the
                                                                                      the same.
                                                                                          same.

                  II feel
                     feel like
                          like I'm going through
                               I'm going through like
                                                 like an
                                                      an existential crisis right
                                                         existential crisis right now.
                                                                                  now.

                  So this is
                  So this is aa really good example
                                really good         of narrative
                                            example of narrative control.
                                                                 control.




                                              APP-542
                                              APP-542
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  Martha
  Martha        You know,
                You   know, Congressman      Gallagher, they
                             Congressman Gallagher,      they go
                                                               go on
                                                                   on to
                                                                      to say
                                                                         say terrorism
                                                                             terrorism was
                                                                                         was sold
                                                                                             sold to
                                                                                                  to the
                                                                                                     the
  MacCallum:
  MacCallum:    American people
                American    people as
                                    as if
                                       if these
                                          these terrorists
                                                terrorists just
                                                           just woke
                                                                woke upup and
                                                                          and said
                                                                               said one
                                                                                     one morning,
                                                                                         morning, we
                                                                                                   we hate
                                                                                                        hate
                America, let's
                America,         go kill
                           let's go      as many
                                    kill as many people
                                                  people asas we
                                                              we can.  And they
                                                                  can. And  they conclude
                                                                                   conclude —   one of
                                                                                             — one   of
                them —
                them      that it
                       — that     was just
                               it was just our
                                            our government
                                                government failing.
                                                              failing. 9/11 was just
                                                                       9/11 was   just our
                                                                                       our government
                                                                                           government
                failing other countries.
                failing other              What would
                               countries. What   would you
                                                         you say
                                                              say about
                                                                   about this,
                                                                         this, sir?
                                                                               sir?

  Congressman
  Congressman    Well, these
                Well,   these people
                                people are
                                        are of
                                             of course   massive idiots.
                                                course massive     idiots. II just
                                                                              just came
                                                                                   came from      watching the
                                                                                           from watching       the
  Gallagher:
  Gallagher:     footage    that the
                 footage that    the Israeli
                                     Israeli Embassy
                                             Embassy compiled        about the
                                                         compiled about      the October
                                                                                  October 7th    attack. It
                                                                                             7th attack.   It is
                                                                                                              is
                 horrific. You're
                 horrific.   You're seeing
                                     seeing Salafi  jihadists —
                                             Salafi jihadists       Hamas in
                                                                — Hamas          this case,
                                                                             in this  case, but
                                                                                             but Al
                                                                                                 Al Qaeda
                                                                                                     Qaeda was was aa
                 Salafi  jihadist organization
                 Salafi jihadist   organization — — kill
                                                      kill babies,   behead innocent
                                                           babies, behead      innocent civilians    with garden
                                                                                          civilians with    garden
                 hoes. These
                 hoes.  These images     are incredibly
                                 images are   incredibly disturbing     and show
                                                           disturbing and     show thethe true
                                                                                          true face   of evil.
                                                                                                face of   evil. So   for
                                                                                                                 So for
                 someone on
                 someone      on TikTok
                                 TikTok toto somehow
                                             somehow suggest
                                                          suggest that
                                                                    that this
                                                                         this is  America's fault
                                                                               is America's          or that
                                                                                               fault or  that bin
                                                                                                               bin
                 Laden
                 Laden whowho killed   thousands of
                                killed thousands   of innocent     Americans was
                                                       innocent Americans         was right,  is absolutely
                                                                                       right, is absolutely
                 disgusting and
                 disgusting    and further   evidence that
                                    further evidence    that we
                                                             we need
                                                                  need to
                                                                        to ban
                                                                            ban TikTok
                                                                                  TikTok oror force
                                                                                              force aa sale
                                                                                                        sale before
                                                                                                              before
                aa Chinese     controlled app
                   Chinese controlled      app before
                                                before the
                                                         the Chinese
                                                             Chinese Communist
                                                                        Communist Party Party checkmates
                                                                                               checkmates the   the
                 free  world by
                 free world    by controlling
                                   controlling the
                                                the dominant
                                                    dominant media
                                                                 media platform
                                                                          platform in    America that
                                                                                      in America    that can
                                                                                                          can spread
                                                                                                                spread
                this dangerous disgusting nonsense. It is time for a ban or a forced sale before it's
                 this  dangerous    disgusting   nonsense.   It is time  for  a  ban  or a forced  sale   before    it's
                 too late.
                too   late.

  Anchor:
  Anchor:       Just to put
                Just to put an
                            an emphasis on this
                               emphasis on this —  the letter
                                                — the         is 21
                                                       letter is 21 years
                                                                    years old
                                                                          old and
                                                                              and people
                                                                                    people felt
                                                                                           felt like it
                                                                                                like it
                just came
                just       out today.
                     came out  today. Mike
                                      Mike Gallagher, thank you
                                           Gallagher, thank   you for
                                                                   for your
                                                                       your time.
                                                                            time. II know  your
                                                                                     know your
                feelings on TikTok
                feelings on  TikTok and
                                    and we'll
                                        we'll see
                                              see whether
                                                  whether or
                                                           or not  eventually you
                                                               not eventually you get
                                                                                    get your
                                                                                        your way.
                                                                                             way.
                Thank   you, sir.
                Thank you,   sir.




                                            APP-543
                                            APP-543
5/15/24, 5:19 PM                      Gallagher, Bipartisan Coalition Introduce Legislation to Protect Americans From Foreign Adversary Controlled Applications, Including TikTok |I Select Committee on the CCP
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                                                                                                                                                     Enter keywords
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                                  Releases




            Gallagher, Bipartisan
            Gallagher, Bipartisan Coalition
                                   Coalition
            Introduce Legislation
            Introduce  Legislation to Protect
                                   to Protect
            Americans From
            Americans   From Foreign
                              Foreign
            Adversary Controlled
            Adversary  Controlled
            Applications, Including
            Applications, Including TikTok
                                     TikTok
                March 5,
                March    2024 •• Press
                      5, 2024    Press Release
                                       Release



             WASHINGTON, D.C.--
             WASHINGTON, D.C.-- Rep.
                                Rep. Mike
                                     Mike Gallagher
                                          Gallagher (R-WI)
                                                    (R-WI) and
                                                           and Rep.
                                                               Rep. Raja
                                                                    Raja Krishnamoorthi
                                                                         Krishnamoorthi (D-IL),
                                                                                        (D-IL), Chairman
                                                                                                Chairman and
                                                                                                         and Ranking
                                                                                                             Ranking
             Member
             Member of  of the
                           the House   Select Committee
                               House Select    Committee on on the   Strategic Competition
                                                                the Strategic   Competition Between
                                                                                              Between thethe United  States and
                                                                                                              United States and the
                                                                                                                                 the Chinese
                                                                                                                                     Chinese
             Communist
             Communist Party,      today introduced
                            Party, today  introduced the
                                                       the Protecting    Americans from
                                                            Protecting Americans      from Foreign   Adversary Controlled
                                                                                            Foreign Adversary               Applications Act.
                                                                                                                Controlled Applications    Act.
             The bill
             The  bill prevents
                       prevents app   store availability
                                app store                or web
                                            availability or web hosting    services in
                                                                 hosting services    in the
                                                                                        the U.S. for ByteDance-controlled
                                                                                            U.S. for ByteDance-controlled applications,
                                                                                                                             applications,
             including   TikTok, unless
             including TikTok,   unless the
                                         the application   severs ties
                                              application severs   ties to entities like
                                                                        to entities like ByteDance
                                                                                         ByteDance that
                                                                                                      that are subject to
                                                                                                           are subject to the control of
                                                                                                                          the control of a
                                                                                                                                         a
             foreign
             foreign adversary,
                       adversary, as
                                  as defined
                                     defined byby Congress
                                                  Congress in   Title 10.
                                                             in Title 10.

             In
             In addition,
                addition, the
                          the bill creates aa process
                              bill creates             for the
                                              process for  the President
                                                               President toto designate
                                                                              designate certain,    specifically defined
                                                                                         certain, specifically           social media
                                                                                                                 defined social media
             applications
             applications that
                           that are  subject to
                                are subject   to the  control of
                                                 the control  of a
                                                                 a foreign
                                                                   foreign adversary—per      Title 10—and
                                                                            adversary—per Title     10—and pose
                                                                                                             pose aa national security risk.
                                                                                                                     national security risk.
             Designated
             Designated applications     will face
                          applications will   face aa prohibition  on app
                                                      prohibition on       store availability
                                                                      app store  availability and   web hosting
                                                                                              and web             services in
                                                                                                         hosting services  in the
                                                                                                                              the U.S.
                                                                                                                                  U.S. unless
                                                                                                                                       unless
             they sever ties
             they sever      to entities
                        ties to entities subject
                                         subject to   the control
                                                   to the control of
                                                                   of a
                                                                      a foreign
                                                                        foreign adversary
                                                                                adversary through
                                                                                            through divestment.
                                                                                                       divestment.

             The bill
             The bill is
                      is co-led
                         co-led by
                                by House
                                   House Republican
                                         Republican Conference Chair Elise
                                                    Conference Chair       Stefanik (R-NY),
                                                                     Elise Stefanik (R-NY), Rep.
                                                                                            Rep. Kathy
                                                                                                 Kathy Castor
                                                                                                       Castor (D-FL),
                                                                                                              (D-FL), Rep.
                                                                                                                      Rep. Bob
                                                                                                                           Bob
             Latta
             Latta (R-OH),
                    (R-OH), Rep.   Andre Carson
                             Rep. Andre    Carson (D-IN    ), Rep.
                                                    (D-IN ),  Rep. Kevin
                                                                   Kevin Hern
                                                                          Hern (R-OK),
                                                                                 (R-OK), Rep.  Seth Moulton
                                                                                          Rep. Seth  Moulton (D-MA),
                                                                                                                (D-MA), Rep.
                                                                                                                         Rep. Chip
                                                                                                                                Chip Roy
                                                                                                                                      Roy (R-TX),
                                                                                                                                            (R-TX),
             Rep.
             Rep. Mikie   Sherrill (D-NJ),
                   Mikie Sherrill  (D-NJ), Rep.
                                            Rep. Neal
                                                 Neal Dunn
                                                       Dunn (R-FL).
                                                                (R-FL). Rep.
                                                                        Rep. Haley   Stevens (D-MI),
                                                                              Haley Stevens   (D-M I), Rep.
                                                                                                       Rep. Ralph
                                                                                                             Ralph Norman
                                                                                                                    Norman (R-SC),
                                                                                                                               (R-SC), Rep.   Jake
                                                                                                                                        Rep. Jake
             Auchincloss (D-MA),
             Auchincloss    (D-MA), Rep.
                                      Rep. Kat  Cammack (R-FL),
                                            Kat Cammack       (R-FL), Rep.
                                                                      Rep. Ritchie   Torres (D-NY),
                                                                            Ritchie Torres  (D-NY), Rep.  John Moolenaar
                                                                                                     Rep. John    Moolenaar (R-MI),
                                                                                                                               (R-M I), Rep.  Shontell
                                                                                                                                        Rep. Shontell
             Brown
             Brown (D-OH),
                      (D-OH), Rep.   Ashley Hinson
                               Rep. Ashley    Hinson (R-IA),
                                                      (R-IA), and
                                                               and Rep.  Josh Gottheimer
                                                                    Rep. Josh   Gottheimer (D-NJ).     The bill
                                                                                              (D-NJ). The  bill is co-sponsored by
                                                                                                                is co-sponsored    by Rep.
                                                                                                                                        Rep. Dusty
                                                                                                                                              Dusty
             Johnson (R-SD),
             Johnson    (R-SD), Rep.
                                Rep. Nancy
                                       Nancy Pelosi
                                               Pelosi (D-CA),
                                                      (D-CA), Rep.
                                                                 Rep. Carlos
                                                                      Carlos Gimenez
                                                                              Gimenez (R-FL),
                                                                                         (R-FL), Rep.  Anna Eshoo
                                                                                                 Rep. Anna    Eshoo (D-CA),
                                                                                                                      (D-CA), Rep.
                                                                                                                               Rep. Darin
                                                                                                                                    Darin LaHood
                                                                                                                                             La Hood
             (R-IL),
             (R-IL), Rep.
                     Rep. Chris
                          Chris Deluzio
                                 Deluzio (D-PA),
                                           (D-PA), Rep.  Timothy Walberg
                                                   Rep. Timothy      Walberg (R-MI),
                                                                               (R-M I), Rep.
                                                                                         Rep. Marc  Veasey (D-TX),
                                                                                              Marc Veasey    (D-TX), Rep.
                                                                                                                      Rep. Rick  Allen (R-GA),
                                                                                                                           Rick Allen    (R-GA), Rep.
                                                                                                                                                  Rep.
             Elissa  Slotkin (D-MI),
             Elissa Slotkin  (D-M I), Rep.  John Joyce
                                      Rep. John   Joyce (R-PA),
                                                         (R-PA), Rep.   Andrea Salinas
                                                                   Rep. Andrea    Salinas (D-OR),
                                                                                           (D-OR), Rep.
                                                                                                    Rep. Earl
                                                                                                         Earl "Buddy"
                                                                                                               "Buddy" Carter
                                                                                                                         Carter (R-GA),
                                                                                                                                 (R-GA), Rep.
                                                                                                                                           Rep. Kweisi
                                                                                                                                                 Kweisi
             Mfume
             Mfume (D-MD),
                       (D-MD), Rep.   August Pfluger
                                Rep. August    Pfluger (R-TX),
                                                        (R-TX), Rep.
                                                                  Rep. Hillary Scholten (D-MI),
                                                                       Hillary Scholten    (D-MI), Rep.
                                                                                                   Rep. Dan
                                                                                                        Dan Crenshaw
                                                                                                              Crenshaw (R-TX),
                                                                                                                          (R-TX), Rep.
                                                                                                                                   Rep. Chris
                                                                                                                                          Chris
             Pappas
             Pappas (D-NH),
                       (D-NH), Rep.   John Curtis
                                Rep. John    Curtis (R-UT),
                                                    (R-UT), Rep.   Jonathan Jackson
                                                              Rep. Jonathan    Jackson (D-IL),
                                                                                         (D-IL), Rep.
                                                                                                 Rep. Brian
                                                                                                      Brian Fitzpatrick
                                                                                                             Fitzpatrick (R-PA),
                                                                                                                          (R-PA), Rep.    Jim Costa
                                                                                                                                   Rep. Jim    Costa
             (D-CA),
             (D-CA), Rep.
                       Rep. Mark  Alford (R-MO),
                            Mark Alford   (R-MO), Rep.    Jake LaTurner
                                                    Rep. Jake    LaTurner (R-KS),
                                                                            (R-KS), Rep.  Stephanie Bice
                                                                                    Rep. Stephanie    Bice (R-OK),
                                                                                                            (R-OK), Rep.   Scott Fitzgerald
                                                                                                                     Rep. Scott   Fitzgerald (R.(R. WI),
                                                                                                                                                    WI),
             Rep.
             Rep. Mike
                   Mike Lawler
                         Lawler (R-NY),
                                 (R-NY), Rep.
                                           Rep. Claudia   Tenney (R-NY),
                                                Claudia Tenney      (R-NY), Rep.   Jeff Van
                                                                             Rep. Jeff  Van Drew
                                                                                             Drew (R-NJ),
                                                                                                   (R-NJ), Rep.
                                                                                                           Rep. Mike
                                                                                                                  Mike Kelly
                                                                                                                        Kelly (R-PA),
                                                                                                                              (R-PA), Rep.
                                                                                                                                        Rep. Cory
                                                                                                                                              Cory Mills
                                                                                                                                                    Mills
             (R-FL),
             (R-FL), Rep.
                      Rep. Gus
                           Gus Bilirakis
                                Bilirakis (R-FL),
                                          (R-FL), Rep.
                                                  Rep. Brad    Sherman (D-CA),
                                                        Brad Sherman       (D-CA), Rep.   Vern Buchanan
                                                                                    Rep. Vern  Buchanan (R-FL),
                                                                                                            (R-FL), and
                                                                                                                     and Rep.   Victoria Spartz
                                                                                                                         Rep. Victoria    Spartz (R-
                                                                                                                                                   (R-
             IN).
             IN)

             “This
             "This is
                   is my
                      my message
                          message toto TikTok:
                                       TikTok: break
                                               break up  with the
                                                     up with      Chinese Communist
                                                              the Chinese Communist Party     or lose
                                                                                        Party or lose access
                                                                                                      access to  your American
                                                                                                              to your American
             users,”  said Chairman
             users," said  Chairman Gallagher.
                                     Gallagher. "America's
                                                 “America’s foremost
                                                            foremost adversary
                                                                      adversary has
                                                                                 has no
                                                                                     no business   controlling aa dominant
                                                                                         business controlling     dominant media
                                                                                                                            media
             platform
             platform inin the
                           the United States. TikTok's
                               United States. TikTok’s time in the
                                                       time in the United
                                                                   United States
                                                                          States is over unless
                                                                                 is over        it ends
                                                                                         unless it ends its
                                                                                                        its relationship with CCP-
                                                                                                            relationship with CCP-
             controlled
             controlled ByteDance.”
                          ByteDance."

             “So
             "So long
                 long as it is
                      as it    owned by
                            is owned  by ByteDance
                                         ByteDance and
                                                     and thus
                                                          thus required
                                                                required to
                                                                         to collaborate with the
                                                                            collaborate with the CCP, TikTok poses
                                                                                                 CCP, TikTok poses critical
                                                                                                                    critical threats
                                                                                                                             threats to
                                                                                                                                     to
             our
             our national  security. Our
                 national security.  Our bipartisan
                                         bipartisan legislation would protect
                                                    legislation would           American social
                                                                       protect American  social media
                                                                                                media users
                                                                                                       users by
                                                                                                             by driving
                                                                                                                driving the
                                                                                                                         the
                                                                                                    APP-544
https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-introduce-legislation-protect-americans-0
https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-introdAPRA4o4ct-americans-0                                                                                               1/4
5/15/24, 5:19 PM                      Gallagher, Bipartisan Coalition Introduce Legislation to Protect Americans From Foreign Adversary Controlled Applications, Including TikTok |I Select Committee on the CCP
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             divestment  of foreign
             divestment of  foreign adversary-controlled
                                     adversary-controlled apps  to ensure
                                                          apps to          that Americans
                                                                   ensure that  Americans     are
                                                                                              are protected
                                                                                                  protected from
                                                                                                            from the
                                                                                                                  the digital  surveillance
                                                                                                                      digital surveillance
             and influence operations
             and influence  operations of
                                        of regimes that could
                                           regimes that could weaponize
                                                              weaponize their
                                                                           their personal
                                                                                 personal data
                                                                                            data against  them. Whether
                                                                                                  against them.  Whether it’s
                                                                                                                           it's Russia
                                                                                                                                Russia or
                                                                                                                                        or
             the
             the CCP,
                 CCP, this
                      this bill ensures the
                           bill ensures the President
                                            President has
                                                      has the
                                                          the tools
                                                              tools he
                                                                    he needs
                                                                       needs to
                                                                              to press
                                                                                  press dangerous
                                                                                         dangerous apps
                                                                                                     apps to
                                                                                                           to divest
                                                                                                              divest and
                                                                                                                     and defend
                                                                                                                         defend
             Americans’ security
             Americans'  security and
                                   and privacy
                                       privacy against our adversaries,”
                                               against our               said Ranking
                                                           adversaries," said Ranking Member       Krishnamoorthi.
                                                                                         Member Krishnamoorthi.

             “TikTok
             "TikTok is Communist Chinese
                     is Communist     Chinese malware
                                               malware that
                                                        that is
                                                              is poisoning
                                                                 poisoning the
                                                                            the minds
                                                                                 minds ofof our
                                                                                            our next  generation and
                                                                                                next generation    and giving    the CCP
                                                                                                                         giving the  CCP
             unfettered
             unfettered access
                         access to
                                to troves  of Americans'
                                    troves of Americans’ data.
                                                          data. II am
                                                                   am proud
                                                                      proud to   join Chairman
                                                                              to join Chairman Mike
                                                                                                  Mike Gallagher
                                                                                                        Gallagher inin introducing
                                                                                                                       introducing the
                                                                                                                                     the
             Protecting  Americans from
             Protecting Americans     from Foreign  Adversary Controlled
                                           Foreign Adversary                Applications Act
                                                                Controlled Applications     Act to finally ban
                                                                                                to finally      TikTok in
                                                                                                           ban TikTok   in the
                                                                                                                           the United  States.
                                                                                                                               United States.
             From
             From proliferating  videos on
                   proliferating videos  on how  to cross
                                            how to  cross our
                                                          our border
                                                                border illegally
                                                                       illegally to supporting Osama
                                                                                 to supporting   Osama Bin Bin Laden’s
                                                                                                               Laden's Letter   to America,
                                                                                                                         Letter to America,
             Communist
             Communist China
                          China is
                                 is using TikTok as
                                    using TikTok as a
                                                    a tool
                                                      tool to  spread dangerous
                                                           to spread   dangerous propaganda
                                                                                    propaganda thatthat undermines      American national
                                                                                                        undermines American        national
             security. We
             security. We cannot
                          cannot allow   the CCP
                                   allow the  CCP to
                                                  to continue
                                                     continue to to harness
                                                                    harness this
                                                                             this digital
                                                                                  digital weapon,"   said Rep.
                                                                                          weapon," said    Rep. Stefanik.
                                                                                                                Stefanik.

             "In
             "In this
                 this day
                      day and
                          and age,   we all
                               age, we   all know
                                             know about  the vast
                                                   about the  vast benefits
                                                                   benefits -– and vast risks
                                                                               and vast  risks -– of
                                                                                                  of our
                                                                                                     our most
                                                                                                         most popular     social media
                                                                                                                popular social   media
             platforms.
             platforms. Ensuring
                         Ensuring that    foreign adversaries
                                    that foreign  adversaries do
                                                               do not
                                                                  not have   the ability
                                                                      have the   ability to
                                                                                         to control   what we
                                                                                            control what    we seesee and
                                                                                                                      and hear   online is
                                                                                                                           hear online   is an
                                                                                                                                            an
             important
             important piece    of what
                         piece of  what should
                                          should be
                                                  be a
                                                     a bipartisan effort to
                                                       bipartisan effort to make   social media
                                                                            make social             safer for
                                                                                           media safer    for all Americans. This
                                                                                                              all Americans.   This bill
                                                                                                                                    bill would
                                                                                                                                         would
             ensure   that Tik
             ensure that   Tik Tok
                               Tok is
                                   is no
                                      no longer  controlled, even
                                         longer controlled,  even indirectly,
                                                                   indirectly, by the Chinese
                                                                               by the  Chinese Communist
                                                                                                  Communist Party,Party, and
                                                                                                                         and does  so in
                                                                                                                             does so  in aa
             responsible   way, that
             responsible way,   that doesn’t
                                      doesn't take
                                               take away  Americans’ favorite
                                                    away Americans'    favorite social
                                                                                social media
                                                                                       media apps,"     said Rep.
                                                                                                 apps," said  Rep. Moulton.
                                                                                                                    Moulton.

             “The
             "The dangerous
                   dangerous link
                                link between    TikTok and
                                      between TikTok   and the
                                                             the Chinese
                                                                  Chinese Communist
                                                                            Communist Party
                                                                                          Party has
                                                                                                 has never
                                                                                                      never been
                                                                                                            been more
                                                                                                                   more apparent.
                                                                                                                          apparent. When
                                                                                                                                       When
             TikTok’s CEO
             TikTok's        came before
                       CEO came      before the
                                            the Energy
                                                Energy and
                                                         and Commerce        Committee last
                                                               Commerce Committee              year, he
                                                                                          last year, he readily
                                                                                                        readily admitted
                                                                                                                admitted to  to me
                                                                                                                                me that
                                                                                                                                    that
             ByteDance     employees in
             ByteDance employees        in China
                                           China have
                                                  have access
                                                        access toto U.S.
                                                                    U.S. user
                                                                         user data. This alone
                                                                              data. This         should serve
                                                                                          alone should   serve as
                                                                                                                as a
                                                                                                                   a wake-up
                                                                                                                     wake-up callcall and
                                                                                                                                      and alarm
                                                                                                                                          alarm
             every  single American
             every single   American -– whether
                                         whether they’re
                                                   they're actively   engaged on
                                                            actively engaged     on TikTok
                                                                                    TikTok oror not. TikTok and
                                                                                                not. TikTok and its
                                                                                                                 its ties to Communist
                                                                                                                     ties to  Communist China
                                                                                                                                            China
             poses
             poses a   clear and
                    a clear  and present
                                   present danger
                                           danger toto U.S.
                                                       U.S. national   security and
                                                            national security   and is
                                                                                     is threatening   the privacy
                                                                                        threatening the            of millions
                                                                                                          privacy of             of Americans.
                                                                                                                       millions of  Americans. I’m
                                                                                                                                                I'm
             proud
             proud toto help
                        help lead
                              lead the
                                    the bipartisan
                                        bipartisan Protecting    Americans from
                                                    Protecting Americans      from Foreign    Adversary Controlled
                                                                                    Foreign Adversary                  Applications Act,
                                                                                                          Controlled Applications      Act, which
                                                                                                                                            which
             will
             will ban
                  ban the
                       the app   from the
                           app from    the United
                                           United States
                                                   States if
                                                           if TikTok
                                                              TikTok is
                                                                      is not
                                                                         not divested
                                                                             divested by
                                                                                       by the
                                                                                           the Chinese
                                                                                               Chinese Communist
                                                                                                         Communist Party,”      said Rep.
                                                                                                                        Party," said  Rep. Latta.
                                                                                                                                           Latta.

             “All Americans deserve
             "All Americans   deserve access
                                        access to
                                               to information
                                                   information andand media
                                                                       media platforms      that are
                                                                               platforms that          free from
                                                                                                   are free from the
                                                                                                                   the influence
                                                                                                                       influence ofof hostile
                                                                                                                                      hostile foreign
                                                                                                                                                foreign
             actors
             actors like
                    like the
                         the Chinese
                              Chinese Communist
                                        Communist Party.
                                                      Party. But
                                                             But here
                                                                  here are
                                                                        are the
                                                                            the facts:  TikTok has
                                                                                 facts: TikTok    has been
                                                                                                       been used
                                                                                                              used by
                                                                                                                    by the
                                                                                                                       the CCP
                                                                                                                            CCP to   silence free
                                                                                                                                  to silence   free
             speech and
             speech   and dissent
                           dissent in
                                    in the
                                       the United   States and
                                           United States   and abroad,
                                                                 abroad, to
                                                                          to undermine
                                                                             undermine democracy
                                                                                            democracy and  and our   values, and
                                                                                                                 our values, and toto promote
                                                                                                                                      promote
             propaganda
             propaganda thatthat is
                                 is favorable
                                    favorable to
                                              to autocratic
                                                 autocratic rulers
                                                              rulers like
                                                                     like President   Xi. In
                                                                          President Xi.   In New    Jersey, TikTok
                                                                                              New Jersey,    TikTok has
                                                                                                                     has banned
                                                                                                                          banned users      for posting
                                                                                                                                    users for   posting
             content
             content that
                       that brought
                            brought awareness
                                      awareness toto the
                                                      the CCP’s
                                                          CCP's horrific
                                                                  horrific genocide
                                                                           genocide and      forced labor
                                                                                      and forced      labor of
                                                                                                             of the Uyghur people.
                                                                                                                the Uyghur    people. It’s
                                                                                                                                        It's nothing
                                                                                                                                             nothing
             short of
             short of dangerous     that the
                       dangerous that    the CCP
                                             CCP controls
                                                  controls a a key source of
                                                               key source   of information
                                                                               information for  for millions  of Americans
                                                                                                    millions of  Americans -– including
                                                                                                                               including so  so many
                                                                                                                                                 many
             teenagers
             teenagers and
                         and children    who’ve seen
                              children who've    seen their
                                                       their mental
                                                             mental health
                                                                       health harmed
                                                                               harmed by by the
                                                                                              the app.   This bipartisan
                                                                                                   app. This  bipartisan legislation     should be
                                                                                                                           legislation should     be
             passed
             passed immediately
                      immediately to to protect our democracy,
                                        protect our  democracy, ourour national   security, and
                                                                        national security,     and our
                                                                                                    our kids,”  said Rep.
                                                                                                         kids," said Rep. Sherrill.
                                                                                                                           Sherrill.

             “The
             "The House      Select Committee
                    House Select    Committee on      the CCP
                                                  on the  CCP and     the House
                                                                 and the  House Energy
                                                                                   Energy & & Commerce
                                                                                              Commerce Committee
                                                                                                           Committee have     found alarming
                                                                                                                       have found    alarming
             proof
             proof of of our
                         our data
                              data being  shared with
                                   being shared    with our
                                                        our adversaries    via applications
                                                              adversaries via   applications developed
                                                                                              developed by by ByteDance,”   said Rep.
                                                                                                              ByteDance," said    Rep. Dunn.
                                                                                                                                       Dunn. "I
                                                                                                                                              “I
             even
             even asked
                     asked the   TikTok CEO
                             the TikTok CEO point
                                               point blank
                                                     blank ifif ByteDance
                                                                ByteDance has     spied on
                                                                            has spied    on Americans
                                                                                             Americans onon behalf of the
                                                                                                            behalf of the CCP,
                                                                                                                          CCP, and
                                                                                                                                 and his
                                                                                                                                      his response
                                                                                                                                          response
             was
             was ‘I`I don't
                      don’t think
                            think spying
                                   spying is
                                           is the
                                              the right way to
                                                  right way    to describe
                                                                  describe it.’ This is
                                                                           it.' This is outrageous.
                                                                                        outrageous. II took
                                                                                                       took an oath to
                                                                                                            an oath to protect
                                                                                                                       protect the   American
                                                                                                                                 the American
             people
             people and      I’m proud
                       and I'm   proud to  join this
                                        to join      effort to
                                                this effort to ban
                                                                ban applications
                                                                     applications that
                                                                                    that can
                                                                                          can be
                                                                                              be utilized
                                                                                                 utilized and
                                                                                                          and abused
                                                                                                               abused by   our adversaries.”
                                                                                                                        by our  adversaries."

             "Social
             "Social media
                     media corporations
                            corporations are
                                          are attention-fracking   American youth
                                              attention-fracking American   youth and
                                                                                   and corroding   our democracy.
                                                                                        corroding our   democracy. Congress
                                                                                                                    Congress needs
                                                                                                                              needs to
                                                                                                                                    to
             get
             get tough on them
                 tough on  them ---- but we can
                                     but we      only do
                                             can only do that if these
                                                         that if these corporations
                                                                       corporations are subject to
                                                                                    are subject to U.S.
                                                                                                   U.S. law. TikTok needs
                                                                                                        law. TikTok needs to
                                                                                                                          to answer
                                                                                                                             answer to
                                                                                                                                    to
             Congress,
             Congress, not  Xi Jinping,"
                       not Xi  Jinping," said
                                         said Rep.
                                              Rep. Auchincloss.
                                                   Auchincloss.

             “TikTok
             "TikTok is owned by
                     is owned  by the
                                  the Chinese    Communist Party
                                        Chinese Communist      Party and we cannot
                                                                     and we  cannot allow  the CCP
                                                                                     allow the CCP to
                                                                                                    to indoctrinate our children.
                                                                                                       indoctrinate our             This
                                                                                                                         children. This
             strong bipartisan
             strong bipartisan legislation
                                legislation is
                                            is an
                                               an important   step forward
                                                  important step   forward in
                                                                            in making  sure social
                                                                               making sure  social media
                                                                                                   media apps
                                                                                                          apps owned
                                                                                                               owned by    foreign
                                                                                                                        by foreign
             adversaries
             adversaries are
                         are prohibited   from doing
                             prohibited from    doing business   in America.
                                                       business in  America. II encourage
                                                                                encourage all Americans using
                                                                                          all Americans         TikTok to
                                                                                                         using TikTok  to strongly
                                                                                                                          strongly
             consider  the personal
             consider the  personal risks
                                     risks of
                                           of having
                                              having their
                                                      their data
                                                            data owned
                                                                 owned byby the
                                                                            the Chinese
                                                                                 Chinese Communist
                                                                                         Communist Party
                                                                                                      Party and
                                                                                                            and hope
                                                                                                                 hope they   will stop
                                                                                                                       they will  stop
             using the app
             using the  app as this bipartisan
                            as this bipartisan legislation
                                                legislation moves
                                                            moves forward,”   said Rep.
                                                                    forward," said Rep. Moolenaar.
                                                                                        Moolenaar.

             "Congress   can no
             "Congress can   no longer
                                longer afford
                                         afford to ignore the
                                                to ignore  the growing   threat posed
                                                                growing threat   posed by  foreign adversary-controlled
                                                                                        by foreign   adversary-controlled applications
                                                                                                                             applications like
                                                                                                                                           like
             TikTok," said
             TikTok," said Rep.
                           Rep. Torres.
                                Torres. "TikTok
                                        "TikTok not
                                                 not only  jeopardizes our
                                                     only jeopardizes   our national  security but
                                                                            national security  but also
                                                                                                     also threaten  our fundamental
                                                                                                          threaten our  fundamental
             freedoms
             freedoms byby allowing
                           allowing adversaries
                                     adversaries to   surveil and
                                                   to surveil and influence
                                                                   influence the  American public
                                                                             the American    public under
                                                                                                      under the
                                                                                                             the guise  of aa social
                                                                                                                 guise of     social media
                                                                                                                                     media
             platform.  The Protecting
             platform. The               Americans from
                            Protecting Americans      from Foreign   Adversary Controlled
                                                            Foreign Adversary                Applications Act
                                                                                 Controlled Applications    Act is
                                                                                                                is a
                                                                                                                   a crucial  step in
                                                                                                                     crucial step  in
             safeguarding our
             safeguarding   our nation.
                                nation. We
                                         We must
                                             must act    swiftly and
                                                    act swiftly  and decisively to protect
                                                                     decisively to         our citizens
                                                                                   protect our  citizens and
                                                                                                          and preserve   our sovereignty."
                                                                                                               preserve our    sovereignty."



             "Not
             "Not only
                  only is  the CCP-controlled
                        is the                  TikTok an
                               CCP-controlled TikTok    an immense
                                                            immense national    security risk
                                                                       national security  risk to our country,
                                                                                               to our country, itit is
                                                                                                                    is also
                                                                                                                       also poisoning
                                                                                                                            poisoning the the
             minds  of our
             minds of  our youth
                             youth every
                                    every day  on aa massive
                                          day on              scale. China
                                                     massive scale.  China is our enemy,
                                                                           is our enemy, and    we need
                                                                                           and we   need to   start acting
                                                                                                         to start    acting like
                                                                                                                             like it.
                                                                                                                                  it. II am
                                                                                                                                         am proud
                                                                                                                                            proud
             to
             to partner  with Representatives
                partner with   Representatives Gallagher
                                                 Gallagher and
                                                             and Krishnamoorthi
                                                                  Krishnamoorthi on on this
                                                                                       this bipartisan
                                                                                             bipartisan bill to ban
                                                                                                        bill to ban thethe distribution
                                                                                                                           distribution of    TikTok
                                                                                                                                           of TikTok
             in the US.
             in the      This legislation
                    US. This              will make
                              legislation will        our country
                                               make our   country better  off and
                                                                   better off and more   secure," said
                                                                                   more secure,"   said Rep.
                                                                                                        Rep. Roy.
                                                                                                              Roy.

             “The
             "The Chinese
                  Chinese Communist
                           Communist Party
                                        Party has
                                              has made   it abundantly
                                                   made it  abundantly clear
                                                                       clear that it is
                                                                             that it    willing to
                                                                                     is willing to leverage technology to
                                                                                                   leverage technology to collect
                                                                                                                          collect data
                                                                                                                                  data
             on our children
             on our children and
                             and all
                                 all US
                                     US citizens.
                                        citizens. Using TikTok, China
                                                  Using TikTok, China has the ability
                                                                      has the ability to
                                                                                       to control  what an
                                                                                          control what     entire generation
                                                                                                        an entire generation of
                                                                                                                             of kids
                                                                                                                                kids
                                                                                                    APP-545
https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-introduce-legislation-protect-americans-0
https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-introdA-RE7514o§ct-americans-0                                                                                       2/4
5/15/24, 5:19 PM                      Gallagher, Bipartisan Coalition Introduce Legislation to Protect Americans From Foreign Adversary Controlled Applications, Including TikTok |I Select Committee on the CCP
                                USCA Case #24-1113
             sees and
             sees and consumes    every single
                        consumes every  single day,”  saidDocument
                                               day," said  Rep.
                                                                    #2060757
                                                           Rep. Gottheimer.
                                                                Gottheimer.   “It’s    Filed: 06/20/2024
                                                                                    time
                                                                              "It's time  we fight
                                                                                          we   fight back
                                                                                                            Page 24 of 313
                                                                                                     back against  TikTok’s information
                                                                                                          against TikTok's  information
             invasion
             invasion against  America’s families.
                       against America's families. In
                                                   In the  wrong hands,
                                                      the wrong  hands, this
                                                                          this data
                                                                               data isis an enormous asset
                                                                                         an enormous          to the
                                                                                                        asset to the Chinese
                                                                                                                      Chinese Communist
                                                                                                                               Communist
             Party
             Party —
                   —a aa known
                         known adversary
                                adversary — and their
                                          —and   their malign
                                                        malign activities.”
                                                                activities."

             “Any
             "Any technology—apps,          software, language
                    technology—apps, software,          language models—owned
                                                                      models—owned by       foreign adversaries
                                                                                         by foreign adversaries are
                                                                                                                  are unequivocal
                                                                                                                      unequivocal threats
                                                                                                                                     threats to our
                                                                                                                                             to our
             national    security. We
             national security.     We have
                                         have every
                                               every right
                                                      right to
                                                             to protect    Americans’ constitutional
                                                                 protect Americans'     constitutional rights,
                                                                                                       rights, data
                                                                                                               data privacy,
                                                                                                                     privacy, and
                                                                                                                               and national  security,
                                                                                                                                    national security,
             and   it’s only
             and it's   only become
                             become clear      over the
                                         clear over the last   several years
                                                          last several   years how
                                                                                how dangerous
                                                                                     dangerous these
                                                                                                 these foreign-owned
                                                                                                       foreign-owned tech tech platforms
                                                                                                                                platforms truly
                                                                                                                                           truly
             are,”  said Rep.
             are," said   Rep. Cammack.
                               Cammack. “As   "As a
                                                  a member
                                                    member of    of the
                                                                    the Energy
                                                                         Energy & & Commerce
                                                                                    Commerce Committee        which deals
                                                                                                 Committee which      deals heavily  in the
                                                                                                                             heavily in the telecom
                                                                                                                                            telecom
             and   tech space,
             and tech     space, II don’t
                                    don't take
                                           take this
                                                this decision
                                                      decision lightly.
                                                                 lightly. I’m
                                                                          I'm grateful
                                                                               grateful to
                                                                                        to Chairman
                                                                                           Chairman Gallagher
                                                                                                     Gallagher andand the   Select Committee
                                                                                                                       the Select  Committee on     the
                                                                                                                                                 on the
             CCP
             CCP forfor spearheading
                        spearheading this      effort and
                                          this effort and II look   forward to
                                                             look forward        the bipartisan
                                                                              to the             support this
                                                                                     bipartisan support        effort will
                                                                                                          this effort will garner  to keep
                                                                                                                           garner to        the U.S.
                                                                                                                                      keep the   U.S.
             safe from
             safe  from malign
                           malign influence,
                                    influence, adversarial
                                                adversarial infiltration,
                                                               infiltration, espionage,
                                                                             espionage, and
                                                                                          and beyond.”
                                                                                               beyond."

             “TikTok
             "TikTok is
                     is CCP spyware used
                        CCP spyware     used by
                                              by the
                                                  the regime
                                                       regime toto steal
                                                                   steal Americans'
                                                                         Americans’ data
                                                                                    data and
                                                                                          and push
                                                                                               push harmful
                                                                                                    harmful propaganda,
                                                                                                              propaganda, including
                                                                                                                               including
             content  showing migrants
             content showing   migrants how how toto illegally cross our
                                                     illegally cross  our Southern
                                                                          Southern Border,  supporting Hamas
                                                                                   Border, supporting  Hamas terrorists,
                                                                                                                  terrorists, and
                                                                                                                              and
             whitewashing
             whitewashing 9/11.
                            9/11. Bottom
                                  Bottom line:    TikTok needs
                                            line: TikTok  needs toto completely  cut ties
                                                                     completely cut  ties with the CCP
                                                                                          with the CCP or it will
                                                                                                       or it will no
                                                                                                                  no longer
                                                                                                                      longer bebe available
                                                                                                                                  available in
                                                                                                                                            in
             the United States.
             the United  States. It
                                 It is
                                    is past
                                       past time
                                            time toto dismantle
                                                      dismantle the
                                                                  the CCP’s
                                                                       CCP's top
                                                                             top propaganda
                                                                                 propaganda and    spyware tool,"
                                                                                               and spyware          said Rep.
                                                                                                             tool,” said  Rep. Hinson.
                                                                                                                                Hinson.

            Summary: Applications
            Summary    Applications like  TikTok that
                                     like TikTok that are
                                                      are controlled
                                                          controlled by  foreign adversaries
                                                                      by foreign  adversaries pose
                                                                                              pose an
                                                                                                   an unacceptable
                                                                                                      unacceptable risk
                                                                                                                    risk to
                                                                                                                         to U.S.
                                                                                                                            U.S.
            national security. Such
            national security. Such apps
                                    apps allow
                                           allow our
                                                 our adversaries
                                                     adversaries to surveil and
                                                                 to surveil      influence the
                                                                            and influence      American public,
                                                                                           the American  public, both
                                                                                                                 both through
                                                                                                                      through thethe
            data we produce
            data we  produce and
                               and the
                                   the information   we share
                                        information we  share and   consume.
                                                              and consume.

             This legislation
             This  legislation addresses
                                 addresses thethe threat
                                                    threat in
                                                            in two  ways. First,
                                                               two ways.          it prevents
                                                                           First, it prevents app    store availability
                                                                                               app store    availability or   web hosting
                                                                                                                           or web              services in
                                                                                                                                    hosting services      in the
                                                                                                                                                             the
             U.S.
             U.S. for
                  for ByteDance-controlled
                      ByteDance-controlled applications,            including TikTok,
                                                     applications, including    TikTok, unless    the application
                                                                                          unless the                 severs ties
                                                                                                       application severs      ties to entities like
                                                                                                                                    to entities  like
             ByteDance
             ByteDance that that are  subject to
                                  are subject        the control
                                                to the   control of
                                                                  of aa foreign
                                                                        foreign adversary,
                                                                                 adversary, asas defined
                                                                                                 defined by    Congress in
                                                                                                            by Congress         Title 10.
                                                                                                                            in Title  10. The
                                                                                                                                          The bill
                                                                                                                                               bill provides
                                                                                                                                                    provides
             ByteDance
             ByteDance with with aa window
                                     window of of time
                                                   time toto divest,
                                                             divest, and
                                                                     and the
                                                                          the bill’s
                                                                               bill's prohibitions
                                                                                      prohibitions dodo not
                                                                                                         not apply   if it
                                                                                                              apply if  it completes
                                                                                                                           completes a   a qualified
                                                                                                                                            qualified
             divestment.
             divestment. It  It also
                                also creates
                                     creates a a process
                                                 process for    the President
                                                            for the  President toto designate
                                                                                     designate certain,    specifically defined
                                                                                                 certain, specifically               social media
                                                                                                                           defined social    media
             applications
             applications thatthat are  subject to
                                   are subject    to the   control of
                                                      the control   of a
                                                                       a foreign
                                                                         foreign adversary—per
                                                                                   adversary—per TitleTitle 10—and
                                                                                                            10—and posepose a a national    security risk.
                                                                                                                                 national security    risk.
             Designated
             Designated applications         will face
                             applications will    face aa prohibition
                                                           prohibition onon app   store availability
                                                                            app store    availability and   web hosting
                                                                                                      and web                services in
                                                                                                                  hosting services      in the
                                                                                                                                            the U.S.
                                                                                                                                                U.S. unless
                                                                                                                                                     unless
             they   sever ties
             they sever         to entities
                          ties to  entities subject
                                             subject to    the control
                                                        to the  control of
                                                                         of a
                                                                            a foreign
                                                                              foreign adversary
                                                                                        adversary through
                                                                                                    through divestment.
                                                                                                               divestment. This This bill
                                                                                                                                      bill addresses
                                                                                                                                           addresses thethe
             immediate
             immediate national        security risks
                           national security      risks posed
                                                         posed by   TikTok and
                                                                 by TikTok  and creates
                                                                                  creates aa process    for the
                                                                                              process for   the President
                                                                                                                 President to to protect     Americans’
                                                                                                                                  protect Americans'
             national  security and
             national security     and privacy
                                         privacy from
                                                   from foreign
                                                          foreign adversary-controlled
                                                                  adversary-controlled applications
                                                                                             applications in in the future.
                                                                                                                the future.

             Click      to read
                   HERE to
             Click HERE    read text of the
                                text of the bill.
                                            bill.

             What the
             What the Bill
                      Bill Does:
                           Does:

                   • Incentivize
                     Incentivize Divestment
                                 Divestment of  of TikTok:
                                                   TikTok: Unless     TikTok is
                                                             Unless TikTok     is fully
                                                                                  fully divested   such that
                                                                                        divested such          it is
                                                                                                         that it  is no
                                                                                                                     no longer
                                                                                                                        longer controlled
                                                                                                                                 controlled by
                                                                                                                                            by aa PRC-
                                                                                                                                                  PRC-
                     based  entity, the
                     based entity,  the application    will face
                                         application will   face aa prohibition
                                                                     prohibition in in the
                                                                                       the U.S.  from app
                                                                                            U.S. from       store availability
                                                                                                       app store     availability and web hosting
                                                                                                                                  and web  hosting
                     services until
                     services       such time
                              until such   time as
                                                 as a divestment occurs.
                                                    a divestment      occurs.
                     Address the
                   • Address  the National    Security Risks
                                   National Security    Risks Posed
                                                                Posed by by Other     Applications Controlled
                                                                            Other Applications       Controlled by by Foreign    Adversary
                                                                                                                       Foreign Adversary
                     Companies:
                     Companies: Establishes
                                  Establishes a  a process
                                                   process forfor the
                                                                  the President
                                                                       President to  to designate   other foreign
                                                                                        designate other    foreign adversary
                                                                                                                      adversary controlled    social media
                                                                                                                                  controlled social  media
                     applications—as
                     applications—as defined
                                        defined by    statute—that shall
                                                  by statute—that       shall face
                                                                              face aa prohibition
                                                                                       prohibition onon app   store availability
                                                                                                        app store     availability and
                                                                                                                                   and access
                                                                                                                                       access to   web
                                                                                                                                                to web
                     hosting  services in
                     hosting services   in the
                                           the United   States unless
                                               United States              they sever
                                                                  unless they    sever ties
                                                                                         ties to
                                                                                              to the foreign adversary-controlled
                                                                                                 the foreign  adversary-controlled company.
                                                                                                                                        company. TheThe
                     President
                     President may    exercise this
                                may exercise    this authority
                                                     authority if if an
                                                                     an application
                                                                        application presents
                                                                                        presents a a national   security threat,
                                                                                                     national security     threat, has
                                                                                                                                   has over one million
                                                                                                                                       over one   million
                     annual
                     annual active
                             active users,
                                     users, and  is under
                                             and is under thethe control
                                                                  control of
                                                                           of a  foreign adversary
                                                                              a foreign                entity, as
                                                                                            adversary entity,   as defined
                                                                                                                    defined by   statute.
                                                                                                                              by statute.
                   • Empower
                     Empower Users
                                Users to   Switch Platforms:
                                       to Switch    Platforms: Designated
                                                                  Designated applications
                                                                                 applications mustmust provide
                                                                                                        provide users     with aa copy
                                                                                                                   users with     copy of
                                                                                                                                       of their
                                                                                                                                          their data  in aa
                                                                                                                                                 data in
                     format
                     format that
                             that can
                                  can be
                                       be imported
                                            imported into
                                                       into anan alternative    social media
                                                                 alternative social     media application.     All users
                                                                                                 application. All          would be
                                                                                                                    users would    be able
                                                                                                                                      able to
                                                                                                                                           to download
                                                                                                                                              download
                     their
                     their data
                           data and
                                and content
                                      content and
                                               and transition
                                                     transition toto another
                                                                      another platform.
                                                                                 platform.

             What the
             What the Bill
                      Bill Does
                           Does Not
                                Not Do:
                                    Do:

                   • Punish
                     Punish Individual  Social Media
                             Individual Social  Media Users:
                                                        Users: No  enforcement action
                                                               No enforcement      action cancan be
                                                                                                  be taken
                                                                                                     taken against
                                                                                                            against individual
                                                                                                                      individual users
                                                                                                                                 users ofof an
                                                                                                                                            an
                     impacted
                     impacted app.
                                app.
                   • Censor  Speech: This
                     Censor Speech:   This legislation
                                           legislation does
                                                        does not
                                                             not regulate     speech. It
                                                                   regulate speech.    It is focused entirely
                                                                                          is focused   entirely on
                                                                                                                on foreign
                                                                                                                    foreign adversary
                                                                                                                             adversary control—not
                                                                                                                                         control—not
                     the content of
                     the content     speech being
                                  of speech          shared. This
                                              being shared.  This bill
                                                                    bill only
                                                                         only applies
                                                                              applies to  specifically defined
                                                                                      to specifically             social media
                                                                                                        defined social   media apps    subject to
                                                                                                                                apps subject          the
                                                                                                                                                   to the
                     control of foreign
                     control of foreign adversaries,
                                        adversaries, as
                                                      as defined
                                                         defined byby Congress.
                                                                       Congress.
                   • Impact  Apps That
                     Impact Apps    That Sever
                                         Sever Ties
                                                Ties to
                                                     to Foreign   Adversary-Controlled Entities:
                                                        Foreign Adversary-Controlled                   An app,
                                                                                             Entities: An app, including    TikTok, that
                                                                                                                including TikTok,         severs ties
                                                                                                                                    that severs     ties
                     with entities subject
                     with entities subject to
                                            to the
                                               the control of aa foreign
                                                   control of    foreign adversary
                                                                           adversary is
                                                                                      is not
                                                                                         not impacted
                                                                                               impacted byby any
                                                                                                             any other
                                                                                                                   other provision
                                                                                                                          provision of
                                                                                                                                     of the
                                                                                                                                        the bill.
                                                                                                                                             bill.




             TikTok
             TikTok




                                                                                                    APP-546
https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-introduce-legislation-protect-americans-0
https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-introdA_IF4Pa754§ct-americans-0                                                                                      3/4
5/15/24, 5:19 PM                      Gallagher, Bipartisan Coalition Introduce Legislation to Protect Americans From Foreign Adversary Controlled Applications, Including TikTok |I Select Committee on the CCP
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            ABOUT
            ABOUT             COMMITTEE ACTIVITY
                              COMMITTEE ACTIVITY                          DOCUMENTS
                                                                          DOCUMENTS                   MEDIA
                                                                                                      MEDIA             CONTACT
                                                                                                                        CONTACT                ISSUES
                                                                                                                                               ISSUES             LIVE STREAM
                                                                                                                                                                  LIVE STREAM




            Copyright
            Copyright            Privacy
                                 Privacy         House.gov
                                                 House gov             Accessibility
                                                                       Accessibility




                                                                                                    APP-547
https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-introduce-legislation-protect-americans-0
https://selectcommitteeontheccp.house.gov/media/press-releases/gallagher-bipartisan-coalition-introdA_FeglEt754orect-americans-0                                                                                   4/4
5/16/24, 8:57 AM                                        Reps. Gallagher and Krishnamoorthi Interviewed on CNN
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                    Reps.
                    Reps. Gallagher
                          Gallagher and
                                    and Krishnamoorthi
                                        Krishnamoorthi
                    Interviewed on CNN
                    Interviewed on CNN

                    LIST OF SPEAKERS
                    LIST OF SPEAKERS


                    JAKE
                    JAKE TAPPER,
                         TAPPER, CNN
                                 CNN HOST:
                                     HOST:
                    In
                    In our tech lead
                       our tech lead now,
                                     now, TikTok
                                          TikTok influencers,
                                                 influencers, beware.
                                                              beware. Today,
                                                                      Today, aa House
                                                                                House
                    committee voted on
                    committee voted on aa bipartisan
                                          bipartisan bill
                                                     bill that
                                                          that could
                                                               could effectively
                                                                     effectively ban the app
                                                                                 ban the app
                    in
                    in the United States
                       the United States if
                                         if it gets passed
                                            it gets passed by
                                                           by the
                                                              the entire
                                                                  entire House,
                                                                         House, then goes to
                                                                                then goes to
                    the Senate, then
                    the Senate, then the
                                     the president
                                         president signs
                                                   signs it
                                                         it into
                                                            into law.
                                                                 law.

                    The
                    The legislation would force
                        legislation would force ByteDance.
                                                ByteDance. That's
                                                           That's the
                                                                  the name of TikTok
                                                                      name of TikTok 's
                                                                                     's
                    parent
                    parent company to sever
                           company to sever ties with its
                                            ties with its host
                                                          host country
                                                               country China or be
                                                                       China or    banned
                                                                                be banned
                    from US app
                    from US     stores.
                            app stores.

                    The
                    The lawmakers
                        lawmakers behind
                                  behind the
                                         the bill say apps
                                             bill say apps that
                                                           that are
                                                                are controlled
                                                                    controlled by foreign
                                                                               by foreign
                    adversaries
                    adversaries such
                                such as
                                     as China,
                                        China, collect way too
                                               collect way too much
                                                               much information
                                                                    information on the
                                                                                on the
                    Americans who
                    Americans who use them, use
                                  use them, use the
                                                the apps,
                                                    apps, and
                                                          and posed security risks
                                                              posed security risks to the
                                                                                   to the
                    United States.
                    United States.

                    Joining
                    Joining us
                            us now,
                               now, Republican
                                    Republican Congressman
                                               Congressman Mike
                                                           Mike Gallagher
                                                                Gallagher and
                                                                          and
                    Democratic
                    Democratic Congressman
                               Congressman Raja
                                           Raja Krishnamoorthi, the co-authors
                                                Krishnamoorthi, the co-authors of the
                                                                               of the
                    bill.
                    bill.

                    Mr.
                    Mr. Chairman,
                        Chairman, let
                                  let me
                                      me start with you.
                                         start with you. There
                                                         There are
                                                               are more
                                                                   more than 170 million
                                                                        than 170 million
                     TikTok
                     TikTok users
                            users in the US
                                  in the US It's
                                            It's one
                                                 one of the most
                                                     of the most popular
                                                                 popular apps
                                                                         apps in
                                                                              in the world.
                                                                                 the world.

                    What do
                    What    you say
                         do you say to
                                    to them
                                       them if the US
                                            if the US ends
                                                      ends up
                                                           up banning
                                                              banning TikTok
                                                                      TikTok ?? As
                                                                                As I'm
                                                                                   I'm
                    sure you've heard
                    sure you've       from aa lot
                                heard from    lot of them today,
                                                  of them today, they
                                                                 they are worried. They
                                                                      are worried. They
                                                             APP-548
                                                                 8548
https://plus.cq.com/doc/newsmakertranscripts-7957442?11&searchId=C4M6gNp8
https://plus.cq.com/doc/newsmakertranscripts-7957442?118searchld44E6rIp                                                          1/5
5/16/24, 8:57 AM                                        Reps. Gallagher and Krishnamoorthi Interviewed on CNN
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                    love
                    love TikTok
                         TikTok .

                    REP.
                    REP. MIKE
                         MIKE GALLAGHER
                              GALLAGHER (R-WI),
                                        (R-WI), CHAIRMAN,
                                                CHAIRMAN, SELECT
                                                          SELECT
                    COMMITTEE
                    COMMITTEE ON
                              ON


                    CHINA:
                    CHINA:
                    Well, we
                    Well, we hope
                             hope that
                                  that they will continue
                                       they will continue to
                                                          to be
                                                             be able
                                                                able to
                                                                     to use
                                                                        use the
                                                                            the platform
                                                                                platform
                    once
                    once TikTok
                         TikTok makes
                                makes the
                                      the responsible
                                          responsible decision
                                                      decision to separate itself
                                                               to separate        from
                                                                           itself from
                    ByteDance.
                    ByteDance. TikTok
                               TikTok can
                                      can continue you need
                                          continue you      to exist
                                                       need to exist in
                                                                     in the United
                                                                        the United
                    States as
                    States as long
                              long as
                                   as its
                                      its not
                                          not effectively
                                              effectively controlled
                                                          controlled by
                                                                     by the
                                                                        the Chinese
                                                                            Chinese
                    communist
                    communist party.
                              party.

                    That
                    That is
                         is the
                            the issue,
                                issue, and
                                       and that will make
                                           that will      for aa better
                                                     make for    better user
                                                                        user experience.
                                                                             experience.
                    People won't have
                    People won't have to worry about
                                      to worry about manipulation
                                                     manipulation of
                                                                  of algorithms.
                                                                     algorithms. They
                                                                                 They
                    won't have
                    won't have to worry about
                               to worry about aa hostile foreign adversary
                                                 hostile foreign adversary potentially
                                                                           potentially
                    manipulating
                    manipulating the
                                 the news that Americans
                                     news that Americans consume.
                                                         consume.

                    And II would
                    And    would say the pressure
                                 say the pressure campaign
                                                  campaign that
                                                           that TikTok
                                                                TikTok put
                                                                       put in
                                                                           in place
                                                                              place
                    today where they
                    today where they forced the pop
                                     forced the pop up
                                                    up on the app
                                                       on the     that called
                                                              app that called members
                                                                              members of
                                                                                      of
                    Congress
                    Congress and
                             and also told aa lie
                                 also told        that we
                                              lie that we were
                                                          were --
                                                               -- we
                                                                  we were
                                                                     were forcing
                                                                          forcing an
                                                                                  an
                    outright
                    outright ban, which this
                             ban, which this bill
                                             bill is
                                                  is not
                                                     not proves
                                                         proves the
                                                                the danger.
                                                                    danger. They sort of
                                                                            They sort of
                    proved
                    proved the
                           the entire
                               entire point.
                                      point. Imagine
                                             Imagine if
                                                     if those
                                                        those lies were allowed
                                                              lies were allowed to
                                                                                to spread
                                                                                   spread
                    on
                    on topics
                       topics like
                              like our
                                   our election
                                       election or
                                                or aa foreign war.
                                                      foreign war.

                    So, that's
                    So,        what we're
                        that's what we're trying
                                          trying to guard against.
                                                 to guard          And in
                                                          against. And in our
                                                                          our construct,
                                                                              construct,
                    users
                    users can
                          can continue
                              continue to
                                       to enjoy
                                          enjoy the
                                                the app so long
                                                    app so long as we fix
                                                                as we fix the
                                                                          the owner
                                                                              owner
                    appreciate
                    appreciate problem.
                               problem.


                    TAPPER:
                    TAPPER:
                    So, Congressman
                    So, Congressman Krishnamoorthi,
                                    Krishnamoorthi, if
                                                    if it's
                                                       it's not
                                                            not an
                                                                an outright
                                                                   outright ban, what is
                                                                            ban, what is it
                                                                                         it
                    exactly? And what
                    exactly? And what would
                                      would happen? Would the
                                            happen? Would the app
                                                              app disappear from
                                                                  disappear from
                    people's
                    people's phones or would
                             phones or would it
                                             it just stopping --
                                                just stopping -- sold
                                                                 sold by Apple, et
                                                                      by Apple, et cetera?
                                                                                   cetera?
                                                             APP-549
                                                                 8549
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                    REP.
                    REP. RAJA
                         RAJA KRISHNAMOORTHI (D-IL):
                              KRISHNAMOORTHI (D-IL):
                    Well, it's
                    Well, it's aa forced sale. That's
                                  forced sale.        what --
                                               That's what -- you
                                                              you know,
                                                                  know, that's what's
                                                                        that's what's
                    happened
                    happened in
                             in the
                                the past.
                                    past. By
                                          By the way, another
                                             the way, another app,
                                                              app, the
                                                                   the popular
                                                                       popular app
                                                                               app called
                                                                                   called
                    Grindr, was one
                    Grindr, was one its
                                    its purchased
                                        purchased by the Chinese
                                                  by the Chinese and
                                                                 and basically, the
                                                                     basically, the
                    American federal
                    American federal government
                                     government forced
                                                forced the
                                                       the sale
                                                           sale of
                                                                of that
                                                                   that particular
                                                                        particular app
                                                                                   app
                    because
                    because again,
                            again, the
                                   the CCP
                                       CCP has
                                           has the
                                               the access to very
                                                   access to very sensitive
                                                                  sensitive data
                                                                            data about
                                                                                 about
                    government officials
                    government officials and
                                         and military
                                             military officials.
                                                      officials.

                    And this
                    And this is
                             is aa much
                                   much bigger
                                        bigger problem with regard
                                               problem with        to TikTok
                                                            regard to TikTok . TikTok
                                                                               TikTok is
                                                                                      is
                    owned
                    owned by
                          by ByteDance.
                             ByteDance. The
                                        The editor
                                            editor in
                                                   in chief
                                                      chief of
                                                            of ByteDance
                                                               ByteDance is himself the
                                                                         is himself the
                    secretary
                    secretary of
                              of the very Chinese
                                 the very Chinese communist
                                                  communist party
                                                            party cell
                                                                  cell embedded
                                                                       embedded in
                                                                                in the
                                                                                   the
                    leadership
                    leadership of
                               of ByteDance. And his
                                  ByteDance. And his duty,
                                                     duty, according
                                                           according to
                                                                     to him,
                                                                        him, is to make
                                                                             is to make
                    sure
                    sure that
                         that TikTok
                              TikTok and other products
                                     and other products abide
                                                        abide by
                                                              by correct
                                                                 correct political
                                                                         political
                    direction. And so
                    direction. And so that's why we
                                      that's why we took
                                                    took this
                                                         this app section today.
                                                              app section today. The
                                                                                 The
                    House
                    House Energy
                          Energy and
                                 and Commerce
                                     Commerce Committee voted 50
                                              Committee voted    to zero
                                                              50 to zero
                    unanimously.
                    unanimously.

                    That
                    That has
                         has not
                             not happened with regard
                                 happened with regard to
                                                      to any
                                                         any bill
                                                             bill affecting
                                                                  affecting this
                                                                            this particular
                                                                                 particular
                    platform. And now
                    platform. And     we look
                                  now we      forward to
                                         look forward to its
                                                         its passage
                                                             passage in
                                                                     in the
                                                                        the House.
                                                                            House.


                    TAPPER:
                    TAPPER:
                    So, Mr.
                    So, Mr. Chairman,
                            Chairman, there's
                                      there's aa First Amendment fight
                                                 First Amendment       over this
                                                                 fight over this as well.
                                                                                 as well.
                    The ACLU says
                    The ACLU says that your legislation
                                  that your legislation soon
                                                        soon as
                                                             as aa violation
                                                                   violation of free speech
                                                                             of free speech
                    rights.
                    rights. The
                            The senior
                                senior policy counsel at
                                       policy counsel    the organization
                                                      at the              says, quote,
                                                             organization says, quote, just
                                                                                       just
                    because
                    because the
                            the bill
                                bill sponsors
                                     sponsors claimed that banning
                                              claimed that banning TikTok
                                                                   TikTok isn't
                                                                          isn't about
                                                                                about
                    suppressing speech, there's
                    suppressing speech, there's no
                                                no denying
                                                   denying that
                                                           that it would do
                                                                it would do just that. We
                                                                            just that. We
                    strongly
                    strongly urge
                             urge legislators
                                  legislators to vote no
                                              to vote no on this unconstitutional
                                                         on this unconstitutional bill,
                                                                                  bill,
                    unquote.
                    unquote.

                    Do you think
                    Do you think that
                                 that the
                                      the national
                                          national security
                                                   security threat outweighs whatever
                                                            threat outweighs whatever free
                                                                                      free
                    speech
                    speech issues there are
                           issues there are out
                                            out there?
                                                there?
                                                            APP-550     8550
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                    GALLAGHER:
                    GALLAGHER:
                    To
                    To be
                       be clear,
                          clear, II don't
                                    don't think our bill
                                          think our bill endangers
                                                         endangers any
                                                                   any First Amendment
                                                                       First Amendment
                    issues
                    issues at
                           at all. We're talking
                              all. We're talking about
                                                 about foreign
                                                       foreign ownership
                                                               ownership and
                                                                         and control
                                                                             control of
                                                                                     of an
                                                                                        an
                    app. And once
                    app. And once that foreign ownership
                                  that foreign ownership is
                                                         is addressed,
                                                            addressed, not
                                                                       not only will
                                                                           only will
                    people
                    people be
                           be able
                              able to
                                   to continue to say
                                      continue to say whatever
                                                      whatever they want on
                                                               they want    the app,
                                                                         on the      you'll
                                                                                app, you'll
                    also
                    also have
                         have freedom
                              freedom of thought, freedom
                                      of thought, freedom from
                                                          from fear
                                                               fear that your thought
                                                                    that your thought
                    might
                    might be
                          be manipulated
                             manipulated because
                                         because of
                                                 of the
                                                    the opaque
                                                        opaque algorithms.
                                                               algorithms.

                    And for
                    And for that
                            that illogical
                                 illogical claim
                                           claim that
                                                 that TikTok
                                                      TikTok is
                                                             is making to be
                                                                making to be true
                                                                             true than
                                                                                  than
                    previous
                    previous incidents where we've
                             incidents where we've addressed ownership, for
                                                   addressed ownership, for example,
                                                                            example, in
                                                                                     in
                    the
                    the antitrust
                        antitrust paradigm, would have
                                  paradigm, would have had
                                                       had aa massive
                                                              massive First Amendment
                                                                      First Amendment
                    impact.
                    impact. The
                            The breakup
                                breakup of
                                        of Bell
                                           Bell in 1982 would
                                                in 1982 would have
                                                              have been
                                                                   been one of the
                                                                        one of the
                    biggest further First
                    biggest further       Amendment issues
                                    First Amendment issues in American history.
                                                           in American history. But,
                                                                                But, of
                                                                                     of
                    course,
                    course, it wasn't.
                            it wasn't.

                    So that's
                    So that's --
                              -- we've
                                 we've carefully worked on
                                       carefully worked on this
                                                           this bill
                                                                bill for six months.
                                                                     for six         We've
                                                                             months. We've
                    worked with
                    worked with the White House
                                the White House to get technical
                                                to get technical assistance. We are
                                                                 assistance. We     very
                                                                                are very
                    confident
                    confident that this is
                              that this is aa construct
                                              construct that
                                                        that avoids
                                                             avoids any
                                                                    any issue
                                                                        issue like
                                                                              like aa bill
                                                                                      bill of
                                                                                           of
                    attainder
                    attainder does
                              does not
                                   not infringe
                                       infringe on freedom of
                                                on freedom of speech.
                                                              speech. It's
                                                                      It's about
                                                                           about foreign
                                                                                 foreign
                    adversary
                    adversary control
                              control of the news
                                      of the news and the ability
                                                  and the         to spy
                                                          ability to spy on Americans.
                                                                         on Americans.


                    KRISHNAMOORTHI:
                    KRISHNAMOORTHI:
                    It's
                    It's the
                         the same
                             same principle.
                                  principle. Look, the First
                                             Look, the       Amendment does
                                                       First Amendment does not
                                                                            not protect
                                                                                protect
                    espionage.
                    espionage. It
                               It does
                                  does not
                                       not protect
                                           protect the
                                                   the right
                                                       right to
                                                             to harm American national
                                                                harm American national
                    security.
                    security. It's
                              It's the
                                   the same
                                       same reason why under
                                            reason why       our laws,
                                                       under our       we prevent
                                                                 laws, we prevent aa
                    certain
                    certain portion
                            portion of
                                    of ownership
                                       ownership of
                                                 of broadcast
                                                    broadcast networks
                                                              networks and
                                                                       and certain
                                                                           certain media
                                                                                   media
                    outlets.
                    outlets.

                    It's
                    It's the
                         the same
                             same reason why, for
                                  reason why, for instance,
                                                  instance, aa bookstore
                                                               bookstore needs to comply
                                                                         needs to comply
                    with other
                    with other rules,
                               rules, even
                                      even though
                                           though it
                                                  it sells
                                                     sells books
                                                           books and
                                                                 and protected
                                                                     protected First
                                                                               First
                    Amendment expression.
                    Amendment             And so,
                              expression. And so, that
                                                  that is what is
                                                       is what is at
                                                                  at issue
                                                                     issue here. We don't
                                                                           here. We don't
                                                            APP-551     8551
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                             want to
                             want to sensor
                                     sensor any type of
                                            any type of content.
                                                        content. This
                                                                 This is
                                                                      is not
                                                                         not about
                                                                             about a
                                                                                   a content-specific
                                                                                     content-specific
                             law.
                             law. This
                                  This is
                                       is about
                                          about the
                                                the manner
                                                    manner in which the
                                                           in which the CCP
                                                                        CCP controls
                                                                            controls ByteDance,
                                                                                     ByteDance,
                             the
                             the parent of the
                                 parent of the platform
                                               platform at
                                                        at issue.
                                                           issue.



                             TAPPER:
                             All right.
                             All right. Chairman
                                        Chairman Mike
                                                 Mike Gallagher
                                                      Gallagher and
                                                                and Congressman
                                                                    Congressman Raja
                                                                                Raja
                             Krishnamoorthi,
                             Krishnamoorthi, the
                                             the ranking
                                                 ranking Democrat
                                                         Democrat on the Special
                                                                  on the Special Committee on
                                                                                 Committee on
                             the
                             the Chinese
                                 Chinese Communist
                                         Communist Party, thank you
                                                   Party, thank you so
                                                                    so much.
                                                                       much.

                             Appreciate your
                             Appreciate your taking the time
                                             taking the time to talk to
                                                             to talk to us
                                                                        us today.
                                                                           today.



                             KRISHNAMOORTHI:
                             Jake,
                             Jake, thank you so
                                   thank you so much.
                                                much.



                             List
                             List of Speakers
                                  of Speakers
                             REP.
                             REP. MIKE
                                  MIKE GALLAGHER
                                       GALLAGHER (R-WI)
                                                 (R-WI)

                             REP.
                             REP. RAJA
                                  RAJA KRISHNAMOORTHI
                                       KRISHNAMOORTHI (D-IL)
                                                      (D-IL)

                             JAKE
                             JAKE TAPPER,
                                  TAPPER, CNN
                                          CNN HOST
                                              HOST




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                           NW, 6th floor •· Washington,
                                            Washington, D.C. 20004 ·• 202-793-5300
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                                                                                         8552                                                                                    5/5
5/21/24, 10:10
5/21/24, 10:10 AM
               AM       Tom
                        Tom Cotton on X:
                            Cotton on X: "TikTok
                                         "TikTok exposes
                                                 exposes Americans'
                                                         Americans’ data to the
                                                                    data to the Chinese
                                                                                Chinese government, exposes children
                                                                                        government, exposes children to
                                                                                                                     to harmful
                                                                                                                        harmful content,
                                                                                                                                content, and is a
                                                                                                                                         and is a sou...
                                                                                                                                                  sou…
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        x                             <—      Post
                                              Post
                                                                                                                                   New to
                                                                                                                                   New to X?
                                                                                                                                          X?
                                                                                                                                   Sign up now to get your own personalized timeline!
                                             Tom Cotton
                                             Tom Cotton*
             Settings
             Settings                        @SenTomCotton
                                             @SenTomCotton
                                                                                                                                                   Sign up with Google
                                      TikTok exposes Americans'
                                      TikTok exposes  Americans’ data  to the
                                                                  data to the Chinese  government, exposes
                                                                              Chinese government,  exposes
                                      children to harmful
                                      children to harmful content,
                                                          content, and
                                                                   and is
                                                                       is a source of
                                                                          a source of propaganda.
                                                                                      propaganda.
                                                                                                                                                  Sign up with Apple

                                      We
                                      We should
                                         should ban it in
                                                ban it in the U.S. or
                                                          the U.S.    force it
                                                                   or force it to
                                                                               to be
                                                                                  be sold.
                                                                                     sold.
                                                                                                                                                  Create account

                                                                                                                                   By signing up, you agree to the Terms of Service and
                                                                                                                                   Privacy Policy
                                                                                                                                           Policy,, including
                                                                                                                                                    including Cookie Use.


                                                                                                          Oke Your             -
                                                                                                                               7
                                                                                                                      Day
                                                                                                                                   Relevant people
                                                                                                                                   Relevant people

                                                                                                                                           Tom Cotton
                                                                                                                                           Tom Cotton
                                                                                                                                           @SenTomCotton
                                                                                                                                           @SenTomCotton
                                                                                                                                                          ID               CifFollow

                                                                                                                                           U.S.
                                                                                                                                           U.S. Senator
                                                                                                                                                Senator proudly serving the
                                                                                                                                                        proudly serving the state
                                                                                                                                                                            state
                                                                                                                                           of Arkansas.
                                                                                                                                           of Arkansas.
                                                    II                                                                                                                                    1
                                              OX          THE RISING THREAT OF CHINA                                LEVIN
                                        1:09 ! "
                                        1,091                        ONENATION=                   * WM=        SUNDAY 8PM ET            Something went
                                                                                                                                        Something went wrong.
                                                                                                                                                       wrong. Try reloading.
                                                                                                                                                              Try reloading.


                                      1:16 PM
                                      1:16 PM ·• Mar 10, 2024
                                                 Mar 10, 2024 · 54.2K
                                                                54.2K Views                                                                                  Retry

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                                      222 Reposts
                                          Reposts        43 Quotes
                                                         43 Quol     827
                                                                     827 Likes       15 Bookmarks
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                               Don't miss what’s
                                          what's happening                                                                                                           Log in
                                                                                                                                                                         in       Sign up
                                                                                                                                                                                CID
                               People on
                               People on X
                                         X are
                                           are the first to
                                               the first to know.
                                                            know.


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                                                                                       MI,   MP


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                                                                                                                                                                                              1/1
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        REP. RAJA KRISHNAMOORTHI
        REP. RAJA KRISHNAMOORTHI INTERVIEWED
                                 INTERVIEWED ON
                                             ON MEET
                                                MEET THE PRESS
                                                     THE PRESS
                                          (March 12,
                                          (March 12, 2024)
                                                     2024)


 Yamiche Alcindor:
 Yamiche Alcindor:
        Joining
        Joining me
                me now is democratic
                   now is democratic Congressman
                                     Congressman from
                                                 from Illinois, Representative
                                                      Illinois, Representative
 Krishnamoorthi. He
 Krishnamoorthi. He is the ranking
                    is the ranking member
                                   member of the China
                                          of the China Select
                                                       Select Committee
                                                              Committee and
                                                                        and he
                                                                            he and Chairman
                                                                               and Chairman
 Mike Gallagher
 Mike           introduced that
      Gallagher introduced that bill that could
                                bill that       ban TikTok.
                                          could ban TikTok. So thank you
                                                            So thank you so
                                                                         so much for being
                                                                            much for being here,
                                                                                           here,
 Congressman.
 Congressman.
 Rep. Krishnamoorthi:
 Rep. Krishnamoorthi:
        Hey, thanks,
        Hey, thanks, Yamiche.
                     Yamiche.
 Yamiche Alcindor:
 Yamiche Alcindor:
        Now, it's
        Now, it’s still
                  still unclear when the
                        unclear when the Senate will take
                                         Senate will take up your legislation,
                                                          up your              but II want
                                                                  legislation, but    want to
                                                                                           to play
                                                                                              play for
                                                                                                   for
 you what
 you what some
          some senators
               senators are
                        are saying
                            saying about your bill.
                                   about your bill. Take
                                                    Take aa listen.
                                                            listen.
        Sen.
         Sen. Lindsey
              Lindsey Graham:
                       Graham:
        II understand
           understand people
                      people like
                             like TikTok.
                                  TikTok. II would
                                             would like to keep
                                                   like to keep TikTok
                                                                TikTok running but not
                                                                       running but not have
                                                                                       have our
                                                                                            our
        data
         data used
              used by the communist
                   by the communist Chinese.
                                     Chinese.

        Anchor:
        Anchor:
        How would
        How would you
                  you vote
                      vote on this?
                           on this?

        Sen.
         Sen. Lindsey
              Lindsey Graham:
                       Graham:
        II don’t
           don't know yet. II mean
                 know yet.         I’m just
                              mean I'm just being
                                            being honest with you.
                                                  honest with you. II am
                                                                      am definitely
                                                                         definitely conflicted.
                                                                                    conflicted.
        Sen.  Dick Durbin:
        Sen. Dick   Durbin:
        There’s
        There's aa lot
                   lot of
                       of questions
                          questions my
                                    my colleagues
                                        colleagues are
                                                    are asking
                                                        asking myself included. II haven’t
                                                               myself included.    haven't come to aa
                                                                                           come to
        final decision
        final decision as  to whether
                        as to whether or
                                      or not
                                         not it
                                             it should be banned.
                                                should be banned.

 Yamiche Alcindor:
 Yamiche Alcindor:
        So
        So Congressman you just
           Congressman you just got
                                got aa classified
                                       classified briefing this afternoon,
                                                  briefing this            what is
                                                                afternoon, what    your message
                                                                                is your         to
                                                                                        message to
 senators in particular
 senators in            who may
             particular who     be on
                            may be    the fence
                                   on the fence about this legislation?
                                                about this legislation?
 Rep. Krishnamoorthi:
 Rep. Krishnamoorthi:
        Well, first
        Well, first of
                    of all, this is
                       all, this is not
                                    not aa ban.
                                           ban. What
                                                What we're
                                                     we’re calling
                                                           calling for is aa divestment
                                                                   for is    divestment of
                                                                                        of TikTok by
                                                                                           TikTok by
 ByteDance, its
 ByteDance, its owner, which is
                owner, which is controlled
                                controlled by the Chinese
                                           by the Chinese Communist Party. And
                                                          Communist Party. And really, this isn't
                                                                               really, this isn’t
 about
 about TikTok,
       TikTok, it’s
               it's about ByteDance. And
                    about ByteDance. And II think
                                            think that
                                                  that what
                                                       what we're
                                                            we’re hearing
                                                                  hearing is the President
                                                                          is the President wants
                                                                                           wants
 this authority
 this           to be
      authority to be able to balance
                      able to balance the
                                      the legitimate
                                          legitimate concerns
                                                     concerns of
                                                              of people who are
                                                                 people who are on the platform,
                                                                                on the platform,
 who should
 who should continue to enjoy
            continue to       the platform,
                        enjoy the           with the
                                  platform, with the legitimate
                                                     legitimate national
                                                                national security
                                                                         security concerns that
                                                                                  concerns that



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 have to do
 have to    with our
         do with our adversary, the CCP,
                     adversary, the CCP, and what it
                                         and what it does
                                                     does in terms of
                                                          in terms of its
                                                                      its access to data
                                                                          access to data as well as
                                                                                         as well as
 in manipulation
 in manipulation of the algorithm
                 of the algorithm on the platform.
                                  on the platform.
 Yamiche Alcindor:
 Yamiche Alcindor:
        Congressman, if they
        Congressman, if they don’t
                             don't divest, you will
                                   divest, you will ban
                                                    ban them.
                                                        them. And
                                                              And to
                                                                  to be
                                                                     be clear, you also
                                                                        clear, you also put
                                                                                        put aa six-
                                                                                               six-
 month
 month deadline
       deadline on this. So
                on this. So explain
                            explain how that how
                                    how that     you square
                                             how you        that with
                                                     square that with the
                                                                      the idea
                                                                          idea that
                                                                               that you
                                                                                    you put this
                                                                                        put this
 ban, you
 ban, you put the consequence
          put the consequence of the ban
                              of the ban on the table.
                                         on the table. That was your
                                                       That was your decision.
                                                                     decision.
 Rep. Krishnamoorthi:
 Rep. Krishnamoorthi:
        Yeah. So
        Yeah.    basically they
              So basically they would
                                would be
                                      be suspended
                                         suspended from being able
                                                   from being      to operate
                                                              able to         until they
                                                                      operate until they comply
                                                                                         comply
 with the
 with the law.
          law. This is very
               This is very common. We have
                            common. We      various laws
                                       have various      that basically
                                                    laws that basically prevent
                                                                        prevent excess
                                                                                excess
 ownership with regard
 ownership with        to broadcast
                regard to broadcast outlets,
                                    outlets, telecom
                                             telecom companies,
                                                     companies, even
                                                                even railroads. And so
                                                                     railroads. And    what
                                                                                    so what
 we’re saying
 we're saying here
              here is that we
                   is that we need to comply
                              need to        with that
                                      comply with that particular
                                                       particular law.
                                                                  law. They
                                                                       They need to reduce
                                                                            need to        their
                                                                                    reduce their
 ownership to no
 ownership to    more than
              no more than aa 20%
                              20% stake in the
                                  stake in the company
                                               company and at that
                                                       and at that point they would
                                                                   point they would be
                                                                                    be in
                                                                                       in
 compliance.
 compliance.
 Yamiche Alcindor:
 Yamiche Alcindor:
        II understand
           understand your
                      your view
                           view on that. II want
                                on that.    want to
                                                 to also
                                                    also add
                                                         add something
                                                             something about former President
                                                                       about former President
 Trump. He said
 Trump. He said he believes that
                he believes that TikTok
                                 TikTok poses
                                        poses aa national
                                                 national security
                                                          security risk. He initially
                                                                   risk. He initially supported
                                                                                      supported
 banning it.
 banning it. II know you’re saying
                know you're        it would
                            saying it would be
                                            be suspended.
                                               suspended. He
                                                          He also is reversing
                                                             also is reversing course
                                                                               course here,
                                                                                      here, he’s
                                                                                            he's
 flipping the script.
 flipping the script. How
                      How worried
                          worried are you that
                                  are you that President
                                               President Trump and him
                                                         Trump and him not
                                                                       not supporting this bill
                                                                           supporting this bill
 that it
 that it could tank it
         could tank it in
                       in the
                          the eleventh
                              eleventh hour?
                                       hour?
 Rep. Krishnamoorthi:
 Rep. Krishnamoorthi:
        Well, II think
        Well,    think he's
                       he’s been
                            been flip flopping and
                                 flip flopping and then
                                                   then flipping.
                                                        flipping. Just the other
                                                                  Just the other day
                                                                                 day he gave aa
                                                                                     he gave
 rambling
 rambling conversation with or
          conversation with or interview
                               interview with
                                         with CNBC in which
                                              CNBC in which he said, you
                                                            he said, you know,
                                                                         know, TikTok is
                                                                               TikTok is
 absolutely
 absolutely aa national
               national security threat. I'm
                        security threat. I’m not
                                             not really
                                                 really sure what exactly
                                                        sure what         is motivating
                                                                  exactly is            Donald
                                                                             motivating Donald
 Trump.
 Trump. Something tells me
        Something tells me it
                           it has something to
                              has something to do with politics.
                                               do with politics. Surprise,
                                                                 Surprise, surprise. But the
                                                                           surprise. But the main
                                                                                             main
 point
 point here is we
       here is we have to do
                  have to    what is
                          do what is right. And what
                                     right. And what is
                                                     is right
                                                        right here is making
                                                              here is making sure that we
                                                                             sure that we ensure the
                                                                                          ensure the
 divestment
 divestment of the Chinese
            of the Chinese Communist Party and
                           Communist Party and ByteDance
                                               ByteDance with
                                                         with regard to TikTok.
                                                              regard to TikTok.
 Yamiche Alcindor:
 Yamiche Alcindor:
        Congressman,
        Congressman, II also want to
                        also want to ask
                                     ask you
                                         you about the constitutional
                                             about the                issues that
                                                       constitutional issues that might be here.
                                                                                  might be here.
 The
 The ACLU
     ACLU has been critical
          has been critical of your bill,
                            of your bill, saying it would
                                          saying it would violate
                                                          violate the
                                                                  the First
                                                                      First Amendment.
                                                                            Amendment. They
                                                                                       They
 argue,
 argue, quote, banning TikTok
        quote, banning        would have
                       TikTok would have aa profound implications for
                                            profound implications for our
                                                                      our constitutional
                                                                          constitutional right to
                                                                                         right to
 free speech and
 free speech and free
                 free expression because millions
                      expression because millions of
                                                  of Americans
                                                     Americans rely
                                                               rely on the app
                                                                    on the app every
                                                                               every day for
                                                                                     day for



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 information, communication,
 information, communication, advocacy
                             advocacy and
                                      and entertainment.
                                          entertainment. So
                                                         So how would you
                                                            how would you respond to that
                                                                          respond to that
 argument? And are
 argument? And     you concerned
               are you           that this
                       concerned that this bill
                                           bill could
                                                could end up being
                                                      end up being blocked
                                                                   blocked by
                                                                           by the
                                                                              the courts because
                                                                                  courts because
 of those constitutional
 of those                issues that
          constitutional issues that the
                                     the ACLU
                                         ACLU is
                                              is bringing
                                                 bringing up?
                                                          up?
 Rep. Krishnamoorthi:
 Rep. Krishnamoorthi:
        No, there
        No, there is
                  is no
                     no right.
                        right. There is no
                               There is    First Amendment
                                        no First Amendment right to espionage.
                                                           right to            No, there's
                                                                    espionage. No, there’s no First
                                                                                           no First
 Amendment
 Amendment right to harm
           right to      our national
                    harm our national security.
                                      security. There are aa number
                                                There are           of cases,
                                                             number of        including Supreme
                                                                       cases, including Supreme
 Court
 Court cases, that basically
       cases, that basically say
                             say that
                                 that even in aa situation
                                      even in    situation where,
                                                           where, for
                                                                  for instance,
                                                                      instance, aa bookstore
                                                                                   bookstore is
                                                                                             is not
                                                                                                not in
                                                                                                    in
 compliance with laws
 compliance with laws of general application
                      of general             and even
                                 application and      though obviously
                                                 even though           the authors
                                                             obviously the         and others
                                                                           authors and others
 who have
 who      the right
     have the       to express
              right to         themselves and
                       express themselves     the books
                                          and the books contained in that
                                                        contained in that bookstore
                                                                          bookstore should
                                                                                    should be
                                                                                           be
 able to sell
 able to      them. If
         sell them.    the bookstore
                    If the bookstore is
                                     is out
                                        out of
                                            of compliance, it’s not
                                               compliance, it's not allowed to operate
                                                                    allowed to         until it’s
                                                                               operate until it's in
                                                                                                  in
 compliance. And that's
 compliance. And that’s the
                        the situation
                            situation here.
                                      here. Similarly, you know,
                                            Similarly, you       broadcast outlets
                                                           know, broadcast outlets and
                                                                                   and other
                                                                                       other
 companies, we have
 companies, we have foreign ownership limits
                    foreign ownership limits or thresholds that
                                             or thresholds that can’t be crossed.
                                                                can't be          And II think
                                                                         crossed. And    think that
                                                                                               that
 this is
 this is one of those
         one of those situations
                      situations where
                                 where we
                                       we don’t want aa foreign
                                          don't want    foreign adversaries
                                                                adversaries controlled
                                                                            controlled social
                                                                                       social media
                                                                                              media
 app to basically
 app to basically harm
                  harm our
                       our national
                           national security, while we
                                    security, while we want
                                                       want people to continue
                                                            people to          to express
                                                                      continue to express
 themselves on
 themselves    the platform.
            on the platform. II think
                                think that
                                      that this
                                           this law
                                                law achieves
                                                    achieves the
                                                             the balance
                                                                 balance and so people
                                                                         and so        will be
                                                                                people will be able
                                                                                               able
 to continue
 to          to do
    continue to do so. We have
                   so. We have aa precedent
                                  precedent here.
                                            here. There was Grinder,
                                                  There was          which is
                                                            Grinder, which is aa LGBTQ
                                                                                 LGBTQ app that
                                                                                       app that
 was owned
 was owned at one time
           at one time by
                       by aa Chinese
                             Chinese company. Because we
                                     company. Because we realized that the
                                                         realized that the Chinese Communist
                                                                           Chinese Communist
 Party had
 Party     access to
       had access to the
                     the sensitive
                         sensitive personal
                                   personal data of LGBTQ
                                            data of LGBTQ members of the
                                                          members of the military and the
                                                                         military and the
 government, we
 government, we required
                required divestment.
                         divestment. That
                                     That happened without aa hitch.
                                          happened without    hitch. It
                                                                     It happened
                                                                        happened quickly
                                                                                 quickly
 because Grinder
 because         was aa valuable
         Grinder was    valuable social
                                 social media
                                        media app, just as
                                              app, just as TikTok is, and
                                                           TikTok is, and there
                                                                          there was
                                                                                was no
                                                                                    no disruption
                                                                                       disruption
 of
 of service, which is
    service, which is what
                      what we
                           we would
                              would expect
                                    expect here as well.
                                           here as well.
 Yamiche Alcindor:
 Yamiche Alcindor:
        Well Congressman
        Well Congressman you
                         you talked
                             talked about
                                    about TikTok being aa sort
                                          TikTok being         of bookstore.
                                                          sort of bookstore. What
                                                                             What if
                                                                                  if the
                                                                                     the
 President was
 President was in
               in that
                  that bookstore?
                       bookstore? You
                                  You have President Biden's
                                      have President Biden’s campaign.
                                                             campaign. As you know,
                                                                       As you       they’ve
                                                                              know, they've
 joined TikTok,
 joined TikTok, in fact, their
                in fact, their campaign
                               campaign posted
                                        posted aa new video today.
                                                  new video today. Doesn't
                                                                   Doesn’t that
                                                                           that undermine
                                                                                undermine in
                                                                                          in
 some ways your
 some ways your argument that this
                argument that this poses
                                   poses aa national
                                            national security threat if
                                                     security threat if the
                                                                        the President
                                                                            President of
                                                                                      of the
                                                                                         the United
                                                                                             United
 States
 States and
        and his
            his campaign is on
                campaign is    it?
                            on it?
 Rep. Krishnamoorthi:
 Rep. Krishnamoorthi:
        Well, I'm
        Well, I’m not going to
                  not going to tell
                               tell the
                                    the President
                                        President how to campaign.
                                                  how to campaign. II don’t
                                                                      don't have
                                                                            have TikTok
                                                                                 TikTok on my
                                                                                        on my
 own
 own personal
     personal phone
              phone and it’s certainly
                    and it's           banned from
                             certainly banned from all government devices,
                                                   all government          but II think
                                                                  devices, but    think that
                                                                                        that
 everyone
 everyone should use it
          should use it very
                        very cautiously going forward.
                             cautiously going forward. What
                                                       What II do
                                                               do know is what
                                                                  know is what happened
                                                                               happened last
                                                                                        last



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 week illustrates
 week illustrates exactly why we
                  exactly why we need this particular
                                 need this            bill. You
                                           particular bill. You may
                                                                may be
                                                                    be aware that our
                                                                       aware that our particular
                                                                                      particular
 bill passed
 bill passed out of the
             out of the Energy
                        Energy and Commerce Committee,
                               and Commerce Committee, which
                                                       which is
                                                             is the
                                                                the committee
                                                                    committee of jurisdiction
                                                                              of jurisdiction
 here,
 here, 50 to nothing.
       50 to nothing. That
                      That almost
                           almost never
                                  never happens,
                                        happens, certainly
                                                 certainly not
                                                           not on the Energy
                                                               on the Energy and Commerce
                                                                             and Commerce
 Committee. But the
 Committee. But the reason it happened
                    reason it          is because
                              happened is because TikTok,
                                                  TikTok, on the day
                                                          on the day of the vote
                                                                     of the vote decided to use
                                                                                 decided to use aa
 push
 push notification
      notification and
                   and aa pop up app
                          pop up app —
                                     — aa pop
                                          pop up window on
                                              up window on its
                                                           its app that required
                                                               app that required minor
                                                                                 minor children
                                                                                       children in
                                                                                                in
 order to be
 order to be able to use
             able to use the
                         the app to call
                             app to      their member
                                    call their member of
                                                      of Congress
                                                         Congress on the Energy
                                                                  on the Energy and
                                                                                and Commerce
                                                                                    Commerce
 Committee to lobby
 Committee to lobby against the bill
                    against the bill in
                                     in question.
                                        question. Well when the
                                                  Well when the called these offices,
                                                                called these          they flooded
                                                                             offices, they flooded
 those offices
 those         with phone
       offices with phone calls. By the
                          calls. By the way,
                                        way, these
                                             these minor
                                                   minor children
                                                         children basically
                                                                  basically asked the question,
                                                                            asked the question,
 what is
 what is Congress
         Congress and what is
                  and what is aa Congressman?
                                 Congressman? And
                                              And on top of
                                                  on top    that, in
                                                         of that, in one
                                                                     one case they impersonated
                                                                         case they impersonated
 the child
 the child of
           of one
              one of the legislators.
                  of the legislators. In
                                      In another
                                         another case, they actually
                                                 case, they actually called the congressman’s
                                                                     called the congressman's office
                                                                                              office
 and
 and said
     said I’m going to
          I'm going to commit
                       commit self
                              self harm
                                   harm unless you turn
                                        unless you turn on
                                                        on my
                                                           my TikTok.
                                                              TikTok. And
                                                                      And so this illustrated
                                                                          so this illustrated in
                                                                                              in
 one
 one example
     example exactly why this
             exactly why this particular
                              particular legislation
                                         legislation is
                                                     is necessary.
                                                        necessary. Today,
                                                                   Today, Christopher
                                                                          Christopher Wray
                                                                                      Wray at the
                                                                                           at the
 Worldwide Threats
 Worldwide Threats hearing
                   hearing said
                           said in the open
                                in the open hearing when II asked
                                            hearing when    asked him
                                                                  him about this particular
                                                                      about this particular
 example. He said
 example. He said he
                  he could
                     could not
                           not rule
                               rule out that the
                                    out that the CCP
                                                 CCP itself
                                                     itself conducted this particular
                                                            conducted this particular operation.
                                                                                      operation. So
                                                                                                 So
 that is
 that    why we
      is why we need this particular
                need this            legislation.
                          particular legislation.
 Yamiche Alcindor:
 Yamiche Alcindor:
        We will
        We will certainly
                certainly be watching this
                          be watching this legislation.
                                           legislation. Thank you so
                                                        Thank you so much,
                                                                     much, Congressman,
                                                                           Congressman, for
                                                                                        for
 your time.
 your time.
 Rep. Krishnamoorthi:
 Rep. Krishnamoorthi:
        Thank you.
        Thank you.




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House Passes Bill to Force TikTok Sale From
Chinese Owner or Ban the App
The legislation received wide bipartisan support, with both Republicans and
Democrats showing an eagerness to appear tough on China.


te)
By Sapna Maheshwari, David McCabe and Annie Karni
March 13, 2024


The House on Wednesday passed a bill with broad bipartisan support that would
force TikTok's Chinese owner to either sell the hugely popular video app or have it
banned in the United States.

The move escalates a showdown between Beijing and Washington over the control
of a wide range of technologies that could affect national security, free speech and
the social media industry.

Republican leaders fast-tracked the bill through the House with limited debate, and
it passed on a lopsided vote of 352 to 65, reflecting widespread backing for
legislation that would take direct aim at China in an election year.

The action came despite TikTok's efforts to mobilize its 170 million U.S. users
against the measure, and amid the Biden administration's push to persuade
lawmakers that Chinese ownership of the platform poses grave national security
risks to the United States, including the ability to meddle in elections.

The result was a bipartisan coalition behind the measure that included
Republicans, who defied former President Donald J. Trump in supporting it, and
Democrats, who also fell in line behind a bill that President Biden has said he
would sign.

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The bill faces a difficult road to passage in the Senate, where Senator Chuck
Schumer, Democrat of New York and the majority leader, has been noncommittal
about bringing it to the floor for a vote and where some lawmakers have vowed to
fight it. And even if it passes the Senate and becomes law, it is likely to face legal
challenges.

But Wednesday's vote was the first time a measure that could widely ban TikTok
for consumers was approved by a full chamber of Congress. The app has been
under threat since 2020, with lawmakers increasingly arguing that Beijing's
relationship with TikTok's parent company, ByteDance, raises national security
risks. The bill is aimed at getting ByteDance to sell TikTok to non-Chinese owners
within six months. The president would sign off on the sale if it resolved national
security concerns. If that sale did not happen, the app would be banned.

Representative Mike Gallagher, the Wisconsin Republican who is among the
lawmakers leading the bill, said on the floor before the vote that it "forces TikTok to
break up with the Chinese Communist Party."

"This is a common-sense measure to protect our national security," he said.




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       Representative Mike Gallagher, the Wisconsin Republican who is among the
       lawmakers behind the bill. Kent Nishimura for The New York Times
Alex Haurek, a spokesman for TikTok, said in a statement that the House "process
was secret and the bill was jammed through for one reason: It's a ban."

"We are hopeful that the Senate will consider the facts, listen to their constituents,
and realize the impact on the economy — seven million small businesses — and the
170 million Americans who use our service," he added.

On Wednesday, before the House vote, Beijing condemned the push by U.S.
lawmakers and rejected the notion that TikTok was a danger to the United States.
At a daily press briefing, Wang Wenbin, a spokesman for China's foreign ministry,
accused Washington of "resorting to hegemonic moves when one could not succeed
in fair competition."

If the bill were to become law, it would likely deepen a cold war between the United
States and China over the control of many important technologies, including solar
panels, electric vehicles and semiconductors.

Mr. Biden has announced limitations on how U.S. financial firms can invest in
Chinese companies and restricted the sale of Americans' sensitive data like
location and health information to data brokers that could sell it to China.
Platforms like Facebook and YouTube are blocked in China, and Beijing said last
year that it would oppose a sale of TikTok.

TikTok has said that it has gone to great lengths to protect U.S. user data and
provide third-party oversight of the platform, and that no government can
influence the company's recommendation model. It has also said there is no proof
that Beijing has used TikTok to obtain U.S. user data or to influence Americans'
views, two of the concerns lawmakers have cited.

In an unusually aggressive move for a technology company, TikTok urged users to
call their representatives last week to protest the bill, saying, "This legislation has
a predetermined outcome: a total ban of TikTok in the United States."



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TikTok has spent more than $1 billion on an extensive plan known as Project Texas
that aims to handle sensitive U.S. user data separately from the rest of the
company's operations. That plan has for several years been under review by a
panel known as the Committee on Foreign Investment in the United States, or
CFIUS.

Two of the lawmakers behind the bill, Mr. Gallagher and Raja Krishnamoorthi, an
Illinois Democrat, said last week that lawmakers were acting because CFIUS
"hasn't solved the problem."

It's very unusual for a bill to garner broad bipartisan support but at the same time
divide both parties. President Biden has said he would sign the bill into law, but top
House leaders like Representative Katherine Clark of Massachusetts, the No. 2
Democrat in the House, voted against the bill. Mr. Trump said he opposed the bill,
but many of his most stalwart allies in the House, like Representative Elise
Stefanik of New York, the No. 4 Republican in the House, voted for it.

The vote came down to something of a free-for-all, with unusual alliances in
support of and opposed to the bill. Representative Nancy Pelosi, Democrat of
California and the former house speaker, sat in the chamber nodding along with
hard-right Republicans like Representative Dan Crenshaw, Republican of Texas, as
they outlined their support for the bill. At one point, she got up and crossed over to
the Republican side of the aisle to confer with Representative Chip Roy, a hard-
right Republican of Texas, who had vocally supported the bill on the floor.

Several Republicans and Democrats expressed their opposition to the bill based on
free speech concerns and TikTok's popularity in the United States. Some legal
experts have said that if the bill were to become law, it would probably face First
Amendment scrutiny in the courts.

Representative Maxwell Frost, a Democrat of Florida, said on Tuesday that "not
only am I no, but I'm a hell no." He said the legislation was an infringement of First
Amendment rights. "I hear from students all the time that get their information,


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the truth of what has happened in this country, from content creators on TikTok."
He said he was concerned about Americans' data, but "this bill does not fix that
problem."


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                                                        #Keep TikTok
        Representative Maxwell Frost at a news conference with TikTok creators on Capitol
        Hill on Tuesday. Haiyun Jiang for The New York Times



There wasn't any legislation last year in the aftermath of a fiery hearing with Shou
Chew, TikTok's chief executive, despite bipartisan support to regulate the app. But
concern among lawmakers has grown even more in recent months, with many of
them saying that TikTok's content recommendations could be used for
misinformation, a concern that has escalated in the United States since the Israel-
Hamas war began.

"It was a lot of things in the interim, including Oct. 7, including the fact that the
Osama bin Laden `Letter to America' went viral on TikTok and the platform
continued to show dramatic differences in content relative to other social media
platforms," Mr. Krishnamoorthi said in an interview.

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There's also a chance that even if the bill is signed and survives court challenges, it
could crumble under a new administration. Mr. Trump, who tried to ban TikTok or
force its sale in 2020, publicly reversed his position on the app over the past week.
In a television appearance on Monday, Mr. Trump said that the app was a national
security threat, but that banning it would help Facebook, a platform the former
president criticized.

"There are a lot of young kids on TikTok who will go crazy without it," he said.

Mr. Trump's administration had threatened to remove TikTok from American app
stores if ByteDance did not sell its share in the app. ByteDance even seemed ready
to sell a stake in the app to Walmart and Oracle, where executives were close to Mr.
Trump.

That plan went awry in federal court. Multiple judges stopped Mr. Trump's
proposed ban from taking effect.

Mr. Biden's administration has tried turning to a legislative solution. The White
House provided "technical assistance" to Mr. Gallagher and Mr. Krishnamoorthi as
they wrote their bill, Karine Jean-Pierre, the White House press secretary, said at a
briefing last week. When the bill was introduced, a National Security Council
spokesman quickly called the legislation "an important and welcome step to
address" the threat of technology that imperils Americans' sensitive data.

The administration has repeatedly sent national security officials to Capitol Hill to
privately make the case for the legislation and offer dire warnings on the risks of
TikTok's current ownership. The White House briefed lawmakers before the 50 to 0
committee vote last week that advanced the bill to the full House.

On Tuesday, officials from the Federal Bureau of Investigation, the Office of the
Director of National Intelligence and the Justice Department spoke with
lawmakers in a classified briefing about national security concerns tied to TikTok.

Mr. Gallagher and Mr. Krishnamoorthi had previously sponsored a bill aimed at
banning TikTok. The latest bill has been viewed as something of a last stand
against the company for Mr. Gallagher who recently said he would not run for a
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fifth term because "the framers intended citizens to serve in Congress for a season
and then return to their private lives."
Sapna Maheshwari reports on TikTok, technology and emerging media companies. She has been a business
reporter for more than a decade. Contact her at sapna@nytimes.com. More about Sapna Maheshwari

David McCabe covers tech policy. He joined The Times from Axios in 2019. More about David McCabe

Annie Karni is a congressional correspondent for The Times. She writes features and profiles, with a recent
focus on House Republican leadership. More about Annie Karni




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      Mar. 14, 2024 Revised Final



      Sen. Warner Interviewed on Fox News

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      NEIL CAVUTO, FOX NEWS ANCHOR:
      All right, you know what happened in the House.

      In an overwhelming vote that was bipartisan, the move was, TikTok
      cannot be what it is right now, controlled by China, and that means
      ByteDance, the parent company of China, must unload it, divest it, as
      they say on Wall Street.

      But it isn't getting the same reaction in the United States Senate.
      Again, Chuck Schumer has not even detailed if or even when the
      Senate will take it up.

      Senator Mark Warner joins us right now. He is the Senate Intelligence
      Committee chairman.

      Senator, good to have you.

      Do you think the Senate should take up this issue?


      SEN. MARK WARNER (D-VA):
      Absolutely.

      Neil, I have been on your show many, many times talking about the
      national security threat that is posed by having a platform that 170



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      million Americans use on average 90 minutes a day. China is
      collecting this data about lots of Americans.

      And what is even more problematic for me is, the genius of TikTok is,
      it knows what you like before you know what you like. And a lot of
      young people get all their news. They could switch the algorithm a
      little bit and suddenly all the TikTok videos will be promoting that
      Taiwan ought to be part of China, or that Putin's right...


      CAVUTO:
      Right.


      WARNER:
      ... on getting Ukraine. And I think...


      CAVUTO:
      No, all these examples you raised, you obviously eloquently put the
      key arguments here.

      But it doesn't look like Chuck Schumer either agrees or sees the need
      to do something right now.


      WARNER:
      Well...


      CAVUTO:
      Now, that could change. Is it your understanding that it will and the
      Senate will take up the matter?


      WARNER:

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      Well, listen, Neil, I know Senate never moves quickly on anything.

      But my friends in the House, that was a huge vote, 3 52 votes. It was
      just yesterday. I think, Schumer, I have had preliminary
      conversations. Chair Cantwell on the Commerce Committee is going
      to have views. There may be things that need to be slightly altered or
      amended.

      But I think anyone who cares about -- we have plenty of divisions in
      our country.


      CAVUTO:
      Yes.


      WARNER:
      We ought to be able to argue amongst ourselves, left and right,
      Republican, Democrat. We don't need the Chinese Communist Party
      dominating or influencing.

      (CROSSTALK)


      CAVUTO:
      So, the sheer size of that vote, the sheer size of that vote in the House
      would maybe -- has maybe changed the thinking in the Senate, as far
      as you...


      WARNER:
      I think so.


      CAVUTO:
      OK.

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      WARNER:
      I would say so.

      (CROSSTALK)


      CAVUTO:
      So let me ask you about that then, Senator.

      One other idea that's been bandied about, if ByteDance were to go
      ahead and divest itself of TikTok , no sure thing, that TikTok would
      essentially be for sale one way or the other. A lot of American names
      have come into play here. Oracle's name comes up, Microsoft, Meta,
      of course, the Facebook parent.

      Do you have any concerns with any of those names?


      WARNER:
      Well, I have concerns about too much concentration, if this was
      acquired by another social media company.

      And, frankly, that's all of our preference. If you like TikTok , if you're
      a social influencer on that, you want to be, and you make your living
      that way, that's great with me. It just ought to be a company that's not
      controlled by China.

      So I was really glad to see Donald Trump's Treasury Secretary Steve
      Mnuchin put out word today that he was trying to put together a group
      of investors that could potentially buy this application. I think that
      he'd be great. He was one of the guys that first educated me on this
      issue.



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      And I know I have said this. I don't say this often, even on FOX, but,
      on TikTok , Donald Trump was right years ago in saying it was a
      national security threat. Now, he's changed his tune a little bit now.


      CAVUTO:
      Yes.


      WARNER:
      But his initial indication on this as a national security threat was right.
      And I think it would be great if a group of investors were to buy this.

      So the service could still be extended. People could still get to see all
      the crazy and fun videos, but, ultimately, it would be with American
      or European or somebody other than Chinese ownership.


      CAVUTO:
      You know, it doesn't quite cut black and white, right, Senator? I mean,
      you mentioned Donald Trump changing his mind on this, that maybe
      we don't get rid of it for the time being or push to get rid of it.

      But it is a hot political issue, or could be, right? Because 170 million
      Americans use this.


      WARNER:
      Yes.


      CAVUTO:
      Lopsidedly, they're young, and they don't want it to go away.


      WARNER:

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      Well...


      CAVUTO:
      And that they might get ticked off and take it out on politicians who do
      push to have it go away.


      WARNER:
      I hear it. And that's why I say, let's not have it go away. Let's just not

      have the Communist Party of China pulling its strings.

      I think...


      CAVUTO:
      But what do you -- how do you react when young people say, they
      don't care, Senator?


      WARNER:
      But...



      CAVUTO:
      They figure that everyone spies on them when they're online. It's not
      forgivable, don't get me wrong, but that they don't draw the
      distinction China doing it versus an American company doing it, as
      you're still being spied on.

      How do you react to that? How do you talk to them?



      WARNER:
      Well, I would react a couple of ways.


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      One, that funny or inappropriate video two, five years from now, if
      somebody's trying to blackmail you from the Chinese spy services, I
      don't think you're going to want that to happen. And even if they don't
      care about the propaganda purposes, we would never let the Chinese
      Communist Party buy FOX News or MSNBC.

      The idea that they have this propaganda channel that can affect
      Americans' views, again, we got plenty to fight about amongst
      ourselves.


      CAVUTO:
      Yes.


      WARNER:
      Let's not turn the reins over.

      And one of the reasons that I think that something will happen is that
      we have done nothing on social media for years. I mean, the fact that
      we don't even have any kids online safety, again, broad bipartisan
      support for that, if we can't at least start with something that is this
      pervasive, controlled by an adversary of the United States, then all the
      things that folks think about Washington are true.

      But I got a lot of hope; 352 people in the House, I didn't think you
      would get 3 52 House members to agree on anything.


      CAVUTO:
      No, you're quite right about that. You're quite right about it.

      Let me ask you. You were mentioning the possibility how would we
      react to the Chinese where -- you first mentioned FOX News and


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      CQ Newsmaker Transcripts
      Mar. 16, 2024



      Mar. 16, 2024 Revised Final



      Rep. Gallagher Interviewed on Fox News

      LIST OF SPEAKERS


      BRIAN KILMEADE, FOX NEWS CHANNEL HOST:
      Joining us right now, the man who doesn't. He is leading the charge as
      Chairman of the House Select Committee on China. He's part of the
      reason there's over 300 votes in the House and it is now at the feet of
      the Senate. Congressman Mike Gallagher.

      Congressman, your thoughts about the push back of the bill you
      helped push?


      REP. MIKE GALLAGHER (R-WI):
      Well, clearly, my colleagues who voted against it, whose criticism you
      just played didn't actually read the bill.

      This is not a ban on speech. This is a ban on foreign adversary control
      on social media, which is particularly crucial given that TikTok is
      now a dominant news platform for kids, for Americans under the age
      of 30. Would we want the Chinese Communist Party to determine
      what news, what information we get to see?

      It does not surprise me that members of the squad would want to use
      the app in order to get information on the conflict between Israel and
      Hamas right now because the information is purely one-sided, in
      favor of the genocidal death cult that is Hamas or if they want it to be


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      able to access Osama bin Laden's Letter to America and praise it as an
      aspirational call.

      This is the type of content we're seeing on a platform and imagine
      how it could be weaponized if we were debating something as critical
      as an authorization for the use of military force to defend Taiwan.

      Look at what they did to try and stop this vote last week? Forced a pop-
      up notification on millions of users and then you had 11-year-olds
      calling Congress threatening to commit suicide if we took action.
      That's just a taste of how this platform can be weaponized by the CCP
      in the future.


      KILMEADE:
      Chairman, do you believe that this is part of a bigger story? They've
      tried to kill us with fentanyl, not addict us, kill us with fentanyl, try to
      infiltrate our country and try to tell us what's important. And that is
      why in my view, you could tie that right to the protests on these
      college campuses. And through the streets, these young people who
      believe the Palestinian-Hamas cause is the place America should be
      right now.


      GALLAGHER:
      It's a part of something bigger, which Xi Jinping calls the smokeless
      battlefield. That is his ideological war against the West, a campaign
      designed to weaken America from within and pit Americans against
      Americans and get a generation to really loathe and hate their own
      country and thereby undermine any action.

      We need to actually beat the Chinese Communist Party in this
      protracted competition, this new Cold War. Yes, it's absolutely part of

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      that broader ideological competition with the CCP.


      KILMEADE:
      Chairman, I want you to hear this. Aishah Hasnie was able to catch up
      with the CEO who has worked in the Senate side to try to stop this
      vote before and by the way, this would be sell 80 percent of it, or you
      get banned within six months. Here's the exchange.

      (BEGIN VIDEO CLIP)


      AISHAH HASNIE, FOX NEWS CHANNEL CONGRESSIONAL
      CORRESPONDENT:
      Sir, why won't ByteDance just sell the company? That would avoid a
      ban. Why wouldn't you just sell?


      SHOU ZI CHEW, CEO, TIKTOK .
      The bill is 12 pages long. We have looked at it. It is not feasible to do
      whatever the bill thinks it does within the -- within the perimeter set
      out in the bill.

      (END VIDEO CLIP)



      KILMEADE:
      What's he talking about, Chairman? What's not feasible about selling?


      GALLAGHER:
      Not only is it feasible, it's been done before. I mean, there was a
      similar issue related to the app Grindr and Chinese ownership of that
      and we forced divestitures all the time. We tackle ownership issues
      like this.

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      We have an entire Committee on Foreign Investment in the United
      States that deals with things like this. So he's not being honest. And
      the fundamental problem remains which is that he is beholden to
      ByteDance and ByteDance is beholden to the Chinese Communist
      Party and that's a risk that we can't take going forward.


      KILMEADE:
      People say, well what about the Fifth Amendment? What about the
      First Amendment? But people don't understand, this is China. This
      goes right back to China. If people say this is a Chinese company, but
      the Chinese government doesn't own it. What do you say to that?


      GALLAGHER:
      Well, the biggest threat to free expression or the first amendment
      would be Chinese ownership of a news platform in America and
      people can continue to post dance videos or political speech or
      campaign on the app so long as ByteDance separates from Tik Tok
      and TikTok separates from the Chinese Communist Party. They can
      continue to use the app, that's all we're talking about here.

      There is no scenario in which this bill targets speech, content. It's
      about foreign adversary ownership narrowly defined. So in addition to
      getting free speech, in the new world in which TikTok is not
      controlled by the CCP, you can have something even better.

      You can have freedom of thought, freedom from fear that the
      algorithm is being manipulated to mess with you. That's what we're
      after here and that's the world we want to live in.


      KILMEADE:


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                      We never should have allowed it to get a foothold in 2016, but we
                      could change everything right now and 2024. Hopefully the president
                      and the Senate has the courage to do it.

                      Chairman, thanks so much. Appreciate it.


                      GALLAGHER:
                      Thank you, sir.



                      KILMEADE:
                      You got it.



                      List of Speakers
                      REP. MIKE GALLAGHER (R-WI)

                      BRIAN KILMEADE, FOX NEWS CHANNEL HOST




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                                               JANE COASTON




         What the TikTok Bill Is Really About,
         According to a Leading Republican
                                                      April 1, 2024



      By Jane Coaston
r.    Ms. Coaston is a contributing Opinion writer.



Last month, the House passed a bill that would require TikTok's parent company,
ByteDance, to sell its U.S. business to a company without ties to the Chinese
government or face a ban of the TikTok app in the United States.

In Washington, which has become increasingly hawkish toward the Chinese
government, worries and fears about the Chinese Communist Party's role in
ByteDance are widespread. But outside Capitol Hill, millions of people —
especially younger Americans — use TikTok every day for entertainment and
increasingly for search. Even beyond the potential speech or other legal issues, if
this bill becomes law and a divestiture doesn't work, those people might be pretty
surprised if they were no longer able to download or update the TikTok app.

Representative Mike Gallagher, Republican of Wisconsin, is a co-sponsor of the
legislation. He's about to leave Congress, but if this becomes law, it will have an
effect on social media and U.S.-China relations long after his departure. Many
lawmakers in both parties are concerned about the effects of social media on teens.
Mr. Gallagher's much more concerned about the Chinese government, and we


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spoke about speech concerns, the message to authoritarian governments from a
bill like this and how Donald Trump's fluctuating support affects the chances the
bill will become reality.

This interview has been edited for length and clarity and is part of an Opinion Q.
and A. series exploring modern conservatism today, its influence in society and
politics and how and why it differs (and doesn't) from the conservative movement
that most Americans thought they knew.

Jane Coaston: So what's the scenario with TikTok that you fear the most? Data
theft, misinformation, tracking generations of Americans and then using their
information and attention against them? Or something duller than what I'm
imagining?

Representative Mike Gallagher: There are two threats. One is what you could call
the espionage threat. It's data security — using the app to find Americans,
exfiltrate data, track the location of journalists, etc. We have incidences of this
happening already that are in the public domain. That's a serious threat, but I
actually think the greater concern is the propaganda threat. If TikTok continues to
establish itself as the dominant news platform in America and if the algorithm
remains a black box and subject to the control of ByteDance and, by extension, the
Chinese Communist Party, you're placing the control of information — like what
information America's youth gets — in the hands of America's foremost adversary.
And that's a risk I don't think we can afford to take. Obviously, there's well-
established precedent when it comes to traditional media for foreign ownership,
which is why we think a divestiture is the most prudent way to guard against both
of those threats.

[In 2022, Forbes reported that TikTok employees pulled the IP addresses and user
information of three reporters to monitor their whereabouts after the reporters
published a critical article about ByteDance; TikTok said the employees were no
longer employed by the company.]



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          news and a guide to the big ideas shaping the world every weekday
          morning. Get it sent to your inbox.



Coaston: Let's say I'm 19 years old, I'm in college. I use TikTok for normal stuff.
Make the case to me that there's a security risk.

Gallagher: We have already examples of TikTok, as I mentioned before, spying on
journalists. TikTok has not been truthful about where its data was housed in the
past, and using TikTok's own metrics when it comes to comparing content on that
platform versus Instagram — recognizing it's not an apple-to-apples comparison,
based on the different way the apps work — there are disparities that don't make
any sense. It can't be explained away by sounding variables such as the fact that
TikTok doesn't operate in India. And the closer you get to the topics that are
sensitive to the Chinese Communist Party — whether it's Covid origins, whether
it's the Uyghur genocide, whether it's Hong Kong, etc. — the disparities get more
and more severe. Again, this gets back to the black box nature of the algorithm. But
the other thing I would say to that 19-year-old who wants to continue to use TikTok,
that's fine. In the scenario that our bill envisions, once the ownership structure
changes, the national security concerns are substantially alleviated. I see no
reason the user experience can not only continue but also improve.

[This year TikTok limited access to a tool that researchers used to track trending
topics on the platform. In the past, groups like the Network Contagion Research
Institute at Rutgers University have found that based on tags, certain topics, like
protests about increasing antidemocratic measures in Hong Kong and reports of the
confinement and forced labor of Uyghur Muslims in China, are underrepresented on
TikTok compared with Instagram. TikTok has said that the Chinese government has
no influence over the app.]

Coaston: How much have you used TikTok? Do you have a burner phone with
TikTok on it, by any chance?


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Gallagher: I do not. I don't really use social media at all. I have a Twitter staff
account, but I made that decision about six years ago, I think, to remove myself
personally from it. I don't have it on my phone. And that was more to me a matter
of wanting to be effective, and I found myself not having the time I wanted to do
deep thinking and writing and researching, and the minute I got off it, the more my
productivity improved. Now, that's just me personally; I just don't find it useful.
There are occasions when I would use Twitter to sort of monitor various Chinese
Communist Party propaganda accounts during the pandemic. I became fascinated
with what they were doing to spread kind of dangerous anti-American rhetoric on
our platforms.

People will send me TikTok videos sometimes as examples, but I don't have the
app even on a burner phone. I do think when we're talking about all this stuff —
social media companies in America and China — a principle underlying all of it has
to be reciprocity. As we have this debate about how and whether to regulate a
foreign-adversary-controlled social media application in the United States, it's
worth remembering that our social media applications are not allowed in China.
There's just a basic lack of reciprocity, and your Chinese citizens don't have access
to them. And yet we allow Chinese government officials to go all over YouTube,
Facebook and X spreading lies about America. I think this is a microcosm with a
broader lack of reciprocity in the entire U.S.-China relationship. And I do think, as a
matter of principle, it puts us on firm ground to address this issue.

Coaston: Jameel Jaffer at the Knight First Amendment Institute recently said on X,
"A U.S. TikTok ban would be a gift to authoritarian regimes around the world."
There's also an argument that banning an app in the same way that the Chinese
Communists do, as you just mentioned, is basically a propaganda win for China.
How should conservative China hawks be thinking about the messages that this
ban might send worldwide?

Gallagher: Which is why it's not structured as a ban and why TikTok lies about it
being an outright ban. That argument backfired — and I think the push notification
they forced on millions of users actually sort of proved our point about the
concerns with how the tool could be weaponized to inject disinformation into the
                                     APP-580
                                     APP-580
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American legislative process and the democratic process. The outcome we're
trying to navigate toward is a divestiture or a sale or a separation. I actually think
that's an outcome that American investors in ByteDance should want. We're not
talking about an outright ban; we're trying to force a sale. Now, you need a
mechanism to force the sale, to be sure. I also would disagree that the bill
addresses content or speech; it's about conduct, specifically foreign adversary
control of social media.

[Tuff°le has sent messages to users to call their representatives, which resulted in
widespread calls to congressional offices.]

Coaston: So there are some Republican lawmakers who seem most concerned with
the mental health of young people rather than something specific to Chinese
ownership. In states like Utah, where I live, there are efforts to restrict teen social
media usage more broadly. Are you in favor of that more expansive, less libertarian
approach to social media and big tech for younger people? For adults?

Gallagher: Well, I think I need to caveat this: I share the concerns, but it's a
separate issue than what this bill is trying to address. What I'm narrowly trying to
address with this bill is foreign adversary control of a dominant social media
platform and news platform in the United States. Now, once we address that issue,
then we can have a bigger debate about the effect of social media more broadly to
include American social media companies. I've been persuaded by Jonathan
Haidt's work, both in the previous book he wrote with Greg Lukianoff, "The
Coddling of the American Mind," and then Haidt's book that just came out, "The
Anxious Generation," that it is strongly correlated with the skyrocketing rate of
anxiety and depression that we're seeing among Gen Z. I think it's worthy of
government attention. There's not an obvious government solution that I've been
able to address. In fact, right now, my instinct is that it is my responsibility as a
parent to set guardrails and not rely on the government to do it for me.

You could, however — and I think this is where Haidt's analysis has been very
persuasive — entertain raising the internet age of adulthood. And that is something
that I haven't seen a piece of legislation yet that I'm ready to co-sponsor, but the
                                      APP-581
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idea makes sense to me, and I think there would be government authority to do
that if we decided to do that. But again, that is not what this bill is about.

The other idea, which I think is sensible but doesn't lend itself to federal legislation
— though there might be state and local efforts at the school-district level — is
finding a way to incentivize, if not mandate, phone-free schools. Haidt's analysis is
very good at highlighting the benefits of doing that. But again, that's not something
I would legislate as a member of Congress, if that makes sense. As a parent, I'm
terrified about the corrosive impact of social media. I even see it among my
colleagues, and I referenced my own experience and how social media, I think,
really sapped my own productivity. I think there's a way in which it precludes us
from having a serious debate on certain policy issues because there's no shared
epistemological framework. We're debating what is true and what isn't, and we
spend all our time on that, and we never get to the actual debate over policy. But
again, that's just a broader issue, and it's not addressed by our bill right now.

Coaston: So Donald Trump supported banning TikTok, and now he doesn't. How
much harder does that make it for Republicans to vote for this legislation?

Gallagher: So in many ways I was surprised by his statement because a lot of this
started with Trump. I mean, he was ahead of the curve when he tried to address
the national security problems posed by ByteDance ownership of TikTok. And our
bill is an extension of that effort. Obviously his effort ran into a legal buzz saw. We
tried to learn from that and draft the bill in a way where it would survive a legal
challenge and was on the strongest constitutional grounds. The bill is not trying to
shut TikTok down and then force all its users onto Facebook. So if that's the former
president's concern, then this bill should not worry him, because that is not the
intent, and that, I don't think, is what would practically happen. And then we had
the vote after he made the statement, and we still got 352 votes. I think that just
shows that there's serious bipartisan concerns about ByteDance's ownership of
TikTok, and either this administration or the next administration, which could be
the Trump administration, is going to have to address it.


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After the interview, I followed up with Mr. Gallagher via email on a few points.
These have also been edited for length and clarity.

Coaston: Conservatives also used to be pretty leery of government control and
intervention. The approach of many conservatives to TikTok feels to me like
"government knows best" and "government will call the shots." Did conservatives
change their way of thinking, or is China just scaring the hell out of them?

Gallagher: There's a clear precedent of the government protecting Americans from
national security threats posed by foreign-adversary-controlled applications and
preventing our foreign adversaries from influencing the American airwaves. For a
century, the Federal Communications Commission has blocked concentrated
foreign ownership of radio and television assets on national security grounds, and
in 2020, CFIUS (the Committee on Foreign Investment in the United States) forced
a divestment of the app Grindr, citing national security concerns stemming from its
Chinese ownership.

Coaston: Clearly, there are a lot of younger people who would be upset if a
divestment didn't work and TikTok no longer operated in the United States. How
do you think about the politics of that?

Gallagher: Fortunately for the kids, this bill presents a great opportunity for
ByteDance to divest of TikTok and continue operating in the United States. This
decision is squarely in TikTok's hands.
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Jane Coaston was the host of Opinion's podcast "The Argument." Previously, she reported on conservative
politics, the G.O.P. and the rise of the right. She also co-hosted the podcast "The Weeds."
@janecoaston




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`Thunder Run': Behind Lawmakers'Secretive
Push to Pass the TikTok Bill
A tiny group of lawmakers huddled in private about a year ago, aiming to keep
the discussions away from TikTok lobbyists while bulletproofing a bill that could
ban the app.


       Listen to this article • 11:06 min Learn more




By Sapna Maheshwari, David McCabe and Cecilia Kang
Sapna Maheshwari reports on TikTok. David McCabe and Cecilia Kang cover tech policy.
April 24, 2024


Just over a year ago, lawmakers displayed a rare show of bipartisanship when
they grilled Shou Chew, TikTok's chief executive, about the video app's ties to
China. Their harsh questioning suggested that Washington was gearing up to force
the company to sever ties with its Chinese owner — or even ban the app.

Then came mostly silence. Little emerged from the House committee that held the
hearing, and a proposal to enable the administration to force a sale or ban TikTok
fizzled in the Senate.

But behind the scenes, a tiny group of lawmakers began plotting a secretive effort
that culminated on Wednesday, when President Biden signed a bill that forces
TikTok to be sold by its Chinese owner, ByteDance, or risk being banned. The
measure, which the Senate passed late Tuesday, upends the future of an app that
claims 170 million users in the United States and that touches virtually every
aspect of American life.


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For nearly a year, lawmakers and some of their aides worked to write a version of
the bill, concealing their efforts to avoid setting off TikTok's lobbying might. To
bulletproof the bill from expected legal challenges and persuade uncertain
lawmakers, the group worked with the Justice Department and White House.

And the last stage — a race to the president's desk that led some aides to nickname
the bill the "Thunder Run" — played out in seven weeks from when it was publicly
introduced, remarkably fast for Washington.

"You don't get many opportunities like this on a major issue," said Representative
Steve Scalise of Louisiana, the Republican majority leader. He was one of 15
lawmakers, aides and officials directly involved in shaping and passing the bill who
were interviewed for this article.

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        Representative Steve Scalise, the Republican majority leader, pushed for a bipartisan
        effort to address security concerns over TikTok. Jason Andrew for The New York Times




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"This fight's been going on for years," Mr. Scalise said. "We learned a lot from each
step, and we wanted to make sure we had strong legal standing and a strong
bipartisan coalition to do this."

Their success contrasts with the stumbles by other lawmakers and American
officials, starting during the Trump administration, to address national security
concerns about TikTok. They say the Chinese government could lean on
ByteDance to obtain sensitive U.S. user data or influence content on the app to
serve Beijing's interests, including interfering in American elections.

TikTok has pushed back against those accusations, saying that the Chinese
government plays no role in the company and that it has taken steps and spent
billions of dollars to address the concerns. It has also fought back aggressively in
the courts against previous actions by federal and state governments.

But the strategy employed by the lawmakers in recent weeks caught TikTok flat-
footed. And while the app is unlikely to disappear from Americans' phones as next
steps are worked out, the measure stands out as the first time a U.S. president has
signed a bill that could result in a wide ban of a foreign app.

In a statement, Alex Haurek, a TikTok spokesman, said the bill "was crafted in
secret, rushed through the House and ultimately passed as part of a larger, must-
pass bill exactly because it is a ban that Americans will find objectionable."

He added that it was "sadly ironic that Congress would pass a law trampling 170
million Americans' right to free expression as part of a package they say is aimed
at advancing freedom around the world."




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From Tiny Huddle to Big Majority

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       Representative Mike Gallagher speaking to reporters on the day the House voted to
       pass the TikTok bill. Kent Nishimura for The New York Times



The effort around a TikTok bill began with Mr. Scalise, who met with
Representative Cathy McMorris Rodgers, a Republican from Washington, in March
last year about their desire to see a measure that took on the app.

They began talking with other Republican lawmakers and aides across several
committees about a new bill. By August, they had decided to shepherd a potential
bill through a House committee focused on China, the Select Committee on the
Chinese Communist Party, led by Representatives Mike Gallagher, a Wisconsin
Republican and its chairman, and Raja Krishnamoorthi, an Illinois Democrat.

The bipartisan committee swiftly embraced the effort. "What we recognized was
that there were so many different approaches and the technical issues were so
complex," Mr. Krishnamoorthi said.


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So the committee hatched a strategy: Win the support of Democrats, the White
House and the Justice Department for a new bill.

Its efforts got a lift after lawmakers including Mr. Gallagher accused TikTok of
intentionally pushing pro-Palestinian and anti-Israel content to its users last year.
Mr. Krishnamoorthi and others said the Israel-Gaza conflict stoked lawmakers'
appetites to regulate the app.

In November, the group, which then numbered fewer than 20 key people, brought
in officials from the Justice Department, including Lisa Monaco, the deputy
attorney general, and staff from the National Security Council to help secure the
Biden administration's support for a new bill.

For years, the administration had weighed a proposal by TikTok, called Project
Texas, that aimed to keep sensitive U.S. user data separate from the rest of the
company's operations. The Justice Department and National Security Council
officials agreed to support the new bill partly because they saw Project Texas as
inadequate to handle national security concerns involving TikTok, two
administration officials said.

In conversations with lawmakers, White House officials emphasized that they
wanted ByteDance to sell TikTok rather than impose a ban, partly because of the
app's popularity with Americans, three people involved in the process said.

The Justice Department and Ms. Monaco provided guidance on how to write the
bill so it could withstand legal challenges. TikTok previously fended off efforts to
ban it by citing the First Amendment rights of its users. The officials explained how
to word the bill to defend against those claims, citing national security.

With the administration's support in hand, the group quietly solicited more
supporters in the House. The Justice Department joined members of the Office of
the Director of National Intelligence and F.B.I. to brief House committees on the
threats posed by TikTok's Chinese ownership. The briefings were later delivered in
the Senate.


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Ms. Monaco also met individually with lawmakers, warning them that TikTok
could be used to disrupt U.S. elections.

"She built out a powerful case, and we agreed that not only was data gathering
taking place, she shared that you have 170 million American that were vulnerable
to propaganda," Senator Mark Warner, Democrat of Virginia, said of a meeting with
Ms. Monaco in Munich in February.

On March 5, Mr. Gallagher and Mr. Krishnamoorthi announced the bill and named
around 50 House members who endorsed it. The Energy and Commerce
Committee, which is led by Ms. McMorris Rodgers, took the bill up that week.

TikTok, which had been negotiating with U.S. officials over its Project Texas plan,
was caught off guard. It quickly sent information to members of the Energy and
Commerce Committee outlining TikTok's economic contributions in their districts,
according to documents viewed by The New York Times. It also used a pop-up
message on its app to urge users to call legislators to oppose a ban.

But when hundreds of calls flooded into some lawmakers' offices, including from
callers who sounded like minors, some of the lawmakers felt the bill was being
misrepresented.

"It transformed a lot of lean yeses into hell yeses at that point," Mr. Krishnamoorthi
said.

Former President Donald J. Trump, the presumptive Republican presidential
nominee, voiced opposition to the bill, causing panic. But Mr. Scalise said he had
urged Mr. Trump to reconsider, and a vote proceeded.

Two days after the bill was unveiled, Ms. McMorris Rodgers's committee voted 50
to 0 to advance it to the full House, where it passed the next week by 352 to 65.

There were tears of joy in Mr. Krishnamoorthi's office, two people said. Mr.
Gallagher's staff members celebrated with a cookie cake sent by Mr. Scalise, one of
his signature rewards for successful legislation.


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        Members of Mr. Gallagher's staff holding a cookie cake sent from the office of Mr.
        Scalise to celebrate the TikTok bill's passage in the House last month. Kent Nishimura for
        The New York Times




A Less Certain Future
Even with the bill's swift passage in the House, its future in the Senate was
uncertain. Some senators, including powerful committee chairs like Maria
Cantwell, a Democrat of Washington, and Mr. Warner, considered changes to the
bill in a process that could significantly slow it down.

The House bill gave ByteDance six months to sell TikTok. Senators wanted to
extend the timeline and detail the government's national security concerns about
TikTok in the bill, to make it clear to courts how it justified the measure.

As the Senate worked on the bill, TikTok contacted lawmakers' offices and spent at
least $3 million in ads to defend itself. It blanketed the airwaves in key states with
commercials depicting how users — like nuns and ranchers — make a living and
build communities through the app.


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TikTok also had support from conservative groups like Club for Growth and the
Cato Institute, both backed by Jeffrey Yass, a prominent investor in the app, and
liberal organizations like the American Civil Liberties Union, which said the bill
would violate Americans' First Amendment rights.

A Club for Growth spokesman said Mr. Yass "never requested Club to take a
position or action on his behalf."

Some deep-pocketed groups on the right mobilized to support the bill. One was the
American Parents Coalition, backed by Leonard Leo, a conservative activist, which
ran an ad campaign called "TikTok Is Poison" in March. A spokesman for Mr. Leo
said he was "proud to support" the group's efforts.

Some in Silicon Valley also spoke out in favor of the bill, including Vinod Khosla, a
venture capitalist, and Jacob Helberg, a senior policy adviser to Palantir's chief
executive.

Bijan Koohmaraie, a counsel in Mr. Scalise's office who helped drive the bill, said a
main reason to keep the process secret for so long had been to keep lobbyists away.

"No company had any influence or was helping draft this bill on the outside," he
said.


A New Opportunity
As the bill sat in the Senate, a new opportunity presented itself. The House speaker,
Mike Johnson, announced an attempt last week to pass foreign aid for countries
including Ukraine. To ensure he had the votes, Mr. Johnson took the unusual step
of attaching a package of bills popular with Republicans, including the TikTok
measure.

Senators scrambled now that the House had forced their hand. Ms. Cantwell's
office asked the House for multiple edits to the measure, a person with knowledge
of the matter said.


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House lawmakers made just one change the Senate wanted. The version of the bill
in the aid package extended the deadline for a TikTok sale to nine months from six
months. The president can add another 90 days if ByteDance has made progress
toward selling TikTok.

"The most important thing is to have enough time to effect a sale," Ms. Cantwell
said.

The change was enough. Late Tuesday, the Senate passed the bill overwhelmingly,
79 to 18. On Wednesday morning, Mr. Biden signed it into law.

A correction was made on April 24, 2024: An earlier version of a picture caption
with this article misidentified the date of the photo. It was last year, not last month.

When we learn of a mistake, we acknowledge it with a correction. If you spot an error, please let us know at
nytnews@nytimes.com. Learn more

Sapna Maheshwari reports on TikTok, technology and emerging media companies. She has been a business
reporter for more than a decade. Contact her at sapna@nytimes.com. More about Sapna Maheshwari

David McCabe covers tech policy. He joined The Times from Axios in 2019. More about David McCabe

Cecilia Kang reports on technology and regulatory policy and is based in Washington D.C. She has written
about technology for over two decades. More about Cecilia Kang




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   MAY 3, 2024
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SENATOR ROMNEY: II don’t
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(Applause.)


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                                                                                                                           of those  topics, or
                                                                                                                                             or –- I’ll take aa breath,
                                                                                                                                                   I'll take            and you
                                                                                                                                                                breath, and you can
                                                                                                                                                                                  can -– and
                                                                                                                                                                                         and
please
please ask
       ask questions  that are
           questions that  are interesting
                                interesting to
                                            to you,
                                               you, but
                                                      but also,
                                                          also, you
                                                                you might
                                                                     might think,
                                                                             think, to
                                                                                    to the
                                                                                       the entire
                                                                                           entire audience.  (Laughter.)
                                                                                                  audience. (Laughter.)


First,
First, I’m going to
       I'm going to say
                    say up top, with
                        up top, with regards
                                     regards to
                                             to the
                                                the trip
                                                    trip to
                                                         to the
                                                            the Middle
                                                                Middle East, give us
                                                                       East, give    the lowdown,
                                                                                  us the          give us
                                                                                         lowdown, give    the rundown.
                                                                                                       us the          What is
                                                                                                              rundown. What    happening there?
                                                                                                                            is happening there? What's
                                                                                                                                                What’s happening
                                                                                                                                                       happening among
                                                                                                                                                                 among
the Israeli
the Israeli people? What are
            people? What are -– what
                                what is
                                     is Bibi
                                        Bibi Netanyahu thinking? What's
                                             Netanyahu thinking? What’s happening
                                                                        happening with
                                                                                  with Hamas? What kind
                                                                                       Hamas? What kind of
                                                                                                        of a
                                                                                                           a deal has been
                                                                                                             deal has been put
                                                                                                                           put on
                                                                                                                               on the table? What's
                                                                                                                                  the table? What’s -– what is –- the
                                                                                                                                                       what is    the
people
people and the leadership
       and the leadership in
                          in Qatar
                             Qatar -– see,
                                      see, II can get all
                                              can get all my
                                                          my questions
                                                             questions out. (Laughter.) II mean,
                                                                       out. (Laughter.)          give us
                                                                                           mean, give us aa full
                                                                                                            full lay
                                                                                                                 lay of the land,
                                                                                                                     of the land, and
                                                                                                                                  and then
                                                                                                                                      then we
                                                                                                                                           we can
                                                                                                                                              can sort
                                                                                                                                                  sort of
                                                                                                                                                       of probe areas of
                                                                                                                                                          probe areas of interest.
                                                                                                                                                                         interest.


SECRETARY
SECRETARY BLINKEN:
          BLINKEN: Mitt, thank you.
                   Mitt, thank you. And
                                    And before trying to
                                        before trying to tackle
                                                         tackle that
                                                                that multi-part
                                                                     multi-part question
                                                                                question -– (laughter)
                                                                                            (laughter) -– actually,
                                                                                                          actually, it
                                                                                                                    it sounds like —
                                                                                                                       sounds like —


SENATOR ROMNEY:
SENATOR         It’s – it’s
        ROMNEY: It's-       just the
                       it's just the lay
                                     lay of the land.
                                         of the land.


SECRETARY
SECRETARY BLINKEN: It sounds
          BLINKEN: It        like the
                      sounds like the reporters
                                      reporters in
                                                in my
                                                   my pool, who manage
                                                      pool, who manage to
                                                                       to get
                                                                          get in five questions
                                                                              in five           for one.
                                                                                      questions for one.


First,
First, let
       let me say how
           me say        wonderful itit is
                  how wonderful            to be
                                        is to be here
                                                 here and to be
                                                      and to be with
                                                                with a truly remarkable
                                                                     a truly               group of
                                                                              remarkable group    of people.
                                                                                                      people. II think
                                                                                                                 think there's
                                                                                                                       there’s aa common
                                                                                                                                  common denominator
                                                                                                                                            denominator in   this room,
                                                                                                                                                          in this room, and
                                                                                                                                                                        and it’s
                                                                                                                                                                             it's epitomized
                                                                                                                                                                                  epitomized
by John McCain,
by John    McCain, it’s
                   it's epitomized
                        epitomized by
                                    by Mitt
                                         Mitt Romney,
                                               Romney, but
                                                        but everyone  in this
                                                            everyone in   this room
                                                                               room is
                                                                                    is for
                                                                                       for an
                                                                                           an engaged    America. Everyone
                                                                                              engaged America.       Everyone inin this
                                                                                                                                   this room
                                                                                                                                        room believes that our
                                                                                                                                             believes that our engagement,
                                                                                                                                                                engagement, ourour
leadership
leadership matters,     makes aa difference.
             matters, makes      difference. AndAnd that
                                                    that commitment
                                                         commitment is     more important
                                                                        is more  important than
                                                                                             than it's
                                                                                                  it’s ever
                                                                                                       ever been.   That’s what
                                                                                                            been. That's   what I’m
                                                                                                                                  I'm seeing and feeling
                                                                                                                                      seeing and feeling around
                                                                                                                                                         around the   world.
                                                                                                                                                                  the world.


Now,
Now, it
      it may
         may be
             be that  years from
                 that years from now
                                  now people
                                       people come
                                               come back
                                                     back here
                                                          here and  look at
                                                               and look     this group,
                                                                         at this group, and
                                                                                        and it's
                                                                                            it’s the
                                                                                                 the La
                                                                                                     La Brea  Tar Pits
                                                                                                        Brea Tar   Pits of internationalists and
                                                                                                                        of internationalists and institutionalists. (Laughter.) But
                                                                                                                                                 institutionalists. (Laughter.) But
we’re fighting to
we're fighting to make
                  make sure
                        sure that's
                              that’s not
                                     not the
                                         the case,
                                             case, and no one
                                                   and no     has fought
                                                          one has fought harder
                                                                          harder than
                                                                                  than the gentleman sitting
                                                                                       the gentleman    sitting to
                                                                                                                to my
                                                                                                                   my right.
                                                                                                                        right.


Now,
Now, Mitt,
       Mitt, II was
                was going
                    going to
                          to say
                             say thank   you for
                                   thank you for reading the lines
                                                 reading the       that II wrote
                                                             lines that    wrote -– (laughter)
                                                                                    (laughter) -– appreciate
                                                                                                  appreciate that.
                                                                                                             that. But
                                                                                                                    But II think
                                                                                                                           think you
                                                                                                                                 you all
                                                                                                                                      all know
                                                                                                                                          know -– the
                                                                                                                                                  the country   all knows
                                                                                                                                                      country all   knows -– Mitt
                                                                                                                                                                             Mitt Romney  is aa
                                                                                                                                                                                  Romney is
man
man ofof extraordinary
         extraordinary principle,     married to
                          principle, married  to extraordinary
                                                 extraordinary pragmatism.
                                                                pragmatism. It’s
                                                                               It's a  rare combination,
                                                                                     a rare combination, and
                                                                                                          and I’ve  gotten to
                                                                                                               I've gotten      see that
                                                                                                                             to see       up close
                                                                                                                                    that up         these last
                                                                                                                                             close these  last few
                                                                                                                                                               few years
                                                                                                                                                                     years since
                                                                                                                                                                           since you've
                                                                                                                                                                                 you’ve been
                                                                                                                                                                                        been
in the Senate.
in the Senate. But    for me,
                  But for      it’s an
                          me, it's  an honor
                                       honor to
                                             to share
                                                share the
                                                      the stage
                                                          stage with  you. So
                                                                 with you.   So thank
                                                                                thank you.
                                                                                         you. (Applause.)
                                                                                              (Applause.)

SENATOR ROMNEY:
SENATOR         Thank you.
        ROMNEY: Thank you.

SECRETARY
SECRETARY BLINKEN:         And to
                BLINKEN: And    to the
                                    the entire
                                        entire McCain  family, starting
                                               McCain family,  starting with
                                                                        with Cindy
                                                                              Cindy -– following
                                                                                       following in
                                                                                                  in the
                                                                                                     the footsteps
                                                                                                          footsteps of John McCain
                                                                                                                    of John McCain -– there
                                                                                                                                      there too
                                                                                                                                             too II have  gotten to
                                                                                                                                                    have gotten  to work
                                                                                                                                                                     work with
                                                                                                                                                                           with Cindy  these
                                                                                                                                                                                Cindy these
last few years.
last few years. You    are doing
                   You are        what is
                           doing what   is maybe  the greatest
                                           maybe the  greatest calling  anyone could
                                                                calling anyone   could have,  which is
                                                                                        have, which   is trying
                                                                                                         trying to
                                                                                                                to make
                                                                                                                   make sure  that parents
                                                                                                                         sure that parents can
                                                                                                                                            can put   food on
                                                                                                                                                put food       the table
                                                                                                                                                            on the  table for
                                                                                                                                                                          for their
                                                                                                                                                                              their kids.
                                                                                                                                                                                    kids.
And when
And   when itit comes
                comes down   to it,
                       down to  it, nothing  matters more
                                    nothing matters        than that.
                                                     more than   that. So
                                                                        So to
                                                                           to you,
                                                                              you, to
                                                                                   to the
                                                                                       the entire  family that
                                                                                            entire family  that remains
                                                                                                                remains so
                                                                                                                         so engaged,  it’s wonderful
                                                                                                                            engaged, it's  wonderful toto be
                                                                                                                                                          be here  and to
                                                                                                                                                             here and   to share
                                                                                                                                                                           share this
                                                                                                                                                                                 this
evening
evening with     you.
         with you.


                                                                                  APP-593
                                                                                  APP-593
Now,USCA
Now, II have
        have to tellCase
             to tell you    and#24-1113
                     you -– and maybe the
                                maybe   the Middle   EastDocument
                                            Middle East  is
                                                          is actually       it's aa#2060757
                                                             actually aa -– it’s    perfect
                                                                                    perfect segue
                                                                                            segue toto the
                                                                                                       the Middle
                                                                                                           Middle East.Filed:
                                                                                                                     East. But     06/20/2024
                                                                                                                               let me
                                                                                                                           But let me just
                                                                                                                                      just say
                                                                                                                                           say quickly, beforePage
                                                                                                                                               quickly, before we        72 ofout
                                                                                                                                                                   were coming
                                                                                                                                                               we were  coming   out313
                                                                                                                                                                                    here, we
                                                                                                                                                                                    here, we
were listening, Dasha,
were listening, Dasha, wewe were   listening to
                             were listening  to you,
                                                you, and
                                                     and the
                                                          the senator
                                                               senator andand II had
                                                                                   had the
                                                                                       the same
                                                                                            same reaction:
                                                                                                   reaction: Let’s   go in
                                                                                                               Let's go in the
                                                                                                                           the other
                                                                                                                               other direction,
                                                                                                                                     direction, because
                                                                                                                                                because we
                                                                                                                                                         we don’t
                                                                                                                                                             don't want to follow
                                                                                                                                                                   want to follow Dasha.
                                                                                                                                                                                  Dasha.
(Laughter.) Thank
(Laughter.)  Thank you
                     you for
                          for your
                              your extraordinary
                                   extraordinary profile   in dignity
                                                  profile in  dignity and
                                                                       and in in courage.    And II can
                                                                                  courage. And      can only
                                                                                                         only imagine   how proud
                                                                                                              imagine how    proud your
                                                                                                                                    your dad
                                                                                                                                          dad would
                                                                                                                                               would be
                                                                                                                                                      be of you. (Applause.)
                                                                                                                                                         of you. (Applause.)

So when
So when I’m
        I'm asked
            asked how it’s going,
                  how its  going, and
                                  and the
                                      the Middle
                                          Middle East
                                                 East is usually the
                                                      is usually the first
                                                                     first thing
                                                                           thing I'm
                                                                                 I’m asked
                                                                                     asked about,
                                                                                           about, II actually tend to
                                                                                                     actually tend to quote John McCain.
                                                                                                                      quote John         John McCain
                                                                                                                                 McCain. John McCain used
                                                                                                                                                     used to say, "It's
                                                                                                                                                          to say, “It’s always
                                                                                                                                                                        always
darkest before it
darkest before it goes
                  goes completely
                       completely black.” (Laughter.) So
                                  black." (Laughter.) So -– and
                                                            and II thank
                                                                   thank you,
                                                                         you, Cindy, for letting
                                                                              Cindy, for letting me
                                                                                                 me borrow that.
                                                                                                    borrow that.


But
But now to get
    now to get serious for aa minute,
               serious for    minute, so in this
                                      so in this moment,
                                                 moment, the
                                                         the best thing that
                                                             best thing that can
                                                                             can happen would be
                                                                                 happen would be for
                                                                                                 for the
                                                                                                     the agreement
                                                                                                         agreement thats
                                                                                                                   that’s on the table
                                                                                                                          on the       that’s being
                                                                                                                                 table that's being considered
                                                                                                                                                    considered by
                                                                                                                                                               by Hamas
                                                                                                                                                                  Hamas -–
to have
to have aa ceasefire, the release
           ceasefire, the release of
                                  of hostages, the possibility
                                     hostages, the possibility of
                                                               of really surging humanitarian
                                                                  really surging humanitarian assistance
                                                                                              assistance to
                                                                                                         to people who so
                                                                                                            people who so desperately
                                                                                                                          desperately need it -– that's
                                                                                                                                      need it    that’s what we’re focused
                                                                                                                                                        what we're focused on.
                                                                                                                                                                           on.
And as
And as II was
          was talking
              talking to
                      to various
                         various colleagues
                                 colleagues this morning -– and
                                            this morning    and II see
                                                                   see one
                                                                       one of
                                                                           of my
                                                                              my closest
                                                                                 closest colleagues, John Finer,
                                                                                         colleagues, John        the deputy
                                                                                                          Finer, the        national security
                                                                                                                     deputy national          advisor, here
                                                                                                                                     security advisor, here -– we await aa
                                                                                                                                                               we await
response  from Hamas.
response from  Hamas. WeWe await
                           await to
                                 to see whether, in
                                    see whether, in effect, they can
                                                    effect, they     take yes
                                                                 can take yes for
                                                                              for an
                                                                                  an answer
                                                                                     answer on  the ceasefire
                                                                                             on the           and release
                                                                                                    ceasefire and release of hostages. And
                                                                                                                          of hostages. And the
                                                                                                                                           the reality
                                                                                                                                               reality in this moment
                                                                                                                                                       in this moment is the
                                                                                                                                                                      is the
only thing standing
only thing standing between the people
                    between the people of
                                        of Gaza and aa ceasefire
                                           Gaza and    ceasefire is
                                                                 is Hamas.
                                                                    Hamas. So
                                                                            So we  look to
                                                                               we look  to see
                                                                                           see what they will
                                                                                               what they will do.
                                                                                                              do.


In the meantime,
In the meantime, even as we're
                 even as we’re doing that, we
                               doing that, we are
                                              are working
                                                  working every single day,
                                                          every single      the President’s
                                                                       day, the             working every
                                                                                Presidents working  every single
                                                                                                          single day, to make
                                                                                                                 day, to make sure
                                                                                                                              sure that
                                                                                                                                   that we are doing
                                                                                                                                        we are       what we
                                                                                                                                               doing what we can
                                                                                                                                                             can so that
                                                                                                                                                                 so that
the people
the        in Gaza
    people in      who are
              Gaza who are caught in aa crossfire
                           caught in    crossfire of
                                                  of Hamas’s making get
                                                     Hamas's making get the
                                                                        the help, the assistance,
                                                                            help, the assistance, the
                                                                                                  the support
                                                                                                      support they
                                                                                                              they need.
                                                                                                                   need. And
                                                                                                                         And we're
                                                                                                                             we’re doing that with
                                                                                                                                   doing that with partners like the
                                                                                                                                                   partners like the World
                                                                                                                                                                     World
Food
Food Program; and of
     Program; and of course,
                     course, we’re working with
                             we're working with many
                                                many other governments, we're
                                                     other governments, we’re working
                                                                              working with
                                                                                      with Israel.
                                                                                           Israel.


II was
   was just
       just there,
             there, as
                     as you
                         you said,
                                said, and
                                      and II got
                                             got to
                                                 to see firsthand some
                                                    see firsthand  some of  the progress
                                                                         of the progress that's
                                                                                          that’s been made in
                                                                                                 been made  in recent weeks in
                                                                                                               recent weeks in actually
                                                                                                                               actually getting
                                                                                                                                        getting assistance
                                                                                                                                                assistance to
                                                                                                                                                           to people who need
                                                                                                                                                              people who need it.
                                                                                                                                                                              it.
Progress
 Progress isis real; it’s still
               real; it's still not
                                not enough.
                                    enough. AndAnd wewe are
                                                         are trying
                                                             trying to
                                                                    to make
                                                                       make sure  that in
                                                                             sure that in everything we do,
                                                                                          everything we     we’re supporting
                                                                                                        do, we're supporting those
                                                                                                                              those efforts.
                                                                                                                                    efforts.


If you
If you step
       step back,
            back, II think
                     think we’ve
                           we've seen
                                 seen aa few
                                         few things
                                             things in
                                                    in the
                                                       the last
                                                           last few
                                                                few weeks
                                                                    weeks -– some
                                                                             some incredibly
                                                                                  incredibly promising,
                                                                                             promising, others
                                                                                                        others incredibly
                                                                                                               incredibly daunting. And to
                                                                                                                          daunting. And to start
                                                                                                                                           start with
                                                                                                                                                 with the
                                                                                                                                                      the daunting, we now
                                                                                                                                                          daunting, we now
have the Israelis
have the          and Palestinians,
         Israelis and               two absolutely
                      Palestinians, two absolutely traumatized
                                                   traumatized societies,
                                                               societies, and
                                                                          and when this conflict
                                                                              when this conflict ends,
                                                                                                 ends, building
                                                                                                       building back from that
                                                                                                                back from that trauma
                                                                                                                               trauma is going to
                                                                                                                                      is going to be an extraordinary
                                                                                                                                                  be an               task.
                                                                                                                                                        extraordinary task.


We also
We also see
        see in
            in all
               all directions
                   directions –- and
                                 and II think we’re seeing
                                        think we're seeing this
                                                           this not
                                                                not only in the
                                                                    only in the region, we’re seeing
                                                                                region, we're seeing itit around the world;
                                                                                                          around the world; to
                                                                                                                            to some
                                                                                                                               some extent we’re seeing
                                                                                                                                    extent we're seeing itit in
                                                                                                                                                             in our
                                                                                                                                                                our own
                                                                                                                                                                    own country
                                                                                                                                                                        country -–
maybe the biggest
maybe the biggest poison that we
                  poison that we have
                                 have to
                                      to fight
                                         fight constantly, and that
                                               constantly, and that is
                                                                    is dehumanization, the inability
                                                                       dehumanization, the inability to
                                                                                                     to see the humanity
                                                                                                        see the          in the
                                                                                                                humanity in the other. And when
                                                                                                                                other. And      that happens,
                                                                                                                                           when that happens, hearts
                                                                                                                                                              hearts get
                                                                                                                                                                     get
hardened, and everything
hardened, and everything becomes  so much
                         becomes so  much more
                                            more difficult.
                                                  difficult.


So the
So the other great task
       other great task that
                        that II think
                                think we're
                                      we’re going
                                            going to
                                                  to have
                                                     have when we get
                                                          when we get through
                                                                      through this
                                                                              this is to build
                                                                                   is to build back that sense
                                                                                               back that sense of
                                                                                                               of common humanity. And
                                                                                                                  common humanity. And II hope
                                                                                                                                          hope we
                                                                                                                                               we can
                                                                                                                                                  can do that amongst
                                                                                                                                                      do that amongst
ourselves
ourselves asas well.
               well. But there’s also
                     But there's  also some
                                       some promise.  There’s promise
                                            promise. There's            in that
                                                               promise in  that one
                                                                                one of  the things
                                                                                    of the  things we've
                                                                                                    we’ve been
                                                                                                            been working
                                                                                                                 working on  for aa long
                                                                                                                          on for         time, with
                                                                                                                                    longtime,       the President’s
                                                                                                                                               with the  President's leadership
                                                                                                                                                                     leadership over
                                                                                                                                                                                over
many
many months,
        months, is seeking to
                is seeking   to normalize
                                normalize relations
                                          relations between
                                                    between Saudi   Arabia and
                                                              Saudi Arabia  and Israel.  And for
                                                                                Israel. And   for Israel,
                                                                                                  Israel, this
                                                                                                          this would
                                                                                                               would be the realization
                                                                                                                     be the realization of  something that
                                                                                                                                         of something   that it’s
                                                                                                                                                             it's sought from day
                                                                                                                                                                  sought from day one
                                                                                                                                                                                  one
of
of its
   its existence:
       existence: normal
                  normal relations
                           relations with
                                     with other
                                          other countries
                                                countries in the region.
                                                          in the region.

This is
This    something we
     is something    were working
                  we were working on before October
                                  on before         7th. In
                                            October 7th. In fact,
                                                            fact, II was
                                                                     was due to go
                                                                         due to go to
                                                                                   to Israel and Saudi
                                                                                      Israel and       Arabia on
                                                                                                 Saudi Arabia on October 10th to
                                                                                                                 October 10th to work
                                                                                                                                 work on this, and
                                                                                                                                      on this, and in
                                                                                                                                                   in particular to work
                                                                                                                                                      particular to work on
                                                                                                                                                                         on
the Palestinian
the Palestinian piece
                piece of the puzzle,
                      of the puzzle, because for us,
                                     because for us, for
                                                     for the
                                                         the Saudis,
                                                             Saudis, if
                                                                     if we're
                                                                        we’re able
                                                                              able to
                                                                                   to move forward on
                                                                                      move forward    normalization, itit has
                                                                                                   on normalization,      has to
                                                                                                                              to include also moving
                                                                                                                                 include also moving forward
                                                                                                                                                     forward on the aspirations
                                                                                                                                                             on the aspirations
of the Palestinian
of the Palestinian people.
                   people.


So II think
So    think there's
            there’s an
                    an equation
                       equation that you can
                                that you can see,
                                             see, a
                                                  a different
                                                    different path that countries
                                                              path that           in the
                                                                        countries in the region
                                                                                         region can
                                                                                                can be
                                                                                                    be on and really
                                                                                                       on and really want
                                                                                                                     want to
                                                                                                                          to be
                                                                                                                             be on, which is
                                                                                                                                on, which is aa path
                                                                                                                                                path of
                                                                                                                                                     of integration,
                                                                                                                                                        integration, aa path
                                                                                                                                                                        path
where
where Israel’s
      Israel's relations
               relations with
                          with its
                                its neighbors
                                    neighbors are
                                               are normalized;
                                                   normalized; aa path where Israel's
                                                                  path where   Israel’s security is actually
                                                                                        security is actually looked
                                                                                                             looked out  for, including
                                                                                                                     out for, including by its neighbors;
                                                                                                                                        by its neighbors; aa path where Palestinians
                                                                                                                                                             path where   Palestinians
achieve their political
achieve their           rights; and
              political rights; and aa path
                                       path in which the
                                            in which the biggest  threat to
                                                         biggest threat  to Israel, to most
                                                                            Israel, to most of  the countries
                                                                                             of the  countries in  the region,
                                                                                                                in the region, and
                                                                                                                               and aa threat
                                                                                                                                      threat that
                                                                                                                                             that we share, Iran,
                                                                                                                                                  we share,  Iran, is actually isolated.
                                                                                                                                                                   is actually isolated.

Now,
Now, whether we can
     whether we      move from
                 can move  from the
                                  the moment
                                      moment that
                                              that we’re
                                                    we're in to actually
                                                          in to  actually start to travel
                                                                          start to travel down  that path,
                                                                                          down that         that’s going
                                                                                                      path, that's going to
                                                                                                                         to be
                                                                                                                            be a
                                                                                                                               a big
                                                                                                                                 big challenge.
                                                                                                                                     challenge. But you can
                                                                                                                                                But you     see it,
                                                                                                                                                        can see it, and
                                                                                                                                                                    and it’s
                                                                                                                                                                        it's
something that the
something that the President
                   President is
                             is determined to try
                                determined to try to
                                                  to pursue
                                                     pursue ifif we
                                                                 we have  the opportunity
                                                                    have the                to do
                                                                               opportunity to     it.
                                                                                               do it.


One
One other thing on
    other thing    this. We
                on this. We saw something related
                            saw something related that
                                                  that was
                                                       was quite
                                                           quite extraordinary
                                                                 extraordinary about two weeks
                                                                               about two weeks ago.
                                                                                               ago. Iran
                                                                                                    Iran engaged in an
                                                                                                         engaged in an unprecedented
                                                                                                                       unprecedented attack
                                                                                                                                     attack on
                                                                                                                                            on Israel, the first
                                                                                                                                               Israel, the first direct
                                                                                                                                                                 direct
attack from
attack from Iran to Israel.
            Iran to         And some
                    Israel. And some people
                                     people said,
                                            said, well, it was
                                                  well, it was designed so itit wouldn't
                                                               designed so      wouldn’t do much damage,
                                                                                         do much damage, carefully
                                                                                                         carefully calibrated.
                                                                                                                   calibrated. Nothing
                                                                                                                               Nothing of the sort.
                                                                                                                                       of the sort. More than 300
                                                                                                                                                    More than 300
projectiles
projectiles launched at Israel,
            launched at Israel, including more than
                                including more than aa hundred
                                                       hundred ballistic missiles. John
                                                               ballistic missiles. John and
                                                                                        and II were in the
                                                                                               were in the Situation
                                                                                                           Situation Room watching this
                                                                                                                     Room watching this unfold.
                                                                                                                                        unfold.

It’s
It's because
     because Israel
             Israel had    very effective
                      had very  effective defenses
                                          defenses –- but
                                                      but also
                                                           also because   the President,
                                                                 because the             the United
                                                                              President, the          States, managed
                                                                                             United States,   managed to to rally
                                                                                                                            rally on
                                                                                                                                  on short
                                                                                                                                     short notice
                                                                                                                                           notice aa collection
                                                                                                                                                     collection of
                                                                                                                                                                of countries to help
                                                                                                                                                                   countries to help –- that
                                                                                                                                                                                        that
damage
damage waswas not
              not done.     And that
                    done. And    that also
                                      also shows
                                           shows something
                                                  something in  in embryonic  form: the
                                                                   embryonic form:  the possibilities  that Israel
                                                                                         possibilities that Israel has for, again,
                                                                                                                   has for, again, being
                                                                                                                                   being integrated,
                                                                                                                                         integrated, aa regional  security architecture
                                                                                                                                                         regional security architecture
that can
that      actually, II think,
      can actually,    think, keep the peace
                              keep the  peace effectively for years
                                              effectively for years to
                                                                     to come.
                                                                        come.


So that's
So that’s where
          where we
                we want to go.
                   want to go. But getting from
                               But getting from here
                                                here to
                                                     to there,
                                                        there, of
                                                               of course,
                                                                  course, requires that the
                                                                          requires that the war
                                                                                            war in
                                                                                                in Gaza
                                                                                                   Gaza come to an
                                                                                                        come to an end. And right
                                                                                                                   end. And       now, the
                                                                                                                            right now, the quickest path to
                                                                                                                                           quickest path to that
                                                                                                                                                            that
happening would be
happening would    through this
                be through this ceasefire and hostage
                                ceasefire and hostage deal.
                                                      deal.


SENATOR ROMNEY:
SENATOR ROMNEY: II think
                   think aa number
                            number of folks, myself
                                   of folks, myself included,
                                                    included, have wondered why
                                                              have wondered why Hamas
                                                                                Hamas has not agreed
                                                                                      has not        to other
                                                                                              agreed to other proposals
                                                                                                              proposals with
                                                                                                                        with regards to aa ceasefire.
                                                                                                                             regards to               What are
                                                                                                                                           ceasefire. What     we
                                                                                                                                                           are we
misunderstanding?   What is
misunderstanding? What         their calculation?
                            is their              What are
                                     calculation? What  are they
                                                             they –- why
                                                                     why are
                                                                          are they
                                                                              they hesitating?     This -– II mean,
                                                                                    hesitating? This                we read
                                                                                                              mean, we  read about
                                                                                                                              about what's
                                                                                                                                    what’s being
                                                                                                                                           being proposed.
                                                                                                                                                 proposed. It     sounds like
                                                                                                                                                               It sounds    like aa no-brainer.
                                                                                                                                                                                    no-brainer.
But
But they
    they must  have aa different
         must have     different calculation.   What is
                                  calculation. What  is going
                                                        going through
                                                               through their
                                                                         their head?    What -– II mean,
                                                                               head? What          mean, theythey want
                                                                                                                  want to
                                                                                                                       to be
                                                                                                                          be just
                                                                                                                             just martyrs?
                                                                                                                                  martyrs? Is that -– II mean,
                                                                                                                                           Is that       mean, what
                                                                                                                                                               what is
                                                                                                                                                                     is it
                                                                                                                                                                        it that  they hope
                                                                                                                                                                           that they  hope to
                                                                                                                                                                                            to
carry
carry out,
      out, and why have
           and why have they
                          they not
                                 not just
                                     just jumped
                                          jumped on  this, saying,
                                                  on this, saying, oh,  yeah, this
                                                                    oh, yeah, this is fantastic?
                                                                                   is fantastic?


SECRETARY
SECRETARY BLINKEN:
              BLINKEN: OneOne of
                               of the
                                  the challenges  we have,
                                      challenges we    have, of
                                                              of course,
                                                                 course, is  that the
                                                                          is that the leaders
                                                                                      leaders of
                                                                                               of Hamas
                                                                                                  Hamas thatthat we’re
                                                                                                                   we're indirectly
                                                                                                                          indirectly engaged
                                                                                                                                     engaged with
                                                                                                                                               with through   the Qataris,
                                                                                                                                                     through the              through the
                                                                                                                                                                    Qataris, through      the
Egyptians,
Egyptians, are
            are of
                of course living outside
                   course living outside of
                                          of Gaza,
                                             Gaza, living in Qatar
                                                   living in Qatar or
                                                                    or living
                                                                       living in  Türkiye, other
                                                                               in Turkiye, other places,   and the
                                                                                                  places, and     the ultimate
                                                                                                                      ultimate decision
                                                                                                                                decision makers
                                                                                                                                           makers are   the folks
                                                                                                                                                    are the folks who
                                                                                                                                                                  who are
                                                                                                                                                                        are actually
                                                                                                                                                                              actually inin Gaza
                                                                                                                                                                                            Gaza
itself
itself with
       with whom   none of
            whom none    of us
                            us have
                               have direct
                                     direct contact.  So trying
                                            contact. So          to understand
                                                         trying to  understand what      they’re thinking
                                                                                   what they're  thinking isis aa challenge.
                                                                                                                  challenge. Now,
                                                                                                                               Now, we   have some
                                                                                                                                      we have          sense of
                                                                                                                                               some sense    of it, but its
                                                                                                                                                                it, but it’s not
                                                                                                                                                                             not -– it's
                                                                                                                                                                                    it’s far
                                                                                                                                                                                         far from
                                                                                                                                                                                             from
perfect.  And there
perfect. And   there are
                     are different
                         different theories  about what's
                                   theories about   what’s actually
                                                             actually motivating
                                                                      motivating their
                                                                                    their decisions
                                                                                          decisions in  this time.
                                                                                                     in this time. It’s   something we
                                                                                                                     It's something    we -– we're
                                                                                                                                             we’re constantly  trying to
                                                                                                                                                   constantly trying  to get
                                                                                                                                                                          get at.
                                                                                                                                                                               at.


                                                                                    APP-594
                                                                                    APP-594
But II USCA
But    can’t
       can't give   Case
             give you
                  you            #24-1113
                      aa definitive
                         definitive  answer,
                                     answer, and
                                              and II think Document
                                                     think we'll
                                                           we’ll  see,    depending#2060757
                                                                  see, depending      on what they
                                                                                      on what  they actually
                                                                                                    actually do
                                                                                                             do in thisFiled:
                                                                                                                in this moment,06/20/2024
                                                                                                                        moment,  whether in
                                                                                                                                 whether   in fact
                                                                                                                                              fact the        Page
                                                                                                                                                   the Palestinian
                                                                                                                                                       Palestinian     73
                                                                                                                                                                   people
                                                                                                                                                                   people whom
                                                                                                                                                                          whomof they
                                                                                                                                                                                   313
                                                                                                                                                                                  they
purport
purport toto represent
              represent -– if
                           if that's
                              that’s actually
                                     actually true;
                                              true; because
                                                    because ifif itit is true, then
                                                                      is true, then taking
                                                                                    taking the
                                                                                           the ceasefire
                                                                                               ceasefire should
                                                                                                         should be
                                                                                                                 be aa no-brainer, as you
                                                                                                                       no-brainer, as you said.
                                                                                                                                          said. But
                                                                                                                                                But maybe    something else
                                                                                                                                                     maybe something    else is going on,
                                                                                                                                                                             is going     and
                                                                                                                                                                                      on, and
we’ll
we'll have
       have aa better
               better picture
                      picture of   that in
                                of that in the
                                           the coming
                                               coming days.
                                                        days.


SENATOR ROMNEY:
SENATOR         Tell us
        ROMNEY: Tell    about Bibi
                     us about Bibi Netanyahu and what
                                   Netanyahu and      his -– what
                                                 what his         his position
                                                             what his position of
                                                                               of power
                                                                                  power is, how he's
                                                                                        is, how he’s seen
                                                                                                     seen among
                                                                                                          among the
                                                                                                                the Israeli
                                                                                                                    Israeli people, what the
                                                                                                                            people, what the level
                                                                                                                                             level of
                                                                                                                                                   of commitment
                                                                                                                                                      commitment is
                                                                                                                                                                 is
in
in Israel for them
   Israel for them to
                    to go
                       go into
                          into Rafah,  to continue
                               Rafah, to           this effort.
                                          continue this         Where is
                                                        effort. Where is he? If this
                                                                         he? If this -– well,
                                                                                        well, I’m
                                                                                              I'm not
                                                                                                  not -– I’m going to
                                                                                                         I'm going to take the if
                                                                                                                      take the if out.
                                                                                                                                  out. II was
                                                                                                                                          was going
                                                                                                                                              going to
                                                                                                                                                    to go
                                                                                                                                                       go back to the
                                                                                                                                                          back to the ceasefire.
                                                                                                                                                                      ceasefire. But
                                                                                                                                                                                 But
what’s
what's his
        his political
            political posture now in
                      posture now  in Israel?
                                      Israel?


SECRETARY
SECRETARY BLINKEN:         Well, II think,
                BLINKEN: Well,      think, as
                                           as everyone
                                              everyone knows,
                                                        knows, this is aa complicated
                                                               this is                government. It’s
                                                                          complicated government. It's aa balancing act when
                                                                                                          balancing act      you have
                                                                                                                        when you have aa coalition. And if
                                                                                                                                         coalition. And if you're
                                                                                                                                                           you’re just
                                                                                                                                                                  just looking
                                                                                                                                                                       looking at
                                                                                                                                                                               at the
                                                                                                                                                                                  the
politics
politics of it, that's
         of it, that’s something
                       something that
                                   that he
                                        he has
                                            has to
                                                to factor
                                                   factor in.
                                                          in.

But
But here’s  what I'd
     here's what  I’d say  generally about
                      say generally   about this.
                                             this. Irrespective
                                                   Irrespective of  what you
                                                                 of what   you think
                                                                                 think of  the prime
                                                                                       of the   prime minister,  the government,
                                                                                                       minister, the  government, what's
                                                                                                                                   what’s important
                                                                                                                                            important toto understand
                                                                                                                                                           understand is that much
                                                                                                                                                                      is that much of    what
                                                                                                                                                                                      of what
he’s
he's doing
     doing is  not simply
            is not simply a a reflection
                              reflection of his politics
                                         of his politics or
                                                         or his
                                                            his policies;
                                                                policies; it’s actually aa reflection
                                                                          it's actually    reflection of
                                                                                                      of where
                                                                                                         where aa large
                                                                                                                   large majority
                                                                                                                         majority of
                                                                                                                                  of Israelis
                                                                                                                                     Israelis are
                                                                                                                                              are in this moment.
                                                                                                                                                  in this          And II think
                                                                                                                                                          moment. And     think it’s important
                                                                                                                                                                                it's important
to understand
to               that if
   understand that     if we're
                          we’re really
                                really going
                                       going to
                                             to be  able to
                                                be able  to meet
                                                            meet this
                                                                   this challenge.    That’s at
                                                                        challenge. That's     at least my observation.
                                                                                                 least my observation.


I’ve now been
I've now      there seven
         been there       times since
                    seven times since October 7th, and
                                      October 7th, and you
                                                       you get
                                                           get aa chance to get
                                                                  chance to get aa feel
                                                                                   feel for
                                                                                        for what's
                                                                                            what’s going
                                                                                                   going on in the
                                                                                                         on in the society
                                                                                                                   society itself. And as
                                                                                                                           itself. And as II said
                                                                                                                                             said at
                                                                                                                                                  at the
                                                                                                                                                     the start,
                                                                                                                                                         start, you
                                                                                                                                                                you have
                                                                                                                                                                    have aa
traumatized society,
traumatized society, just
                     just as
                          as you
                             you have
                                 have traumatized
                                      traumatized Palestinians. And breaking
                                                  Palestinians. And          through that
                                                                    breaking through      trauma in
                                                                                     that trauma in real
                                                                                                    real time
                                                                                                         time is an extraordinary
                                                                                                              is an extraordinary challenge.
                                                                                                                                  challenge. But
                                                                                                                                             But it’s
                                                                                                                                                 it's II think
                                                                                                                                                         think very
                                                                                                                                                               very
important   that we,
important that   we, as  the United
                      as the United States,
                                     States, as Israel’s friend,
                                             as Israel's friend, try
                                                                 try to
                                                                      to share   what we
                                                                         share what    we think
                                                                                            think is not only
                                                                                                  is not      in our
                                                                                                         only in     interest but
                                                                                                                 our interest     also what’s
                                                                                                                              but also what's in their interest.
                                                                                                                                              in their           And when
                                                                                                                                                       interest. And   when it
                                                                                                                                                                             it comes
                                                                                                                                                                                comes to to
Rafah
Rafah -– Mitt, you mentioned
         Mitt, you              that aa moment
                   mentioned that       moment agoago -– look,
                                                         look, our  position is
                                                                our position   is clear.  The President’s
                                                                                  clear. The   President's been
                                                                                                           been clear
                                                                                                                  clear on this. Absent
                                                                                                                        on this. Absent aa credible
                                                                                                                                           credible plan to genuinely
                                                                                                                                                    plan to genuinely protect
                                                                                                                                                                        protect civilians
                                                                                                                                                                                 civilians who
                                                                                                                                                                                            who
are in
are in harm's
       harm’s way
                way -– and
                       and keep  in mind
                           keep in        there are
                                    mind there       now 1.4
                                                 are now    1.4 million
                                                                million or   so people
                                                                         or so  people inin Rafah,
                                                                                            Rafah, many
                                                                                                    many of  them displaced
                                                                                                          of them              from the
                                                                                                                    displaced from  the north
                                                                                                                                        north –- absent
                                                                                                                                                 absent such
                                                                                                                                                         such aa plan, we can’t
                                                                                                                                                                 plan, we can't support
                                                                                                                                                                                 support a  a
major  military operation
major military              going into
                 operation going   into Rafah
                                        Rafah because
                                              because the the damage
                                                              damage it  it would
                                                                            would do   is beyond
                                                                                    do is          what’s acceptable.
                                                                                          beyond what's   acceptable.


So we
So we haven't
      haven’t seen
              seen such
                   such aa plan yet, but
                           plan yet,     right now,
                                     but right now, as
                                                    as II said,
                                                          said, the
                                                                the focus
                                                                    focus is
                                                                          is intensely
                                                                             intensely on
                                                                                       on seeing if we
                                                                                          seeing if we can’t get this
                                                                                                       can't get this agreement
                                                                                                                      agreement because that would
                                                                                                                                because that would be
                                                                                                                                                   be a
                                                                                                                                                      a way
                                                                                                                                                        way of,
                                                                                                                                                            of, II think,
                                                                                                                                                                   think, moving
                                                                                                                                                                          moving
things in
things in aa different
             different direction.
                       direction.


SENATOR ROMNEY:
SENATOR         You may
        ROMNEY: You may not want to
                        not want to answer
                                    answer this
                                           this question,
                                                question, but
                                                          but that is -– the
                                                              that is    the President
                                                                             President sort
                                                                                       sort of
                                                                                            of dipped his toe
                                                                                               dipped his toe into
                                                                                                              into the
                                                                                                                   the criticism
                                                                                                                       criticism of
                                                                                                                                 of Israel and the
                                                                                                                                    Israel and the way they’ve
                                                                                                                                                   way they've
conducted   the war
conducted the   war so
                    so far,
                       far, saying
                            saying we’re
                                    we're not
                                          not entirely
                                              entirely happy with how
                                                       happy with how this
                                                                      this has
                                                                           has been
                                                                               been carried
                                                                                    carried out. What would
                                                                                            out. What would our
                                                                                                            our administration
                                                                                                                administration have
                                                                                                                               have done
                                                                                                                                    done differently? What is
                                                                                                                                         differently? What is our
                                                                                                                                                              our specific
                                                                                                                                                                  specific
criticism, and what
criticism, and      guidance will
               what guidance   will that
                                    that provide for what
                                         provide for what they
                                                          they do going forward?
                                                               do going forward?

SECRETARY
SECRETARY BLINKEN:        Well, let’s
               BLINKEN: Well,         start with
                                let's start with the
                                                 the –- in
                                                        in aa sense,
                                                              sense, the
                                                                     the obvious  that seems
                                                                          obvious that seems to
                                                                                             to have
                                                                                                have been forgotten, or
                                                                                                     been forgotten,    almost erased
                                                                                                                     or almost        from the
                                                                                                                               erased from the conversation, which is
                                                                                                                                               conversation, which is October 7th
                                                                                                                                                                      October 7th
itself. And it’s
itself. And it's extraordinary how quickly
                 extraordinary how            the world
                                      quickly the world moved
                                                          moved on     from that.
                                                                   on from  that.

It’s
It's also
     also extraordinary the extent
          extraordinary the        to which
                            extent to   which Hamas    isn’t even
                                               Hamas isn't   even part
                                                                  part of   the conversation.
                                                                         of the                And II think
                                                                                conversation. And     think that's
                                                                                                            that’s worth
                                                                                                                   worth aa moment
                                                                                                                             moment ofof reflection, too. And
                                                                                                                                         reflection, too. And soso we’ve
                                                                                                                                                                    we've said  from the
                                                                                                                                                                           said from the
start,
start, and  the President
        and the President has
                          has been
                              been committed
                                    committed fromfrom the
                                                         the start, to the
                                                             start, to the proposition  that Israel
                                                                            proposition that Israel not
                                                                                                    not only  has aa right
                                                                                                         only has    right to
                                                                                                                           to defend
                                                                                                                              defend itself, not only
                                                                                                                                     itself, not      has aa right
                                                                                                                                                 only has          to try
                                                                                                                                                             right to try to
                                                                                                                                                                          to make
                                                                                                                                                                             make sure
                                                                                                                                                                                   sure
October
October 7th7th never happens again,
               never happens  again, itit has
                                          has an
                                              an obligation.  And so
                                                 obligation. And    so that's
                                                                       that’s something
                                                                              something that
                                                                                         that we
                                                                                              we have    supported from
                                                                                                  have supported     from day
                                                                                                                            day one.
                                                                                                                                one.


But
But we’ve  also said
    we've also  said -– also
                        also from
                             from day
                                    day one
                                        one –- how
                                               how itit does it matters.
                                                        does it matters. And
                                                                         And here,
                                                                              here, thethe damage  that’s been
                                                                                           damage that's  been done
                                                                                                                done to  so many
                                                                                                                      to so many innocent
                                                                                                                                 innocent children,   women, and
                                                                                                                                            children, women,  and men
                                                                                                                                                                  men -– again,
                                                                                                                                                                         again, in
                                                                                                                                                                                in this
                                                                                                                                                                                    this
crossfire
crossfire of
          of Hamas’s
             Hamas's making
                       making –  - has to be
                                   has to     something that
                                          be something     that we
                                                                we focus
                                                                    focus on, as itit has
                                                                          on, as      has been from day
                                                                                          been from day one,  trying to
                                                                                                         one, trying    make sure
                                                                                                                     to make  sure that
                                                                                                                                   that the
                                                                                                                                        the assistance
                                                                                                                                            assistance gets
                                                                                                                                                       gets to those who
                                                                                                                                                            to those who need
                                                                                                                                                                          need it,
                                                                                                                                                                                it, trying
                                                                                                                                                                                    trying
to make
to make sure   that civilians
          sure that civilians are
                               are protected
                                   protected toto the
                                                  the greatest
                                                       greatest extent
                                                                 extent possible.
                                                                        possible.


Now,
Now, everyone
      everyone herehere knows   that this
                         knows that  this is
                                          is aa -– almost
                                                   almost aa unique
                                                             unique challenge
                                                                     challenge because
                                                                                  because when
                                                                                           when you you have
                                                                                                         have an
                                                                                                               an enemy,
                                                                                                                  enemy, aa terrorist
                                                                                                                            terrorist group
                                                                                                                                      group like
                                                                                                                                             like Hamas
                                                                                                                                                  Hamas thatthat embeds
                                                                                                                                                                 embeds itself
                                                                                                                                                                           itself with the civilian
                                                                                                                                                                                  with the civilian
population
population in  in ways
                  ways that
                       that we
                            we really
                               really haven't
                                      haven’t seenseen before,
                                                        before, and
                                                                and that
                                                                     that is  hiding in
                                                                           is hiding in and
                                                                                        and under     mosques, schools,
                                                                                             under mosques,      schools, apartment
                                                                                                                          apartment buildings,    it’s an
                                                                                                                                       buildings, it's an incredibly
                                                                                                                                                           incredibly tall
                                                                                                                                                                      tall order.
                                                                                                                                                                           order. But
                                                                                                                                                                                    But even
                                                                                                                                                                                        even so,
                                                                                                                                                                                              so,
even  so, II think
even so,     think where
                   where we’ve
                          we've been
                                 been pushing
                                       pushing our      friends -– again,
                                                    our friends           from the
                                                                   again, from   the very
                                                                                     very start
                                                                                          start -– is
                                                                                                   is to
                                                                                                      to do as much
                                                                                                         do as much as
                                                                                                                     as possible,  and to
                                                                                                                        possible, and   to do
                                                                                                                                           do more,
                                                                                                                                               more, toto look
                                                                                                                                                          look out for civilians,
                                                                                                                                                               out for             and to
                                                                                                                                                                        civilians, and  to make
                                                                                                                                                                                           make
sure
sure that   those who
     that those    who need
                        need the
                              the help
                                  help get
                                        get it.
                                              it.

SENATOR ROMNEY:
SENATOR         Why has
        ROMNEY: Why has the
                        the PR
                            PR been
                               been so awful? II know
                                    so awful?         that’s not
                                                 know that's     your area
                                                             not your area of
                                                                           of expertise,
                                                                              expertise, but you have
                                                                                         but you have to
                                                                                                      to have
                                                                                                         have some thoughts on
                                                                                                              some thoughts    that, which
                                                                                                                            on that, which is,
                                                                                                                                           is, II mean,
                                                                                                                                                  mean, as
                                                                                                                                                        as you've
                                                                                                                                                           you’ve
said,
said, why has Hamas
      why has Hamas disappeared in terms
                    disappeared in terms of
                                         of public
                                            public perception?
                                                   perception? An
                                                               An offer
                                                                  offer is
                                                                        is on the table
                                                                           on the       to have
                                                                                  table to have aa ceasefire, and yet
                                                                                                   ceasefire, and yet the world is
                                                                                                                      the world    screaming about
                                                                                                                                is screaming about Israel.
                                                                                                                                                   Israel. It’s
                                                                                                                                                           It's like,
                                                                                                                                                                like, why are
                                                                                                                                                                      why are
they not
they     screaming about
     not screaming about Hamas? Accept the
                         Hamas? Accept the ceasefire
                                           ceasefire and
                                                     and bring
                                                         bring home the hostages.
                                                               home the hostages. Instead, it’s all
                                                                                  Instead, it's     the other
                                                                                                all the       way around.
                                                                                                        other way around. II mean,
                                                                                                                             mean, typically the Israelis
                                                                                                                                   typically the          are good
                                                                                                                                                 Israelis are good at
                                                                                                                                                                   at PR.
                                                                                                                                                                      PR.
What’s happened
What's happened here?
                here? How
                      How have they -– how
                          have they        have they/
                                       how have they/ and
                                                      and we/
                                                          we/ been
                                                              been so
                                                                   so ineffective
                                                                      ineffective at
                                                                                  at communicating the realities
                                                                                     communicating the           there and
                                                                                                       realities there and our point of
                                                                                                                           our point of view?
                                                                                                                                        view?


SECRETARY
SECRETARY BLINKEN:
             BLINKEN: Look,
                        Look, II mean,
                                 mean, there
                                       there are
                                             are two
                                                 two things.
                                                      things. One
                                                              One is that, look,
                                                                  is that,  look, there
                                                                                  there is
                                                                                         is an
                                                                                            an inescapable  reality, and
                                                                                               inescapable reality,  and that
                                                                                                                         that is the inescapable
                                                                                                                              is the inescapable reality
                                                                                                                                                 reality of
                                                                                                                                                         of people who have
                                                                                                                                                            people who      and
                                                                                                                                                                       have and
continue to suffer
continue to suffer grievously
                   grievously in
                              in Gaza.  And that's
                                 Gaza. And  that’s real
                                                   real and we have
                                                        and we have to
                                                                     to –- have to -– be
                                                                           have to       focused on
                                                                                      be focused      that and
                                                                                                   on that and attentive
                                                                                                               attentive to
                                                                                                                          to that.
                                                                                                                             that.

At the
At the same time, how
       same time, how this
                      this narrative
                           narrative has
                                     has evolved, yeah, it’s
                                         evolved, yeah, it's a great question.
                                                             a great question. II don’t
                                                                                  don't have
                                                                                        have aa good
                                                                                                good answer
                                                                                                     answer to
                                                                                                            to that.
                                                                                                               that. One
                                                                                                                     One can speculate about
                                                                                                                         can speculate about what some of
                                                                                                                                             what some    the causes
                                                                                                                                                       of the        might
                                                                                                                                                              causes might
be.
be. II don’t
       don't know.
             know. II can tell you
                      can tell you this
                                   this -– and
                                           and we
                                               we were
                                                  were talking
                                                       talking about this aa little
                                                               about this    little bit
                                                                                    bit over
                                                                                        over dinner with Cindy.
                                                                                             dinner with Cindy. II think
                                                                                                                   think in my time
                                                                                                                         in my time in Washington, which
                                                                                                                                    in Washington, which is
                                                                                                                                                         is aa little
                                                                                                                                                               little bit
                                                                                                                                                                      bit over 30 years,
                                                                                                                                                                          over 30 years,
the single
the single biggest
           biggest change
                   change has been in
                          has been in the
                                      the information
                                          information environment. And when
                                                      environment. And when II started
                                                                               started out in the
                                                                                       out in the early 1990s, everyone
                                                                                                  early 1990s, everyone did the same
                                                                                                                        did the same thing.
                                                                                                                                     thing. You
                                                                                                                                            You woke
                                                                                                                                                woke up
                                                                                                                                                     up in
                                                                                                                                                        in the
                                                                                                                                                           the
morning, you opened
morning, you        the door
             opened the door of your apartment
                             of your apartment or your house,
                                               or your house, you
                                                              you picked
                                                                  picked up
                                                                         up aa hard
                                                                               hard copy
                                                                                    copy of
                                                                                         of The New York
                                                                                            The New      Times,, The
                                                                                                    York Times   The Washington Post, The
                                                                                                                     Washington Post, The Wall        Journal. And
                                                                                                                                               Street Journal.
                                                                                                                                          Wall Street          And then
                                                                                                                                                                   then
if you
if you had
       had aa television
              television in your office,
                         in your         you turned
                                 office, you turned itit on
                                                         on at
                                                            at 6:30
                                                               6:30 or 7 o’clock
                                                                    or 7         and watched
                                                                         o'clock and watched the
                                                                                             the national
                                                                                                 national network
                                                                                                          network news.
                                                                                                                  news.

Now,
Now, of
     of course,  we are
        course, we  are on
                        on anan intravenous  feed of
                                intravenous feed   of information
                                                      information with  with new
                                                                              new impulses,
                                                                                   impulses, inputs
                                                                                              inputs every  millisecond. And
                                                                                                      every millisecond.   And of
                                                                                                                                of course,   the way
                                                                                                                                   course, the       this has
                                                                                                                                                 way this has played
                                                                                                                                                              played out
                                                                                                                                                                     out on
                                                                                                                                                                         on social media
                                                                                                                                                                            social media
has
has dominated   the narrative.
    dominated the   narrative. And
                                 And you
                                     you have
                                          have aa social
                                                  social media
                                                         media ecosystem
                                                                  ecosystem environment
                                                                                 environment in  in which
                                                                                                    which context,
                                                                                                          context, history,  facts get
                                                                                                                    history, facts get lost,
                                                                                                                                       lost, and
                                                                                                                                             and the
                                                                                                                                                 the emotion,  the impact
                                                                                                                                                     emotion, the  impact of
                                                                                                                                                                          of images
                                                                                                                                                                             images
dominates.  And we
dominates. And   we can’t
                     can't –- we
                              we can’t
                                 can't discount  that, but
                                       discount that,  but II think
                                                              think itit also
                                                                         also has
                                                                              has aa very,
                                                                                     very, very,
                                                                                           very, very
                                                                                                 very challenging
                                                                                                      challenging effect
                                                                                                                   effect on  the narrative.
                                                                                                                          on the  narrative.




                                                                                    APP-595
                                                                                    APP-595
     USCA Case #24-1113
SENATOR ROMNEY:
SENATOR         A small
        ROMNEY: A small parenthetical
                        parenthetical point, which is
                                      point, which is some  Document #2060757
                                                      some wonder
                                                           wonder why there was
                                                                  why there was such
                                                                                such overwhelming support for
                                                                                     overwhelming support for us
                                                                                                              us to
                                                                                                                 to shutFiled: 06/20/2024
                                                                                                                    shut down potentially TikTok
                                                                                                                         down potentially TikTok or
                                                                                                                                                 or other
                                                                                                                                                    other            Page 74 of 313
entities
entities of that nature.
         of that nature. If
                         If you
                            you look
                                look at the postings
                                     at the postings on TikTok and
                                                     on TikTok and the number of
                                                                   the number    mentions of
                                                                              of mentions of Palestinians relative to
                                                                                             Palestinians relative to other
                                                                                                                      other social media sites,
                                                                                                                            social media sites, it’s
                                                                                                                                                it's overwhelmingly so among
                                                                                                                                                     overwhelmingly so among
TikTok broadcasts.
TikTok             So I'd
       broadcasts. So I’d note
                          note that's
                               that’s of real interest,
                                      of real interest, and
                                                        and the
                                                            the President will get
                                                                President will get the
                                                                                   the chance to make
                                                                                       chance to make action
                                                                                                      action in
                                                                                                             in that
                                                                                                                that regard.
                                                                                                                     regard.

The President
The President had also spoken
              had also spoken about
                              about our
                                    our commitment to aa two-state
                                        commitment to    two-state solution, and aa number
                                                                   solution, and    number of
                                                                                           of people have said
                                                                                              people have      to me
                                                                                                          said to    that’s impossible.
                                                                                                                  me that's impossible. And
                                                                                                                                        And Bibi
                                                                                                                                            Bibi Netanyahu
                                                                                                                                                 Netanyahu has
                                                                                                                                                           has
basically
basically said  that’s impossible.
           said that's impossible. Is   it possible
                                     Is it possible toto have
                                                         have aa two-state
                                                                 two-state solution?
                                                                           solution? What
                                                                                     What kind
                                                                                           kind of
                                                                                                of –
                                                                                                   - II mean,
                                                                                                        mean, II know  that’s far
                                                                                                                 know that's  far from
                                                                                                                                  from where
                                                                                                                                       where wewe are
                                                                                                                                                    are right  now. It's
                                                                                                                                                         right now. It’s like
                                                                                                                                                                         like aa whole
                                                                                                                                                                                 whole different
                                                                                                                                                                                       different
realm.
realm. But
         But is that essential
             is that           to, if
                     essential to, if you
                                      you will,
                                            will, beginning
                                                  beginning normalization
                                                            normalization relations   with Saudi
                                                                            relations with Saudi Arabia
                                                                                                 Arabia and     with others
                                                                                                          and with           to say,
                                                                                                                     others to  say, hey,
                                                                                                                                     hey, here’s
                                                                                                                                          here's aa vision,
                                                                                                                                                    vision, here’s some steps
                                                                                                                                                            here's some           we might
                                                                                                                                                                           steps we  might get
                                                                                                                                                                                            get
to? Is
to?    it possible,
    Is it           and what
          possible, and  what would     that look
                               would that    look like?
                                                    like?


SECRETARY
SECRETARY BLINKEN:
              BLINKEN: So  So for
                              for me   and the
                                   me and   the President,  the answer
                                                 President, the  answer is is yes.
                                                                              yes. And
                                                                                   And you
                                                                                       you can
                                                                                             can say  that’s -– especially
                                                                                                 say that's     especially in in this moment -– naive,
                                                                                                                                 this moment      naïve, impossible.
                                                                                                                                                         impossible. ButBut II think
                                                                                                                                                                               think that
                                                                                                                                                                                     that itit is an
                                                                                                                                                                                               is an
imperative.  And let
imperative. And    let me
                       me put
                           put it this way.
                               it this way. First,
                                              First, we were talking
                                                     we were talking about
                                                                      about normalization
                                                                               normalization with
                                                                                              with Saudi   Arabia. I’ve
                                                                                                   Saudi Arabia.            sat with
                                                                                                                       I've sat with MBS    multiple times,
                                                                                                                                       MBS multiple   times, the
                                                                                                                                                              the crown
                                                                                                                                                                  crown prince,    and he’s
                                                                                                                                                                         prince, and    he's made
                                                                                                                                                                                                made
clear that he
clear that he wants
              wants toto pursue
                         pursue normalization
                                   normalization andand he’d
                                                        he'd like to do
                                                             like to    it as
                                                                     do it  as soon
                                                                               soon as
                                                                                    as possible
                                                                                       possible -– if
                                                                                                   if we
                                                                                                      we can
                                                                                                         can conclude
                                                                                                                conclude the the agreements     that we’re
                                                                                                                                  agreements that    we're trying  to reach
                                                                                                                                                            trying to reach between      the United
                                                                                                                                                                               between the      United
States and
States and Saudi
            Saudi Arabia.
                   Arabia. But    then two
                             But then   two requirements:
                                             requirements: one,
                                                             one, calm   in Gaza;
                                                                   calm in         two, aa credible
                                                                             Gaza; two,    credible pathway
                                                                                                     pathway to  to aa Palestinian
                                                                                                                       Palestinian state.    This is
                                                                                                                                      state. This    what people
                                                                                                                                                  is what          in the
                                                                                                                                                           people in  the region
                                                                                                                                                                          region need
                                                                                                                                                                                   need toto seesee ifif
they’re going
they're going to  fully get
               to fully get behind
                            behind normalized      relations between
                                     normalized relations              the remaining
                                                             between the                Arab countries
                                                                             remaining Arab               and Israel.
                                                                                               countries and               And it’s
                                                                                                                 Israel. And         also the
                                                                                                                                it's also the right
                                                                                                                                              right thing
                                                                                                                                                    thing for
                                                                                                                                                          for the
                                                                                                                                                               the Palestinians.
                                                                                                                                                                   Palestinians. SoSo there's
                                                                                                                                                                                       there’s that.
                                                                                                                                                                                                  that.

But
But the
    the other,
        other, II think,
                  think, more
                         more fundamental
                               fundamental question
                                                 question is  this. You've
                                                           is this.  You’ve got
                                                                            got 55 million
                                                                                   million Palestinians
                                                                                           Palestinians living
                                                                                                           living between the West
                                                                                                                  between the  West Bank   and Gaza.
                                                                                                                                     Bank and         You’ve got
                                                                                                                                                Gaza. You've got about
                                                                                                                                                                 about 77 million Jews. The
                                                                                                                                                                          million Jews. The
Palestinians aren’t going
Palestinians aren't   going anywhere;
                            anywhere; the the Jews
                                               Jews aren’t  going anywhere.
                                                     aren't going               There has
                                                                    anywhere. There     has to
                                                                                            to be  an accommodation.
                                                                                                be an   accommodation. Now,Now, II think
                                                                                                                                   think that
                                                                                                                                         that some
                                                                                                                                              some believe that the
                                                                                                                                                   believe that the status
                                                                                                                                                                    status quo  that
                                                                                                                                                                           quo that
prevailed before October
prevailed before             7th –- fine,
                    October 7th     fine, let's
                                          let’s live that way.
                                                live that       And that
                                                          way. And    that worked
                                                                           worked brilliantly
                                                                                    brilliantly until it failed
                                                                                                until it failed catastrophically.
                                                                                                                catastrophically.


So at
So at some
      some point,
           point, II believe there has
                     believe there     to be
                                   has to be aa step
                                                step back. And everyone’s
                                                     back. And            going to
                                                               everyone's going to have to ask
                                                                                   have to     themselves questions
                                                                                           ask themselves           about what
                                                                                                          questions about what do
                                                                                                                               do we want the
                                                                                                                                  we want the future
                                                                                                                                              future to
                                                                                                                                                     to be. And the
                                                                                                                                                        be. And the
future that
future that II talked
               talked about
                      about aa few
                               few minutes
                                   minutes ago,
                                           ago, where
                                                where Israel
                                                      Israel finally
                                                             finally realizes what itit has
                                                                     realizes what          sought from
                                                                                        has sought from day
                                                                                                        day one
                                                                                                            one -– to
                                                                                                                   to be accepted in
                                                                                                                      be accepted    the region,
                                                                                                                                  in the region, to
                                                                                                                                                 to be
                                                                                                                                                    be part
                                                                                                                                                       part of the neighborhood
                                                                                                                                                            of the neighborhood -–
that’s achievable.
that's             It’s there,
       achievable. It's there, but
                               but it
                                   it also
                                      also requires
                                           requires a
                                                    a resolution to the
                                                      resolution to the Palestinian
                                                                        Palestinian question. And II believe
                                                                                    question. And            that there
                                                                                                     believe that there can
                                                                                                                        can be
                                                                                                                            be aa Palestinian
                                                                                                                                  Palestinian state
                                                                                                                                              state with the necessary
                                                                                                                                                    with the necessary security
                                                                                                                                                                       security
guarantees for
guarantees for Israel.
               Israel. And
                       And to
                           to some
                              some extent,
                                   extent, II think
                                              think you
                                                    you have
                                                        have Israelis who would
                                                             Israelis who       like to
                                                                          would like to get
                                                                                        get to
                                                                                            to real
                                                                                               real separation. Well, that
                                                                                                    separation. Well, that is
                                                                                                                           is one
                                                                                                                              one way to do
                                                                                                                                  way to    it. And
                                                                                                                                         do it. And then
                                                                                                                                                    then who
                                                                                                                                                         who knows what
                                                                                                                                                             knows what
happens
happens in the following
        in the following years.
                         years.

But
But of
    of course,
       course, as
                as we
                   we say  this, we
                      say this,     are absolutely
                                 we are absolutely committed
                                                    committed toto Israel's
                                                                   Israel’s security.  And Israel
                                                                            security. And   Israel cannot and will
                                                                                                   cannot and  will not
                                                                                                                    not accept
                                                                                                                        accept aa Hamastan
                                                                                                                                  Hamastan coming    together next
                                                                                                                                             coming together   next door.
                                                                                                                                                                      door. But
                                                                                                                                                                             But I’m
                                                                                                                                                                                 I'm
convinced  that there
convinced that   there are
                       are ways
                            ways to
                                  to put
                                     put the
                                         the Palestinians
                                             Palestinians on
                                                          on aa pathway
                                                                pathway toto aa state that demonstrate
                                                                                state that               that the
                                                                                           demonstrate that   the state  will not
                                                                                                                   state will not be
                                                                                                                                  be what
                                                                                                                                     what Israelis
                                                                                                                                          Israelis might fear, and
                                                                                                                                                   might fear, and II think
                                                                                                                                                                      think can
                                                                                                                                                                            can lead to aa
                                                                                                                                                                                lead to
much
much better   future than
       better future than we
                           we have.
                               have.

Look,
Look, everyone
      everyone in this room
               in this room knows there’s aa long
                            knows there's         story here.
                                             long story here. We
                                                              We were talking about
                                                                 were talking about TikTok.
                                                                                    TikTok. Not
                                                                                            Not a
                                                                                                a story you hear
                                                                                                  story you hear on TikTok. You
                                                                                                                 on TikTok. You had
                                                                                                                                had -– to
                                                                                                                                       to oversimply, after the
                                                                                                                                          oversimply, after the creation
                                                                                                                                                                creation of
                                                                                                                                                                         of
the state
the state of
          of Israel you had
             Israel you had decades
                            decades of
                                    of basically Arab rejection.
                                       basically Arab            That went
                                                      rejection. That went away
                                                                           away with
                                                                                with Egypt and Jordan
                                                                                     Egypt and Jordan making
                                                                                                      making peace, and others
                                                                                                             peace, and        following. Then
                                                                                                                        others following. Then you
                                                                                                                                               you had
                                                                                                                                                   had some
                                                                                                                                                       some decades,
                                                                                                                                                            decades,
in
in effect,
   effect, of
           of Palestinian
              Palestinian rejection,
                          rejection, because
                                     because deals were put
                                             deals were put on the table
                                                            on the table -– Camp
                                                                            Camp David,
                                                                                 David, Ehud
                                                                                        Ehud Olmert,
                                                                                             Olmert, others
                                                                                                     others – that would
                                                                                                            - that would have
                                                                                                                         have given
                                                                                                                              given Palestinians 95, 96,
                                                                                                                                    Palestinians 95, 96, 97
                                                                                                                                                         97 percent
                                                                                                                                                            percent of what
                                                                                                                                                                    of what
they sought,
they sought, but they were
             but they were not
                           not able
                               able to
                                    to get
                                       get to
                                           to yes.
                                              yes. But
                                                   But II think
                                                          think the
                                                                the last
                                                                    last decade
                                                                         decade or
                                                                                or so
                                                                                   so has
                                                                                      has been
                                                                                          been one in which
                                                                                               one in which maybe
                                                                                                            maybe Israelis
                                                                                                                  Israelis became
                                                                                                                           became comfortable with that
                                                                                                                                  comfortable with that status
                                                                                                                                                        status quo. And
                                                                                                                                                               quo. And
as
as II say,
      say, II just
              just don’t think it's
                   don't think it’s sustainable.
                                    sustainable.


SENATOR ROMNEY:
SENATOR         Yeah. Yeah.
        ROMNEY: Yeah. Yeah. Anyone
                            Anyone else, topic? Israel,
                                   else, topic? Israel, Middle
                                                        Middle East? Yes, sir.
                                                               East? Yes, sir.


QUESTION: (Inaudible.)
QUESTION: (Inaudible.)


SENATOR ROMNEY:
SENATOR         You’ve got
        ROMNEY: You've got to
                           to be
                              be real
                                 real loud. And I'm
                                      loud. And I’m going
                                                    going to
                                                          to repeat
                                                             repeat it,
                                                                    it, but
                                                                        but it’s got to
                                                                            it's got to be
                                                                                        be short, too.
                                                                                           short, too.


QUESTION:
QUESTION: AllAll right,
                 right, it's
                        it’s very
                             very short. You talked
                                  short. You talked about
                                                    about Israel  and Palestine,
                                                           Israel and Palestine, Saudi Arabia being
                                                                                 Saudi Arabia       such aa key
                                                                                              being such    key U.S.
                                                                                                                U.S. ally
                                                                                                                     ally there.  What do
                                                                                                                          there. What      you see
                                                                                                                                        do you see with
                                                                                                                                                   with China, Taiwan, India,
                                                                                                                                                        China, Taiwan,        Japan
                                                                                                                                                                       India, Japan
kind
kind of
     of doing the same
        doing the          (inaudible)? What
                   same (inaudible)?     What efforts (inaudible)? What
                                              efforts (inaudible)? What are  the complications
                                                                         are the               that you're
                                                                                 complications that you’re running
                                                                                                            running into
                                                                                                                     into trying
                                                                                                                           trying to
                                                                                                                                  to overcome  the China
                                                                                                                                     overcome the        threat and
                                                                                                                                                   China threat and the
                                                                                                                                                                    the Russian
                                                                                                                                                                        Russian
threat to
threat to European
          European allies?
                     allies?


SECRETARY
SECRETARY BLINKEN:
          BLINKEN: Maybe that’s aa great
                   Maybe that's    great segue.
                                         segue. Did we need
                                                Did we need a
                                                            a segue?
                                                              segue?


SENATOR ROMNEY:
SENATOR         There you
        ROMNEY: There you go,
                          go, go
                              go ahead.
                                 ahead. Yeah,
                                        Yeah, please.
                                              please.


SECRETARY
SECRETARY BLINKEN:
                BLINKEN: All All right.  Well, just
                                  right. Well, just aa few
                                                       few things
                                                           things to    say here.
                                                                   to say    here. First, with China,
                                                                                   First, with         just before
                                                                                                China, just before we  were in
                                                                                                                    we were     the Middle
                                                                                                                             in the Middle East  we were
                                                                                                                                            East we       in China.
                                                                                                                                                    were in           And about
                                                                                                                                                              China. And  about aa little
                                                                                                                                                                                   little less
                                                                                                                                                                                          less than
                                                                                                                                                                                               than
aa year
   year ago,
        ago, II took
                took aa trip
                        trip at
                             at aa time
                                   time when
                                         when wewe had
                                                    had been   very disengaged.
                                                         been very     disengaged. AndAnd II think
                                                                                             think that
                                                                                                   that one
                                                                                                         one of the things
                                                                                                             of the things that
                                                                                                                           that President
                                                                                                                                 President Biden
                                                                                                                                           Biden believes  is that
                                                                                                                                                  believes is that we
                                                                                                                                                                   we have  an obligation
                                                                                                                                                                       have an obligation to    try
                                                                                                                                                                                             to try
to manage
to           this relationship
    manage this    relationship responsibly.      We’re in
                                    responsibly. We're       an intense
                                                          in an intense competition       with China,
                                                                            competition with            and of
                                                                                                China, and  of course, for Americans
                                                                                                               course, for Americans there's
                                                                                                                                       there’s nothing  wrong with
                                                                                                                                               nothing wrong    with competition  as long
                                                                                                                                                                     competition as   long as   it’s
                                                                                                                                                                                            as it's
fair. Hopefully
fair. Hopefully itit actually
                     actually brings
                               brings out   the best
                                        out the        in us.
                                                 best in  us. But  it is
                                                              But it  is aa real
                                                                            real competition.
                                                                                 competition.


But
But we  also have
     we also have aa profound
                     profound interest  in making
                               interest in making sure that competition
                                                  sure that  competition doesn’t veer into
                                                                         doesn't veer into conflict,
                                                                                            conflict, and that actually
                                                                                                      and that actually starts
                                                                                                                        starts with
                                                                                                                               with engagement.   And so
                                                                                                                                    engagement. And      we really
                                                                                                                                                      so we really began
                                                                                                                                                                   began aa
process
process of
         of re-engagement
            re-engagement with
                             with our
                                  our eyes  wide open,
                                      eyes wide        and aa number
                                                 open, and    number of  my colleagues
                                                                      of my             followed. And
                                                                            colleagues followed.    And then,
                                                                                                         then, of
                                                                                                               of course,  most important,
                                                                                                                  course, most   important, President
                                                                                                                                            President Biden and President
                                                                                                                                                      Biden and             Xi met
                                                                                                                                                                 President Xi  met
at the
at the end
       end of  the year
            of the year in San Francisco
                        in San Francisco on  the margins
                                          on the margins of the APEC
                                                         of the      meeting.
                                                                APEC meeting.


And what
And what we’ve tried to
         we've tried to do, first and
                        do, first     foremost, is
                                  and foremost,    to re-establish
                                                is to              regular dialogue
                                                      re-establish regular          at all
                                                                           dialogue at all levels.
                                                                                           levels. One
                                                                                                   One of the most
                                                                                                       of the most important
                                                                                                                   important pieces
                                                                                                                             pieces of this was
                                                                                                                                    of this was re-establishing
                                                                                                                                                re-establishing military-to-
                                                                                                                                                                military-to-
military
military communications,
          communications, because
                              because thethe quickest
                                             quickest way
                                                       way to  get into
                                                            to get      an unintended
                                                                   into an  unintended conflict    is not
                                                                                          conflict is      to have
                                                                                                      not to         those conversations
                                                                                                              have those                   happen. That's
                                                                                                                             conversations happen.     That’s been fully restored.
                                                                                                                                                              been fully            We look
                                                                                                                                                                         restored. We       for
                                                                                                                                                                                       look for
areas  where we
areas where      we might
                     might actually
                           actually cooperate   where itit happens
                                     cooperate where       happens toto be in our
                                                                        be in our mutual
                                                                                  mutual interest     to do
                                                                                            interest to      that -– and
                                                                                                         do that     and I’ll
                                                                                                                         I'll come
                                                                                                                              come back to this
                                                                                                                                   back to this in
                                                                                                                                                in aa second
                                                                                                                                                      second because
                                                                                                                                                              because we   found aa couple.
                                                                                                                                                                        we found    couple. But
                                                                                                                                                                                             But
mostly,
 mostly, it’s so important
         it's so  important because    you want
                             because you          to be
                                            want to  be able  to be
                                                         able to be extremely
                                                                    extremely clear,
                                                                                clear, extremely
                                                                                       extremely direct,
                                                                                                    direct, extremely
                                                                                                             extremely explicit   about your
                                                                                                                         explicit about your differences
                                                                                                                                              differences and   your intentions.
                                                                                                                                                            and your               And we
                                                                                                                                                                      intentions. And  we have
                                                                                                                                                                                          have
aa world
   world of
          of differences,
              differences, but
                           but it’s
                               it's better to be
                                    better to    talking about
                                              be talking         them directly
                                                          about them            than it
                                                                       directly than it is to remain
                                                                                        is to remain disengaged.
                                                                                                        disengaged.



                                                                                      APP-596
                                                                                      APP-596
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In No Labels Call, Josh Gottheimer, Mike Lawler, and
University Trustees  Agree: FBI
           Trustees Agree:  FBI Should
                                Should Investigate
                                       Investigate
Campus Protests
   theintercept.com/2024/05/04/josh-gottheimer-mike-lawler-campus-protests
   theinterceptcom/2024/05/04/josh-gottheimer-mike-lawler-campus-protests

                                                                                              May 4,
                                                                                              May    2024
                                                                                                  4, 2024


During a call hosted by the centrist political group No Labels, Reps. Josh Gottheimer, D-N.J.,
and Mike Lawler, R-N.Y., spoke with close to 300 attendees, including trustees from several
universities, about how Congress could help crack down further on student protesters — and
how the FBI could get more involved.

No Labels promoted the Wednesday event as a "special
                                                  “special Zoom call”       “the leading voices
                                                                 call" with "the
in their parties”
         parties" opposing student protests against the war in Gaza, which spread to more
than 150 campuses in the last two weeks.

The bipartisan pair praised the responses of universities that have called on police to
violently quell protests and promised that Congress would be doing more to investigate the
student movements, according to a recording of the meeting obtained by The Intercept. The
lawmakers and university board of trustee members repeatedly claimed that nefarious
outside actors are funding and organizing the encampments on university campuses.

Gottheimer said that he had been in touch with officials from the Federal Bureau of
Investigation about campus protests. "Based
                                         “Based on my conversations with the FBI — there’s
                                                                                        there's
activity I can’t
           can't get into, you know, given my committee responsibilities, I can’t
                                                                            can't get into more
specifics — but I can just say that I think people are well aware this is an issue,“
                                                                             issue," said
Gottheimer, who is on the House Intelligence Committee.

“I can’t
"I can't speak for the local FBI field offices, but it’s
                                                    it's got to be all hands on deck,”           “I
                                                                                deck," he added. "I
believe following the money is the key. Gotta follow the money. A lot of these universities are
not transparent at all, remotely, about where the money comes from, you know, they just,
they want it — and that has to be a big part of this.”
                                                   this."

This week, House Republicans said they would investigate federal funding for universities
that held campus protests. House Speaker Mike Johnson, R-La., announced the plans on
Tuesday alongside the chairs of six congressional committees.

Gottheimer and Lawler have been at the forefront of congressional efforts to defend Israel
amid its brutal war on Gaza. They led bipartisan efforts to silence criticism of Israel and to
protect Israel from being held accountable for using the billions of dollars it receives from the
United States in violation of international law.

Gottheimer, Lawler, and No Labels did not respond to requests for comment.

                                                APP-597
                                                APP-597                                                     1/4
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Among the most prominent themes of the discussion were getting the FBI more involved in
investigating American college campuses, and fears of outside agitators stoking the anti-war
protests. New York University Chair Emeritus and Executive Vice Chair Bill Berkley, whose
campus this week welcomed police to arrest over a dozen students, claimed that a New York
City-based Palestine solidarity group had been very involved in leading protest efforts in the
city and suggested that the feds should investigate.

Berkley claimed that "we
                      “we have deciphered messages"
                                             messages” that showed the group directing
people to the encampment at Columbia. He also suggested that, because many of the tents
at campus protests were the same, the demonstrations had been orchestrated externally.
(Many prominent critics of the protest, including New York City Mayor Eric Adams, have
repeated that claim. As the New York City outlet Hell Gate and others have pointed out, the
tents are sold for $15 at Five Below and around $30 at Amazon and Walmart. "My “My God…
                                                                                   God...
looks like what we've
                we’ve got on our hands is a classic case of college students buying
something cheap and disposable,”
                       disposable," wrote Hell Gate.)

Berkley then asked why the FBI hadn't
                                  hadn’t yet taken action against the demonstrations. "And,
                                                                                      “And, by
the way, the FBI and the terrorist monitoring groups know this — why haven't
                                                                        haven’t we seen any
action by the federal government?”
                      government?" He did not respond to requests for comment.

     “You’re seeing how these kids are being manipulated by certain groups or entities or
     "You're
     countries to foment hate on their behalf and really create a hostile environment here in
     the U.S."
         U.S.”

Lawler, who co-sponsored a recent bill to ban TikTok, repeated Berkley’s
                                                                   Berkley's claims about
external organizers and said that was the type of thing that inspired Congress’s
                                                                        Congress's efforts to ban
the app. "I
          “I don’t
             don't think there’s
                         there's any question that there has been a coordinated effort off these
college campuses, and that you have outside paid agitators and activists,”
                                                                    activists," Lawler said. "It
                                                                                             “It
also highlights exactly why we included the TikTok bill in the foreign supplemental aid
package because you’re
                     you're seeing how these kids are being manipulated by certain groups or
entities or countries to foment hate on their behalf and really create a hostile environment
here in the U.S."
             U.S.”

Lawler added that he would look into domestic groups funding protests. Gottheimer, for his
part, said demonstrations at Columbia were "potentially"
                                             “potentially” led by outsiders and repeated his
frequent claim that the protesters support Hamas.

Andrew Bursky, the board chair of Washington University in St. Louis, Missouri, said
America’s tradition of campus protests was "a
America's                                    “a positive thing,”
                                                         thing," but that there’s
                                                                           there's a "clear
                                                                                     “clear dark
line”
line" between allowing free speech and condoning antisemitism. "And  “And I think you guys in
Congress have darkened that line today with this piece of legislation,”
                                                              legislation," he added. Bursky did
not specify what legislation he was referring to, but earlier that day, the House of
Representatives passed a Republican-led bill that expanded the definition of antisemitism.


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                                         APP-598                                                    2/4
                                                                                                    2/4
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        Nexis Newsdesk




                   Interview With
                   Interview  With Former
                                   Former U.S.
                                            U.S. Director
                                                  Director of
                                                           of National
                                                               National
                   Intelligence John
                   Intelligence       Ratcliffe; Interview
                                John Ratcliffe;  Interview With
                                                           With Rep.
                                                                  Rep. Elise
                                                                       Elise
                   Stefanik (R-NY);
                   Stefanik  (R-NY); Interview
                                     Interview With
                                                With Former
                                                      Former NewNew York
                                                                    York City
                                                                          City
                   Police Commissioner
                   Police  Commissioner Raymond
                                          Raymond Kelly;...
                                                     Kelly;...
                   Fox
                   Fox News
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                            Network

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                           2024 8:00 AM

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                           7038 words



                   Body
                   Body

                   MARIA
                   MARIA BARTIROMO,
                          BARTIROMO, FOXFOX NEWS  ANCHOR: Good
                                            NEWS ANCHOR:            Sunday morning,
                                                             Good Sunday            everyone. Thanks
                                                                           morning, everyone. Thanks so
                                                                                                     so much for joining
                                                                                                        much for joining us
                                                                                                                         us this
                                                                                                                            this
                   morning. Welcome to
                   morning. Welcome to "Sunday
                                       "Sunday Morning Futures." I'm
                                               Morning Futures." I'm Maria
                                                                     Maria Bartiromo.
                                                                           Bartiromo.

                   Today: saboteurs
                   Today:           in America
                          saboteurs in America piling
                                               piling on. Antisemitism rages
                                                      on. Antisemitism       in America,
                                                                       rages in America, in
                                                                                         in some cases by
                                                                                            some cases by outside educators inside
                                                                                                          outside educators inside the
                                                                                                                                   the
                   country.
                   country. But
                            But Joe
                                Joe Biden waits 10
                                    Biden waits    days to
                                                10 days    speak out
                                                        to speak out against it, then
                                                                     against it, then claims
                                                                                      claims Islamophobia is just
                                                                                             Islamophobia is just as
                                                                                                                  as big
                                                                                                                     big a
                                                                                                                         a problem
                                                                                                                           problem right
                                                                                                                                   right
                   now.
                   now.

                   (BEGIN VIDEO
                   (BEGIN VIDEO CLIP)
                                CLIP)

                   JOE BIDEN,
                   JOE BI      PRESIDENT OF
                          DEN, PRESIDENT    THE UNITED
                                         OF THE        STATES: There
                                                UNITED STATES: There should
                                                                     should be
                                                                            be no
                                                                               no place
                                                                                  place on
                                                                                        on any
                                                                                           any campus,
                                                                                               campus, no
                                                                                                       no place in America
                                                                                                          place in America for
                                                                                                                           for
                   antisemitism  or threats
                   antisemitism or          of violence
                                    threats of violence against
                                                        against Jewish  students. There
                                                                Jewish students.  There is
                                                                                        is no
                                                                                           no place for hate
                                                                                              place for      speech or
                                                                                                        hate speech  or violence
                                                                                                                        violence of
                                                                                                                                 of any
                                                                                                                                    any kind,
                                                                                                                                        kind,
                   whether it's
                   whether it's antisemitism,
                                antisemitism, Islamophobia,  or discrimination
                                               Islamophobia, or  discrimination against Arab Americans
                                                                                against Arab  Americans oror Palestinian-Americans.
                                                                                                             Palestinian-Americans.

                   It's
                   It's simply
                        simply wrong.
                               wrong.

                   (END VIDEO
                   (END VIDEO CLIP)
                              CLIP)

                   BARTIROMO:
                   BARTIROMO: Coming   up, the
                              Coming up,   the woman   who first
                                               woman who    first exposed
                                                                  exposed the
                                                                           the antisemitism  on college
                                                                               antisemitism on  college campuses,
                                                                                                        campuses, New   York
                                                                                                                   New York
                   Congresswoman Elise Stefanik
                   Congresswoman Elise Stefanik on
                                                on federal
                                                   federal funding
                                                           funding of
                                                                    of colleges in the
                                                                       colleges in     future and
                                                                                   the future     who the
                                                                                              and who the real
                                                                                                          real adjudicators
                                                                                                               adjudicators are
                                                                                                                            are today.
                                                                                                                                today.

                   Then: As
                   Then: As American
                            American declines,
                                      declines, prosecutors
                                                prosecutors target  one man,
                                                             target one man, President
                                                                               President Donald   Trump on
                                                                                           Donald Trump    on trial, efforts to
                                                                                                              trial, efforts to muddy
                                                                                                                                muddy up 45
                                                                                                                                      up 45
                   with salacious
                   with salacious headlines
                                  headlines and insider testimony,yet
                                            and insider               critics say
                                                        testimony,yet critics say still
                                                                                  still no evidence of
                                                                                        no evidence of aa crime.
                                                                                                          crime.

                   Coming  up, RNC
                   Coming up,  RNC Co-Chair  Lara Trump
                                   Co-Chair Lara  Trump on
                                                         on her father-in-law's week
                                                            her father-in-law's  week in
                                                                                      in aa Manhattan
                                                                                            Manhattan courtroom
                                                                                                      courtroom and on new
                                                                                                                and on     fund-raising
                                                                                                                       newfund-raising
                   and
                   and polls showing Trump
                       polls showing Trump leading in seven
                                           leading in seven swing
                                                            swing states
                                                                   states right
                                                                          right now.
                                                                                now.

                   Plus, former federal
                   Plus, former federal prosecutor
                                        prosecutor and  Director of
                                                    and Director   of National  Intelligence John
                                                                      National Intelligence         Ratcliffe on
                                                                                              John Ratcliffe  on aa conspiracy
                                                                                                                    conspiracy to
                                                                                                                                to take
                                                                                                                                   take down
                                                                                                                                        down
                   Trump, despite
                   Trump,  despite the
                                   the national security risks
                                       national security       in plain
                                                         risks in       sight. Coming
                                                                  plain sight.          up: the
                                                                               Coming up:       ultimatum on
                                                                                            the ultimatum   on the
                                                                                                               the table   for Hamas:
                                                                                                                     table for Hamas: Give
                                                                                                                                      Give up
                                                                                                                                           up the
                                                                                                                                              the
                   hostages or face
                   hostages or face down
                                    down Israeli forces in
                                         Israeli forces in Rafah.
                                                           Rafah.

                   Then, former
                   Then, former New York City
                                New York City Police
                                              Police Commissioner Ray Kelly
                                                     Commissioner Ray Kelly on
                                                                            on antisemitism, crime and
                                                                               antisemitism, crime and aa wide-open
                                                                                                          wide-open border.
                                                                                                                    border. Can New
                                                                                                                            Can New
                   York be
                   York    saved?
                        be saved?



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                                                                    rn§n9FPE1NDgxMTMmY2IkPU1UQTN0RFExJnVpZD1NVFUyTkRj...                            1/13
5/15/24, 5:21 PM                                                                         Nexis Newsdesk®
          USCA
             It'sCase
             It's all right#24-1113
                  all right here,
                            here, right
                                  right now    Document
                                            on "Sunday
                                        now on "Sunday       #2060757
                                                       Morning
                                                       Morning Futures."
                                                               Futures."                          Filed: 06/20/2024               Page 78 of 313
                   And we
                   And we begin
                          begin this Sunday morning
                                this Sunday         with America's
                                            morning with America's colleges
                                                                   colleges and universities and
                                                                            and universities and the impact of
                                                                                                 the impact of the ongoing anti-Israel
                                                                                                               the ongoing anti-Israel
                   protests
                   protests across
                            across the
                                   the country.
                                       country.

                   Who is
                   Who is funding
                          funding this, directing it
                                  this, directing it on
                                                     on social
                                                        social media?
                                                               media? How
                                                                      How many faculty have
                                                                          many faculty have participated? And what
                                                                                            participated? And what will
                                                                                                                   will it
                                                                                                                        it mean for
                                                                                                                           mean for
                   schools and
                   schools     students going
                           and students going forward?
                                              forward?

                   Sources saying
                   Sources saying the coordinated protests
                                  the coordinated protests are getting direction
                                                           are getting direction on social media,
                                                                                 on social media, and
                                                                                                  and then The Wall
                                                                                                      then The Wall Street
                                                                                                                    Street Journal
                                                                                                                           Journal
                   reported on aa Web
                   reported on    Web site
                                      site called
                                           called CrimethInc.com,  which has
                                                  Crimethl nc.com, which has become,
                                                                             become, according
                                                                                     according to The Journal,
                                                                                               to The Journal, aa hub
                                                                                                                  hub anarchists, Antifa
                                                                                                                      anarchists, Antifa
                   activists
                   activists and
                             and radical
                                 radical leftists,
                                         leftists, telling users --
                                                   telling users    quote -- -- "We
                                                                 -- quote       "We can wield the
                                                                                    can wield the most
                                                                                                  most power
                                                                                                       power by
                                                                                                             by occupying
                                                                                                                occupying the
                                                                                                                          the spaces
                                                                                                                              spaces where
                                                                                                                                     where
                   classes
                   classes are
                           are held
                               held and
                                    and administrators
                                         administrators havehave offices.
                                                                 offices.""

                   This ahead
                   This       of graduation
                        ahead of graduation day   upon us
                                             day upon    us across
                                                            across the
                                                                    the country,
                                                                        country, the University of
                                                                                 the University of Southern
                                                                                                   Southern California
                                                                                                              California earlier
                                                                                                                         earlier canceling its
                                                                                                                                 canceling its
                   graduation ceremony initially
                   graduation ceremony   initially set
                                                   set for
                                                       for this
                                                           this Friday,
                                                                Friday, many
                                                                        many more
                                                                             more schools
                                                                                    schools altering
                                                                                            altering their
                                                                                                     their plans
                                                                                                           plans as
                                                                                                                 as startling
                                                                                                                    startling images emerge
                                                                                                                              images emerge
                   from top
                   from     universities.
                        top universities.

                   At George
                   At        Washington University,
                      George Washington University, protesters defaced George
                                                    protesters defaced        Washington, aa statue
                                                                       George Washington,    statue of
                                                                                                    of the first president,
                                                                                                       the first president, draping
                                                                                                                            draping the
                                                                                                                                    the
                   figure in
                   figure in aa Palestinian
                                Palestinian flag
                                            flag with
                                                 with aa black-and-white scarf wrapped
                                                         black-and-white scarf wrapped around its neck.
                                                                                       around its       At Stanford
                                                                                                  neck. At Stanford University,
                                                                                                                    University, someone
                                                                                                                                someone
                   wearing aa headband
                   wearing      headband worn
                                          worn byby Hamas
                                                    Hamas seen
                                                             seen on campus.
                                                                  on campus.

                   At Columbia
                   At Columbia University,
                                 University, the
                                             the epicenter
                                                 epicenter of
                                                           of these
                                                              these protests,
                                                                    protests, police
                                                                              police stormed
                                                                                     stormed the
                                                                                             the campus  Tuesday night,
                                                                                                 campus Tuesday   night, breaking
                                                                                                                         breaking upup the
                                                                                                                                       the
                   anti-Israel encampment and
                   anti-Israel encampment        clearing an
                                             and clearing an academic
                                                             academic building
                                                                       building protesters
                                                                                protesters had seized after
                                                                                           had seized after the school finally
                                                                                                            the school finally called
                                                                                                                               called for
                                                                                                                                      for law
                                                                                                                                          law
                   and order to
                   and order to be
                                be restored.
                                   restored.

                   New York's finest
                   New York's finest replaced
                                     replaced the Palestinian flag
                                              the Palestinian flag that
                                                                   that was
                                                                        was raised
                                                                            raised above
                                                                                   above Columbia
                                                                                         Columbia by
                                                                                                  by protesters with the
                                                                                                     protesters with     stars and
                                                                                                                     the stars and
                   stripes. Thank
                   stripes. Thank you
                                  you to
                                      to those students and
                                         those students and those
                                                            those NYPD.
                                                                  NYPD.

                   NYPD  sources telling
                   NYPD sources            FOX News,
                                   telling FOX  News, of
                                                       of the
                                                          the 282
                                                               282 protesters
                                                                   protesters arrested
                                                                              arrested at Columbia and
                                                                                       at Columbia  and City
                                                                                                        City College of New
                                                                                                             College of      York, 134
                                                                                                                        New York,      of
                                                                                                                                   134 of
                   them were not
                   them were  not affiliated  with either
                                   affiliated with either school,
                                                          school, with
                                                                  with New
                                                                       New York
                                                                            York City
                                                                                 City Mayor  Eric Adams
                                                                                      Mayor Eric  Adams saying  outside agitators
                                                                                                         saying outside agitators are
                                                                                                                                  are to
                                                                                                                                      to
                   blame for fueling
                   blame for fueling some   of the
                                      some of  the anti-Israel demonstrations.
                                                   anti-Israel demonstrations.

                   Meanwhile,  President Biden
                   Meanwhile, President        finally spoke
                                         Biden finally        out on
                                                       spoke out  on the
                                                                     the anti-Israel
                                                                         anti-Israel protests, saying his
                                                                                     protests, saying his administration
                                                                                                          administration is
                                                                                                                         is not
                                                                                                                            not about
                                                                                                                                about
                   silencing people
                   silencing people who
                                    who may
                                        may disagree
                                            disagree after   10 days
                                                       after 10      of silence.
                                                                days of silence.

                   (BEGIN VIDEO
                   (BEGIN VIDEO CLIP)
                                CLIP)

                   BIDEN:  We are
                   BIDEN: We    are not
                                    not an
                                        an authoritarian
                                           authoritarian nation,   where we
                                                           nation, where  we silence
                                                                              silence people or squash
                                                                                      people or squash dissent.
                                                                                                       dissent. The
                                                                                                                The American
                                                                                                                    American people
                                                                                                                              people are
                                                                                                                                     are
                   heard.
                   heard. In fact, peaceful
                          In fact, peaceful protest
                                            protest is in the
                                                    is in the best
                                                              best tradition of how
                                                                   tradition of      Americans respond
                                                                                how Americans   respond to  consequential issues.
                                                                                                         to consequential issues.

                   But,
                   But, but
                        but neither
                            neither are we aa lawless
                                    are we    lawless country. We're aa civil
                                                      country. We're    civil society,
                                                                              society, and order must
                                                                                       and order must prevail.
                                                                                                      prevail.

                   (END VIDEO
                   (END VIDEO CLIP)
                              CLIP)

                   BARTIROMO:
                   BARTIROMO: Joining
                              Joining me
                                      me now
                                         now with
                                             with more on all
                                                  more on     of this
                                                          all of      in this
                                                                 this in this "Sunday
                                                                              "Sunday Morning Futures" exclusive
                                                                                      Morning Futures" exclusive is House GOP
                                                                                                                 is House GOP
                   Conference
                   Conference Chair
                              Chair Congresswoman
                                    Congresswoman Elise Stefanik, who
                                                  Elise Stefanik, who has
                                                                      has been
                                                                          been at
                                                                               at the forefront of
                                                                                  the forefront of exposing
                                                                                                   exposing antisemitism on college
                                                                                                            antisemitism on college
                   campuses.
                   campuses.

                   Congresswoman, it's good
                   Congresswoman, it's good to see you
                                            to see you this
                                                       this morning. Thanks very
                                                            morning. Thanks very much for being
                                                                                 much for being here.
                                                                                                here.

                   REP.
                   REP. ELISE STEFANIK
                        ELISE STEFAN    (R-NY): Good
                                     IK (R-NY): Good to
                                                     to be with you,
                                                        be with you, Maria.
                                                                     Maria.

                   BARTIROMO:
                   BARTIROMO: So,So, assess
                                     assess the situation today
                                            the situation today after we did
                                                                after we did see
                                                                             see aa fair
                                                                                    fair amount  of cleanup
                                                                                         amount of  cleanup at
                                                                                                             at some colleges over
                                                                                                                some colleges  over the
                                                                                                                                    the
                   weekend. And
                   weekend. And II want
                                   want to get your
                                        to get your take on what
                                                    take on       you want
                                                            what you  want to
                                                                            to see
                                                                               see happen   in terms
                                                                                    happen in         of federal
                                                                                               terms of  federal funding
                                                                                                                 funding of
                                                                                                                         of college
                                                                                                                            college
                   universities.
                   universities.

                   STEFANIK:
                   STEFAN     Well, first
                          IK: Well, first of
                                          of all,
                                             all, Maria,
                                                  Maria, this is aa crisis
                                                         this is           in higher
                                                                    crisis in        education.
                                                                              higher education.

                   And II want
                   And    want to
                               to thank our law
                                  thank our     enforcement officers.
                                            law enforcement officers. You
                                                                      You played
                                                                          played the clip of
                                                                                 the clip of the
                                                                                             the NYPD.
                                                                                                 NYPD. But
                                                                                                        But who
                                                                                                            who has  failed are
                                                                                                                 has failed are the
                                                                                                                                 the
                   university presidents.
                   university presidents. Our
                                          Our law enforcement have
                                              law enforcement  have done
                                                                    done the
                                                                          the right
                                                                              right thing,
                                                                                    thing, bringing security back
                                                                                           bringing security back to
                                                                                                                  to these
                                                                                                                     these college
                                                                                                                            college
                   campuses.
                   campuses.

                   But our university
                   But our university presidents, whether it's
                                      presidents, whether it's Columbia, whether it's
                                                               Columbia, whether it's Harvard, Penn, whether
                                                                                      Harvard, Penn,         it's UCLA,
                                                                                                     whether it's UCLA, Michigan, Yale,
                                                                                                                        Michigan, Yale,
                   the list goes
                   the list goes on,
                                 on, they
                                     they have failed to
                                          have failed to protect
                                                         protect Jewish students. They
                                                                 Jewish students. They have
                                                                                       have also failed to
                                                                                            also failed    condemn antisemitism.
                                                                                                        to condemn antisemitism.

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5/15/24, 5:21 PM                                                                         Nexis Newsdesk®
          USCA Case
             And
             And let's be#24-1113
                 let's be honest.
                          honest. These     Document
                                  These pro-Hamas
                                        pro-Hamas riots, this#2060757
                                                  riots, this is Joe
                                                              is             Democrat Filed:
                                                                     Biden's Democrat
                                                                 Joe Biden's                 Joe06/20/2024
                                                                                      Party. Joe
                                                                                      Party.     Biden
                                                                                                 Biden not           Page
                                                                                                           only waited
                                                                                                       not only waited 10 days79
                                                                                                                       10 days to of 313
                                                                                                                               to
                   condemn. He has
                   condemn. He has been
                                   been silent since last
                                        silent since      December with
                                                     last December with that
                                                                        that historic
                                                                             historic hearing, where you
                                                                                      hearing, where you had
                                                                                                         had three
                                                                                                             three Ivy
                                                                                                                   Ivy League
                                                                                                                       League
                   university presidents
                   university            fail to
                              presidents fail    condemn the
                                              to condemn     genocide of
                                                         the genocide of Jews.
                                                                         Jews. Joe Biden waited
                                                                               Joe Biden waited months
                                                                                                months to
                                                                                                       to speak out, saying
                                                                                                          speak out, saying that
                                                                                                                            that
                   testimony  was unacceptable.
                   testimony was  unacceptable.

                   He didn't even
                   He didn't      say that,
                             even say that, actually, in his
                                            actually, in his statement.
                                                              statement. But
                                                                         But he gave it
                                                                             he gave   it lip
                                                                                          lip service.
                                                                                              service. But
                                                                                                       But this   is the
                                                                                                             this is the radicalized, far left
                                                                                                                         radicalized, far      Democrat
                                                                                                                                          left Democrat
                   Party that
                   Party that Joe
                              Joe Biden owns today.
                                  Biden owns   today. It  is about
                                                       It is about lawlessness. It is
                                                                   lawlessness. It is about
                                                                                      about anarchy.    It is
                                                                                              anarchy. It  is attacking   our most
                                                                                                              attacking our   most precious
                                                                                                                                    precious ally,
                                                                                                                                               ally,
                   Israel. And it
                   Israel. And it is
                                  is hurling
                                     hurling antisemitic slurs against
                                             antisemitic slurs against Jewish students, as
                                                                       Jewish students,    well as
                                                                                        as well as physical
                                                                                                   physical harassment,
                                                                                                            harassment, physical
                                                                                                                        physical assault
                                                                                                                                 assault
                   against
                   against Jewish
                            Jewish students.
                                     students.

                   So there
                   So there is
                            is aa great
                                  great deal
                                        deal that we are
                                             that we     doing in
                                                     are doing in Congress
                                                                  Congress and our oversight.
                                                                           and our oversight. And
                                                                                              And our
                                                                                                  our legislative solutions will
                                                                                                      legislative solutions      consist of
                                                                                                                            will consist of
                   pulling
                   pulling back federal funding,
                           back federal funding, addressing
                                                 addressing the foreign dollars
                                                            the foreign dollars that
                                                                                that are flowing into
                                                                                     are flowing into these institutions and
                                                                                                      these institutions and holding
                                                                                                                             holding these
                                                                                                                                     these
                   schools accountable.
                   schools  accountable.

                   BARTIROMO:
                   BARTIROMO: WhyWhy haven't
                                      haven't the Democrats been
                                              the Democrats   been more
                                                                    more aggressive on this?
                                                                         aggressive on this? Chuck Schumer in
                                                                                             Chuck Schumer in the Senate, the
                                                                                                              the Senate, the highest-
                                                                                                                              highest-
                   ranking
                   ranking Jewish
                           Jewish person in Congress,
                                  person in Congress, hasn't said enough,
                                                      hasn't said enough, in
                                                                          in my view.
                                                                             my view.

                   It feels
                   It feels like
                            like they're
                                 they're afraid
                                         afraid to offend their
                                                to offend       own base.
                                                          their own       And Joe
                                                                    base. And   Joe Biden,
                                                                                      Biden, he
                                                                                             he said
                                                                                                said --
                                                                                                     -- the first thing
                                                                                                        the first thing he
                                                                                                                        he said was, "Those
                                                                                                                           said was, "Those who
                                                                                                                                            who
                   don't  understand what's
                   don't understand    what's going   on with
                                                going on with the Palestinians, II also
                                                              the Palestinians,    also condemn
                                                                                        condemn that,
                                                                                                  that,"" whatever
                                                                                                          whatever that
                                                                                                                     that means.
                                                                                                                          means.

                   STEFANIK:
                   STEFAN     Exactly.
                          IK: Exactly.

                   This is
                   This is Joe
                           Joe Biden's
                               Biden's Democrat Party today,
                                       Democrat Party today, the
                                                             the pro-Hamas
                                                                 pro-Hamas rioters on college
                                                                           rioters on college campuses,
                                                                                              campuses, the
                                                                                                        the anarchists. And that's
                                                                                                            anarchists. And        why
                                                                                                                            that's why
                   you're seeing
                   you're seeing trepidation
                                 trepidation among   Democrats from
                                             among Democrats     from speaking
                                                                      speaking out,
                                                                               out, because
                                                                                    because this is their
                                                                                            this is their base. And the
                                                                                                          base. And  the reality is, this
                                                                                                                         reality is,      is why
                                                                                                                                     this is why
                   Republicans continue
                   Republicans  continue to
                                         to poll
                                            poll stronger
                                                 stronger and stronger, because
                                                          and stronger, because we
                                                                                we represent
                                                                                    represent peace
                                                                                              peace and    security. We
                                                                                                      and security.  We represent     standing
                                                                                                                         represent standing
                   up for
                   up for the
                          the Constitution.
                              Constitution.

                   We represent
                   We           supporting our
                      represent supporting our ally of Israel,
                                               ally of Israel, and we strongly
                                                               and we strongly condemn
                                                                               condemn antisemitism. There is
                                                                                       antisemitism. There is aa reason
                                                                                                                 reason that
                                                                                                                        that House
                                                                                                                             House
                   Republicans have
                   Republicans have led on this,
                                    led on this, and it's because
                                                 and it's because there
                                                                  there has
                                                                        has been
                                                                            been aa void
                                                                                    void at
                                                                                         at our
                                                                                            our universities.
                                                                                                universities.

                   There is
                   There is a void at
                            a void at the White House,
                                      the White House, starting with the
                                                       starting with     top of
                                                                     the top of Joe
                                                                                Joe Biden,
                                                                                    Biden, and
                                                                                           and there's
                                                                                               there's been
                                                                                                       been aa void
                                                                                                               void in
                                                                                                                    in Democrat
                                                                                                                       Democrat leadership,
                                                                                                                                leadership,
                   including Chuck
                   including         Schumer, which
                             Chuck Schumer,    which is
                                                      is why we have
                                                         why we        expanded the
                                                                have expanded        investigation and
                                                                                the investigation      will continue
                                                                                                   and will continue to
                                                                                                                     to be
                                                                                                                        be good  stewards of
                                                                                                                           good stewards  of
                   taxpayer  dollars to
                   taxpayer dollars     yank federal
                                     to yank federal funding
                                                     funding that  is propping
                                                              that is propping up
                                                                               up these institutions that
                                                                                  these institutions that are indoctrinating our
                                                                                                          are indoctrinating our next
                                                                                                                                 next
                   generation.
                   generation.

                   BARTIROMO: Well, II mean,
                   BARTIROMO: Well,          you also
                                       mean, you also have
                                                      have to
                                                           to go
                                                              go back
                                                                 back to Schumer's speech
                                                                      to Schumer's speech on
                                                                                          on the Senate floor
                                                                                             the Senate floor aa month
                                                                                                                 month ago or so
                                                                                                                       ago or so where
                                                                                                                                 where
                   he called for
                   he called for new
                                 new elections in Israel,
                                     elections in         said that
                                                  Israel, said      Benjamin Netanyahu
                                                               that Benjamin Netanyahu is
                                                                                       is not serving the
                                                                                          not serving the people of Israel
                                                                                                          people of Israel anymore.
                                                                                                                           anymore.

                   II mean,
                      mean, this is in
                            this is in the
                                       the middle of the
                                           middle of     fight for
                                                     the fight for survival for Benjamin
                                                                   survival for Benjamin Netanyahu's
                                                                                         Netanyahu's life
                                                                                                     life and
                                                                                                          and the state of
                                                                                                              the state of Israel's survival. He's
                                                                                                                           Israel's survival. He's
                   attacking
                    attacking Netanyahu.
                              Netanyahu.

                   STEFANIK:
                   STEFAN     It was
                          IK: It was unacceptable,
                                     unacceptable, and
                                                   and II was
                                                          was proud
                                                              proud to
                                                                    to respond immediately with
                                                                       respond immediately with fellow
                                                                                                fellow House
                                                                                                       House Republican
                                                                                                             Republican leadership
                                                                                                                        leadership
                   condemning
                   condemning Chuck Schumer's statements.
                              Chuck Schumer's statements.

                   It is
                   It is more important than
                         more important      ever that
                                        than ever that the United States
                                                       the United States stand
                                                                         stand strongly
                                                                               strongly with
                                                                                        with Israel
                                                                                             Israel and
                                                                                                    and the duly elected
                                                                                                        the duly elected leaders of Israel,
                                                                                                                         leaders of Israel,
                   as
                   as they
                      they are fighting for
                           are fighting for their very existence.
                                            their very existence. And
                                                                  And this is why
                                                                      this is why we're
                                                                                   we're very
                                                                                         very proud to have
                                                                                              proud to have aa strong
                                                                                                               strong conference
                                                                                                                      conference of
                                                                                                                                 of House
                                                                                                                                    House
                   Republicans condemning
                   Republicans   condemning antisemitism
                                              antisemitism and
                                                             and supporting
                                                                 supporting Israel.
                                                                              Israel.

                   That's in
                   That's  in stark
                              stark contrast
                                    contrast to
                                             to Joe
                                                Joe Biden,
                                                    Biden, the
                                                           the Democrat
                                                                Democrat Biden
                                                                           Biden campaign,
                                                                                 campaign, and
                                                                                           and Chuck  Schumer, who
                                                                                               Chuck Schumer,   who have    failed to
                                                                                                                      have failed     support
                                                                                                                                   to support
                   Israel. And Joe
                   Israel. And  Joe Biden's silence on
                                    Biden's silence on this is deafening,
                                                       this is deafening, and
                                                                          and he owns these
                                                                              he owns these riots
                                                                                            riots because
                                                                                                  because they
                                                                                                          they are
                                                                                                               are aa part
                                                                                                                      part of
                                                                                                                           of the Democrat
                                                                                                                              the Democrat
                   base. And that's
                   base. And that's why
                                    why they're
                                        they're so desperate and
                                                so desperate and trying
                                                                 trying to
                                                                        to morally equivocate from
                                                                           morally equivocate from the White House.
                                                                                                   the White House.

                   BARTIROMO:
                   BARTIROMO: Congresswoman,
                              Congresswoman, tell
                                             tell me
                                                  me about
                                                     about this Antisemitism Awareness
                                                           this Antisemitism Awareness Act,
                                                                                       Act, which
                                                                                            which the
                                                                                                  the House voted on
                                                                                                      House voted on
                   Wednesday.
                   Wednesday.

                   It would
                   It would mandate
                            mandate the Department of
                                    the Department of Education
                                                      Education to use the
                                                                to use     international Holocaust
                                                                       the international           Remembrance Alliance
                                                                                         Holocaust Remembrance Alliance Definition
                                                                                                                        Definition
                   of antisemitism.
                   of               Tell me
                      antisemitism. Tell    what this
                                         me what this does. How important
                                                      does. How important is
                                                                          is this
                                                                             this that you all
                                                                                  that you     voted on
                                                                                           all voted on this week?
                                                                                                        this week?

                   STEFANIK:
                   STEFAN     This is
                          IK: This is very
                                      very important.
                                           important.

                   This codifies
                   This          President Trump's
                        codifies President Trump's executive
                                                   executive order.
                                                             order. So
                                                                    So President
                                                                        President Trump
                                                                                  Trump doesn't  get credit
                                                                                         doesn't get credit from
                                                                                                            from the
                                                                                                                 the mainstream
                                                                                                                     mainstream media,
                                                                                                                                media,
                   but it was
                   but it was President
                              President Trump
                                        Trump that expanded Title
                                              that expanded   Title VI
                                                                    VI protections for Jewish
                                                                       protections for        students on
                                                                                       Jewish students on college
                                                                                                          college campuses.
                                                                                                                  campuses.




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             And
             And the    #24-1113
                 the Biden
                     Biden administration  Document
                           administration and
                                          and the
                                              the Biden   #2060757
                                                  Biden Department
                                                        Department of Education,
                                                                   of              Filed:
                                                                      Education, they
                                                                                 they have  06/20/2024
                                                                                           failed
                                                                                      have failed to
                                                                                                  to open         Page 80
                                                                                                          up investigations
                                                                                                     open up investigations intoof 313
                                                                                                                            into
                   each of
                   each of these
                           these college
                                 college campuses
                                         campuses that
                                                  that have
                                                       have been
                                                            been egregious
                                                                 egregious and failed to
                                                                           and failed to protect
                                                                                         protect Jewish students on
                                                                                                 Jewish students on those campuses.
                                                                                                                    those campuses.

                   So what
                   So what this
                           this legislation
                                legislation does is, that
                                            does is,      codifies it.
                                                     that codifies it. It
                                                                       It strengthens it legislatively.
                                                                          strengthens it                And we
                                                                                         legislatively. And we need
                                                                                                               need to
                                                                                                                    to continue
                                                                                                                        continue to
                                                                                                                                 to hold
                                                                                                                                    hold the
                                                                                                                                         the
                   Biden
                   Biden administration
                         administration accountable     for their
                                          accountable for   their failure
                                                                  failure toto comply with this
                                                                               comply with  this executive order that's
                                                                                                 executive order that's on
                                                                                                                        on the
                                                                                                                           the books
                                                                                                                               books because
                                                                                                                                     because of
                                                                                                                                             of
                   President Trump.
                   President Trump.

                   BARTIROMO: So who
                   BARTIROMO: So who is
                                     is funding
                                        funding this?
                                                this? II was
                                                         was told
                                                             told that
                                                                  that a
                                                                       a lot of these
                                                                         lot of       groups were
                                                                                these groups were getting
                                                                                                  getting their
                                                                                                          their direction from social
                                                                                                                direction from social
                   media.
                   media.

                   At one
                   At one point,
                          point, there was aa directive
                                 there was              on social
                                              directive on social media
                                                                  media to go and
                                                                        to go and take over buildings
                                                                                  take over buildings where
                                                                                                       where academics
                                                                                                              academics take
                                                                                                                        take place.  And then
                                                                                                                             place. And  then
                   they went and
                   they went and they
                                   they took over Hamilton
                                        took over            Hall at
                                                  Hamilton Hall   at Columbia. We're hearing
                                                                     Columbia. We're hearing aa lot
                                                                                                lot that
                                                                                                    that there
                                                                                                         there are
                                                                                                               are another
                                                                                                                   another anti
                                                                                                                           anti --
                                                                                                                                -- antagonists
                                                                                                                                   antagonists
                   that
                   that are
                        are not
                            not connected
                                connected to
                                          to the
                                             the school.
                                                 school.

                   Give us your
                   Give us your sense of who's
                                sense of who's behind it, who's
                                               behind it, who's funding
                                                                funding it.
                                                                        it. And
                                                                            And how
                                                                                how many
                                                                                    many people
                                                                                         people are
                                                                                                are students, versus outside
                                                                                                    students, versus         educators?
                                                                                                                     outside educators?

                   STEFANIK:
                   STEFAN     These are
                          IK: These are really important questions,
                                        really important questions, Maria.
                                                                    Maria.

                   So this
                   So      is aa well-organized
                      this is    well-organized entity
                                                entity of
                                                       of far
                                                          far left Democrat radical
                                                              left Democrat radical groups
                                                                                    groups domestically. It is
                                                                                           domestically. It    well-funded, well-organized.
                                                                                                            is well-funded, well-organized.
                   But, in addition,
                   But, in addition, there  is aa foreign
                                      there is    foreign funding
                                                          funding piece
                                                                  piece that is very
                                                                        that is very important
                                                                                     important that we get
                                                                                               that we get to
                                                                                                           to the
                                                                                                              the bottom  of, whether
                                                                                                                  bottom of,  whether it's
                                                                                                                                      it's the
                                                                                                                                           the
                   foreign funding
                   foreign  funding flowing
                                     flowing into
                                               into these
                                                     these Middle Eastern studies
                                                           Middle Eastern studies programs
                                                                                   programs at
                                                                                             at these universities propping
                                                                                                these universities           up antisemitic
                                                                                                                   propping up  antisemitic
                   professors,
                   professors, as well as
                               as well as propagating
                                          propagating antisemitic
                                                      antisemitic curriculum.
                                                                  curriculum.

                   We need
                   We need to
                           to not
                              not allow
                                  allow that foreign funding.
                                        that foreign funding. And
                                                              And that is going
                                                                  that is going to
                                                                                to be
                                                                                   be an important legislative
                                                                                      an important             solution. In
                                                                                                   legislative solution. In addition,
                                                                                                                            addition, any
                                                                                                                                      any
                   individuals who
                   individuals who are
                                    are part of these
                                        part of these pro-Hamas
                                                      pro-Hamas riots   or pro-Hamas
                                                                  riots or            encampments who
                                                                           pro-Hamas encampments  who are on student
                                                                                                      are on student visas,
                                                                                                                     visas, those visas
                                                                                                                            those visas
                   need
                   need to
                         to be
                            be revoked
                               revoked and
                                       and those   individuals need
                                            those individuals  need to
                                                                    to be
                                                                       be deported  immediately.
                                                                           deported immediately.

                   And in
                   And in the case of
                          the case of Columbia,
                                      Columbia, we found from
                                                we found  from NYPD
                                                               NYPD that   over 40
                                                                      that over 40 percent  of the
                                                                                    percent of the rioters were unaffiliated
                                                                                                   rioters were               with Columbia
                                                                                                                 unaffiliated with  Columbia
                   University,
                   University, meaning
                               meaning they  were neither
                                        they were         students, professors,
                                                  neither students,             or faculty
                                                                    professors, or faculty members.   And that
                                                                                           members. And         just shows
                                                                                                           that just shows the  failure of
                                                                                                                            the failure of
                   Columbia
                   Columbia leadership
                            leadership to deal with
                                       to deal with this.
                                                    this.

                   They have
                   They have allowed
                             allowed these outside rioters,
                                     these outside rioters, these outside far
                                                            these outside far left Democrat pro-Hamas
                                                                              left Democrat pro-Hamas activists
                                                                                                      activists to
                                                                                                                to take over their
                                                                                                                   take over their
                   campuses,
                   campuses, putting
                             putting all
                                     all students
                                         students at
                                                  at risk, especially Jewish
                                                     risk, especially        students. So
                                                                      Jewish students. So this
                                                                                          this is
                                                                                               is why
                                                                                                  why II have
                                                                                                         have called for the
                                                                                                              called for the resignation of the
                                                                                                                             resignation of the
                   Columbia
                   Columbia president
                            president Minouche    Shafik.
                                       Minouche Shafik.

                   She negotiated
                   She negotiated with
                                  with the
                                       the terrorists,
                                           terrorists, and
                                                       and that
                                                           that was
                                                                was aa recipe for disaster.
                                                                       recipe for disaster.

                   BARTIROMO:
                   BARTIROMO: Look,
                                Look, II know
                                         know that
                                               that China
                                                    China also
                                                          also has
                                                                has aa role, whether it
                                                                       role, whether it be
                                                                                        be the propaganda coming
                                                                                           the propaganda         out of
                                                                                                          coming out  of TikTok
                                                                                                                         TikTok or
                                                                                                                                or all
                                                                                                                                   all the
                                                                                                                                       the
                   money
                   money that
                         that China
                              China has
                                    has sent  to these
                                         sent to       institutions. And
                                                 these institutions.  And we
                                                                           we never
                                                                              never see
                                                                                    see the
                                                                                         the Biden
                                                                                             Biden administration
                                                                                                   administration push
                                                                                                                  push back  on that.
                                                                                                                       back on  that.

                   Is it largely
                   Is it largely the institutes, the
                                 the institutes, the --
                                                     -- that
                                                        that are connected to
                                                             are connected to college institutions, or
                                                                              college institutions, or something
                                                                                                       something else,
                                                                                                                 else, in
                                                                                                                       in terms of China's
                                                                                                                          terms of China's role?
                                                                                                                                           role?

                   STEFANIK:
                   STEFAN      Yes, communist
                           IK: Yes, communist China
                                              China has
                                                    has tried
                                                        tried to infiltrate our
                                                              to infiltrate our college
                                                                                college campuses
                                                                                         campuses through
                                                                                                   through their
                                                                                                           their Confucius
                                                                                                                  Confucius Institutes. This
                                                                                                                            Institutes. This
                   is something
                   is something that Republicans have
                                that Republicans      worked to
                                                 have worked  to address
                                                                  address to
                                                                           to know
                                                                              know toto not
                                                                                        not allow
                                                                                            allow Confucius
                                                                                                  Confucius Institutes.
                                                                                                            Institutes.

                   But we're also
                   But were  also seeing  it in
                                  seeing it  in the information warfare
                                                the information    warfare space,
                                                                            space, Maria,
                                                                                   Maria, that you touched
                                                                                          that you         upon TikTok,
                                                                                                   touched upon TikTok, which is aa communist
                                                                                                                        which is    communist
                   Chinese front to
                   Chinese front     collect data.
                                  to collect  data. It's
                                                    It's aa national
                                                            national security
                                                                     security threat. They have
                                                                              threat. They have promoted
                                                                                                promoted antisemitic content on
                                                                                                         antisemitic content on TikTok,
                                                                                                                                 TikTok, and
                                                                                                                                         and
                   they
                   they have suppressed any
                        have suppressed any pro-Israel content on
                                            pro-Israel content on TikTok.
                                                                  TikTok.

                   And we
                   And we know
                          know that
                               that these
                                    these radicalized, far leftists
                                          radicalized, far          utilize TikTok
                                                           leftists utilize TikTok to organize, to
                                                                                   to organize,    get their
                                                                                                to get their message out, which
                                                                                                             message out, which is
                                                                                                                                is why
                                                                                                                                   why the
                                                                                                                                       the
                   ban on TikTok,
                   ban on TikTok, the
                                  the requirement
                                      requirement that     TikTok divest
                                                      that TikTok divest from
                                                                         from communist
                                                                               communist China    is so
                                                                                            China is so incredibly
                                                                                                        incredibly important.
                                                                                                                   important. We
                                                                                                                              We passed
                                                                                                                                 passed that in
                                                                                                                                        that in
                   the House, and
                   the House, and that's
                                   that's aa big
                                             big result
                                                 result that we have
                                                        that we have been
                                                                     been able
                                                                           able to deliver.
                                                                                to deliver.

                   BARTIROMO:
                   BARTIROMO: Congresswoman,
                                 Congresswoman, before you go,
                                                before you go, let
                                                               let me
                                                                   me switch gears and
                                                                      switch gears and ask you about
                                                                                       ask you about the
                                                                                                     the Manhattan
                                                                                                         Manhattan trial of
                                                                                                                   trial of
                   President Trump
                   President Trump right
                                   right now.
                                         now.

                   II know
                      know that you have
                           that you have issued ethics complaints
                                         issued ethics complaints against
                                                                    against the
                                                                            the judge. You also
                                                                                judge. You      want an
                                                                                           also want   an investigation  of Michael
                                                                                                           investigation of Michael Cohen. Tell
                                                                                                                                    Cohen. Tell
                   me
                    me what  you're doing
                        what you're doing with
                                          with regard
                                               regard to
                                                       to that,
                                                          that, and
                                                                and how you would
                                                                    how you         you assess
                                                                             would you  assess this
                                                                                                this trial right now
                                                                                                     trial right      for Trump?
                                                                                                                 now for  Trump?

                   STEFANIK:
                   STEFAN     This is
                          IK: This is aa political witch-hunt against
                                         political witch-hunt   against Joe
                                                                        Joe Biden's opponent, who
                                                                            Biden's opponent, who is
                                                                                                  is Donald
                                                                                                     Donald Trump,
                                                                                                            Trump, and it's because
                                                                                                                   and it's because
                   Democrats  cannot win
                   Democrats cannot     win at
                                            at the
                                               the ballot
                                                    ballot box.
                                                           box.

                   The fact
                   The fact that
                            that they
                                 they have
                                      have aa gag order on
                                              gag order  on President
                                                            President Trump
                                                                      Trump in
                                                                             in the
                                                                                the midst of aa general
                                                                                    midst of            election campaign
                                                                                                general election campaign shows
                                                                                                                           shows how
                                                                                                                                 how
                   desperate
                   desperate the
                              the Democrats
                                  Democrats are.    You have
                                               are. You have a corrupt judge
                                                             a corrupt       in Judge
                                                                       judge in Judge Merchan.
                                                                                      Merchan. Not    only did
                                                                                                  Not only  did he
                                                                                                                he donate
                                                                                                                   donate personally
                                                                                                                          personally to
                                                                                                                                     to the
                                                                                                                                        the

                                                                       APP-602
https://www.newsdesk.lexisnexis.com/click/?t=4&p=SC9obGg9ZjY0YWQxNWUmZmlkPTE1NDgxMTMmY2lkPU1UQTNORFExJnVpZD1NVFUyTkRj…
https://www.newsdesk.lexisnexis.com/click/?t=4&p=3C9obGg9ZjY0YARPurn§rgiZ1NDgxMTMmY2IkPU1UQTN0RFExJnVpZD1NVFUyTkRj...                              4/13
5/15/24, 5:21 PM                                                                      Nexis Newsdesk®
          USCA Case
             Biden
             Biden     #24-1113
                   campaign,
                   campaign, but
                             but an      Document
                                    immediate
                                 an immediate member
                                              member of #2060757
                                                     of his
                                                        his family is
                                                            family is raising
                                                                      raising tens ofFiled:
                                                                              tens of millions 06/20/2024
                                                                                               of
                                                                                      millions of dollars off
                                                                                                  dollars off of
                                                                                                              of the     Page
                                                                                                                     trial
                                                                                                                 the trial         81 of 313
                                                                                                                           itself and
                                                                                                                           itself and
                   attacking Donald Trump.
                   attacking Donald Trump.

                   BARTIROMO: Wow.
                   BARTIROMO: Wow.

                   STEFANIK:
                   STEFAN     This is
                          IK: This is the
                                      the chief
                                          chief online fund-raiser for
                                                online fund-raiser for Adam
                                                                       Adam Schiff,
                                                                            Schiff, to
                                                                                    to the
                                                                                       the tune of nearly
                                                                                           tune of nearly $90
                                                                                                          $90 million,
                                                                                                              million, Maria.
                                                                                                                       Maria.

                   So this
                   So      is corrupt
                      this is corrupt to its core,
                                      to its core, and yet this
                                                   and yet      is --
                                                           this is    in the
                                                                   -- in the left
                                                                             left and
                                                                                  and the
                                                                                      the corrupt DOJ, this
                                                                                          corrupt DOJ, this is
                                                                                                            is apparently what they're
                                                                                                               apparently what they're doing with
                                                                                                                                       doing with
                   lawfare,
                   lawfare, and
                             and we
                                 we need
                                    need to   stand strong
                                           to stand  strong and
                                                            and make      sure that
                                                                  make sure    that this
                                                                                    this never
                                                                                         never happens
                                                                                               happens again.
                                                                                                       again.

                   When it
                   When it comes
                           comes to
                                 to the star witness
                                    the star witness for
                                                     for this
                                                         this political
                                                              political witch-hunt,
                                                                        witch-hunt, this is an
                                                                                    this is    individual who
                                                                                            an individual who perjured
                                                                                                              perjured himself in front
                                                                                                                       himself in front of
                                                                                                                                        of
                   Congress,
                   Congress, who is aa known
                             who is    known liar. And II urge
                                             liar. And    urge the
                                                               the Department of Justice
                                                                   Department of Justice to
                                                                                         to continue
                                                                                            continue the
                                                                                                     the criminal
                                                                                                         criminal contempt
                                                                                                                  contempt against
                                                                                                                           against
                   Michael
                   Michael Cohen.
                           Cohen.

                   But
                   But there is no
                       there is    case here.
                                no case       It is
                                        here. It is desperation,
                                                    desperation, and it's aa desperate
                                                                 and it's              form of
                                                                             desperate form of election
                                                                                               election interference.
                                                                                                        interference.

                   BARTIROMO:
                   BARTIROMO: Congresswoman, you were
                              Congresswoman, you were in
                                                      in Mar-a-Lago
                                                         Mar-a-Lago this
                                                                    this week.
                                                                         week. Did President Trump
                                                                               Did President Trump bring up you
                                                                                                   bring up you being
                                                                                                                being his vice
                                                                                                                      his vice
                   presidential
                   presidential candidate?
                                candidate?

                   STEFANIK:
                   STEFAN IK: Oh, we had
                              Oh, we had aa lot of great
                                            lot of great members
                                                         members there.
                                                                 there.

                   What really
                   What           came out
                         really came   out across
                                           across to
                                                  to me, Maria, was
                                                     me, Maria,   was how unified the
                                                                      how unified     Republican Party
                                                                                  the Republican  Party is
                                                                                                        is and
                                                                                                           and how
                                                                                                                how many
                                                                                                                     many rising  stars we
                                                                                                                           rising stars we had.
                                                                                                                                           had.
                   There's aa lot
                   There's        of names
                              lot of names that
                                           that are in the
                                                are in the mix.
                                                           mix. I'm
                                                                I'm honored
                                                                    honored to
                                                                            to have
                                                                                have my
                                                                                     my name
                                                                                        name as  one of
                                                                                              as one of them
                                                                                                        them inin the
                                                                                                                  the mix
                                                                                                                      mix right
                                                                                                                          right now.
                                                                                                                                now.

                   But it is
                   But it is a
                             a true
                               true testament
                                    testament to
                                              to the strength of
                                                 the strength  of the Republican Party.
                                                                  the Republican          You have
                                                                                   Party. You      so many
                                                                                              have so      up-and-comers who
                                                                                                      many up-and-comers   who are
                                                                                                                               are working
                                                                                                                                   working
                   hard  every day
                   hard every    day to
                                     to save America. And
                                        save America. And this is really
                                                          this is really a unified campaign
                                                                         a unified campaign to
                                                                                             to support President Trump...
                                                                                                support President Trump...

                   BARTIROMO:
                   BARTIROMO: OK.
                              OK.

                   STEFANIK:
                   STEFAN     ... who
                          IK: ... who will
                                      will save
                                           save this
                                                this country
                                                     country this
                                                             this November.
                                                                  November.

                   BARTIROMO:
                   BARTIROMO: Congresswoman, it's good
                              Congresswoman, it's good to see you
                                                       to see you this
                                                                  this morning. Thanks very
                                                                       morning. Thanks very much.
                                                                                            much.

                   STEFANIK:
                   STEFAN     Thanks, Maria.
                          IK: Thanks, Maria.

                   BARTIROMO: All right,
                   BARTIROMO: All right, Elise Stefanik joining
                                         Elise Stefanik joining us
                                                                us this
                                                                   this morning in New
                                                                        morning in     York.
                                                                                   NewYork.

                   Quick
                   Quick break,
                         break, and
                                and then: Treasury Secretary
                                    then: Treasury Secretary Janet Yellen gets
                                                             Janet Yellen gets political, warning against
                                                                               political, warning against aa second
                                                                                                             second term from former
                                                                                                                    term from former
                   President Trump,
                   President Trump, while inflation is
                                    while inflation is up
                                                       up nearly 19 percent
                                                          nearly 19 percent and growth has
                                                                            and growth     fallen to
                                                                                       has fallen    just 1.6
                                                                                                  to just 1.6 percent
                                                                                                              percent on
                                                                                                                      on her watch.
                                                                                                                         her watch.

                   (BEGIN VIDEO
                   (BEGIN VIDEO CLIP)
                                CLIP)

                   JANET  YELLEN, U.S.
                   JANET YELLEN,         TREASURY SECRETARY:
                                    U.S. TREASURY   SECRETARY: Democracy
                                                                 Democracy isis associated with strong,
                                                                                associated with strong, independent
                                                                                                        independent institutions
                                                                                                                    institutions that
                                                                                                                                  that
                   uphold the
                   uphold     rule of
                          the rule of law. Winners are
                                      law. Winners are not
                                                       not predetermined or subject
                                                           predetermined or subject to
                                                                                    to arbitrary
                                                                                       arbitrary and unpredictable whims
                                                                                                 and unpredictable whims ofof political
                                                                                                                              political
                   leaders.
                   leaders.

                   (END VIDEO
                   (END VIDEO CLIP)
                              CLIP)

                   BARTIROMO:
                   BARTIROMO: RNC        Co-Chair Lara
                                  RNC Co-Chair         Trump with
                                                  Lara Trump with reaction,
                                                                  reaction, as
                                                                            as new
                                                                               new polling shows the
                                                                                   polling shows the 45th
                                                                                                     45th president
                                                                                                          president leading
                                                                                                                    leading in
                                                                                                                            in seven
                                                                                                                               seven
                   crucial
                   crucial swing
                           swing states.
                                 states.

                   Stay with
                   Stay with us.
                             us.

                   (COMMERCIAL BREAK)
                   (COMMERCIAL BREAK)

                   (BEGIN VIDEO
                   (BEGIN VIDEO CLIP)
                                CLIP)

                   DONALD TRUMP,
                   DONALD TRUMP, FORMER PRESIDENT OF
                                 FORMER PRESIDENT    THE UNITED
                                                  OF THE        STATES (R)
                                                         UNITED STATES (R) AND
                                                                           AND CURRENT
                                                                               CURRENT U.S.
                                                                                       U.S. PRESIDENTIAL
                                                                                            PRESIDENTIAL
                   CANDIDATE:
                   CANDIDATE: ButBut the  one thing
                                     the one  thing that
                                                    that has
                                                         has been interesting about
                                                             been interesting about this four years,
                                                                                    this four years, it
                                                                                                     it shows
                                                                                                        shows how
                                                                                                              how bad
                                                                                                                  bad their
                                                                                                                      their policies
                                                                                                                            policies are. It
                                                                                                                                     are. It
                   shows that
                   shows that their
                              their policies
                                    policies don't work.
                                             don't work.

                   And one
                   And  one of
                            of the
                               the reasons we are
                                   reasons we  are more
                                                   more popular
                                                         popular than we were
                                                                 than we were four
                                                                              four years
                                                                                   years ago  -- we were
                                                                                          ago --we  were very
                                                                                                         very popular,
                                                                                                               popular, but
                                                                                                                        but more
                                                                                                                            more popular
                                                                                                                                  popular --
                                                                                                                                          --
                   is because
                   is because they're so bad.
                              they're so      They're so
                                         bad. They're    incompetent. They're
                                                      so incompetent. They're so
                                                                              so evil.
                                                                                 evil. They're
                                                                                       They're so
                                                                                               so corrupt.
                                                                                                  corrupt. And
                                                                                                           And it
                                                                                                               it makes us look
                                                                                                                  makes us look that
                                                                                                                                that much
                                                                                                                                     much
                   better.
                   better.

                   (END VIDEO
                   (END VIDEO CLIP)
                              CLIP)

                                                                       APP-603
https://www.newsdesk.lexisnexis.com/click/?t=4&p=SC9obGg9ZjY0YWQxNWUmZmlkPTE1NDgxMTMmY2lkPU1UQTNORFExJnVpZD1NVFUyTkRj…
https://www.newsdesk.lexisnexis.com/click/?t=4&p=SC9obGg9ZjY0YAPIPUm§a1NDgxMTMmY2IkPU1      UQTN0RFExJnVpZD1NVFUyTkRj...                            5/13
5/15/24, 5:21 PM                                                                      Nexis Newsdesk®
          USCA Case #24-1113
             BARTIROMO:
             BARTIROMO: And that
                        And that is     Document
                                 is former
                                    former President    #2060757
                                                     Trump
                                           President Trump on the
                                                           on     campaign trail
                                                              the campaign       Filed:   06/20/2024
                                                                                 in Michigan
                                                                           trail in Michigan and Wisconsin on
                                                                                             and Wisconsin    Page 82 of 313
                                                                                                           on Wednesday
                                                                                                              Wednesday
                   amid
                   amid his ongoing trial
                        his ongoing       in New
                                    trial in     York brought
                                             New York brought by
                                                              by Manhattan
                                                                 Manhattan Democrat
                                                                           Democrat prosecutor Alvin Bragg.
                                                                                    prosecutor Alvin Bragg.

                   On  Thursday night,
                   On Thursday   night, after spending the
                                        after spending     entire day
                                                       the entire     in court,
                                                                  day in court, the 45th president
                                                                                the 45th president made
                                                                                                   made his way to
                                                                                                        his way  to aa New
                                                                                                                       New York
                                                                                                                           York City
                                                                                                                                City
                   firehouse in
                   firehouse in Midtown   Manhattan to
                                Midtown Manhattan        deliver boxes
                                                      to deliver       of pizza
                                                                 boxes of pizza to
                                                                                to the
                                                                                   the brave
                                                                                       brave men
                                                                                             men and women of
                                                                                                 and women   of the  FDNY, my
                                                                                                                the FDNY,   my heroes, Fire
                                                                                                                               heroes, Fire
                   Department of
                   Department of New
                                 New York.
                                     York.

                   A new
                   A new poll from Emerson
                         poll from Emerson College
                                           College and The Hill
                                                   and The Hill shows
                                                                shows President
                                                                      President Trump
                                                                                Trump leading President Biden
                                                                                      leading President       in seven
                                                                                                        Biden in seven swing
                                                                                                                       swing states
                                                                                                                             states
                   that
                   that account for aa total
                        account for          of 93
                                       total of 93 electoral votes.
                                                   electoral votes.

                   Joining
                   Joining me
                           me now
                              now with
                                  with more on the
                                       more on the presidential
                                                   presidential race is Co-Chair
                                                                race is          of the
                                                                        Co-Chair of     RNC Lara
                                                                                    the RNC      Trump.
                                                                                            Lara Trump.

                   Lara,
                   Lara, good
                         good to see you.
                              to see you. Thanks
                                          Thanks very
                                                 very much for being
                                                      much for being here.
                                                                     here.

                   And II want
                   And    want to start right
                               to start right there,
                                              there, because   President Trump
                                                       because President Trump seems
                                                                               seems to
                                                                                      to be fitting in
                                                                                         be fitting in aa bodega
                                                                                                          bodega here
                                                                                                                  here and
                                                                                                                        and the    Fire Department
                                                                                                                             the Fire   Department
                   of New
                   of      York there,
                      New York   there, trying
                                        trying to  fit in
                                                to fit in campaign stops whenever
                                                          campaign stops whenever he can. But
                                                                                  he can. But the
                                                                                               the majority
                                                                                                   majority ofof his
                                                                                                                 his time is in
                                                                                                                     time is in aa courtroom.
                                                                                                                                   courtroom.

                   How
                   How are you raising
                       are you raising money
                                       money and
                                             and putting
                                                 putting President Trump in
                                                         President Trump in front
                                                                            front of
                                                                                  of donors if he's
                                                                                     donors if      got to
                                                                                               he's got to be in New
                                                                                                           be in     York all
                                                                                                                 New York     day long?
                                                                                                                          all day long?

                   LARA TRUMP, CO-CHAIR,
                   LARA TRUMP,           REPUBLICAN NATIONAL
                               CO-CHAIR, REPUBLICAN          COMMITTEE: Yes.
                                                    NATIONAL COMMITTEE: Yes.

                   Well, obviously,
                   Well, obviously, Maria,
                                    Maria, that's
                                           that's by
                                                  by design. They want
                                                     design. They  want to
                                                                        to keep Donald Trump
                                                                           keep Donald  Trump trapped
                                                                                               trapped inin aa courtroom
                                                                                                               courtroom and
                                                                                                                          and not
                                                                                                                              not able
                                                                                                                                  able to
                                                                                                                                       to go
                                                                                                                                          go
                   out and
                   out     campaign. And
                       and campaign. And their
                                           their hope  is that,
                                                 hope is        somehow, that
                                                          that, somehow, that helps
                                                                              helps Joe
                                                                                    Joe Biden. But it's
                                                                                        Biden. But it's amazing
                                                                                                        amazing to   see.
                                                                                                                  to see.

                   It's
                   It's almost
                        almost like  Sylvester the
                                like Sylvester the Cat
                                                   Cat and Tweety Bird.
                                                       and Tweety        When Sylvester
                                                                   Bird. When Sylvester goes
                                                                                        goes hard
                                                                                             hard after Tweety Bird,
                                                                                                  after Tweety        it always
                                                                                                                Bird, it always backfires.
                                                                                                                                backfires.
                   And that's
                   And          exactly what's
                         that's exactly  what's happening
                                                happening to
                                                           to the Democrats right
                                                              the Democrats right now,
                                                                                  now, because you see,
                                                                                       because you see, as you pointed
                                                                                                        as you           out, Donald
                                                                                                               pointed out,   Donald Trump's
                                                                                                                                     Trump's
                   poll
                   poll numbers continuing to
                        numbers continuing    go up.
                                           to go up.

                   And at
                   And at the
                          the RNC
                              RNC and Trump campaign,
                                  and Trump campaign, we
                                                      we announced
                                                         announced that our April
                                                                   that our April fund-raising
                                                                                  fund-raising exceeded
                                                                                               exceeded our
                                                                                                        our expectations.
                                                                                                            expectations. We
                                                                                                                          We raised
                                                                                                                             raised
                   $76
                   $76 million. And the
                       million. And the beauty  of that
                                        beauty of       is, the
                                                   that is, the average donation, Maria,
                                                                average donation, Maria, is
                                                                                         is under
                                                                                            under $30.  That means
                                                                                                   $30. That means the
                                                                                                                    the people   of this
                                                                                                                         people of  this
                   country  understand what's
                   country understand   what's at
                                               at stake.  They understand
                                                  stake. They   understand what
                                                                           what is
                                                                                 is happening
                                                                                    happening to
                                                                                               to this
                                                                                                  this man,
                                                                                                       man, this
                                                                                                            this lawfare
                                                                                                                 lawfare that
                                                                                                                         that is
                                                                                                                              is being  waged
                                                                                                                                 being waged
                   against
                   against him in an
                           him in an attempt
                                     attempt to interfere in
                                             to interfere in an election.
                                                             an election.

                   And they
                   And they are fighting back.
                            are fighting       Even in
                                         back. Even in the
                                                       the midst of this
                                                           midst of this abysmal economy that
                                                                         abysmal economy that Joe
                                                                                              Joe Biden
                                                                                                  Biden has
                                                                                                        has handed us, people
                                                                                                            handed us, people are
                                                                                                                              are
                   donating
                   donating their
                            their money, DonaldJTrump.com, if
                                  money, DonaldJTrump.com, if anybody wants to
                                                              anybody wants to support us, because
                                                                               support us, because they understand what
                                                                                                   they understand      is at
                                                                                                                   what is at stake
                                                                                                                              stake
                   right
                   right now.
                         now.

                   So you're
                   So you're right. We get
                             right. We get the
                                           the weekends
                                               weekends and   we get
                                                          and we  get Wednesdays,
                                                                      Wednesdays, typically,   with Donald
                                                                                    typically, with Donald Trump,
                                                                                                             Trump, the candidate, to
                                                                                                                    the candidate,    go out
                                                                                                                                   to go out
                   and campaign. But
                   and campaign.  But he does these
                                      he does        incredible stops.
                                               these incredible stops. He
                                                                       He goes,
                                                                          goes, as you just
                                                                                as you just pointed  out, to
                                                                                            pointed out,  to the
                                                                                                             the bodega  in Harlem
                                                                                                                 bodega in  Harlem and gets aa
                                                                                                                                   and gets
                   crowd
                   crowd Joe
                         Joe Biden
                             Biden couldn't
                                   couldn't even dream of.
                                            even dream of. He goes and
                                                           He goes and interacts with the
                                                                       interacts with the FDNY,
                                                                                          FDNY, with
                                                                                                with construction workers at
                                                                                                     construction workers at 6:30 in
                                                                                                                             6:30 in
                   the
                   the morning.
                       morning.

                   It is
                   It is earned
                         earned media
                                media that
                                      that Joe
                                           Joe Biden
                                               Biden will
                                                     will never get. He
                                                          never get.    cannot do
                                                                     He cannot  do these
                                                                                   these kind of stops
                                                                                         kind of stops because
                                                                                                       because no   one will
                                                                                                                 no one will show
                                                                                                                             show up
                                                                                                                                  up for
                                                                                                                                     for him.
                                                                                                                                         him.
                   The energy
                   The   energy behind Donald Trump
                                behind Donald  Trump is
                                                     is palpable
                                                        palpable across
                                                                 across this  country. We
                                                                         this country. We just
                                                                                          just had
                                                                                               had aa poll yesterday come
                                                                                                      poll yesterday come out  showing that
                                                                                                                           out showing  that
                   the state of
                   the state    Washington, right
                             of Washington, right now,
                                                  now, Donald Trump is
                                                       Donald Trump is leading
                                                                       leading by
                                                                               by one
                                                                                  one point, so it's
                                                                                      point, so it's within
                                                                                                     within the
                                                                                                            the margin of error,
                                                                                                                margin of error, but
                                                                                                                                 but
                   nonetheless
                   nonetheless leading
                                leading Joe
                                        Joe Biden.
                                            Biden.

                   That tells
                   That       you where
                        tells you where this   country is.
                                          this country     We need
                                                       is. We need Donald Trump back
                                                                   Donald Trump        in the
                                                                                  back in     White House.
                                                                                          the White        And the
                                                                                                    House. And the lawfare
                                                                                                                   lawfare and
                                                                                                                           and the
                                                                                                                               the
                   communist
                   communist tactics
                                tactics the Democrats are
                                        the Democrats       employing are
                                                        are employing are backfiring.
                                                                          backfiring.

                   BARTIROMO:
                   BARTIROMO: Look,Look, II think
                                            think people
                                                  people want
                                                         want to
                                                              to see one-on-one Trump,
                                                                 see one-on-one Trump, Biden
                                                                                       Biden on
                                                                                             on stage for aa debate
                                                                                                stage for    debate with enough time
                                                                                                                    with enough time to
                                                                                                                                     to
                   put their vote
                   put their vote in.
                                  in.

                   But
                   But II believe
                          believe the first debate
                                  the first debate happens
                                                   happens after
                                                           after the early voting
                                                                 the early voting begins.
                                                                                  begins.

                   L. TRUMP: Yes,
                   L. TRUMP: Yes, it's
                                  it's insane.
                                       insane.

                   And we
                   And we have
                           have called for more
                                called for more debates.
                                                 debates. Donald  Trump has
                                                          Donald Trump      said any
                                                                        has said  any time,
                                                                                      time, anywhere,
                                                                                            anywhere, any
                                                                                                      any place
                                                                                                          place he will debate
                                                                                                                he will debate Joe
                                                                                                                               Joe Biden.
                                                                                                                                   Biden.
                   And, by
                   And, by the way, up
                           the way, up until
                                       until we
                                             we got
                                                got an interview between,
                                                    an interview          of all
                                                                 between, of all people, Howard Stern
                                                                                 people, Howard Stern and
                                                                                                       and Joe
                                                                                                           Joe Biden, we didn't
                                                                                                               Biden, we  didn't even
                                                                                                                                 even know
                                                                                                                                      know
                   if Joe
                   if     Biden would
                      Joe Biden would commit
                                      commit to
                                             to debates.
                                                debates.

                   We couldn't
                   We couldn't get
                               get an
                                   an answer from his
                                      answer from his campaign. It is
                                                      campaign. It is imperative
                                                                      imperative to
                                                                                 to see
                                                                                    see these
                                                                                        these two
                                                                                              two men on aa stage,
                                                                                                  men on    stage, to
                                                                                                                   to see
                                                                                                                      see these two
                                                                                                                          these two
                   candidates
                   candidates who want to
                              who want to not just lead
                                          not just lead our country, but
                                                        our country, but be
                                                                         be the
                                                                            the leader of the
                                                                                leader of     free world,
                                                                                          the free world, head
                                                                                                          head to
                                                                                                               to head, face-to- face
                                                                                                                  head, face-to- face on
                                                                                                                                      on aa


                                                                        APP-604
https://www.newsdesk.lexisnexis.com/click/?t=4&p=SC9obGg9ZjY0YWQxNWUmZmlkPTE1NDgxMTMmY2lkPU1UQTNORFExJnVpZD1NVFUyTkRj…
https://www.newsdesk.lexisnexis.com/click/?t=4&p=3C9obGg9ZjY0YARPUrn§r0E1    NDgxMTMmY2IkPU1 UQTN0RFExJnVpZD1NVFUyTkRj...                            6/13
5/15/24, 5:21 PM                                                                       Nexis Newsdesk®
          USCA Case
             debate
             debate     #24-1113
                    stage.
                    stage. We need
                           We need to hear Document
                                   to hear from them,
                                           from them, not #2060757
                                                          only
                                                      not only about what they
                                                               about what          Filed: 06/20/2024
                                                                          they accomplished
                                                                               accomplished in their
                                                                                            in       presidencies, Page
                                                                                               their presidencies, because 83
                                                                                                                   because we of 313
                                                                                                                           we
                   can compare two
                   can compare two presidencies
                                   presidencies at
                                                at this
                                                   this point,
                                                        point, but
                                                               but their vision for
                                                                   their vision for the future of
                                                                                    the future of this
                                                                                                  this country.
                                                                                                       country.

                   The truth
                   The       is, we
                       truth is, we all
                                    all know
                                        know Joe
                                             Joe Biden can't do
                                                 Biden can't do it.
                                                                it. His
                                                                    His campaign
                                                                        campaign has
                                                                                   has been  very reluctant
                                                                                        been very reluctant to even comment
                                                                                                            to even comment on on this.
                                                                                                                                   this. But,
                                                                                                                                         But, as
                                                                                                                                              as
                   you point
                   you       out, the
                       point out, the Presidential
                                       Presidential Debate
                                                    Debate Commission
                                                           Commission has has the first debate
                                                                              the first debate starting
                                                                                               starting weeks
                                                                                                        weeks after  early voting,
                                                                                                               after early voting, Maria.
                                                                                                                                   Maria.

                   We know
                   We know that
                           that millions of people
                                millions of        will cast
                                            people will cast aa ballot for one
                                                                ballot for one of
                                                                               of these
                                                                                  these two
                                                                                        two candidates
                                                                                            candidates before
                                                                                                       before they
                                                                                                              they get
                                                                                                                   get to  see these
                                                                                                                       to see  these two
                                                                                                                                     two
                   men debate. We
                   men debate. We need  earlier debates.
                                  need earlier           And we
                                                debates. And    we have
                                                                    have said from the
                                                                         said from      Trump campaign
                                                                                    the Trump campaign and
                                                                                                        and the
                                                                                                            the RNC,  if they
                                                                                                                RNC, if  they are
                                                                                                                              are not willing
                                                                                                                                  not willing
                   to
                   to move
                      move those
                           those debates forward, we
                                 debates forward, we would
                                                     would say
                                                           say to
                                                               to any
                                                                  any network out there
                                                                      network out there who would like
                                                                                        who would      to host
                                                                                                  like to host aa debate,
                                                                                                                  debate, Donald
                                                                                                                          Donald
                   Trump will
                   Trump will be
                              be there.
                                 there.

                   Joe
                   Joe Biden, we ask
                       Biden, we     you to
                                 ask you    show up,
                                         to show up, because it is
                                                     because it    that important
                                                                is that important to
                                                                                  to the future of
                                                                                     the future of this country.
                                                                                                   this country.

                   BARTIROMO: You have
                   BARTIROMO: You have been saying for
                                       been saying for aa while
                                                          while now
                                                                now that your priority
                                                                    that your          is to
                                                                              priority is    ensure aa transparent
                                                                                          to ensure                election.
                                                                                                       transparent election.

                   And II see
                   And    see that
                              that --
                                   -- the RNC and
                                      the RNC and the Trump campaign
                                                  the Trump campaign filing
                                                                     filing aa lawsuit in aa battleground
                                                                               lawsuit in    battleground state
                                                                                                          state to stop counting
                                                                                                                to stop counting ballots
                                                                                                                                 ballots past
                                                                                                                                         past
                   Election Day.
                   Election      What are
                            Day. What     you doing
                                      are you doing with
                                                    with regards
                                                         regards to
                                                                 to suing Nevada right
                                                                    suing Nevada right now?
                                                                                       now?

                   L. TRUMP: Yes,
                   L. TRUMP: Yes, well,
                                  well, that's exactly right.
                                        that's exactly        You cannot
                                                       right. You cannot have
                                                                         have ballots counted, Maria,
                                                                              ballots counted, Maria, after elections are
                                                                                                      after elections     over.
                                                                                                                      are over.

                   And, right
                   And, right now,
                              now, that   is one
                                    that is  one of
                                                 of the
                                                    the many
                                                        many lawsuits we have
                                                             lawsuits we   have out
                                                                                out across
                                                                                    across this country to
                                                                                           this country    ensure that
                                                                                                        to ensure      just that
                                                                                                                  that just that happens,
                                                                                                                                 happens, that
                                                                                                                                          that
                   we have
                   we have aa free,
                              free, fair
                                    fair and
                                         and transparent  election. So,
                                              transparent election. So, in
                                                                        in Nevada,
                                                                           Nevada, as you pointed
                                                                                   as you          out, we
                                                                                          pointed out,  we are saying we
                                                                                                           are saying we want,  on Election
                                                                                                                         want, on  Election
                   Day,
                   Day, that
                        that to
                             to be
                                be the
                                   the last
                                       last day
                                            day that
                                                that mail-in
                                                     mail-in ballots can be
                                                             ballots can    counted.
                                                                         be counted.

                   And we
                   And we have
                          have been very successful
                               been very            in aa lot
                                         successful in    lot of
                                                              of lawsuits. A couple
                                                                 lawsuits. A couple of
                                                                                    of weeks
                                                                                       weeks ago, we won
                                                                                             ago, we won aa big
                                                                                                            big lawsuit in the
                                                                                                                lawsuit in the state of
                                                                                                                               state of
                   Pennsylvania. They wanted
                   Pennsylvania. They        to take
                                      wanted to      off dates
                                                take off       from mail-in
                                                         dates from mail-in ballots, of course,
                                                                            ballots, of course, the
                                                                                                the Democrats in an
                                                                                                    Democrats in    effort to
                                                                                                                 an effort to make it
                                                                                                                              make it
                   easier to
                   easier to cheat.
                             cheat.

                   BARTIROMO: Yes.
                   BARTIROMO: Yes.

                   L. TRUMP: We
                   L. TRUMP: We pushed
                                pushed back on that.
                                       back on       We won.
                                               that. We      And that
                                                        won. And      set precedent
                                                                 that set           for the
                                                                          precedent for     entire country.
                                                                                        the entire country.

                   So whether
                   So          it's Nevada,
                      whether it's           whether it's
                                    Nevada, whether  it's Pennsylvania, or whether
                                                          Pennsylvania, or whether it's
                                                                                   it's in
                                                                                        in New  York City,
                                                                                           NewYork         where we
                                                                                                     City, where  we actually  just had
                                                                                                                      actually just had aa big
                                                                                                                                           big
                   win, they
                   win,      were trying
                        they were  trying to encourage 800,000
                                          to encourage  800,000 noncitizens
                                                                 noncitizens to vote. We
                                                                             to vote. We had
                                                                                           had a
                                                                                               a bipartisan effort led
                                                                                                 bipartisan effort led by
                                                                                                                       by the RNC. We
                                                                                                                          the RNC.  We won
                                                                                                                                         won
                   there. They are
                   there. They are not
                                   not going
                                       going to
                                             to be
                                                be able
                                                   able to
                                                        to do
                                                           do that.
                                                              that.

                   And we
                   And we are doing those
                          are doing those things
                                          things all
                                                 all across
                                                     across the country, because
                                                            the country, because we
                                                                                 we can't
                                                                                    can't be
                                                                                          be reactive. We have
                                                                                             reactive. We have to
                                                                                                               to be
                                                                                                                  be proactive. We have
                                                                                                                     proactive. We have
                   to
                   to look
                      look at
                           at this well ahead
                              this well ahead of
                                              of Election Day and
                                                 Election Day  and the
                                                                   the election season that
                                                                       election season      we now
                                                                                       that we now have in this
                                                                                                   have in this country. We're doing
                                                                                                                country. We're doing
                   everything from
                   everything   from the
                                     the RNC
                                         RNC to
                                              to ensure
                                                 ensure that
                                                         that that
                                                              that happens.
                                                                   happens.

                   BARTIROMO:
                   BARTIROMO: So  So what
                                     what else
                                          else can  you tell
                                               can you       us specifically
                                                        tell us specifically that you're doing
                                                                             that you're doing right
                                                                                               right now
                                                                                                     now to ensure aa transparent
                                                                                                         to ensure    transparent and free
                                                                                                                                  and free
                   election in
                   election in November,
                               November, what,
                                         what, 5.5
                                                5.5 months
                                                    months away
                                                             away now?
                                                                   now?

                   L. TRUMP: Yes.
                   L. TRUMP: Yes. It's
                                  It's closing in fast.
                                       closing in fast.

                   And we
                   And we have everything working
                          have everything working at
                                                  at the
                                                     the RNC
                                                         RNC and
                                                             and the Trump campaign,
                                                                 the Trump campaign, protectthevote.com.
                                                                                     protectthevote.com. II can't
                                                                                                            can't overstate
                                                                                                                  overstate how
                                                                                                                            how
                   important it
                   important it is
                                is for
                                   for us
                                       us to
                                          to get
                                             get people
                                                 people on our election
                                                        on our election integrity
                                                                        integrity team. It is
                                                                                  team. It is the
                                                                                              the largest division we
                                                                                                  largest division we have
                                                                                                                      have right
                                                                                                                           right now
                                                                                                                                 now at
                                                                                                                                     at the
                                                                                                                                        the
                   RNC.
                   RNC.

                   If you
                   If you want
                          want to  volunteer out
                               to volunteer  out there
                                                 there to
                                                       to be
                                                          be aa poll watcher, aa poll
                                                                poll watcher,         worker, someone
                                                                                 poll worker, someone who
                                                                                                       who can
                                                                                                            can actually
                                                                                                                actually work  in these
                                                                                                                          work in these polling
                                                                                                                                        polling
                   locations
                   locations and
                             and tabulation  centers, we
                                  tabulation centers, we are
                                                          are now
                                                              now able
                                                                    able to
                                                                         to train you. We
                                                                            train you. We want
                                                                                           want you
                                                                                                you to join our
                                                                                                    to join our team.
                                                                                                                team. If you're an
                                                                                                                      If you're an attorney, we
                                                                                                                                   attorney, we
                   want attorneys
                   want            volunteering as
                        attorneys volunteering  as well
                                                   well because we want
                                                        because we  want them  in every
                                                                          them in       single major
                                                                                  every single major polling
                                                                                                     polling location
                                                                                                             location across
                                                                                                                      across this country
                                                                                                                             this country
                   to ensure that
                   to ensure      we are
                             that we are not waiting for
                                         not waiting for weeks
                                                         weeks after
                                                               after Election Day.
                                                                     Election Day.

                   We are
                   We      going to
                       are going to strike
                                    strike at
                                           at aa moment's
                                                 moment's notice
                                                           notice during early voting,
                                                                  during early         during Election
                                                                               voting, during Election Day
                                                                                                       Day voting.
                                                                                                           voting. We
                                                                                                                   We have
                                                                                                                      have to
                                                                                                                           to have   our eyes
                                                                                                                                have our eyes
                   on everything.
                   on             So we
                      everything. So  we want
                                         want people
                                                 people to
                                                        to come volunteer. Michael
                                                           come volunteer.          Whatley, the
                                                                           Michael Whatley,   the chairman  of the
                                                                                                  chairman of  the RNC,
                                                                                                                   RNC, and
                                                                                                                        and II have
                                                                                                                               have
                   announced
                   announced that we want
                             that we want 100,000
                                          100,000 people on our
                                                  people on our election
                                                                election integrity
                                                                         integrity team
                                                                                   team by
                                                                                        by November
                                                                                           November 5. And we
                                                                                                    5. And we plan
                                                                                                              plan to
                                                                                                                   to meet
                                                                                                                      meet that
                                                                                                                           that
                   goal.
                   goal.

                   So II want
                   So    want to encourage everyone
                              to encourage everyone out
                                                    out there,
                                                        there, please
                                                               please come join us,
                                                                      come join us, because,
                                                                                    because, Maria, it is
                                                                                             Maria, it is the
                                                                                                          the most important thing.
                                                                                                              most important thing.

                   BARTIROMO: All right,
                   BARTIROMO: All right, Lara, we will
                                         Lara, we will be watching all
                                                       be watching     of that.
                                                                   all of       Thanks very
                                                                          that. Thanks very much for being
                                                                                            much for being here
                                                                                                           here this
                                                                                                                this morning.
                                                                                                                     morning.

                   L. TRUMP: Thank
                   L. TRUMP: Thank you
                                   you so
                                       so much.
                                          much.

                                                                       APP-605
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https://www.newsdesk.lexisnexis.com/click/?t=4&p=SC9obGg9ZjY0YARPurn§n9F§ElNDgxMTMmY2lkPU1UQTN0RFExJnVpZD1NVFUyTkRj...                             7/13
5/15/24, 5:21 PM                                                                        Nexis Newsdesk®
          USCA Case #24-1113
             BARTIROMO:
             BARTIROMO: All right,
                        All right, Lara   Document
                                        Trump
                                   Lara Trump         us. #2060757
                                              joining us.
                                              joining                                             Filed: 06/20/2024                  Page 84 of 313
                   Quick
                   Quick break
                          break and
                                and then: America in
                                    then: America  in decline, yet Democrat
                                                      decline, yet            judges and
                                                                   Democrat judges    and prosecutors
                                                                                          prosecutors are  focused on
                                                                                                       are focused   on taking
                                                                                                                        taking down  one man,
                                                                                                                               down one   man,
                   and one man
                   and one      only, Donald
                            man only,        Trump. A
                                      Donald Trump.   A deep
                                                        deep dive  into Trump's
                                                             dive into  Trump's New   York trial
                                                                                 New York  trial and
                                                                                                 and the classified documents
                                                                                                     the classified documents case,
                                                                                                                                case, as
                                                                                                                                      as new
                                                                                                                                         new
                   details emerge on
                   details emerge on then-Vice  President Joe
                                      then-Vice President  Joe Biden
                                                                Biden and
                                                                      and the  sensitive documents
                                                                           the sensitive documents he   walked away
                                                                                                     he walked   away with.
                                                                                                                       with.

                   Former
                   Former prosecutor,
                           prosecutor, Congressman
                                       Congressman and Director of
                                                   and Director of National
                                                                   National Intelligence
                                                                            Intelligence John Ratcliffe on
                                                                                         John Ratcliffe on the state of
                                                                                                           the state of affairs
                                                                                                                        affairs and
                                                                                                                                and the
                                                                                                                                    the
                   impact on
                   impact on national security.
                             national security.

                   Stay with
                   Stay with us.
                             us.

                   (COMMERCIAL BREAK)
                   (COMMERCIAL BREAK)

                   (BEGIN VIDEO
                   (BEGIN VIDEO CLIP)
                                CLIP)

                   REP.
                   REP. MICHAEL WALTZ (R-FL):
                        MICHAEL WALTZ (R-FL): II was
                                                 was shocked
                                                     shocked at
                                                             at how
                                                                how highly classified these
                                                                    highly classified       documents are.
                                                                                      these documents are.

                   The media
                   The       wants you
                       media wants you to
                                       to believe, oh, this
                                          believe, oh,      was just
                                                       this was just some old Cold
                                                                     some old      War stuff
                                                                              Cold War   stuff that old senile
                                                                                               that old senile Biden
                                                                                                               Biden maybe
                                                                                                                     maybe had in his
                                                                                                                           had in his
                   garage from decades
                   garage from decades ago.
                                       ago. No, it was
                                            No, it was recent. It was
                                                       recent. It was relevant. And, II mean,
                                                                      relevant. And,    mean, they
                                                                                              they had  so many
                                                                                                   had so  many code  words across
                                                                                                                 code words        it. II have
                                                                                                                            across it.    have
                   had
                   had aa clearance for 30
                          clearance for    years. II had
                                        30 years.    had to
                                                         to ask what they
                                                            ask what they meant.
                                                                          meant.

                   (END VIDEO
                   (END VIDEO CLIP)
                              CLIP)

                   BARTIROMO:
                   BARTIROMO: AndAnd that  was Florida
                                      that was Florida Congressman
                                                       Congressman and
                                                                    and House
                                                                        House Intelligence    Committee member
                                                                                 Intelligence Committee    member Michael    Waltz
                                                                                                                     Michael Waltz
                   breaking
                   breaking news
                            news on
                                 on this
                                    this program
                                         program last  weekend with
                                                  last weekend with details on just
                                                                    details on just how   sensitive those
                                                                                    how sensitive   those classified
                                                                                                          classified documents
                                                                                                                     documents are
                                                                                                                               are that
                                                                                                                                   that
                   were kept
                   were      in President
                        kept in President Biden's
                                          Biden's garage
                                                  garage next
                                                         next to
                                                              to his
                                                                 his Corvette,
                                                                     Corvette, as well as
                                                                               as well as at
                                                                                          at the Penn Biden
                                                                                             the Penn Biden Center.
                                                                                                            Center.

                   The top
                   The top secret
                           secret documents dated back
                                  documents dated back to
                                                       to Biden's
                                                          Biden's tenure
                                                                  tenure as
                                                                         as both
                                                                            both a vice president
                                                                                 a vice president and
                                                                                                  and aa senator,
                                                                                                         senator, which
                                                                                                                  which he
                                                                                                                        he had
                                                                                                                           had no
                                                                                                                               no
                   authority
                   authority to
                             to personally
                                personally keep.
                                           keep. Despite
                                                   Despite the
                                                            the national security risk,
                                                                national security       special counsel
                                                                                  risk, special         Robert Hur
                                                                                                counsel Robert     declined to
                                                                                                               Hur declined    charge Biden,
                                                                                                                            to charge Biden,
                   in part
                   in part because
                           because he said he's
                                   he said he's --
                                                -- quote -- "an
                                                   quote --      elderly man
                                                             "an elderly     with aa poor
                                                                         man with    poor memory.
                                                                                          memory.""

                   Meanwhile,      special counsel
                   Meanwhile, special      counsel Jack Smith is
                                                   Jack Smith is still
                                                                 still pursuing
                                                                       pursuing his
                                                                                his classified
                                                                                    classified documents
                                                                                               documents case
                                                                                                          case against former President
                                                                                                               against former   President Trump.
                                                                                                                                          Trump.
                   In
                   In aa filing
                         filing on
                                on Thursday,
                                   Thursday, Trump's
                                              Trump's attorney
                                                      attorney has
                                                                has called  for the
                                                                     called for     40-count indictment
                                                                                the 40-count   indictment to
                                                                                                          to be
                                                                                                             be tossed, citing Hur's
                                                                                                                tossed, citing Hur's decision
                                                                                                                                     decision not
                                                                                                                                              not
                   to  charge Biden.
                   to charge    Biden.

                   And former
                   And former Vice
                              Vice President
                                   President Mike
                                             Mike Pence
                                                  Pence admitted
                                                        admitted that
                                                                 that he
                                                                      he kept
                                                                         kept classified
                                                                              classified documents
                                                                                         documents at
                                                                                                   at his
                                                                                                      his Indiana
                                                                                                          Indiana home
                                                                                                                  home after
                                                                                                                       after he
                                                                                                                             he left
                                                                                                                                left
                   the White House.
                   the White        The DOJ
                             House. The DOJ declined
                                            declined to charge Pence,
                                                     to charge        closing the
                                                               Pence, closing the case
                                                                                  case last year.
                                                                                       last year.

                   Then, this
                   Then, this bombshell,
                              bombshell, the FBI admitting
                                         the FBI admitting to
                                                           to misrepresenting
                                                              misrepresenting the
                                                                              the documents
                                                                                  documents that
                                                                                            that they claimed to
                                                                                                 they claimed to have
                                                                                                                 have taken from
                                                                                                                      taken from
                   Trump estate
                   Trump estate Mar-a-Lago.
                                Mar-a-Lago.

                   Joining
                   Joining me
                            me now
                               now with
                                    with more in this
                                         more in this "Sunday Morning Futures"
                                                      "Sunday Morning           exclusive on
                                                                       Futures" exclusive on all of this
                                                                                             all of this is
                                                                                                         is the former Director
                                                                                                            the former Director of
                                                                                                                                of National
                                                                                                                                   National
                   Intelligence
                   Intelligence and former prosecutor
                                and former prosecutor himself
                                                        himself John Ratcliffe.
                                                                John Ratcliffe.

                   John, it's good
                   John, it's good to see you
                                   to see you this
                                              this morning. Thanks very
                                                   morning. Thanks very much for being
                                                                        much for being here.
                                                                                       here.

                   JOHN RATCLIFFE, FORMER
                   JOHN RATCLIFFE, FORMER U.S.
                                          U.S. DIRECTOR
                                               DIRECTOR OF NATIONAL INTELLIGENCE:
                                                        OF NATIONAL INTELLIGENCE: Good
                                                                                  Good morning,
                                                                                       morning, Maria.
                                                                                                Maria.

                   BARTIROMO:
                   BARTIROMO: I'm
                              I'm going
                                  going to
                                        to get
                                           get to
                                               to the
                                                  the classified
                                                      classified documents issue in
                                                                 documents issue in aa moment
                                                                                       moment and
                                                                                              and this
                                                                                                  this misrepresentation
                                                                                                       misrepresentation by
                                                                                                                         by the FBI.
                                                                                                                            the FBI.

                   But, first, give
                   But, first,      us your
                               give us your legal
                                            legal aspect,
                                                  aspect, legal
                                                          legal perspective of the
                                                                perspective of     Manhattan DAs
                                                                               the Manhattan DA's trial
                                                                                                  trial right
                                                                                                        right now for Donald
                                                                                                              now for        Trump.
                                                                                                                      Donald Trump.

                   RATCLIFFE: Well, it's
                   RATCLIFFE: Well, it's been
                                         been aa train wreck for
                                                 train wreck for the
                                                                 the prosecution.
                                                                     prosecution.

                   Look, every witness
                   Look, every witness that
                                        that they
                                             they have   called so
                                                   have called  so far
                                                                   far has
                                                                       has been
                                                                           been aa witness
                                                                                   witness intending  to harm
                                                                                           intending to  harm Donald  Trump. And,
                                                                                                              Donald Trump.  And, in  fact, in
                                                                                                                                   in fact, in
                   every instance,
                   every instance, they
                                   they have
                                         have at
                                              at least in part
                                                 least in part helped
                                                               helped Donald  Trump with
                                                                       Donald Trump    with this
                                                                                            this case. And every
                                                                                                 case. And every witness
                                                                                                                 witness that
                                                                                                                         that the state has
                                                                                                                              the state has
                   called
                   called so far has
                          so far has also
                                     also said
                                          said that
                                               that the  state's most
                                                     the states       important witness,
                                                                 most important witness, Michael
                                                                                         Michael Cohen, can't be
                                                                                                 Cohen, can't be believed,
                                                                                                                 believed, that
                                                                                                                           that he
                                                                                                                                he is
                                                                                                                                   is
                   essentially aa pathological
                   essentially    pathological liar.
                                               liar.

                   So, if
                   So, if this were aa fair
                          this were    fair judge
                                            judge and
                                                  and aa fair
                                                         fair jury,
                                                              jury, the case already
                                                                    the case         would have
                                                                             already would   have been
                                                                                                   been dismissed   or the
                                                                                                         dismissed or  the case would be
                                                                                                                           case would be decided  in
                                                                                                                                         decided in
                   the  jurors' minds.
                   the jurors'  minds. But
                                        But wewe don't
                                                 don't have
                                                       have that,
                                                              that, because  we have
                                                                    because we   have aa judge in this
                                                                                         judge in      case who
                                                                                                  this case who is
                                                                                                                is allowing
                                                                                                                   allowing through
                                                                                                                            through his
                                                                                                                                    his rulings
                                                                                                                                        rulings the
                                                                                                                                                the
                   prosecutors
                   prosecutors to
                               to pursue
                                  pursue an
                                         an impossibility.
                                            impossibility.

                   The case
                   The case that
                            that they
                                 they are
                                      are prosecuting, Maria, is
                                          prosecuting, Maria, is to
                                                                 to try
                                                                    try and
                                                                        and show
                                                                            show the jury that
                                                                                 the jury      Donald Trump
                                                                                          that Donald Trump somehow
                                                                                                            somehow magically,
                                                                                                                    magically,
                   mystically, impossibly --
                   mystically, impossibly -- business
                                             business records, entries in
                                                      records, entries in 2017
                                                                          2017 somehow influenced the
                                                                               somehow influenced the presidential election of
                                                                                                      presidential election of 2016. Their
                                                                                                                               2016. Their

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                                                                             NDgxMTMmY2IkPU1 UQTN0RFExJnVpZD1NVFUyTkRj...                              8/13
5/15/24, 5:21 PM                                                                        Nexis Newsdesk®
          USCA Case
             whole
             whole case #24-1113
                   case is premised
                        is          on the
                           premised on      Document
                                       the idea
                                           idea that
                                                that all
                                                     all of   #2060757
                                                         of the
                                                            the conduct that
                                                                conduct that they      Filed:
                                                                             they discuss,
                                                                                  discuss, which 06/20/2024
                                                                                           which is lawful,
                                                                                                 is         is somehow
                                                                                                    lawful, is         Page 85
                                                                                                               somehow unlawful,
                                                                                                                       unlawful, and of 313
                                                                                                                                 and
                   the judge is
                   the judge is allowing
                                allowing them
                                         them to
                                              to do
                                                 do that.
                                                    that.

                   And, of
                   And, of course, we know
                           course, we  know that
                                            that is, in the
                                                 is, in     end, is
                                                        the end, is reversible error. But,
                                                                    reversible error.      in this
                                                                                      But, in this case,
                                                                                                   case, we
                                                                                                         we have
                                                                                                            have aa judge
                                                                                                                    judge who
                                                                                                                          who voted
                                                                                                                                voted for
                                                                                                                                       for Joe
                                                                                                                                           Joe
                   Biden,
                   Biden, donated
                          donated to
                                   to Joe Biden, whose
                                      Joe Biden, whose daughter
                                                          daughter works
                                                                     works for
                                                                           for Joe
                                                                               Joe Biden's   vice president,
                                                                                   Biden's vice    president, Kamala
                                                                                                              Kamala Harris,
                                                                                                                       Harris, and for Adam
                                                                                                                               and for Adam
                   Schiff, and
                   Schiff,     for the
                           and for     Democratic Party.
                                   the Democratic Party. And
                                                         And that
                                                             that has clearly been
                                                                  has clearly been reflected in his
                                                                                   reflected in his rulings
                                                                                                    rulings against President Trump
                                                                                                            against President Trump
                   throughout
                   throughout this
                                this trial.
                                     trial.

                   And that's
                   And that's the only danger
                              the only danger that President Trump
                                              that President Trump has in this
                                                                   has in this matter,
                                                                               matter, because, from aa legal
                                                                                       because, from          standpoint, again,
                                                                                                        legal standpoint, again, they're
                                                                                                                                 they're
                   attempting
                   attempting to
                              to approve
                                  approve something
                                            something that   is absolutely
                                                        that is absolutely legally impossible, and
                                                                           legally impossible, and his
                                                                                                   his conduct  is absolutely
                                                                                                       conduct is  absolutely lawful   in every
                                                                                                                                lawful in every
                   respect. And it
                   respect. And it is
                                   is reversible error on
                                      reversible error on any
                                                          any number   of grounds
                                                                number of           when this
                                                                           grounds when        case ultimately
                                                                                          this case ultimately goes
                                                                                                               goes up,
                                                                                                                     up, if
                                                                                                                         if it
                                                                                                                            it had
                                                                                                                               had to, with aa
                                                                                                                                   to, with
                   verdict against
                   verdict against the former president.
                                   the former president.

                   BARTIROMO:
                   BARTIROMO: Now, you believe
                              Now, you believe this is all
                                               this is all coordinated,
                                                           coordinated, because you point
                                                                        because you       out that
                                                                                    point out that there
                                                                                                   there were some of
                                                                                                         were some of these
                                                                                                                      these DAs
                                                                                                                            DAs that
                                                                                                                                that
                   were meeting
                   were meeting with White House
                                with White House counsel.
                                                 counsel.

                   RATCLIFFE: Well, it
                   RATCLIFFE: Well, it absolutely
                                       absolutely is.
                                                  is.

                   It was
                   It was systematically
                          systematically coordinated.
                                         coordinated. Look,
                                                      Look, this
                                                             this lawfare  campaign, Maria,
                                                                  lawfare campaign,  Maria, is
                                                                                            is the
                                                                                               the most  unlawful and
                                                                                                   most unlawful        unconstitutional
                                                                                                                    and unconstitutional
                   political
                   political persecution
                             persecution and
                                         and instance of election
                                             instance of election interference
                                                                   interference that
                                                                                that hopefully
                                                                                     hopefully any  of us
                                                                                                any of us will
                                                                                                          will see in our
                                                                                                               see in our lifetime.
                                                                                                                          lifetime.

                   II mean,
                      mean, as you know,
                            as you        what you
                                   know, what    you have is the
                                                     have is the leading Republican presidential
                                                                 leading Republican               candidate and
                                                                                     presidential candidate  and nominee
                                                                                                                 nominee inin waiting.
                                                                                                                              waiting. And
                                                                                                                                       And the
                                                                                                                                           the
                   year before
                   year  before that  election, there's
                                 that election,         not one,
                                                there's not one, not
                                                                 not two,
                                                                     two, not
                                                                          not three,
                                                                              three, but four criminal
                                                                                     but four criminal indictments,
                                                                                                       indictments, all
                                                                                                                    all brought
                                                                                                                        brought by
                                                                                                                                by Democratic
                                                                                                                                   Democratic
                   prosecutors in either
                   prosecutors in either blue states or
                                         blue states or blue
                                                        blue counties or by
                                                             counties or by his opponent's own
                                                                            his opponent's own Department of Justice.
                                                                                               Department of Justice.

                   So it's
                   So it's absolutely out of
                           absolutely out of bounds.
                                             bounds. It's
                                                     It's absolutely
                                                          absolutely coordinated.
                                                                     coordinated. But it's also
                                                                                  But it's also --
                                                                                                -- Maria, it's also
                                                                                                   Maria, it's      failing. II mean,
                                                                                                               also failing.    mean, let's
                                                                                                                                      let's take
                                                                                                                                            take
                   inventory of
                   inventory of where
                                where they
                                      they are.
                                           are. In
                                                In Georgia,
                                                   Georgia, the Fani Willis
                                                            the Fani Willis prosecution
                                                                            prosecution has
                                                                                        has all
                                                                                            all but collapsed under
                                                                                                but collapsed under the weight of
                                                                                                                    the weight of her own
                                                                                                                                  her own
                   corruption.
                   corruption.

                   In
                   In the
                      the Jack Smith matter,
                          Jack Smith           you have
                                      matter, you  have two cases. In
                                                        two cases. In the
                                                                      the January
                                                                          January 6 case, he's
                                                                                  6 case, he's already
                                                                                               already been shot down
                                                                                                       been shot down by
                                                                                                                      by the Supreme
                                                                                                                         the Supreme
                   Court
                   Court once
                          once and
                               and is
                                   is likely
                                      likely to
                                             to be
                                                be shot
                                                   shot down
                                                        down shortly  on the
                                                             shortly on      immunity issue.
                                                                         the immunity issue.

                   And in
                   And in the classified documents
                          the classified documents case
                                                    case that you referenced
                                                         that you referenced before,      it's hanging
                                                                                  before, it's hanging by
                                                                                                        by aa thread,
                                                                                                              thread, Maria,
                                                                                                                      Maria, because,
                                                                                                                             because, as you
                                                                                                                                      as you
                   pointed out, he's
                   pointed out, he's now
                                     now had
                                          had to
                                              to admit under oath
                                                 admit under  oath that -- in
                                                                   that -- in filings
                                                                              filings with
                                                                                      with the   court that
                                                                                             the court that they
                                                                                                             they tampered   with evidence
                                                                                                                  tampered with   evidence and
                                                                                                                                           and
                   misrepresented
                   misrepresented oror lied
                                        lied to
                                             to the court about
                                                the court  about that,  which then
                                                                  that, which  then leaves us with
                                                                                    leaves us with this
                                                                                                   this New  York case,
                                                                                                        New York   case, which
                                                                                                                         which really,
                                                                                                                               really, at
                                                                                                                                       at the end
                                                                                                                                          the end
                   of the
                   of     day, the
                      the day, the only question for
                                   only question   for the jury in
                                                       the jury in this
                                                                   this case should be,
                                                                        case should      who's more
                                                                                     be, who's more corrupt,
                                                                                                     corrupt, the
                                                                                                              the prosecutors  or the
                                                                                                                  prosecutors or       judge?
                                                                                                                                  the judge?

                   BARTIROMO:
                   BARTIROMO: So,  So, in
                                       in terms of the
                                          terms of the classified
                                                       classified documents  case, II remember
                                                                  documents case,     remember the infamous picture
                                                                                               the infamous picture that
                                                                                                                    that the
                                                                                                                         the FBI
                                                                                                                             FBI took of all
                                                                                                                                 took of all
                   those classified documents
                   those classified documents that
                                                that they
                                                     they said
                                                           said that
                                                                that they
                                                                     they took from Mar-a-Lago.
                                                                          took from   Mar-a-Lago.

                   Specifically, tell
                   Specifically, tell me
                                      me about what you're
                                         about what you're saying
                                                           saying that, what evidence
                                                                  that, what evidence was
                                                                                      was tampered with, and
                                                                                          tampered with,     did the
                                                                                                         and did the FBI
                                                                                                                     FBI tamper
                                                                                                                         tamper with
                                                                                                                                with
                   this?
                   this?

                   RATCLIFFE:   Yes, so
                   RATCLIFFE: Yes,   so that famous photograph,
                                        that famous                what we
                                                     photograph, what    we have
                                                                            have now
                                                                                 now learned
                                                                                      learned and
                                                                                               and the government has
                                                                                                   the government    has had -- Jack
                                                                                                                         had --       Smith
                                                                                                                                Jack Smith
                   and
                   and his
                       his prosecutors
                           prosecutors have
                                         have had
                                              had to
                                                  to admit, is that
                                                     admit, is that that was staged,
                                                                    that was staged, and
                                                                                     and those
                                                                                         those top
                                                                                               top secret
                                                                                                   secret classified
                                                                                                          classified sheets
                                                                                                                     sheets that
                                                                                                                            that all
                                                                                                                                 all the
                                                                                                                                     the public
                                                                                                                                         public
                   saw and
                   saw and said, oh, my
                           said, oh, my God,
                                        God, look
                                             look at
                                                  at those
                                                     those top secret documents,
                                                           top secret documents, those
                                                                                 those were
                                                                                       were placed
                                                                                            placed there
                                                                                                   there by
                                                                                                         by the FBI.
                                                                                                            the FBI.

                   And what
                   And what Jack Smith admitted
                            Jack Smith          in court
                                       admitted in court this week was
                                                         this week was that, in his
                                                                       that, in     words, they
                                                                                his words, they mishandled
                                                                                                mishandled the
                                                                                                           the classified
                                                                                                               classified documents
                                                                                                                          documents and
                                                                                                                                    and
                   misrepresented
                   misrepresented those
                                   those to
                                          to the
                                             the court. Maria, that's
                                                 court. Maria, that's aa kind way of
                                                                         kind way of saying,
                                                                                     saying, we
                                                                                             we tampered
                                                                                                tampered with
                                                                                                         with the evidence and
                                                                                                              the evidence and then we lied
                                                                                                                               then we lied
                   to
                   to the
                      the court
                          court about it.
                                about it.

                   And they
                   And they got
                            got caught when President
                                caught when President Trump's
                                                       Trump's lawyers
                                                               lawyers and
                                                                       and the other co-
                                                                           the other     defendants raised
                                                                                     co- defendants  raised this issue and
                                                                                                            this issue     said, look,
                                                                                                                       and said, look, the
                                                                                                                                       the
                   documents
                   documents here  don't match
                              here don't       up. The
                                         match up. The documents
                                                       documents that  were presented
                                                                  that were presented to  us don't
                                                                                       to us don't match
                                                                                                   match the digitally scanned
                                                                                                         the digitally scanned records
                                                                                                                                 records
                   of when
                   of when they
                           they were
                                were taken from Mar-a-Lago.
                                     taken from Mar-a-Lago.

                   And Jack
                   And      Smith, not
                       Jack Smith,     only did
                                   not only did they
                                                they tamper with that
                                                     tamper with that and
                                                                      and lie
                                                                          lie to
                                                                              to the court about
                                                                                 the court       it, but
                                                                                           about it, but he's
                                                                                                         he's now
                                                                                                              now admitted
                                                                                                                  admitted to
                                                                                                                           to the court
                                                                                                                              the court
                   that
                   that he doesn't know
                        he doesn't know how
                                        how that
                                            that happened. He's only
                                                 happened. He's only offered
                                                                     offered aa number of possible
                                                                                number of          explanations for
                                                                                          possible explanations for how
                                                                                                                    how that could have
                                                                                                                        that could have
                   happened.
                   happened.

                   So he's
                   So he's absolutely
                           absolutely blown
                                      blown the
                                            the chain
                                                chain of
                                                      of custody. And, again,
                                                         custody. And, again, he
                                                                              he has
                                                                                 has aa prosecutor,
                                                                                        prosecutor, lead
                                                                                                    lead prosecutor
                                                                                                          prosecutor inin this
                                                                                                                          this case,
                                                                                                                               case, Jay Bratt,
                                                                                                                                     Jay Bratt,
                   who met
                   who       with White
                       met with   White House  counsel and
                                         House counsel and representative  of the
                                                            representative of  the National  Archives in
                                                                                   National Archives   in -- several times
                                                                                                          -- several        in the
                                                                                                                     times in  the weeks
                                                                                                                                   weeks
                   before
                   before Jack Smith was
                          Jack Smith was even
                                         even appointed.
                                              appointed.

                   BARTIROMO: Wow.
                                                                         APP-607
                   BARTIROMO: Wow.
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https://www.newsdesk.lexisnexis.com/click/?t=4&p=SC9obGg9ZjY0YARPrn§nigEl    NDgxMTMmY2IkPU1 UQTN0RFExJnVpZD1NVFUyTkRj...                           9/13
5/15/24, 5:21 PM                                                                        Nexis Newsdesk®
          USCA Case #24-1113
             RATCLIFFE:
             RATCLIFFE: Maria,
                        Maria, this
                               this reeks --Document
                                    reeks -- this
                                             this reeks      #2060757
                                                        of Crossfire
                                                  reeks of Crossfire Hurricane, when
                                                                     Hurricane,       Filed:
                                                                                when the
                                                                                     the Biden 06/20/2024
                                                                                         Biden -- when the
                                                                                               --when             Page 86 of 313
                                                                                                       the Obama-Biden
                                                                                                           Obama-Biden
                   administration fabricated evidence
                   administration fabricated evidence before
                                                      before the
                                                             the FISA
                                                                 FISA court,
                                                                      court, lied
                                                                             lied to
                                                                                  to the
                                                                                     the court
                                                                                         court about it to
                                                                                               about it to pursue
                                                                                                           pursue Donald Trump.
                                                                                                                  Donald Trump.

                   And now
                   And        we're seeing
                       now were             it again
                                     seeing it       in this
                                               again in this classified
                                                             classified documents
                                                                          documents case.  The judge
                                                                                     case. The judge could  dismiss this
                                                                                                      could dismiss       case at
                                                                                                                     this case at any
                                                                                                                                  any point  in time,
                                                                                                                                      point in  time,
                   Maria.
                   Maria. II think
                             think the only reason
                                   the only reason that
                                                     that she
                                                          she has  it is,
                                                               has it is, she wants to
                                                                          she wants to document
                                                                                       document this
                                                                                                  this publicly so that
                                                                                                       publicly so that the
                                                                                                                        the public
                                                                                                                            public can see just
                                                                                                                                   can see  just how
                                                                                                                                                  how
                   this case is
                   this case is being
                                being prosecuted,
                                      prosecuted, how unfairly Donald
                                                  how unfairly        Trump has
                                                               Donald Trump has been
                                                                                been persecuted in this
                                                                                     persecuted in this matter
                                                                                                        matter by
                                                                                                               by Joe
                                                                                                                  Joe Biden's
                                                                                                                      Biden's
                   Department of
                   Department    of Justice.
                                    Justice.

                   BARTIROMO:
                   BARTIROMO: Let
                              Let me
                                  me move on, John,
                                     move on, John, and
                                                    and ask you about
                                                        ask you about the issues of
                                                                      the issues of the
                                                                                    the day with regard
                                                                                        day with regard to foreign policy.
                                                                                                        to foreign policy.

                   There is
                   There is a, what, ultimatum
                            a, what, ultimatum on
                                               on the
                                                  the table for Hamas.
                                                      table for Hamas. They
                                                                       They either
                                                                            either have
                                                                                   have to
                                                                                        to agree
                                                                                           agree to
                                                                                                 to give up and
                                                                                                    give up     give these
                                                                                                            and give these --
                                                                                                                           -- let
                                                                                                                              let these
                                                                                                                                  these
                   hostages  free or
                   hostages free  or Netanyahu is promising
                                     Netanyahu is promising to go into
                                                            to go into Rafah
                                                                       Rafah and
                                                                             and take
                                                                                 take down
                                                                                      down the
                                                                                           the Hamas
                                                                                               Hamas terrorists. Tell me
                                                                                                     terrorists. Tell me how you see
                                                                                                                         how you see
                   that unfolding.
                   that unfolding.

                   And II want
                   And    want to get your
                               to get your take
                                           take onon the
                                                      the China
                                                          China role
                                                                role here,
                                                                     here, because   we are
                                                                            because we   are waiting
                                                                                             waiting to
                                                                                                     to see some kind
                                                                                                        see some       of aa tough
                                                                                                                  kind of          stance against
                                                                                                                             tough stance against
                   communist
                   communist China    for all
                               China for      of this
                                          all of this bad
                                                       bad behavior,
                                                           behavior, but it just
                                                                     but it just hasn't
                                                                                 hasn't happened  from this
                                                                                        happened from   this administration.
                                                                                                             administration.

                   RATCLIFFE: Well, and
                   RATCLIFFE: Well,     it's not
                                    and it's not going
                                                 going to
                                                       to happen. It hasn't
                                                          happen. It hasn't happened,
                                                                            happened, and it's not
                                                                                      and it's     going to
                                                                                               not going to happen.
                                                                                                            happen.

                   But with respect
                   But with respect to
                                    to what's
                                       what's happening in Israel
                                              happening in Israel is, yes, Prime
                                                                  is, yes, Prime Minister
                                                                                 Minister Netanyahu
                                                                                          Netanyahu has given an
                                                                                                    has given    ultimatum to
                                                                                                              an ultimatum    Hamas:
                                                                                                                           to Hamas:
                   You have
                   You      one week
                       have one week to
                                     to accept
                                        accept aa six-week
                                                  six-week cease-fire in exchange
                                                           cease-fire in exchange for
                                                                                  for releasing
                                                                                      releasing the
                                                                                                the hostages.
                                                                                                    hostages.

                   Hamas is responding
                   Hamas is            so far
                            responding so far and said, no,
                                              and said,     you have
                                                        no, you have to
                                                                     to promise
                                                                        promise to end the
                                                                                to end     war.
                                                                                       the war.

                   You know
                   You know who's
                             who's agreeing with Hamas?
                                   agreeing with          The Biden
                                                 Hamas? The   Biden administration.  We should
                                                                     administration. We should be
                                                                                                be helping
                                                                                                   helping Benjamin
                                                                                                           Benjamin Netanyahu.   We
                                                                                                                      Netanyahu. We
                   should do
                   should    everything we
                          do everything we can
                                           can to
                                               to allow
                                                  allow him
                                                        him to go into
                                                            to go into Rafah
                                                                       Rafah and eradicate the
                                                                             and eradicate the remaining  four battalions
                                                                                               remaining four             of Hamas
                                                                                                               battalions of Hamas that
                                                                                                                                   that
                   are in --
                   are in    still in
                          -- still in Gaza.
                                      Gaza.

                   BARTIROMO: Yes.
                   BARTIROMO: Yes.

                   RATCLIFFE:
                   RATCLIFFE: Because,   Maria, what
                                Because, Maria, what happens
                                                      happens with
                                                                with Hamas
                                                                     Hamas here   is aa blueprint
                                                                             here is              for what's
                                                                                        blueprint for what's going
                                                                                                             going to
                                                                                                                   to happen with Hezbollah,
                                                                                                                      happen with Hezbollah,
                   the Houthis, with
                   the Houthis,      Al Qaeda,
                                with Al        with ISIS,
                                        Qaeda, with ISIS, with every radical
                                                          with every radical Islamic   group.
                                                                             Islamic group.

                   BARTIROMO: Yes.
                   BARTIROMO: Yes.

                   RATCLIFFE:  And we
                   RATCLIFFE: And    we should
                                        should be supporting Israel
                                               be supporting         in this
                                                              Israel in      struggle, not
                                                                        this struggle, not supporting
                                                                                           supporting Hamas,
                                                                                                      Hamas, which is what
                                                                                                             which is what the
                                                                                                                           the Biden
                                                                                                                               Biden
                   administration is doing
                   administration is doing and what China
                                           and what       is doing.
                                                    China is doing.

                   So, at
                   So, at the same day
                          the same day that Antony Blinken
                                       that Antony Blinken left
                                                           left Beijing
                                                                Beijing last week, the
                                                                        last week,     People's Republic
                                                                                   the Peoples  Republic of
                                                                                                         of China
                                                                                                            China received
                                                                                                                  received aa delegation
                                                                                                                              delegation
                   from, yes,
                   from, yes, you
                              you guessed
                                  guessed it,
                                          it, Hamas.
                                              Hamas. So
                                                     So they
                                                        they are working in
                                                             are working  in that
                                                                             that region
                                                                                  region to
                                                                                         to help Hamas, and
                                                                                            help Hamas, and they
                                                                                                            they are  working in
                                                                                                                  are working in the United
                                                                                                                                 the United
                   States through
                   States          TikTok and
                          through TikTok  and through
                                               through their
                                                       their assets
                                                             assets here in the
                                                                    here in the United States to
                                                                                United States    foment unrest
                                                                                              to foment unrest in
                                                                                                               in this country.
                                                                                                                  this country.

                   BARTIROMO: Yes.
                   BARTIROMO: Yes.

                   John, one thing
                   John, one  thing II want
                                       want to
                                            to know
                                               know real
                                                     real quick
                                                          quick -- we have
                                                                -- we       got to
                                                                      have got     jump --
                                                                                to jump  -- but
                                                                                            but all of these
                                                                                                all of        Chinese nationals
                                                                                                       these Chinese   nationals that
                                                                                                                                 that have come
                                                                                                                                      have come
                   through
                   through the
                            the border,
                                 border, the
                                         the open
                                              open border,
                                                    border, 24,000,
                                                            24,000, 25,000   just since
                                                                     25,000 just  since October,
                                                                                        October, onon top  of another
                                                                                                       top of another 25,000
                                                                                                                       25,000 the  year before,
                                                                                                                               the year before, do
                                                                                                                                                do
                   we have
                   we  have any
                            any knowledge
                                 knowledge in in terms
                                                 terms of
                                                       of whether
                                                          whether oror not
                                                                       not any of them
                                                                           any of them were   saboteurs in
                                                                                        were saboteurs     in these
                                                                                                              these -- college campus
                                                                                                                    -- college campus unrest?
                                                                                                                                       unrest?

                   II mean, we're trying
                      mean, were  trying to understand who's
                                         to understand who's behind
                                                             behind all of this
                                                                    all of this and
                                                                                and also
                                                                                    also trying
                                                                                         trying to understand why
                                                                                                to understand     so many
                                                                                                              why so      Chinese
                                                                                                                     many Chinese
                   nationals
                    nationals have
                              have come
                                    come through
                                          through the
                                                  the wide-open
                                                      wide-open border  on Joe
                                                                border on   Joe Biden's  watch.
                                                                                 Biden's watch.

                   RATCLIFFE:   Yes, well,
                   RATCLI FFE: Yes,  well, we
                                           we wouldn't
                                              wouldn't know
                                                       know because
                                                            because Joe
                                                                    Joe Biden
                                                                        Biden did
                                                                              did nothing
                                                                                  nothing to
                                                                                          to track
                                                                                             track these
                                                                                                   these Chinese
                                                                                                         Chinese nationals
                                                                                                                 nationals coming into
                                                                                                                           coming into
                   the country.
                   the country.

                   BARTIROMO:
                   BARTIROMO: Right.
                              Right.

                   RATCLIFFE:
                   RATCLIFFE: But you would
                              But you would be insane not
                                            be insane not to
                                                          to think
                                                             think that, of the
                                                                   that, of the 24,000
                                                                                24,000 that
                                                                                       that have just recently
                                                                                            have just          come in,
                                                                                                      recently come in, that
                                                                                                                        that they're
                                                                                                                             they're not
                                                                                                                                     not
                   playing some role
                   playing some      in what
                                role in      China's trying
                                        what China's trying to do, which
                                                            to do, which is
                                                                         is to create chaos
                                                                            to create chaos in
                                                                                            in this
                                                                                               this country.
                                                                                                    country.

                   We know
                   We know that
                           that they're
                                they're doing it through
                                        doing it         TikTok. So,
                                                 through TikTok. So, many of the
                                                                     many of the assets
                                                                                 assets that
                                                                                        that they
                                                                                             they have
                                                                                                  have now
                                                                                                       now brought into this
                                                                                                           brought into      country
                                                                                                                        this country
                   that we know
                   that we      from our
                           know from      intelligence that
                                      our intelligence that they
                                                            they have
                                                                 have are
                                                                      are likely
                                                                          likely contributing on the
                                                                                 contributing on     ground to
                                                                                                 the ground    foment this
                                                                                                            to foment      chaos across
                                                                                                                      this chaos across
                   the country on
                   the country on our
                                  our campuses.
                                      campuses.

                   BARTIROMO:
                   BARTIROMO: OK. Well, it's
                              OK. Well, it's aa story
                                                story that
                                                      that II will certainly follow.
                                                              will certainly follow.


                                                                         APP-608
https://www.newsdesk.lexisnexis.com/click/?t=4&p=SC9obGg9ZjY0YWQxNWUmZmlkPTE1NDgxMTMmY2lkPU1UQTNORFExJnVpZD1NVFUyTk…
https://www.newsdesk.lexisnexis.com/click/?t=4&p=SC9obGg9ZjY0YARPurn§n9F§ElNDgxMTMmY21kPU1  UQTN0RFExJnVpZD1NVFUyTk...                                  10/13
5/21/24, 10:05
5/21/24, 10:05 AM
               AM       Senator
                        Senator John Fetterman on
                                John Fetterman on X:
                                                  X: "Every
                                                     "Every single
                                                            single American
                                                                   American company must bend
                                                                            company must      to the
                                                                                         bend to the Chinese communist government's
                                                                                                     Chinese communist government’s will
                                                                                                                                    will to
                                                                                                                                         to opera…
                                                                                                                                            opera...
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                                              Senator John Fetterman
                                              SenatorJohn  Fetterman 4i
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                                              @SenFettermanPA
                                                                                                                                     Sign up with Google
                                      Every single
                                      Every        American company
                                            single American             must bend
                                                              company must         to the
                                                                              bend to the Chinese communist
                                                                                          Chinese communist
                                      government’s
                                      government's will  to operate
                                                    will to operate in
                                                                    in China.
                                                                       China.
                                                                                                                                     Sign up with Apple

                                      II voted
                                         voted yes
                                               yes to
                                                   to force
                                                      force this
                                                            this sale to make
                                                                 sale to make TikTok
                                                                              TikTok safer for our
                                                                                     safer for our children
                                                                                                   children and
                                                                                                            and
                                                                                                                                     Create account
                                       national
                                       national security.
                                                security.
                                                                                                                  By signing up, you agree to the Terms of Service and
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                                            arrogance is astounding.                                              Privacy
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                                                                                                                               Senator John Fetterm4
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                                           BREAKING                                                                      •     @SenFettermanPA
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                                           TikTok Sues U.S.                                                                           of the
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                                         The social media company and its
                                         Chinese parent, ByteDance, sued
                                         to challenge the new law, saying it
                                         violated users' First Amendment
                                        -rights.
                                        ALT


                                     1:06 PM
                                     1:06 PM ·• May
                                                May 7, 2024 · 303K
                                                    7, 202,   303K Views


                                      441 Reposts
                                      441 Reposts    154 Quotes
                                                     154 Quotes     3,340
                                                                    3,340 Likes
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                                                                                  46 Bookmarks



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https://x.com/SenFettermanPA/status/1787891840022139280
https://x.com/SenFettermanPA/status/1787891840022139280                                                                                                                         1/1
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                     Exhibit
                     Exhibit Q
                             Q




                               APP-610
                               APP-610
6/13/24, 11:33 AM                          TikTok Deal Is Complicated by New Rules From China Over Tech Exports - The New York Times
          USCA Case #24-1113                    Document #2060757                      Filed: 06/20/2024             Page 89 of 313


         TikTok Deal Is Complicated by New Rules From China
         Over Tech Exports
                   Exports
         g nytimes.com/2020/08/29/technology/china-tiktok-export-controls.html
         Paul Mozur, Raymond Zhong, David McCabe                                                                          August 29, 2020



         SKIP ADVERTISEMENT
         As the sale of TikTok enters its final stages, Beijing is saying it wants the last word.

         In a bureaucratic two-step, China on Friday updated its export control rules to cover a variety
         of technologies it deemed sensitive, including technology that sounded much like TikTok's
                                                                                              TikTok’s
         personalized recommendation engine. Then on Saturday, the country’s
                                                                        country's official Xinhua news
         agency published commentary by a professor who said the new rule would mean that the
         video app's
               app’s parent, the Chinese internet giant ByteDance, might need a license to sell its
         technology to an American suitor.

         Beijing’s
         Beijing's last-minute assertion of authority is an unexpected wrinkle for a deal as two groups
         race to buy TikTok's
                      TikTok’s U.S. operations before the Trump administration bans the app. Taken
         together, the rule change and the commentary in official media signaled China’s
                                                                                    China's intention to
         dictate terms over a potential deal, though experts said it remained unclear whether the
         Chinese government would go as far as to sink it.

         The moves from Beijing ensnare TikTok and potential American buyers including Microsoft
         and Oracle, wedging them in the middle of a tussle between the United States and China
         over the future of global technology. Beijing's
                                               Beijing’s displeasure alone could scare off TikTok’s
                                                                                           TikTok's
         suitors, many of whom have operations in China. TikTok is the most globally successful app
         ever produced by a Chinese company, and the conflict over its fate could further fracture the
         internet and plunge the world's
                                  world’s two largest economies into a deeper standoff.

         “At a minimum they’re
         "At             they're flexing their muscles and saying, ‘We
                                                                   We get a say in this and we're
                                                                                            we’re not
         going to be bystanders,"
                     bystanders,’” said Scott Kennedy, a senior adviser at the Washington-based
         Center for Strategic and International Studies who studies Chinese economic policy.

         SKIP ADVERTISEMENT
         “It could be an effort to outright block the sale, or just raise the price, or attach conditions to it
         "It
         to give China leverage down the road,"
                                              road,” he said. He added that it showed a rare bit of
         consensus between China and the United States that both agreed ByteDance was a national
         security priority.

         If Beijing blocks the sale of TikTok, it would effectively be calling the Trump administration's
                                                                                         administration’s
         bluff, forcing the U.S. government to actually go through with restricting the app and
         potentially incurring the wrath of its legions of influencers and fans. Ordering companies like

                                                                   APP-611
https://www.nytimes.com/2020/08/29/technology/china-tiktok-export-Ms.
                                                                       611
https://www.nytimes.com/2020/08/29/technology/china-tiktok-export-controls.html
                                                                           i                                                                1/3
6/13/24, 11:33 AM                          TikTok Deal Is Complicated by New Rules From China Over Tech Exports - The New York Times
          USCA Case #24-1113                    Document #2060757                      Filed: 06/20/2024             Page 90 of 313

         Apple and Google to take down TikTok in app stores globally could also prompt further anger
         against the Trump administration and even lawsuits.

         ByteDance and Oracle declined to comment on the rule changes and the Xinhua article.
         Microsoft did not have immediate comment. The U.S. Department of Commerce did not
         respond to requests for comment. The White House did not immediately respond to a
         request for comment. But Beijing's
                                    Beijing’s move could risk empowering the more hawkish members
         of Mr. Trump’s
                Trump's team and igniting an even more forceful response from the administration,
         which has said that it could take more measures to block tech companies like Alibaba and
         Baidu from doing business in the United States.

         China’s
         China's changes to its export rules came just as ByteDance had signaled that it was close to
         reaching a resolution on the future of TikTok's
                                                TikTok’s business in the United States. President
         Trump this month issued an executive order restricting Americans'
                                                                 Americans’ dealings with TikTok
         beginning in mid-September. He and other White House officials have said the app could be
         a Trojan Horse for data gathering by the Chinese Communist Party, an accusation that
         ByteDance has denied. That set off the deal negotiations.

         Chinese officials have denounced the Trump administration’s
                                                          administration's treatment of TikTok,
         characterizing it as "bullying."
                              “bullying.”
         SKIP ADVERTISEMENT
            Friday’s update to the export control rules, China’s
         In Friday's                                      China's Commerce Ministry and its Science
         and Technology Ministry restricted the export of "technology
                                                              “technology based on data analysis for
         personalized information recommendation services.”
                                                        services." TikTok plays up its ability to use
         technology to understand users'
                                      users’ interests and fill their feeds with more of what they will enjoy
         watching.

         In the Saturday article published by Xinhua, a professor of international trade at China’s
                                                                                            China's
         University of International Business and Economics, Cui Fan, said that ByteDance's
                                                                                  ByteDance’s
         technologies would most likely be covered by the new export controls.

         “If ByteDance plans to export relevant technologies, it should go through the licensing
         "If
         procedures,”
         procedures," the article cited Mr. Cui as saying. Any sale of TikTok would most likely require
         the transfer overseas of code and technical services, the article said.

         “It is recommended that ByteDance seriously study the adjusted catalog, and carefully
         "It
         consider whether it is necessary to suspend the substantive negotiation of related
         transactions, perform the legal declaration procedures and then take further actions as
         appropriate,” Mr. Cui was quoted as saying.
         appropriate,"

         Mr. Kennedy said that it was exceedingly rare for a professor to make comments about a
         specific, in-progress deal, and that it signaled that ByteDance would now have to consult the
         Chinese authorities about the controls.

                                                                   APP-612
                                                                     P 612
https://www.nytimes.com/2020/08/29/technology/china-tiktok-export-controls.html
https://www.nytimes.com/2020/08/29/technology/china-tiktok-export-ARsAml                                                               2/3
6/13/24, 11:33 AM                          TikTok Deal Is Complicated by New Rules From China Over Tech Exports - The New York Times
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         SKIP ADVERTISEMENT
         China has previously used bureaucratic procedure to block commercial deals without
         appearing to do so outright. In 2018, Qualcomm called off a $44 billion deal to buy the Dutch
         chip maker NXP Semiconductors after Chinese regulators simply failed to either approve or
         reject the transaction. Beijing’s
                                 Beijing's prolonged antitrust review was seen as a form of leverage
         over trade talks with the Trump administration, though China’s
                                                                   China's Ministry of Commerce denied
         that the two matters were related.

         In other industries, too, foreign companies including Microsoft, Volkswagen and Chrysler
         have been investigated for what China says are anticompetitive practices. Beijing has
         rejected the charge, made by American business groups, that it uses laws like antimonopoly
         rules to advance industrial policy.

         The use of export controls was novel, but it mirrors similar regulatory hurdles thrown at
         Chinese companies by the Trump administration. The White House order that prompted
         TikTok’s
         TikTok's sale cited national security concerns, and the United States has repeatedly blocked
         Chinese bids for companies with sensitive technologies as well as data.

         Mr. Kennedy said China’s
                          China's ultimate motivation in holding up or thwarting the deal could be, at
         minimum, a "kneejerk
                    “kneejerk assertion of sovereignty.”
                                           sovereignty."

         Doug Jacobson, a partner at the Washington trade law firm Jacobson Burton Kelley, said the
         impact of China’s
                   China's new rules would hinge on how essential the technology in question was to
         TikTok’s
         TikTok's app and whether that technology was part of a sale.

         SKIP ADVERTISEMENT
         “It’s going to depend on how the transaction is structured and also just how this technology is
         "It's
         embedded or incorporated into the code itself,”
                                                  itself," he said.




                                                                   APP-613
                                                                     P 613
https://www.nytimes.com/2020/08/29/technology/china-tiktok-export-controls.html
https://www.nytimes.com/2020/08/29/technology/china-tiktok-export-ARsAml                                                               3/3
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                     Exhibit
                     Exhibit R
                             R




                               APP-614
                               APP-614
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Planned TikTok deal entails China's approval under
revised catalogue:
revised        catalogue: expert     expert
g xinhuanet.com/english/2020-08/30/c_139329598.htm
   cinhuanet.com/english/2020-08/30/c_139329598.htm
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        Xinhua| 2020-08-30 22:45:42|Editor:
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                                       Tik Tok
                                          TikTok - Make
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                      41




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The logo of TikTok is seen on a smartphone screen in Arlington, Virginia, the United States,
Aug. 30, 2020. (Xinhua/Liu Jie)

BEIJING, Aug. 30 (Xinhua) -- ByteDance, the parent company of TikTok, will need to comply
with approval procedures under China's latest revision to the catalogue of technologies that
are subject to export bans or restrictions, regarding the planned selling of the video-sharing
app's U.S. operations, an expert observed.

As a fast-growing innovative enterprise, ByteDance has many cutting-edge technologies in
artificial intelligence and other fields, and some technologies may have been covered by the
adjusted catalogue, Professor Cui Fan at the University of International Business and
Economics told Xinhua in an interview commenting on the catalogue.



                                        APP-615
                                        APP-615                                                  1/2
                                                                                                 1/2
USCA Case #24-1113          Document #2060757            Filed: 06/20/2024     Page 94 of 313
The revised catalogue, released jointly on Friday by the Ministry of Commerce and the
Ministry of Science and Technology, added a total of 23 items subject to export restrictions.

Two new items under the category of information processing technology in the computer
service industry were cited by Cui as relevant in the TikTok deal, which was the
"personalized information push service technology based on data analysis" and "artificial
intelligence interactive interface technology."

The rapid development of ByteDance's international businesses has been built on the strong
technical support based in China, Cui said, noting that the company's act of offering core
algorithm services to overseas branches constitutes a typical export of technical services.

"For the international business to continue to operate smoothly, no matter who its new owner
and operator are, it is highly likely that there will need to be a transfer of software codes or
right of use from inside China to outside China," Cui said. "Technical services provision from
inside China to outside China may also be needed."

"Therefore, it is suggested that ByteDance carefully study the revised catalogue, seriously
and carefully consider whether it is necessary to suspend substantive negotiations on
relevant transactions, comply with statutory application and reporting procedures, and then
take further actions as appropriate," Cui said. Enditem




                                         APP-616
                                         APP-616                                                   2/2
                                                                                                   2/2
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                     Exhibit
                     Exhibit S
                             S




                               APP-617
                               APP-617
     USCA Case #24-1113               Document #2060757                    Filed: 06/20/2024          Page 96 of 313
CHARLES E. SCHUMER                                                                                          Majority Leader
    NEW YORK



                                    - nited 6$tates senate
                                    U
                                              WASHINGTON, DC 20510-3203


                                                     April 5,
                                                     April    2024
                                                           5, 2024


      Dear Colleague:
      Dear Colleague:

      II want
         want to
              to thank
                 thank you
                        you all
                              all again
                                  again for your work
                                        for your  work last
                                                        last month
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                                                                         pass aa strong  bipartisan funding
                                                                                 strong bipartisan   funding package
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      that rejected
      that           MAGA extremism,
           rejected MAGA       extremism, put   the needs
                                            put the  needs of  the country
                                                           of the            first, and
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      pointless  government shutdown.
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       American families,    strengthening our
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                                                                                        national security.  We also
                                                                                                  security. We  also
      avoided
       avoided most
                most of  the draconian
                      of the  draconian cuts
                                          cuts and
                                               and poison
                                                    poison pills  that the
                                                            pills that  the hard-right
                                                                            hard-right pushed    for months.
                                                                                         pushed for   months. This  was
                                                                                                               This was
      no
       no small
          small feat  and is
                 feat and is aa tremendous
                                tremendous credit   to leadership
                                             credit to leadership on     both sides,
                                                                     on both  sides, particularly
                                                                                      particularly our
                                                                                                    our Appropriations
                                                                                                        Appropriations
      Chair  Murray and
       Chair Murray    and Vice
                           Vice Chair
                                   Chair Collins.
                                         Collins.

      When we
      When   we return,   we have
                 return, we        busy agenda
                              have busy  agenda facing   us. First,
                                                  facing us.  First, we
                                                                     we will
                                                                         will continue
                                                                              continue our work to
                                                                                       our work  to confirm
                                                                                                    confirm
      President  Biden’s   well qualified and   diverse nominees.    Speaker   Johnson has indicated
      President Biden's well qualified and diverse nominees. Speaker Johnson has indicated that       that the
                                                                                                           the
      House Impeachment
      House  Impeachment Managers
                              Managers plan    to deliver
                                         plan to          the articles
                                                  deliver the  articles of
                                                                        of impeachment
                                                                           impeachment on    Wednesday. The
                                                                                         on Wednesday.     The
      Senate will receive
      Senate will           the managers
                   receive the  managers as   they present
                                           as they           the articles
                                                    present the  articles of  impeachment for
                                                                           of impeachment   for Secretary
                                                                                                Secretary
      Mayorkas to
      Mayorkas    to the
                     the Senate.  Please be
                         Senate. Please  be advised
                                            advised that
                                                      that all
                                                           all Senators  will be
                                                               Senators will   be sworn
                                                                                  sworn in
                                                                                        in as jurors in
                                                                                           as jurors in the
                                                                                                        the trial
                                                                                                            trial the
                                                                                                                  the
      day
      day after the articles
          after the  articles are
                              are presented, and Senate
                                  presented, and          President Pro
                                                   Senate President   Pro Tempore    Patty Murray
                                                                           Tempore Patty   Murray will
                                                                                                   will preside.
                                                                                                         preside. II
      remind
      remind Senators    that your
              Senators that   your presence
                                    presence next   week is
                                             next week    is essential.
                                                             essential.

      Additionally,  we face
      Additionally, we        an April
                         face an  April 19
                                        19 deadline
                                           deadline on
                                                     on reauthorizing FISA. The
                                                        reauthorizing FISA.       House is
                                                                             The House    is working
                                                                                             working on
                                                                                                      on aa path
                                                                                                            path
      forward
      forward for  their legislation.
               for their legislation. The
                                      The Senate
                                          Senate must   be ready
                                                  must be        to act
                                                           ready to act quickly
                                                                        quickly on
                                                                                on aa bipartisan
                                                                                      bipartisan basis
                                                                                                 basis to
                                                                                                       to ensure
                                                                                                          ensure
      these vital
      these vital national
                  national security
                           security authorities
                                     authorities do
                                                 do not lapse.
                                                    not lapse.

      Off  the floor,
      Off the  floor, we
                      we will
                         will continue  to keep
                              continue to  keep pressure
                                                pressure on  the House
                                                          on the House to
                                                                       to act
                                                                          act on  the Senate-passed
                                                                              on the  Senate-passed national
                                                                                                      national
      security
      security supplemental   that would
                supplemental that  would provide
                                           provide desperately
                                                    desperately needed
                                                                needed funding  to Ukraine
                                                                       funding to   Ukraine in
                                                                                            in their
                                                                                               their fight
                                                                                                     fight
      against  Putin. The
      against Putin.  The Senate  bill has
                          Senate bill  has sat
                                           sat on
                                               on Speaker
                                                   Speaker Johnson’s
                                                           Johnson's desk
                                                                     desk for
                                                                           for more  than 50
                                                                               more than  50 days.
                                                                                             days. The
                                                                                                    The longer
                                                                                                         longer
      that the
      that the national
               national security
                        security supplemental
                                 supplemental sits
                                                 sits on
                                                      on Speaker
                                                         Speaker Johnson’s
                                                                 Johnson's desk,  the more
                                                                            desk, the more desperate   the
                                                                                           desperate the
      situation
      situation in  Ukraine becomes.
                 in Ukraine becomes.

      II have
         have spoken   with Speaker
              spoken with     Speaker Johnson,
                                       Johnson, and
                                                  and II believe
                                                         believe that
                                                                 that he  understands the
                                                                       he understands   the threat
                                                                                            threat of further delaying
                                                                                                   of further  delaying
      the national
      the  national security
                     security supplemental.    However, Speaker
                               supplemental. However,      Speaker Johnson
                                                                      Johnson has   to ultimately
                                                                                has to ultimately decide   for himself
                                                                                                   decide for  himself
      whether or
      whether   or not
                    not he  will do
                        he will     the right
                                 do the       thing for
                                        right thing       Ukraine, for
                                                    for Ukraine,    for America
                                                                         America and
                                                                                   and for
                                                                                       for democracy    around the
                                                                                           democracy around       the
      world or
      world      if he’ll
              or if       allow the
                    he'll allow  the extreme   MAGA wing
                                     extreme MAGA        wing of
                                                               of his
                                                                  his party  to hand
                                                                       party to hand Vladimir   Putin aa victory.
                                                                                      Vladimir Putin     victory. ItIt is
                                                                                                                       is aa
      matter
       matter of  the highest
              of the           urgency that
                      highest urgency    that Speaker
                                              Speaker Johnson     and House
                                                        Johnson and     House Leadership
                                                                                Leadership put  the Senate’s
                                                                                            put the Senate's
      bipartisan supplemental
      bipartisan   supplemental package
                                   package on   the House
                                            on the  House floor,    because II am
                                                             floor, because     am confident  that if
                                                                                    confident that if he
                                                                                                      he puts
                                                                                                         puts it
                                                                                                               it on  the
                                                                                                                  on the
      floor, it will
      floor, it will pass.
                     pass.

      Like so
      Like  so many
               many of   you, II was
                      of you,    was shocked   and saddened
                                      shocked and             by the
                                                    saddened by   the tragic
                                                                      tragic collapse
                                                                             collapse of Francis Scott
                                                                                      of Francis        Key
                                                                                                  Scott Key
      Bridge. I've
      Bridge.  I’ve spoken  with Maryland
                    spoken with    Maryland Senators
                                              Senators Senator   Ben Cardin
                                                         Senator Ben          and Senator
                                                                       Cardin and           Van Hollen
                                                                                   Senator Van   Hollen and
                                                                                                         and
      offered
      offered any
               any help
                   help needed
                         needed asas Baltimore
                                     Baltimore works
                                                 works to
                                                        to recover.
                                                           recover. This
                                                                    This morning   the Biden
                                                                          morning the  Biden administration
                                                                                              administration
      submitted
      submitted an   authorizing request
                  an authorizing   request for the Francis
                                           for the Francis Scott  Key Bridge
                                                            Scott Key   Bridge and  Port of
                                                                               and Port     Baltimore. It
                                                                                         of Baltimore.     will take
                                                                                                        It will take
      bipartisan cooperation
      bipartisan                for the
                  cooperation for   the Senate  to act
                                        Senate to  act quickly to help
                                                       quickly to help reopen  the Port
                                                                        reopen the Port of  Baltimore, aa major
                                                                                         of Baltimore,    major
      artery for commerce,
      artery for commerce, andand rebuild  the Key
                                   rebuild the  Key Bridge
                                                     Bridge as
                                                             as quickly
                                                                quickly as
                                                                         as possible.
                                                                            possible.
                                                      APP-618
                                                      APP-618
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 In
 In addition to continuing
    addition to             to confirm
                continuing to           President Biden's
                               confirm President   Biden’s nominees,    there are
                                                           nominees, there     are aa range
                                                                                      range of
                                                                                             of policy
                                                                                                policy areas
                                                                                                       areas
 where we
 where  we could   advance legislation
            could advance               to help
                            legislation to      the American
                                           help the American people,
                                                               people, if  we can
                                                                        if we        get bipartisan
                                                                               can get   bipartisan
 cooperation
 cooperation from
              from our   Republican colleagues.
                    our Republican    colleagues. The  authorization for
                                                  The authorization   for FAA
                                                                          FAA expires
                                                                                 expires on   May 10
                                                                                           on May   10 and
                                                                                                       and
 bicameral and
 bicameral  and bipartisan
                 bipartisan work
                            work is
                                  is underway
                                     underway on   that important
                                                on that important piece
                                                                   piece of
                                                                          of legislation.
                                                                             legislation. Commerce
                                                                                            Commerce
 Committee
 Committee Chairwoman
             Chairwoman Cantwell
                            Cantwell and
                                       and her team are
                                           her team  are working
                                                         working tirelessly
                                                                  tirelessly to
                                                                              to finalize
                                                                                 finalize an
                                                                                           an agreement   and
                                                                                              agreement and
 pass the FAA
 pass the FAA reauthorization
                reauthorization in  May.
                                 in May.

 In the weeks
 In the weeks andand months
                      months ahead,    we have
                               ahead, we           the opportunity
                                            have the   opportunity toto make
                                                                        make progress
                                                                               progress on    bipartisan bills
                                                                                           on bipartisan         that
                                                                                                          bills that
 enhance
 enhance our
           our national
                national security,
                          security, advance
                                     advance online
                                                online safety   for kids
                                                         safety for kids and
                                                                         and promote      innovation, expand
                                                                              promote innovation,      expand the the
 Child
 Child Tax
        Tax Credit,   work on
              Credit, work   on aa path  forward on
                                   path forward     on Tik
                                                        Tik Tok  legislation, combat
                                                             Tok legislation,  combat thethe fentanyl
                                                                                             fentanyl crisis,
                                                                                                       crisis, hold
                                                                                                               hold
 failed bank executives
 failed bank   executives accountable,      address rail
                            accountable, address      rail safety,
                                                           safety, ensure  internet affordability,
                                                                   ensure internet   affordability, safeguard
                                                                                                     safeguard
 cannabis
 cannabis banking,
            banking, outcompete
                       outcompete thethe Chinese
                                          Chinese government,
                                                     government, lower     the cost
                                                                    lower the   cost of
                                                                                     of prescription
                                                                                         prescription drugs    like
                                                                                                       drugs like
 insulin while
 insulin  while expanding
                 expanding access     to health
                              access to   health care,
                                                  care, and
                                                         and more.
                                                              more. There   are many
                                                                     There are          important, bipartisan
                                                                                 many important,    bipartisan
 issues this
 issues  this Congress
              Congress could
                         could address     this year,
                                 address this   year, and
                                                       and II hope
                                                              hope our
                                                                    our Senate   Republican colleagues
                                                                        Senate Republican      colleagues don’t
                                                                                                            don't
 allow  the ultra-right
 allow the   ultra-right wing
                         wing of   their party
                                of their         to derail
                                          party to  derail progress
                                                            progress on  these bipartisan
                                                                      on these  bipartisan bills.
                                                                                             bills.

 Unfortunately, just
 Unfortunately,   just last
                       last month
                            month wewe saw   just how
                                        saw just  how committed      House Republicans
                                                       committed House        Republicans are
                                                                                            are to
                                                                                                 to the
                                                                                                     the extreme
                                                                                                         extreme
 the MAGA
 the MAGA Republican
               Republican agenda      when the
                             agenda when    the Republican
                                                Republican Study
                                                               Study Committee
                                                                      Committee released     their dangerous
                                                                                   released their    dangerous and
                                                                                                                 and
 disastrous  budget plan.
 disastrous budget   plan. They’re
                            They're doubling
                                      doubling down
                                                 down on    the hard-right’s
                                                       on the                  war on
                                                                hard-right's war       women by
                                                                                   on women      by endorsing
                                                                                                     endorsing aa
 national ban on
 national ban   on abortion   with zero
                   abortion with   zero exceptions   for rape
                                         exceptions for   rape or
                                                                or incest
                                                                   incest and
                                                                           and endangering
                                                                                endangering access
                                                                                              access to to IVF.
                                                                                                           IVF.
 They
 They continue    their relentless
       continue their   relentless attacks
                                   attacks on
                                            on social
                                                social security
                                                       security and
                                                                 and called
                                                                       called for
                                                                              for raising the retirement
                                                                                  raising the  retirement age.
                                                                                                            age.
 Their
 Their plan  advocates for
       plan advocates     for repealing
                              repealing $35
                                         $35 insulin  for seniors
                                              insulin for  seniors on   Medicare and
                                                                    on Medicare         taking away
                                                                                   and taking   away Medicare's
                                                                                                        Medicare’s
 authority  to negotiate
 authority to  negotiate cheaper
                           cheaper drug
                                    drug prices.
                                          prices. And,
                                                  And, of
                                                        of course,   they propose
                                                            course, they   propose providing     trillions of
                                                                                    providing trillions    of
 dollars
 dollars in tax breaks
         in tax  breaks for  the ultra-wealthy
                         for the ultra-wealthy and   trillions of
                                                 and trillions  of dollars
                                                                   dollars in  budget cuts
                                                                            in budget       to the
                                                                                       cuts to  the Children’s
                                                                                                     Children's
 Health Insurance
 Health              Program and
         Insurance Program      and the
                                     the ACA.
                                         ACA.

 These
 These are
        are many
            many of   the same
                   of the same policies Democrats fought
                               policies Democrats          to keep
                                                    fought to keep out
                                                                   out of the appropriations
                                                                       of the  appropriations bills
                                                                                              bills this
                                                                                                    this
 year, and
 year, and as long as
           as long  as Senate Democrats are
                       Senate Democrats  are in
                                             in the
                                                the majority  we will
                                                     majority we will ensure  that this
                                                                      ensure that  this extreme MAGA
                                                                                        extreme MAGA
 agenda
 agenda does
         does not  become law.
               not become   law.

 II have
    have said
         said repeatedly this Congress,
              repeatedly this             with divided
                              Congress, with            government, bipartisanship
                                                divided government,     bipartisanship and
                                                                                       and compromise
                                                                                           compromise are
                                                                                                       are
 the only
 the       ways to
      only ways  to make
                    make progress    and get
                          progress and   get things
                                              things done  that will
                                                     done that  will help  the American
                                                                     help the  American people.  Democrats
                                                                                         people. Democrats
 have
  have an
        an ambitious agenda to
           ambitious agenda   to help  the American
                                 help the  American people,
                                                      people, and   if our
                                                               and if  our Senate  Republican colleagues
                                                                            Senate Republican colleagues are
                                                                                                         are
 sincere  about passing
  sincere about          bipartisan legislation
                passing bipartisan   legislation and  willing to
                                                  and willing to reject the extreme
                                                                 reject the          MAGA demands,
                                                                             extreme MAGA              we
                                                                                             demands, we
 are
  are ready to work
      ready to work with
                     with them
                          them toto find
                                    find compromise
                                         compromise andand get
                                                            get as
                                                                as much
                                                                   much done
                                                                           done as we can.
                                                                                as we can.

 II look
    look forward to working
         forward to working with
                            with you
                                 you all in the
                                     all in the coming weeks to
                                                coming weeks to continue
                                                                continue delivering
                                                                         delivering results
                                                                                    results for the
                                                                                            for the
 American
  American people.
             people.

                                                 Sincerely,
                                                 Sincerely,


                                                            aiL*4`41
                                                 Charles E. Schumer
                                                 Charles E. Schumer
                                                 United States
                                                 United States Senator
                                                               Senator




                                                 APP-619
                                                 APP-619
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                     Exhibit
                     Exhibit T
                             T




                               APP-620
                               APP-620
6/17/24, 3:30 PM                                 Mike Johnson's Letter Sparks New Flood of Republican Backlash - Newsweek
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         Mike Johnson's Letter Sparks New Flood of Republican
         Backlash
        ira newsweek.com/mike-johnsons-letter-sparks-new-flood-republican-backlash-1891376
         Rachel Dobkin                                                                                                      April 17, 2024


         By Rachel Dobkin
         Weekend Reporter

         House Speaker Mike Johnson's letter about foreign funding bills sparked a new flood of
         Republican backlash on social media on Wednesday.

         It has been months since the Senate passed a $95-billion funding package which would give
         aid to Ukraine in its fight against Russia, money to Israel in its war with Hamas, and funds for
         Taiwan to combat Chinese aggression.

         However, the House has yet to act on the bill and instead, Johnson, a Louisiana Republican,
         told colleagues in a letter on Wednesday that the language of three separate funding bills will
         be posted today.

         "After significant member feedback and discussion, the House Rules Committee will be
         posting soon today the text of three bills that will fund America's national security interests
         and allies in Israel, the Indo-Pacific, and Ukraine, including a loan structure for aid, and
         enhanced strategy and accountability," Johnson wrote in the letter that has circulated on
         social media.

         "These will be brought to the floor under a structured rule that will allow for an amendment
         process, alongside a fourth bill that includes the REPO Act, TikTok bill, sanctions and other
         measures to confront Russia, China, and Iran."




                                                                APP-621
https://www.newsweek.com/mike-johnsons-letter-sparks-new-flood-republican-backlash-1891376
https://www.newsweek.com/mike-johnsons-letter-sparks-new-flood-reAPaRac021891376                                                             1/4
6/17/24, 3:30 PM                                 Mike Johnson's Letter Sparks New Flood of Republican Backlash - Newsweek
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         Houe Speaker Mike Johnson on April 16, 2024, in Washington D.C. Johnson's letter about foreign funding
          bills sparked a new flood of Republican backlash on social media on Wednesday. Win McNamee/Getty
                                                         Images

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         The REPO Act refers to the Rebuilding Economic Prosperity and Opportunity for Ukrainians
         Act. It allows the president of the United States to confiscate sovereign assets of the Russian
         Federation that are directly or indirectly owned by the government, states the Lawfare
         website.

         The House speaker said that the committee will also post text for a bill on border security
         that "includes the core components of H.R.2," which is a piece of tough immigration
         legislation that passed on the House last May, but was blocked by the Democratic-led
         Senate.

         "By posting text of these bills as soon as they are completed, we will ensure time for a robust
         amendment process. We expect the vote on final passage on these bills to be on Saturday
         evening," Johnson added in the letter.


                                                                  APP-622
https://www.newsweek.com/mike-johnsons-letter-sparks-new-flood-republican-backlash-1891376
https://www.newsweek.com/mike-johnsons-letter-sparks-new-flood-reAPaRac02g391376                                                    2/4
6/17/24, 3:30 PM                                 Mike Johnson's Letter Sparks New Flood of Republican Backlash - Newsweek
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         Tensions between Johnson and members of his own party in the House have already been
         high with Rep. Marjorie Taylor Greene of Georgia introducing a motion to vacate him from
         the speaker seat last month and Rep. Thomas Massie, from Kentucky, writing on social
         media on Tuesday that he told Johnson that he is co-sponsoring Greene's motion.

         Johnson said he is not resigning and called any attempt to oust him as Speaker "absurd."
         Newsweek has reached out to Johnson's office via email for comment.

         Johnson's new letter seemed to cause more backlash on how he is handling foreign funding
         and the U.S.-Mexico border, which is at the heart of Greene's motion to vacate.

         Reacting to the letter on Wednesday, Greene wrote on X, formerly Twitter, "News flash for
         Speaker Johnson, we have already passed HR2, the Senate has it and refuses to secure our
         border, they want 5,000 illegals per day to come in.

         "The House passed $14 Billion for Israel aid in Nova and the Senate refuses to pass it. You,
         Speaker Johnson, voted against $300 million for Ukraine before we gave you the gavel
         along with the majority of Republicans, no one understands why it is now your top priority to
         give Ukraine $60 billion more dollars."

               News flash for Speaker Johnson, we have already passed HR2, the Senate has it and
               refuses to secure our border, they want 5,000 illegals per day to come in.

                   The House passed $14 Billion for Israel aid in Nova and the Senate refuses to pass it.

               You, Speaker Johnson, voted…
                                     voted...

                   — Rep. Marjorie Taylor Greene🇺🇸 (@RepMTG) April 17, 2024
                                          Greeneus

         Greene was referencing a border deal that previously failed in the Senate, which would have
         enabled U.S. Department of Homeland Security officials to detain and deport migrants if
         there is an average of 5,000 or more migrant encounters a day over seven consecutive days
         or if there are 8,500 or more encounters in a single day.

         "You are seriously out of step with Republicans by continuing to pass bills dependent on
         Democrats. Everyone sees through this."

         Sen. J.D. Vance, an Ohio Republican, wrote, "Rumored course of action in the House:
         Combine Ukraine and Israel aid, with other Biden boondoggles. Send it all to the Senate as a
         combined package. Then let the House vote on a fake border security package that has no
         chance. Betrayal. And stupid politics to boot."




                                                                APP-623
https://www.newsweek.com/mike-johnsons-letter-sparks-new-flood-republican-backlash-1891376
https://www.newsweek.com/mike-johnsons-letter-sparks-new-flood-reAPaRac02/891376                                                    3/4
6/17/24, 3:30 PM                                 Mike Johnson's Letter Sparks New Flood of Republican Backlash - Newsweek
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         "The Republican Speaker of the House is seeking a rule to pass almost $100 billion in
         foreign aid—while unquestionably, dangerous criminals, terrorists, & fentanyl pour across our
         border. The border 'vote' in this package is a watered-down dangerous cover vote. I will
         oppose," Rep. Chip Roy, a Texas Republican said.

         "Anything less than tying Ukraine aid to real border security fails to live up to
         @SpeakerJohnson's own words just several weeks ago. Our constituents demand—and
         deserve—more from us," Rep. Scott Perry, representing a Pennsylvania district, wrote.

         Former Republican congressman from Illinois Adam Kinzinger, who has been critical of the
         far-right faction in his party, slammed Johnson for not doing enough on CNN Newsroom with
         Jim
         Jim Acosta on Wednesday.

         "The fact that we are six months, frankly, after we should have passed aid to Ukraine, and
         three months after the Senate did, and it has been sitting in the House. Don't call yourself a
         'wartime speaker' if you're unwilling to do what's needed to be done in a wartime," Kinzinger
         said.

         Kinzinger's comments come after Johnson called himself a "wartime speaker" during a press
         conference on Tuesday.
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         About the writer
         Rachel Dobkin
         Rachel Dobkin is a Newsweek reporter based in New York. Her focus is reporting on politics.
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                     Exhibit
                     Exhibit U
                             U




                               APP-625
                               APP-625
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     *****
     *   *        European I
     *****        Commission

Shaping Europe's digital future


DSA: Very large online platforms and search engines

Very large online platforms and search engines are those with over 45 million users in the
EU. They must comply with the most stringent rules of the DSA.




                     /         DIGITAL
                            SERVICES
                                  ACT



The DSA classifies platforms or search engines that have more than 45 million users per month in the
EU as very large online platforms (VLOPs) or very large online search engines (VLOSEs). The
Commission has begun to designate VLOPs or VLOSEs based on user numbers provided by platforms
and search engines, which regardless of size, they were required to publish by 17 February 2023.
Platforms and search engines will need to update these figures at least every 6 months as explained
on DSA: Guidance on the requirement to publish user numbers.
Once the Commission designates a platform as a VLOP or a search engine as a VLOSE, the designated
online service has 4 months to comply with the DSA. The designation triggers specific rules that tackle
the particular risks such large services pose to Europeans and society when it comes to illegal
content, and their impact on fundamental rights, public security, and wellbeing.
The Commission will revoke its decision if the platform or search engine does not reach the threshold
of 45 million monthly users anymore during one full year.
Obligations for VLOPs and VLOSEs
Once the Commission has designated a platform or a search engine, it has four months to coml.-,
with the DSA.
                                            APP-626
                                            APP-626
     USCA Case
For example      #24-1113
            it needs to:          Document #2060757               Filed: 06/20/2024      Page 105 of 313

   • establish a point of contact for authorities and users
   • report criminal offenses
   • have user-friendly terms and conditions
   • be transparent as regards advertising, recommender systems or content moderation decisions
They also must follow the rules that focus only on VLOPs and VLOSEs due to their size and the
potential impact they can have on society. This means that they must identify, analyse, and assess
systemic risks that are linked to their services. They should look, in particular, to risks related to:
   • illegal content
   • fundamental rights, such as freedom of expression, media freedom and pluralism,
     discrimination, consumer protection and children's rights
   • public security and electoral processes
   • gender-based violence, public health, protection of minors, and mental and physical wellbeing
Once the risks are identified and reported to the Commission for oversight, VLOPs and VLOSEs are
obliged to put measures in place that mitigate these risks. This could mean adapting the design or
functioning of their services or changing their recommender systems. They could also consist of
reinforcing the platform internally with more resources to better identify systemic risks.
Those designated as VLOPs or VLOSEs will also have to:
   • establish an internal compliance function that ensures that the risks identified are mitigated
   • be audited by an independent auditor at least once a year and adopt measures that respond to
     the auditor's recommendations
   • share their data with the Commission and national authorities so that they can monitor and
     assess compliance with the DSA
   • allow vetted researchers to access platform data when the research contributes to the detection,
     identification and understanding of systemic risks in the EU
   • provide an option in their recommender systems that is not based on user profiling
   • have a publicly available repository of advertisements



Quick links


List of the designated VLOPs and VLOSEs (https://digital-
                                             strategy.ec.europa.eu/en/policies/list-
                                                 ignated-
DSA: Guidance on the requirement to pubA syser numbers (https://digital-
                                                                  strategy.ec.europa.eu/en/library/dsa-
                                             and-
                                                                  guidance-
DSA FAQ (https://digital-                    slops)               requirement-
        strategy.ec.europa.eu/en/faqs/digital-
                                                                  publish-
        services-
                                                                  user-
        act-
                                                                  numbers)
Latest4tews
     and-
          answers)
PRESS RELEASE I 11 June 2024

Commission services sign administrative arrangement with Australian eSafety
Commissioner to support the enforcement of social media regulations
 Uen/news/commission-services-sign-administrative-arrangement-australian-esafety-
commissioner-suppc

Today, the Commission services responsible for the enforcement of the Digital
Services Act (DSA) have signed an administrative arrangement with the eSafety
                                                 APP-627
                                                 APP-627
   USCA Case
Commissioner    #24-1113
             - the          Document
                   independent regulator#2060757
                                         for online safety Filed: 06/20/2024
                                                           in Australia.            Page 106 of 313




PRESS RELEASE 1 11 June 2024

Commission services sign administrative arrangement with Australian eSafety
Commissioner to support the enforcement of social media regulations
(/en/news/commission-services-sign-administrative-arrangement-australian-esafety-
commissioner-support-0)

Today, the Commission services responsible for the enforcement of the Digital
Services Act (DSA) have signed an administrative arrangement with the eSafety
Commissioner - the independent regulator for online safety in Australia.




PRESS RELEASE I 07 June 2024

Statement by Commissioner Breton on steps announced by LinkedIn to comply with
DSA provisions on targeted advertisement Uen/news/statement-commissioner-breton-
steps-announced-linkedin-compjy-dsa-provisions-targeted-advertisementl

The Commission takes note of LinkedIn's announcement that it has fully
disabled the functionality allowing advertisers to target LinkedIn users with ads
on the basis of their membership in LinkedIn Groups in the EU Single Market.




NEWS ARTICLE I 06 June 2024

EU Internet Forum welcomes new members to combat harmful and illegal content online (/en/news/eu-
intemet-forum-welcomes-new-members-combat-harmful-and-illegal-content-online)

On June 4, 2024, the EU Internet Forum (EUIF) has met to expand its membership. Amazon,
SoundCloud, Mistral AI, DailyMotion, and the Institute for Strategic Dialogue - a civil society
organization - have become members of the EU Internet Forum.




                                     Browse Digital Services Act Package > Uentrelated-content?topic=1931

Related Content
Big Picture




                                                APP-628
                                                APP-628
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The Digital Services Act package (/en/policies/digital-services-act-package)

The Digital Services Act and Digital Markets Act aim to create a safer digital space where the
fundamental rights of users are protected and to establish a level playing field for businesses.

See Also


Trusted flaggers under the Digital Services Act (DSA) (ZZ
                                                        -ipolicies/trusted-t7aggers-
unde    sa.

Under DSA, trusted flaggers are responsible for detecting potentially illegal
content and alert online platforms. They are entities designated by the national
Digital Services Coordinators.



European Board for Digital Services Uen/policies/dsa-board)

The European Board for Digital Services is an independent advisory group that
has been established by the Digital Services Act, with effect from 17 February
2024.




                                                 APP-629
                                                 APP-629
     USCA Case #24-1113           Document #2060757               Filed: 06/20/2024     Page 108 of 313
DSA whistleblower tool Uen/policies/dsa-whistleblower-tool)

The DSA (Digital Services Act) whistleblower tool allows employees and other
insiders to report harmful practices of Very Large Online Platforms and Search
Engines (VLOPs/VLOSEs)



Digital Services Coordinators t/en/policies/dsa-dscs1

Digital Services Coordinators help the Commission to monitor and enforce
obligations in the Digital Services Act (DSA).



How the Digital Services Act enhances transparency online Uen/policies/dsa-brings-
transp     wyi_

The Digital Services Act (DSA) details a range of actions to promote
transparency and accountability of online services, without hindering innovation
and competitiveness.



Supervision of the designated very large online platforms and search engines under
DSA Uen/policies/list-designated-vlops-and-vloses)

This page provides an overview of the designated Very Large Online Platforms
(VLOPs) and Very Large Online Search Engines (VLOSEs) supervised by the
Commission and the main enforcement activities.



The impact of the Digital Services Act on digital platforms tIen/policiesIdsa-impact-
         ns.

Since August 2023, platforms have already started to change their systems and
interfaces according to the Digital Services Act (DSA) to provide a safer online
experience for all.



The enforcement framework under the Digital Services Act Ven/policiesidsa-
enforcementl

The enforcement of the Digital Services Act (DSA) includes a full set of
investigative and sanctioning measures that can be taken by national authorities
and the Commission.




                                                 APP-630
                                                 APP-630
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The cooperation framework under the Digital Services Act tIen/policies/dsa-cooperation)

The Digital Services Act (DSA) provides a framework for cooperation between
the Commission, EU and national authorities to ensure platforms meet its
obligations.



DSA: Making the online world safer,(/en/policies/safer-online)

Find out how the DSA can make the online world safer and protect your
fundamental rights.



European Centre for Algorithmic Transparency (Zetipolicies/ecat)

The European Centre for Algorithmic Transparency (ECAT) is committed to
improved understanding and proper regulation of algorithmic systems.




Last update

21 February 2024




     Print as PDF




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                                                APP-631
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                                                                         I
                                                                 (Legislative acts)




                                                          REGULATIONS

                 REGULATION (EU) 2022/2065 OF THE EUROPEAN PARLIAMENT AND OF THE COUNCIL
                                                              of 19 October 2022
              on a Single Market For Digital Services and amending Directive 2000/31/EC (Digital Services Act)

                                                            (Text with EEA relevance)



     THE EUROPEAN PARLIAMENT AND THE COUNCIL OF THE EUROPEAN UNION,


     Having regard to the Treaty on the Functioning of the European Union, and in particular Article 114 thereof,

     Having regard to the proposal from the European Commission,

     After transmission of the draft legislative act to the national parliaments,

     Having regard to the opinion of the European Economic and Social Committee ((1),
                                                                                  1
                                                                                    ),

     Having regard to the opinion of the Committee of the Regions ((2),
                                                                    2
                                                                     ),

     Acting in accordance with the ordinary legislative procedure ((3),
                                                                    3
                                                                     ),

     Whereas:

     (1)     Information society services and especially intermediary services have become an important part of the Union’s
                                                                                                                        Union's
             economy and the daily life of Union citizens. Twenty years after the adoption of the existing legal framework
             applicable to such services laid down in Directive 2000/31/EC of the European Parliament and of the Council ((4),4
                                                                                                                               ),
             new and innovative business models and services, such as online social networks and online platforms allowing
             consumers to conclude distance contracts with traders, have allowed business users and consumers to impart and
             access information and engage in transactions in novel ways. A majority of Union citizens now uses those services
             on a daily basis. However, the digital transformation and increased use of those services has also resulted in new
             risks and challenges for individual recipients of the relevant service, companies and society as a whole.

     (2)     Member States are increasingly introducing, or are considering introducing, national laws on the matters covered by
             this Regulation, imposing, in particular, diligence requirements for providers of intermediary services as regards the
             way they should tackle illegal content, online disinformation or other societal risks. Those diverging national laws
             negatively affect the internal market, which, pursuant to Article 26 of the Treaty on the Functioning of the
             European Union (TFEU), comprises an area without internal frontiers in which the free movement of goods and
             services and freedom of establishment are ensured, taking into account the inherently cross-border nature of the
             internet, which is generally used to provide those services. The conditions for the provision of intermediary services

     ((1)
       1
         ) OJ C 286, 16.7.2021, p. 70.
     ((2)
       2
         ) OJ C 440, 29.10.2021, p. 67.
     ((3)
       3
         ) Position of the European Parliament of 5 July 2022 (not yet published in the Official Journal) and decision of the Council
           of 4 October 2022.
     ((4)
       4
         ) Directive 2000/31/EC of the European Parliament and of the Council of 8 June 2000 on certain legal aspects of information society
           services, in particular electronic commerce, in the Internal Market ('Directive on electronic commerce') (OJ L 178, 17.7.2000, p. 1).


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                                                               APP-632
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     2.     Providers of intermediary services shall mandate their legal representatives for the purpose of being addressed in
     addition to or instead of such providers, by the Member States'
                                                                States’ competent authorities, the Commission and the Board, on
     all issues necessary for the receipt of, compliance with and enforcement of decisions issued in relation to this Regulation.
     Providers of intermediary services shall provide their legal representative with necessary powers and sufficient resources to
     guarantee their efficient and timely cooperation with the Member States’States' competent authorities, the Commission and
     the Board, and to comply with such decisions.

     3.    It shall be possible for the designated legal representative to be held liable for non-compliance with obligations under
     this Regulation, without prejudice to the liability and legal actions that could be initiated against the provider of
     intermediary services.

     4.     Providers of intermediary services shall notify the name, postal address, email address and telephone number of their
     legal representative to the Digital Services Coordinator in the Member State where that legal representative resides or is
     established. They shall ensure that that information is publicly available, easily accessible, accurate and kept up to date.

     5.    The designation of a legal representative within the Union pursuant to paragraph 1 shall not constitute an
     establishment in the Union.



                                                               Article 14

                                                        Terms and conditions

     1.    Providers of intermediary services shall include information on any restrictions that they impose in relation to the use
     of their service in respect of information provided by the recipients of the service, in their terms and conditions. That
     information shall include information on any policies, procedures, measures and tools used for the purpose of content
     moderation, including algorithmic decision-making and human review, as well as the rules of procedure of their internal
     complaint handling system. It shall be set out in clear, plain, intelligible, user-friendly and unambiguous language, and shall
     be publicly available in an easily accessible and machine-readable format.

     2.    Providers of intermediary services shall inform the recipients of the service of any significant change to the terms and
     conditions.

     3.    Where an intermediary service is primarily directed at minors or is predominantly used by them, the provider of that
     intermediary service shall explain the conditions for, and any restrictions on, the use of the service in a way that minors can
     understand.

     4.    Providers of intermediary services shall act in a diligent, objective and proportionate manner in applying and
     enforcing the restrictions referred to in paragraph 1, with due regard to the rights and legitimate interests of all parties
     involved, including the fundamental rights of the recipients of the service, such as the freedom of expression, freedom and
     pluralism of the media, and other fundamental rights and freedoms as enshrined in the Charter.

     5.   Providers of very large online platforms and of very large online search engines shall provide recipients of services
     with a concise, easily-accessible and machine-readable summary of the terms and conditions, including the available
     remedies and redress mechanisms, in clear and unambiguous language.

     6.   Very large online platforms and very large online search engines within the meaning of Article 33 shall publish their
     terms and conditions in the official languages of all the Member States in which they offer their services.



                                                               Article 15

                          Transparency reporting obligations for providers of intermediary services

     1.    Providers of intermediary services shall make publicly available, in a machine-readable format and in an easily
     accessible manner, at least once a year, clear, easily comprehensible reports on any content moderation that they engaged
     in during the relevant period. Those reports shall include, in particular, information on the following, as applicable:

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     (a) for providers of intermediary services, the number of orders received from Member States'
                                                                                            States’ authorities including orders
         issued in accordance with Articles 9 and 10, categorised by the type of illegal content concerned, the Member State
         issuing the order, and the median time needed to inform the authority issuing the order, or any other authority
         specified in the order, of its receipt, and to give effect to the order;

     (b) for providers of hosting services, the number of notices submitted in accordance with Article 16, categorised by the
         type of alleged illegal content concerned, the number of notices submitted by trusted flaggers, any action taken
         pursuant to the notices by differentiating whether the action was taken on the basis of the law or the terms and
         conditions of the provider, the number of notices processed by using automated means and the median time needed
         for taking the action;

     (c) for providers of intermediary services, meaningful and comprehensible information about the content moderation
         engaged in at the providers’
                               providers' own initiative, including the use of automated tools, the measures taken to provide
         training and assistance to persons in charge of content moderation, the number and type of measures taken that affect
         the availability, visibility and accessibility of information provided by the recipients of the service and the recipients’
                                                                                                                         recipients'
         ability to provide information through the service, and other related restrictions of the service; the information
         reported shall be categorised by the type of illegal content or violation of the terms and conditions of the service
         provider, by the detection method and by the type of restriction applied;

     (d) for providers of intermediary services, the number of complaints received through the internal complaint-handling
         systems in accordance with the provider’s
                                         provider's terms and conditions and additionally, for providers of online platforms, in
         accordance with Article 20, the basis for those complaints, decisions taken in respect of those complaints, the median
         time needed for taking those decisions and the number of instances where those decisions were reversed;

     (e) any use made of automated means for the purpose of content moderation, including a qualitative description, a
         specification of the precise purposes, indicators of the accuracy and the possible rate of error of the automated means
         used in fulfilling those purposes, and any safeguards applied.


     2.    Paragraph 1 of this Article shall not apply to providers of intermediary services that qualify as micro or small
     enterprises as defined in Recommendation 2003/361/EC and which are not very large online platforms within the
     meaning of Article 33 of this Regulation.


     3.    The Commission may adopt implementing acts to lay down templates concerning the form, content and other details
     of reports pursuant to paragraph 1 of this Article, including harmonised reporting periods. Those implementing acts shall
     be adopted in accordance with the advisory procedure referred to in Article 88.




                                                               SECTION 2


                   Additional provisions applicable to providers of hosting services, including online platforms




                                                               Article 16


                                                   Notice and action mechanisms


     1. Providers of hosting services shall put mechanisms in place to allow any individual or entity to notify them of the
     presence on their service of specific items of information that the individual or entity considers to be illegal content. Those
     mechanisms shall be easy to access and user-friendly, and shall allow for the submission of notices exclusively by electronic
     means.


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                                                          APP-634
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     6.    The Commission shall notify its decisions pursuant to paragraphs 4 and 5, without undue delay, to the provider of the
     online platform or of the online search engine concerned, to the Board and to the Digital Services Coordinator of
     establishment.


     The Commission shall ensure that the list of designated very large online platforms and very large online search engines is
     published in the Official Journal of
                                       of the European Union, and shall keep that list up to date. The obligations set out in this
     Section shall apply, or cease to apply, to the very large online platforms and very large online search engines concerned
     from four months after the notification to the provider concerned referred to in the first subparagraph.




                                                                 Article 34


                                                             Risk assessment


     1.    Providers of very large online platforms and of very large online search engines shall diligently identify, analyse and
     assess any systemic risks in the Union stemming from the design or functioning of their service and its related systems,
     including algorithmic systems, or from the use made of their services.


     They shall carry out the risk assessments by the date of application referred to in Article 33(6), second subparagraph, and at
     least once every year thereafter, and in any event prior to deploying functionalities that are likely to have a critical impact
     on the risks identified pursuant to this Article. This risk assessment shall be specific to their services and proportionate to
     the systemic risks, taking into consideration their severity and probability, and shall include the following systemic risks:

     (a) the dissemination of illegal content through their services;

     (b) any actual or foreseeable negative effects for the exercise of fundamental rights, in particular the fundamental rights to
         human dignity enshrined in Article 1 of the Charter, to respect for private and family life enshrined in Article 7 of
         the Charter, to the protection of personal data enshrined in Article 8 of the Charter, to freedom of expression and
         information, including the freedom and pluralism of the media, enshrined in Article 11 of the Charter, to non-
         discrimination enshrined in Article 21 of the Charter, to respect for the rights of the child enshrined in Article 24 of
         the Charter and to a high-level of consumer protection enshrined in Article 38 of the Charter;

     (c) any actual or foreseeable negative effects on civic discourse and electoral processes, and public security;

     (d) any actual or foreseeable negative effects in relation to gender-based violence, the protection of public health and
         minors and serious negative consequences to the person’s
                                                           person's physical and mental well-being.


     2.     When conducting risk assessments, providers of very large online platforms and of very large online search engines
     shall take into account, in particular, whether and how the following factors influence any of the systemic risks referred to
     in paragraph 1:

     (a) the design of their recommender systems and any other relevant algorithmic system;

     (b) their content moderation systems;

     (c) the applicable terms and conditions and their enforcement;

     (d) systems for selecting and presenting advertisements;

     (e) data related practices of the provider.


     The assessments shall also analyse whether and how the risks pursuant to paragraph 1 are influenced by intentional
     manipulation of their service, including by inauthentic use or automated exploitation of the service, as well as the
     amplification and potentially rapid and wide dissemination of illegal content and of information that is incompatible with
     their terms and conditions.


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     The assessment shall take into account specific regional or linguistic aspects, including when specific to a Member State.


     3.   Providers of very large online platforms and of very large online search engines shall preserve the supporting
     documents of the risk assessments for at least three years after the performance of risk assessments, and shall, upon
     request, communicate them to the Commission and to the Digital Services Coordinator of establishment.




                                                                Article 35


                                                          Mitigation of risks


     1.    Providers of very large online platforms and of very large online search engines shall put in place reasonable,
     proportionate and effective mitigation measures, tailored to the specific systemic risks identified pursuant to Article 34,
     with particular consideration to the impacts of such measures on fundamental rights. Such measures may include, where
     applicable:

     (a) adapting the design, features or functioning of their services, including their online interfaces;

     (b) adapting their terms and conditions and their enforcement;

     (c) adapting content moderation processes, including the speed and quality of processing notices related to specific types
         of illegal content and, where appropriate, the expeditious removal of, or the disabling of access to, the content
         notified, in particular in respect of illegal hate speech or cyber violence, as well as adapting any relevant decision-
         making processes and dedicated resources for content moderation;

     (d) testing and adapting their algorithmic systems, including their recommender systems;

     (e) adapting their advertising systems and adopting targeted measures aimed at limiting or adjusting the presentation of
         advertisements in association with the service they provide;

     (f) reinforcing the internal processes, resources, testing, documentation, or supervision of any of their activities in
         particular as regards detection of systemic risk;

     (g)
     (g) initiating or adjusting cooperation with trusted flaggers in accordance with Article 22 and the implementation of the
         decisions of out-of-court dispute settlement bodies pursuant to Article 21;

     (h) initiating or adjusting cooperation with other providers of online platforms or of online search engines through the
         codes of conduct and the crisis protocols referred to in Articles 45 and 48 respectively;

     (i)
     (i) taking awareness-raising measures and adapting their online interface in order to give recipients of the service more
         information;

     (j) taking targeted measures to protect the rights of the child, including age verification and parental control tools, tools
         aimed at helping minors signal abuse or obtain support, as appropriate;

     (k) ensuring that an item of information, whether it constitutes a generated or manipulated image, audio or video that
         appreciably resembles existing persons, objects, places or other entities or events and falsely appears to a person to be
         authentic or truthful is distinguishable through prominent markings when presented on their online interfaces, and, in
         addition, providing an easy to use functionality which enables recipients of the service to indicate such information.


     2.    The Board, in cooperation with the Commission, shall publish comprehensive reports, once a year. The reports shall
     include the following:

     (a) identification and assessment of the most prominent and recurrent systemic risks reported by providers of very large
         online platforms and of very large online search engines or identified through other information sources, in particular
         those provided in compliance with Articles 39, 40 and 42;


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     3.      As regards paragraph 2, points (a), (b) and (c), where a provider of very large online platform or of very large online
     search engine has removed or disabled access to a specific advertisement based on alleged illegality or incompatibility with
     its terms and conditions, the repository shall not include the information referred to in those points. In such case, the
     repository shall include, for the specific advertisement concerned, the information referred to in Article 17(3), points (a)
     to (e), or Article 9(2), point (a)(i), as applicable.


     The Commission may, after consultation of the Board, the relevant vetted researchers referred to in Article 40 and the
     public, issue guidelines on the structure, organisation and functionalities of the repositories referred to in this Article.




                                                               Article 40


                                                      Data access and scrutiny


     1.    Providers of very large online platforms or of very large online search engines shall provide the Digital Services
     Coordinator of establishment or the Commission, at their reasoned request and within a reasonable period specified in
     that request, access to data that are necessary to monitor and assess compliance with this Regulation.


     2.    Digital Services Coordinators and the Commission shall use the data accessed pursuant to paragraph 1 only for the
     purpose of monitoring and assessing compliance with this Regulation and shall take due account of the rights and
     interests of the providers of very large online platforms or of very large online search engines and the recipients of the
     service concerned, including the protection of personal data, the protection of confidential information, in particular trade
     secrets, and maintaining the security of their service.


     3.     For the purposes of paragraph 1, providers of very large online platforms or of very large online search engines shall,
     at the request of either the Digital Service Coordinator of establishment or of the Commission, explain the design, the logic,
     the functioning and the testing of their algorithmic systems, including their recommender systems.


     4.    Upon a reasoned request from the Digital Services Coordinator of establishment, providers of very large online
     platforms or of very large online search engines shall, within a reasonable period, as specified in the request, provide access
     to data to vetted researchers who meet the requirements in paragraph 8 of this Article, for the sole purpose of conducting
     research that contributes to the detection, identification and understanding of systemic risks in the Union, as set out
     pursuant to Article 34(1), and to the assessment of the adequacy, efficiency and impacts of the risk mitigation measures
     pursuant to Article 35.


     5.    Within 15 days following receipt of a request as referred to in paragraph 4, providers of very large online platforms or
     of very large online search engines may request the Digital Services Coordinator of establishment, to amend the request,
     where they consider that they are unable to give access to the data requested because one of following two reasons:

     (a) they do not have access to the data;

     (b) giving access to the data will lead to significant vulnerabilities in the security of their service or the protection of
         confidential information, in particular trade secrets.


     6.    Requests for amendment pursuant to paragraph 5 shall contain proposals for one or more alternative means through
     which access may be provided to the requested data or other data which are appropriate and sufficient for the purpose of
     the request.


     The Digital Services Coordinator of establishment shall decide on the request for amendment within 15 days and
     communicate to the provider of the very large online platform or of the very large online search engine its decision and,
     where relevant, the amended request and the new period to comply with the request.


     7.    Providers of very large online platforms or of very large online search engines shall facilitate and provide access to
     data pursuant to paragraphs 1 and 4 through appropriate interfaces specified in the request, including online databases or
     application programming interfaces.


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                                                          APP-637
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     8.    Upon a duly substantiated application from researchers, the Digital Services Coordinator of establishment shall grant
     such researchers the status of 'vetted
                                    ‘vetted researchers’
                                            researchers' for the specific research referred to in the application and issue a reasoned
     request for data access to a provider of very large online platform or of very large online search engine a pursuant to
     paragraph 4, where the researchers demonstrate that they meet all of the following conditions:

     (a) they are affiliated to a research organisation as defined in Article 2, point (1), of Directive (EU) 2019/790;

     (b) they are independent from commercial interests;

     (c) their application discloses the funding of the research;

     (d) they are capable of fulfilling the specific data security and confidentiality requirements corresponding to each request
         and to protect personal data, and they describe in their request the appropriate technical and organisational measures
         that they have put in place to this end;

     (e) their application demonstrates that their access to the data and the time frames requested are necessary for, and
         proportionate to, the purposes of their research, and that the expected results of that research will contribute to the
         purposes laid down in paragraph 4;

     (f) the planned research activities will be carried out for the purposes laid down in paragraph 4;

     (g) they have committed themselves to making their research results publicly available free of charge, within a reasonable
         period after the completion of the research, subject to the rights and interests of the recipients of the service
         concerned, in accordance with Regulation (EU) 2016/679.



     Upon receipt of the application pursuant to this paragraph, the Digital Services Coordinator of establishment shall inform
     the Commission and the Board.



     9.    Researchers may also submit their application to the Digital Services Coordinator of the Member State of the research
     organisation to which they are affiliated. Upon receipt of the application pursuant to this paragraph the Digital Services
     Coordinator shall conduct an initial assessment as to whether the respective researchers meet all of the conditions set out
     in paragraph 8. The respective Digital Services Coordinator shall subsequently send the application, together with the
     supporting documents submitted by the respective researchers and the initial assessment, to the Digital Services
     Coordinator of establishment. The Digital Services Coordinator of establishment shall take a decision whether to award a
     researcher the status of 'vetted
                              ‘vetted researcher’
                                      researcher' without undue delay.



     While taking due account of the initial assessment provided, the final decision to award a researcher the status of 'vetted
                                                                                                                         ‘vetted
     researcher’
     researcher' lies within the competence of Digital Services Coordinator of establishment, pursuant to paragraph 8.



     10.      The Digital Services Coordinator that awarded the status of vetted researcher and issued the reasoned request for
     data access to the providers of very large online platforms or of very large online search engines in favour of a vetted
     researcher shall issue a decision terminating the access if it determines, following an investigation either on its own
     initiative or on the basis of information received from third parties, that the vetted researcher no longer meets the
     conditions set out in paragraph 8, and shall inform the provider of the very large online platform or of the very large
     online search engine concerned of the decision. Before terminating the access, the Digital Services Coordinator shall allow
     the vetted researcher to react to the findings of its investigation and to its intention to terminate the access.



     11. Digital Services Coordinators of establishment shall communicate to the Board the names and contact information
     of the natural persons or entities to which they have awarded the status of 'vetted
                                                                                     ‘vetted researcher’
                                                                                             researcher' in accordance with
     paragraph 8, as well as the purpose of the research in respect of which the application was made or, where they have
     terminated the access to the data in accordance with paragraph 10, communicate that information to the Board.

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     12.     Providers of very large online platforms or of very large online search engines shall give access without undue delay
     to data, including, where technically possible, to real-time data, provided that the data is publicly accessible in their online
     interface by researchers, including those affiliated to not for profit bodies, organisations and associations, who comply
     with the conditions set out in paragraph 8, points (b), (c), (d) and (e), and who use the data solely for performing research
     that contributes to the detection, identification and understanding of systemic risks in the Union pursuant to Article 34(1).


     13.     The Commission shall, after consulting the Board, adopt delegated acts supplementing this Regulation by laying
     down the technical conditions under which providers of very large online platforms or of very large online search engines
     are to share data pursuant to paragraphs 1 and 4 and the purposes for which the data may be used. Those delegated acts
     shall lay down the specific conditions under which such sharing of data with researchers can take place in compliance with
     Regulation (EU) 2016/679, as well as relevant objective indicators, procedures and, where necessary, independent advisory
     mechanisms in support of sharing of data, taking into account the rights and interests of the providers of very large online
     platforms or of very large online search engines and the recipients of the service concerned, including the protection of
     confidential information, in particular trade secrets, and maintaining the security of their service.




                                                                 Article 41


                                                         Compliance function


     1. Providers of very large online platforms or of very large online search engines shall establish a compliance function,
     which is independent from their operational functions and composed of one or more compliance officers, including the
     head of the compliance function. That compliance function shall have sufficient authority, stature and resources, as well as
     access to the management body of the provider of the very large online platform or of the very large online search engine to
     monitor the compliance of that provider with this Regulation.


     2.    The management body of the provider of the very large online platform or of the very large online search engine shall
     ensure that compliance officers have the professional qualifications, knowledge, experience and ability necessary to fulfil
     the tasks referred to in paragraph 3.


     The management body of the provider of the very large online platform or of the very large online search engine shall
     ensure that the head of the compliance function is an independent senior manager with distinct responsibility for the
     compliance function.


     The head of the compliance function shall report directly to the management body of the provider of the very large online
     platform or of the very large online search engine, and may raise concerns and warn that body where risks referred to
     in Article 34 or non-compliance with this Regulation affect or may affect the provider of the very large online platform or
     of the very large online search engine concerned, without prejudice to the responsibilities of the management body in its
     supervisory and managerial functions.


     The head of the compliance function shall not be removed without prior approval of the management body of the provider
     of the very large online platform or of the very large online search engine.


     3.    Compliance officers shall have the following tasks:

     (a) cooperating with the Digital Services Coordinator of establishment and the Commission for the purpose of this
         Regulation;

     (b) ensuring that all risks referred to in Article 34 are identified and properly reported on and that reasonable,
         proportionate and effective risk-mitigation measures are taken pursuant to Article 35;

     (c) organising and supervising the activities of the provider of the very large online platform or of the very large online
         search engine relating to the independent audit pursuant to Article 37;

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     (d) informing and advising the management and employees of the provider of the very large online platform or of the very
         large online search engine about relevant obligations under this Regulation;

     (e) monitoring the compliance of the provider of the very large online platform or of the very large online search engine
         with its obligations under this Regulation;

     (f) where applicable, monitoring the compliance of the provider of the very large online platform or of the very large
         online search engine with commitments made under the codes of conduct pursuant to Articles 45 and 46 or the crisis
         protocols pursuant to Article 48.


     4.    Providers of very large online platforms or of very large online search engines shall communicate the name and
     contact details of the head of the compliance function to the Digital Services Coordinator of establishment and to
     the Commission.


     5.    The management body of the provider of the very large online platform or of the very large online search engine shall
     define, oversee and be accountable for the implementation of the provider's governance arrangements that ensure the
     independence of the compliance function, including the division of responsibilities within the organisation of the provider
     of very large online platform or of very large online search engine, the prevention of conflicts of interest, and sound
     management of systemic risks identified pursuant to Article 34.


     6.    The management body shall approve and review periodically, at least once a year, the strategies and policies for taking
     up, managing, monitoring and mitigating the risks identified pursuant to Article 34 to which the very large online platform
     or the very large online search engine is or might be exposed to.


     7.    The management body shall devote sufficient time to the consideration of the measures related to risk management.
     It shall be actively involved in the decisions related to risk management, and shall ensure that adequate resources are
     allocated to the management of the risks identified in accordance with Article 34.




                                                                 Article 42


                                                 Transparency reporting obligations


     1.    Providers of very large online platforms or of very large online search engines shall publish the reports referred to
     in Article 15 at the latest by two months from the date of application referred to in Article 33(6), second subparagraph,
     and thereafter at least every six months.


     2.    The reports referred to in paragraph 1 of this Article published by providers of very large online platforms shall, in
     addition to the information referred to in Article 15 and Article 24(1), specify:

     (a) the human resources that the provider of very large online platforms dedicates to content moderation in respect of the
         service offered in the Union, broken down by each applicable official language of the Member States, including for
         compliance with the obligations set out in Articles 16 and 22, as well as for compliance with the obligations set out
         in Article 20;

     (b) the qualifications and linguistic expertise of the persons carrying out the activities referred to in point (a), as well as the
         training and support given to such staff;

     (c) the indicators of accuracy and related information referred to in Article 15(1), point (e), broken down by each official
         language of the Member States.


     The reports shall be published in at least one of the official languages of the Member States.


     3.    In addition to the information referred to in Articles 24(2), the providers of very large online platforms or of very
     large online search engines shall include in the reports referred to in paragraph 1 of this Article the information on the
     average monthly recipients of the service for each Member State.

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     4.     Providers of very large online platforms or of very large online search engines shall transmit to the Digital Services
     Coordinator of establishment and the Commission, without undue delay upon completion, and make publicly available at
     the latest three months after the receipt of each audit report pursuant to Article 37(4):

     (a) a report setting out the results of the risk assessment pursuant to Article 34;

     (b) the specific mitigation measures put in place pursuant to Article 35(1);

     (c) the audit report provided for in Article 37(4);

     (d) the audit implementation report provided for in Article 37(6);

     (e) where applicable, information about the consultations conducted by the provider in support of the risk assessments
         and design of the risk mitigation measures.


     5.    Where a provider of very large online platform or of very large online search engine considers that the publication of
     information pursuant to paragraph 4 might result in the disclosure of confidential information of that provider or of the
     recipients of the service, cause significant vulnerabilities for the security of its service, undermine public security or harm
     recipients, the provider may remove such information from the publicly available reports. In that case, the provider shall
     transmit the complete reports to the Digital Services Coordinator of establishment and the Commission, accompanied by a
     statement of the reasons for removing the information from the publicly available reports.




                                                               Article 43


                                                           Supervisory fee


     1.   The Commission shall charge providers of very large online platforms and of very large online search engines an
     annual supervisory fee upon their designation pursuant to Article 33.


     2.     The overall amount of the annual supervisory fees shall cover the estimated costs that the Commission incurs in
     relation to its supervisory tasks under this Regulation, in particular costs related to the designation pursuant to Article 33,
     to the set-up, maintenance and operation of the database pursuant to Article 24(5) and to the information sharing system
     pursuant to Article 85, to referrals pursuant to Article 59, to supporting the Board pursuant to Article 62 and to the
     supervisory tasks pursuant to Article 56 and Section 4 of Chapter IV.


     3.   The providers of very large online platforms and of very large online search engines shall be charged annually a
     supervisory fee for each service for which they have been designated pursuant to Article 33.


     The Commission shall adopt implementing acts establishing the amount of the annual supervisory fee in respect of each
     provider of very large online platform or of very large online search engine. When adopting those implementing acts, the
     Commission shall apply the methodology laid down in the delegated act referred to in paragraph 4 of this Article and shall
     respect the principles set out in paragraph 5 of this Article. Those implementing acts shall be adopted in accordance with
     the advisory procedure referred to in Article 88.


     4.   The Commission shall adopt delegated acts, in accordance with Article 87, laying down the detailed methodology and
     procedures for:

     (a) the determination of the estimated costs referred to in paragraph 2;

     (b) the determination of the individual annual supervisory fees referred to in paragraph 5, points (b) and (c);

     (c) the determination of the maximum overall limit defined in paragraph 5, point (c); and

     (d) the detailed arrangements necessary to make payments.


     When adopting those delegated acts, the Commission shall respect the principles set out in paragraph 5 of this Article.


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                                                                Article 93

                                                   Entry into force and application

     1.    This Regulation shall enter into force on the twentieth day following that of its publication in the Official Journal of
                                                                                                                                 of the
     European Union.

     2.     This Regulation shall apply from 17 February 2024.

     However, Article 24(2), (3) and (6), Article 33(3) to (6), Article 37(7), Article 40(13), Article 43 and Sections 4, 5 and 6
     of Chapter IV shall apply from 16 November 2022.



                   This Regulation shall be binding in its entirety and directly applicable in all Member States.


                   Done at Strasbourg, 19 October 2022.


                          For the European Parliament                                       For the Council
                                  The President                                              The President
                                 R. METSOLA                                                    M. BEK




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                                                           APP-642
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              SCHEDULED FOR ORAL
              SCHEDULED FOR      ARGUMENT IN
                            ORAL ARGUMENT IN SEPTEMBER 2024
                                             SEPTEMBER 2024

                     IN
                     IN THE UNITED STATES
                        THE UNITED STATES COURT
                                          COURT OF APPEALS
                                                OF APPEALS
                     FOR
                      FOR THE
                          THE DISTRICT OF COLUMBIA
                              DISTRICT OF          CIRCUIT
                                          COLUMBIA CIRCUIT




  TIKTOK
  TIKTOK INC.,
         INC.,

        and
        and

  BYTEDANCE LTD.,
  BYTEDANCE LTD.,

                             Petitioners,
                             Petitioners,

         v.
         v.
                                                        No. 24-1113
                                                        No. 24-1113
  MERRICK B.
  MERRICK     B. GARLAND,
                 GARLAND, in in his
                                his official
                                    official
  capacity
  capacity as
           as Attorney
              Attorney General
                       General of the United
                               of the United
  States,
  States,

                             Respondent.
                             Respondent.




                          DECLARATION OF
                          DECLARATION OF RANDAL
                                         RANDAL S. MILCH
                                                S. MILCH

                                        JUNE 17, 2024
                                        JUNE 17, 2024




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                            time-consuming             and complex
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                A "qualified divestiture" of
                                          of TikTok’s  U.S. application
                                             TikTok's U.S.              is not
                                                            application is not
                operationally
                operationally feasible within the
                              feasible within the timeline
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                                                           required by the Act
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 I.
 I.       QUALIFICATIONS
          QUALIFICATIONS

          1.
          1.        II am
                       am aa Professor
                             Professor of Practice at
                                       of Practice at New
                                                      New York University ("NYU")
                                                          York University (“NYU”) School
                                                                                  School of Law,
                                                                                         of Law,

 where II have
 where         taught courses
          have taught         in cybersecurity,
                      courses in cybersecurity, hacking,
                                                hacking, regulation,
                                                         regulation, and
                                                                     and corporate governance
                                                                         corporate governance

 since 2018. II am
 since 2018.    am aa Faculty
                      Faculty Director
                              Director of the NYU
                                       of the NYU Master
                                                  Master of
                                                         of Science in Cybersecurity
                                                            Science in               Risk &
                                                                       Cybersecurity Risk &

 Strategy Program. II also
 Strategy Program.    also serve as the
                           serve as the co-chair
                                        co-chair of the NYU
                                                 of the NYU Center
                                                            Center for
                                                                   for Cybersecurity. In these
                                                                       Cybersecurity. In these

 roles,
 roles, II have
           have developed,
                developed, and
                           and II direct,
                                  direct, an
                                          an academic
                                             academic program that seeks
                                                      program that       to bridge
                                                                   seeks to bridge the
                                                                                   the gaps
                                                                                       gaps between
                                                                                            between

 technical and
 technical and non-technical
               non-technical cybersecurity
                             cybersecurity professionals.
                                           professionals. Since 2015, II have
                                                          Since 2015,         also been
                                                                         have also been aa

 Distinguished Fellow
 Distinguished Fellow at the Reiss
                      at the Reiss Center
                                   Center for
                                          for Law
                                              Law and
                                                  and Security
                                                      Security at NYU School
                                                               at NYU School of Law. II was
                                                                             of Law.    was

 previously
 previously aa lecturer
               lecturer in
                        in law
                           law at
                               at Columbia Business School,
                                  Columbia Business         where II co-taught
                                                    School, where    co-taught aa course
                                                                                  course on
                                                                                         on public
                                                                                            public

 policy
 policy and business strategy.
        and business strategy.

          2.
          2.        Prior to
                    Prior to my work at
                             my work    NYU, II was
                                     at NYU,    was employed for 21
                                                    employed for 21 years
                                                                    years at Verizon
                                                                          at Verizon

 Communications Inc. ("Verizon")
 Communications Inc. (“Verizon”) and
                                 and its
                                     its corporate
                                         corporate predecessor      Atlantic. 1 From
                                                               Bell Atlantic.'
                                                   predecessor Bell             From 2008
                                                                                     2008 to
                                                                                          to

 2014, II served
 2014,           as Verizon’s
          served as           Executive Vice
                    Verizon's Executive      President, Public
                                        Vice President, Public Policy,
                                                               Policy, and
                                                                       and General
                                                                           General Counsel. In
                                                                                   Counsel. In

 that role
 that role II was
              was responsible for, among
                  responsible for, among other matters, all
                                         other matters, all state, federal, and
                                                            state, federal,     international
                                                                            and international

 regulatory,
 regulatory, public
             public policy, and national
                    policy, and national security
                                         security issues at Verizon.
                                                  issues at          Beginning in
                                                            Verizon. Beginning in 2008,
                                                                                  2008, II was
                                                                                           was the
                                                                                               the

 senior
 senior officer at Verizon
        officer at Verizon holding
                           holding aa Top
                                      Top Secret/Sensitive
                                          Secret/Sensitive Compartmented
                                                           Compartmented Information
                                                                         Information security
                                                                                     security

 clearance.
 clearance. II received that clearance
               received that           in 2006,
                             clearance in 2006, when
                                                when II began
                                                        began serving
                                                              serving as the Senior
                                                                      as the        Vice President
                                                                             Senior Vice President

 and
 and General
     General Counsel
             Counsel of Verizon Business,
                     of Verizon Business, Verizon's
                                          Verizon’s global
                                                    global enterprise
                                                           enterprise business. From 2000
                                                                      business. From 2000 to
                                                                                          to

 2005, II served
 2005,           as the
          served as the Senior Vice President
                        Senior Vice President and
                                              and General
                                                  General Counsel
                                                          Counsel of
                                                                  of Verizon
                                                                     Verizon Telecom, where II
                                                                             Telecom, where


 1
      For the
      For  the remainder  of my
               remainder of  my declaration,
                                 declaration, II include
                                                 include all of Verizon’s
                                                         all of            corporate predecessors
                                                                Verizon's corporate  predecessors (including
                                                                                                  (including General
                                                                                                             General
      Telephone
      Telephone & & Electronics
                     Electronics Corporation,
                                 Corporation, or or "GTE")
                                                    “GTE”) in   the teen
                                                             in the term "Verizon."
                                                                          “Verizon.” Verizon  was created
                                                                                     Verizon was          by the
                                                                                                  created by the merger
                                                                                                                 merger of
                                                                                                                        of
      Bell Atlantic
      Bell  Atlantic with
                     with GTE  in 2000.
                          GTE in  2000. Both
                                         Both parties
                                                parties brought
                                                        brought with
                                                                 with them
                                                                       them their
                                                                            their long-held
                                                                                  long-held legacy wireline assets.
                                                                                            legacy wireline         See
                                                                                                            assets. See
      “Bell Atlantic
      "Bell  Atlantic and
                      and GTE
                          GTE Complete
                                Complete Their     Merger and
                                           Their Merger         Become Verizon
                                                           and Become     Verizon Communications,”
                                                                                   Communications," Verizon   News
                                                                                                     Verizon News
      Archives, June
      Archives,  June 30,
                       30, 2000, https://www.verizon.com/about/news/press-releases/bell-atlantic-and-gte-complete-
                           2000, https://www.verizon.com/about/news/press-releases/bell-atlantic-and-gte-complete-
      their-merger-and-become-verizon-communications.
      their-merger-and-become-verizon-communications.



                                                             1
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 was responsible
 was             for, among
     responsible for, among other
                            other matters,
                                  matters, all
                                           all state
                                               state regulatory and public
                                                     regulatory and public policy issues affecting
                                                                           policy issues affecting

 Verizon’s landline
 Verizon's          businesses in
           landline businesses    the United
                               in the United States. In the
                                             States. In the foregoing
                                                            foregoing roles at Verizon,
                                                                      roles at Verizon, II was
                                                                                           was

 involved in
 involved in the
             the divestiture
                 divestiture of
                             of numerous
                                numerous assets,
                                         assets, as
                                                 as II will
                                                       will describe
                                                            describe later
                                                                     later in this declaration.
                                                                           in this declaration.

        3.
        3.      From 1997
                From      to 2000,
                     1997 to 2000, II served as Vice
                                      served as      President and
                                                Vice President     Associate General
                                                               and Associate General Counsel
                                                                                     Counsel of
                                                                                             of

 Bell Atlantic,
 Bell           where my
      Atlantic, where my responsibilities included implementation
                         responsibilities included implementation of
                                                                  of all aspects of
                                                                     all aspects    the 1996
                                                                                 of the 1996

 Telecommunications
 Telecommunications Act, including its
                    Act, including its competition
                                       competition provisions.
                                                   provisions. This
                                                               This role included developing
                                                                    role included developing

 and
 and litigating the case
     litigating the      before the
                    case before the New
                                    New York
                                        York Public
                                             Public Service
                                                    Service Commission that resulted
                                                            Commission that resulted in
                                                                                     in Verizon
                                                                                        Verizon

 New York
 New York being
          being the
                the first
                    first Bell
                          Bell company
                               company allowed to enter
                                       allowed to       the long
                                                  enter the long distance and enterprise
                                                                 distance and enterprise

 markets.
 markets. The
          The principal
              principal issue in that
                        issue in that case
                                      case concerned the development
                                           concerned the development of
                                                                     of software
                                                                        software operation
                                                                                 operation

 support
 support systems to interconnect
         systems to interconnect competitors’
                                 competitors' ordering
                                              ordering systems with Bell
                                                       systems with Bell Atlantic-New
                                                                         Atlantic-New York’s
                                                                                      York's

 operations
 operations systems.
            systems. II was,
                        was, as
                             as aa result,
                                   result, deeply involved in
                                           deeply involved in the
                                                              the requirements for, and
                                                                  requirements for, and testing
                                                                                        testing of,
                                                                                                of,

 complex
 complex software.
         software. II joined
                      joined aa Bell
                                Bell Atlantic
                                     Atlantic subsidiary, Bell Atlantic-Maryland,
                                              subsidiary, Bell Atlantic-Maryland, in
                                                                                  in 1993
                                                                                     1993 as
                                                                                          as aa

 regulatory attorney.
 regulatory attorney.

        4.
        4.      II received
                   received my bachelor’s degree
                            my bachelor's        in American
                                          degree in American History
                                                             History from
                                                                     from Yale University in
                                                                          Yale University in

 1980,
 1980, and
       and my
           my Juris Doctor (J.D.)
              Juris Doctor (J.D.) from
                                  from NYU
                                       NYU School
                                           School of Law in
                                                  of Law in 1985.
                                                            1985. II held
                                                                     held aa judicial
                                                                             judicial clerkship
                                                                                      clerkship

 for the Honorable
 for the Honorable Clement F. Haynsworth,
                   Clement F. Haynsworth, Jr., in the
                                          Jr., in the United
                                                      United States
                                                             States Court
                                                                    Court of
                                                                          of Appeals for the
                                                                             Appeals for the

 Fourth Circuit.
 Fourth          A current
        Circuit. A current copy
                           copy of
                                of my
                                   my curriculum vitae is
                                      curriculum vitae is included as Appendix
                                                          included as Appendix A
                                                                               A to
                                                                                 to this
                                                                                    this

 declaration.
 declaration. II have
                 have previously testified under
                      previously testified under oath before various
                                                 oath before various Committees
                                                                     Committees of
                                                                                of Congress,
                                                                                   Congress,

 including on
 including on national
              national security issues. A
                       security issues.   list of
                                        A list of my unclassified testimony
                                                  my unclassified testimony is
                                                                            is included
                                                                               included in
                                                                                        in my
                                                                                           my

 curriculum vitae.
 curriculum vitae.

        5.
        5.      In
                In preparing this declaration,
                   preparing this declaration, II received
                                                  received research
                                                           research support
                                                                    support from
                                                                            from individuals
                                                                                 individuals at
                                                                                             at

 Analysis
 Analysis Group, Inc., aa consulting
          Group, Inc.,               firm, working
                          consulting firm, working under
                                                   under my
                                                         my direction
                                                            direction and guidance.
                                                                      and guidance.




                                                    2
                                                    2
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           6.
           6.        The
                     The sources
                         sources II have
                                    have relied upon are
                                         relied upon are cited throughout this
                                                         cited throughout this declaration.
                                                                               declaration. Should
                                                                                            Should

 additional
 additional relevant
            relevant documents
                     documents or
                               or information be made
                                  information be      available to
                                                 made available to me,
                                                                   me, II may
                                                                          may adjust
                                                                              adjust or
                                                                                     or

 supplement
 supplement my
            my opinions as appropriate.
               opinions as appropriate.


 II.
 II.       ASSIGNMENT AND
           ASSIGNMENT AND SUMMARY OF OPINIONS
                          SUMMARY OF OPINIONS

           7.
           7.        II have been retained
                        have been          by Counsel
                                  retained by Counsel for
                                                      for TikTok
                                                          TikTok Inc.
                                                                 Inc. and ByteDance Ltd.
                                                                      and ByteDance Ltd. (together,
                                                                                         (together,

 “Petitioners”)2 to
 "Petitioners")2 to evaluate whether aa potential
                    evaluate whether    potential divestiture
                                                  divestiture of the integrated
                                                              of the            global TikTok
                                                                     integrated global TikTok

 platform’s (“TikTok”) U.S.
 platform's ("TikTok") U.S. application is feasible
                            application is          from an
                                           feasible from an operational
                                                            operational perspective within the
                                                                        perspective within the

 timeframe and
 timeframe     under the
           and under the restrictions
                         restrictions set
                                      set out in the
                                          out in the Protecting
                                                     Protecting Americans from Foreign
                                                                Americans from Foreign Adversary
                                                                                       Adversary

 Controlled Applications Act
 Controlled Applications     (the "Act"),
                         Act (the “Act”), signed
                                          signed on
                                                 on April 24, 2024.
                                                    April 24, 2024.

           8.
           8.        On its face,
                     On its face, the
                                  the Act
                                      Act appears to present
                                          appears to         Petitioners with
                                                     present Petitioners with aa choice: (a) sell
                                                                                 choice: (a) sell TikTok’s
                                                                                                  TikTok's

 U.S. application
 U.S. application on terms set
                  on terms set out
                               out in the Act,
                                   in the Act, or (b) be
                                               or (b) be banned
                                                         banned from
                                                                from operating
                                                                     operating TikTok
                                                                               TikTok in the
                                                                                      in the

 United States.
 United States. The ban occurs
                The ban        by default
                        occurs by default under the Act
                                          under the     by making
                                                    Act by        it unlawful
                                                           making it unlawful in the United
                                                                              in the United

 States to: (1)
 States to: (1) provide internet hosting
                provide internet hosting services to Petitioners;
                                         services to Petitioners; and (2) distribute
                                                                  and (2) distribute mobile
                                                                                     mobile

 applications
 applications operated by Petitioners
              operated by Petitioners after
                                      after January
                                            January 19, 2025 (or,
                                                    19, 2025 (or, if the President
                                                                  if the President permits, after
                                                                                   permits, after

 April
 April 19, 2025).3 Thus,
       19, 2025).3       the TikTok
                   Thus, the TikTok application will be
                                    application will be banned
                                                        banned within
                                                               within the
                                                                      the United
                                                                          United States after
                                                                                 States after

 these deadlines
 these           unless Petitioners
       deadlines unless Petitioners have
                                    have made
                                         made aa "qualified
                                                 “qualified divestiture”
                                                            divestiture" of
                                                                         of TikTok’s U.S.
                                                                            TikTok's U.S.

 application
 application on
             on or before the
                or before     deadlines.44
                          the deadlines.




 22
       “ByteDance Ltd."
       "ByteDance   Ltd.” is
                          is aa corporate
                                corporate entity
                                          entity incorporated in the
                                                 incorporated in the Cayman
                                                                     Cayman Islands.   “TikTok Inc.”
                                                                              Islands. "TikTok   Inc." is
                                                                                                       is aa corporate
                                                                                                             corporate entity
                                                                                                                       entity
       incorporated in the
       incorporated in the United
                           United States.   “TikTok” is
                                    States. "TikTok"  is an online application
                                                         an online             that includes
                                                                   application that          the TikTok
                                                                                    includes the           mobile application
                                                                                                 TikTok mobile     application
       and
       and TikTok  through aa web
           TikTok through       web browser.
                                    browser.
 3
 3
       The Act, Section
       The Act,         2(a)(1).
                Section 2(a)(1).
 44
       The  prohibition defined
       The prohibition   defined by
                                  by the
                                     the Act
                                         Act takes
                                             takes effect on January
                                                   effect on January 19,   2025, which
                                                                      19, 2025,  which is
                                                                                       is 270
                                                                                          270 days
                                                                                              days after
                                                                                                   after the
                                                                                                         the enactment
                                                                                                             enactment ofof
       the Act
       the Act (on  April 24,
                (on April  24, 2024).
                               2024). The  President may
                                      The President  may extend   this deadline
                                                          extend this           by three
                                                                       deadline by three months
                                                                                         months (to April 19,
                                                                                                (to April      2025) if
                                                                                                           19, 2025) if aa
       path to
       path to aa qualified
                  qualified divestiture has been
                            divestiture has been identified or significant
                                                 identified or significant progress has been
                                                                           progress has been made.
                                                                                              made. The  Act, Section
                                                                                                    The Act,  Section
       2(a)(2)-(3).
       2(a)(2)-(3).



                                                               33
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                                                      APP-647
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           9.
           9.         As
                      As II discuss below, it
                            discuss below, it is my opinion
                                              is my         that the
                                                    opinion that the divestiture
                                                                     divestiture option is entirely
                                                                                 option is entirely illusory
                                                                                                    illusory

 and that the
 and that the Act in fact
              Act in fact imposes
                          imposes aa ban
                                     ban on
                                         on TikTok’s U.S. application
                                            TikTok's U.S. application after the relevant
                                                                      after the          deadlines.'5
                                                                                relevant deadlines.

 Because aa "qualified
 Because    “qualified divestiture” under the
                       divestiture" under the Act
                                              Act is
                                                  is one
                                                     one in which the
                                                         in which the TikTok application operated
                                                                      TikTok application operated

 in the
 in the United
        United States
               States cannot
                      cannot have “any operational
                             have "any operational relationship”      Petitioners, 6 it
                                                                 with Petitioners,6
                                                   relationship" with                it is
                                                                                        is my
                                                                                           my opinion
                                                                                              opinion

 that aa "qualified
 that    “qualified divestiture”
                    divestiture" of
                                 of TikTok’s U.S. application
                                    TikTok's U.S. application would
                                                              would not be operationally
                                                                    not be operationally feasible by
                                                                                         feasible by

 January (or even
 January (or even April) 2025. II base
                  April) 2025.    base my
                                       my opinion
                                          opinion on
                                                  on my: (1) review
                                                     my: (1) review of
                                                                    of relevant
                                                                       relevant literature,
                                                                                literature,

 (2) review
 (2) review of
            of information
               information about
                           about TikTok, (3) experience
                                 TikTok, (3)            with complex
                                             experience with complex divestitures
                                                                     divestitures of
                                                                                  of highly
                                                                                     highly

 integrated assets,
 integrated         and (4)
            assets, and (4) evaluation
                            evaluation of
                                       of publicly
                                          publicly available information on
                                                   available information on divestitures
                                                                            divestitures in the
                                                                                         in the

 technology, media,
 technology, media, and telecommunications ("TMT")
                    and telecommunications (“TMT”) sector.
                                                   sector.

           10.
           10.        As
                      As II explain below, divestitures
                            explain below, divestitures of
                                                        of highly integrated assets
                                                           highly integrated assets are
                                                                                    are complex
                                                                                        complex and time-
                                                                                                and time-

 consuming
 consuming processes.
           processes. Sellers
                      Sellers and buyers of
                              and buyers of divested
                                            divested assets must undertake
                                                     assets must undertake two
                                                                           two efforts.
                                                                               efforts. The first
                                                                                        The first

 effort
 effort can be thought
        can be thought of
                       of as
                          as comprising “corporate” steps,
                             comprising "corporate" steps, such
                                                           such as
                                                                as negotiations between buyer
                                                                   negotiations between buyer and
                                                                                              and

 seller, the signing
 seller, the signing of
                     of aa definitive agreement between
                           definitive agreement between the
                                                        the parties,
                                                            parties, seeking
                                                                     seeking regulatory approval for
                                                                             regulatory approval for

 the deal,
 the deal, and the closing
           and the closing of the transaction.
                           of the transaction. The
                                               The second
                                                   second effort (which may
                                                          effort (which may partially
                                                                            partially overlap with
                                                                                      overlap with

 the first)
 the first) involves
            involves "operational"
                     “operational” steps, which generally
                                   steps, which generally entail
                                                          entail planning
                                                                 planning for
                                                                          for and
                                                                              and executing the
                                                                                  executing the




 55
      II have
         have been
               been instructed   by Counsel
                     instructed by  Counsel to   to assume    that the
                                                    assume that     the asset  to be
                                                                        asset to       divested in
                                                                                   be divested   in any
                                                                                                    any qualified  divestiture would
                                                                                                         qualified divestiture  would bebe
      the TikTok
      the           U.S. application,
           TikTok U.S.    application, as  opposed to
                                        as opposed       to discrete
                                                            discrete assets
                                                                       assets of   the TikTok
                                                                               of the           business. For
                                                                                       TikTok business.    For this
                                                                                                                this reason,
                                                                                                                     reason, II have
                                                                                                                                have not
                                                                                                                                      not
      analyzed    the timelines
       analyzed the   timelines associated
                                 associated withwith theoretical
                                                       theoretical options
                                                                     options ofof aa buyer
                                                                                     buyer acquiring    only parts
                                                                                            acquiring only         of TikTok’s
                                                                                                             parts of             U.S.
                                                                                                                       TikTok's U.S.
      application   or buying
       application or   buying the
                                the application
                                    application with with the
                                                           the intention
                                                               intention to to engage
                                                                               engage in in asset stripping, such
                                                                                            asset stripping, such as  by liquidating
                                                                                                                   as by liquidating any
                                                                                                                                       any
      real estate
      real  estate assets or monetizing
                   assets or monetizing solely
                                           solely its its user
                                                          user list
                                                               list data.
                                                                    data. II understand    that Counsel’s
                                                                             understand that    Counsel's interpretation    is consistent
                                                                                                            interpretation is  consistent
      with the
      with   the language
                 language of   the Act,
                            of the Act, which
                                        which contemplates
                                                   contemplates the  the qualified
                                                                         qualified divestiture     of the
                                                                                      divestiture of  the TikTok   “application,” as
                                                                                                          TikTok "application,"        well
                                                                                                                                    as well
      as  statements from
       as statements   from congressional       sponsors. Rep.
                             congressional sponsors.        Rep. Krishnamoorthi,
                                                                   Krishnamoorthi, for   for example,
                                                                                             example, has
                                                                                                        has stated:
                                                                                                            stated: "This
                                                                                                                    “This particular
                                                                                                                           particular bill
                                                                                                                                       bill
      ensures   that ByteDance
       ensures that  ByteDance divests
                                   divests itself
                                           itself of of the
                                                        the vast
                                                            vast majority
                                                                  majority of of the
                                                                                 the ownership
                                                                                      ownership of of TikTok.
                                                                                                       TikTok. Our
                                                                                                                Our intention   is for
                                                                                                                     intention is  for
      TikTok
       TikTok toto continue
                   continue to
                             to operate
                                 operate [.
                                         […].”      “House Debate
                                            . . ]." "House    Debate on on H.R.
                                                                            H.R. 7521,     H1163-1171,” Congressional
                                                                                   7521, H1163-1171,"                       Record —
                                                                                                           Congressional Record       —
      House, March
      House,    March 13,   2024, https://www.congress.gov/118/crec/2024/03/13/170/45/CREC-2024-03-13-ptl-
                        13, 2024,  https://www.congress.gov/118/crec/2024/03/13/170/45/CREC-2024-03-13-pt1-
      PgH1163-2.pdf.
      PgH1163-2.pdf.
 66
      The Act "precludes
      The Act  “precludes the
                            the establishment  or maintenance
                                establishment or  maintenance of
                                                               of any operational relationship
                                                                  any operational  relationship between
                                                                                                 between thethe United
                                                                                                                United States
                                                                                                                         States
      operations of
      operations of the
                    the relevant
                         relevant foreign
                                  foreign adversary
                                          adversary controlled
                                                     controlled application
                                                                application and
                                                                             and any  formerly affiliated
                                                                                 any formerly   affiliated entities  that are
                                                                                                            entities that are
      controlled by
      controlled by aa foreign
                       foreign adversary,
                                adversary, including
                                           including any cooperation with
                                                     any cooperation  with respect
                                                                            respect to
                                                                                    to the
                                                                                       the operation
                                                                                           operation ofof aa content
                                                                                                             content
      recommendation algorithm
      recommendation                or an
                         algorithm or  an agreement  with respect
                                          agreement with          to data
                                                          respect to data sharing.”
                                                                          sharing." The   Act, Section
                                                                                     The Act,            2(g)(6)(B).
                                                                                               Section 2(g)(6)(B).



                                                                      44
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                                                           APP-648
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 carve-out
 carve-out of the financial,
           of the financial, personnel,
                             personnel, physical,
                                        physical, and
                                                  and software assets that
                                                      software assets that will
                                                                           will be
                                                                                be divested with the
                                                                                   divested with the

 business.
 business.

          11.
          11.       These
                    These operational
                          operational steps,
                                      steps, particularly in complex
                                             particularly in complex divestitures
                                                                     divestitures of
                                                                                  of highly
                                                                                     highly integrated
                                                                                            integrated

 assets, take aa considerable
 assets, take                 length of
                 considerable length    time.7 In
                                     of time.' In each
                                                  each example
                                                       example of
                                                               of complex
                                                                  complex divestitures
                                                                          divestitures of
                                                                                       of highly
                                                                                          highly

 integrated assets
 integrated        that II evaluated,
            assets that               the operational
                           evaluated, the             timeline was
                                          operational timeline was much longer than
                                                                   much longer than the
                                                                                    the 270
                                                                                        270 (or
                                                                                            (or 360)
                                                                                                360)

 days
 days afforded to Petitioners
      afforded to Petitioners under
                              under the
                                    the Act.
                                        Act. Because
                                             Because the
                                                     the Act
                                                         Act precludes the buyer
                                                             precludes the buyer from
                                                                                 from having
                                                                                      having

 “any operational
 "any operational relationship” with Petitioners
                  relationship" with Petitioners as
                                                 as of the statutory
                                                    of the statutory deadline,
                                                                     deadline, all
                                                                               all operational
                                                                                   operational steps
                                                                                               steps

 must be completed
 must be           before the
         completed before the applicable
                              applicable deadline
                                         deadline for the divestiture
                                                  for the             to satisfy
                                                          divestiture to         the definition
                                                                         satisfy the definition of
                                                                                                of aa

            divestiture."'8
 “qualified divestiture.”
 "qualified

          12.
          12.       The
                    The complexity
                        complexity of
                                   of aa divestiture—and thus the
                                         divestiture—and thus the amount
                                                                  amount of time it
                                                                         of time it takes
                                                                                    takes to
                                                                                          to achieve,
                                                                                             achieve,

 all
 all else
     else equal—increases if there
          equal—increases if there is
                                   is aa high
                                         high level
                                              level of
                                                    of integration (i.e., the
                                                       integration (i.e., the extent to which
                                                                              extent to which complex
                                                                                              complex

 systems
 systems are
         are shared) between the
             shared) between the divested
                                 divested asset
                                          asset and the rest
                                                and the rest of the seller’s
                                                             of the seller's company.
                                                                             company. The
                                                                                      The

 information II reviewed
 information    reviewed regarding
                         regarding aa potential
                                      potential divestiture
                                                divestiture of
                                                            of TikTok’s U.S. application
                                                               TikTok's U.S. application suggests
                                                                                         suggests

 that achieving
 that achieving aa "qualified
                   “qualified divestiture” would be
                              divestiture" would be highly
                                                    highly complex
                                                           complex given, among other
                                                                   given, among other potential
                                                                                      potential

 factors, the high
 factors, the      level of
              high level    integration between
                         of integration between TikTok’s U.S. application
                                                TikTok's U.S. application and the global
                                                                          and the global TikTok
                                                                                         TikTok

 application.
 application. As
              As II describe
                    describe in
                             in Section
                                Section III.C, this remains
                                        III.C, this         the case
                                                    remains the case notwithstanding the
                                                                     notwithstanding the

 technological and
 technological and governance
                   governance protections
                              protections on which Petitioners
                                          on which Petitioners have      working. 9
                                                                    been working.9
                                                               have been

          13.
          13.       My experience
                    My            with facilitating
                       experience with facilitating complex
                                                    complex divestitures
                                                            divestitures at Verizon shows
                                                                         at Verizon       that
                                                                                    shows that

 divesting
 divesting highly integrated assets
           highly integrated        to the
                             assets to the point where the
                                           point where the seller
                                                           seller has
                                                                  has no
                                                                      no operational
                                                                         operational relationship
                                                                                     relationship

 takes much
 takes      longer than
       much longer than the
                        the time
                            time afforded
                                 afforded to
                                          to Petitioners
                                             Petitioners in
                                                         in the
                                                            the Act (in the
                                                                Act (in the Verizon
                                                                            Verizon examples,
                                                                                    examples,


 77
      As II describe
      As    describe below
                     below in
                           in Section
                              Section III.A, the corporate
                                      III.A, the           timeline can
                                                 corporate timeline can also  take hundreds
                                                                         also take hundreds of
                                                                                            of days.
                                                                                                days. II have
                                                                                                         have made
                                                                                                              made the
                                                                                                                    the
      conservative assumption
      conservative              in my
                     assumption in my declaration that Petitioners
                                      declaration that Petitioners could
                                                                   could achieve
                                                                         achieve aa corporate timeline of
                                                                                    corporate timeline   of zero
                                                                                                            zero days.
                                                                                                                 days.
 8
 8
      The Act, Section
      The Act,         2(g)(6)(B).
               Section 2(g)(6)(B).
 9
 9
      See paragraph
      See paragraph 29
                    29 for
                       for aa discussion
                              discussion of
                                         of "Project
                                            “Project Texas.”
                                                     Texas."



                                                             55
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                                                    APP-649
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 approximately twice as
 approximately twice as long
                        long as the time
                             as the time afforded to Petitioners).
                                         afforded to Petitioners). My
                                                                   My personal
                                                                      personal experience
                                                                               experience is
                                                                                          is

 corroborated by my
 corroborated by my evaluation
                    evaluation of the operational
                               of the             timelines associated
                                      operational timelines            with the
                                                            associated with the divestitures
                                                                                divestitures of
                                                                                             of

 certain
 certain highly
         highly integrated assets in
                integrated assets    the TMT
                                  in the TMT sector.
                                             sector.

             14.
             14.        For the
                        For the above
                                above reasons
                                      reasons and
                                              and as
                                                  as further
                                                     further explained below, it
                                                             explained below, it is
                                                                                 is my
                                                                                    my opinion that
                                                                                       opinion that

 achieving
 achieving aa "qualified
              “qualified divestiture”
                         divestiture" of
                                      of TikTok’s U.S. application
                                         TikTok's U.S. application is
                                                                   is operationally infeasible within
                                                                      operationally infeasible within

 the timeframe
 the timeframe and under the
               and under the restrictions
                             restrictions set
                                          set out
                                              out in the Act.
                                                  in the Act. Therefore, the Act
                                                              Therefore, the Act offers
                                                                                 offers no
                                                                                        no real
                                                                                           real

 alternative to Petitioners
 alternative to Petitioners and instead amounts
                            and instead         to aa de
                                        amounts to    de facto
                                                          facto ban
                                                                ban on the TikTok
                                                                    on the        application in
                                                                           TikTok application    the
                                                                                              in the

 United States
 United States starting
               starting on
                        on January (or April)
                           January (or April) 19, 2025.
                                              19, 2025.


 III.
 III.        OPINIONS
             OPINIONS

             A.
             A.         Divestitures of
                        Divestitures of highly
                                        highly integrated
                                               integrated assets are complex
                                                          assets are         and time-consuming
                                                                     complex and time-consuming
                        processes
                        processes

             15.
             15.       Divestitures—the partial
                       Divestitures—the partial or
                                                or full
                                                   full disposal
                                                        disposal of
                                                                 of aa company’s business unit,
                                                                       company's business unit, division,
                                                                                                division,

 subsidiary,
 subsidiary, product
             product line,
                     line, or
                           or other assets—are complex
                              other assets—are         undertakings. 10 As
                                               complex undertakings.10  As II described
                                                                              described above,
                                                                                        above, in
                                                                                               in

 addition to "corporate"
 addition to “corporate” steps,
                         steps, companies
                                companies must
                                          must also undertake "operational"
                                               also undertake “operational” steps.
                                                                            steps. As
                                                                                   As shown in
                                                                                      shown in

 Figure 1, when
 Figure 1, when divesting
                divesting integrated assets, the
                          integrated assets, the operational timeline begins
                                                 operational timeline begins when
                                                                             when the
                                                                                  the parties
                                                                                      parties start
                                                                                              start

 discussing the mechanics
 discussing the mechanics of the transition
                          of the transition (which
                                            (which may
                                                   may occur before or
                                                       occur before or after
                                                                       after signing the deal)
                                                                             signing the deal) and
                                                                                               and




 10
 10
        Joy,
        Joy, Joseph     (2018), Divestitures
               Joseph (2018),     Divestitures and
                                                and Spin-Offs:
                                                     Spin-Offs: Lessons
                                                                 Lessons Learned
                                                                           Learned in in the
                                                                                         the Trenches
                                                                                              Trenches ofof the
                                                                                                             the World’s    Largest M&A
                                                                                                                  World's Largest    M&A
        Deals (1st
        Deals    (1st ed.  2018), Springer
                      ed. 2018),              US ("Joy
                                    Springer US   (“Joy 2018"),
                                                         2018”), p.
                                                                  p. 457  (“Divestitures are
                                                                     457 ("Divestitures         complex endeavors”).
                                                                                            are complex     endeavors"). SeeSee also
                                                                                                                                 also Joshi,
                                                                                                                                      Joshi,
        Varun
        Varun and and Sharma,
                       Shauna, Saurav
                                  Saurav (2013),
                                           (2013), Chapter
                                                   Chapter 11 Introduction
                                                              Introduction toto the
                                                                                the ITIT Aspects
                                                                                         Aspects ofof Mergers,
                                                                                                      Mergers, Acquisitions,
                                                                                                                   Acquisitions, and
                                                                                                                                   and
        Divestitures, In
        Divestitures,     In J. M. Roehl-Anderson
                             J. M.  Roehl-Anderson (Ed.),
                                                       (Ed.), M&A
                                                              M&A Information
                                                                     Information Technology
                                                                                   Technology BestBest Practices
                                                                                                        Practices (pp.     1-22), Wiley
                                                                                                                      (pp. 1-22),  Wiley
        (“Joshi 2013"),
        ("Joshi    2013”), p.p. 14
                                14 (“Identifying
                                    ("Identifying and
                                                   and carving  out the
                                                        carving out  the pieces
                                                                         pieces in
                                                                                 in aa divestiture
                                                                                       divestiture can
                                                                                                    can be
                                                                                                         be aa complex
                                                                                                                complex and    time-
                                                                                                                           and time-
        consuming process").
        consuming      process”). II include   within my
                                      include within   my definition   of "divestitures"
                                                           definition of  “divestitures” spinoffs
                                                                                            spinoffs (i.e.,
                                                                                                     (i.e., "a
                                                                                                             “a type
                                                                                                                type of
                                                                                                                      of divestiture  in
                                                                                                                         divestiture in
        which the
        which    the divested    unit becomes
                      divested unit    becomes an   independent company
                                                an independent    company instead
                                                                             instead ofof being
                                                                                           being sold
                                                                                                 sold to
                                                                                                       to aa third
                                                                                                              third party")
                                                                                                                    party”) and   splitoffs
                                                                                                                             and splitoffs
        (i.e., divestitures
        (i.e., divestitures similar
                               similar to
                                        to spinoffs
                                           spinoffs where
                                                    where the
                                                           the shareholders
                                                               shareholders "relinquish
                                                                              “relinquish their
                                                                                             their shares
                                                                                                   shares ofof stock
                                                                                                                stock in  the parent
                                                                                                                       in the parent
        company in
        company         order to
                     in order   to receive
                                   receive shares
                                            shares of
                                                   of the
                                                      the subsidiary
                                                          subsidiary company").
                                                                       company”). Lessambo,
                                                                                      Lessambo, Felix
                                                                                                   Felix (2021),
                                                                                                          (2021), Chapter
                                                                                                                     Chapter 12
                                                                                                                              12 Corporate
                                                                                                                                  Corporate
        Divestitures and
        Divestitures     and Carve-Outs,
                              Carve-Outs, In In U.S. Mergers and
                                                U.S. Mergers   and Acquisitions
                                                                    Acquisitions (pp.
                                                                                   (pp. 159-170),
                                                                                          159-170), Springer,
                                                                                                     Springer, p.  p. 163;
                                                                                                                      163; CFI
                                                                                                                            CFI Team,
                                                                                                                                 Team,
        “Spin-Off,” CFI,
        "Spin-Off,"            https://corporatefinanceinstitute.com/resources/valuation/spin-off-and-split-off/.
                        CFI, https://corporatefinanceinstitute.com/resources/valuation/spin-off-and-split-off/.



                                                                      66
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 ends when the
 ends when the new
               new owner
                   owner operates the divested
                         operates the          assets without
                                      divested assets without the
                                                              the seller's
                                                                  seller’s assistance (which may
                                                                           assistance (which may

 occur
 occur on
       on or
          or after the deal’s
             after the deal's closing).
                              closing).


                                            Figure 1 -- Divestiture
                                            Figure 1    Divestiture Timelines 11
                                                                    Timelinesil


                                                                                   Operational Timeline

                                Corporate Timeline


         Pre-Deal                              Deal Negotiation,                                              Deal
         Strategy                             Signing and Closing                                       Im ilementation
                     •




           16.
           16.       To this end,
                     To this end, prior to closing,
                                  prior to          buyers often
                                           closing, buyers often contract with the
                                                                 contract with the seller to assist
                                                                                   seller to        with the
                                                                                             assist with the

 post-closing
 post-closing operation
              operation of the divested
                        of the divested asset,
                                        asset, such
                                               such as by providing
                                                    as by providing access to existing
                                                                    access to existing software and
                                                                                       software and

 associated
 associated expertise through Transition
            expertise through Transition Services
                                         Services Agreements (“TSAs”) or
                                                  Agreements ("TSAs") or other
                                                                         other similar
                                                                               similar
               12
 arrangements.
 arrangements.12  TSAs
                  TSAs and
                       and similar agreements provide
                           similar agreements         the buyer
                                              provide the buyer with
                                                                with access to technology
                                                                     access to technology or
                                                                                          or
                                                              13
 other
 other support
       support after
               after closing to maintain
                     closing to          business continuity.
                                maintain business continuity.13  However, TSAs
                                                                 However, TSAs and
                                                                               and similar
                                                                                   similar
                                                                   14
 agreements
 agreements are far from
            are far      ideal for
                    from ideal for either the buyer
                                   either the buyer or the seller.
                                                    or the seller.14  For example,
                                                                      For          by relying
                                                                          example, by relying on the
                                                                                              on the

 seller to provide
 seller to provide key technology services
                   key technology          to the
                                  services to the buyer,
                                                  buyer, the
                                                         the buyer
                                                             buyer loses
                                                                   loses direct
                                                                         direct control
                                                                                control over its
                                                                                        over its

 newly
 newly acquired systems and
       acquired systems and can
                            can face increased security
                                face increased security risks.
                                                        risks. Similarly, the seller
                                                               Similarly, the        is often
                                                                              seller is often



 11
      Adapted from
      Adapted from Joy 2018, p.
                   Joy 2018, p. 186, based on
                                186, based on my
                                              my professional
                                                 professional experience.
                                                              experience.
 12
 12
      Joy 2018, pp.
      Joy 2018,     374, 451-453.
                pp. 374, 451-453.
 13
 13
      Joy 2018, pp.
      Joy 2018,       374, 451-453.
                 pp. 374,    451-453. See See also
                                              also Joshi  2013, p.
                                                    Joshi 2013,  p. 14  (“Depending on
                                                                     14 ("Depending    on the
                                                                                          the strategy
                                                                                               strategy [from   financial close
                                                                                                         [from financial          to full
                                                                                                                            close to  full
      separation/exit], it
      separation/exit],  it may
                            may be  be beneficial  for certain
                                        beneficial for certain services   to be
                                                                services to     covered under
                                                                             be covered  under aa [TSA].
                                                                                                   [TSA]. A A TSA
                                                                                                               TSA is
                                                                                                                    is aa legal
                                                                                                                          legal
      agreement,
      agreement, separate     from the
                  separate from        the separation
                                           separation and   purchase agreement,
                                                       and purchase    agreement, in   which the
                                                                                    in which  the buyer
                                                                                                   buyer agrees   to pay
                                                                                                          agrees to  pay the
                                                                                                                           the seller  for
                                                                                                                               seller for
      certain services
      certain services to
                        to support
                            support the the divested
                                            divested business
                                                      business for
                                                                for aa defined
                                                                       defined period
                                                                                period of time. TSAs
                                                                                       of time.  TSAs are    most often
                                                                                                        are most          used in
                                                                                                                   often used   in
      carve-outs where
      carve-outs  where thethe buyer
                               buyer lacks     the necessary
                                         lacks the necessary information
                                                               information technology
                                                                             technology capabilities    or capacity
                                                                                          capabilities or             to support
                                                                                                            capacity to  support the
                                                                                                                                   the
      business on
      business  on its own. […]
                   its own.   [. . . ] TSAs
                                       TSAs are
                                             are also  often necessary
                                                 also often              when the
                                                             necessary when     the deal
                                                                                    deal closes  faster than
                                                                                         closes faster  than the
                                                                                                              the buyer's
                                                                                                                  buyer’s
      organization can
      organization        respond.”).
                    can respond.").
 14
 14
      Joy 2018, pp.
      Joy 2018,     34, 433.
                pp. 34, 433.



                                                                     77
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 obliged by the
 obliged by the service
                service agreement to direct
                        agreement to direct its
                                            its resources to provide
                                                resources to provide services to the
                                                                     services to the buyer,
                                                                                     buyer, which
                                                                                            which

 diverts
 diverts resources
         resources away
                   away from the seller’s
                        from the seller's core business. 15 Therefore,
                                          core business.15             both parties
                                                            Therefore, both         typically seek
                                                                            parties typically      to
                                                                                              seek to

 keep the length
 keep the length of transition services
                 of transition          as short
                               services as short as
                                                 as possible.
                                                    possible.

           17.
           17.       Importantly,
                     Importantly, because the Act
                                  because the Act precludes
                                                  precludes aa buyer
                                                               buyer of
                                                                     of TikTok’s U.S. application
                                                                        TikTok's U.S. application from
                                                                                                  from
                                                                                       16
 having “any operational
 having "any operational relationship” with Petitioners
                         relationship" with Petitioners after
                                                        after January (or April)
                                                              January (or April) 2025,
                                                                                 2025,16  the Act
                                                                                          the Act
                                                                                                  17
 effectively
 effectively limits the entire
             limits the        timeline (corporate
                        entire timeline (corporate and
                                                   and operational) to 270
                                                       operational) to 270 (or
                                                                           (or perhaps 360) days.
                                                                               perhaps 360) days.'

           18.
           18.       As
                     As my analysis below
                        my analysis below shows, the corporate
                                          shows, the           timeline—which primarily
                                                     corporate timeline—which primarily affords the
                                                                                        affords the

 parties the time
 parties the time to
                  to analyze
                     analyze and
                             and negotiate the allocation
                                 negotiate the allocation of
                                                          of deal
                                                             deal risks         them 18
                                                                        between them
                                                                  risks between         —can take
                                                                                     "—can   take
                   19
 hundreds
 hundreds of
          of days.
             days.19  However, because
                      However, because the
                                       the parties
                                           parties can
                                                   can control
                                                       control certain basic elements
                                                               certain basic elements of the
                                                                                      of the

 corporate timeline, the
 corporate timeline, the parties
                         parties may
                                 may decide to accelerate
                                     decide to            this timeline
                                               accelerate this timeline (by,
                                                                        (by, for
                                                                             for instance,
                                                                                 instance, foregoing
                                                                                           foregoing
                                                     20
 some
 some risk
      risk mitigation
           mitigation steps,
                      steps, such
                             such as
                                  as due
                                     due diligence).
                                         diligence).20  In contrast,
                                                        In           the parties
                                                           contrast, the         typically cannot
                                                                         parties typically cannot


 15
 15
      Joy 2018, pp.
      Joy 2018,     34, 433.
                pp. 34, 433.
 16
 16
      The Act, Section
      The Act, Section 2(g)(6)(B).
                       2(g)(6)(B).
 17
 17
      II note
         note that,
              that, from
                    from the
                          the day of submitting
                              day of submitting mymy declaration
                                                     declaration on
                                                                 on June
                                                                     June 20,  2024, Petitioners
                                                                           20, 2024, Petitioners have
                                                                                                 have only
                                                                                                      only 214
                                                                                                            214 days
                                                                                                                days left
                                                                                                                     left
      until January
      until  January 19,   2025; and
                      19, 2025;  and they
                                     they have
                                           have only
                                                 only 304
                                                      304 days
                                                          days left until April
                                                               left until April 19, 2025. Nevertheless,
                                                                                19, 2025.  Nevertheless, throughout
                                                                                                         throughout my
                                                                                                                     my
      declaration, to
      declaration,   to be
                        be conservative,
                           conservative, II use
                                            use 270
                                                270 and 360 days
                                                    and 360 days as   the operative
                                                                  as the  operative figures.
                                                                                    figures.
 18
 18
      Jacob
       Jacob Orosz,   “The M&A
              Orosz, "The   M&A Purchase
                                   Purchase Agreement
                                            Agreement |I An
                                                         An Overview,”  Morgan &
                                                             Overview," Morgan & Westfield,
                                                                                 Westfield,
      https://morganandwestfield.com/knowledge/purchase-agreement/ (“The
      https://morganandwestfield.com/knowledge/purchase-agreement/             purchase agreement
                                                                         ("The purchase           can also
                                                                                        agreement can      be seen
                                                                                                      also be seen as
                                                                                                                   as
      aa tool
         tool for
              for allocating risk between
                  allocating risk between buyer
                                          buyer and
                                                and seller.”).
                                                    seller.").
 19
 19
      The   corporate steps
      The corporate   steps include,
                            include, among
                                      among other    things: identifying
                                               other things:              the divestment
                                                             identifying the  divestment approach
                                                                                          approach (e.g.,  through aa spin-off
                                                                                                    (e.g., through    spin-off
      or aa carve-out);
      or    carve-out); identifying
                        identifying the
                                    the buyer;
                                        buyer; defining   the divestiture
                                                 defining the  divestiture strategy;
                                                                           strategy; addressing legal, financial,
                                                                                     addressing legal, financial, human
                                                                                                                   human
      resources, and
      resources,      information technology
                  and information   technology considerations;
                                                  considerations; signing;
                                                                   signing; and
                                                                             and closing.
                                                                                 closing. These
                                                                                          These steps
                                                                                                steps generally   take aa
                                                                                                       generally take
      considerable amount
      considerable  amount ofof time.
                                time. See,
                                       See, for
                                             for example:  Richard D.
                                                 example: Richard    D. Harroch,
                                                                        Harroch, David
                                                                                  David A.
                                                                                         A. Lipkin,
                                                                                            Lipkin, and  Richard V.
                                                                                                     and Richard   V. Smith,
                                                                                                                      Smith,
      “What You
      "What        Need To
               You Need       Know About
                          To Know    About Mergers
                                              Mergers & & Acquisitions:
                                                          Acquisitions: 12   Key Considerations
                                                                         12 Key   Considerations When
                                                                                                  When Selling
                                                                                                         Selling Your
                                                                                                                  Your
      Company,”    Forbes, August
      Company," Forbes,     August 27,
                                     27, 2018,   https://www.forbes.com/sites/allbusiness/2018/08/27/mergers-and-
                                         2018, https://www.forbes.com/sites/allbusiness/2018/08/27/mergers-and-
      acquisitions-key-considerations-when-selling-your-company/?sh=2ef58cd84102;
      acquisitions-key-considerations-when-selling-your-company/?sh=2ef58cd84102; Jens               Kengelbach, Alexander
                                                                                               Jens Kengelbach,     Alexander
      Roos, and
      Roos,   and Georg   Keienburg, "Maximizing
                  Georg Keienburg,    “Maximizing Value:
                                                       Value: Choose   the Right
                                                              Choose the    Right Exit
                                                                                  Exit Route,"
                                                                                       Route,” BCG,
                                                                                               BCG, September
                                                                                                      September 22,    2014,
                                                                                                                   22, 2014,
      https://www.bcg.com/publications/2014/mergers-acquisitions-divestitures-maximizing-value;; Joy
      https://www.bcg.com/publications/2014/mergers-acquisitions-divestitures-maximizing-value                    2018, pp.
                                                                                                              Joy 2018,       26-
                                                                                                                          pp. 26-
      28.
      28.
 20
 20
      In
      In some
         some cases,  divestitures also
               cases, divestitures      require the
                                   also require the approval
                                                     approval of
                                                              of regulatory
                                                                 regulatory authorities,  such as
                                                                             authorities, such         the Federal
                                                                                                    as the  Federal Trade
                                                                                                                     Trade
      Commission
      Commission or or the
                       the Federal
                            Federal Communications
                                    Communications Commission.
                                                       Commission. A A detailed
                                                                        detailed study
                                                                                 study of  recent transactions
                                                                                        of recent      transactions shows
                                                                                                                     shows that
                                                                                                                           that
      seeking regulatory
      seeking  regulatory approval
                           approval can
                                     can delay the transaction
                                         delay the transaction by
                                                               by "three
                                                                   “three to
                                                                          to six months […],
                                                                             six months             but more
                                                                                          [. . . ], but  more complicated
                                                                                                               complicated deals
                                                                                                                            deals
      often take
      often take twice
                 twice as
                        as long, up to
                           long, up to two
                                       two years."
                                            years.” (See
                                                    (See Suzanne   Kumar, Adam
                                                         Suzanne Kumar,    Adam Haller,
                                                                                   Haller, and
                                                                                            and DaleDale Stafford,   “Regulation
                                                                                                           Stafford, "Regulation
      and M&A: How
      and M&A:    How Scrutiny    Raises the
                        Scrutiny Raises   the Bar
                                              Bar for
                                                  for Acquirers,"
                                                      Acquirers,” Bain
                                                                   Bain &
                                                                        & Company,
                                                                           Company, January
                                                                                       January 30,   30, 2024,
                                                                                                          2024,




                                                                 88
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 meaningfully
 meaningfully accelerate the operational
              accelerate the             timeline. This
                             operational timeline. This is because—due to
                                                        is because—due to the
                                                                          the need to continue
                                                                              need to continue

 operating the divested
 operating the          assets—operational steps
               divested assets—operational steps cannot
                                                 cannot be
                                                        be accomplished in less
                                                           accomplished in less time
                                                                                time than
                                                                                     than the
                                                                                          the

 time required
 time required for
               for employees to plan
                   employees to plan and
                                     and execute the "physical
                                         execute the “physical separation
                                                               separation of the [.
                                                                          of the […]. .] IT
                                                                                         IT

 infrastructure, applications,
 infrastructure,               and data,
                 applications, and       from the
                                   data, from the divesting
                                                  divesting company,” which "often
                                                            company," which “often includes
                                                                                   includes

 separating
 separating data
            data and
                 and processes within legacy
                     processes within        IT systems
                                      legacy IT         that were
                                                systems that were not
                                                                  not designed
                                                                      designed or built to
                                                                               or built to enable
                                                                                           enable
                     21
 future
 future decoupling.”
        decoupling."21  The
                        The common utilization of
                            common utilization of TSAs, which as
                                                  TSAs, which as noted are not
                                                                 noted are     ideal for
                                                                           not ideal for either
                                                                                         either

 party,
 party, demonstrates that operational
        demonstrates that             timelines cannot
                          operational timelines        be meaningfully
                                                cannot be meaningfully compressed
                                                                       compressed despite
                                                                                  despite

 economic incentives to
 economic incentives to do
                        do so.
                           so.

            19.
            19.         Because the
                        Because the parties
                                    parties can
                                            can control
                                                control certain basic elements
                                                        certain basic elements of the corporate
                                                                               of the           timeline, II
                                                                                      corporate timeline,

 have
 have made the conservative
      made the conservative assumption in my
                            assumption in my declaration that Petitioners
                                             declaration that Petitioners could
                                                                          could achieve
                                                                                achieve aa

 corporate timeline of
 corporate timeline    zero days.
                    of zero       However, even
                            days. However, even assuming Petitioners could
                                                assuming Petitioners could have
                                                                           have instantaneously
                                                                                instantaneously

 negotiated
 negotiated aa divestiture
               divestiture agreement
                           agreement on the day
                                     on the     the Act
                                            day the     was signed
                                                    Act was        into law,
                                                            signed into      they still
                                                                        law, they still could
                                                                                        could not
                                                                                              not

 achieve
 achieve aa qualified
            qualified divestiture within the
                      divestiture within the timeline
                                             timeline allowed
                                                      allowed by
                                                              by the
                                                                 the Act:
                                                                     Act: as
                                                                          as II show below, the
                                                                                show below, the



      https://www.bain.com/insights/regulation-m-and-a-report-2024/.) Regulatory
      https://www.bain.com/insights/regulation-m-and-a-report-2024/.)      Regulatory delays
                                                                                       delays are typically not
                                                                                              are typically not in
                                                                                                                in the
                                                                                                                   the
      parties’ control.
      parties' control. Because
                        Because regulatory
                                regulatory delays
                                           delays are
                                                   are part
                                                       part of the corporate
                                                            of the           timeline, and
                                                                   corporate timeline,     my analysis
                                                                                       and my           focuses on
                                                                                               analysis focuses  on
      operational timelines,
      operational timelines, my
                             my analysis  does not
                                 analysis does not include  the time
                                                   include the  time required
                                                                     required to
                                                                               to achieve
                                                                                  achieve regulatory
                                                                                          regulatory approvals.
                                                                                                     approvals.
 21
 21
      Philip W.
      Philip  W. Yetton
                  Yetton et et al., “How IT
                               al., "How     IT Carve-Out       Project Complexity
                                                 Carve-Out Project                          Influences Divestor
                                                                         Complexity Influences            Divestor Perfounance
                                                                                                                      Performance in          M&As,”
                                                                                                                                           in M&As,"
      European Journal
      European     Journal of of Information
                                 Information Systems,
                                                   Systems, Vol.     32, No.
                                                              Vol. 32,   No. 6,6, 2023,
                                                                                    2023, pp.pp. 962-988     (“Yetton 2023"),
                                                                                                  962-988 ("Yetton       2023”), at    at p.
                                                                                                                                          p. 965.  See
                                                                                                                                             965. See
      also Yetton
      also           2023, at
           Yetton 2023,         p. 964
                             at p.        (“[T]he timeframe
                                    964 ("[T]he      timeframe in  in the
                                                                      the contract
                                                                           contract is     frequently too
                                                                                        is frequently    too tight
                                                                                                              tight to
                                                                                                                     to execute
                                                                                                                        execute the  the required
                                                                                                                                           required IT IT
      carve-out. In
      carve-out.      that case,
                   In that  case, Operational
                                    Operational Day  Day 11 represents
                                                             represents an     operationally viable
                                                                           an operationally         viable intermediate      IT-state [emphasis
                                                                                                            intermediate IT-state          [emphasis in  in
      original] in
      original]  in which
                     which the
                             the provision
                                  provision of  of IT
                                                    IT services
                                                        services by    the divestor
                                                                   by the  divestor is   is formally
                                                                                            formally enabled
                                                                                                        enabled by by TSAs.
                                                                                                                       TSAs. […][. . . ] TSAs
                                                                                                                                         TSAs areare
      attractive  because they
      attractive because     they make
                                    make an     earlier Operational
                                            an earlier    Operational DayDay 11 possible
                                                                                   possible and      provide reliable
                                                                                                and provide     reliable IT   support until
                                                                                                                          IT support        until
      Physical IT
      Physical  IT Separation.”);
                     Separation."); at  at p.
                                           p. 976
                                               976 (“[W]ith
                                                     ("[W]ith increasing      project complexity,
                                                                 increasing project        complexity, the the transfer
                                                                                                                transfer of
                                                                                                                          of IT
                                                                                                                              IT assets
                                                                                                                                   assets to to the
                                                                                                                                                the
      acquirer  is incompatible
      acquirer is   incompatible with with the
                                            the set
                                                  set Operational
                                                       Operational DayDay 11 […].
                                                                              [. . . ]. The   time constraint
                                                                                        The time     constraint contingent
                                                                                                                  contingent on  on satisfying
                                                                                                                                       satisfying
      Operational
      Operational DayDay 11 readiness
                              readiness is is particularly
                                              particularly problematic
                                                              problematic in       the context
                                                                              in the     context of    IT carve-out
                                                                                                    of IT  carve-out projects        because the
                                                                                                                        projects because        the time
                                                                                                                                                      time
      constraint on
      constraint   on the
                       the project
                           project is is not
                                         not based
                                              based on on an
                                                           an estimate
                                                              estimate of of the
                                                                             the time
                                                                                    time required
                                                                                           required forfor the
                                                                                                           the project   but set
                                                                                                                project but    set byby market
                                                                                                                                          market
      expectations
      expectations forfor the
                          the acquirer
                               acquirer to to realise
                                               realise [sic]
                                                         [sic] acquisition    benefits.”). See
                                                               acquisition benefits.").         See also
                                                                                                     also Joshi    2013, p.
                                                                                                           Joshi 2013,    p. 10
                                                                                                                              10 (“[Day
                                                                                                                                   ("[Day 1]  1]
      requirements should
      requirements     should be    highly focused
                                be highly     focused on  on keeping
                                                             keeping thethe business
                                                                            business running,
                                                                                           running, removing
                                                                                                       removing uncertainty
                                                                                                                    uncertainty for   for stakeholders,
                                                                                                                                           stakeholders,
      complying with
      complying     with regulatory
                          regulatory requirements,
                                         requirements, and        delivering the
                                                            and delivering      the Day
                                                                                      Day 11 must-haves");
                                                                                               must-haves”); Kin, Kin, Blair
                                                                                                                        Blair (2013),
                                                                                                                                (2013), Chapter
                                                                                                                                             Chapter 21 21
      Planning for
      Planning   for Business
                      Business Process
                                  Process Changes
                                              Changes Impacting
                                                           Impacting Information
                                                                        Information Technology,
                                                                                           Technology, In   In J. M. Roehl-Anderson
                                                                                                               J. M.  Roehl-Anderson (Ed.),    (Ed.),
      M&A Information
      M&A    Information Technology
                              Technology Best Best Practices
                                                     Practices (pp.
                                                                  (pp. 376-377),
                                                                        376-377), Wiley,Wiley, pp.pp. 376-377     (“[t]he IT
                                                                                                      376-377 ("[t]he      IT staff     will need
                                                                                                                               staff will     need toto
      have aa full
      have    full understanding
                    understanding of   of what
                                           what functions
                                                   functions will
                                                               will remain
                                                                     remain in      use so
                                                                               in use     so the
                                                                                             the proper
                                                                                                   proper changes
                                                                                                           changes can can be
                                                                                                                            be made.
                                                                                                                                made. This        effort is
                                                                                                                                            This effort   is
      time-consuming for
      time-consuming       for the
                               the ITIT staff   that is
                                         staff that   is already
                                                         already engaged
                                                                   engaged in      changes to
                                                                              in changes        to other
                                                                                                   other complicated
                                                                                                          complicated post-merger
                                                                                                                          post-merger
      integrations.”).
      integrations.").



                                                                             99
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                                                                  APP-653
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 operational timelines alone
 operational timelines alone of
                             of divestitures with similar
                                divestitures with         levels of
                                                  similar levels    integration as
                                                                 of integration as TikTok took
                                                                                   TikTok took

 longer than 360
 longer than 360 days (let alone
                 days (let       270 days).
                           alone 270 days).


           B.
           B.        Certain
                     Certain divestitures are more
                             divestitures are more complex
                                                   complex than
                                                           than others
                                                                others

           20.
           20.       While II would
                     While    would consider any divestiture
                                    consider any divestiture aa complex undertaking, there
                                                                complex undertaking, there is
                                                                                           is aa range
                                                                                                 range of
                                                                                                       of

 complexity, and certain
 complexity, and certain divestitures
                         divestitures are
                                      are more
                                          more complex than others.
                                               complex than         Academic and
                                                            others. Academic and industry
                                                                                 industry

 participants
 participants have
              have identified
                   identified specific
                              specific characteristics that affect
                                       characteristics that        the complexity
                                                            affect the complexity of
                                                                                  of aa divestiture. For
                                                                                        divestiture. For

 example, the Divestiture
 example, the Divestiture Complexity
                          Complexity Assessment (“DCA”) Framework
                                     Assessment ("DCA") Framework considers,
                                                                  considers, among
                                                                             among other
                                                                                   other

 factors, the following
 factors, the following two
                        two key
                            key factors when gauging
                                factors when gauging the
                                                     the complexity of aa planned
                                                         complexity of            divestiture. 22
                                                                          planned divestiture. 22




                 a)
                 a) The
                    The level
                        level of
                              of integration, i.e., the
                                 integration, i.e., the extent to which
                                                        extent to which the
                                                                        the divested
                                                                            divested asset and the
                                                                                     asset and the rest
                                                                                                   rest of
                                                                                                        of

                     the seller
                     the        share information
                         seller share information technology
                                                  technology ("IT")
                                                             (“IT”) systems and applications,
                                                                    systems and applications, and the
                                                                                              and the
                                                                                             23
                     ease with which
                     ease with which the
                                     the seller
                                         seller can
                                                can separate these systems
                                                    separate these systems and
                                                                           and applications.
                                                                               applications.23  The
                                                                                                The

                     greater the
                     greater the level
                                 level of integration, the
                                       of integration, the more
                                                           more complex the divestiture
                                                                complex the             because the
                                                                            divestiture because the "IT
                                                                                                    “IT
                                                                           24
                     function [is] the
                     function [is] the most
                                       most complex
                                            complex function to separate.”
                                                    function to separate."'

                 b) Post-divestiture
                 b)                  support from
                    Post-divestiture support from the
                                                  the seller,
                                                      seller, i.e.,
                                                              i.e., whether
                                                                    whether the
                                                                            the seller will provide
                                                                                seller will provide

                     support to the
                     support to the divested
                                    divested asset
                                             asset in the form
                                                   in the form of
                                                               of TSAs
                                                                  TSAs or
                                                                       or other arrangements after
                                                                          other arrangements       the
                                                                                             after the




 22
 22
      Joy 2018, pp.
      Joy 2018, pp. 17-18.
                    17-18.
 23
 23
      The DCA framework
      The DCA framework uses
                        uses the
                             the tell
                                 term "comingling"
                                      “comingling” [sic] for integration.
                                                   [sic] for integration. Joy
                                                                          Joy 2018,
                                                                              2018, pp.
                                                                                    pp. 17-18.
                                                                                        17-18
 24
 24
      Joy 2018, p.
      Joy 2018,  p. 12.  See also
                    12. See   also Yetton
                                   Yetton 2023,
                                             2023, at p. 965
                                                   at p.      (“IT carve-out
                                                         965 ("IT   carve-out projects
                                                                               projects are  frequently complex,
                                                                                         are frequently  complex, accounting
                                                                                                                     accounting forfor
      more than
      more  than 50%
                  50% ofof the
                           the overall   carve-out cost”);
                                overall carve-out   cost"); Joshi  2013, p.
                                                            Joshi 2013,   p. 14 (“Identifying and
                                                                             14 ("Identifying    and carving
                                                                                                     carving out   the pieces
                                                                                                               out the  pieces in
                                                                                                                               in aa
      divestiture can
      divestiture can be
                       be aa complex
                             complex and     time-consuming process,
                                        and time-consuming      process, particularly
                                                                          particularly when
                                                                                       when thethe affected
                                                                                                   affected people,   processes, and
                                                                                                             people, processes,    and
      systems are
      systems      deeply integrated
               are deeply                within the
                            integrated within    the seller’s business, or
                                                     seller's business,  or when
                                                                            when services
                                                                                   services and   infrastructure are
                                                                                             and infrastructure        shared across
                                                                                                                  are shared   across
      multiple business
      multiple business units");
                          units”); p.
                                    p. 55 ("IT-related
                                          (“IT-related activities
                                                        activities are
                                                                   are generally  the largest
                                                                       generally the  largest cost
                                                                                               cost items
                                                                                                    items in
                                                                                                           in aa merger
                                                                                                                 merger oror
      divestiture”); p.
      divestiture"); p. 20
                        20 ("IT
                            (“IT integrations
                                  integrations or
                                                or separations
                                                   separations are
                                                                 are generally
                                                                      generally complex,    resource-intensive initiatives
                                                                                 complex, resource-intensive                  that
                                                                                                                  initiatives that
      need to
      need to be
              be closely
                  closely aligned   with the
                           aligned with    the overall
                                               overall business
                                                       business integration
                                                                  integration effort").
                                                                               effort”).



                                                                  10
                                                                  10
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                                                         APP-654
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                                  25
                     divestiture.
                     divestiture.25  Divestiture processes
                                     Divestiture           become more
                                                 processes become more complex when the
                                                                       complex when the seller
                                                                                        seller is less
                                                                                               is less

                     able (or willing)
                     able (or willing) to
                                       to support the divested
                                          support the divested asset
                                                               asset post-divestiture, because if
                                                                     post-divestiture, because if that
                                                                                                  that is
                                                                                                       is
                                                                                                 26
                     the case,
                     the       the entirety
                         case, the entirety of the operational
                                            of the operational effort
                                                               effort must
                                                                      must occur before closing.
                                                                           occur before closing.26

           21.
           21.       The importance of
                     The importance    these factors
                                    of these factors in
                                                     in gauging
                                                        gauging the
                                                                the expected
                                                                    expected complexity
                                                                             complexity of
                                                                                        of aa

 divestiture is consistent
 divestiture is            with my
                consistent with my professional
                                   professional experience
                                                experience in facilitating complex
                                                           in facilitating complex divestitures
                                                                                   divestitures of
                                                                                                of

 highly
 highly integrated
        integrated assets. While other
                   assets. While       factors certainly
                                 other factors certainly play
                                                         play aa role in the
                                                                 role in the complexity
                                                                             complexity of
                                                                                        of aa

 divestiture (such as
 divestiture (such as creating
                      creating aa separate financial framework
                                  separate financial framework for the divested
                                                               for the          asset, and
                                                                       divested asset, and dealing
                                                                                           dealing

 with employee
 with employee matters), based on
               matters), based    my experience
                               on my            the above
                                     experience the       two factors
                                                    above two factors are
                                                                      are particularly
                                                                          particularly relevant
                                                                                       relevant

 in determining
 in determining complexity.
                complexity.

           22.
           22.       As
                     As II describe in the
                           describe in the following
                                           following sections,
                                                     sections, II have
                                                                  have evaluated
                                                                       evaluated historical
                                                                                 historical divestitures and
                                                                                            divestitures and

 the "qualified
 the “qualified divestiture” the Act
                divestiture" the Act requires from Petitioners
                                     requires from Petitioners along
                                                               along the
                                                                     the following
                                                                         following dimensions.
                                                                                   dimensions.

                 a.
                 a. To
                    To capture the extent
                       capture the extent of “integration” and
                                          of "integration"     the ease
                                                           and the      with which
                                                                   ease with which the
                                                                                   the divested
                                                                                       divested asset
                                                                                                asset

                     could be separated
                     could be separated from the rest
                                        from the rest of the seller,
                                                      of the seller, II evaluated the following:
                                                                        evaluated the following:

                          i. Whether
                          i. Whether the
                                     the divested
                                         divested asset
                                                  asset can be separated
                                                        can be           from the
                                                               separated from the rest
                                                                                  rest of the seller
                                                                                       of the seller

                               based solely
                               based solely on
                                            on product market. 27
                                               product market. 27 If that is
                                                                  If that is the
                                                                             the case,
                                                                                 case, isolating the divested
                                                                                       isolating the divested




 25
 25
      The DCA framework
      The DCA    framework uses
                             uses the
                                  the tell
                                       term "Health
                                             “Health of  the seller
                                                      of the seller company”
                                                                    company" forfor post-divestiture
                                                                                    post-divestiture support
                                                                                                     support from
                                                                                                             from the
                                                                                                                   the seller.
                                                                                                                       seller.
      See Joy
      See      2018, p.
          Joy 2018,  p. 18
                        18 (“How
                           ("How is   the health
                                   is the        of the
                                          health of the seller
                                                        seller company?
                                                               company? Will
                                                                           Will it  be able
                                                                                 it be      to provide
                                                                                       able to provide support
                                                                                                       support to
                                                                                                               to the
                                                                                                                  the buyer
                                                                                                                      buyer in
                                                                                                                             in
      form of
      foul' of TSAs
               TSAs post-divestiture?   Is there
                     post-divestiture? Is  there any
                                                 any dependency
                                                     dependency on     the seller
                                                                    on the seller company
                                                                                  company post-divestiture?”).
                                                                                             post-divestiture?").
 26
 26
      See, e.g.,
      See, e.g., Joshi
                 Joshi 2013, p. 14
                       2013, p. 14 (“TSAs
                                   ("TSAs are    most often
                                            are most  often used
                                                            used in
                                                                 in carve-outs where the
                                                                    carve-outs where  the buyer
                                                                                          buyer lacks    the necessary
                                                                                                   lacks the necessary
      information   technology capabilities
      information technology    capabilities or
                                             or capacity
                                                capacity to
                                                         to support the business
                                                            support the business on
                                                                                 on its own. […]
                                                                                    its own. [. . . ] TSAs
                                                                                                      TSAs are
                                                                                                           are also often
                                                                                                               also often
      necessary when
      necessary   when the
                        the deal
                            deal closes
                                 closes faster
                                        faster than
                                               than the
                                                    the buyer's
                                                        buyer’s organization
                                                                organization can respond.”).
                                                                             can respond.").
 27
 27
      A divested
      A  divested asset
                  asset can   be defined
                          can be  defined based
                                            based solely
                                                    solely on
                                                           on product    market if
                                                               product market    if geographic
                                                                                    geographic considerations
                                                                                                 considerations are not necessary
                                                                                                                are not necessary
      to define
      to define the
                the asset.   For example,
                      asset. For example, if if aa company   divests its
                                                   company divests    its software  business in
                                                                          software business   in Canada  while continuing
                                                                                                 Canada while  continuing toto
      operate the
      operate the same     business in
                   same business     in the
                                        the United
                                             United States,   this divestiture
                                                      States, this divestiture is
                                                                                is not
                                                                                   not defined  based solely
                                                                                       defined based  solely on
                                                                                                             on product
                                                                                                                product market.
                                                                                                                         market.
      However, if
      However,   if aa company
                       company divests
                                  divests its  entire software
                                           its entire  software business
                                                                 business (regardless    of geography),
                                                                            (regardless of               while retaining
                                                                                            geography), while  retaining its
                                                                                                                         its
      hardware business,
      hardware   business, this
                             this divestiture
                                  divestiture isis defined based solely
                                                   defined based   solely on  product market.
                                                                           on product   market.



                                                                11
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                                                        APP-655
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                               asset is simpler
                               asset is         than if
                                        simpler than if the
                                                        the divestiture involves separating
                                                            divestiture involves separating one
                                                                                            one or
                                                                                                or more
                                                                                                   more

                               products into multiple
                               products into multiple pieces based on
                                                      pieces based on geographic
                                                                      geographic market.
                                                                                 market.

                          ii. Whether
                          ii. Whether the
                                      the seller
                                          seller acquired the divested
                                                 acquired the divested asset within ten
                                                                       asset within ten years
                                                                                        years of the
                                                                                              of the

                               evaluated
                               evaluated divestiture.
                                         divestiture. This fact suggests
                                                      This fact suggests aa more
                                                                            more limited level of
                                                                                 limited level of

                               “integration” of
                               "integration"    the divested
                                             of the divested asset with the
                                                             asset with the rest
                                                                            rest of the seller
                                                                                 of the        than if
                                                                                        seller than if the
                                                                                                       the

                               seller
                               seller had
                                      had developed the divested
                                          developed the          asset organically
                                                        divested asset organically or
                                                                                   or if the seller
                                                                                      if the seller had
                                                                                                    had
                                                                                                 28
                               acquired
                               acquired it more than
                                        it more than ten
                                                     ten years
                                                         years before
                                                               before the
                                                                      the evaluated
                                                                          evaluated divestiture.
                                                                                    divestiture.28

                 b. II also
                 b.    also evaluated whether the
                            evaluated whether the deal included aa TSA
                                                  deal included    TSA or
                                                                       or aa similar
                                                                             similar agreement that
                                                                                     agreement that

                     indicates ongoing
                     indicates         technical support
                               ongoing technical support from the seller
                                                         from the        after the
                                                                  seller after the deal closed. 29
                                                                                   deal closed. 29




           C.
           C.        A "qualified
                     A “qualified divestiture”
                                  divestiture" of
                                               of TikTok’s
                                                  TikTok's U.S.
                                                           U.S. application would be
                                                                application would be highly
                                                                                     highly
                     complex
                     complex

           23.
           23.       While the
                     While the details
                               details of
                                       of aa potential “qualified divestiture”
                                             potential "qualified divestiture" of
                                                                               of TikTok’s U.S.
                                                                                  TikTok's U.S.

 application are currently
 application are           unknowable, the
                 currently unknowable, the information that II have
                                           information that    have reviewed
                                                                    reviewed indicates that any
                                                                             indicates that any

 “qualified divestiture”
 "qualified divestiture" of the U.S.
                         of the U.S. application would be
                                     application would be highly
                                                          highly complex.
                                                                 complex.

           24.
           24.       First, TikTok’s
                     First,          U.S. application
                            TikTok's U.S.             and global
                                          application and global application
                                                                 application are
                                                                             are highly integrated.
                                                                                 highly integrated.

 TikTok’s U.S. application
 TikTok's U.S. application offers the same
                           offers the same product
                                           product as
                                                   as TikTok’s global application—that
                                                      TikTok's global application—that is,
                                                                                       is, the
                                                                                           the

 asset to be
 asset to be divested would be
             divested would be defined
                               defined only by aa geographic
                                       only by    geographic market,
                                                             market, even though the
                                                                     even though the asset is part
                                                                                     asset is part




 28
 28
      II use
         use the
             the ten-year
                  ten-year benchmark
                            benchmark as as aa proxy  for an
                                               proxy for  an expected
                                                             expected level
                                                                       level ofof integration between an
                                                                                  integration between   an acquired
                                                                                                           acquired asset
                                                                                                                      asset and the
                                                                                                                            and the
      acquirer.    Based on
       acquirer. Based    on my
                             my experience,
                                  experience, all
                                                all else equal, companies
                                                    else equal,              have an
                                                                companies have      an economic
                                                                                       economic incentive   to integrate
                                                                                                  incentive to            operations
                                                                                                               integrate operations
      over time.
      over   time. As
                    As II describe
                          describe below,  my conclusions
                                    below, my    conclusions would
                                                               would not
                                                                      not change
                                                                          change even    if the
                                                                                    even if the threshold
                                                                                                threshold were
                                                                                                           were different.
                                                                                                                 different. First,
                                                                                                                            First,
      none of
      none    of the
                 the divestitures
                     divestitures II evaluated
                                     evaluated inin Section
                                                    Section III.D  had indicia
                                                             III.D had  indicia of
                                                                                 of being
                                                                                     being non-complex    based on
                                                                                           non-complex based     on the
                                                                                                                     the ten-year
                                                                                                                         ten-year
      acquisition    criterion alone.
       acquisition criterion   alone. Second,    none of
                                       Second, none    of the
                                                          the divestitures
                                                              divestitures II evaluated  in Section
                                                                              evaluated in  Section III.D  took fewer
                                                                                                     III.D took  fewer than
                                                                                                                         than 270
                                                                                                                              270
      days.
      days.
 29
 29
      As II discuss
      As            in Section
            discuss in Section III.D,
                                III.D, public companies and
                                       public companies   and companies
                                                               companies in  regulated industries
                                                                          in regulated            frequently face
                                                                                       industries frequently face
      obligations to
      obligations  to disclose details regarding
                      disclose details regarding their
                                                 their divestitures,
                                                       divestitures, providing transparency into
                                                                     providing transparency into otherwise
                                                                                                  otherwise concealed
                                                                                                            concealed
      divestiture steps.
      divestiture steps.



                                                                 12
                                                                 12
                                                        APP-656
                                                        APP-656
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 of
 of aa global
       global platform
              platform and
                       and product. Further, TikTok’s
                           product. Further,          U.S. application
                                             TikTok's U.S. application is
                                                                       is an
                                                                          an organic
                                                                             organic part
                                                                                     part of
                                                                                          of

 TikTok’s global platform;
 TikTok's global           Petitioners did
                 platform; Petitioners did not
                                           not acquire
                                               acquire "TikTok U.S.” 30 Indeed,
                                                       “TikTok U.S."30          the Draft
                                                                        Indeed, the Draft National
                                                                                          National

 Security
 Security Agreement (“NSA”) defines
          Agreement ("NSA")         the "TikTok
                            defines the “TikTok U.S.
                                                U.S. Application”
                                                     Application" as “all versions
                                                                  as "all versions of
                                                                                   of the
                                                                                      the

 TikTok
 TikTok Global App provided
        Global App          to, or
                   provided to, or accessible by, TikTok
                                   accessible by,             Users,” 31 suggesting
                                                         U.S. Users,"31
                                                  TikTok U.S.            suggesting that
                                                                                    that the
                                                                                         the

 “TikTok U.S.
 "TikTok U.S. Application”
              Application" is
                           is indistinguishable from the
                              indistinguishable from the "TikTok
                                                         “TikTok Global App.”
                                                                 Global App."

           25.
           25.       Second, the global
                     Second, the global TikTok application itself
                                        TikTok application        is highly
                                                           itself is highly integrated with
                                                                            integrated with

 ByteDance.32,33 The
 ByteDance.32'33     Harvard Business
                 The Harvard Business Review
                                      Review attributes ByteDance’s success
                                             attributes ByteDance's         in part
                                                                    success in      to its
                                                                               part to its

 “shared-service platform”
 "shared-service platform" model. ByteDance has
                           model. ByteDance has centralized
                                                centralized many technology, operating,
                                                            many technology,            and
                                                                             operating, and

 business functions
 business           into "shared-service
          functions into “shared-service platforms” that can
                                         platforms" that     be flexibly
                                                         can be flexibly deployed to handle
                                                                         deployed to handle many
                                                                                            many




 30
 30
      ByteDance’s 2017
      ByteDance's     2017 acquisition
                            acquisition of  of Musical.ly
                                               Musical.ly is is irrelevant for this
                                                                irrelevant for this evaluation    because divesting
                                                                                    evaluation because     divesting TikTok’s     U.S.
                                                                                                                      TikTok's U.S.
      application  would be
      application would     be far
                               far different    than unwinding
                                     different than    unwinding thethe Musical.ly
                                                                        Musical.ly transaction.
                                                                                    transaction. Although
                                                                                                   Although ByteDance
                                                                                                               ByteDance initially
                                                                                                                            initially ran
                                                                                                                                      ran
      Musical.ly as
      Musical.ly  as an   “independent platform"
                      an "independent       platform” ("China's
                                                          (“China’s ByteDance
                                                                     ByteDance Buying
                                                                                  Buying Lip-Sync
                                                                                            Lip-Sync App
                                                                                                       App Musical.ly
                                                                                                             Musical.ly for
                                                                                                                          for Up
                                                                                                                              Up to
                                                                                                                                  to $1
                                                                                                                                     $1
      Billion,” Reuters,
      Billion," Reuters, November
                           November 10,    10, 2017,
                                               2017, https://www.reuters.com/article/idUSKBN1DA0BQ/),
                                                       https://www.reuters.com/article/idUSKBN1DA0BQ/), before        before
      relaunching TikTok
      relaunching   TikTok in in the
                                 the United
                                        United States
                                                States inin August
                                                            August 2018,
                                                                     2018, ByteDance
                                                                           ByteDance "abandoned
                                                                                         “abandoned the the Musical.ly
                                                                                                            Musical.ly code
                                                                                                                         code base
                                                                                                                               base and
                                                                                                                                     and
      technology, including
      technology,   including Musical.ly's
                                Musical.ly’s recommendation            engine, operation
                                                  recommendation engine,       operation system,
                                                                                           system, user
                                                                                                     user growth,
                                                                                                          growth, and    marketing
                                                                                                                    and marketing
      tools.” (Petition,
      tools." (Petition, TikTok     Inc. et
                          TikTok Inc.     et al
                                             al v.
                                                v. CFIUS,
                                                   CFIUS, No.No. 20-1444,
                                                                   20-1444, November
                                                                             November 10,     2020, pp.
                                                                                          10, 2020,   pp. 9-10.)  ByteDance integrated
                                                                                                          9-10.) ByteDance     integrated
      Musical.ly’s "user
      Musical.ly's   “user base,
                            base, some      music licensing
                                    some music      licensing agreements
                                                                agreements and    other copyright
                                                                             and other   copyright agreements”      with the
                                                                                                     agreements" with    the
      “technology platfoun
      "technology    platform [.[…]
                                  . . ] developed
                                        developed by by ByteDance
                                                         ByteDance before
                                                                      before the
                                                                              the Musical.ly
                                                                                  Musical.ly acquisition     had even
                                                                                               acquisition had    even occurred."
                                                                                                                        occurred.” (See
                                                                                                                                     (See
      Petition, TikTok
      Petition,          Inc. et
                TikTok Inc.       al v.
                               et al   v. CFIUS,
                                          CFIUS, No.
                                                   No. 20-1444,
                                                         20-1444, November
                                                                    November 10,10, 2020,
                                                                                     2020, pp.
                                                                                            pp. 9-10.  See also
                                                                                                 9-10. See  also Rebecca
                                                                                                                  Rebecca Fannin,
                                                                                                                            Fannin,
      “The Strategy
      "The             Behind TikTok’s
            Strategy Behind      TikTok's Global        Rise,” Harvard
                                              Global Rise,"     Harvard Business
                                                                         Business Review,
                                                                                    Review, September
                                                                                              September 13,     2019,
                                                                                                            13, 2019,
      https://hbr.org/2019/09/the-strategy-behind-tiktoks-global-rise.) As
      https://hbr.org/2019/09/the-strategy-behind-tiktoks-global-rise.)             As aa result, the current
                                                                                          result, the current TikTok
                                                                                                               TikTok app
                                                                                                                        app in  the
                                                                                                                             in the
      United States
      United          has only
              States has   only the
                                 the barest
                                        barest attributes
                                               attributes ofof the
                                                               the Musical.ly
                                                                   Musical.ly app   from 2017
                                                                               app from    2017 and   there is
                                                                                                  and there  is essentially
                                                                                                                essentially no
                                                                                                                            no
      Musical.ly app
      Musical.ly  app toto divest.
                           divest.
 31
 31
      Draft National
      Draft National Security Agreement by
                     Security Agreement  by and Among: (i)
                                            and Among:    (i) ByteDance
                                                              ByteDance Ltd.,
                                                                        Ltd., (ii)
                                                                              (ii) TikTok Ltd., (iii)
                                                                                   TikTok Ltd., (iii) TikTok Inc., and
                                                                                                      TikTok Inc., and
      (iv) CFIUS
      (iv)       Monitoring Agencies,
           CFIUS Monitoring   Agencies, on
                                        on behalf
                                           behalf of
                                                  of the
                                                     the CFIUS,   August 23,
                                                         CFIUS, August   23, 2022.
                                                                             2022.
 32
 32
      Kane Wu
      Kane  Wu andand Julie
                      Julie Zhu, “Exclusive: ByteDance
                            Zhu, "Exclusive:  ByteDance Prefers
                                                             Prefers TikTok
                                                                     TikTok Shutdown
                                                                             Shutdown in  in US
                                                                                             US if
                                                                                                 if Legal
                                                                                                    Legal Options  Fail, Sources
                                                                                                           Options Fail, Sources
      Say,” Reuters, April
      Say," Reuters,   April 26,
                             26, 2024, https://www.reuters.com/technology/bytedance-prefers-tiktok-shutdown-us-if-
                                 2024, https://www.reuters.com/technology/bytedance-prefers-tiktok-shutdown-us-if-
      legal-options-fail-sources-say-2024-04-25/
      legal-options-fail-sources-say-2024-04-25/ ("The  (“The algorithms
                                                              algorithms TikTok   relies on
                                                                          TikTok relies  on for
                                                                                             for its operations are
                                                                                                 its operations     deemed
                                                                                                                are deemed
      core to
      core to ByteDance's
              ByteDance’s overall
                             overall operations.
                                     operations. […]
                                                 [. . . ] TikTok shares the
                                                          TikTok shares the same  core algorithms
                                                                            same core                 with ByteDance
                                                                                        algorithms with    ByteDance domestic
                                                                                                                       domestic
      apps
      apps like
           like short
                 short video
                       video platform  Douyin.”). By
                             platfoun Douyin.").    By ByteDance
                                                          ByteDance II mean
                                                                       mean to
                                                                             to refer
                                                                                refer to
                                                                                      to the
                                                                                         the general   corporate group,
                                                                                             general corporate   group, as
                                                                                                                         as
      opposed to
      opposed   to any particular corporate
                   any particular corporate entity.
                                            entity.
 33
 33
      Counsel
      Counsel instructed   me to
               instructed me   to evaluate
                                  evaluate whether
                                           whether aa "qualified
                                                      “qualified divestiture"
                                                                 divestiture” ofof TikTok’s    U.S. application,
                                                                                   TikTok's U.S.     application, as as opposed
                                                                                                                        opposed toto
      TikTok’s
      TikTok's global
                 global application,  would be
                         application, would be operationally
                                               operationally feasible
                                                              feasible within
                                                                        within the
                                                                                the timeframe
                                                                                     timeframe and      under the
                                                                                                 and under      the restrictions set
                                                                                                                    restrictions set
      out in
      out    the Act.
          in the Act. That  noted, my
                       That noted, my opinions
                                       opinions set out in
                                                set out    this declaration
                                                        in this declaration would
                                                                             would not not change  if II were
                                                                                           change if     were toto evaluate
                                                                                                                   evaluate aa
      “qualified divestiture”
      "qualified  divestiture" of
                               of TikTok’s
                                  TikTok's global
                                            global application.
                                                   application. This  is because,
                                                                 This is because, asas II describe
                                                                                          describe in   this section,
                                                                                                   in this             such aa
                                                                                                             section, such
      divestiture would
      divestiture would remain
                          remain aa complicated
                                    complicated geographic
                                                geographic splitting   of aa highly
                                                             splitting of    highly integrated   product: in
                                                                                      integrated product:     in this
                                                                                                                 this case,
                                                                                                                      case, the
                                                                                                                            the
      integration  of the
      integration of  the global
                          global TikTok
                                 TikTok application   with ByteDance.
                                         application with  ByteDance.



                                                                   13
                                                                   13
                                                          APP-657
                                                          APP-657
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 tasks across
 tasks across products—including
              products—including core
                                 core engineering tasks. 34 The
                                      engineering tasks.'       Harvard Business
                                                            The Harvard Business Review's
                                                                                 Review’s

 description
 description of the "shared-service
             of the “shared-service platform”
                                    platform" across ByteDance’s products
                                              across ByteDance's products is
                                                                          is consistent with
                                                                             consistent with

 Petitioners’ submission
 Petitioners'            to the
              submission to the Committee
                                Committee on Foreign Investment
                                          on Foreign Investment in
                                                                in the
                                                                   the United
                                                                       United States (“CFIUS”)
                                                                              States ("CFIUS")

 in August
 in August 2021,
           2021, explaining that the
                 explaining that the TikTok
                                     TikTok application (and ByteDance's
                                            application (and ByteDance’s other applications) are
                                                                         other applications) are

 composed
 composed of thousands of
          of thousands    “microservices,” 35 whereby
                       of "microservices,"35  whereby "small,
                                                      “small, self-contained teams” can
                                                              self-contained teams" can
                                                   36
 separately
 separately develop the software
            develop the software for
                                 for each
                                     each service.
                                          service.36  This
                                                      This approach
                                                           approach allows
                                                                    allows product
                                                                           product engineering
                                                                                   engineering

 teams to
 teams to rapidly leverage technologies
          rapidly leverage technologies across
                                        across products,
                                               products, in
                                                         in effect integrating the
                                                            effect integrating the software
                                                                                   software

 underlying ByteDance's
 underlying ByteDance’s various apps. 37,38
                        various apps.37'38

          26.
          26.       Third,
                    Third, as
                           as II described
                                 described above, the Act
                                           above, the Act precludes Petitioners from
                                                          precludes Petitioners from having “any
                                                                                     having "any

 operational
 operational relationship” with the
             relationship" with the buyer
                                    buyer after
                                          after January (or April)
                                                January (or        2025. 39 Therefore,
                                                            April) 2025.39             the Act
                                                                            Therefore, the Act

 effectively
 effectively prohibits
             prohibits TSAs
                       TSAs or
                            or other
                               other post-divestiture
                                     post-divestiture support
                                                      support arrangements.
                                                              arrangements. This
                                                                            This restriction
                                                                                 restriction means
                                                                                             means

 that the
 that the entire timeline (corporate
          entire timeline (corporate and
                                     and operational), including all
                                         operational), including all planning,
                                                                     planning, development,
                                                                               development, and
                                                                                            and

 transition implementation
 transition implementation must
                           must be
                                be completed by the
                                   completed by the deadline,
                                                    deadline, rendering the divestiture
                                                              rendering the divestiture more
                                                                                        more

 complex.
 complex.



 34
 34
      Roger Chen
      Roger  Chen and  Rui Ma,
                  and Rui   Ma, "How
                                 “How ByteDance
                                        ByteDance Became
                                                     Became the the World’s    Most Valuable
                                                                    World's Most     Valuable Startup,”      Harvard Business
                                                                                               Startup," Harvard      Business
      Review, February
      Review,  February 24,
                        24, 2022,
                             2022, https://hbr.org/2022/02/how-bytedance-became-the-worlds-most-valuable-startup
                                    https://hbr.org/2022/02/how-bytedance-became-the-worlds-most-valuable-startup
      (“In some
      ("In some cases,
                cases, product   teams customize
                       product teams   customize existing     technologies that
                                                   existing technologies      that have
                                                                                   have already  been developed
                                                                                        already been  developed by   by the
                                                                                                                        the SSP
                                                                                                                            SSP
      [or
      [or Shared-Service Platform]. Algorithms
          Shared-Service Platfoun].   Algorithms are
                                                   are aa case
                                                          case in  point. Product
                                                                in point.  Product teams
                                                                                    teams at  ByteDance work
                                                                                           at ByteDance       work with
                                                                                                                   with SSP
                                                                                                                        SSP
      algorithm
      algorithm engineers  to fine-tune
                engineers to  fine-tune their
                                        their enormously
                                              enormously powerful        recommendation engines.
                                                             powerful recommendation        engines. […]      As expected,
                                                                                                     [. . . ] As expected,
      because so
      because so many
                 many capabilities
                       capabilities have   been centralized
                                     have been                 into this
                                                 centralized into   this large
                                                                          large SSP,  the actual
                                                                                SSP, the  actual product     teams tend
                                                                                                 product teams     tend to
                                                                                                                        to be
                                                                                                                           be
      small and
      small     focused”).
            and focused").
 35
 35
      CFIUS
      CFIUS Questions for ByteDance/TikTok,
            Questions for ByteDance/TikTok, August
                                            August 26, 2021, p.
                                                   26, 2021, p. 13.
                                                                13.
 36
 36
      “What Are
      "What Are Microservices?,"
                Microservices?,” AWS,
                                 AWS, https://aws.amazon.com/microservices/.
                                      https://aws.amazon.com/microservices/.
 37
 37
      Roger Chen
      Roger Chen and Rui Ma,
                 and Rui Ma, "How
                              “How ByteDance
                                     ByteDance Became
                                                 Became the
                                                         the World’s Most Valuable
                                                             World's Most Valuable Startup,” Harvard Business
                                                                                   Startup," Harvard Business
      Review, February
      Review, February 24,
                       24, 2022,
                           2022, https://hbr.org/2022/02/how-bytedance-became-the-worlds-most-valuable-startup.
                                 https://hbr.org/2022/02/how-bytedance-became-the-worlds-most-valuable-startup.
 38
 38
      Although ByteDance
      Although   ByteDance has
                             has provided
                                 provided information
                                            information toto CFIUS   regarding the
                                                             CFIUS regarding    the changes that it
                                                                                    changes that it has made to
                                                                                                    has made  to its software
                                                                                                                 its software
      development process
      development            since 2021
                    process since   2021 as  part of
                                         as part  of Project
                                                     Project Texas,  these changes
                                                             Texas, these  changes do
                                                                                    do not
                                                                                       not alter my opinion
                                                                                           alter my  opinion regarding
                                                                                                             regarding the
                                                                                                                         the
      high level
      high       of integration
           level of integration and
                                and complexity
                                     complexity ofof aa "qualified
                                                        “qualified divestiture"
                                                                   divestiture” of
                                                                                of TikTok’s  U.S. application.
                                                                                   TikTok's U.S.                See
                                                                                                  application. See
      paragraph 29
      paragraph  29 for
                     for additional information.
                         additional infoimation.
 39
 39
      The Act, Section
      The Act, Section 2(g)(6)(B).
                       2(g)(6)(B).



                                                               14
                                                               14
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          27.
          27.       Fourth, according
                    Fourth,           to Petitioners,
                            according to Petitioners, Chinese
                                                      Chinese export
                                                              export control laws would
                                                                     control laws would forbid the
                                                                                        forbid the

 divestment of certain
 divestment of certain elements
                       elements of
                                of TikTok’s integrated software,
                                   TikTok's integrated software, including in particular
                                                                 including in            its
                                                                              particular its
                        40
 recommendation
 recommendation engine.
                engine.40  According to information
                           According to information provided by Petitioners
                                                    provided by Petitioners to
                                                                            to CFIUS, as of
                                                                               CFIUS, as of

 October 2022, TikTok’s
 October 2022,          global application
               TikTok's global application consisted
                                           consisted of
                                                     of roughly
                                                        roughly 22 billion
                                                                   billion lines
                                                                           lines of code. 41
                                                                                 of code. 41

 According to public
 According to public reports, this length
                     reports, this length of
                                          of code is on
                                             code is    the same
                                                     on the same scale
                                                                 scale as
                                                                       as Google was in
                                                                          Google was    2015. 42
                                                                                     in 2015.42

 Similarly, according to
 Similarly, according to Petitioners,
                         Petitioners, as
                                      as of
                                         of August 2021, there
                                            August 2021, there were
                                                               were approximately
                                                                    approximately 4,000
                                                                                  4,000 software
                                                                                        software

 engineers working on
 engineers working    the global
                   on the global TikTok
                                 TikTok application (with only
                                        application (with only about
                                                               about 800
                                                                     800 of them located
                                                                         of them located in
                                                                                         in the
                                                                                            the
                 43
 United States).
 United States).43  The total number
                    The total number of
                                     of 4,000
                                        4,000 engineers
                                              engineers is
                                                        is on the same
                                                           on the same scale
                                                                       scale as Uber. 44 To
                                                                             as Uber.'      the
                                                                                         To the

 extent that—as the
 extent that—as the result
                    result of
                           of an
                              an export ban—the buyer
                                 export ban—the buyer would
                                                      would need to recreate
                                                            need to recreate elements
                                                                             elements of
                                                                                      of

 TikTok’s
 TikTok's software before January
          software before         (or April)
                          January (or April) 19, 2025, TikTok’s
                                             19, 2025, TikTok's large
                                                                large scale further adds
                                                                      scale further      to the
                                                                                    adds to the

 complexity
 complexity of the divestiture.
            of the              Based on
                   divestiture. Based    the Act,
                                      on the      after the
                                             Act, after the deadline, Petitioners would
                                                            deadline, Petitioners would not be
                                                                                        not be

 allowed to provide
 allowed to         the buyer
            provide the buyer breathing
                              breathing room while the
                                        room while the buyer
                                                       buyer recreates this infrastructure
                                                             recreates this                (e.g.,
                                                                            infrastructure (e.g.,

 the buyer
 the buyer would
           would not
                 not be
                     be allowed to run
                        allowed to run TikTok
                                       TikTok on the old
                                              on the old code while the
                                                         code while the new
                                                                        new code was being
                                                                            code was being
           45
 created).
 created).45



 40
 40
      See Letter
      See Letter from
                 from Michael
                      Michael E.E. Leiter,
                                   Leiter, et
                                           et al., to David
                                              al., to David Newman
                                                            Newman (Principal
                                                                   (Principal Deputy
                                                                              Deputy Assistant
                                                                                     Assistant Attorney
                                                                                               Attorney General for
                                                                                                        General for
      National Security),
      National            April 1,
               Security), April 1, 2024,
                                   2024, pp.
                                          pp. 1-2.
                                               1-2.
 41
 41
      “TikTok Source
      "TikTok Source Code Update,” October
                     Code Update,"         24, 2022.
                                   October 24, 2022.
 42
 42
      Cade  Metz, "Google
      Cade Metz,   “Google Is   2 Billion
                             Is 2 Billion Lines
                                          Lines of
                                                of Code—And
                                                   Code—And It’s    All in
                                                               It's All in One Place,” WIRED,
                                                                           One Place," WIRED, September
                                                                                                    September 16,   2015,
                                                                                                                16, 2015,
      https://www.wired.com/2015/09/google-2-billion-lines-codeand-one-place/ (“So,
      https://www.wired.com/2015/09/google-2-billion-lines-codeand-one-place/                 building Google
                                                                                     ("So, building     Google is
                                                                                                                is roughly
                                                                                                                   roughly
      the equivalent
      the equivalent of
                      of building  the Windows
                         building the            operating system
                                       Windows operating   system 40  times over.
                                                                   40 times over. The  […]
                                                                                  The [.      2 billion
                                                                                         .. ] 2 billion lines
                                                                                                        lines that
                                                                                                              that drive
                                                                                                                   drive
      Google
      Google are
               are one
                   one thing.”).
                       thing.").
 43
 43
      CFIUS
      CFIUS Questions for ByteDance/TikTok,
            Questions for ByteDance/TikTok, August
                                            August 26, 2021, pp.
                                                   26, 2021, pp. 13-14.
                                                                 13-14.
 44
 44
      See "Devpod:
      See “Devpod: Improving     Developer Productivity
                       Improving Developer  Productivity at Uber with
                                                         at Uber with Remote
                                                                       Remote Development,"
                                                                              Development,” Uber,
                                                                                             Uber, December
                                                                                                    December 13,
                                                                                                             13,
      2022, https://www.uber.com/blog/devpod-improving-developer-productivity-at-uber/
      2022,  https://www.uber.com/blog/devpod-improving-developer-productivity-at-uber/ ("Uber's
                                                                                            (“Uber’s developer
                                                                                                     developer
      platform serves
      platform  serves 5000
                        5000 core
                             core software
                                  software engineers to build,
                                           engineers to build, deploy,
                                                               deploy, and manage high-quality
                                                                       and manage high-quality software
                                                                                               software productively
                                                                                                        productively
      and
      and at  scale.”).
           at scale.").
 45
 45
      As II described
      As              in paragraph
            described in paragraph 20,
                                    20, divestiture
                                        divestiture processes  become more
                                                    processes become   more complex
                                                                              complex when
                                                                                        when the
                                                                                               the seller
                                                                                                   seller is
                                                                                                          is less
                                                                                                             less able (or
                                                                                                                  able (or
      willing) to
      willing) to support
                  support the
                          the divested
                              divested asset  post-divestiture, because
                                        asset post-divestiture, because if that is
                                                                        if that is the
                                                                                   the case,
                                                                                       case, the
                                                                                             the entirety
                                                                                                 entirety of
                                                                                                          of the
                                                                                                              the operational
                                                                                                                  operational
      effort must occur
      effort must  occur before
                         before closing. See also
                                closing. See  also Eduardo
                                                   Eduardo Cuomo,    “What Is
                                                             Cuomo, "What    Is Software   Maintenance and
                                                                                 Software Maintenance     and Why
                                                                                                                Why Is  It
                                                                                                                     Is It
      Important?,”  Patagonian, March
      Important?," Patagonian,   March 22,
                                         22, 2023,  https://patagonian.com/blog/what-is-software-maintenance-and-why-
                                             2023, https://patagonian.com/blog/what-is-software-maintenance-and-why-
      is-it-important/
      is-it-important/ (“Cuomo,
                       ("Cuomo, 2023”).
                                  2023").



                                                              15
                                                              15
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                                                     APP-659
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           28.
           28.       Fifth, even
                     Fifth,      if Chinese
                            even if Chinese export
                                            export control
                                                   control laws
                                                           laws did
                                                                did not forbid the
                                                                    not forbid the divestment
                                                                                   divestment of
                                                                                              of certain
                                                                                                 certain

 elements
 elements of
          of TikTok’s
             TikTok's software, the preclusion
                      software, the preclusion of “any operational
                                               of "any operational relationship” between
                                                                   relationship" between

 Petitioners and
 Petitioners and the
                 the buyer
                     buyer means
                           means that
                                 that the
                                      the buyer
                                          buyer must,
                                                must, upon
                                                      upon divestiture, be prepared
                                                           divestiture, be          to engage
                                                                           prepared to        in
                                                                                       engage in

 the "ongoing
 the “ongoing process”
              process" of “modifying, upgrading,
                       of "modifying, upgrading, and
                                                 and updating"
                                                     updating” the
                                                               the code underlying TikTok’s
                                                                   code underlying TikTok's

 U.S. application
 U.S. application without
                  without any
                          any post-divestiture
                              post-divestiture support      Petitioners. 46 As
                                                       from Petitioners.46
                                               support from                 As II described above,
                                                                                  described above,

 Petitioners provided
 Petitioners provided information to CFIUS
                      information to       indicating that
                                     CFIUS indicating that TikTok
                                                           TikTok has
                                                                  has aa large
                                                                         large code base and
                                                                               code base and

 development team,47 and
 development team,47     that TikTok’s
                     and that TikTok's software updates have
                                       software updates have aa "high
                                                                “high deployment
                                                                      deployment frequency”
                                                                                 frequency"
                                                                                            48
 with "approximately
 with “approximately 1,000 backend service
                     1,000 backend service deployments to the
                                           deployments to the TikTok
                                                              TikTok application
                                                                     application each
                                                                                 each day.”
                                                                                      day."48

 TikTok’s large scale
 TikTok's large       and deployment
                scale and            of frequent
                          deployment of frequent updates
                                                 updates adds
                                                         adds to
                                                              to the
                                                                 the complexity
                                                                     complexity of the
                                                                                of the

 divestiture because software
 divestiture because software maintenance—an undertaking "no
                              maintenance—an undertaking “no less
                                                             less important than developing
                                                                  important than developing

 the software
 the          itself”—is an
     software itself'—is an operational
                            operational requirement
                                        requirement for business continuity
                                                    for business            that, under
                                                                 continuity that, under the
                                                                                        the Act,
                                                                                            Act,

 could
 could not be subject
       not be         to aa service
              subject to    service agreement after January
                                    agreement after         (or April)
                                                    January (or April) 19, 2025. 49
                                                                       19, 2025.49

           29.
           29.       Sixth,
                     Sixth, my
                            my opinion
                               opinion regarding the high
                                       regarding the high level
                                                          level of
                                                                of integration and complexity
                                                                   integration and complexity of
                                                                                              of aa

 “qualified divestiture”
 "qualified divestiture" of
                         of TikTok’s U.S. application
                            TikTok's U.S. application is unchanged by
                                                      is unchanged by the
                                                                      the technological
                                                                          technological and
                                                                                        and



 46
 46
      Cuomo,    2023. (“Software
      Cuomo, 2023.                 development is
                       ("Software development       is an ongoing process
                                                       an ongoing  process that
                                                                             that requires constant optimization,
                                                                                  requires constant optimization, even
                                                                                                                  even after  the
                                                                                                                        after the
      product is
      product  is out
                  out in the market.
                      in the market. […]
                                      [. . . ] Software maintenance involves
                                               Software maintenance             modifying, upgrading,
                                                                      involves modifying,    upgrading, and updating aa
                                                                                                        and updating
      software system
      software  system toto solve
                            solve errors,
                                  errors, improve     the software
                                             improve the  software itself,
                                                                   itself, increase  performance, or
                                                                           increase performance,  or adapt the system
                                                                                                     adapt the         to aa
                                                                                                               system to
      change in
      change      conditions or
              in conditions   or the
                                 the environment.”).
                                     environment.").
 47
 47
      See paragraph
      See paragraph 27
                    27.
 as
 48
      CFIUS
      CFIUS Questions
                 Questions forfor ByteDance/TikTok,
                                  ByteDance/TikTok, August
                                                       August 26,   2021, p.
                                                                26, 2021,  p. 13.
                                                                               13. This
                                                                                   This level  of deployments
                                                                                        level of  deployments is  on the
                                                                                                               is on  the order
                                                                                                                          order of
                                                                                                                                of
      Amazon, Google,
      Amazon,                 Netflix, and
                    Google, Netflix,        Facebook. See
                                       and Facebook.   See Cate  Lawrence, "Deployment
                                                           Cate Lawrence,     “Deployment Frequency
                                                                                              Frequency –— A
                                                                                                           A Key
                                                                                                              Key Metric
                                                                                                                    Metric in
                                                                                                                           in
      DevOps,” Humanitec,
      DevOps,"       Humanitec, February
                                   February 4,  2021, https://humanitec.com/blog/deployment-frequency-key-metric-in-
                                             4, 2021, https://humanitec.com/blog/deployment-frequency-key-metric-in-
      devops ("[An]
      devops     (“[An] elite
                          elite group
                                group [of
                                       [of companies]  routinely deploys
                                           companies] routinely  deploys on-demand
                                                                           on-demand and      performs multiple
                                                                                         and perfoiins  multiple deployments
                                                                                                                 deployments perper
      day. [.
      day. […]      Amazon, Google,
              . . ] Amazon,     Google, and  Netflix deploy
                                         and Netflix         thousands of
                                                     deploy thousands   of times
                                                                            times per
                                                                                   per day
                                                                                       day (aggregated   over the
                                                                                            (aggregated over  the hundreds
                                                                                                                   hundreds of
                                                                                                                             of
      services that
      services     that comprise
                        comprise their
                                   their production
                                         production environments).”).   See also
                                                     environments)."). See    also Chuck   Rossi, "Continuous
                                                                                   Chuck Rossi,    “Continuous Deployment
                                                                                                                Deployment of of
      Mobile Software
      Mobile     Software at    Facebook (Showcase),”
                             at Facebook   (Showcase)," 2016
                                                          2016 24th  ACM SIGSOFT
                                                                24th ACM    SIGSOFT International
                                                                                        International Symposium,
                                                                                                       Symposium, November
                                                                                                                     November
      2016 ("Given
      2016  (“Given the  the size
                              size of Facebook’s engineering
                                   of Facebook's               team, this
                                                  engineering team,   this resulted
                                                                           resulted in
                                                                                     in 1,000’s
                                                                                        1,000's of
                                                                                                 of deployments
                                                                                                    deployments into
                                                                                                                  into production
                                                                                                                       production
      each
      each day.”).
           day.").
 49
 49
      Cuomo,    2023. As
      Cuomo, 2023.    As II described in paragraph
                            described in  paragraph 20,  divestiture processes
                                                    20, divestiture  processes become
                                                                                become more
                                                                                         more complex     when the
                                                                                                complex when     the seller
                                                                                                                     seller is
                                                                                                                            is
      less
      less able (or willing)
           able (or willing) to
                             to support
                                support the
                                         the divested
                                             divested asset  post-divestiture, because
                                                       asset post-divestiture, because if
                                                                                       if that
                                                                                          that is
                                                                                               is the
                                                                                                  the case, the entirety
                                                                                                      case, the entirety of  the
                                                                                                                         of the
      operational effort
      operational  effort must
                          must occur
                                occur before  closing.
                                      before closing.



                                                                16
                                                                16
                                                        APP-660
                                                        APP-660
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 governance protections
 governance protections on which Petitioners
                        on which Petitioners have been working
                                             have been working (dubbed “Project Texas”).
                                                               (dubbed "Project Texas"). II

 understand that
 understand that Petitioners
                 Petitioners have been working
                             have been working on
                                               on separating U.S. user
                                                  separating U.S. user data
                                                                       data from
                                                                            from non-U.S. user
                                                                                 non-U.S. user

 data,
 data, and that certain
       and that         U.S. user
                certain U.S. user data
                                  data is
                                       is stored
                                          stored in
                                                 in aa protected
                                                       protected enclave
                                                                 enclave in the United
                                                                         in the        States. 50
                                                                                United States.    As part
                                                                                               50 As part

 of Project Texas,
 of Project        ByteDance has
            Texas, ByteDance has established
                                 established aa special
                                                special purpose
                                                        purpose subsidiary (TikTok U.S.
                                                                subsidiary (TikTok U.S. Data
                                                                                        Data

 Security Inc.) intended
 Security Inc.)          to (1)
                intended to (1) manage “all business
                                manage "all business functions that require
                                                     functions that require access to U.S.
                                                                            access to U.S. user
                                                                                           user data
                                                                                                data

 identified by
 identified by the
               the U.S.
                   U.S. government"
                        government” and (2) safeguard
                                    and (2)           “systems that
                                            safeguard "systems that deliver
                                                                    deliver content
                                                                            content on the app
                                                                                    on the app in
                                                                                               in
                                                                51
 the U.S.
 the U.S. to
          to ensure that it
             ensure that    is free
                         it is free from
                                    from foreign
                                         foreign manipulation.”
                                                 manipulation."51  However, II understand
                                                                   However,    understand that
                                                                                          that neither
                                                                                               neither

 TikTok U.S. Data
 TikTok U.S. Data Security
                  Security Inc.,
                           Inc., nor
                                 nor any
                                     any other technological and
                                         other technological and governance
                                                                 governance protections,
                                                                            protections, have
                                                                                         have

 been intended
 been intended to
               to achieve
                  achieve aa complete
                             complete severing
                                      severing of
                                               of all “operational relationships”
                                                  all "operational                between
                                                                   relationships" between

 TikTok’s U.S. application
 TikTok's U.S. application and
                           and its
                               its global application.52 II further
                                   global application.'     further understand
                                                                    understand that
                                                                               that Project
                                                                                    Project Texas
                                                                                            Texas

 does
 does not
      not contemplate the elimination
          contemplate the elimination of
                                      of continued
                                         continued operational
                                                   operational cooperation between TikTok’s
                                                               cooperation between TikTok's

 U.S. application
 U.S. application and ByteDance globally.
                  and ByteDance globally. For
                                          For example, Project Texas
                                              example, Project Texas contemplates
                                                                     contemplates TikTok’s
                                                                                  TikTok's

 U.S. application's
 U.S. application’s continued
                    continued reliance
                              reliance on ByteDance engineers
                                       on ByteDance           for certain
                                                    engineers for         fundamental parts
                                                                  certain fundamental parts of
                                                                                            of
                                                                                              53
 the code
 the code infrastructure that make
          infrastructure that make the
                                   the application work, including
                                       application work, including its
                                                                   its recommendation
                                                                       recommendation engine.
                                                                                      engine.'

 Rather than
 Rather than duplicating these functions
             duplicating these functions in the United
                                         in the United States, Project Texas
                                                       States, Project Texas instead
                                                                             instead contemplates
                                                                                     contemplates

 several layers of
 several layers of protection to validate
                   protection to validate and
                                          and ensure the integrity
                                              ensure the integrity of
                                                                   of source
                                                                      source code
                                                                             code developed
                                                                                  developed outside
                                                                                            outside

     United States.54
 the United
 the




 50
 50
      “About Project
      "About Project Texas,”
                     Texas," TikTok U.S. Data
                             TikTok U.S. Data Security, https://usds.tiktok.com/usds-about/ (“About
                                              Security, https://usds.tiktok.com/usds-about/         Project
                                                                                            ("About Project
      Texas”).
      Texas").
 51
 51
      “About Project
      "About Project Texas”.
                     Texas".
 52
 52
      “National Security
      "National           Agreement CFIUS
                 Security Agreement  CFIUS Case    20-100 Presentation
                                              Case 20-100 Presentation to
                                                                       to the
                                                                          the Committee on Foreign
                                                                              Committee on  Foreign Investment
                                                                                                     Investment in the
                                                                                                                in the
      United States,”
      United           ByteDance/TikTok, September
              States," ByteDance/TikTok,              8, 2023,
                                           September 8,  2023, ("NSA
                                                               (“NSA Presentation,
                                                                      Presentation, 2023"),
                                                                                    2023”), p.
                                                                                            p. 16. See also
                                                                                               16. See also "About
                                                                                                            “About
      Project Texas”
      Project          and Matt
              Texas" and   Matt Perault,
                                Perault, "Has
                                         “Has TikTok
                                              TikTok Implemented   Project Texas?,”
                                                      Implemented Project            Lawfare, May
                                                                           Texas?," Lawfare,   May 10,
                                                                                                    10, 2024,
                                                                                                        2024,
      https://www.lawfaremedia.org/article/has-tiktok-implemented-project-texas ("Perault,
      https://www.lawfaremedia.org/article/has-tiktok-implemented-project-texas   (“Perault, 2024").
                                                                                             2024”).
 53
 53
      NSA Presentation,
      NSA Presentation, 2023,
                        2023, p.
                              p. 16. See also
                                 16. See also "About
                                              “About Project
                                                     Project Texas” and Perault,
                                                             Texas" and Perault, 2024.
                                                                                 2024.
 54
 54
      See "About
      See “About Project
                 Project Texas” and Perault,
                         Texas" and Perault, 2024.
                                             2024.



                                                          17
                                                          17
                                                  APP-661
                                                  APP-661
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          30.
          30.       For the
                    For the above
                            above reasons, it is
                                  reasons, it is my
                                                 my opinion that any
                                                    opinion that     “qualified divestiture”
                                                                 any "qualified divestiture" of
                                                                                             of

 TikTok’s U.S. application
 TikTok's U.S. application would
                           would be
                                 be highly
                                    highly complex.
                                           complex.


          D.
          D.        Market examples
                    Market           show that
                            examples show that complex
                                               complex divestitures are time-consuming
                                                       divestitures are time-consuming
                    processes
                    processes

          31.
          31.       As
                    As II discussed
                          discussed above, the information
                                    above, the             that II have
                                               information that    have reviewed
                                                                        reviewed regarding
                                                                                 regarding aa potential
                                                                                              potential

 divestiture
 divestiture of
             of TikTok’s U.S. application
                TikTok's U.S. application suggests that achieving
                                          suggests that achieving aa "qualified
                                                                     “qualified divestiture” would
                                                                                divestiture" would

 be highly
 be highly complex.
           complex. In this section
                    In this section II describe the time
                                       describe the time that
                                                         that highly
                                                              highly complex
                                                                     complex divestitures take based
                                                                             divestitures take based

 on my: (1)
 on my: (1) experience with complex
            experience with complex divestitures
                                    divestitures of
                                                 of highly integrated assets,
                                                    highly integrated assets, and (2) evaluation
                                                                              and (2) evaluation of
                                                                                                 of

 public
 public information
        information available
                    available on
                              on divestitures in the
                                 divestitures in the TMT
                                                     TMT sector.
                                                         sector. These
                                                                 These examples indicate that
                                                                       examples indicate that the
                                                                                              the

 operational timeline alone
 operational timeline alone of
                            of highly
                               highly complex
                                      complex divestitures takes more
                                              divestitures takes      than 360
                                                                 more than 360 days, i.e., longer
                                                                               days, i.e., longer

 than the
 than the time
          time afforded to Petitioners
               afforded to Petitioners in
                                       in the
                                          the Act.
                                              Act.


                    1.
                    1.       My experience
                             My            with Verizon’s
                                experience with            divestitures illustrates
                                                Verizon's divestitures  illustrates the
                                                                                    the time-consuming
                                                                                        time-consuming
                             and complex
                             and complex nature
                                         nature of
                                                of divesting
                                                   divesting highly
                                                             highly integrated
                                                                     integrated assets
                                                                                 assets

          32.
          32.       The
                    The public
                        public often
                               often does
                                     does not
                                          not observe
                                              observe many
                                                      many of the divestiture
                                                           of the divestiture steps that buyers
                                                                              steps that buyers and
                                                                                                and

 sellers
 sellers conduct. For strategic
         conduct. For strategic reasons,
                                reasons, companies
                                         companies often
                                                   often disclose
                                                         disclose information
                                                                  information about
                                                                              about aa potential
                                                                                       potential

 divestiture
 divestiture only
             only after the parties
                  after the parties have
                                    have signed
                                         signed aa binding
                                                   binding agreement (and sometimes
                                                           agreement (and sometimes only
                                                                                    only after
                                                                                         after deal
                                                                                               deal
           55
 closing).
 closing).55  Similarly, the parties
              Similarly, the parties often
                                     often do
                                           do not
                                              not disclose
                                                  disclose details
                                                           details regarding
                                                                   regarding TSAs
                                                                             TSAs or
                                                                                  or other transition
                                                                                     other transition




 55
 55
      Zachary Turke
      Zachary    Turke and   Edward Xia,
                         and Edward   Xia, "Why
                                           “Why It’s
                                                  It's Important to Manage
                                                       Important to Manage Confidentiality    in M&A
                                                                             Confidentiality in  M&A Deals,"
                                                                                                         Deals,” Los
                                                                                                                 Los Angeles
                                                                                                                     Angeles
      &  San Francisco
      & San    Francisco Daily
                           Daily Journal,
                                 Journal, August
                                           August 31,   2020,
                                                   31, 2020,
      https://www.sheppardmullin.com/media/publication/1888_Sheppard%20_DJ-8-31-2020_.pdf, p.
      https://www.sheppardmullin.com/media/publication/1888Sheppard%20DJ-8-31-2020_.pdf,                     p. 1
                                                                                                                1
      (“Maintaining confidentiality
      ("Maintaining     confidentiality of
                                        of any information you
                                           any information  you disclose,
                                                                 disclose, including
                                                                           including that
                                                                                     that aa potential
                                                                                             potential transaction
                                                                                                       transaction might
                                                                                                                   might occur
                                                                                                                         occur
      at
      at all,
         all, is
              is of the utmost
                 of the utmost importance.”).
                               importance.").



                                                              18
                                                              18
                                                     APP-662
                                                     APP-662
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                                             56
 agreements unless required
 agreements unless          to do
                   required to do so by law.
                                  so by law.56  Therefore, the public
                                                Therefore, the        typically only
                                                               public typically only observes the
                                                                                     observes the

 divestiture timeline from
 divestiture timeline      the signing
                      from the signing of
                                       of aa binding
                                             binding agreement
                                                     agreement until
                                                               until the
                                                                     the close
                                                                         close of the deal.
                                                                               of the deal.

          33.
          33.       Companies in regulated
                    Companies in regulated industries,
                                           industries, however,
                                                       however, frequently face obligations
                                                                frequently face             to
                                                                                obligations to

 disclose
 disclose details
          details regarding their divestitures,
                  regarding their divestitures, providing transparency into
                                                providing transparency into otherwise
                                                                            otherwise concealed
                                                                                      concealed

 divestiture
 divestiture steps. Public records
             steps. Public         in regulated
                           records in regulated industries
                                                industries provide
                                                           provide detail
                                                                   detail on the time
                                                                          on the time and work that
                                                                                      and work that

 divestitures
 divestitures require and the
              require and the associated
                              associated complexity in the
                                         complexity in the months and years
                                                           months and years after the divestiture.
                                                                            after the divestiture.

          34.
          34.       Accordingly,
                    Accordingly, my
                                 my experience with three
                                    experience with three complex
                                                          complex divestitures at Verizon,
                                                                  divestitures at          which
                                                                                  Verizon, which

 operates in aa regulated
 operates in    regulated industry,
                          industry, allows
                                    allows me to describe
                                           me to describe comprehensively the time
                                                          comprehensively the time needed to
                                                                                   needed to

 separate
 separate and
          and divest
              divest aa highly integrated asset.
                        highly integrated asset. These three Verizon
                                                 These three Verizon divestitures, which II discuss
                                                                     divestitures, which    discuss

 below, illustrate
 below,            the time-consuming
        illustrate the time-consuming and
                                      and unpredictable
                                          unpredictable nature
                                                        nature of
                                                               of divesting
                                                                  divesting highly
                                                                            highly integrated
                                                                                   integrated

 assets
 assets and the frequent
        and the frequent provision
                         provision of
                                   of post-closing
                                      post-closing operational
                                                   operational assistance by the
                                                               assistance by the seller
                                                                                 seller to
                                                                                        to the
                                                                                           the buyer,
                                                                                               buyer,

 irrespective of
 irrespective    whether the
              of whether the buyer
                             buyer intends
                                   intends to
                                           to integrate
                                              integrate the
                                                        the divested
                                                            divested assets
                                                                     assets into its existing
                                                                            into its          business
                                                                                     existing business

 or to operate
 or to operate aa new,
                  new, stand-alone business.
                       stand-alone business.

          35.
          35.       These Verizon examples
                    These Verizon examples are
                                           are relevant to evaluating
                                               relevant to evaluating any
                                                                      any potential “qualified
                                                                          potential "qualified

 divestiture”
 divestiture" of
              of TikTok’s U.S. application
                 TikTok's U.S. application because,
                                           because, pre-divestiture, the divested
                                                    pre-divestiture, the divested assets were
                                                                                  assets were

 highly
 highly integrated with the
        integrated with the non-divested
                            non-divested assets,
                                         assets, as is the
                                                 as is the case between TikTok’s
                                                           case between          U.S. and
                                                                        TikTok's U.S. and global
                                                                                          global

 applications.
 applications. Specifically:
               Specifically:

                a.
                a. All three Verizon
                   All three Verizon divestitures involved aa geographic
                                     divestitures involved    geographic separation
                                                                         separation of
                                                                                    of aa portion
                                                                                          portion of
                                                                                                  of

                    Verizon’s business,
                    Verizon's business, instead
                                        instead of
                                                of aa more
                                                      more straightforward
                                                           straightforward separation based on
                                                                           separation based on product
                                                                                               product




 56
 56
      As II discuss
      As            in Section
            discuss in Section III.D,
                                III.D, public companies and
                                       public companies   and companies
                                                               companies in  regulated industries
                                                                          in regulated            frequently face
                                                                                       industries frequently face
      obligations to
      obligations  to disclose details regarding
                      disclose details regarding their
                                                 their divestitures,
                                                       divestitures, providing transparency into
                                                                     providing transparency into otherwise
                                                                                                  otherwise concealed
                                                                                                            concealed
      divestiture steps.
      divestiture steps.



                                                            19
                                                            19
                                                    APP-663
                                                    APP-663
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                     market
                     market alone. Likewise, the
                            alone. Likewise, the divestiture
                                                 divestiture required from Petitioners
                                                             required from Petitioners is
                                                                                       is aa geographic
                                                                                             geographic

                     separation
                     separation of
                                of aa portion
                                      portion of
                                              of TikTok’s business.
                                                 TikTok's business.

                 b. These
                 b. These assets
                          assets had been highly
                                 had been        integrated in
                                          highly integrated    Verizon’s overall
                                                            in Verizon's         business from
                                                                         overall business from aa
                                                   57
                     business-process perspective.
                     business-process perspective.57  Likewise, TikTok’s
                                                      Likewise,          U.S. application
                                                                TikTok's U.S. application is an organic
                                                                                          is an organic

                     part
                     part of
                          of TikTok’s global application,
                             TikTok's global application, meaning that the
                                                          meaning that the U.S.
                                                                           U.S. application is highly
                                                                                application is highly

                     integrated in
                     integrated in the
                                   the global
                                       global application.
                                              application.

           36.
           36.       The total timelines
                     The total timelines (inclusive
                                         (inclusive of
                                                    of all
                                                       all corporate
                                                           corporate and
                                                                     and operational
                                                                         operational steps) for these
                                                                                     steps) for these

 three Verizon
 three Verizon divestitures took at
               divestitures took at least
                                    least 751
                                          751 days,
                                              days, 757
                                                    757 days,
                                                        days, and
                                                              and 1,056
                                                                  1,056 days,
                                                                        days, respectively—i.e.,
                                                                              respectively—i.e.,

 each took between
 each took between two
                   two and three times
                       and three times as
                                       as long
                                          long as the maximum
                                               as the         timeline the
                                                      maximum timeline the Act
                                                                           Act affords
                                                                               affords

 Petitioners.58 Importantly,
 Petitioners.58              the publicly
                Importantly, the publicly observable
                                          observable operational timelines alone
                                                     operational timelines alone took
                                                                                 took at
                                                                                      at least
                                                                                         least 422,
                                                                                               422,

 727,
 727, and 642 days—all
      and 642          well over
              days—all well      the time
                            over the time allotted to Petitioners
                                          allotted to Petitioners by
                                                                  by the
                                                                     the Act.
                                                                         Act. II summarize these
                                                                                 summarize these

 Verizon
 Verizon divestitures below and
         divestitures below and provide
                                provide more
                                        more detail
                                             detail in Appendix B.
                                                    in Appendix B.

           37.
           37.       A 2005 divestiture
                     A 2005 divestiture of
                                        of Verizon’s telephone access
                                           Verizon's telephone        lines in
                                                               access lines    Hawaii (“HawaiianTel”)
                                                                            in Hawaii ("HawaiianTel")

 spanned
 spanned aa total
            total of
                  of 751
                     751 days between Verizon's
                         days between Verizon’s disclosure
                                                disclosure of
                                                           of deal
                                                              deal discussions and the
                                                                   discussions and the final
                                                                                       final
                                                                                            59
 operational
 operational cutover (i.e., the
             cutover (i.e., the date
                                date at which new
                                     at which new stand-alone
                                                  stand-alone systems were up
                                                              systems were up and
                                                                              and running).
                                                                                  running).59

 Furthermore, the
 Furthermore, the operational timeline alone
                  operational timeline alone spanned
                                             spanned at
                                                     at least
                                                        least 422
                                                              422 days—that
                                                                  days—that is,
                                                                            is, longer than the
                                                                                longer than the


 57
 57
      See Exhibit
      See         1 and
          Exhibit 1     Appendix B.
                    and Appendix B.
 58
 S8   A total
      A  total timeline
               timeline of  751 days
                         of 751  days or 757 days
                                      or 757  days is more than
                                                   is more   than two
                                                                   two times
                                                                       times as
                                                                             as long
                                                                                long as  the maximum
                                                                                      as the maximum timeline
                                                                                                         timeline the
                                                                                                                   the Act
                                                                                                                        Act
      affords  to Petitioners
      affords to  Petitioners (751
                               (751 days
                                    days // 360
                                            360 days
                                                days == 2.1;
                                                        2.1; similarly,  757 days
                                                              similarly, 757 days // 360
                                                                                     360 days
                                                                                         days == 2.1).
                                                                                                 2.1). A
                                                                                                       A total
                                                                                                          total timeline
                                                                                                                timeline ofof 1,056
                                                                                                                              1,056
      days is
      days  is nearly
               nearly three
                      three times
                             times as
                                   as long
                                      long as  the maximum
                                            as the maximum timeline
                                                                timeline the
                                                                         the Act
                                                                             Act affords  to Petitioners
                                                                                 affords to  Petitioners (1,056
                                                                                                         (1,056 days
                                                                                                                  days // 360
                                                                                                                          360 days
                                                                                                                               days
      = 2.9).
        2.9).
 59
 59
      The  corporate timeline
      The corporate   timeline began
                                 began on  March 12,
                                        on March        2004 (when
                                                   12, 2004   (when Verizon
                                                                      Verizon announced  that it
                                                                              announced that     had been
                                                                                              it had  been in
                                                                                                            in divestment
                                                                                                               divestment
      discussions), and
      discussions),       it ended
                     and it         with the
                             ended with  the deal  closing on
                                              deal closing     May 2,
                                                            on May   2, 2005—representing
                                                                        2005—representing aa total
                                                                                              total of
                                                                                                    of 417  days. See
                                                                                                       417 days.  See Verizon
                                                                                                                      Verizon
      Communications
      Communications Inc.,Inc., Foul'
                                Form 10-K    for the
                                      10-K for   the Fiscal
                                                     Fiscal Year  Ended December
                                                             Year Ended   December 31,
                                                                                    31, 2003,
                                                                                        2003, p.
                                                                                               p. 15;
                                                                                                  15; Verizon
                                                                                                       Verizon
      Communications
      Communications Inc.,Inc., Foul'
                                Form 10-K    for the
                                      10-K for   the Fiscal
                                                     Fiscal Year  Ended December
                                                             Year Ended   December 31,
                                                                                    31, 2004,
                                                                                        2004, p.
                                                                                               p. 16;  Hawaiian Telcom
                                                                                                  16; Hawaiian    Telcom
      Communications,
      Communications, Inc.,      Hawaiian Telcom,
                           Inc., Hawaiian  Telcom, Inc.,    Hawaiian Telcom
                                                      Inc., Hawaiian   Telcom Services
                                                                               Services Company,
                                                                                        Company, Inc.,     Form S-4
                                                                                                     Inc., Foul' S-4
      Registration Statement,
      Registration                dated January
                    Statement, dated    January 19,   2006,
                                                  19, 2006,
      https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
      https://www.  sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, p.             7; "Verizon
                                                                                               p. 7; “Verizon Hawaii,
                                                                                                                Hawaii, Inc.
                                                                                                                        Inc.
      (GTHI),” Federal
      (GTHI),"  Federal Communications
                           Communications Commission,
                                               Commission, https://www.fcc.gov/verizon-hawaii-inc-gthi.
                                                              https://www.fcc.gov/verizon-hawaii-inc-gthi.



                                                                20
                                                                20
                                                        APP-664
                                                        APP-664
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 time the
 time the Act
          Act affords Petitioners, without
              affords Petitioners, without even
                                           even considering the incremental
                                                considering the incremental corporate timeline. 60
                                                                            corporate timeline.60

 Verizon and
 Verizon     the buyer
         and the buyer needed this 422-day
                       needed this 422-day period to handle
                                           period to        the software
                                                     handle the software challenges
                                                                         challenges of splitting
                                                                                    of splitting

 off
 off highly
     highly integrated
            integrated assets and establishing
                       assets and establishing aa stand-alone
                                                  stand-alone entity. Notably, after
                                                              entity. Notably,       the transition
                                                                               after the transition

 began, the
 began, the parties
            parties realized that they
                    realized that they had underestimated the
                                       had underestimated the complexity
                                                              complexity of the software
                                                                         of the          transition,
                                                                                software transition,
                           61
 and the TSA
 and the     was extended.
         TSA was extended.61

           38.
           38.       Similarly, Verizon’s 2007
                     Similarly, Verizon's 2007 divestiture
                                               divestiture of its access
                                                           of its access lines in Maine,
                                                                         lines in Maine, Vermont,
                                                                                         Vermont, and
                                                                                                  and

 New Hampshire
 New Hampshire (i.e.,
               (i.e., its
                      its Northeast
                          Northeast Business),
                                    Business), took
                                               took 757
                                                    757 days between signing
                                                        days between signing of the agreement
                                                                             of the agreement
                                    62                                                        63
 and the final
 and the final operational
               operational cutover.
                           cutover.62  The
                                       The operational timeline alone
                                           operational timeline alone took
                                                                      took at
                                                                           at least
                                                                              least 727
                                                                                    727 days.
                                                                                        days.'


 60
 60
      The  operational timeline
      The operational    timeline began
                                    began onon February
                                                February 4,   2005, with
                                                           4, 2005, with the
                                                                         the buyer's
                                                                             buyer’s hiring
                                                                                      hiring of
                                                                                             of BearingPoint
                                                                                                 BearingPoint to
                                                                                                               to create
                                                                                                                  create the
                                                                                                                          the
      necessary back-office
      necessary   back-office systems
                                systems forfor aa new,
                                                  new, stand-alone
                                                       stand-alone HawaiianTel
                                                                    HawaiianTel andand ended
                                                                                        ended on  April 1,
                                                                                               on April    2006, when
                                                                                                        1, 2006,  when the
                                                                                                                         the final
                                                                                                                              final
      cutover to
      cutover   to these
                   these systems
                         systems occurred.
                                   occurred. See See Decision
                                                     Decision and
                                                               and Order  No. 21696,
                                                                    Order No.  21696, In
                                                                                       In the Matter of
                                                                                          the Matter  of the Application of
                                                                                                         the Application   of
      Paradise Mergersub,
      Paradise    Mergersub, Inc.,
                               Inc., GTE
                                     GTE Corporation,
                                            Corporation, Verizon     Hawaii Inc.,
                                                             Verizon Hawaii  Inc., Bell
                                                                                    Bell Atlantic
                                                                                         Atlantic Communications,
                                                                                                  Communications, Inc.,
                                                                                                                     Inc., and
                                                                                                                            and
      Verizon   Select Services
      Verizon Select   Services Inc.
                                  Inc. for
                                        for Approval
                                            Approval ofof aa Merger
                                                             Merger Transaction    and Related
                                                                     Transaction and    Related Matters.,
                                                                                                 Matters., No.
                                                                                                           No. 04-0140,
                                                                                                                04-0140,
      https://files.hawaii.gov/dcca/dca/dno/dno2005/21696.pdf, p.
      https://files.hawaii.gov/dcca/dca/dno/dno2005/21696.pdf,           p. 20; Hawaiian Telcom
                                                                            20; Hawaiian    Telcom Communications,      Inc.,
                                                                                                    Communications, Inc.,
      Hawaiian Telcom,
      Hawaiian    Telcom, Inc.,   Hawaiian Telcom
                            Inc., Hawaiian     Telcom Services
                                                        Services Company,
                                                                  Company, Inc.,    Form S-4
                                                                              Inc., Form       Registration Statement,
                                                                                          S-4 Registration   Statement, dated
                                                                                                                         dated
      January
      January 19,
                19, 2006,  https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
                     2006, https ://www. sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, pp.           pp. 50-51.
                                                                                                                           50-51.
 61
 61
      The  amendment to
      The amendment     to the
                           the initial
                               initial agreement,
                                       agreement, dated December 15,
                                                  dated December      2005, extended
                                                                  15, 2005,           the transition
                                                                            extended the  transition period for an
                                                                                                     period for an
      additional 60 days
      additional 60 days to
                          to April
                             April 1,
                                    1, 2006. See Hawaiian
                                       2006. See Hawaiian Telcom
                                                           Telcom Communications,
                                                                   Communications, Inc.,   Hawaiian Telcom,
                                                                                     Inc., Hawaiian   Telcom, Inc.,
                                                                                                               Inc.,
      Hawaiian Telcom
      Hawaiian   Telcom Services
                          Services Company,
                                    Company, Inc.,   Form S-4
                                               Inc., Form     Registration Statement,
                                                          S-4 Registration            dated January
                                                                           Statement, dated           19, 2006,
                                                                                             January 19,  2006,
      https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
      https://www. sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, p.         7.
                                                                                          p. 7.
 62
 62
      The   corporate timeline
      The corporate    timeline for
                                 for this
                                     this divestiture
                                          divestiture began
                                                       began on
                                                              on January  15, 2007,
                                                                 January 15,   2007, with
                                                                                     with the
                                                                                          the announcement
                                                                                              announcement of of aa deal
                                                                                                                    deal between
                                                                                                                         between
      Verizon
      Verizon and    FairPoint Communications,
                and FairPoint   Communications, an       established telecommunications
                                                     an established  telecommunications provider,
                                                                                           provider, and
                                                                                                     and ended
                                                                                                          ended onon March
                                                                                                                      March 31,
                                                                                                                            31,
      2008, with
      2008,   with the
                   the closing
                        closing of
                                of the
                                   the deal.
                                        deal. See
                                              See Agreement
                                                  Agreement and     Plan of
                                                                and Plan  of Merger
                                                                             Merger by
                                                                                     by and Among Verizon
                                                                                        and Among    Verizon Communications
                                                                                                               Communications
      Inc.,  Northern New
      Inc., Northern   New England
                             England Spinco
                                        Spinco Inc.,
                                                Inc., and  FairPoint Communications,
                                                      and FairPoint                     Inc., January
                                                                     Communications, Inc.,    January 15,
                                                                                                       15, 2007;
                                                                                                           2007; Joint
                                                                                                                   Joint
      Application for
      Application   for Approval
                         Approval ofof the
                                       the Transfer
                                           Transfer ofof Certain Assets by
                                                         Certain Assets  by Verizon   New England
                                                                             Verizon New   England Inc.,  Bell Atlantic
                                                                                                    Inc., Bell Atlantic
      Communications,
      Communications, Inc.,      NYNEX Long
                           Inc., NYNEX      Long Distance
                                                  Distance Company,
                                                             Company, andand Verizon
                                                                              Verizon Select
                                                                                      Select Services
                                                                                              Services Inc.
                                                                                                       Inc. and Associated
                                                                                                            and Associated
      Transactions;   FairPoint Communications,
      Transactions; FairPoint     Communications, Inc.,      Form 10-Q
                                                       Inc., Form        for the
                                                                   10-Q for  the Quarterly Period Ended
                                                                                 Quarterly Period  Ended September
                                                                                                          September 30,30, 2008,
                                                                                                                           2008,
      p. 2.
      p. 2.
 63
 63
      The  operational timeline
      The operational    timeline largely   overlapped with
                                  largely overlapped     with the
                                                              the corporate
                                                                   corporate timeline
                                                                              timeline and   began on
                                                                                        and began     on February
                                                                                                          February 14,  2007, 30
                                                                                                                    14, 2007,  30
      days after
      days        the agreement
            after the             was signed,
                      agreement was             when the
                                        signed, when   the planning
                                                           planning for
                                                                      for the
                                                                          the transition
                                                                              transition started
                                                                                         started pursuant    to the
                                                                                                   pursuant to  the TSAs   and
                                                                                                                    TSAs and
      Master Services
      Master             Agreements (MSAs).
               Services Agreements     (MSAs). (See
                                                  (See Transition
                                                        Transition Services   Agreement by
                                                                    Services Agreement     by and   Among Verizon
                                                                                               and Among               Information
                                                                                                              Verizon Information
      Technologies    LLC, Northern
      Technologies LLC,      Northern New
                                        New England
                                              England Telephone
                                                        Telephone Operations
                                                                     Operations Inc.,  Enhanced Communications
                                                                                 Inc., Enhanced     Communications of   of Northern
                                                                                                                           Northern
      New England
      New   England Inc.
                      Inc. and  FairPoint Communications,
                            and FairPoint   Communications, Inc.,     dated January
                                                                Inc., dated January 15,   2007,
                                                                                      15, 2007,
      https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
      https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
      011/TESTIMONY/Transition%20Service%20Agreement%20Sch%20A-E%20Exhibit%20SES-4%2003-23-
      011/TE   ST IMONY/Tran sition%20 Service%20Agreement%20 Sch%20A-E%20Exhibit%20 SE S-4%2003 -23 -
      07.pdf, p.
      07.pdf,  p. 13 (“Within 30
                  13 ("Within      calendar days
                                30 calendar   days following
                                                    following the
                                                               the date
                                                                    date hereof
                                                                         hereof [January
                                                                                 [January 15,    2007, also
                                                                                           15, 2007,         when the
                                                                                                        also when   the Agreement
                                                                                                                         Agreement
      and Plan of
      and Plan      Merger was
                 of Merger   was signed],
                                 signed], the
                                            the Cutover   Planning Committee
                                                Cutover Planning     Committee shall    hold its
                                                                                  shall hold      initial meeting
                                                                                              its initial meeting to
                                                                                                                   to commence
                                                                                                                      commence
      planning and
      planning   and preparation   for the
                      preparation for  the Buyers
                                            Buyers to
                                                    to cease using all
                                                       cease using   all Transition
                                                                         Transition Services
                                                                                     Services and    thereafter.”).) On
                                                                                                and thereafter.").)       February 9,
                                                                                                                     On February   9,
      2009, FairPoint
      2009,  FairPoint completed
                        completed thethe cutover
                                          cutover process
                                                   process and   began operating
                                                           and began    operating its
                                                                                   its new
                                                                                       new systems     independently from
                                                                                            systems independently       from the
                                                                                                                              the
      Verizon   systems. (See
      Verizon systems.          FairPoint Communications,
                           (See FairPoint   Communications, Inc.,     Form 10-K
                                                                Inc., Form         for the
                                                                             10-K for  the Fiscal
                                                                                           Fiscal Year     Ended December
                                                                                                    Year Ended    December 31, 31,
      2008, pp.
      2008,  pp. 2-3.)
                  2-3.)



                                                                 21
                                                                 21
                                                        APP-665
                                                        APP-665
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 Additionally,
 Additionally, in
               in September 2008, 595
                  September 2008, 595 days into the
                                      days into the operational
                                                    operational implementation, the parties
                                                                implementation, the parties

 realized that they
 realized that they had underestimated the
                    had underestimated the complexity
                                           complexity of the software
                                                      of the          transition, and
                                                             software transition, and despite
                                                                                      despite aa

 significant amount of
 significant amount of pre-cutover
                       pre-cutover system testing, the
                                   system testing, the TSA
                                                       TSA services      extended. 64
                                                                    were extended.
                                                           services were           64



           39.
           39.      Lastly, Verizon's
                    Lastly, Verizon’s 2009
                                      2009 divestiture
                                           divestiture of
                                                       of operations in 14
                                                          operations in 14 states (“14-State
                                                                           states ("14-State

 Divestiture”) to
 Divestiture") to Frontier
                  Frontier Communications
                           Communications Corporation (“Frontier”) spanned
                                          Corporation ("Frontier") spanned 1,056
                                                                           1,056 days between
                                                                                 days between
                                                             65
 signing
 signing of the agreement
         of the agreement and the final
                          and the final operational
                                        operational cutover.
                                                    cutover.65  At
                                                                At least
                                                                   least 642
                                                                         642 days
                                                                             days elapsed
                                                                                  elapsed from
                                                                                          from deal
                                                                                               deal

 closing to the
 closing to the final
                final operational
                      operational cutover,
                                  cutover, during which time
                                           during which time underlying
                                                             underlying operations
                                                                        operations support was
                                                                                   support was

 provided through aa replica
 provided through            version of
                     replica version of Verizon’s
                                        Verizon's software until the
                                                  software until the operation
                                                                     operation support was migrated
                                                                               support was migrated

 to Frontier's
 to Frontier’s own system S. 66
               own systems.  66



           40.
           40.      These three Verizon
                    These three Verizon divestitures
                                        divestitures illustrate the time-consuming
                                                     illustrate the time-consuming and unpredictable
                                                                                   and unpredictable

 nature
 nature of
        of divesting
           divesting highly
                     highly integrated
                            integrated assets.
                                       assets. In
                                               In all
                                                  all cases, the operational
                                                      cases, the             timelines alone—at
                                                                 operational timelines          least
                                                                                       alone—at least

 422,
 422, 727,
      727, and
           and 642
               642 days—were well over
                   days—were well      the time
                                  over the time allotted to Petitioners
                                                allotted to Petitioners by
                                                                        by the
                                                                           the Act,
                                                                               Act, even if the
                                                                                    even if the



 64
 64
      FairPoint Communications,
      FairPoint  Communications, Inc.,     Form 10-Q
                                     Inc., Foil        for the
                                                 10-Q for   the Quarterly   Period Ended
                                                                Quarterly Period   Ended September
                                                                                          September 30,   2008, p.
                                                                                                     30, 2008,  p. 54
                                                                                                                   54 (“We
                                                                                                                      ("We
      expect  to continue
      expect to  continue to
                           to require
                              require transition
                                      transition services
                                                 services agreement    services from
                                                           agreement services    from Verizon  through January
                                                                                       Verizon through           2009, which
                                                                                                        January 2009,  which
      is beyond the
      is beyond   the six month period
                      six month          following the
                                 period following   the closing  of the
                                                        closing of  the merger,
                                                                        merger, during   which we
                                                                                  during which we anticipated
                                                                                                   anticipated requiring
                                                                                                               requiring such
                                                                                                                         such
      services.”); 2009
      services.");  2009 Annual
                          Annual Report,
                                  Report, State  of Maine
                                           State of Maine Public
                                                            Public Utilities
                                                                    Utilities Commission,   February 1,
                                                                              Commission, February   1, 2010,
                                                                                                        2010,
      https://www.maine.gov/mpuc/sites/maine.gov.mpuc/files/inline-files/AR09-FINAL.pdf,
      https://www.maine.gov/mpuc/sites/maine.        gov.mpuc/files/inline-files/AR09-FINAL.pdf, p.   p. 11.
                                                                                                         11.
 65
 65
      The  corporate timeline
      The corporate   timeline for
                               for the
                                   the Frontier
                                       Frontier divestiture
                                                divestiture began  no later
                                                            began no         than May
                                                                       later than May 13,
                                                                                       13, 2009,  when the
                                                                                            2009, when  the parties  signed an
                                                                                                            parties signed   an
      agreement
      agreement and
                  and ended   with the
                       ended with  the closing
                                       closing of
                                               of the
                                                  the deal
                                                      deal on
                                                           on July
                                                              July 1,  2010. (See
                                                                    1, 2010.       Memorandum Opinion
                                                                              (See Memorandum     Opinion and
                                                                                                            and Order,   In the
                                                                                                                 Order, In  the
      Matter of
      Matter  of Applications
                 Applications Filed
                               Filed by  Frontier Communications
                                     by Frontier  Communications Corporation
                                                                     Corporation andand Verizon
                                                                                         Verizon Communications
                                                                                                 Communications Inc.Inc. for
                                                                                                                          for
      Assignment or
      Assignment   or Transfer  of Control,
                       Transfer of Control, WC   Docket No.
                                             WC Docket    No. 09-95,
                                                              09-95, May
                                                                      May 21,21, 2010,
                                                                                 2010, p.
                                                                                       p. 4;
                                                                                          4; Verizon
                                                                                             Verizon Communications
                                                                                                     Communications Inc.,Inc.,
      Form 10-K
      Foul'        for the
             10-K for  the Fiscal
                           Fiscal Year Ended December
                                  Year Ended   December 31,
                                                          31, 2010,
                                                              2010, Note
                                                                     Note 3;   “Verizon Completes
                                                                            3; "Verizon   Completes Spinoff  of Local
                                                                                                     Spinoff of Local
      Exchange Businesses
      Exchange   Businesses and
                              and Related
                                   Related Landline
                                           Landline Activities
                                                     Activities in
                                                                in 14
                                                                   14 States,”
                                                                       States," Verizon   News Archives,
                                                                                 Verizon News   Archives, July
                                                                                                          July 1,
                                                                                                                1, 2010,
                                                                                                                   2010,
      https://www.verizon.com/about/news/press-releases/verizon-completes-spinoff-local-exchange-businesses-and-
      https://www.verizon.com/about/news/press-releases/verizon-completes-spinoff-local-exchange-businesses-and-
      related-landline-activities-14-states.) Frontier
      related-landline-activities-14-states.) Frontier completed   the integration
                                                       completed the                of operations
                                                                        integration of operations from
                                                                                                  from Verizon
                                                                                                        Verizon in   April
                                                                                                                  in April
      2012. (See
      2012.  (See Frontier
                  Frontier Communications,
                            Communications, Customers      Benefit as
                                               Customers Benefit       Frontier Communications
                                                                    as Frontier  Communications Completes      14-State
                                                                                                   Completes 14-State
      Systems
      Systems Conversion,     dated April
                Conversion, dated   April 2,
                                          2, 2012,
                                             2012,
      https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.)
      https://www.  sec. gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm. )
 66
 66
      Frontier completed
      Frontier              the integration
                completed the    integration of  operations from
                                              of operations from Verizon
                                                                 Verizon onon April
                                                                              April 2, 2012. See
                                                                                    2, 2012. See Frontier
                                                                                                  Frontier Communications,
                                                                                                           Communications,
      Customers    Benefit as
      Customers Benefit     as Frontier
                               Frontier Communications
                                          Communications Completes
                                                            Completes 14-State
                                                                        14-State Systems
                                                                                 Systems Conversion,   dated April
                                                                                          Conversion, dated   April 2,
                                                                                                                    2, 2012,
                                                                                                                       2012,
      https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm;
      https://www.   sec. gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm; Memorandum Memorandum
      Opinion
      Opinion and
                and Order,   In the
                     Order, In       Matter of
                                the Matter      Applications Filed
                                             of Applications Filed for
                                                                   for the
                                                                       the Transfer of Certain
                                                                           Transfer of  Certain Spectrum
                                                                                                Spectrum Licenses
                                                                                                           Licenses and
                                                                                                                    and
      Section 214
      Section  214 Authorizations
                    Authorizations in in the States of
                                         the States    Maine, New
                                                    of Maine, New Hampshire,
                                                                    Hampshire, and
                                                                                and Vermont    from Verizon
                                                                                     Vermont from            Communications
                                                                                                    Verizon Communications
      Inc. and
      Inc. and Its
                Its Subsidiaries
                    Subsidiaries to   FairPoint Communications,
                                   to FairPoint  Communications, Inc.,
                                                                    Inc., WC  Docket No.
                                                                          WC Docket    No. 07-22,
                                                                                           07-22, January
                                                                                                  January 9,  2008, p.
                                                                                                           9, 2008, p. 12.
                                                                                                                       12.



                                                              22
                                                              22
                                                      APP-666
                                                      APP-666
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 President were
 President were to
                to grant
                   grant an
                         an extension to April
                            extension to       2025. In
                                         April 2025. In both
                                                        both the
                                                             the 2007
                                                                 2007 and 2009 divestitures,
                                                                      and 2009               the
                                                                               divestitures, the

 operational time alone
 operational time alone that
                        that Verizon
                             Verizon needed to execute
                                     needed to         the divestiture
                                               execute the divestiture nearly
                                                                       nearly doubled the maximum
                                                                              doubled the maximum

 amount
 amount of time afforded
        of time afforded to
                         to Petitioners
                            Petitioners by
                                        by the Act. 67
                                           the Act.


                    2.
                    2.        Other high-value divestitures
                              Other high-value  divestitures in
                                                             in the
                                                                the TMT  sector illustrate
                                                                    TMT sector  illustrate the
                                                                                           the length and
                                                                                               length and
                              complexity of
                              complexity of divesting
                                            divesting highly
                                                      highly integrated
                                                              integrated assets
                                                                         assets

          41.
          41.       My evaluation
                    My evaluation of
                                  of additional
                                     additional divestitures in the
                                                divestitures in the TMT
                                                                    TMT sector further corroborates
                                                                        sector further corroborates

 my
 my conclusion that complex
    conclusion that complex divestitures with highly
                            divestitures with highly integrated assets take
                                                     integrated assets take longer
                                                                            longer than
                                                                                   than the
                                                                                        the time
                                                                                            time

 the Act
 the Act affords
         affords to Petitioners. 68 Additionally,
                 to Petitioners.68  Additionally, as
                                                  as II show below, even
                                                        show below, even divestitures
                                                                         divestitures of less
                                                                                      of less

 integrated assets
 integrated        in this
            assets in this sector
                           sector often take longer
                                  often take        than the
                                             longer than the time
                                                             time afforded
                                                                  afforded to
                                                                           to Petitioners
                                                                              Petitioners in
                                                                                          in the
                                                                                             the Act.
                                                                                                 Act.

          42.
          42.       II used
                       used aa two-step
                               two-step process to identify
                                        process to identify comparable
                                                            comparable historical
                                                                       historical divestitures. First, II
                                                                                  divestitures. First,

 used S&P
 used S&P Capital
          Capital IQ Pro—the research
                  IQ Pro—the research division
                                      division of
                                               of one
                                                  one of the largest
                                                      of the largest providers
                                                                     providers of financial
                                                                               of financial

 information69—to identify
 information69—to identify historical
                           historical divestiture transactions that
                                      divestiture transactions that satisfied the following
                                                                    satisfied the following criteria: 70
                                                                                            criteria:7°

                a.
                a. The
                   The divested
                       divested assets
                                assets operated in the
                                       operated in the "interactive
                                                       “interactive media
                                                                    media and services,” "application
                                                                          and services," “application

                    software,” “systems software,”
                    software," "systems software," or “integrated telecommunication
                                                   or "integrated telecommunication services”
                                                                                    services"

                    industries;71
                    industries;71



 67
 67
      An operational
      An  operational timeline
                       timeline of
                                of 727 days or
                                   727 days   or 642
                                                 642 days
                                                     days is  nearly two
                                                           is nearly two times
                                                                         times as
                                                                               as long
                                                                                    long as the maximum
                                                                                         as the maximum timeline
                                                                                                        timeline the
                                                                                                                 the Act
                                                                                                                     Act
      affords to Petitioners
      affords to Petitioners (727
                             (727 days
                                   days // 360
                                           360 days = 2.0;
                                               days = 2.0; similarly,  642 days
                                                            similarly, 642 days // 360
                                                                                   360 days
                                                                                       days == 1.8).
                                                                                                1.8).
 68
 68
      As II describe
      As             below, S&P
            describe below, S&P Capital
                                 Capital IQ Pro classifies
                                         IQ Pro classifies TikTok Inc. as
                                                           TikTok Inc. as part of the
                                                                          part of the "Technology,
                                                                                      “Technology, Media
                                                                                                   Media &
                                                                                                         &
      Telecommunications”    sector.
      Telecommunications" sector.
 69
 69
      James
      James Chen,   “S&P Capital
              Chen, "S&P Capital IQ Definition, Products
                                 IQ Definition, Products and
                                                         and Services,”
                                                             Services," Investopedia, April 30,
                                                                        Investopedia, April     2024,
                                                                                            30, 2024,
      https://www.investopedia.com/terms/c/capital-iq.asp.
      https://www.investopedia.com/teims/c/capital-iq.asp.
 70
 70
      To
      To identify
          identify divestiture transactions in
                   divestiture transactions in S&P
                                               S&P Capital  IQ Pro,
                                                    Capital IQ Pro, II used
                                                                       used the
                                                                            the filter
                                                                                filter "Transaction
                                                                                       “Transaction Type” to select
                                                                                                    Type" to select
      transactions that
      transactions  that were
                         were either  “M&A -- Asset"
                               either "M&A     Asset” or “M&A -- Spinoff
                                                      or "M&A    Spinoff oror Splitoff.”
                                                                              Splitoff."
 71
 71
      S&P
      S&P Capital  IQ Pro
           Capital IQ Pro classifies
                           classifies TikTok
                                      TikTok Inc.
                                              Inc. as part of
                                                   as part of the
                                                              the "interactive
                                                                  “interactive media
                                                                                media and
                                                                                       and services”
                                                                                            services" industry  within the
                                                                                                      industry within   the
      “Technology, Media
      "Technology,   Media && Telecommunications”
                               Telecommunications" sector.
                                                       sector. Therefore,
                                                               Therefore, II limited
                                                                             limited my
                                                                                     my research
                                                                                         research to
                                                                                                   to transactions
                                                                                                      transactions that
                                                                                                                    that
      involved
      involved divested
               divested assets  operating in
                        assets operating     the "interactive
                                          in the “interactive media
                                                               media and   services” industry
                                                                      and services"  industry as  well as
                                                                                               as well  as other
                                                                                                           other industries
                                                                                                                 industries
      within the
      within the "Technology,
                 “Technology, Media
                                Media && Telecommunications”       sector that
                                          Telecommunications" sector      that are related to
                                                                               are related to TikTok.   For example,
                                                                                              TikTok. For   example, II
      included the industry
      included the industry that
                            that S&P
                                 S&P Capital
                                       Capital IQ  Pro uses
                                               IQ Pro  uses to
                                                            to classify ByteDance Ltd
                                                               classify ByteDance    Ltd ("application
                                                                                          (“application software”)
                                                                                                         software") and
                                                                                                                     and




                                                              23
                                                              23
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                                                      APP-667
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                                                                         72
                 b. The
                 b.     transaction (1)
                    The transaction (1) took
                                        took place
                                             place in the United
                                                   in the United States,
                                                                 States,72  (2) was
                                                                            (2) was announced
                                                                                    announced and
                                                                                              and

                     completed in the
                     completed in the last
                                      last ten
                                           ten years
                                               years (between
                                                     (between 2014
                                                              2014 and 2024), 73 and
                                                                   and 2024),73  and (3)
                                                                                     (3) had
                                                                                         had aa total
                                                                                                total

                     transaction value
                     transaction value greater
                                       greater than
                                               than $1 billion;74 and
                                                    $1 billion;74 and

                 c.
                 c. At least one
                    At least one of
                                 of either the buyer
                                    either the buyer or the seller
                                                     or the seller had
                                                                   had publicly
                                                                       publicly available
                                                                                available Securities
                                                                                          Securities and
                                                                                                     and

                     Exchange Commission
                     Exchange            (“SEC”) filings
                              Commission ("SEC") filings at the time
                                                         at the time of the divestiture,
                                                                     of the divestiture, and the
                                                                                         and the

                     transaction was
                     transaction was subject to regulatory
                                     subject to regulatory or
                                                           or antitrust approval. 75
                                                              antitrust approval.75

           43.
           43.       Including
                     Including in the selection
                               in the selection criteria that at
                                                criteria that at least
                                                                 least one
                                                                       one of the parties
                                                                           of the parties had
                                                                                          had publicly
                                                                                              publicly

 available
 available SEC filings and
           SEC filings     that the
                       and that the transaction
                                    transaction was
                                                was subject to regulatory
                                                    subject to regulatory or
                                                                          or antitrust
                                                                             antitrust approval
                                                                                       approval

 allowed
 allowed me, in most
         me, in most cases, to retrieve
                     cases, to retrieve relevant
                                        relevant information (such as
                                                 information (such    information on
                                                                   as information on TSAs) to
                                                                                     TSAs) to

 determine
 determine an
           an operational timeline that
              operational timeline that might
                                        might otherwise be concealed
                                              otherwise be concealed from the public.
                                                                     from the public. II found
                                                                                         found 26
                                                                                               26

 divestitures that satisfied
 divestitures that           the above
                   satisfied the above criteria and II refer
                                       criteria and          to these
                                                       refer to these 26
                                                                      26 divestitures as my
                                                                         divestitures as    “market
                                                                                         my "market
          76
 sample.”
 sample."76




      industries that are
      industries that are closely related to
                          closely related to application
                                             application software
                                                         software (“systems software” or
                                                                  ("systems software"    “integrated telecommunication
                                                                                      or "integrated telecommunication
      services”).
      services").
 72
 72
      Specifically,
      Specifically, in
                    in S&P
                       S&P Capital IQ Pro,
                           Capital IQ Pro, II used
                                              used the
                                                   the filter
                                                       filter "Transaction
                                                              “Transaction Geography” to select
                                                                           Geography" to select "United
                                                                                                “United States.”
                                                                                                        States."
 73
 73
      Specifically,
      Specifically, in
                    in S&P
                       S&P Capital   IQ Pro,
                             Capital IQ  Pro, II used
                                                 used the
                                                      the filter
                                                          filter "Announced
                                                                 “Announced Date"
                                                                            Date” to
                                                                                  to select
                                                                                     select these
                                                                                            these dates
                                                                                                  dates and the filter
                                                                                                        and the filter
      “Transaction Status”
      "Transaction           to require
                     Status" to require that
                                        that the
                                             the transaction
                                                  transaction was
                                                               was "Completed."
                                                                   “Completed.”
 74
 74
      Specifically,
      Specifically, inin S&P
                          S&P Capital
                                Capital IQIQ Pro,
                                              Pro, II set
                                                      set the
                                                          the data  field "Total
                                                              data field  “Total Transaction
                                                                                  Transaction Value
                                                                                               Value ($M)”
                                                                                                     ($M)" toto be
                                                                                                                be greater  than $1
                                                                                                                    greater than $1
      billion. II used
      billion.    used the
                        the $1  billion cutoff
                            $1 billion  cutoff because      publicly available
                                                 because publicly                information indicates
                                                                       available information            that the
                                                                                              indicates that the TikTok   transaction
                                                                                                                 TikTok transaction
      would be
      would   be over
                   over $1  billion. See,
                         $1 billion. See, e.g.,   Dylan Butts,
                                            e.g., Dylan    Butts, "Kevin
                                                                  “Kevin O’Leary
                                                                           O'Leary Wants    to Buy
                                                                                     Wants to  Buy TikTok
                                                                                                    TikTok at   Up to
                                                                                                             at Up  to 90%   Discount.
                                                                                                                       90% Discount.
      Here’s Why,”
      Here's   Why," CNBC,       March 22,
                        CNBC, March        22, 2024,
                                               2024, https://www.cnbc.com/2024/03/22/kevin-oleary-on-why-he-wants-to-
                                                       https://www.cnbc.com/2024/03/22/kevin-oleary-on-why-he-wants-to-
      buy-tiktok-.html; Brian
      buy-tiktok-.html;     Brian Fung,
                                   Fung, "Who
                                            “Who Could      Buy TikTok?,”
                                                     Could Buy    TikTok?," CNN      Business, April
                                                                               CNN Business,   April 25,
                                                                                                     25, 2024,
                                                                                                          2024,
      https://www.cnn.com/2024/04/25/tech/who-could-buy-tiktok/index.html (describing
      https://www.cnn.com/2024/04/25/tech/who-could-buy-tiktoldindex.html                    (describing aa value
                                                                                                            value of
                                                                                                                   of $20
                                                                                                                      $20 billion to
                                                                                                                          billion to
      $30  billion); Natalie
      $30 billion);   Natalie Andrews
                               Andrews et   et al., “TikTok Crackdown
                                               al., "TikTok   Crackdown Shifts
                                                                             Shifts Into
                                                                                    Into Overdrive, with Sale
                                                                                         Overdrive, with        or Shutdown
                                                                                                           Sale or Shutdown on on
      Table,”
      Table," The
                The Wall
                     Wall Street
                            Street Journal,    March 10,
                                    Journal, March          2024, https://www.wsj.com/tech/why-the-new-effort-to-ban-tiktok-
                                                        10, 2024,   https://www.wsj.com/tech/why-the-new-effort-to-ban-tiktok-
      caught-fire-with-lawmakers-7cd3f980 (describing
      caught-fire-with-lawmakers-7cd3f980             (describing aa price
                                                                       price tag
                                                                             tag "in
                                                                                 “in the
                                                                                     the hundreds
                                                                                         hundreds of billions of
                                                                                                  of billions     dollars”). With
                                                                                                               of dollars").       that
                                                                                                                             With that
      said, my
      said, my results
                  results hold
                          hold even
                                even if
                                      if II lower   the cutoff
                                            lower the          to $750
                                                        cutoff to  $750 million.
                                                                          million.
 75
 75
      Specifically,
      Specifically, in
                     in S&P
                        S&P Capital  IQ Pro,
                             Capital IQ  Pro, II used
                                                 used the
                                                      the filter
                                                          filter "deal
                                                                 “deal condition” to select
                                                                       condition" to        transactions that
                                                                                     select transactions that are
                                                                                                              are classified as
                                                                                                                  classified as
      reporting aa divestiture
      reporting    divestiture subject to "Regulatory
                               subject to “Regulatory or    Antitrust Approval"
                                                        or Antitrust   Approval” (e.g.,
                                                                                 (e.g., subject to competition
                                                                                        subject to competition authority
                                                                                                                authority
      approval).
      approval).
 76
 76
      My analysis
      My analysis of these 26
                  of these 26 divestitures
                              divestitures is presented in
                                           is presented    Exhibit 1.
                                                        in Exhibit 1.



                                                                  24
                                                                  24
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                                                         APP-668
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           44.
           44.       Second, to limit
                     Second, to limit my
                                      my market
                                         market sample to transactions
                                                sample to transactions that
                                                                       that involved
                                                                            involved divestitures
                                                                                     divestitures of
                                                                                                  of

 highly
 highly integrated
        integrated assets,
                   assets, II excluded transactions for
                              excluded transactions for which
                                                        which either: (1) the
                                                              either: (1) the divested
                                                                              divested asset was
                                                                                       asset was

 defined
 defined solely based on
         solely based on product
                         product market,
                                 market, or (2) the
                                         or (2) the seller acquired the
                                                    seller acquired the divested
                                                                        divested asset within ten
                                                                                 asset within ten
                                     77
 years of
 years    the evaluated
       of the evaluated divestiture.
                        divestiture.77  The
                                        The four
                                            four divestitures that remained
                                                 divestitures that          were:
                                                                   remained were:

                 a. Lumen Technologies
                 a. Lumen              Inc.’s ("Lumen")
                          Technologies Inc.'s (“Lumen”) 2022
                                                        2022 sale
                                                             sale of
                                                                  of its
                                                                     its local
                                                                         local exchange business,
                                                                               exchange business,

                     valued at
                     valued at $7.5 billion,78 to
                               $7.5 billion,78 to Apollo
                                                  Apollo Global            (“Apollo”); 79
                                                                Management ("Apollo");
                                                         Global Management             79




                 b. Frontier's
                 b. Frontier’s 2020
                               2020 sale
                                    sale of some of
                                         of some    its operations
                                                 of its operations and assets, valued
                                                                   and assets, valued at
                                                                                      at $1.35 billion,
                                                                                         $1.35 billion,

                     to aa group
                     to    group of           investors;80
                                    financial investors;80
                                 of financial




 77
 77
      II described
         described the
                   the rationale behind these
                       rationale behind these criteria
                                              criteria in
                                                       in Section
                                                          Section III.B.
                                                                  III.B.
 78
 78
      Here and
      Here     in the
           and in the remainder
                      remainder of my declaration,
                                of my declaration, II report
                                                      report transaction
                                                             transaction values
                                                                         values as shown by
                                                                                as shown by S&P
                                                                                            S&P Capital
                                                                                                Capital IQ Pro.
                                                                                                        IQ Pro.
 79
 79
      In Lumen’s case,
      In Lumen's    case, geographic
                          geographic considerations      were necessary
                                        considerations were    necessary to
                                                                          to define  the divested
                                                                              define the divested asset  because Lumen
                                                                                                   asset because  Lumen
      divested its
      divested  its operations
                    operations inin some
                                    some states
                                          states while
                                                 while retaining
                                                        retaining the
                                                                  the same   operations (i.e.,
                                                                      same operations    (i.e., same  products supported
                                                                                                same products   supported by
                                                                                                                           by
      common systems)
      common     systems) in
                           in some
                               some other
                                      other states.
                                            states. The
                                                    The public
                                                         public record that II have
                                                                record that    have reviewed
                                                                                    reviewed indicates
                                                                                                indicates that
                                                                                                          that Lumen
                                                                                                               Lumen did
                                                                                                                       did not
                                                                                                                           not
      acquire  the divested
      acquire the   divested asset   within ten
                              asset within  ten years
                                                years before  the evaluated
                                                      before the  evaluated divestiture.
                                                                              divestiture. "Lumen
                                                                                           “Lumen to to Sell Local Incumbent
                                                                                                        Sell Local  Incumbent
      Carrier
      Carrier Operations
              Operations in in 20
                                20 States to Apollo
                                   States to Apollo Funds
                                                     Funds for
                                                             for $7.5 Billion,” PR
                                                                 $7.5 Billion,"  PR Newswire,
                                                                                     Newswire, August
                                                                                                  August 3,3, 2021,
                                                                                                              2021,
      https://www.prnewswire.com/news-releases/lumen-to-sell-local-incumbent-carrier-operations-in-20-states-to-
      https://www.prnewswire.com/news-releases/lumen-to-sell-local-incumbent-carrier-operations-in-20-states-to-
      apollo-funds-for-7-5-billion-301347625.html.
      apollo-funds-for-7-5-billion-301347625.html.
 80
 80
      In  Frontier’s case,
      In Frontier's  case, geographic      considerations were
                            geographic considerations        were necessary
                                                                   necessary toto define  the divested
                                                                                  define the   divested asset   because Frontier
                                                                                                         asset because    Frontier
      divested its
      divested  its operations
                    operations inin some
                                    some states
                                            states while
                                                    while retaining
                                                           retaining the
                                                                      the same   operations (i.e.,
                                                                          same operations     (i.e., same  products supported
                                                                                                     same products    supported byby
      common systems)
      common     systems) inin some
                               some other
                                      other states.
                                              states. (Matt
                                                       (Matt Pilon,
                                                              Pilon, "Frontier
                                                                     “Frontier Unloads
                                                                                Unloads Northwest
                                                                                           Northwest Telecom       Assets for
                                                                                                        Telecom Assets     for $1.35B,”
                                                                                                                               $1.35B,"
      HBJ, May
      HBJ,   May 29,
                   29, 2019,
                       2019, https://www.hartfordbusiness.com/article/frontier-unloads-northwest-telecom-assets-for-
                               https://www.hartfordbusiness.com/article/frontier-unloads-northwest-telecom-assets-for-
      135b.)
      135b.) The    public record
              The public            that II have
                            record that     have reviewed
                                                   reviewed indicates    that Frontier
                                                              indicates that  Frontier did   not acquire
                                                                                        did not            the divested
                                                                                                  acquire the   divested asset  within
                                                                                                                          asset within
      ten years
      ten  years before
                 before the
                         the evaluated
                              evaluated divestiture.      Although Frontier
                                           divestiture. Although     Frontier acquired
                                                                               acquired Verizon’s      wireline operations
                                                                                         Verizon's wireline                  in
                                                                                                                 operations in
      Washington,
      Washington, Oregon,
                      Oregon, and
                                and Idaho
                                     Idaho inin the
                                                 the 14-State   Divestiture in
                                                      14-State Divestiture   in 2010,
                                                                                2010, the
                                                                                       the asset   divested in
                                                                                            asset divested   in 2019
                                                                                                                 2019 was
                                                                                                                       was different
                                                                                                                            different
      than those
      than  those acquired
                   acquired in   2010. First,
                              in 2010.  First, the
                                                the divested
                                                     divested asset
                                                               asset included   Frontier’s wireline
                                                                     included Frontier's    wireline operations
                                                                                                       operations in   Montana, which
                                                                                                                    in Montana,    which
      it did not
      it did not acquire  from Verizon.
                  acquire from    Verizon. (See     “California, Nevada
                                             (See "California,    Nevada and
                                                                           and South
                                                                                South Carolina     Approve Frontier
                                                                                        Carolina Approve       Frontier Acquisition
                                                                                                                         Acquisition of
                                                                                                                                      of
      Verizon   Local Wireline
      Verizon Local     Wireline Operations,”
                                   Operations," Verizon       News Archives,
                                                    Verizon News     Archives, October     29, 2009,
                                                                                 October 29,    2009,
      https://www.verizon.com/about/news/press-releases/california-nevada-and-south-carolina-approve-frontier-
      https://www.verizon.com/about/news/press-releases/california-nevada-and-south-carolina-approve-frontier-
      acquisition-verizon-local-wireline-operations).
      acquisition-verizon-local-wireline-operations). Second,            the divested
                                                               Second, the   divested asset   included the
                                                                                       asset included    the lines
                                                                                                              lines that
                                                                                                                    that Frontier
                                                                                                                         Frontier
      operated in
      operated   in Oregon
                    Oregon andand Idaho
                                   Idaho prior    to the
                                           prior to  the 2010
                                                          2010 14-State   Divestiture, which
                                                                14-State Divestiture,   which were
                                                                                                 were subsequently
                                                                                                       subsequently integrated     with
                                                                                                                       integrated with
      the operations
      the  operations purchased
                       purchased from
                                    from Verizon.
                                            Verizon. (See    “Frontier Communications
                                                        (See "Frontier                       Announces Sale
                                                                        Communications Announces                 of Operations
                                                                                                           Sale of  Operations inin
      Washington,
      Washington, Oregon,
                      Oregon, Idaho,
                                Idaho, and    Montana,” Frontier
                                        and Montana,"       Frontier Communications,
                                                                      Communications, May  May 29,    2019,
                                                                                                  29, 2019,
      https://investor.frontier.com/news/news-details/2019/Frontier-Communications-Announces-Sale-of-Operations-
      https://investor.frontier.com/news/news-details/2019/Frontier-Communications-Announces-Sale-of-Operations-
      in-Washington-Oregon-Idaho-and-Montana-05-29-2019/default.aspx;
      in-Washington-Oregon-Idaho-and-Montana-05-29-2019/default.aspx; Citizens           Citizens Communications
                                                                                                     Communications Company,
                                                                                                                          Company,
      Form 10-K
      Foul'         for the
             10-K for   the Fiscal
                             Fiscal Year    Ended December
                                     Year Ended      December 31,31, 2006,
                                                                     2006, https://d18rn0p25nwr6d.cloudfront.net/CIK-
                                                                            https://d18rn0p25nwr6d.cloudfront.net/CIK-
      0000020520/c1dd8f8d-65be-4a83-b357-0075cbe1fe54.pdf,
      0000020520/cldd8f8d-65be-4a83-b357-0075cbe 1fe54.pdf, Exhibit           Exhibit 21.)
                                                                                      21.)



                                                                  25
                                                                  25
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                 c.
                 c. CDK
                    CDK Global
                        Global Inc.’s (“CDK”) 2021
                               Inc.'s ("CDK") 2021 sale of its
                                                   sale of its international business, valued
                                                               international business, valued at
                                                                                              at

                      $1.45 billion, to
                      $1.45 billion, to Francisco
                                        Francisco Partners
                                                  Partners Management (“Francisco”); 81
                                                           Management ("Francisco");    and
                                                                                     81 and



                 d. Verizon’s 2016
                 d. Verizon's 2016 sale
                                   sale of
                                        of certain additional wireline
                                           certain additional wireline operations, valued at
                                                                       operations, valued at $10.54
                                                                                             $10.54

                      billion, to
                      billion,    Frontier.82,83
                               to Frontier.82,83

           45.
           45.        The
                      The operational timelines alone
                          operational timelines alone of
                                                      of each
                                                         each of these four
                                                              of these four divestitures (701 days,
                                                                            divestitures (701 days, 459
                                                                                                    459

 days, 432 days,
 days, 432       and 398
           days, and 398 days,
                         days, respectively) took longer
                               respectively) took longer than
                                                         than the
                                                              the maximum
                                                                  maximum of 360 days
                                                                          of 360      that the
                                                                                 days that the

 Act
 Act affords
     affords to Petitioners.84 Moreover,
             to Petitioners.84 Moreover, consistent with the
                                         consistent with the divested assets’ high
                                                             divested assets'      level of
                                                                              high level of pre-
                                                                                            pre-

 divestiture integration, each
 divestiture integration, each of these divestitures
                               of these              included aa TSA
                                        divestitures included    TSA or
                                                                     or other forms of
                                                                        other forms    technological
                                                                                    of technological

 support
 support services
         services following
                  following deal
                            deal close.
                                 close. As
                                        As II described
                                              described above,
                                                        above, TSAs and similar
                                                               TSAs and         technological
                                                                        similar technological




 81
 81
      In
      In CDK’s     case, geographic
         CDK's case,                    considerations were
                         geographic considerations       were necessary
                                                               necessary to to define    the divested
                                                                                define the    divested asset   because CDK
                                                                                                         asset because   CDK divested     its
                                                                                                                                divested its
      business in
      business   in EMEA
                    EMEA and       Asia while
                             and Asia    while retaining
                                                retaining operations
                                                           operations for
                                                                        for the
                                                                             the same     products in
                                                                                  same products      in other
                                                                                                        other geographies.    (See
                                                                                                               geographies. (See
      “Francisco Partners
      "Francisco    Partners to
                              to Acquire
                                  Acquire International    Business of
                                            International Business    of CDK
                                                                          CDK Global
                                                                                  Global forfor $1.45   Billion,” Francisco
                                                                                                $1.45 Billion,"    Francisco Partners,
                                                                                                                               Partners,
      November 30,
      November      30, 2020,
                        2020, https://www.franciscopartners.com/media/francisco-partners-to-acquire-international-
                               https://www.franciscopartners.com/media/francisco-partners-to-acquire-international-
      business-of-cdk-global-for-145-billion.) The
      business-of-cdk-global-for-145-billion.)              public record
                                                       The public            that II have
                                                                   record that       have reviewed
                                                                                            reviewed indicates     that CDK
                                                                                                        indicates that  CDK diddid not
                                                                                                                                   not
      acquire   the divested
      acquire the   divested asset    within ten
                               asset within   ten years
                                                  years before   the evaluated
                                                         before the  evaluated divestiture.
                                                                                   divestiture. Although
                                                                                                 Although ADP ADP spun     off CDK
                                                                                                                     spun off  CDK in in
      2014, this
      2014,  this spin-off
                   spin-off is
                            is irrelevant
                                irrelevant when
                                            when evaluating
                                                   evaluating CDK’s
                                                                CDK's 2021
                                                                         2021 divestiture
                                                                                 divestiture ofof its international business.
                                                                                                  its international   business. This   is
                                                                                                                                 This is
      because, in
      because,   in 2021,
                    2021, CDK
                           CDK sold      only one
                                   sold only        division of
                                               one division  of CDK
                                                                 CDK (i.e.,
                                                                       (i.e., its  international business),
                                                                               its international   business), rather    than the
                                                                                                                rather than  the entire
                                                                                                                                  entire
      entity  that was
      entity that  was spun
                        spun off
                              off inin 2014.
                                       2014. Therefore,
                                             Therefore, inin 2021,
                                                             2021, CDK
                                                                     CDK hadhad toto disentangle
                                                                                      disentangle its
                                                                                                    its international   business from
                                                                                                         international business   from the
                                                                                                                                         the
      rest of
      rest     the entity.
           of the  entity. For
                           For this
                                 this reason,  the divested
                                      reason, the  divested asset
                                                             asset (i.e., the international
                                                                   (i.e., the                   business) was
                                                                               international business)       was not
                                                                                                                 not an   asset that
                                                                                                                      an asset  that was
                                                                                                                                     was
      acquired   within 10
      acquired within       years of
                         10 years    of the
                                        the announcement
                                            announcement date.
                                                             date. (See
                                                                    (See John     Kirwan, "International
                                                                          John Kirwan,       “International Business
                                                                                                               Business ofof CDK
                                                                                                                             CDK Global
                                                                                                                                   Global
      Becomes Keyloop,"
      Becomes     Keyloop,” MotorTrader.com,
                               MotorTrader.com, March March 1,   2021, https://www.motortrader.com/motor-trader-
                                                              1, 2021,  https://www.motortrader.com/motor-trader-
      news/automotive-news/307888-01-03-2021.)
      news/automotive-news/307888-01-03            -2021.)
 82
 82
      In
      In Verizon’s
         Verizon's case,
                     case, geographic
                           geographic considerations     were necessary
                                        considerations were    necessary to
                                                                         to define
                                                                              define the
                                                                                     the divested
                                                                                         divested asset   because Verizon
                                                                                                    asset because  Verizon
      divested its
      divested  its operations
                    operations in
                                in some
                                   some states
                                         states while
                                                while retaining
                                                       retaining the
                                                                 the same   operations (i.e.,
                                                                     same operations    (i.e., same  products supported
                                                                                               same products    supported by
                                                                                                                           by
      common systems)
      common     systems) in
                           in some
                              some other
                                     other states.
                                           states. The
                                                   The public
                                                        public record that II have
                                                               record that    have reviewed
                                                                                   reviewed indicates
                                                                                               indicates that
                                                                                                          that Verizon did not
                                                                                                               Verizon did  not
      acquire  the divested
      acquire the   divested asset  within ten
                             asset within  ten years
                                               years before  the evaluated
                                                     before the  evaluated divestiture.
                                                                             divestiture. See
                                                                                          See "Frontier
                                                                                                “Frontier Communications
                                                                                                           Communications
      Completes    Acquisition of
      Completes Acquisition      of Verizon
                                    Verizon Wireline
                                             Wireline Operations    in California,
                                                        Operations in  California, Texas
                                                                                    Texas and    Florida,” April
                                                                                           and Florida,"    April 1, 2016,
                                                                                                                  1, 2016,
      https://investor.frontier.com/news/news-details/2016/Frontier-Communications-Completes-Acquisition-of-
      https://investor.frontier.com/news/news-details/2016/Frontier-Communications-Completes-Acquisition-of-
      Verizon-Wireline-Operations-in-California-Texas-and-Florida-04-01-2016/default.aspx.
      Verizon-Wireline-Operations-in-California-Texas-and-Florida-04-01 -2016/default. aspx.
 83
 83
      Because this
      Because  this Verizon  divestiture took
                    Verizon divestiture   took place
                                                place after
                                                      after II left
                                                               left Verizon,
                                                                     Verizon, II do
                                                                                 do not
                                                                                     not have
                                                                                         have personal  experience with
                                                                                               personal experience with this
                                                                                                                        this
      transaction. For
      transaction. For this
                       this reason,
                            reason, II describe
                                       describe this
                                                this divestiture
                                                     divestiture in in Section   III.D.2 instead
                                                                       Section III.D.2    instead of
                                                                                                  of Section
                                                                                                     Section III.D.1 (where II
                                                                                                             III.D.1 (where
      discussed other
      discussed other Verizon   divestitures with
                       Verizon divestitures   with which
                                                    which II am
                                                              am personally     familiar).
                                                                   personally familiar).
 84
 84
      The   corporate timeline
       The corporate  timeline alone  of these
                                alone of these divestitures
                                               divestitures (427,
                                                            (427, 339,
                                                                   339, 92,
                                                                        92, and
                                                                            and 422 days, respectively)
                                                                                422 days,  respectively) were
                                                                                                         were similarly
                                                                                                               similarly
      lengthy.  However, as
       lengthy. However,  as II described
                                described in
                                           in Section
                                              Section III.A,
                                                      III.A, II do not consider
                                                                do not          corporate timelines
                                                                       consider corporate timelines in  my analysis
                                                                                                     in my           because
                                                                                                           analysis because
      II have
         have taken
              taken the
                    the conservative
                        conservative assumption
                                      assumption inin my
                                                      my declaration   that TikTok
                                                          declaration that          would be
                                                                            TikTok would   be able to achieve
                                                                                              able to achieve aa corporate
                                                                                                                 corporate
      timeline of
      timeline  of zero
                   zero days.
                        days.



                                                                     26
                                                                     26
                                                            APP-670
                                                            APP-670
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 support
 support service
         service agreements are not
                 agreements are not ideal
                                    ideal for the seller
                                          for the seller or the buyer;
                                                         or the buyer; therefore,
                                                                       therefore, the
                                                                                  the parties
                                                                                      parties had
                                                                                              had an
                                                                                                  an

 incentive to
 incentive to keep the observed
              keep the observed operational timelines as
                                operational timelines as short as possible.
                                                         short as possible.

                a. Lumen provided
                a. Lumen          transition services
                         provided transition          to Apollo
                                             services to Apollo for “an average
                                                                for "an average of
                                                                                of 17
                                                                                   17 months
                                                                                      months [with
                                                                                             [with

                    the] right
                    the]       to extend
                         right to        the term
                                  extend the term of
                                                  of certain
                                                     certain services
                                                             services for up to
                                                                      for up to six
                                                                                six months,”
                                                                                    months," or up to
                                                                                             or up to 701
                                                                                                      701
                           85
                     days.
                     days.85

                                                                                     86
                b. Frontier
                b. Frontier agreed
                            agreed to
                                   to provide “various network
                                      provide "various         and support
                                                       network and support services”
                                                                           services"86  as well
                                                                                        as well as
                                                                                                as

                    “limited training
                    "limited training and
                                      and subject
                                          subject matter
                                                  matter support services” 87 on
                                                         support services"'   on July 31, 2019,
                                                                                 July 31, 2019, and
                                                                                                and
                                                                                                88
                     provided these services
                     provided these          until October
                                    services until October 31, 2020, or
                                                           31, 2020,    approximately 459
                                                                     or approximately 459 days.
                                                                                          days."

                c.
                c. CDK
                   CDK entered
                       entered aa TSA with Fransico
                                  TSA with Fransico in
                                                    in November
                                                       November 2020
                                                                2020 to
                                                                     to assist in the
                                                                        assist in the integration
                                                                                      integration

                     of the international
                     of the               business.89 CDK
                            international business.89 CDK provided these services
                                                          provided these          to Fransico
                                                                         services to Fransico until
                                                                                              until
                                                               90
                    February 2022,
                    February 2022, for
                                   for approximately
                                       approximately 432
                                                     432 days.
                                                         days."




 85
 85
      “Under the
      "Under   the TSA,   Lumen actually
                    TSA, Lumen     actually began   providing transition
                                            began providing    transition services
                                                                           services upon
                                                                                     upon the
                                                                                           the October  3, 2022,
                                                                                                October 3, 2022, completion   date
                                                                                                                  completion date
      of the
      of the Divestiture.
             Divestiture. [...]
                           [...] The term of
                                 The telin of services to be
                                              services to  be provided  under the
                                                              provided under    the TSA
                                                                                     TSA is
                                                                                         is an
                                                                                             an average  of 17
                                                                                                 average of    months, subject
                                                                                                            17 months,  subject to
                                                                                                                                to
      Apollo’s right
      Apollo's   right to
                       to extend  the term
                          extend the  term of
                                            of certain
                                               certain services  for up
                                                       services for  up to
                                                                        to six
                                                                            six months
                                                                                months and
                                                                                        and toto terminate
                                                                                                 terminate early the tem'
                                                                                                           early the term of
                                                                                                                          of any
                                                                                                                             any
      service.” See
      service."  See Lumen
                     Lumen Technologies,       Inc., Foul'
                               Technologies, Inc.,   Form 8-K,
                                                           8-K, dated
                                                                 dated October
                                                                        October 3,3, 2022,
                                                                                     2022,
      http://pdf.secdatabase.com/1788/0001193125-22-256669.pdf.
      http://pdf. secdatabase.com/1788/0001193125-22-256669.pdf.
 86
 86
      Frontier Communications,
      Frontier                 Form 10-K
               Communications, Form        for the
                                     10-K for  the Fiscal
                                                   Fiscal Year Ended December
                                                          Year Ended December 31, 2019,
                                                                              31, 2019,
      https://d18rn0p25nwr6d.cloudfront.net/CIK-0000020520/b7334365-f330-4e9d-8f5b-850623fd18d8.pdf, p.
      https://d18m0p25nwr6d.cloudfront.net/CIK-0000020520/b7334365-f330-4e9d-8f5b-850623fdl8d8.pdf,     2.
                                                                                                     p. 2.
 87
 87
      Frontier Communications,
      Frontier                 Form 10-K
               Communications, Form        for the
                                     10-K for  the Fiscal
                                                   Fiscal Year Ended December
                                                          Year Ended December 31, 2020,
                                                                              31, 2020,
      https://d18rn0p25nwr6d.cloudfront.net/CIK-0000020520/6b950dad-b24b-4079-ae7e-b089a4f71e59.pdf., F-29.
      https://d18m0p25nwr6d.cloudfront.net/CIK-0000020520/6b950dad-b24b-4079-ae7e-b089a4f71e59.pdf.,  F-29.
 88
 88
      Frontier committed
      Frontier committed to to planning
                               planning the
                                         the transition
                                             transition of
                                                        of operations
                                                           operations at least as
                                                                      at least  as early
                                                                                   early as
                                                                                         as July
                                                                                            July 31,
                                                                                                 31, 2019.
                                                                                                     2019. Testimony   of Steve
                                                                                                            Testimony of  Steve
      Weed,   No. UT-190574,
      Weed, No.    UT-190574, July    31, 2019,
                                 July 31, 2019, p.
                                                 p. 37
                                                    37 ("Frontier
                                                       (“Frontier has
                                                                  has agreed
                                                                      agreed toto replicate
                                                                                  replicate its current IT
                                                                                            its current    systems”). Frontier
                                                                                                        IT systems"). Frontier
      stated that
      stated that it
                  it stopped providing the
                     stopped providing  the services
                                             services regulated
                                                      regulated by
                                                                by the
                                                                   the TSA
                                                                       TSA as as of
                                                                                  of October
                                                                                     October 31,  2020.
                                                                                              31, 2020.
 89
 89
      The
      The TSA   is attached
           TSA is            to the
                   attached to  the Share
                                    Share Sale
                                          Sale and Purchase Agreement
                                               and Purchase Agreement dated
                                                                       dated November
                                                                              November 27,
                                                                                         27, 2020.
                                                                                             2020. Share
                                                                                                    Share Sale
                                                                                                          Sale and
                                                                                                               and
      Purchase Agreement
      Purchase  Agreement by  by and Among CDK
                                 and Among   CDK Global   Holdings Ltd.,
                                                   Global Holdings Ltd., the
                                                                         the Other Restricted Entities
                                                                             Other Restricted Entities Party
                                                                                                       Party Hereto,
                                                                                                             Hereto, and
                                                                                                                     and
      Concorde   Bidco Ltd.,
      Concorde Bidco     Ltd., dated November 27,
                               dated November   27, 2020,
                                                    2020,
      https://www.sec.gov/Archives/edgar/data/1609702/000160970221000005/cdk_q2fy21concorde-sharesa.htm.
      https://www.  sec. gov/Archives/edgar/data/1609702/000160970221000005/cdk_q2fy2lconcorde-sharesa.htm.
 90
 90
      CDK
      CDK Global,   Inc., Foul'
           Global, Inc.,  Form 10-Q  for the
                                10-Q for the Quarterly Period Ended
                                             Quarterly Period  Ended March
                                                                      March 31,  2022, p.
                                                                             31, 2022, p. 10. As the
                                                                                          10. As the precise
                                                                                                     precise end
                                                                                                             end date
                                                                                                                 date is
                                                                                                                      is
      unknown, II conservatively
      unknown,    conservatively assumed   that CDK’s
                                  assumed that         transition services
                                                CDK's transition  services ended on February
                                                                           ended on February 1,  2022.
                                                                                              1, 2022.



                                                                27
                                                                27
                                                       APP-671
                                                       APP-671
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                 d.
                 d. Verizon
                    Verizon entered
                            entered aa support
                                       support agreement with Frontier
                                               agreement with Frontier in
                                                                       in February 2015, 91 and
                                                                          February 2015,91  and the
                                                                                                the
                                                          92                       93
                     transaction closed
                     transaction closed on April 1,
                                        on April 1, 2016,
                                                    2016,92  i.e., 398
                                                             i.e., 398 days
                                                                       days later.
                                                                            later.93

           46.
           46.       These
                     These examples
                           examples provide
                                    provide further
                                            further evidence that divestitures
                                                    evidence that divestitures of
                                                                               of highly integrated
                                                                                  highly integrated

 assets: (1) consistently
 assets: (1)              take more
             consistently take more than
                                    than 360
                                         360 days; and (2)
                                             days; and (2) often
                                                           often necessitate
                                                                 necessitate post-closing
                                                                             post-closing services
                                                                                          services

 provided by the
 provided by the seller to the
                 seller to the buyer
                               buyer to
                                     to ensure business continuity.
                                        ensure business continuity. II note that—while these
                                                                       note that—while these

 divestitures
 divestitures shared two indicia
              shared two indicia of
                                 of complexity with the
                                    complexity with the divestiture
                                                        divestiture required
                                                                    required of Petitioners (i.e.,
                                                                             of Petitioners (i.e., aa

 geographically defined
 geographically defined divestiture
                        divestiture of
                                    of organically
                                       organically developed assets or
                                                   developed assets or assets
                                                                       assets held
                                                                              held over ten
                                                                                   over ten

 years)—as II described
 years)—as    described in
                        in Section
                           Section III.C, there are
                                   III.C, there     additional indicia
                                                are additional indicia of
                                                                       of complexity
                                                                          complexity associated
                                                                                     associated

 with divesting
 with divesting TikTok’s U.S. application.
                TikTok's U.S. application.

           47.
           47.       Additionally,
                     Additionally, Exhibit 1 shows
                                   Exhibit 1 shows that,
                                                   that, even when aa divestiture
                                                         even when                involves assets
                                                                      divestiture involves assets that
                                                                                                  that

 appear to be
 appear to be less
              less integrated
                   integrated than
                              than TikTok’s U.S. application,
                                   TikTok's U.S.              the operational
                                                 application, the             timelines for
                                                                  operational timelines for

 divestitures
 divestitures in the software
              in the software industry (and in
                              industry (and in other
                                               other industries within the
                                                     industries within the TMT
                                                                           TMT sector)
                                                                               sector) nevertheless
                                                                                       nevertheless

 often take over
 often take      360 days.
            over 360 days.




 91
 91
      The  support agreement
      The support    agreement provided     that the
                                 provided that    the parties
                                                      parties would
                                                              would develop
                                                                     develop aa "joint
                                                                                “joint Cutover  Plan to
                                                                                       Cutover Plan  to set
                                                                                                        set forth
                                                                                                            forth the
                                                                                                                   the processes,
                                                                                                                       processes,
      procedures, and
      procedures,        steps through
                    and steps  through which
                                        which thethe parties
                                                     parties would
                                                              would prepare
                                                                    prepare for
                                                                             for and
                                                                                 and effect the cutover
                                                                                     effect the cutover [i.e.,  the switch
                                                                                                         [i.e., the switch from
                                                                                                                           from
      Verizon
      Verizon toto Frontier
                   Frontier following
                             following deal
                                        deal closing]."
                                              closing].” The
                                                           The parties “spent months"
                                                               parties "spent months” developing
                                                                                        developing aa 300-page
                                                                                                      300-page planplan (which
                                                                                                                        (which
      created approximately
      created  approximately 140     functional working
                                140 functional     working teams,
                                                            teams, including
                                                                   including teams
                                                                              teams from
                                                                                     from Engineering
                                                                                          Engineering andand IT).   Response of
                                                                                                              IT). Response   of
      Frontier California
      Frontier  California Inc.
                            Inc. (U
                                 (U 1002
                                     1002 C)   to Assigned
                                           C) to   Assigned Commissioner’s      Ruling Inviting
                                                              Commissioner's Ruling    Inviting Party
                                                                                                Party and   Public Comments
                                                                                                       and Public    Comments
      Regarding Issues
      Regarding    Issues Raised
                           Raised at Public Participation
                                  at Public   Participation Hearings
                                                              Hearings and
                                                                        and Workshops
                                                                            Workshops in   the Intrastate
                                                                                        in the            Rural Call
                                                                                               Intrastate Rural   Call
      Completion     Issues Proceeding
      Completion Issues     Proceeding (I.14-05-012),
                                         (I.14-05-012), September      20, 2016,
                                                           September 20,   2016,
      https://docs.cpuc.ca.gov/PublishedDocs/Efile/G000/M168/K257/168257703.PDF, Attachment
      https://docs.cpuc.ca.gov/PublishedDocs/Efile/G000/M168/K257/168257703.PDF,                  Attachment A.  A.
 92
 92
      Frontier CPED
      Frontier CPED Settlement     Agreement, December
                       Settlement Agreement,   December 19,   2019,
                                                         19, 2019,
      https://docs.cpuc.ca.gov/PublishedDocs/Published/G000/M472/K024/472024199.pdf,
      https://docs.cpuc. ca. gov/PublishedDocs/Published/G000/M472/K024/472024199.pdf, p.       p. 22 (“[T]he transaction
                                                                                                      ("[T]he transaction
      closed on
      closed  on April
                 April 1, 2016, and
                       1, 2016,      Frontier implemented
                                 and Frontier implemented aa ‘cutover plan’ to
                                                             `cutover plan' to transition
                                                                               transition the
                                                                                          the Verizon
                                                                                              Verizon customers    to
                                                                                                        customers to
      Frontier’s service
      Frontier's service platfoim").
                          platform”).
 93
 93
      II conservatively
         conservatively assumed  the start
                        assumed the   start of the operational
                                            of the operational timeline
                                                               timeline March
                                                                         March 1,1, 2015,
                                                                                    2015, i.e.,  the first
                                                                                           i.e., the first day
                                                                                                           day after the cutover
                                                                                                               after the cutover
      plan support
      plan  support agreement   was entered.
                     agreement was   entered. II considered
                                                 considered the
                                                            the end
                                                                 end of the operational
                                                                     of the operational timeline,
                                                                                         timeline, April
                                                                                                     April 1,  2016, the
                                                                                                            1, 2016,  the
      transaction close
      transaction  close date.
                         date. The resulting 398
                               The resulting   398 days
                                                   days are
                                                        are consistent  with aa 2019
                                                            consistent with     2019 settlement
                                                                                     settlement agreement
                                                                                                   agreement stating    that
                                                                                                                stating that
      “Frontier had
      "Frontier  had been
                      been planning  the transition
                           planning the  transition for
                                                    for more
                                                        more than
                                                              than aa year[.]"
                                                                      year[.]” Frontier
                                                                               Frontier CPED
                                                                                        CPED Settlement        Agreement,
                                                                                                  Settlement Agreement,
      December 19,
      December        2019, https://docs.cpuc.ca.gov/PublishedDocs/Published/G000/M472/K024/472024199.pdf,
                  19, 2019, https://docs.cpuc.ca.gov/PublishedDocs/Published/G000/M472/K024/472024199.pdf, p.                   2.
                                                                                                                             p. 2.



                                                                28
                                                                28
                                                       APP-672
                                                       APP-672
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           48.
           48.         The 22 transactions
                       The 22 transactions remaining
                                           remaining in
                                                     in my
                                                        my market
                                                           market sample
                                                                  sample all
                                                                         all have indicia of
                                                                             have indicia of less
                                                                                             less

 integration—and hence
 integration—and hence less
                       less complexity—than the four
                            complexity—than the four divestitures
                                                     divestitures described
                                                                  described above (as well
                                                                            above (as well as
                                                                                           as

 the three
 the three divestitures
           divestitures from Verizon that
                        from Verizon that II personally
                                             personally experienced). In other
                                                        experienced). In       words, each
                                                                         other words, each of the 22
                                                                                           of the 22

 remaining transactions involved
 remaining transactions involved either: (1) aa divested
                                 either: (1)             asset defined
                                                divested asset defined solely by product
                                                                       solely by product market,
                                                                                         market, or
                                                                                                 or

 (2) the
 (2) the divestiture
         divestiture of an asset
                     of an asset acquired within ten
                                 acquired within ten years
                                                     years of
                                                           of divestiture,
                                                              divestiture, or (3) both
                                                                           or (3) both of these
                                                                                       of these
             94
 conditions.
 conditions.94  Nevertheless, for
                Nevertheless, for these
                                  these divestitures that have
                                        divestitures that      the indicia
                                                          have the indicia of
                                                                           of less
                                                                              less complexity than
                                                                                   complexity than

 TikTok, the range
 TikTok, the range of
                   of operational timelines often
                      operational timelines often extended beyond 360
                                                  extended beyond 360 days.
                                                                      days.

           49.
           49.         For example,
                       For example, in the following
                                    in the following eight
                                                     eight divestitures, the divested
                                                           divestitures, the divested asset was defined
                                                                                      asset was defined

 based solely
 based solely on
              on product
                 product market (i.e., they
                         market (i.e., they have
                                            have one
                                                 one of the indicia
                                                     of the indicia of
                                                                    of aa less
                                                                          less complex
                                                                               complex divestiture
                                                                                       divestiture

 than the
 than the divestiture
          divestiture required
                      required of Petitioners), and
                               of Petitioners),     yet their
                                                and yet their expected
                                                              expected or
                                                                       or observable
                                                                          observable operational
                                                                                     operational
                                      95
 timelines were
 timelines were longer
                longer than
                       than 360
                            360 days:
                                days:95




 94
 94
      As shown
      As shown inin Exhibit 1 and
                    Exhibit 1 and below,  my market
                                  below, my   market sample
                                                     sample included  no divestitures
                                                             included no divestitures where
                                                                                      where the
                                                                                            the seller
                                                                                                seller acquired the
                                                                                                       acquired the
      divested asset
      divested       within ten
               asset within ten years
                                years and
                                      and the
                                          the divested
                                              divested asset was defined
                                                       asset was defined solely
                                                                         solely by
                                                                                by product
                                                                                   product market.
                                                                                           market.
 95
 95
      For some
      For  some divestitures
                   divestitures inin my
                                     my market
                                         market sample,
                                                    sample, II found
                                                                found information
                                                                         information indicating
                                                                                        indicating thethe de      facto operational
                                                                                                             de facto    operational timeline
                                                                                                                                        timeline
      (e.g., the
      (e.g., the beginning
                  beginning of of planning
                                   planning activities
                                              activities as   the observable
                                                           as the  observable start     date, and
                                                                                  start date,       the end
                                                                                               and the    end of  of assistance
                                                                                                                      assistance provided
                                                                                                                                   provided by     the
                                                                                                                                               by the
      seller as
      seller     the observable
             as the   observable endend date
                                         date of
                                               of the
                                                   the operational
                                                        operational timeline).
                                                                       timeline). For
                                                                                    For other
                                                                                         other divestitures
                                                                                                divestitures in        my sample,
                                                                                                                    in my   sample, II found
                                                                                                                                        found
      information
      infoimation onlyonly regarding
                           regarding thethe de
                                             de jure
                                                jure operational
                                                        operational timeline
                                                                      timeline (e.g.,
                                                                                  (e.g., TSAs
                                                                                         TSAs or or similar
                                                                                                     similar documents
                                                                                                                  documents including
                                                                                                                                including thethe time
                                                                                                                                                  time
      the parties
      the  parties expected
                    expected it    would take
                               it would   take for
                                                for the
                                                      the seller  to provide
                                                          seller to             transition services,
                                                                     provide transition      services, i.e.,      the expected
                                                                                                          i.e., the               operational
                                                                                                                       expected operational
      timeline), without
      timeline),   without the
                             the de   facto end
                                  de facto        date of
                                            end date     of the
                                                            the operational
                                                                operational timeline.
                                                                                timeline. For
                                                                                            For this
                                                                                                 this reason,
                                                                                                       reason, II describe       the operational
                                                                                                                      describe the    operational
      timelines here
      timelines   here as  “expected or
                        as "expected     or observable."
                                            observable.” Given        that—based on
                                                              Given that—based        on my
                                                                                          my experience
                                                                                               experience and          the literature
                                                                                                                  and the              (described
                                                                                                                           literature (described
      above)—operational        timelines are
      above)—operational timelines               frequently underestimated,
                                            are frequently     underestimated, relying
                                                                                     relying onon the
                                                                                                   the expected
                                                                                                        expected time  time presented
                                                                                                                             presented in     the TSA
                                                                                                                                          in the   TSA
      is
      is likely
         likely aa conservative
                   conservative estimate      of the
                                    estimate of   the de   facto operational
                                                       de facto   operational timeline.
                                                                                  timeline. For
                                                                                              For the
                                                                                                   the same        reason, where
                                                                                                        same reason,        where thethe available
                                                                                                                                         available
      information     provided aa range
      information provided          range as  the expected
                                           as the   expected operational       timeline, II rely
                                                                operational timeline,              on the
                                                                                             rely on   the upper
                                                                                                               upper end
                                                                                                                       end of
                                                                                                                            of the
                                                                                                                                the range   (while
                                                                                                                                    range (while
      presenting the
      presenting    the full
                        full range
                             range inin Exhibit
                                        Exhibit 1). 1). See,
                                                        See, e.g.,
                                                              e.g., Yetton
                                                                    Yetton 2023,
                                                                              2023, atat p.
                                                                                         p. 962   (“IT carve-out
                                                                                            962 ("IT     carve-out projects
                                                                                                                        projects are   notoriously
                                                                                                                                   are notoriously
      problematic. IT
      problematic.        carve-out projects
                       IT carve-out    projects frequently
                                                 frequently overrun
                                                                overrun timelines
                                                                           timelines and    budgets […].
                                                                                       and budgets                In part,
                                                                                                        [. . . ]. In       this is
                                                                                                                     part, this  is because
                                                                                                                                    because IT IT
      carve-out projects
      carve-out    projects are   frequently under-planned
                             are frequently    under-planned and   and underestimated”).
                                                                         underestimated").



                                                                         29
                                                                         29
                                                               APP-673
                                                               APP-673
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                a.
                a. Thomson Reuters Corporation’s
                   Thomson Reuters               2016 divestiture
                                   Corporation's 2016 divestiture of its intellectual
                                                                  of its intellectual property and
                                                                                      property and

                      science business, valued
                      science business, valued at
                                               at $3.55 billion,96 to
                                                  $3.55 billion,96 to Onex
                                                                      Onex Corporation (operational
                                                                           Corporation (operational

                                               97
                      timeline of
                      timeline of 1,087
                                  1,087 days).
                                        days).97

                b. IAC
                b.     Holdings, Inc.'s
                   IAC Holdings, Inc.’s 2020
                                        2020 spin-off
                                             spin-off of Match Group,
                                                      of Match Group, Inc., valued at
                                                                      Inc., valued at $8.09 billion 98
                                                                                      $8.09 billion98

                                                          99
                      (operational timeline
                      (operational timeline of
                                            of 732
                                               732 days);
                                                   days);99




 96
 96
      See "Thomson
      See “Thomson Reuters
                      Reuters Announces
                               Announces Definitive
                                            Definitive Agreement
                                                       Agreement to to Sell
                                                                       Sell Its Intellectual Property
                                                                            Its Intellectual   Property && Science   Business to
                                                                                                           Science Business       to
      Onex
      Onex and   Baring Asia
            and Baring  Asia for
                              for $3.55  Billion,” PR
                                  $3.55 Billion,"  PR Newswire,
                                                       Newswire, July
                                                                   July 11,
                                                                         11, 2016,
                                                                             2016, https://www.prnewswire.com/news-
                                                                                    https://www.prnewswire.com/news-
      releases/thomson-reuters-announces-definitive-agreement-to-sell-its-intellectual-property--science-business-to-
      releases/thomson-reuters-announces-definitive-agreement-to-sell-its-intellectual-property--science-business-to-
      onex-and-baring-asia-for-355-billion-300296352.html. The
      onex-and-baring-asia-for-355-billion-300296352.html.            public record
                                                                 The public    record that
                                                                                       that II have
                                                                                               have reviewed
                                                                                                    reviewed indicates     that aa
                                                                                                               indicates that
      geographic   market segmentation
      geographic market                  was not
                          segmentation was     not necessary
                                                   necessary to
                                                             to define  the divested
                                                                define the  divested asset.
                                                                                       asset. The
                                                                                                The public
                                                                                                    public record  that II have
                                                                                                           record that     have
      reviewed also
      reviewed  also indicates that the
                     indicates that the seller
                                        seller did not acquire
                                               did not         the divested
                                                       acquire the divested asset   within ten
                                                                              asset within    ten years
                                                                                                  years before
                                                                                                        before the
                                                                                                                the evaluated
                                                                                                                    evaluated
      divestiture.
      divestiture.
 97
 97
      II considered
         considered the
                    the start
                        start of the operational
                              of the operational timeline
                                                  timeline the
                                                            the date
                                                                date of the TSA,
                                                                     of the TSA, July   10, 2016.
                                                                                  July 10,  2016. II conservatively
                                                                                                     conservatively assumed
                                                                                                                    assumed
      the end
      the  end of
               of the
                  the operational
                      operational timeline
                                   timeline to
                                            to be
                                               be July  1, 2019,
                                                   July 1, 2019, because
                                                                  because the
                                                                           the buyer  recorded "payments
                                                                               buyer recorded  “payments to to Thomson
                                                                                                               Thomson
      Reuters under
      Reuters         the [TSA]"
               under the  [TSA]” during
                                   during the
                                          the three
                                               three months
                                                     months ended
                                                              ended on
                                                                     on September
                                                                         September 30,
                                                                                     30, 2019. See "Clarivate
                                                                                         2019. See   “Clarivate Analytics
                                                                                                                Analytics
      Reports Third
      Reports   Third Quarter  2019 Results,"
                      Quarter 2019   Results,” Clarivate   Analytics, November
                                                Clarivate Analytics,   November 6, 6, 2019,
                                                                                      2019,
      https://clarivate.com/news/clarivate-analytics-reports-third-quarter-2019-results/.
      https://clarivate.com/news/clarivate-analytics-reports-third-quarter-2019-results/.
 98
 98
      See "IAC
      See “IAC and     Match Group
                 and Match     Group Complete      Full Separation,”
                                       Complete Full     Separation," IAC,
                                                                      IAC, July
                                                                              July 1, 2020, https://www.iac.com/press-
                                                                                   1, 2020,    https://www.iac.com/press-
      releases/iac-and-match-group-complete-full-separation. The
      releases/iac-and-match-group-complete-full-separation.                public record
                                                                      The public    record that
                                                                                              that II have
                                                                                                      have reviewed
                                                                                                            reviewed indicates     that aa
                                                                                                                      indicates that
      geographic    market segmentation
      geographic market     segmentation waswas not
                                                  not necessary
                                                       necessary to
                                                                 to define   the divested
                                                                    define the   divested asset.
                                                                                             asset. The
                                                                                                      The public
                                                                                                          public record   that II have
                                                                                                                  record that     have
      reviewed also
      reviewed   also indicates   that the
                       indicates that  the seller
                                           seller did  not acquire
                                                  did not          the divested
                                                           acquire the  divested asset   within ten
                                                                                  asset within     ten years
                                                                                                        years before
                                                                                                               before the
                                                                                                                      the evaluated
                                                                                                                           evaluated
      divestiture. Match.com
      divestiture.  Match.com was  was acquired   by TMCS
                                        acquired by   TMCS (Ticketmaster
                                                              (Ticketmaster Online-CitySearch
                                                                               Online-City Search Inc.) Inc.) in
                                                                                                              in June
                                                                                                                 June 1999
                                                                                                                      1999 (i.e.,    more
                                                                                                                             (i.e., more
      than ten
      than ten years
               years before
                       before this
                               this divestiture's
                                    divestiture’s announcement
                                                   announcement date).     In 2003
                                                                    date). In  2003 (still
                                                                                     (still more
                                                                                            more thanthan ten
                                                                                                          ten years
                                                                                                              years before
                                                                                                                    before this
                                                                                                                             this
      divestiture’s announcement
      divestiture's  announcement date),
                                       date), IAC
                                              IAC acquired
                                                    acquired TMCS,
                                                              TMCS, and     following Match.com's
                                                                       and following    Match.com’s IPO    IPO on  November 24,
                                                                                                                on November      24,
      2014, IAC
      2014,  IAC retained
                   retained aa significant
                               significant stake
                                            stake in  the company.
                                                   in the company. See
                                                                     See "25
                                                                          “25 Year
                                                                                Year Innovator,”
                                                                                      Innovator," IAC, IAC,
      https://www.iac.com/history; "IAC
      https://www.iac.com/history;       “IAC and    Match Group
                                               and Match            Announce Closing
                                                            Group Announce       Closing of of Initial
                                                                                                Initial Public
                                                                                                        Public Offering,”
                                                                                                                Offering," IAC,
                                                                                                                            IAC,
      November 24,
      November     24, 2015,
                        2015, https://www.iac.com/press-releases/iac-and-match-group-announce-closing-of-initial-
                              https://www.iac.com/press-releases/iac-and-match-group-announce-closing-of-initial-
      public-offering.
      public-offering.
 99
 99
      II considered
         considered the
                     the start
                          start of the operational
                                of the operational timeline
                                                    timeline the
                                                             the date
                                                                 date of  the TSA,
                                                                       of the  TSA, June
                                                                                     June 30,  2020. (See
                                                                                          30, 2020.  (See IAC/InterActiveCorp
                                                                                                          IAC/InterActiveCorp
      and
       and IAC  Holdings, Inc.,
           IAC Holdings,     Inc., Transition
                                    Transition Services  Agreement by
                                                Services Agreement   by and    Between IAC/InterActiveCorp
                                                                          and Between    IAC/InterActiveCorp andand IAC
                                                                                                                     IAC
      Holdings, Inc.,
      Holdings,         dated June
                  Inc., dated   June 30,
                                      30, 2020,
                                          2020,
      https://www.sec.gov/Archives/edgar/data/1800227/000110465920080610/tm2022502d7_ex10-1.htm.)
      https://www.   sec. gov/Archives/edgar/data/1800227/000110465920080610/tm2022502d7_ex10-1.htm.) II
      conservatively assumed
      conservatively    assumed thethe end  of the
                                        end of the operational timeline to
                                                   operational timeline  to be
                                                                             be July
                                                                                July 1,
                                                                                     1, 2022,  because the
                                                                                        2022, because  the seller
                                                                                                           seller recorded
                                                                                                                  recorded
      revenues "from
      revenues   “from IAC     for services
                         IAC for    services provided  to IAC
                                             provided to       under the
                                                          IAC under   the transition
                                                                           transition services
                                                                                      services agreement”  during the
                                                                                               agreement" during    the three-
                                                                                                                        three-
      month period
      month   period ended
                      ended September
                               September 30,
                                           30, 2022.   Match Group,
                                                2022. Match   Group, Inc.,   Form 10-Q
                                                                      Inc., Foun         for the
                                                                                   10-Q for  the Quarterly Period Ended
                                                                                                 Quarterly Period  Ended
      September
       September 30,   2022, dated
                   30, 2022,    dated November
                                       November 4,    2022,
                                                   4, 2022,
      https://www.sec.gov/Archives/edgar/data/891103/000089110322000095/mtch-20220930.htm,
      https://www.   sec. gov/Archives/edgar/data/891103/000089110322000095/mtch-20220930.htm, p.               p. 27.
                                                                                                                   27.



                                                                    30
                                                                    30
                                                           APP-674
                                                           APP-674
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                 c.
                 c. IAC
                    IAC Inc.’s 2021 spin-off
                        Inc.'s 2021 spin-off of Vimeo, Inc.,
                                             of Vimeo, Inc., valued
                                                             valued at
                                                                    at $7.68 billion100 (operational
                                                                       $7.68 billion100 (operational

                      timeline of
                      timeline    at least
                               of at least 588 days);101
                                           588 days);

                 d.
                 d. SolarWinds
                    SolarWinds Corporation’s 2021 spin-off
                               Corporation's 2021 spin-off of
                                                           of its Managed Service
                                                              its Managed         Provider (MSP)
                                                                          Service Provider (MSP)

                      business into
                      business      N-able, Inc.,
                               into N-able,       valued at
                                            Inc., valued at $2.05 billion102 (expected
                                                            $2.05 billion102 (expected operational
                                                                                       operational

                                             103
                      timeline of
                      timeline of 534
                                  534 days);
                                      days);1°3




 100
 100
       See "IAC
       See “IAC Completes
                  Completes Spin-Off
                              Spin-Off OfOf Vimeo,”
                                            Vimeo," IAC,     May 25,
                                                       IAC, May     25, 2021,  https://www.iac.com/press-releases/iac-
                                                                        2021, https://www.iac.com/press-releases/iac-
       completes-spin-off-of-vimeo. The
       completes-spin-off-of-vimeo.         public record
                                       The public   record that
                                                            that II have
                                                                    have reviewed    indicates that
                                                                          reviewed indicates   that aa geographic  market
                                                                                                       geographic market
       segmentation was
       segmentation   was not
                           not necessary
                               necessary to
                                          to define
                                             define the
                                                     the divested
                                                         divested asset.
                                                                    asset. The  public record
                                                                           The public   record that
                                                                                               that II have
                                                                                                       have reviewed
                                                                                                            reviewed also
                                                                                                                      also
       indicates that the
       indicates that the seller did not
                          seller did not acquire the divested
                                         acquire the  divested asset   within ten
                                                               asset within    ten years
                                                                                   years before  the evaluated
                                                                                          before the             divestiture.
                                                                                                      evaluated divestiture.
 101
 101 II considered
        considered the
                    the start
                        start of the operational
                              of the operational timeline
                                                  timeline the
                                                             the date
                                                                 date of the TSA,
                                                                      of the        May 24,
                                                                             TSA, May         2021. II made
                                                                                          24, 2021.    made the
                                                                                                              the conservative
                                                                                                                  conservative
     assumption    that the
      assumption that   the end  of the
                            end of  the operational
                                        operational timeline
                                                     timeline isis January
                                                                   January 1,  2023, because,
                                                                           1, 2023,   because, as of at
                                                                                               as of     least January
                                                                                                      at least January 1, 2023,
                                                                                                                       1, 2023,
     IAC   continued to
      IAC continued    to receive
                          receive fees
                                   fees "for
                                        “for services  rendered pursuant
                                             services rendered              to the
                                                                  pursuant to  the transition
                                                                                   transition services
                                                                                              services agreement.”    See
                                                                                                        agreement." See
     IAC/InterActiveCorp
      IAC/InterActiveCorp and and Vimeo,
                                    Vimeo, Inc.,
                                            Inc., Transition
                                                  Transition Services    Agreement by
                                                               Services Agreement     by and  Between IAC/InterActiveCorp
                                                                                         and Between     IAC/InterActiveCorp
     and
      and Vimeo,
          Vimeo, Inc.,   dated May
                   Inc., dated  May 24,   2021,
                                      24, 2021,
     https://www.sec.gov/Archives/edgar/data/1837686/000110465921073207/tm2117737d1_ex10-3.htm;
     https://www.   sec. gov/Archives/edgar/data/1837686/000110465921073207/tm2117737d 1 _ex10-3.htm;
     IAC/InterActiveCorp
      IAC/InterActiveCorp and and Vimeo,
                                    Vimeo, Inc.,  Extension Request
                                            Inc., Extension    Request #2  Pursuant to
                                                                        #2 Pursuant   to Transition
                                                                                         Transition Services    Agreement by
                                                                                                     Services Agreement     by and
                                                                                                                               and
     Between IAC/InterActiveCorp
     Between    IAC/InterActiveCorp and  and Vimeo,
                                              Vimeo, Inc.,   dated June
                                                       Inc., dated       30, 2022,
                                                                    June 30,  2022,
     https://www.sec.gov/Archives/edgar/data/1837686/000183768622000022/ex101-2022630.htm; IAC
     https://www.sec.gov/Archives/edgar/data/1837686/000183768622000022/ex101-2022630.htm;                             Inc., Foil
                                                                                                                  IAC Inc.,  Form
     10-Q   for the
      10-Q for  the Quarterly   Period Ended
                    Quarterly Period    Ended March
                                               March 31,31, 2023,
                                                            2023,
     https://www.sec.gov/Archives/edgar/data/1800227/000180022723000016/iaci-20230331.htm.
     https://www.   sec. gov/Archives/edgar/data/1800227/000180022723000016/iaci-20230331.htm.
 102
 102
       See "SolarWinds
       See  “SolarWinds Completes
                            Completes Spin-Off
                                        Spin-Off ofof its MSP Business;
                                                      its MSP  Business; N-able,
                                                                            N-able, Inc.
                                                                                      Inc. Begins
                                                                                           Begins Trading
                                                                                                     Trading as
                                                                                                              as Independent,
                                                                                                                  Independent,
       Publicly Traded
       Publicly  Traded Company,”
                          Company," SolarWinds,
                                        SolarWinds, July    20, 2021,
                                                       July 20, 2021, https://investors.solarwinds.com/news/news-
                                                                        https://investors.solarwinds.com/news/news-
       details/2021/SolarWinds-Completes-Spin-Off-of-its-MSP-Business-N-able-Inc.-Begins-Trading-as-
       details/2021/Sol   arWinds-Comp letes-Spin-Off-of-its-MSP-Business-N-able-Inc. -Begins- Trading- as-
       Independent-Publicly-Traded-Company/default.aspx.
       Independent-Publicly-Traded-Company/default.aspx. The              public record
                                                                     The public            that II have
                                                                                   record that     have reviewed
                                                                                                         reviewed indicates
                                                                                                                     indicates that
                                                                                                                                that aa
       geographic   market segmentation
       geographic market     segmentation waswas not
                                                  not necessary
                                                       necessary to
                                                                 to define    the divested
                                                                     define the   divested asset.
                                                                                             asset. The
                                                                                                     The public
                                                                                                          public record   that II have
                                                                                                                  record that     have
       reviewed also
       reviewed   also indicates  that the
                        indicates that the seller
                                           seller did  not acquire
                                                  did not           the divested
                                                           acquire the   divested asset   within ten
                                                                                    asset within   ten years
                                                                                                        years before
                                                                                                              before the
                                                                                                                       the evaluated
                                                                                                                           evaluated
       divestiture. II note
       divestiture.    note that
                            that SolarWinds’
                                 SolarWinds' 2013
                                                2013 acquisition   of aa different
                                                      acquisition of     different company
                                                                                    company thatthat was
                                                                                                      was also
                                                                                                           also called  “N-able” is
                                                                                                                 called "N-able"    is
       irrelevant for this
       irrelevant for  this evaluation.  Following this
                            evaluation. Following    this 2013
                                                          2013 acquisition,
                                                                acquisition, SolarWinds
                                                                                SolarWinds integrated      the assets
                                                                                              integrated the           of N-able
                                                                                                                assets of N-able with
                                                                                                                                   with
       the assets
       the        of another
           assets of  another company     that SolarWinds
                               company that    SolarWinds acquired
                                                             acquired inin 2016
                                                                           2016 (LOGICnow)
                                                                                  (LOGICnow) to     to create
                                                                                                       create "SolarWindsMSP."
                                                                                                              “SolarWindsMSP.”
       Then,
       Then, in  2021, SolarWinds
              in 2021,   SolarWinds spun
                                      spun off   “SolarWindsMSP” as
                                            off "SolarWindsMSP"        as aa new
                                                                             new entity,   which SolarWinds
                                                                                   entity, which                  named "N-able."
                                                                                                    SolarWinds named       “N-able.”
       See Stefanie
       See             Hammond, "Happy
            Stefanie Hammond,      “Happy anniversary
                                            anniversary to to me!,"
                                                              me!,” N-able,
                                                                     N-able, November
                                                                               November 24, 24, 2021,
                                                                                                 2021, https://www.n-
                                                                                                         https://www.n-
       able.com/fr/blog/happy-anniversary-to-me.
       able. com/fr/blog/happy-anniversary-to-me.
 103
 103
       The
       The TSA    was dated
            T SA was   dated as  of July
                             as of  July 16, 2021, and
                                         16, 2021,      the transition
                                                   and the  transition services were expected
                                                                       services were  expected toto end
                                                                                                    end on  December 31,
                                                                                                        on December          2022.
                                                                                                                         31, 2022.
       See Transition
       See Transition Services    Agreement by
                        Services Agreement     by and Between SolarWinds
                                                  and Between    SolarWinds Corporation
                                                                              Corporation and   N-Able, Inc.,
                                                                                            and N-Able,   Inc., dated
                                                                                                                dated July   16,
                                                                                                                       July 16,
       2021, https://www.
       2021,  https://www.sec.gov/Archives/edgar/data/1739942/000162828021014064/exhibit101-swinxable8xk.htm.
                            sec. gov/Archives/edgar/data/1739942/000162828021014064/exhibit101-swinxable8xk.htm.
       See also
       See also SolarWinds
                 SolarWinds Corporation,      Form 10-K
                              Corporation, Foul'          for the
                                                    10-K for  the Fiscal
                                                                  Fiscal Year Ended December
                                                                         Year Ended   December 31, 31, 2021,
                                                                                                       2021,
       https://www.sec.gov/Archives/edgar/data/1739942/000173994222000020/swi-20211231.htm, p.
       https://www.sec.gov/Archives/edgar/data/1739942/000173994222000020/swi-20211231.htm,                      F-36 ("The
                                                                                                              p. F-36   (“The
       transition services
       transition services agreement    will teuninate
                           agreement will    terminate on
                                                       on the
                                                           the expiration
                                                               expiration of the teen
                                                                          of the term of
                                                                                       of the
                                                                                          the last
                                                                                              last service
                                                                                                   service provided
                                                                                                           provided under
                                                                                                                      under it,
                                                                                                                              it,
       which SolarWinds
       which   SolarWinds anticipates    to be
                            anticipates to  be on or around
                                               on or         December 31,
                                                     around December     31, 2022.”).
                                                                             2022.").



                                                                    31
                                                                    31
                                                           APP-675
                                                           APP-675
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                 e. Micro Focus
                 e. Micro Focus International
                                International plc’s 2017 acquisition
                                              plc's 2017 acquisition of Hewlett Packard's
                                                                     of Hewlett Packard’s software
                                                                                          software

                      business, valued
                      business, valued at
                                       at $9.00 billion104 (expected
                                          $9.00 billion104 (expected operational timeline of
                                                                     operational timeline    up to
                                                                                          of up to 456
                                                                                                   456

                             105
                      days);
                      days);1°5

                 f.
                 f. Automatic Data Processing,
                    Automatic Data Processing, Inc.’s 2014 spin-off
                                               Inc.'s 2014 spin-off of
                                                                    of its
                                                                       its automotive
                                                                           automotive dealer
                                                                                      dealer services
                                                                                             services

                      product
                      product business, valued at
                              business, valued at $4.94 billion106 (operational
                                                  $4.94 billion106 (operational timeline
                                                                                timeline of at least
                                                                                         of at least 367
                                                                                                     367
                             107
                      days);
                      days);1°7




 104
 104
       “UK Tech
       "UK    Tech Giant  Micro Focus
                   Giant Micro   Focus Plunges
                                        Plunges inin Value
                                                     Value as as Shares
                                                                 Shares Crash,”  BBC, March
                                                                         Crash," BBC,     March 19,    2018,
                                                                                                   19, 2018,
       https://www.bbc.com/news/business-43457024 (Micro
       https://www.bbc.com/news/business-43457024                     Focus International
                                                             (Micro Focus    International plcplc "purchase[d]
                                                                                                  “purchase[d] […]      Hewlett
                                                                                                                 [. ..] Hewlett
       Packard Enterprise's
       Packard   Enterprise’s software
                               software business
                                         business for
                                                   for £6.8bn.”).
                                                       £6.8bn."). II used
                                                                      used the
                                                                           the U.S.
                                                                               U.S. dollar
                                                                                     dollar value
                                                                                               value of
                                                                                                     of $9.00  billion as
                                                                                                        $9.00 billion      reported by
                                                                                                                        as reported by
       S&P
       S&P Capital
             Capital IQ  Pro. The
                      IQ Pro. The public   record that
                                   public record   that II have
                                                           have reviewed
                                                                 reviewed indicates    that aa geographic
                                                                           indicates that                   market segmentation
                                                                                               geographic market     segmentation
       was not
       was  not necessary
                necessary to
                           to define
                              define the
                                      the divested
                                          divested asset.
                                                    asset. The
                                                            The public   record that
                                                                  public record that II have
                                                                                        have reviewed
                                                                                               reviewed also   indicates that
                                                                                                          also indicates  that the
                                                                                                                               the
       seller did
       seller did not
                  not acquire  the divested
                       acquire the divested asset
                                             asset within
                                                   within ten
                                                            ten years
                                                                years before
                                                                       before the
                                                                              the evaluated
                                                                                  evaluated divestiture.
                                                                                                divestiture.
 105
 105
       See Transition
       See  Transition Services     Agreement by
                         Services Agreement     by and  Between Hewlett
                                                    and Between   Hewlett Packard
                                                                            Packard Enterprise
                                                                                     Enterprise Company
                                                                                                Company and
                                                                                                          and Seattle
                                                                                                               Seattle SpinCo,
                                                                                                                         SpinCo,
       Inc.,
       Inc., dated
             dated September
                     September 1,    2017,
                                  1, 2017,
       https://www.sec.gov/Archives/edgar/data/1645590/000156761917001826/s001851x1_ex2-3.htm;
       https://www.    sec. gov/Archives/edgar/data/1645590/000156761917001826/s001851xl_ex2-3.htm; Seattle        Seattle
       SpinCo,
       SpinCo, Inc.
                  Inc. and   Micro Focus
                       and Micro    Focus International  plc, Foul'
                                           International plc, Form 424B3,
                                                                     424B3, dated  August 15,
                                                                             dated August      2017,
                                                                                           15, 2017,
       https://www.sec.gov/Archives/edgar/data/1359711/000156761917001747/s001838x1_424b3.htmt149,
       https://www.    sec. gov/Archives/edgar/data/1359711/000156761917001747/s001838x1_424b3.htmt149, p.               p. 219
                                                                                                                            219
       (“The initial
       ("The           term of
               initial tem'  of the
                                the Transition
                                     Transition Services Agreement will
                                                Services Agreement    will be
                                                                           be nine
                                                                              nine months,
                                                                                    months, and
                                                                                            and each
                                                                                                 each party in certain
                                                                                                      party in certain
       circumstances may
       circumstances     may extend    the tem'
                              extend the   term of
                                                of services
                                                   services it will receive
                                                            it will receive for
                                                                            for up
                                                                                up to
                                                                                   to two
                                                                                      two three-month
                                                                                          three-month periods
                                                                                                       periods (for
                                                                                                                (for aa total
                                                                                                                        total tell'
                                                                                                                              term
       of up
       of up to
              to 15
                 15 months)").
                     months)”).
 106
 106
       See "ADP
       See  “ADP Completes
                   Completes Spin-Off
                                 Spin-Off of    Automotive Dealer
                                             of Automotive    Dealer Services   Business,” Paul
                                                                      Services Business,"   Paul Weiss,
                                                                                                 Weiss, September
                                                                                                          September 30, 30, 2014,
                                                                                                                            2014,
       https://www.paulweiss.com/practices/transactional/corporate/news/adp-completes-spin-off-of-automotive-
       https://www.paulweiss.com/practices/transactional/corporate/news/adp-completes-spin-off-of-automotive-
       dealer-services-business?id=18827
       dealer-services-business?id=              (“Automatic Data
                                         18827 ("Automatic      Data Processing,
                                                                      Processing, Inc.
                                                                                   Inc. (ADP)
                                                                                        (ADP) completed
                                                                                               completed the the distribution  to its
                                                                                                                  distribution to  its
       stockholders of
       stockholders   of all of the
                         all of the issued
                                     issued and   outstanding common
                                              and outstanding   common stock
                                                                           stock of
                                                                                 of CDK
                                                                                    CDK Global,   Inc. in
                                                                                          Global, Inc.  in aa tax-free
                                                                                                              tax-free spin-off.
                                                                                                                        spin-off. The
                                                                                                                                  The
       distribution completes
       distribution completes the the spin-off
                                      spin-off by
                                                by ADP
                                                    ADP ofof its
                                                             its automotive   dealer services
                                                                 automotive dealer            business”). The
                                                                                     services business").         public record
                                                                                                             The public   record that
                                                                                                                                  that II
       have reviewed
       have  reviewed indicates
                        indicates that
                                    that aa geographic  market segmentation
                                            geographic market    segmentation waswas not
                                                                                      not necessary
                                                                                          necessary to
                                                                                                     to define
                                                                                                        define the
                                                                                                                 the divested
                                                                                                                     divested asset
                                                                                                                               asset
       The  public record
       The public  record that
                            that II have
                                    have reviewed
                                           reviewed also  indicates that
                                                     also indicates  that the
                                                                          the seller did not
                                                                              seller did not acquire  the divested
                                                                                             acquire the  divested asset    within ten
                                                                                                                      asset within  ten
       years before
       years  before the
                     the evaluated
                          evaluated divestiture.
                                       divestiture.
 107
 107
       II considered
          considered the
                     the start
                          start of the operational
                                of the operational timeline
                                                    timeline the
                                                             the date
                                                                 date of  the TSA,
                                                                       of the T SA, September   29, 2014.
                                                                                     September 29,  2014. II considered  the end
                                                                                                             considered the  end
       of the
       of  the operational
               operational timeline
                            timeline September
                                      September 30,    2015, the
                                                  30, 2015,  the last
                                                                 last date of the
                                                                      date of the transitional
                                                                                  transitional period “pursuant to
                                                                                               period "pursuant  to the
                                                                                                                    the transition
                                                                                                                        transition
       services agreement”
       services                with ADP.
                 agreement" with     ADP. See
                                           See CDK
                                                CDK Global,
                                                       Global, Inc., Form 10-Q
                                                               Inc., Form         for the
                                                                            10-Q for  the Quarterly Period Ended
                                                                                          Quarterly Period  Ended September
                                                                                                                    September
       30,  2014, https://www.sec.gov/Archives/edgar/data/1609702/000160970214000006/cdkqlfy1510-q.htm,
        30, 2014, https://www.sec.gov/Archives/edgar/data/1609702/000160970214000006/cdk_q1fy1510-q.htm, p.                  p.
       34;
        34; CDK
            CDK Global,
                  Global, Inc.,  Form 10-Q
                           Inc., Foul'        for the
                                        10-Q for  the Quarterly
                                                      Quarterly Period   Ended December
                                                                 Period Ended    December 31,
                                                                                            31, 2015,
                                                                                                2015,
       https://www.sec.gov/Archives/edgar/data/1609702/000160970216000037/cdk_q2fy1610-q.htm, p.
       https://www.sec.gov/Archives/edgar/data/1609702/000160970216000037/cdk_q2fy1610-q.htm,                     p. 7.
                                                                                                                     7.



                                                                   32
                                                                   32
                                                           APP-676
                                                           APP-676
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                  g. Symantec
                  g. Symantec Corporation’s 2017 divestiture
                              Corporation's 2017 divestiture of
                                                             of its website security
                                                                its website          business, valued
                                                                            security business, valued

                      at
                      at $1.12 billion,108 to
                         $1.12 billion,108 to DigiCert,
                                              DigiCert, Inc. (operational timeline
                                                        Inc. (operational timeline of
                                                                                   of at       365); 109 and
                                                                                         least 365);109
                                                                                      at least           and

                  h.
                  h. IBM
                     IBM Corporation’s 2019 divestiture
                         Corporation's 2019 divestiture of its software
                                                        of its software portfolio
                                                                        portfolio of international
                                                                                  of international

                      business, valued
                      business, valued at
                                       at $1.78 billion,110 to
                                          $1.78 billion,'   to HCL
                                                               HCL Technologies Ltd. (expected
                                                                   Technologies Ltd. (expected

                      operational timeline up
                      operational timeline up to
                                              to over 365 days).
                                                 over 365        "
                                                          days). 111

            50.
            50.       Similarly, in the
                      Similarly, in the following
                                        following five
                                                  five divestitures, the divested
                                                       divestitures, the divested asset was defined
                                                                                  asset was         based
                                                                                            defined based

 solely
 solely on
        on product
           product market and the
                   market and the seller
                                  seller acquired the divested
                                         acquired the divested asset within ten
                                                               asset within ten years
                                                                                years before
                                                                                      before the
                                                                                             the

 divestiture (i.e., they
 divestiture (i.e., they have both indicia
                         have both indicia of
                                           of aa less
                                                 less complex
                                                      complex divestiture than the
                                                              divestiture than the one
                                                                                   one required
                                                                                       required of
                                                                                                of




 108
 108
       See John
       See       Merrill, "DigiCert
           John Merrill,  “DigiCert to to Acquire
                                           Acquire Symantec’s
                                                   Symantec's Website
                                                                Website Security    Business,” DigiCert,
                                                                          Security Business,"  DigiCert, August
                                                                                                           August 2,  2017,
                                                                                                                   2, 2017,
       https://www.digicert.com/blog/digicert-to-acquire-symantec-website-security-business. The
       https://www.digicert.com/blog/digicert-to-acquire-symantec-website-security-business.                 public record
                                                                                                        The public         that II
                                                                                                                    record that
       have reviewed
       have  reviewed indicates
                       indicates that
                                   that aa geographic market segmentation
                                           geographic market  segmentation waswas not
                                                                                   not necessary
                                                                                       necessary to
                                                                                                  to define
                                                                                                     define the
                                                                                                            the divested
                                                                                                                divested asset.
                                                                                                                         asset.
       The  public record
       The public  record that
                           that II have
                                   have reviewed
                                          reviewed also indicates that
                                                   also indicates that the
                                                                       the seller did not
                                                                           seller did not acquire  the divested
                                                                                          acquire the  divested asset within ten
                                                                                                                asset within ten
       years before
       years  before the
                     the evaluated
                         evaluated divestiture.
                                     divestiture.
 109
 109
       See Purchase
       See Purchase Agreement
                       Agreement by  by and Among Symantec
                                        and Among    Symantec Corporation,     DigiCert Parent,
                                                                Corporation, DigiCert     Parent, Inc.,
                                                                                                   Inc., and DigiCert, Inc.,
                                                                                                         and DigiCert,  Inc., dated
                                                                                                                              dated
       August 2,
       August   2, 2017,
                   2017,
       https://www.sec.gov/Archives/edgar/data/849399/000084939917000016/a092917exhibit21.htm,
       https://www.   sec. gov/Archives/edgar/data/849399/000084939917000016/a092917exhibit21.htm, pp.              pp. 111-112
                                                                                                                        111-112
       (“Unless otherwise
       ("Unless  otherwise agreed
                              agreed byby Anion
                                          Arion (refers to DigiCert)
                                                (refers to DigiCert) and
                                                                     and Sphinx
                                                                          Sphinx (refers    to Symantec)
                                                                                   (refers to  Symantec) oror set forth in
                                                                                                              set forth in the
                                                                                                                           the
       Preliminary Transition
       Preliminary   Transition Service
                                   Service Schedules,  no Transition
                                           Schedules, no              Period will
                                                           Transition Period  will last for more
                                                                                   last for  more than
                                                                                                   than 12  months following
                                                                                                         12 months   following the
                                                                                                                                the
       Closing  Date (excluding
       Closing Date    (excluding any
                                    any extensions  made to
                                         extensions made   to the
                                                              the Transition Period in
                                                                  Transition Period   in accordance    with the
                                                                                         accordance with    the teams
                                                                                                                terms of
                                                                                                                       of the
                                                                                                                          the
       Transition
       Transition Services     Agreement)”). See
                    Services Agreement)").     See also
                                                   also Symantec
                                                         Symantec Corporation,    Form 10-Q
                                                                    Corporation, Foul'   10-Q forfor the
                                                                                                     the Quarterly  Period Ended
                                                                                                         Quarterly Period   Ended
       December 29,
       December          2017, https://www.sec.gov/Archives/edgar/data/849399/000084939918000004/symc122917-
                   29, 2017,    https://www.sec.gov/Archives/edgar/data/849399/000084939918000004/symc122917-
       10q.htm,
       10q.htm, p.p. 14
                     14 ("The
                         (“The services
                                 services under
                                          under the
                                                the TSA   commenced with
                                                    T SA commenced     with the
                                                                             the close  of the
                                                                                 close of   the transaction
                                                                                                transaction and   expire at
                                                                                                             and expire     various
                                                                                                                         at various
       dates through
       dates through fiscal
                        fiscal 2019,  with extension
                               2019, with             options”).
                                           extension options").
 110
 110
       See "HCL
       See “HCL Technologies      to Buy
                    Technologies to  Buy IBM
                                           IBM Software     Products in
                                                 Software Products     in $1.8   Billion Deal,"
                                                                            $1.8 Billion Deal,” Nikkei
                                                                                                 Nikkei Asia,
                                                                                                         Asia, December
                                                                                                               December 7,  7, 2018,
                                                                                                                               2018,
       https://asia.nikkei.com/Business/Companies/HCL-Technologies-to-buy-IBM-software-products-in-1.8-billion-
       https://asia.nikkei.com/Business/Companies/HCL         -Technologies-to-buy-IBM-software-products-in-1.8-billion-
       deal. The
       deal. The public   record that
                   public record that II have reviewed indicates
                                         have reviewed               that aa geographic
                                                         indicates that                   market segmentation
                                                                             geographic market    segmentation was
                                                                                                                 was not
                                                                                                                      not necessary
                                                                                                                          necessary
       to define
       to define the
                  the divested
                      divested asset.
                               asset. The   public record
                                       The public          that II have
                                                   record that     have reviewed
                                                                         reviewed also    indicates that
                                                                                     also indicates that the
                                                                                                         the seller
                                                                                                             seller did not acquire
                                                                                                                    did not acquire
       the divested
       the divested asset  within ten
                     asset within  ten years
                                        years before
                                              before the
                                                     the evaluated
                                                          evaluated divestiture.
                                                                      divestiture.
 111
 111
       For the
       For the lower   bound of
                 lower bound      the operational
                               of the operational timeline,
                                                    timeline, II conservatively
                                                                 conservatively assumed     that the
                                                                                  assumed that   the start
                                                                                                     start date is January
                                                                                                           date is January 31,  2019,
                                                                                                                            31, 2019,
       because HCL
       because    HCL Tech
                       Tech announced
                              announced in in January   2019 that
                                              January 2019    that "HCL
                                                                   “HCL is   working on
                                                                          is working   on aa smooth
                                                                                             smooth transition
                                                                                                     transition plan.”  As the
                                                                                                                 plan." As  the end
                                                                                                                                end
       date, II conservatively
       date,                    used the
                conservatively used   the date  of the
                                          date of  the deal  close, June
                                                        deal close,       30, 2019.
                                                                    June 30,   2019. For
                                                                                     For the
                                                                                          the upper
                                                                                              upper bound,
                                                                                                     bound, II conservatively   used
                                                                                                               conservatively used
       365  days because
       365 days    because IBM    stated that
                            IBM stated   that "HCL
                                               “HCL cancan renew
                                                           renew certain
                                                                   certain [transition]
                                                                           [transition] services  up to
                                                                                        services up  to an
                                                                                                        an additional  year.” See
                                                                                                            additional year."  See
       “HCL Announces
       "HCL     Announces Acquisition
                             Acquisition of
                                          of Select
                                              Select IBM    Products Frequently
                                                      IBM Products    Frequently Asked
                                                                                   Asked Questions,”     Products &
                                                                                           Questions," Products     & Platfouns,
                                                                                                                      Platforms,
       https://www.hcltech.com/sites/default/files/documents/inline-migration/general_faq_jan_2019.pdf,
       https://www.hcltech.com/sites/default/files/documents/inline-migration/general_faq_j              an_2019.pdf, p.p. 3;
                                                                                                                           3; IBM
                                                                                                                              IBM
       Corporation,   Form 10-Q
       Corporation, Form            for the
                             10-Q for   the Quarter   Ended September
                                            Quarter Ended     September 30,
                                                                          30, 2019,
                                                                               2019,
       https://www.sec.gov/Archives/edgar/data/51143/000155837019009324/ibm-20190930x10q.htm,
       https://www.   sec. gov/Archives/edgar/data/51143/000155837019009324/ibm-20190930x10q.htm, p.                  p. 52.
                                                                                                                         52.



                                                                 33
                                                                 33
                                                         APP-677
                                                         APP-677
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 Petitioners), and
 Petitioners), and yet
                   yet they
                       they too
                            too have
                                have expected
                                     expected or
                                              or observable
                                                 observable operational timelines longer
                                                            operational timelines        than 360
                                                                                  longer than 360

 days:
 days:

                  a.
                  a. Xperi Holding Corporation’s
                     Xperi Holding               2022 spin-off
                                   Corporation's 2022 spin-off of its product
                                                               of its         business from
                                                                      product business from its
                                                                                            its

                       intellectual property
                       intellectual          licensing business,
                                    property licensing business, valued
                                                                 valued at
                                                                        at $1.08 billion 112 (operational
                                                                           $1.08 billion112  (operational
                                                       113
                       timeline of
                       timeline    at least
                                of at least 844
                                            844 days);
                                                days);113

                                                                                         114
                 b. TEGNA
                 b. TEGNA Inc.’s 2017 spin-off
                          Inc.'s 2017 spin-off of
                                               of Cars.com
                                                  Cars.com Inc., valued at
                                                           Inc., valued at $1.85
                                                                           $1.85 billion
                                                                                 billion114

                                                                                  115
                       (operational timeline
                       (operational timeline of up to
                                             of up to 24
                                                      24 months, i.e., 730
                                                         months, i.e., 730 days);
                                                                           days);115




 112
 112
       Xperi (formerly
       Xperi   (formerly Tessera    Holding Corporation)
                           Tessera Holding   Corporation) acquired    the product
                                                           acquired the   product business
                                                                                  business of
                                                                                            of DTS,
                                                                                               DTS, Inc
                                                                                                      Inc in December 2016,
                                                                                                          in December  2016,
       i.e., six years
       i.e., six years before  this divestiture.
                       before this  divestiture. (See “Tessera Completes
                                                 (See "Tessera              Acquisition of
                                                               Completes Acquisition        DTS,” Business
                                                                                         of DTS,"  Business Wire,   December
                                                                                                              Wire, December
       1, 2016, https://www.businesswire.com/news/home/20161201005268/en/Tesser;
       1, 2016,   https://www.businesswire.com/news/home/20161201005268/en/Tesser; "Tessera     “Tessera Holding
                                                                                                           Holding Corporation
                                                                                                                    Corporation
       Announces Name
       Announces     Name Change
                            Change to to Xperi
                                         Xperi Corporation,”  Xperi, February
                                               Corporation," Xperi,    February 22,  2017,
                                                                                 22, 2017,
       https://investor.xperi.com/news/news-details/2017/Tessera-Holding-Corporation-Announces-Name-Change-to-
       https://investor.xperi.  com/news/news-details/2017/Tessera-Holding- Corporation-Announces-Name-Change-to-
       Xperi-Corporation/default.aspx.) The
       Xperi-Corporation/default.aspx.)      The public  record that
                                                  public record that II have
                                                                        have reviewed
                                                                             reviewed indicates  that aa geographic
                                                                                       indicates that               market
                                                                                                         geographic market
       segmentation was
       segmentation    was not
                            not necessary
                                 necessary to
                                            to define
                                               define the
                                                      the divested
                                                          divested asset.
                                                                   asset.
 113
 113
       While
       While II have
                have found
                         found neither
                                  neither the
                                           the precise   start date
                                                precise start        nor the
                                                               date nor   the precise
                                                                               precise end
                                                                                        end date
                                                                                             date of
                                                                                                   of the
                                                                                                      the operational
                                                                                                          operational timeline
                                                                                                                       timeline from
                                                                                                                                 from public
                                                                                                                                         public
       documents, II was
       documents,        was able    to estimate
                               able to             the operational
                                        estimate the    operational timeline
                                                                      timeline by by using
                                                                                      using conservative
                                                                                             conservative proxy
                                                                                                            proxy dates   for both.
                                                                                                                   dates for  both. As
                                                                                                                                    As the
                                                                                                                                         the
       start date,
       start date, II used
                      used July
                             July 1,   2020, which
                                    1, 2020,   which is   the first
                                                       is the first day
                                                                    day following
                                                                         following thethe month
                                                                                          month in    which Xperi
                                                                                                   in which  Xperi publicly
                                                                                                                    publicly announced
                                                                                                                               announced itsits
       intention  to divest
       intention to   divest itsits assets  (June 2020).
                                    assets (June   2020). Using
                                                            Using this
                                                                    this date
                                                                         date as   the start
                                                                               as the  start of
                                                                                             of the
                                                                                                the operational  timeline is
                                                                                                     operational timeline   is conservative
                                                                                                                               conservative
       because public
       because   public announcements           typically occur
                            announcements typically         occur following
                                                                   following internal
                                                                                internal operational    planning. As
                                                                                          operational planning.    As the
                                                                                                                      the end   date, II used
                                                                                                                           end date,     used
       October
       October 22,     2022, the
                 22, 2022,      the date  of the
                                     date of  the first
                                                  first amendment
                                                        amendment to   to the
                                                                           the TSA.
                                                                               TSA. This
                                                                                       This date
                                                                                             date is conservative as
                                                                                                  is conservative     the implementation
                                                                                                                   as the  implementation
       of the
       of the TSA
              TSA is  is likely   to continue
                          likely to  continue after
                                                 after its
                                                       its amendment
                                                           amendment date.       See Xperi
                                                                          date. See   Xperi Inc.,
                                                                                              Inc., Foul'
                                                                                                    Form 10-K   for the
                                                                                                          10-K for  the Fiscal
                                                                                                                         Fiscal Year   Ended
                                                                                                                                Year Ended
       December 31,
       December            2023, https://d18m0p25nwr6d.cloudfront.net/CIK-0001788999/0768588f-717f-4908-a897-
                     31, 2023,     https://d18rn0p25nwr6d.cloudfront.net/CIK-0001788999/0768588f-717f-4908-a897-
       745524c9f289.pdf,
       745524c9f289.pdf, pp.     pp. 51-52;    Xperi Inc.,
                                      51-52; Xperi    Inc., Foul'
                                                             Form 10-K
                                                                    10-K forfor the
                                                                                the Fiscal
                                                                                     Fiscal Year   Ended December
                                                                                             Year Ended    December 31,    2022,
                                                                                                                      31, 2022,
       https://www.sec.gov/ix?doc=/Archives/edgar/data/1788999/000095017023006053/xper-20221231.htm,
       https://www.     sec. gov/ix?doc=/Archives/edgar/data/1788999/000095017023006053/xper-20221231.htm, p.                          p. 105.
                                                                                                                                          105.
 114
 114
       See "Cars.com
       See “Cars.com Completes
                        Completes Spin-off from Parent
                                  Spin-off from  Parent Company
                                                        Company TEGNA,”
                                                                   TEGNA," Cars.com,
                                                                              Cars.com, June June 1,
                                                                                                  1, 2017,
                                                                                                     2017,
       https://www.cars.com/articles/carscom-completes-spin-off-from-parent-company-tegna-1420695567172/.
       https://www.cars.com/articles/carscom-completes-spin-off-from-parent-company-tegna-1420695567172/.
       Gannet,  the corporate
       Gannet, the            predecessor of
                    corporate predecessor of TEGNA,    acquired Cars.com
                                             TEGNA, acquired     Cars.com in
                                                                           in 2014,
                                                                              2014, i.e.,   three years
                                                                                      i.e., three years before
                                                                                                        before this
                                                                                                                this
       divestiture. (See
       divestiture. (See Veronica
                         Veronica Garabelli, “Gannett Acquires
                                  Garabelli, "Gannett  Acquires Cars.com   for $1.8
                                                                 Cars.com for         Billion,” Virginia
                                                                               $1.8 Billion,"              Business, October
                                                                                                  Virginia Business, October
       1, 2014, https://www.virginiabusiness.com/article/gannett-acquires-cars-com-for-1-8-billion/;
       1, 2014, https://www.virginiabusiness.com/article/gannett-acquires-cars-com-for-1-8-billion/; "Separation
                                                                                                            “Separation of of
       Gannett  into Two
       Gannett into       Public Companies
                     Two Public  Companies Completed,”
                                             Completed," TEGNA,
                                                          TEGNA, June     29, 2015,
                                                                     June 29,          https://www.tegna.com/separation-
                                                                              2015, https://www.tegna.com/separation-
       of-gannett-into-two-public-companies-completed/.) The
       of-gannett-into-two-public-companies-completed/.)     The public record that
                                                                 public record  that II have
                                                                                        have reviewed
                                                                                               reviewed indicates
                                                                                                         indicates that
                                                                                                                   that aa
       geographic   market segmentation
       geographic market                was not
                           segmentation was   not necessary
                                                  necessary to
                                                            to define the divested
                                                               define the divested asset.
                                                                                    asset.
 115
 115
       TEGNA
       TEGNA and and Cars.com
                     Cars.com entered
                               entered aa TSA on May
                                          TSA on  May 31,  2017, pursuant
                                                       31, 2017,  pursuant to
                                                                            to which
                                                                               which TEGNA
                                                                                     TEGNA agreed   to "provide
                                                                                             agreed to “provide certain
                                                                                                                  certain
       services to
       services to Cars.com  on an
                   Cars.com on     interim and
                                an interim and transitional
                                               transitional basis,
                                                            basis, not
                                                                   not to
                                                                       to exceed 24 months."
                                                                          exceed 24 months.” See
                                                                                             See Transition
                                                                                                 Transition Services
                                                                                                            Services
       Agreement by
       Agreement   by and  Between TEGNA
                       and Between           Inc. and
                                    TEGNA Inc.    and Cars.com
                                                       Cars.com Inc.,
                                                                 Inc., dated  May 31,
                                                                       dated May      2017,
                                                                                  31, 2017,
       https://www.sec.gov/Archives/edgar/data/39899/000119312517196074/d514170dex101.htm;
       https://www. sec. gov/Archives/edgar/data/39899/000119312517196074/d514170dex101.htm; TEGNA     TEGNA Inc.,
                                                                                                                 Inc.,
       Form 10-Q
       Foul'       for the
              10-Q for the Quarterly Period Ended
                           Quarterly Period Ended September
                                                   September 30,
                                                               30, 2017,
                                                                    2017,
       https://www.sec.gov/Archives/edgar/data/39899/000003989917000041/tgna-20170930x10q.htm,
       https://www. sec. gov/Archives/edgar/data/39899/000003989917000041/tgna-20170930x10q.htm, p.20.     p.20.



                                                                      34
                                                                      34
                                                             APP-678
                                                             APP-678
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                 c. FireEye, Inc.'s
                 c. FireEye, Inc.’s 2021
                                    2021 divestiture
                                         divestiture of
                                                     of its
                                                        its products
                                                            products business, valued at
                                                                     business, valued at $1.2 billion, 116
                                                                                         $1.2 billion,116

                      to Symphony
                      to Symphony Technology
                                  Technology Group (expected operational
                                             Group (expected             timeline of
                                                             operational timeline    up to
                                                                                  of up to 548
                                                                                           548

                             117
                      days);
                      days);117

                 d. Dell Technologies
                 d. Dell              Inc.’s 2021
                         Technologies Inc.'s 2021 spin-off
                                                  spin-off of VMware LLC,
                                                           of VMware LLC, valued
                                                                          valued at
                                                                                 at $51.14
                                                                                    $51.14

                      billion118 (expected
                      billion118 (expected operational timeline of
                                           operational timeline    up to
                                                                of up to 365
                                                                         365 days); 119
                                                                             days);119




 116
 116
       See "FireEye
       See “FireEye Announces
                     Announces Sale
                                  Sale of  FireEye Products
                                       of FireEye  Products Business
                                                             Business to
                                                                       to Symphony
                                                                           Symphony Technology
                                                                                         Technology Group
                                                                                                     Group forfor $1.2   Billion,”
                                                                                                                  $1.2 Billion,"
       Mandiant, June
       Mandiant,        2, 2021,
                  June 2,  2021, https://www.mandiant.com/company/press-releases/fireeye-announces-sale-fireeye-
                                 https://www.mandiant.com/company/press-releases/fireeye-announces-sale-fireeye-
       products-business-symphony-technology-group. The
       products-business-symphony-technology-group.             public record
                                                            The public record that
                                                                               that II have
                                                                                       have reviewed
                                                                                             reviewed indicates   that aa
                                                                                                       indicates that
       geographic  market segmentation
       geographic market                   was not
                            segmentation was   not necessary
                                                   necessary to
                                                              to define the divested
                                                                 define the divested asset.    See Zacks
                                                                                        asset. See Zacks Equity
                                                                                                          Equity Research,
                                                                                                                  Research,
       “FireEye Rebrands
       "FireEye  Rebrands as   Mandiant (FEYE)
                            as Mandiant   (FEYE) After
                                                   After Product
                                                         Product Biz
                                                                  Biz Sell-Off,”  Nasdaq, October
                                                                      Sell-Off," Nasdaq,     October 5,
                                                                                                      5, 2021,
                                                                                                         2021,
       https://www.nasdaq.com/articles/fireeye-rebrands-as-mandiant-feye-after-product-biz-sell-off-2021-10-05
       https://www.nasdaq.com/articles/fireeye-rebrands-as-mandiant-feye-after-product-biz-sell-off-2021-10-05
       (“Through this
       ("Through  this transaction,
                       transaction, [FireEye]  undoes its
                                    [FireEye] undoes       2014 acquisition,
                                                       its 2014               which brought
                                                                 acquisition, which    brought Mandiant
                                                                                                Mandiant solutions
                                                                                                           solutions and
                                                                                                                      and
       FireEye products
       FireEye  products together").
                          together”).
 117
 117
       On
       On June   2, 2021,
           June 2,  2021, FireEye
                            FireEye said
                                     said it would enter
                                          it would  enter aa TSA
                                                             TSA atat closing. See FireEye,
                                                                      closing. See  FireEye, Symphony
                                                                                                Symphony Technology
                                                                                                            Technology Group,
                                                                                                                          Group,
       FireEye Announces
       FireEye  Announces Sale      of FireEye
                               Sale of FireEye Products
                                                 Products Business
                                                            Business toto Symphony
                                                                          Symphony Technology
                                                                                       Technology Group      for $1.2
                                                                                                      Group for       Billion,
                                                                                                                 $1.2 Billion,
       https://www.sec.gov/Archives/edgar/data/1370880/000110465921075725/tm2118082d1_ex99-1.htm
       https://www.   sec. gov/Archives/edgar/data/1370880/000110465921075725/tm2118082d l_ex99-1.htm
       (“[FireEye] at
       ("[FireEye]      closing will
                     at closing  will enter  into agreements
                                      enter into  agreements [which]
                                                               [which] include
                                                                         include [...]
                                                                                 [...] aa transition
                                                                                          transition services
                                                                                                     services agreement”);  FireEye,
                                                                                                              agreement"); FireEye,
       Inc., Form 10-Q
       Inc., Foun          for the
                    10-Q for   the Quarterly   Period Ended
                                   Quarterly Period   Ended June
                                                              June 30,
                                                                    30, 2021,
                                                                         2021,
       https://www.sec.gov/Archives/edgar/data/1370880/000137088021000033/feye-20210630.htm, p.
       https://www.sec.gov/Archives/edgar/data/1370880/000137088021000033/feye-20210630.htm,                        p. 12
                                                                                                                       12 (“The
                                                                                                                          ("The
       transition period
       transition period isis expected  to be
                              expected to  be approximately
                                               approximately 12    to 18
                                                                12 to     months after
                                                                      18 months           the sale
                                                                                  after the   sale closes”).
                                                                                                   closes").
 118
 118
       See "Dell
       See “Dell Technologies  Announces Completion
                 Technologies Announces      Completion ofof VMware
                                                              VMware Spin-off,”     Dell Technologies,
                                                                         Spin-off," Dell                   November 1,
                                                                                           Technologies, November          2021,
                                                                                                                       1, 2021,
       https://www.dell.com/en-us/dt/corporate/newsroom/announcements/detailpage.press-
       https://www.dell.com/en-us/dt/corporate/newsroom/announcements/detailpage.press-
       releases~usa~2021~11~20211101-dell-technologies-announces-completion-of-vmware-spin-off.htm#/filter-
       releases—usa-2021-11-20211101-dell-technologies-announces-completion-of-vmware-spin-off.htm#/filter-
       on/Country:en-us. Dell
       on/Country:en-us. Dell acquired
                               acquired VMware
                                         VMware in  in 2015,
                                                       2015, i.e.,
                                                              i.e., six years before
                                                                    six years before this
                                                                                      this divestiture.
                                                                                           divestiture. (See  Ron Miller
                                                                                                        (See Ron   Miller and
                                                                                                                           and
       Alex Wilhelm,
       Alex           “Dell Is
             Wilhelm, "Dell Is Spinning
                               Spinning Out
                                         Out VMware
                                               VMware in in aa Deal
                                                               Deal Expected
                                                                      Expected to
                                                                                to Generate
                                                                                   Generate Over
                                                                                               Over $9B   for the
                                                                                                     $9B for  the Company,”
                                                                                                                  Company,"
       TechCrunch,  April 14,
       TechCrunch, April      2021, https://techcrunch.com/2021/04/14/dell-is-spinning-out-vmware-in-a-deal-
                          14, 2021,  https://techcrunch.com/2021/04/14/dell-is-spinning-out-vmware-in-a-deal-
       expected-to-generate-over-9b-for-the-company/.)
       expected-to-generate-over-9b-for-the-company/.) The  The public
                                                                  public record  that II have
                                                                          record that    have reviewed
                                                                                                reviewed indicates that aa
                                                                                                         indicates that
       geographic market segmentation
       geographic market                 was not
                          segmentation was     not necessary
                                                   necessary toto define  the divested
                                                                  define the  divested asset.
                                                                                         asset.
 119
 119
       See Dell
       See  Dell Technologies
                 Technologies Inc.,Inc., Foil'
                                         Form 8-K,
                                               8-K, dated
                                                    dated October   29, 2021,
                                                           October 29,        https://investors.delltechnologies.com/static-
                                                                        2021, https://investors.delltechnologies.com/static-
       files/072b94f3-090e-4891-a825-0014a787b6c9, p.
       files/072b94f3-090e-4891-a825-0014a787b6c9,            p. 4
                                                                 4 (“In connection with
                                                                   ("In connection  with the
                                                                                         the Spin-Off,  on November
                                                                                             Spin-Off, on  November 1, 1, 2021,
                                                                                                                          2021,
       Dell entered
       Dell  entered into
                     into aa [.
                             […]..] Transition
                                    Transition Services  Agreement[.]”). See
                                                Services Agreement[.]").   See also
                                                                               also Dell
                                                                                    Dell Technologies   Inc., Foul'
                                                                                         Technologies Inc.,   Form 10-Q   for the
                                                                                                                    10-Q for  the
       Quarterly  Period Ended
       Quarterly Period   Ended October
                                    October 28,  2022,
                                             28, 2022,
       https://www.sec.gov/Archives/edgar/data/1571996/000157199622000044/dell-20221028.htm,
       https://www.  sec. gov/Archives/edgar/data/1571996/000157199622000044/dell-20221028.htm, pp.            pp. 15,
                                                                                                                   15, 49
                                                                                                                       49
       (“Transition services
       ("Transition  services maymay be
                                      be provided   for up
                                          provided for  up to
                                                           to one
                                                              one year").
                                                                   year”).



                                                                 35
                                                                 35
                                                        APP-679
                                                        APP-679
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                 e. Dell EMC's
                 e. Dell EMC’s 2017
                               2017 divestiture
                                    divestiture of its Enterprise
                                                of its Enterprise Content
                                                                  Content Division,
                                                                          Division, valued
                                                                                    valued at
                                                                                           at $1.62
                                                                                              $1.62

                     billion,120 to
                     billion,120 to Open
                                    Open Text
                                         Text Corporation (expected operational
                                              Corporation (expected             timeline up
                                                                    operational timeline up to
                                                                                            to over 365
                                                                                               over 365

                     days). 121
                     days). 121




           51.
           51.       These
                     These examples
                           examples illustrate that the
                                    illustrate that the divestiture
                                                        divestiture of
                                                                    of integrated
                                                                       integrated assets
                                                                                  assets often take over
                                                                                         often take over

 360 days
 360 days even when the
          even when the level
                        level of
                              of integration
                                 integration is
                                             is expected to be
                                                expected to be relatively
                                                               relatively low,
                                                                          low, as
                                                                               as evidenced by aa
                                                                                  evidenced by

 divested
 divested asset that can
          asset that     be defined
                     can be         based solely
                            defined based solely on
                                                 on product
                                                    product market and/or the
                                                            market and/or the divestiture
                                                                              divestiture of
                                                                                          of aa

 recently-acquired asset. While
 recently-acquired asset. While these
                                these examples would not
                                      examples would     be representative
                                                     not be representative of the high
                                                                           of the high level
                                                                                       level of
                                                                                             of

 integration that
 integration that exists
                  exists between
                         between TikTok’s U.S. application
                                 TikTok's U.S. application and its global
                                                           and its global application
                                                                          application (or
                                                                                      (or

 ByteDance), they
 ByteDance), they nevertheless
                  nevertheless show that divestitures
                               show that divestitures are
                                                      are complex and time-consuming
                                                          complex and time-consuming

 processes, which often
 processes, which often require
                        require post-closing
                                post-closing services
                                             services from the seller
                                                      from the        to ensure
                                                               seller to        business continuity.
                                                                         ensure business continuity.

 Again, these types
 Again, these types of
                    of services would not
                       services would     be possible
                                      not be          under aa "qualified
                                             possible under    “qualified divestiture.”
                                                                          divestiture."

           52.
           52.       To be sure,
                     To be       when the
                           sure, when the level
                                          level of integration and
                                                of integration and complexity is lower
                                                                   complexity is       than what
                                                                                 lower than what exists
                                                                                                 exists

 with respect
 with         to TikTok’s
      respect to          U.S. application
                 TikTok's U.S. application and its global
                                           and its        application (or
                                                   global application (or ByteDance),
                                                                          ByteDance), the
                                                                                      the

 operational timeline of
 operational timeline of divestitures
                         divestitures can take fewer
                                      can take       than 360
                                               fewer than 360 days. However, based
                                                              days. However, based on the
                                                                                   on the

 divestitures
 divestitures in
              in my
                 my sample for which
                    sample for which II was
                                        was able to identify
                                            able to identify an
                                                             an operational timeline, these
                                                                operational timeline, these still take
                                                                                            still take

 well over
 well      270 days.
      over 270       In case
               days. In case of
                             of all three divestitures
                                all three              below, the
                                          divestitures below, the divested asset was
                                                                  divested asset was defined
                                                                                     defined based
                                                                                             based




 120
 120
       See "OpenText
       See “OpenText Signs    Definitive Agreement
                        Signs Definitive Agreement to to Acquire
                                                         Acquire DellDell EMC's
                                                                           EMC’s Enterprise
                                                                                    Enterprise Content   Division, including
                                                                                                Content Division,  including
       Documentum,” PR
       Documentum,"     PR Newswire,
                           Newswire, September
                                       September 12,    2016, https://www.prnewswire.com/news-releases/opentext-
                                                    12, 2016,    https://www.prnewswire.com/news-releases/opentext-
       signs-definitive-agreement-to-acquire-dell-emcs-enterprise-content-division-including-documentum-
       signs-definitive-agreement-to-acquire-dell-emcs-enterprise-content-division-including-documentum-
       300326059.html.    Dell acquired
       300326059.html. Dell             EMC in
                               acquired EMC   in 2016,
                                                 2016, i.e.,
                                                         i.e., the
                                                               the year
                                                                    year of
                                                                          of this
                                                                             this divestiture.
                                                                                  divestiture. (See Noreen Seebacher,
                                                                                               (See Noreen   Seebacher,
       “OpenText Acquires
       "OpenText   Acquires Dell
                             Dell EMC's
                                  EMC’s Enterprise
                                           Enterprise Content     Division, Including
                                                       Content Division,                  Documentum,” CMSWire,
                                                                              Including Documentum,"       CMSWire, September
                                                                                                                       September
       12, 2016, https://www.cmswire.com/infoimation-management/opentext-acquires-dell-emcs-enterprise-content-
       12, 2016, https://www.cmswire.com/information-management/opentext-acquires-dell-emcs-enterprise-content-
       division-including-documentum/.) The
       division-including-documentum/.)         public record
                                            The public  record that
                                                                  that II have
                                                                          have reviewed
                                                                               reviewed indicates   that aa geographic
                                                                                          indicates that               market
                                                                                                            geographic market
       segmentation was
       segmentation   was not
                          not necessary
                              necessary to
                                         to define
                                            define the
                                                   the divested
                                                       divested asset.
                                                                    asset.
 121
 121
       See Dell
       See Dell Technologies    Inc., Foul'
                 Technologies Inc.,   Form 10-K  for the
                                            10-K for the Fiscal
                                                         Fiscal Year  Ended February
                                                                 Year Ended  February 2,   2018,
                                                                                        2, 2018,
       https://investors.delltechnologies.com/static-files/9d4aca86-7fd6-4b4f-ab4b-4895fa562826, p.
       https://investors.delltechnologies.com/static-files/9d4aca86-7fd6-4b4f-ab4b-4895fa562826,     p. 104 (“Transition
                                                                                                        104 ("Transition
       services may
       services  may be
                      be provided  for up
                         provided for     to one
                                       up to one year,
                                                 year, with
                                                       with an
                                                            an option
                                                                option to
                                                                       to renew
                                                                          renew after that period”).
                                                                                after that period").



                                                               36
                                                               36
                                                       APP-680
                                                       APP-680
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 solely
 solely on
        on product
           product market (i.e., they
                   market (i.e., they have
                                      have one
                                           one of the indicia
                                               of the indicia of
                                                              of aa less
                                                                    less complex
                                                                         complex divestiture than the
                                                                                 divestiture than the

 divestiture
 divestiture required
             required of Petitioners),122 and
                      of Petitioners),122 and they
                                              they still took well
                                                   still took well over 270 days.
                                                                   over 270 days. Specifically:
                                                                                  Specifically:

                 a.
                 a. The
                    The operational timeline of
                        operational timeline of Citrix
                                                Citrix Systems
                                                       Systems Inc.’s 2017 divestiture
                                                               Inc.'s 2017 divestiture of its GoTo
                                                                                       of its GoTo

                     subsidiary, valued at
                     subsidiary, valued at $2.85 billion, to
                                           $2.85 billion, to LogMeIn
                                                             LogMeIn Inc.
                                                                     Inc. took
                                                                          took 335 days. 123
                                                                               335 days. 123

                 b. The
                 b. The operational timeline of
                        operational timeline of Symantec’s 2019 divestiture
                                                Symantec's 2019 divestiture of its enterprise
                                                                            of its enterprise security
                                                                                              security

                     business, valued
                     business, valued at
                                      at $10.70 billion, to
                                         $10.70 billion, to Broadcom
                                                            Broadcom took 330 days. 124
                                                                     took 330

                 c.
                 c. The
                    The operational timeline of
                        operational timeline of Altaba
                                                Altaba Inc.’s 2017 divestiture
                                                       Inc.'s 2017 divestiture of Yahoo!’ss operating
                                                                               of Yahoo!'   operating
                                                                                  125
                     business, valued
                     business, valued at
                                      at $4.48 billion, to
                                         $4.48 billion, to Verizon
                                                           Verizon took
                                                                   took 324
                                                                        324 days.
                                                                            days.125




 122
 122
       See Liana
       See Liana B.
                  B. Baker,
                      Baker, "LogMeIn
                              “LogMeIn to to Merge
                                             Merge with
                                                      with Citrix’s
                                                           Citrix's GoTo    Unit in
                                                                     GoTo Unit       All-Stock Deal,"
                                                                                  in All-Stock  Deal,” Yahoo    Finance, July
                                                                                                       Yahoo Finance,          26,
                                                                                                                          July 26,
       2016, https://finance.yahoo.com/news/logmein-merge-citrixs-goto-unit-002645133.html;
       2016,  https://finance.yahoo.com/news/logmein-merge-citrixs-goto-unit-002645133.html; "Broadcom     “Broadcom to  to Acquire
                                                                                                                            Acquire
       Symantec   Enterprise Security
       Symantec Enterprise              Business for
                               Security Business    for $10.7
                                                        $10.7 Billion
                                                               Billion in
                                                                       in Cash,”   Broadcom, August
                                                                          Cash," Broadcom,      August 8,
                                                                                                       8, 2019,
                                                                                                           2019,
       https://investors.broadcom.com/news-releases/news-release-details/broadcom-acquire-symantec-enterprise-
       https://investors.broadcom.com/news-releases/news-release-details/broadcom-acquire-symantec-enterprise-
       security-business-107; "Verizon
       security-business-107;    “Verizon Completes
                                            Completes Yahoo      Acquisition, Creating
                                                         Yahoo Acquisition,     Creating aa Diverse
                                                                                            Diverse House
                                                                                                    House ofof 50+   Brands Under
                                                                                                                50+ Brands    Under
       New Oath
       New   Oath Subsidiary,”
                   Subsidiary," Verizon,
                                  Verizon, June
                                            June 13,   2017, https://www.verizon.com/about/news/verizon-completes-
                                                   13, 2017, https://www.verizon.com/about/news/verizon-completes-
       yahoo-acquisition-creating-diverse-house-50-brands-under-new-oath-subsidiary. For
       yahoo-acquisition-creating-diverse-house-50-brands-under-new-oath-subsidiary.              For all three of
                                                                                                      all three  of these
                                                                                                                    these
       divestitures, the
       divestitures, the public
                          public record that II have
                                 record that    have reviewed
                                                      reviewed indicates   that aa geographic
                                                                 indicates that                 market segmentation
                                                                                   geographic market   segmentation waswas not
                                                                                                                            not
       necessary to
       necessary  to define
                      define the
                             the divested
                                 divested asset.
                                           asset. The
                                                   The public  record that
                                                        public record  that II have
                                                                               have reviewed
                                                                                    reviewed also
                                                                                              also indicates  that the
                                                                                                   indicates that  the seller did
                                                                                                                       seller did
       not acquire
       not          the divested
           acquire the   divested asset within ten
                                  asset within   ten years
                                                     years before
                                                           before the
                                                                   the evaluated   divestiture.
                                                                       evaluated divestiture.
 123
 123   II considered
          considered the
                     the start
                           start of the operational
                                 of the operational timeline
                                                     timeline the
                                                              the date
                                                                  date of  the TSA,
                                                                        of the T SA, January
                                                                                     January 31,
                                                                                             31, 2017.
                                                                                                 2017. II considered   the end
                                                                                                          considered the       of
                                                                                                                           end of
       the operational
       the  operational timeline
                         timeline December
                                    December 31,    2017, the
                                                31, 2017,  the date
                                                               date when
                                                                    when the
                                                                           the company  stated that
                                                                               company stated  that "the
                                                                                                    “the transition
                                                                                                         transition services
                                                                                                                    services are
                                                                                                                              are
       substantially complete.”
       substantially  complete." See See LogMeIn,
                                         LogMeIn, Inc.,    Form 10-K
                                                     Inc., Form        for the
                                                                 10-K for  the Fiscal
                                                                               Fiscal Year Ended December
                                                                                      Year Ended  December 31,31, 2016,
                                                                                                                   2016,
       https://www.sec.gov/Archives/edgar/data/1420302/000119312517063977/d301311d10k.htmtoc,
       https://www.  sec. gov/Archives/edgar/data/1420302/000119312517063977/d301311d10k.htmtoc, p.               p. 90;
                                                                                                                      90;
       LogMeIn, Inc.,
       LogMeIn,    Inc., Form
                         Form 10-K      for the
                                 10-K for   the Fiscal
                                                Fiscal Year  Ended December
                                                       Year Ended   December 31,    2017,
                                                                                31, 2017,
       https://www.sec.gov/Archives/edgar/data/1420302/000119312518050503/d506130d10k.htm, p.
       https://www.sec.gov/Archives/edgar/data/1420302/000119312518050503/d506130d10k.htm,                     p. 71.
                                                                                                                  71.
 124
 124
       II considered
          considered the
                      the start
                          start of the operational
                                of the operational timeline
                                                    timeline August
                                                             August 8,
                                                                     8, 2019,
                                                                        2019, the
                                                                              the date
                                                                                   date of
                                                                                        of the
                                                                                           the Asset
                                                                                               Asset Purchase
                                                                                                      Purchase Agreement
                                                                                                                 Agreement to to
       which the
       which   the TSA   was attached.
                   TSA was     attached. II conservatively considered the
                                            conservatively considered  the end of the
                                                                           end of the operational
                                                                                      operational timeline
                                                                                                    timeline July  2, 2020,
                                                                                                              July 2,  2020,
       because the
       because   the parties  reported having
                     parties reported  having incurred
                                                incurred transition
                                                         transition services
                                                                    services costs
                                                                             costs "during
                                                                                   “during the
                                                                                            the three
                                                                                                three [.
                                                                                                       […]   months ended
                                                                                                         ..] months   ended
       October   2, 2020."
        October 2,  2020.” See
                             See Asset
                                  Asset Purchase
                                        Purchase Agreement
                                                   Agreement byby and  Between Broadcom
                                                                  and Between   Broadcom Inc.Inc. and
                                                                                                  and Symantec
                                                                                                       Symantec Corporation,
                                                                                                                  Corporation,
       dated August
       dated   August 8,  2019,
                       8, 2019,
       https://www.sec.gov/Archives/edgar/data/1730168/000119312519217369/d790567dex21.htm;
       https://www.   sec. gov/Archives/edgar/data/1730168/000119312519217369/d790567dex21.htm; NortonL         NortonLifeLock
                                                                                                                          ifeL ock
       Inc.,  Form 10-Q
        Inc., Form         for the
                    10-Q for   the Quarterly   Period Ended
                                   Quarterly Period   Ended October   2, 2020,
                                                             October 2,  2020,
       https://www.sec.gov/Archives/edgar/data/849399/000084939920000011/nlok-20201002.htm,
       https://www.   sec. gov/Archives/edgar/data/849399/000084939920000011/nlok-20201002.htm, p.             p. 10.
                                                                                                                  10.
 125
 125
       II conservatively
          conservatively considered   the start
                          considered the  start of
                                                of the
                                                   the operational
                                                       operational timeline
                                                                   timeline July  25, 2016,
                                                                             July 25,  2016, because
                                                                                             because "the
                                                                                                      “the Yahoo    transaction
                                                                                                            Yahoo transaction
       was announced”
       was   announced" inin July 2016. II considered
                             July 2016.                the end
                                           considered the      of the
                                                           end of the operational   timeline June
                                                                       operational timeline  June 13,
                                                                                                   13, 2017,  the date
                                                                                                       2017, the  date when
                                                                                                                       when
       “Oath beg[an]
       "Oath   beg[an] operation[.]”  See "Verizon
                        operation[.]" See  “Verizon Completes
                                                      Completes Yahoo     Acquisition, Creating
                                                                  Yahoo Acquisition,    Creating aa Diverse
                                                                                                    Diverse House
                                                                                                              House of
                                                                                                                     of 50+
                                                                                                                        50+
       Brands Under
       Brands   Under New
                       New Oath
                             Oath Subsidiary,”
                                   Subsidiary," Verizon,
                                                  Verizon, June
                                                            June 13,
                                                                 13, 2017,  https://www.verizon.com/about/news/verizon-
                                                                     2017, https://www.verizon.com/about/news/verizon-
       completes-yahoo-acquisition-creating-diverse-house-50-brands-under-new-oath-subsidiary (Oath
       completes-yahoo-acquisition-creating-diverse-house-50-brands-under-new-oath-subsidiary               (Oath CEO    “has
                                                                                                                   CEO "has
       been leading
       been           integration planning
              leading integration planning teams
                                             teams since
                                                    since the
                                                          the Yahoo   transaction was
                                                              Yahoo transaction    was announced
                                                                                        announced inin July
                                                                                                       July 2016”).
                                                                                                             2016").



                                                                37
                                                                37
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                                                        APP-681
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            53.
            53.        In
                       In other words, from
                          other words, from the
                                            the 26
                                                26 divestitures that satisfied
                                                   divestitures that           the criteria
                                                                     satisfied the criteria described
                                                                                            described in
                                                                                                      in
                   126
 paragraphs
 paragraphs 42-43,
            42-43,126  and for
                       and for which
                               which II could identify the
                                        could identify the beginning
                                                           beginning and
                                                                     and end
                                                                         end of the operational
                                                                             of the operational

 timeline, II have
 timeline,         found none
              have found      where the
                         none where the operational timeline took
                                        operational timeline took fewer
                                                                  fewer than
                                                                        than 270
                                                                             270 days (in fact,
                                                                                 days (in fact, II

 have found none
 have found      with an
            none with an operational timeline shorter
                         operational timeline         than 324
                                              shorter than     days). 127,128
                                                           324 days). 127,128
                                                                              Figure 2 below
                                                                              Figure 2 below

 summarizes the results
 summarizes the results of
                        of my
                           my analysis based on:
                              analysis based     (i) the
                                             on: (i) the three
                                                         three Verizon
                                                               Verizon divestitures
                                                                       divestitures described
                                                                                    described in
                                                                                              in

 Section
 Section III.D.1, and (ii)
         III.D.1, and (ii) the
                           the 26
                               26 divestitures in my
                                  divestitures in my market
                                                     market sample.
                                                            sample.




 126
 126
       I.e., divestiture
       Le.,               transactions where:
             divestiture transactions    where: (1)
                                                  (1) the
                                                      the divested
                                                           divested assets   operated in
                                                                     assets operated    in the
                                                                                           the following
                                                                                               following industries:   “interactive
                                                                                                          industries: "interactive
       media and
       media         services,” "application
               and services,"    “application software,"
                                                software,” "systems
                                                             “systems software,"
                                                                        software,” or or "integrated
                                                                                         “integrated telecommunication
                                                                                                      telecommunication services;"
                                                                                                                             services;”
       (2) the
       (2)  the transaction
                transaction (i)   took place
                              (i) took place in   the United
                                              in the  United States,
                                                               States, (ii) was announced
                                                                       (ii) was  announced and     completed in
                                                                                               and completed      the last
                                                                                                               in the      ten years
                                                                                                                      last ten  years
       (between 2014
       (between    2014 and    2024), and
                          and 2024),   and (iii)  had aa total
                                            (iii) had    total transaction
                                                               transaction value
                                                                             value greater   than $1
                                                                                    greater than     billion; and
                                                                                                  $1 billion;      (3) at
                                                                                                              and (3)     least one
                                                                                                                       at least one of
                                                                                                                                    of
       the buyer
       the  buyer oror the
                       the seller
                           seller had  publicly available
                                   had publicly   available SEC    filings at
                                                             SEC filings       the time
                                                                            at the time of
                                                                                         of the
                                                                                            the divestiture,
                                                                                                divestiture, and  the transaction
                                                                                                             and the  transaction was
                                                                                                                                   was
       subject to
       subject   to regulatory
                    regulatory oror antitrust
                                    antitrust approval.
                                              approval.
 127
 127
       In the case
       In the case of  the six
                    of the six remaining
                                 remaining divestitures
                                              divestitures from
                                                             from this
                                                                     this sample,
                                                                          sample, II was
                                                                                      was unable
                                                                                           unable to
                                                                                                   to identify
                                                                                                      identify an   operational timeline
                                                                                                                an operational     timeline
       because II could
       because           not find
                  could not    find aa start
                                       start date,
                                             date, end
                                                   end date,
                                                        date, oror both.
                                                                    both. All
                                                                           All six
                                                                                six of
                                                                                    of these
                                                                                       these divestitures
                                                                                              divestitures have
                                                                                                            have indicia   of less
                                                                                                                  indicia of   less
       complexity than
       complexity   than the
                          the divestiture
                                divestiture required    of Petitioners
                                              required of   Petitioners (i.e.,    the divested
                                                                           (i.e., the divested asset
                                                                                                asset was
                                                                                                      was defined
                                                                                                           defined based
                                                                                                                     based solely
                                                                                                                             solely onon
       product market
       product  market and/or
                         and/or thethe seller
                                        seller acquired  the divested
                                               acquired the    divested asset     within ten
                                                                           asset within  ten years
                                                                                              years before
                                                                                                    before the
                                                                                                             the divestiture).
                                                                                                                 divestiture). These
                                                                                                                                 These are:
                                                                                                                                         are:
       (1) XO
       (1) XO Holdings,
                Holdings, Inc.'s
                            Inc.’s 2017
                                     2017 divestiture
                                            divestiture of  its fiber-optics
                                                         of its  fiber-optics network
                                                                                 network business
                                                                                          business toto Verizon,   (2) Bain
                                                                                                        Verizon, (2)    Bain Capital,    LP’s
                                                                                                                              Capital, LP's
       and  other entities’
       and other             2016 divestiture
                  entities' 2016     divestiture of
                                                  of the
                                                     the mobile
                                                          mobile and      web assets
                                                                     and web    assets of
                                                                                       of Weather
                                                                                          Weather Channel      LLC to
                                                                                                     Channel LLC      to IBM
                                                                                                                         IBM Corporation,
                                                                                                                                Corporation,
       (3) LiveRamp
       (3) LiveRamp Holdings,
                        Holdings, Inc.’s     2018 divestiture
                                      Inc.'s 2018  divestiture of     its Acxiom
                                                                   of its Acxiom marketing
                                                                                     marketing solutions
                                                                                                 solutions business
                                                                                                            business toto The   Interpublic
                                                                                                                          The Interpublic
       Group
       Group ofof Companies
                  Companies Inc. Inc. (4)  Lumen Technologies,
                                       (4) Lumen    Technologies, Inc.'sInc.’s 2017
                                                                               2017 divestiture
                                                                                      divestiture of
                                                                                                   of its
                                                                                                      its data
                                                                                                          data centers
                                                                                                               centers and
                                                                                                                         and colocation
                                                                                                                              colocation
       business to
       business  to BC
                    BC Partners
                         Partners and     other entities,
                                     and other             (5) Intrado
                                                 entities, (5)  Intrado Corporation’s
                                                                           Corporation's and     Apollo Global
                                                                                            and Apollo            Management, Inc.’s
                                                                                                          Global Management,         Inc.'s
       2023 divestiture
       2023  divestiture of
                          of its
                              its safety   business to
                                  safety business    to Stonepeak      Partners LP,
                                                        Stonepeak Partners         LP, and
                                                                                       and (6)  Aon plc’s
                                                                                            (6) Aon         2017 sale
                                                                                                      plc's 2017   sale of
                                                                                                                        of its  “technology-
                                                                                                                           its "technology-
       enabled  benefits and
       enabled benefits   and human
                                 human resources      platform” to
                                          resources platform"       to Tempo     Acquisition, LLC,
                                                                       Tempo Acquisition,      LLC, Blackstone
                                                                                                       Blackstone Group      L.P. See
                                                                                                                    Group L.P.      See
       Exhibit  1.
       Exhibit 1.
 128
 128
       As II described
       As               in footnote
             described in  footnote 17,  from the
                                     17, from  the day
                                                   day of
                                                       of submitting my declaration
                                                          submitting my              on June
                                                                         declaration on        20, 2024,
                                                                                         June 20,  2024, Petitioners
                                                                                                         Petitioners have
                                                                                                                     have
       only 214
       only  214 days  left until
                 days left  until January
                                  January 19,  2025; and
                                           19, 2025;      they have
                                                     and they  have only 304 days
                                                                    only 304 days left  until April
                                                                                   left until April 19, 2025.
                                                                                                    19, 2025.



                                                                     38
                                                                     38
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                                                            APP-682
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                       Figure 2 -- Number
                       Figure 2    Number of  Divestitures in
                                           of Divestitures in the
                                                              the TMT
                                                                  TMT Sector,
                                                                       Sector,
               Grouped                                                                129
               Grouped by Indicia of
                       by Indicia  of Complexity
                                      Complexity and
                                                 and Length
                                                      Length of
                                                              of Operational
                                                                 Operational Timeline
                                                                             Timeline129
         Operational
         Operational             Highly
                                 Highly integrated
                                        integrated based
                                                   based              Less
                                                                      Less integrated
                                                                           integrated based
                                                                                       based on  at
                                                                                              on at
                                                                                                                    Total
                                                                                                                    Total
          timeline
          timeline                   on
                                     on both
                                        both indicia
                                             indicia                        least
                                                                            least one
                                                                                  one indicia
                                                                                      indicia
       Over 360 days
       Over 360 days                             77                                     13
                                                                                        13                            20
                                                                                                                      20
    Under  360 days
    Under 360  days
                                                 00                                     33                             3
                                                                                                                       3
   but
   but over 270 days
       over 270 days
       Under 270 days
       Under 270 days                            00                                     00                             00
       Unknown
       Unknown length
               length                            00                                     66                             66
              Total
              Total                              77                                     22
                                                                                        22                            29
                                                                                                                      29




            54.
            54.       This analysis is
                      This analysis is consistent with information
                                       consistent with information provided by Petitioners
                                                                   provided by Petitioners to
                                                                                           to CFIUS,
                                                                                              CFIUS,

 which estimates
 which           that migrating
       estimates that migrating TikTok’s
                                TikTok's software, including its
                                         software, including its recommendation
                                                                 recommendation engine
                                                                                engine and
                                                                                       and

 internal tools,
 internal tools, would
                 would take
                       take at
                            at least
                               least approximately     years. 130 Critically,
                                                   two years.13°
                                     approximately two                        this two-year
                                                                  Critically, this two-year timeline
                                                                                            timeline

 was premised
 was premised on
              on several
                 several significant
                         significant operational assumptions and
                                     operational assumptions and caveats. For instance,
                                                                 caveats. For instance, the
                                                                                        the

 timeline assumes
 timeline assumes that
                  that not
                       not all tools and
                           all tools and processes would be
                                         processes would be migrated;
                                                            migrated; for
                                                                      for example, “Content
                                                                          example, "Content

 Moderation Systems
 Moderation         will continue
            Systems will          to be
                         continue to be developed
                                        developed in
                                                  in China but be
                                                     China but be subject to open
                                                                  subject to open source to the
                                                                                  source to the
         131
 public,”
 public,"'   and there would
             and there would be
                             be continued
                                continued access to "internal
                                          access to “internal reference
                                                              reference code
                                                                        code from global
                                                                             from global
               132
 development.”
 development."132  Additionally, this
                   Additionally, this two-year
                                      two-year timeline
                                               timeline relates to migrating
                                                        relates to migrating certain tools to
                                                                             certain tools to
                                                                              133
 “TikTok employees
 "TikTok           working in
         employees working    locations where
                           in locations where the
                                              the TikTok
                                                  TikTok service is offered.”
                                                         service is offered."'    So,
                                                                                  So, even if the
                                                                                      even if the




 129
 129
        As described
        As  described in footnote 95,
                      in footnote  95, given   that operational
                                       given that               timelines are
                                                    operational timelines     frequently underestimated,
                                                                          are frequently  underestimated, where
                                                                                                             where the
                                                                                                                   the available
                                                                                                                       available
        information  provided aa range
        information provided     range as   the expected
                                        as the  expected operational  timeline, II present
                                                          operational timeline,            in this
                                                                                   present in this table
                                                                                                   table the
                                                                                                         the upper
                                                                                                             upper end
                                                                                                                   end of the
                                                                                                                       of the
        range (while
        range (while presenting   the full
                      presenting the  full range
                                           range in
                                                  in Exhibit 1).
                                                     Exhibit 1).
 130
 130
        NSA Presentation,
        NSA Presentation, 2023,
                          2023, p.
                                p. 16.
                                   16.
 131
 131
        NSA Presentation,
        NSA Presentation, 2023,
                          2023, p.
                                p. 16.
                                   16.
 132
 132
        NSA Presentation,
        NSA Presentation, 2023,
                          2023, p.
                                p. 13.
                                   13.
 133
 133
        NSA Presentation,
        NSA Presentation, 2023,
                          2023, p.
                                p. 13.
                                   13.



                                                                39
                                                                39
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 two-year timeline
 two-year timeline were
                   were met, it would
                        met, it would not sever all
                                      not sever     “operational relationships”
                                                all "operational                between
                                                                 relationships" between

 Petitioners and
 Petitioners and TikTok’s U.S. application.
                 TikTok's U.S. application.

            55.
            55.       Finally, II note
                      Finally,         that—although aa member
                                  note that—although    member of
                                                               of Congress
                                                                  Congress suggested that Kunlun's
                                                                           suggested that Kunlun’s (a
                                                                                                   (a

 Chinese video game
 Chinese video game company’s) 2020 divestiture
                    company's) 2020 divestiture of the Grindr
                                                of the        application indicates
                                                       Grindr application indicates that
                                                                                    that

 Petitioners will
 Petitioners will be
                  be able to divest
                     able to divest TikTok’s U.S. application
                                    TikTok's U.S.             “quickly” and
                                                  application "quickly"     with "no
                                                                        and with “no disruption to
                                                                                     disruption to

 users”134
 users"    —there
        134— there are
                   are several
                       several reasons why this
                               reasons why this comparator
                                                comparator is incorrect. Unlike
                                                           is incorrect. Unlike the
                                                                                the high
                                                                                    high level
                                                                                         level of
                                                                                               of

 integration between
 integration between TikTok’s U.S. application
                     TikTok's U.S.             and its
                                   application and its global
                                                       global application
                                                              application (or
                                                                          (or ByteDance),
                                                                              ByteDance), Grindr
                                                                                          Grindr

 was not
 was not highly integrated with
         highly integrated with Kunlun
                                Kunlun before
                                       before its
                                              its divestiture.
                                                  divestiture. Therefore, the Grindr
                                                               Therefore, the Grindr divestiture
                                                                                     divestiture did
                                                                                                 did

 not
 not require
     require untangling
             untangling highly
                        highly integrated assets.
                               integrated assets.

                  a. First, Grindr
                  a. First,        was developed
                            Grindr was developed as
                                                 as aa separate business from
                                                       separate business      Kunlun, and
                                                                         from Kunlun,     Kunlun
                                                                                      and Kunlun
                                                                                                   135
                      acquired
                      acquired aa majority
                                  majority share
                                           share in
                                                 in Grindr
                                                    Grindr only
                                                           only four years before
                                                                four years before the
                                                                                  the divestiture.
                                                                                      divestiture.'

                  b. Second,
                  b.         the divestiture
                     Second, the divestiture did
                                             did not
                                                 not involve the untangling
                                                     involve the untangling of assets within
                                                                            of assets within the
                                                                                             the Grindr
                                                                                                 Grindr

                      platform,
                      platform, as Kunlun acquired
                                as Kunlun acquired and then divested
                                                   and then divested Grindr
                                                                     Grindr in its entirety—in
                                                                            in its entirety—in other
                                                                                               other
                                                                                          136
                      words, Kunlun
                      words, Kunlun simply unwound the
                                    simply unwound the acquisition
                                                       acquisition from
                                                                   from four years prior.
                                                                        four years prior.136

                      Accordingly,
                      Accordingly, S&P
                                   S&P Capital IQ Pro
                                       Capital IQ Pro categorizes the Grindr
                                                      categorizes the Grindr divestiture
                                                                             divestiture as “M&A –—
                                                                                         as "M&A



 134
 134
       “[TikTok’s] divestment
       "[TikTok's]                requirement is
                     divestment requirement           not new.
                                                   is not new. It  is not
                                                                It is not without
                                                                          without precedent.
                                                                                  precedent. When   the app
                                                                                             When the   app Grindr
                                                                                                            Grindr […]      was
                                                                                                                   [. . . ] was
       acquired  by aa Chinese
       acquired by              company [.
                       Chinese company      […the     U.S. Government…]
                                              . . the U.S.  Government. . . ] required divestment. This
                                                                              required divestment.       happened quickly.
                                                                                                    This happened  quickly. Why?
                                                                                                                               Why?
       Because Grindr
       Because           was aa very
                 Grindr was     very valuable
                                      valuable social
                                                   social media
                                                          media company.
                                                                  company. The    same is
                                                                             The same  is true
                                                                                          true with
                                                                                               with regard
                                                                                                    regard to
                                                                                                           to TikTok.
                                                                                                              TikTok. There     will
                                                                                                                         There will
       be no
       be no disruption
              disruption to
                         to users,
                            users, just
                                    just as
                                         as there
                                            there waswas [no
                                                          [no disruption]  with Grindr.”
                                                              disruption] with            See "House
                                                                                Grindr." See  “House Debate
                                                                                                      Debate on
                                                                                                              on H.R.
                                                                                                                 H.R. 7521,
                                                                                                                          7521,
       H1163-1171,” Congressional
       H1163-1171,"                      Record —
                        Congressional Record           House, March
                                                    — House,    March 13,   2024,
                                                                        13, 2024,
       https://www.congress.gov/118/crec/2024/03/13/170/45/CREC-2024-03-13-pt1-PgH1163-2.pdf
       https://www.   congress. gov/118/crec/2024/03/13/170/45/CREC-2024-03-13-ptl -PgH1163-2.pdf (Rep.          (Rep.
       Krishnamoorthi, at
       Krishnamoorthi,      H1165).
                         at H1165).
 135
 135
       See Yuan
       See Yuan Yang
                  Yang and
                        and James Fontanella-Khan, "Grindr
                            James Fontanella-Khan,  “Grindr Is Being Sold
                                                            Is Being       by Chinese
                                                                      Sold by Chinese Owner After U.S.
                                                                                      Owner After U.S. Raises
                                                                                                       Raises
       National Security
       National  Security Concerns,” Los Angeles
                          Concerns," Los Angeles Times,  March 6,
                                                  Times, March   6, 2020,
                                                                    2020,
       https://web.archive.org/web/20200403002228/https://www.latimes.com/business/technology/story/2020-03-
       https://web.archive.org/web/20200403002228/https://www.latimes.com/business/technology/story/2020-03-
       06/grindr-sold-by-chinese-owner-after-us-national-security-concerns.
       06/grindr-sold-by -chinese-owner-after-us-national-security -concerns.
 136
 136
       See Yuan
       See Yuan Yang
                  Yang and
                        and James Fontanella-Khan, "Grindr
                            James Fontanella-Khan,  “Grindr Is Being Sold
                                                            Is Being       by Chinese
                                                                      Sold by Chinese Owner After U.S.
                                                                                      Owner After U.S. Raises
                                                                                                       Raises
       National Security
       National  Security Concerns,” Los Angeles
                          Concerns," Los Angeles Times,  March 6,
                                                  Times, March   6, 2020,
                                                                    2020,
       https://web.archive.org/web/20200403002228/https://www.latimes.com/business/technology/story/2020-03-
       https://web.archive.org/web/20200403002228/https://www.latimes.com/business/technology/story/2020-03-
       06/grindr-sold-by-chinese-owner-after-us-national-security-concerns.
       06/grindr-sold-by -chinese-owner-after-us-national-security -concerns.



                                                                 40
                                                                 40
                                                        APP-684
                                                        APP-684
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                     Whole,” indicating
                     Whole," indicating that
                                        that this
                                             this transaction
                                                  transaction involved
                                                              involved the
                                                                       the sale
                                                                           sale of
                                                                                of aa whole
                                                                                      whole legal
                                                                                            legal entity,
                                                                                                  entity,

                     rather than the
                     rather than the divestiture
                                     divestiture of
                                                 of aa subset
                                                       subset of
                                                              of assets within the
                                                                 assets within the company that needed
                                                                                   company that        to
                                                                                                needed to
                                                 137
                     be untangled
                     be untangled and
                                  and separated.
                                      separated.137

                c.
                c. Third, the fact
                   Third, the fact that
                                   that the
                                        the Grindr
                                            Grindr divestiture
                                                   divestiture did
                                                               did not
                                                                   not require untangling highly
                                                                       require untangling highly
                                                                                                 138
                     integrated assets
                     integrated        is also
                                assets is also evidenced by Kunlun's
                                               evidenced by Kunlun’s planned 2018 IPO
                                                                     planned 2018 IPO of
                                                                                      of Grindr,
                                                                                         Grindr,138

                     suggesting that Grindr
                     suggesting that        was easily
                                     Grindr was easily separable
                                                       separable from the rest
                                                                 from the rest of Kunlun already
                                                                               of Kunlun         as of
                                                                                         already as of

                     2018.
                     2018.

                d. Finally, even
                d. Finally,      though Grindr
                            even though        was substantially
                                        Grindr was               less integrated
                                                   substantially less            with Kunlun
                                                                      integrated with Kunlun than
                                                                                             than

                     TikTok’s U.S. application
                     TikTok's U.S. application and
                                               and its global application
                                                   its global application (or ByteDance), CFIUS
                                                                          (or ByteDance), CFIUS still
                                                                                                still

                     provided Kunlun with
                     provided Kunlun with more time to
                                          more time to divest
                                                       divest Grindr than what
                                                              Grindr than what the
                                                                               the Act
                                                                                   Act affords
                                                                                       affords to
                                                                                               to

                     Petitioners. Specifically,
                     Petitioners.               the CFIUS
                                  Specifically, the       NSA (signed
                                                    CFIUS NSA (signed on May 9,
                                                                      on May    2019) provided
                                                                             9, 2019) provided
                                                     139
                     Kunlun with
                     Kunlun with 419
                                 419 days to divest.
                                     days to divest.139  In fact,
                                                         In fact, Kunlun
                                                                  Kunlun and the buyer
                                                                         and the buyer did
                                                                                       did not
                                                                                           not sign
                                                                                               sign an
                                                                                                    an

                     “Amended and
                     "Amended     Restated Stock
                              and Restated       Purchase Agreement”
                                           Stock Purchase            until May
                                                          Agreement" until May 13, 2020 (i.e.,
                                                                               13, 2020 (i.e., 371
                                                                                               371

                     days
                     days after the execution
                          after the execution of the NSA),
                                              of the NSA), showing that even
                                                           showing that      this less
                                                                        even this less complex
                                                                                       complex

                     divestiture was not
                     divestiture was not completed within 360
                                         completed within 360 days.
                                                              days.




 137
 137
       This is the
       This is the reason  why the
                   reason why    the Grindr divestiture was
                                     Grindr divestiture was not
                                                             not part
                                                                 part of
                                                                      of the
                                                                         the 26
                                                                             26 TMT
                                                                                TMT divestitures
                                                                                      divestitures II analyzed.  As described
                                                                                                       analyzed. As  described
       in footnote 70,
       in footnote  70, to
                        to identify
                           identify divestiture transactions in
                                    divestiture transactions in S&P
                                                                S&P Capital
                                                                      Capital IQ Pro, II used
                                                                              IQ Pro,    used the
                                                                                              the filter
                                                                                                   filter "Transaction
                                                                                                          “Transaction Type”  to
                                                                                                                       Type" to
       select transactions
       select transactions that
                            that were
                                 were either “M&A -- Asset"
                                      either "M&A      Asset” or
                                                               or "M&A
                                                                  “M&A -- Spinoff   or Splitoff.”
                                                                            Spinoff or  Splitoff."
 138
 138
       See "Grindr:
       See “Grindr: Chinese Parent Company
                    Chinese Parent         Plans to
                                   Company Plans to List
                                                    List Gay Dating App,"
                                                         Gay Dating App,” BBC,
                                                                          BBC, July 30, 2019,
                                                                               July 30, 2019,
       https://www.bbc.com/news/business-49160406.
       https://www.bbc.com/news/business-49160406.
 139
 139
       The  NSA was
       The NSA   was signed  with CFIUS
                     signed with  CFIUS onon May
                                              May 9, 2019, and
                                                  9, 2019,  and it ordered Kunlun
                                                                it ordered Kunlun to
                                                                                  to divest
                                                                                     divest Grindr by June
                                                                                            Grindr by       30, 2020.
                                                                                                      June 30,  2020.
       See Trade
       See       Practitioner, "CFIUS
           Trade Practitioner, “CFIUS Mitigation:
                                        Mitigation: Beijing
                                                    Beijing Kunlun
                                                            Kunlun Wanwei
                                                                     Wanwei Technology
                                                                             Technology Co.
                                                                                          Co. and
                                                                                              and Grindr  Inc.,” Squire
                                                                                                   Grindr Inc.," Squire
       Patton Boggs,
       Patton Boggs, June
                     June 19,
                           19, 2019, https://www.tradepractitioner.com/2019/06/cfius-beijing-kunlun-wanwei-
                               2019, https://www.tradepractitioner.com/2019/06/cfius-beijing-kunlun-wanwei-
       technology-grindr/.
       technology-grindr/.



                                                               41
                                                               41
                                                       APP-685
                                                       APP-685
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        E.
        E.      A "qualified
                A “qualified divestiture”
                              divestiture" of
                                           of TikTok’s
                                              TikTok's U.S.
                                                        U.S. application
                                                             application is
                                                                         is not
                                                                            not operationally
                                                                                operationally
                feasible within
                feasible within the
                                the timeline
                                    timeline required
                                              required by
                                                       by the Act
                                                          the Act

        56.
        56.     As
                As II showed
                      showed in
                             in Section III.C, TikTok’s
                                Section III.C,          U.S. application
                                               TikTok's U.S. application is
                                                                         is highly integrated with
                                                                            highly integrated with

 the global
 the global TikTok
            TikTok application (and with
                   application (and with ByteDance).
                                         ByteDance). Additionally,
                                                     Additionally, as
                                                                   as II showed in Section
                                                                         showed in Section III.D,
                                                                                           III.D,

 the operational
 the             timeline alone
     operational timeline alone (i.e.,
                                (i.e., not
                                       not considering the corporate
                                           considering the           timeline) of
                                                           corporate timeline) of complex
                                                                                  complex

 divestitures
 divestitures of
              of highly integrated technical
                 highly integrated technical assets
                                             assets consistently takes over
                                                    consistently takes      360 days
                                                                       over 360 days and
                                                                                     and

 necessitates
 necessitates post-closing
              post-closing support from the
                           support from the seller. Furthermore, the
                                            seller. Furthermore, the operational timeline of
                                                                     operational timeline of even
                                                                                             even

 less integrated
 less integrated assets
                 assets also
                        also often takes over
                             often takes      360 days,
                                         over 360       and II have
                                                  days, and    have found
                                                                    found no
                                                                          no examples
                                                                             examples from the 26
                                                                                      from the 26

 divestitures
 divestitures in
              in my market sample
                 my market        where the
                           sample where the operational timeline took
                                            operational timeline took fewer than 270
                                                                      fewer than 270 days.
                                                                                     days.

        57.
        57.     Therefore, the available
                Therefore, the           information and
                               available information and my
                                                         my experience with complex
                                                            experience with complex divestitures
                                                                                    divestitures

 support
 support my
         my opinion that aa "qualified
            opinion that    “qualified divestiture”
                                       divestiture" of
                                                    of TikTok’s U.S. application
                                                       TikTok's U.S.             is not
                                                                     application is not

 operationally
 operationally feasible within 360
               feasible within 360 days (let alone
                                   days (let alone within
                                                   within 270
                                                          270 days).
                                                              days).




                                                 42
                                                 42
                                           APP-686
                                           APP-686
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                                                  ***
                                                  ***



 Pursuant to
 Pursuant  to 28
              28 U.S.C
                 U.S.C §§ 1746,
                          1746, II declare under penalty
                                   declare under penalty of
                                                         of perjury that the
                                                            perjury that the foregoing
                                                                             foregoing is true and
                                                                                       is true and
 correct. Executed on
 correct. Executed on  June
                       June 17,
                            17,  2024.
                                 2024.




                                                                    Randal S Mulch




                                                  43
                                                  43
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                                            APP-687
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                     Exhibit 1
                     Exhibit 1




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                               APP-688
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                                                                                                Exhibit 1
                                                                                                Exhibit 1
                                                                                     Summary of Divestitures
                                                                                     Summary of Divestitures Reviewed
                                                                                                             Reviewed

                                                        Divestiture
                                                        Divestiture                                                                 Extent of Integration
                                                                                                                                    Extent of Integration                     Observable Number
                                                                                                                                                                              Observable        of Days
                                                                                                                                                                                         Number of Days

                                                                                                                                                                                                   Observable //
                                                                                                                                                                                                   Observable
                                                                                                                              Is the divested
                                                                                                                              Is the divested                              Observable
                                                                                                                                                                           Observable                Expected
                                                                                                                                                                                                     Expected
                                                                                                                                                   Did the
                                                                                                                                                   Did  the seller
                                                                                                                                                            seller
                                                                                                                               asset defined
                                                                                                                               asset defined                               Corporate
                                                                                                                                                                           Corporate         Operational
                                                                                                                                                                                             Operational Timeline
                                                                                                                                                                                                             Timeline
                                                                                                                                                    acquire the
                                                                                                                                                    acquire  the
                                                                                                                             based   solely on
                                                                                                                             based solely   on                           Timeline    (total
                                                                                                                                                                         Timeline (total       (total days
                                                                                                                                                                                               (total  days from   (1)
                                                                                                                                                                                                            from (1)
                                                                                    Total
                                                                                    Total Transaction
                                                                                          Transaction      Industry
                                                                                                           Industry of
                                                                                                                     of                            divested  asset
                                                                                                                                                   divested asset
##   Divested Asset/Target[1]
     Divested Asset/Target ill   Seller[1]
                                 Seller'11            Buyer[1]
                                                      Buyer'11                                                               product   market
                                                                                                                             product market                               days
                                                                                                                                                                          days from
                                                                                                                                                                                from (1)(1)   evidence of
                                                                                                                                                                                              evidence    of planning
                                                                                                                                                                                                             planning
                                                                                      Value ($M)[1]
                                                                                      Value (SM)111         Target
                                                                                                            Target
                                                                                                                   [1]
                                                                                                                                                 within 10
                                                                                                                                                 within  10 years
                                                                                                                                                            years of
                                                                                                                                                                   of
                                                                                                                                                                         announcement        the transition   to (2)
                                                                                                                                                                                                                 (2) no
                                                                                                                                                                                                                     no
                                                                                                                              (as opposed
                                                                                                                              (as opposed toto                           announcement the         transition to
                                                                                                                                                   the evaluated
                                                                                                                                                   the evaluated
                                                                                                                                geographic
                                                                                                                                geographic                              date to (2)
                                                                                                                                                                        date to (2) closing
                                                                                                                                                                                     closing     more
                                                                                                                                                                                                 more expected
                                                                                                                                                                                                        expected or
                                                                                                                                                                                                                  or
                                                                                                                                                    divestiture?
                                                                                                                                                    divestiture?
                                                                                                                                 market)?
                                                                                                                                 market)?                                     date)
                                                                                                                                                                                    [1]
                                                                                                                                                                              date)[1]       actual   assistance from
                                                                                                                                                                                             actual assistance    from
                                                                                                                                                                                                                 [2]
                                                                                                                                                                                                   the seller)
                                                                                                                                                                                                   the seller)[21

                                                                                                         Interactive
                                                                                                         Interactive Media
                                                                                                                     Media             3                     4
A1
Al TikTok U.S. Application
   TikTok U.S. Application       ByteDance
                                 ByteDance            Unknown
                                                      Unknown                           Unknown
                                                                                        Unknown                                    No
                                                                                                                                   No 3                 No 4
                                                                                                                                                        No
                                                                                                            and Services
                                                                                                            and Services
                                                                                                             Integrated
                                                                                                             Integrated
                                 Verizon
                                 Verizon             FairPoint
                                                     FairPoint                                                                        5                      6                                             7
B1 Northeast Business
B1 Northeast Business                                                                    2,715
                                                                                         2,715          Telecommunication
                                                                                                        Telecommunication          No
                                                                                                                                   No s                 No b
                                                                                                                                                        No                     442
                                                                                                                                                                               442                     727
                                                                                                                                                                                                       727 7
                                 Communications Inc.
                                 Communications      Communications, Inc.
                                                Inc. Communications, Inc.
                                                                                                              Services
                                                                                                              Services
                                                                                                             Integrated
                                                                                                             Integrated
                                 Verizon
                                 Verizon             Frontier Communications
                                                     Frontier Communications                                                          8                      9                                              10
B2
B2 14-State Divestiture
   14-State Divestiture                                                                  8,500
                                                                                         8,500          Telecommunication
                                                                                                        Telecommunication          No
                                                                                                                                   No 8                 No g
                                                                                                                                                        No                     415
                                                                                                                                                                               415                    642
                                                                                                                                                                                                      642
                                 Communications Inc.
                                 Communications      Corporation
                                                Inc. Corporation
                                                                                                              Services
                                                                                                              Services
                                                                                                             Integrated
                                                                                                             Integrated
                                 Verizon
                                 Verizon                                                                                               11                    12                                           13
B3
B3 HawaiianTel
   HawaiianTel                                       The Carlyle Group
                                                     The Carlyle Group                   1,650
                                                                                         1,650          Telecommunication
                                                                                                        Telecommunication         No
                                                                                                                                  No
                                                                                                                                       11
                                                                                                                                                        No 12
                                                                                                                                                        No                     417
                                                                                                                                                                               417                    422
                                                                                                                                                                                                      422 13
                                 Communications Inc.
                                 Communications Inc.
                                                                                                              Services
                                                                                                              Services
                                                                                                             Integrated
                                                                                                             Integrated
     ILEC business of
     ILEC business  of Lumen
                       Lumen     Lumen Technologies, Apollo
                                 Lumen Technologies, Apollo Global
                                                            Global                                                                     14                    15                                             16
C1
Cl                                                                                       7,500
                                                                                         7,500          Telecommunication
                                                                                                        Telecommunication         No 14
                                                                                                                                  No                    No 13
                                                                                                                                                        No                     427
                                                                                                                                                                               427                  517-701
                                                                                                                                                                                                    517-701 16
     Technologies,
     Technologies, Inc.
                   Inc.          Inc.
                                 Inc.                Management,
                                                     Management, Inc.
                                                                   Inc.
                                                                                                              Services
                                                                                                              Services

                                                      British Columbia
                                                      British Columbia
                                                      Investment
                                                      Investment Management
                                                                  Management
                                                      Corporation; Public
                                                      Corporation;  Public Sector
                                                                           Sector
                                                      Pension
                                                      Pension Investment   Board;
                                                               Investment Board;
   Northwest operations
   Northwest   operations and
                          and    Frontier
                                 Frontier                                                                   Integrated
                                                                                                            Integrated
                                                      Canada Pension
                                                      Canada  Pension Plan
                                                                       Plan
C2 assets of
C2 assets of Frontier
             Frontier            Communications
                                 Communications                                          1,352
                                                                                         1,352          Telecommunication
                                                                                                        Telecommunication         No 18
                                                                                                                                  No
                                                                                                                                       18
                                                                                                                                                        No
                                                                                                                                                        No
                                                                                                                                                             19
                                                                                                                                                             19
                                                                                                                                                                               339
                                                                                                                                                                               339                    459
                                                                                                                                                                                                      459 28
                                                                                                                                                                                                            20
                     17                               Investment
                                                      Investment Board;
                                                                  Board;
     Communications
     Communications17            Parent, Inc.
                                 Parent, Inc.                                                                Services
                                                                                                             Services
                                                      Searchlight Capital
                                                      Searchlight Capital
                                                      Partners,
                                                      Partners, L.P.;
                                                                L.P.;
                                                      WaveDivision    Capital
                                                      WaveDivision Capital
                                                      LLC
                                                      LLC

   International business
   International business
                                                      Francisco
                                                      Francisco Partners
                                                                Partners                                   Application
                                                                                                           Application                 21                    22                                           23
C3 segment
C3          of CDK
   segment of  CDK Global,
                     Global,     CDK Global,
                                 CDK Global, Inc.
                                             Inc.                                        1,450
                                                                                         1,450                                    No
                                                                                                                                  No
                                                                                                                                     21
                                                                                                                                                        No 22
                                                                                                                                                        No                      92
                                                                                                                                                                                92                    432
                                                                                                                                                                                                      432 23
                                                      Management,
                                                      Management, L.P.
                                                                    L.P.                                    Software
                                                                                                            Software
   Inc.
   Inc.
   Verizon’s
   Verizon's wireline
              wireline                                                                                      Integrated
                                                                                                            Integrated
                                 Verizon
                                 Verizon             Frontier Communications
                                                     Frontier Communications
C4 operations in
C4 operations in California,
                 California,                                                             10,540
                                                                                         10,540         Telecommunication
                                                                                                        Telecommunication         No 23
                                                                                                                                  No
                                                                                                                                       25
                                                                                                                                                        No 26
                                                                                                                                                        No
                                                                                                                                                             26
                                                                                                                                                                               422
                                                                                                                                                                               422                    398
                                                                                                                                                                                                          27
                                                                                                                                                                                                      398 27
                      24         Communications Inc.
                                 Communications Inc. Parent,
                                                     Parent, Inc.
                                                             Inc.
     Texas and Florida
     Texas and Florida24                                                                                     Services
                                                                                                             Services




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                                                                                                  Exhibit 1
                                                                                                  Exhibit 1
                                                                                       Summary of Divestitures
                                                                                       Summary of Divestitures Reviewed
                                                                                                               Reviewed

                                                            Divestiture
                                                            Divestiture                                                              Extent of Integration
                                                                                                                                     Extent of Integration                     Observable Number
                                                                                                                                                                               Observable        of Days
                                                                                                                                                                                          Number of Days

                                                                                                                                                                                                    Observable //
                                                                                                                                                                                                    Observable
                                                                                                                               Is the divested
                                                                                                                               Is the divested                              Observable
                                                                                                                                                                            Observable                Expected
                                                                                                                                                                                                      Expected
                                                                                                                                                    Did the
                                                                                                                                                    Did  the seller
                                                                                                                                                             seller
                                                                                                                                asset defined
                                                                                                                                asset defined                               Corporate
                                                                                                                                                                            Corporate         Operational
                                                                                                                                                                                              Operational Timeline
                                                                                                                                                                                                              Timeline
                                                                                                                                                     acquire the
                                                                                                                                                     acquire  the
                                                                                                                              based   solely on
                                                                                                                              based solely   on                           Timeline    (total
                                                                                                                                                                          Timeline (total       (total days
                                                                                                                                                                                                (total  days from   (1)
                                                                                                                                                                                                             from (1)
                                                                                      Total
                                                                                      Total Transaction
                                                                                            Transaction      Industry
                                                                                                             Industry of
                                                                                                                       of                           divested  asset
                                                                                                                                                    divested asset
 ##   Divested Asset/Target[1]
      Divested Asset/Target ill    Seller[1]
                                   Seller'11              Buyer[1]
                                                          Buyer'11                                                            product   market
                                                                                                                              product market                               days
                                                                                                                                                                           days from
                                                                                                                                                                                 from (1)(1)   evidence of
                                                                                                                                                                                               evidence    of planning
                                                                                                                                                                                                              planning
                                                                                        Value ($M)[1]
                                                                                        Value (SM)111         Target
                                                                                                              Target
                                                                                                                     [1]
                                                                                                                                                  within 10
                                                                                                                                                  within  10 years
                                                                                                                                                             years of
                                                                                                                                                                    of
                                                                                                                                                                          announcement        the transition   to (2)
                                                                                                                                                                                                                  (2) no
                                                                                                                                                                                                                      no
                                                                                                                               (as opposed
                                                                                                                               (as opposed toto                           announcement the         transition to
                                                                                                                                                    the evaluated
                                                                                                                                                    the evaluated
                                                                                                                                 geographic
                                                                                                                                 geographic                              date to (2)
                                                                                                                                                                         date to (2) closing
                                                                                                                                                                                      closing     more
                                                                                                                                                                                                  more expected
                                                                                                                                                                                                         expected or
                                                                                                                                                                                                                   or
                                                                                                                                                     divestiture?
                                                                                                                                                     divestiture?
                                                                                                                                  market)?
                                                                                                                                  market)?                                     date)
                                                                                                                                                                                     [1]
                                                                                                                                                                               date)[1]       actual   assistance from
                                                                                                                                                                                              actual assistance    from
                                                                                                                                                                                                                  [2]
                                                                                                                                                                                                    the seller)
                                                                                                                                                                                                    the seller)[21

   Intellectual
   Intellectual Property
                Property &
                         &
   Science  business of
   Science business  of            Thomson Reuters
                                   Thomson  Reuters       Onex Corporation;
                                                          Onex  Corporation; EQT
                                                                             EQT                             Application
                                                                                                             Application                 28                   28                                               30
C5
C5                                                                                         3,550
                                                                                           3,550                                   Yes
                                                                                                                                   Yes 28                No 28
                                                                                                                                                         No                      85
                                                                                                                                                                                 85                   1,087
                                                                                                                                                                                                      1,087 30
   Thomson
   Thomson Reuters
              Reuters              Corporation
                                   Corporation            Private
                                                          Private Capital
                                                                  Capital Asia
                                                                          Asia                                Software
                                                                                                              Software
   Corporation
   Corporation
                     31                                                                                   Interactive
                                                                                                          Interactive Media
                                                                                                                      Media
C6 Match
C6 Match Group,
         Group, Inc.
                Inc.31             IAC Holdings,
                                   IAC           Inc.31 Spinoff/Splitoff
                                       Holdings, Inc.31 Spinoff/Splitoff                   8,086
                                                                                           8,086                                   Yes
                                                                                                                                   Yes
                                                                                                                                       32
                                                                                                                                       32
                                                                                                                                                         No
                                                                                                                                                         No
                                                                                                                                                              33
                                                                                                                                                              33
                                                                                                                                                                                264
                                                                                                                                                                                264                    732
                                                                                                                                                                                                       732
                                                                                                                                                                                                           3434
                                                                                                             and Services
                                                                                                             and Services
                                                                                                          Interactive
                                                                                                          Interactive Media
                                                                                                                      Media              35                   36                                             37
C7 Vimeo,
C7 Vimeo, Inc.
          Inc.                     IAC Inc.
                                   IAC Inc.               Spinoff/Splitoff
                                                          Spinoff/Splitoff                 7,679
                                                                                           7,679                                   Yes
                                                                                                                                   Yes
                                                                                                                                         35
                                                                                                                                                         No
                                                                                                                                                         No
                                                                                                                                                              36
                                                                                                                                                                                154
                                                                                                                                                                                154                    588
                                                                                                             and Services
                                                                                                             and Services
                  38               SolarWinds
                                   SolarWinds                                                                                            39                   40                                             41
C8 SolarWinds
C8            MSP
   SolarWinds MSP38                                       Spinoff/Splitoff
                                                          Spinoff/Splitoff                 2,052
                                                                                           2,052          Systems
                                                                                                          Systems Software
                                                                                                                  Software         Yes
                                                                                                                                   Yes
                                                                                                                                         39
                                                                                                                                                         No 40
                                                                                                                                                         No                     348
                                                                                                                                                                                348                    534
                                                                                                                                                                                                       534 41
                                   Corporation
                                   Corporation

      Software business of
      Software business of       Hewlett
                                 Hewlett Packard
                                         Packard          Micro
                                                          Micro Focus International
                                                                Focus International                          Application
                                                                                                             Application                 42                   43                                                  44
C9
C9                                                                                         9,004
                                                                                           9,004                                   Yes
                                                                                                                                   Yes 42                No 43
                                                                                                                                                         No                     360
                                                                                                                                                                                360                  273-456
                                                                                                                                                                                                     273-456
                                                                                                                                                                                                                  44
      Hewlett
      Hewlett Packard
              Packard Enterprise
                      Enterprise Enterprise
                                 Enterprise               plc
                                                          plc                                                 Software
                                                                                                              Software

                                   Automatic
                                   Automatic Data
                                              Data                                                           Application
                                                                                                             Application                 45                   46                                             47
C10 ADP
C10     Dealer Services,
    ADP Dealer Services, Inc.
                         Inc.                             Spinoff/Splitoff
                                                          Spinoff/Splitoff                 4,939
                                                                                           4,939                                   Yes
                                                                                                                                   Yes 45                No 46
                                                                                                                                                         No                     174
                                                                                                                                                                                174                    367 47
                                                                                                                                                                                                       367
                                   Processing, Inc.
                                   Processing, Inc.                                                           Software
                                                                                                              Software
      Website
      Website security business
              security business    Symantec
                                   Symantec                                                                                            49                     50                                                        51
C11
C11                                              48       DigiCert,
                                                          DigiCert, Inc.
                                                                    Inc.                   1,119
                                                                                           1,119          Systems
                                                                                                          Systems Software
                                                                                                                  Software         Yes
                                                                                                                                   Yes 49                No 50
                                                                                                                                                         No                      91
                                                                                                                                                                                 91               up to
                                                                                                                                                                                                  up    over 36551
                                                                                                                                                                                                     to over 365
      of Symantec
      of          Corporation
         Symantec Corporation      Corporation
                                   Corporation48
      Software
      Software portfolio of IBM
               portfolio of IBM                                                                              Application
                                                                                                             Application                 52                   53                                                             54
C12
C12                                IBM Corporation
                                   IBM Corporation        HCL Technologies Ltd.
                                                          HCL Technologies Ltd.            1,775
                                                                                           1,775                                   Yes
                                                                                                                                   Yes 52                No
                                                                                                                                                         No
                                                                                                                                                              53
                                                                                                                                                                                206
                                                                                                                                                                                206            151-up to over
                                                                                                                                                                                               151-up to      365 54
                                                                                                                                                                                                         over 365
      Corp.
      Corp.                                                                                                   Software
                                                                                                              Software
      GoTo  subsidiary of
      GoTo subsidiary  of Citrix
                          Citrix                                       55                                    Application
                                                                                                             Application               56                     57                                             58
C13
C13                                Citrix Systems,
                                   Citrix Systems, Inc.
                                                   Inc.   LogMeIn
                                                          LogMeln Inc.
                                                                  Inc.55                   2,848
                                                                                           2,848                                   Yes
                                                                                                                                   Yes 56                No 57
                                                                                                                                                         No                     190
                                                                                                                                                                                190                    335 58
                                                                                                                                                                                                       335
      Systems,
      Systems, Inc.
               Inc.                                                                                           Software
                                                                                                              Software

      Enterprise
      Enterprise security business Symantec
                 security business Symantec                                                                                            60                     61                                             62
C14
C14                                            59         Broadcom Inc.
                                                          Broadcom Inc.                    10,700
                                                                                           10,700         Systems
                                                                                                          Systems Software
                                                                                                                  Software         Yes
                                                                                                                                   Yes 60                No 61
                                                                                                                                                         No                      89
                                                                                                                                                                                 89                    330 62
                                                                                                                                                                                                       330
      of Symantec
      of           Corporation Corporation59
         Symantec Corporation      Corporation
                                                          Verizon Communications
                                                          Verizon Communications                              Application
                                                                                                              Application              63                     64                                             65
C15 Yahoo’s
C15 Yahoo's operating business Altaba
            operating business        Inc.
                               Altaba Inc.                                                 4,476
                                                                                           4,476                                   Yes
                                                                                                                                   Yes
                                                                                                                                       63
                                                                                                                                                         No 64
                                                                                                                                                         No                     324
                                                                                                                                                                                324                    324 65
                                                                                                                                                                                                       324
                                                          Inc.
                                                          Inc.                                                  Software
                                                                                                                Software
    Fiber-optic
    Fiber-optic network
                network                                                                                       Integrated
                                                                                                               Integrated
                                                          Verizon Communications
                                                          Verizon Communications                                                       66                     67
C16 business
C16 business of
             of XO
                XO Holdings,
                    Holdings,      XO Holdings,
                                   XO Holdings, Inc.
                                                Inc.                                       1,800
                                                                                           1,800          Telecommunication
                                                                                                          Telecommunication        Yes
                                                                                                                                   Yes 66                No 67
                                                                                                                                                         No                     346
                                                                                                                                                                                346                      n/a
                                                                                                                                                                                                         n/a
                                                          Inc.
                                                          Inc.
    Inc.
    Inc.                                                                                                        Services
                                                                                                                Services




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                                                                                              Exhibit 1
                                                                                              Exhibit 1
                                                                                   Summary of Divestitures
                                                                                   Summary of Divestitures Reviewed
                                                                                                           Reviewed

                                                         Divestiture
                                                         Divestiture                                                             Extent of Integration
                                                                                                                                 Extent of Integration                     Observable Number
                                                                                                                                                                           Observable        of Days
                                                                                                                                                                                      Number of Days

                                                                                                                                                                                                Observable //
                                                                                                                                                                                                Observable
                                                                                                                           Is the divested
                                                                                                                           Is the divested                              Observable
                                                                                                                                                                        Observable                Expected
                                                                                                                                                                                                  Expected
                                                                                                                                                Did the
                                                                                                                                                Did  the seller
                                                                                                                                                         seller
                                                                                                                            asset defined
                                                                                                                            asset defined                               Corporate
                                                                                                                                                                        Corporate         Operational
                                                                                                                                                                                          Operational Timeline
                                                                                                                                                                                                          Timeline
                                                                                                                                                 acquire the
                                                                                                                                                 acquire  the
                                                                                                                          based   solely on
                                                                                                                          based solely   on                           Timeline    (total
                                                                                                                                                                      Timeline (total       (total days
                                                                                                                                                                                            (total  days from   (1)
                                                                                                                                                                                                         from (1)
                                                                                  Total
                                                                                  Total Transaction
                                                                                        Transaction      Industry
                                                                                                         Industry of
                                                                                                                   of                           divested  asset
                                                                                                                                                divested asset
 ##   Divested Asset/Target[1]
      Divested Asset/Target ill   Seller[1]
                                  Seller'11            Buyer[1]
                                                       Buyer'11                                                           product   market
                                                                                                                          product market                               days
                                                                                                                                                                       days from
                                                                                                                                                                             from (1)(1)   evidence of
                                                                                                                                                                                           evidence    of planning
                                                                                                                                                                                                          planning
                                                                                    Value ($M)[1]
                                                                                    Value (SM)111         Target
                                                                                                          Target
                                                                                                                 [1]
                                                                                                                                              within 10
                                                                                                                                              within  10 years
                                                                                                                                                         years of
                                                                                                                                                                of
                                                                                                                                                                      announcement        the transition   to (2)
                                                                                                                                                                                                              (2) no
                                                                                                                                                                                                                  no
                                                                                                                           (as opposed
                                                                                                                           (as opposed toto                           announcement the         transition to
                                                                                                                                                the evaluated
                                                                                                                                                the evaluated
                                                                                                                             geographic
                                                                                                                             geographic                              date to (2)
                                                                                                                                                                     date to (2) closing
                                                                                                                                                                                  closing     more
                                                                                                                                                                                              more expected
                                                                                                                                                                                                     expected or
                                                                                                                                                                                                               or
                                                                                                                                                 divestiture?
                                                                                                                                                 divestiture?
                                                                                                                              market)?
                                                                                                                              market)?                                     date)
                                                                                                                                                                                 [1]
                                                                                                                                                                           date)[1]       actual   assistance from
                                                                                                                                                                                          actual assistance    from
                                                                                                                                                                                                             [2]
                                                                                                                                                                                                the seller)
                                                                                                                                                                                                the seller)[21

                                  Bain Capital,
                                  Bain Capital, LP;
                                                LP;
    Mobile and web
    Mobile and web assets
                   assets of
                          of      NBCUniversal
                                  NBCUniversal                                                           Application
                                                                                                         Application                 68                   69
C17
C17                                                    IBM Corporation
                                                       IBM Corporation                 2,284
                                                                                       2,284                                   Yes
                                                                                                                               Yes 68                No
                                                                                                                                                     No
                                                                                                                                                          69
                                                                                                                                                                             94
                                                                                                                                                                             94                      n/a
                                                                                                                                                                                                     n/a
    Weather Channel
    Weather Channel LLC
                    LLC           Media, LLC;
                                  Media, LLC;                                                             Software
                                                                                                          Software
                                  Blackstone Inc.
                                  Blackstone Inc.
      Acxiom   marketing
      Acxiom marketing            LiveRamp
                                  LiveRamp Holdings,
                                            Holdings, The
                                                      The Interpublic
                                                          Interpublic Group  of
                                                                       Group of                          Application
                                                                                                         Application               70                     71
C18
C18                                                                                    2,300
                                                                                       2,300                                   Yes
                                                                                                                               Yes 79                No 71
                                                                                                                                                     No                      92
                                                                                                                                                                             92                      n/a
                                                                                                                                                                                                     n/a
      solutions business
      solutions business          Inc.
                                  Inc.                Companies Inc.
                                                      Companies  Inc.                                     Software
                                                                                                          Software
                                  Xperi Holding
                                  Xperi Holding                                                                                      72                   73                                            74
C19 Xperi
C19 Xperi Inc.
          Inc.                                        Spinoff/Splitoff
                                                      Spinoff/Splitoff                 1,084
                                                                                       1,084          Systems
                                                                                                      Systems Software
                                                                                                              Software         Yes
                                                                                                                               Yes 72               Yes
                                                                                                                                                    Yes 73                   61
                                                                                                                                                                             61                    844
                                                                                                                                                                                                   844 74
                                  Corporation
                                  Corporation
                                                                                                      Interactive
                                                                                                      Interactive Media
                                                                                                                  Media              75                   76                                            77
C20 Cars.com
C20 Cars.com Inc.
             Inc.                 TEGNA Inc.
                                  TEGNA Inc.           Spinoff/Splitoff
                                                       Spinoff/Splitoff                1,854
                                                                                       1,854                                   Yes
                                                                                                                               Yes 73               Yes
                                                                                                                                                    Yes 76                  267
                                                                                                                                                                            267                    730
                                                                                                                                                                                                   730 77
                                                                                                         and Services
                                                                                                         and Services
      Products business of
      Products business of                     78      Symphony
                                                       Symphony Technology
                                                                Technology                                                         80                   81                                                   82
C21
C21                               FireEye,
                                  FireEye, Inc.
                                           Inc.78           79                         1,200
                                                                                       1,200          Systems
                                                                                                      Systems Software
                                                                                                              Software         Yes
                                                                                                                               Yes
                                                                                                                                   80
                                                                                                                                                    Yes
                                                                                                                                                    Yes 81                  129
                                                                                                                                                                            129                  365-548 82
                                                                                                                                                                                                 365-548
      FireEye,
      FireEye, Inc.
               Inc.                                    Group
                                                       Group79
                                  Dell Technologies
                                  Dell Technologies                                                                                  83                 84                                                   85
C22 VMware
C22 VMware LLC
           LLC                                         Spinoff/Splitoff
                                                       Spinoff/Splitoff                51,143
                                                                                       51,143         Systems
                                                                                                      Systems Software
                                                                                                              Software         Yes
                                                                                                                               Yes 83               Yes
                                                                                                                                                    Yes 84                  202
                                                                                                                                                                            202                  270-365
                                                                                                                                                                                                 270-365
                                                                                                                                                                                                             85
                                  Inc.
                                  Inc.
                                Dell EMC;
                                Dell EMC; EMC
                                            EMC
    Enterprise
    Enterprise Content
               Content Division (Benelux) B.V.;
                       Division (Benelux)  B.V.; EMC
                                                 EMC                                                     Application
                                                                                                         Application                 86                   87                                            88
C23
C23                                                  Open Text
                                                     Open      Corporation
                                                          Text Corporation             1,620
                                                                                       1,620                                   Yes
                                                                                                                               Yes 86               Yes
                                                                                                                                                    Yes 87                  134
                                                                                                                                                                            134                    365 88
                                                                                                                                                                                                   365
    of Dell
    of Dell EMC
            EMC                 International
                                International                                                             Software
                                                                                                          Software
                                Company
                                Company
                                                    BC
                                                    BC Partners;
                                                       Partners; LongView
                                                                 LongView
    Data centers and
    Data centers and colocation
                     colocation                                                                           Integrated
                                                                                                          Integrated
                                Lumen Technologies, Asset
                                Lumen Technologies, Asset Management,
                                                          Management, LLC;
                                                                      LLC;                                                         89                   90
C24 business
C24 business of
             of CenturyLink,
                CenturyLink,                                                           2,300
                                                                                       2,300          Telecommunication
                                                                                                      Telecommunication        Yes
                                                                                                                               Yes
                                                                                                                                     89
                                                                                                                                                    Yes
                                                                                                                                                    Yes 88                  179
                                                                                                                                                                            179                      n/a
                                                                                                                                                                                                     n/a
                                Inc.
                                Inc.                Medina Capital Advisors,
                                                    Medina Capital Advisors,
    Inc.
    Inc.                                                                                                   Services
                                                                                                           Services
                                                    LLC
                                                    LLC
                                 Intrado Corporation;
                                 Intrado Corporation;
      Safety
      Safety Business of Intrado
             Business of Intrado                                                                         Application
                                                                                                         Application
C25
C25                              Apollo
                                 Apollo Global
                                         Global         Stonepeak
                                                        Stonepeak Partners
                                                                  Partners LP
                                                                           LP          2,400
                                                                                       2,400                                   Yes
                                                                                                                               Yes
                                                                                                                                     92
                                                                                                                                     92
                                                                                                                                                    Yes
                                                                                                                                                    Yes
                                                                                                                                                          93
                                                                                                                                                          93
                                                                                                                                                                            138
                                                                                                                                                                            138                      n/a
                                                                                                                                                                                                     n/a
      Corporation
      Corporation                                    91                                                   Software
                                                                                                          Software
                                 Management, Inc.91
                                 Management,    Inc.
    Technology-Enabled
    Technology-Enabled
    Benefits & Human
    Benefits & Human                                   Tempo
                                                       Tempo Acquisition,
                                                              Acquisition, LLC,
                                                                           LLC,                          Application
                                                                                                         Application                 95                   96
C26
C26                           Aon plc
                              Aon plc                                        94        4,800
                                                                                       4,800                                   Yes
                                                                                                                               Yes
                                                                                                                                   95
                                                                                                                                                    Yes
                                                                                                                                                    Yes
                                                                                                                                                        96
                                                                                                                                                                             81
                                                                                                                                                                             81                      n/a
                                                                                                                                                                                                     n/a
    Resources
    Resources Platform of Aon
              Platform of Aon                          Blackstone
                                                       Blackstone Group
                                                                  Group L.P.
                                                                         L.P.94                           Software
                                                                                                          Software
    plc
    plc




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                                                                                    Exhibit 1 Notes
                                                                                    Exhibit 1 Notes and Sources
                                                                                                    and Sources


[1] “Divested Asset/Target,"
[1] "Divested  Asset/Target,” "Seller,"
                                “Seller,” "Buyer,"
                                          “Buyer,” "Total
                                                   “Total Transaction
                                                           Transaction Value
                                                                       Value ($M),”
                                                                             ($M)," and   “Industry of
                                                                                     and "Industry  of Target”
                                                                                                        Target" are respectively taken
                                                                                                                are respectively  taken from
                                                                                                                                        from the
                                                                                                                                              the following
                                                                                                                                                  following fields
                                                                                                                                                             fields in
                                                                                                                                                                    in S&P
                                                                                                                                                                       S&P Capital IQ
                                                                                                                                                                           Capital IQ
Pro, unless
Pro,        otherwise noted:
     unless otherwise   noted: "Target/Issuer
                               “Target/Issuer Name,"
                                              Name,” "Sellers,"
                                                       “Sellers,” "Buyers/Investors,"
                                                                  “Buyers/Investors,” "Total
                                                                                      “Total Transaction
                                                                                             Transaction Value
                                                                                                           Value ($M),”
                                                                                                                  ($M)," and  “Transaction Industry
                                                                                                                         and "Transaction    Industry (MI).”
                                                                                                                                                       (MI)." To
                                                                                                                                                               To compute  the observable
                                                                                                                                                                  compute the  observable
corporate timeline,
corporate timeline, II used
                       used the
                            the announcement
                                 announcement date
                                               date (field “Announced Date")
                                                    (field "Announced   Date”) and  closing date
                                                                               and closing  date (field
                                                                                                 (field "Completion
                                                                                                        “Completion Date")
                                                                                                                      Date”) as  reported by
                                                                                                                             as reported   by S&P
                                                                                                                                              S&P Capital   IQ Pro.
                                                                                                                                                    Capital IQ  Pro.
[2]      footnote 95
    See footnote
[2] See             95 in my declaration
                       in my  declaration for
                                           for aa definition of "expected"
                                                  definition of “expected” and  “observable” timelines.
                                                                            and "observable"  timelines. When
                                                                                                         When II have
                                                                                                                   have found
                                                                                                                         found no
                                                                                                                               no public  documentation on
                                                                                                                                   public documentation       the observable
                                                                                                                                                           on the             timeline of
                                                                                                                                                                  observable timeline  of aa
divestiture, II can
divestiture,    can nevertheless
                    nevertheless derive
                                  derive an
                                          an expected    operational timeline
                                             expected operational    timeline from
                                                                              from the
                                                                                   the public
                                                                                       public record. Divestitures for
                                                                                              record. Divestitures   for which
                                                                                                                         which II was
                                                                                                                                  was unable
                                                                                                                                      unable to
                                                                                                                                              to identify
                                                                                                                                                 identify either
                                                                                                                                                          either an expected or
                                                                                                                                                                 an expected or an  observable
                                                                                                                                                                                 an observable
operational timeline
operational   timeline are  denoted as
                        are denoted     “n/a.”
                                     as "n/a."
A1 -- TikTok
Al    TikTok U.S.    Application
                U.S. Application
[3]
[3] The  Act appears
    The Act             to present
               appears to  present Petitioners
                                   Petitioners with
                                                with aa choice:
                                                        choice: (a)
                                                                (a) sell
                                                                    sell TikTok’s U.S. application
                                                                         TikTok's U.S.             on tell_is
                                                                                       application on terms set
                                                                                                              set out
                                                                                                                  out in the Act,
                                                                                                                      in the Act, or
                                                                                                                                  or (b)
                                                                                                                                     (b) be
                                                                                                                                         be banned
                                                                                                                                            banned from
                                                                                                                                                    from operating
                                                                                                                                                          operating TikTok   in the
                                                                                                                                                                     TikTok in  the U.S.
                                                                                                                                                                                    U.S. See
                                                                                                                                                                                          See
the Act,
the Act, Section
          Section 2(a)(1).
                   2(a)(1).
[4] ByteDance’s 2017
[4] ByteDance's    2017 acquisition
                         acquisition of   of Musical.ly
                                             Musical.ly is
                                                         is irrelevant
                                                            irrelevant for
                                                                        for this
                                                                             this evaluation because divesting
                                                                                  evaluation because   divesting TikTok’s    U.S. application
                                                                                                                 TikTok's U.S.                 would be
                                                                                                                                  application would   be far
                                                                                                                                                         far different
                                                                                                                                                              different than
                                                                                                                                                                         than unwinding
                                                                                                                                                                              unwinding the
                                                                                                                                                                                          the Musical.ly
                                                                                                                                                                                               Musical.ly
transaction. Although
transaction. Although ByteDance
                        ByteDance initially
                                         initially ran
                                                   ran Musical.ly
                                                       Musical.ly as
                                                                   as an   “independent platfolin"
                                                                       an "independent    platform” ("China's
                                                                                                      (“China’s ByteDance
                                                                                                                 ByteDance Buying
                                                                                                                              Buying Lip-Sync
                                                                                                                                       Lip-Sync App
                                                                                                                                                 App Musical.ly
                                                                                                                                                      Musical.ly forfor Up
                                                                                                                                                                        Up to
                                                                                                                                                                            to $1
                                                                                                                                                                               $1 Billion,"
                                                                                                                                                                                  Billion,” Reuters,
                                                                                                                                                                                              Reuters,
November 10,
November    10, 2017,
                2017, https://www.reuters.com/article/idUSKBN1DA0BQ/),
                       https://www.reuters.com/article/idUSKBN1DA0BQ/), before            before relaunching
                                                                                                 relaunching TikTok
                                                                                                               TikTok inin the
                                                                                                                           the United
                                                                                                                               United States
                                                                                                                                       States in August 2018,
                                                                                                                                              in August  2018, ByteDance
                                                                                                                                                                  ByteDance "abandoned
                                                                                                                                                                              “abandoned the the
Musical.ly code
Musical.ly  code base
                  base and      technology, including
                        and technology,                  Musical.ly’s recommendation
                                              including Musical.ly's     recommendation engine,
                                                                                            engine, operation
                                                                                                     operation system,   user growth,
                                                                                                                system, user   growth, and  marketing tools."
                                                                                                                                       and marketing   tools.” (Petition,
                                                                                                                                                                 (Petition, TikTok  Inc. et
                                                                                                                                                                            TikTok Inc.     al v.
                                                                                                                                                                                         et al    CFIUS ,
                                                                                                                                                                                               v. CFIUS,
No. 20-1444,
No.  20-1444, November
              November 10,         2020, pp.
                               10, 2020,   pp. 9-10.)  ByteDance integrated
                                               9-10.) ByteDance                  Musical.ly’s "user
                                                                    integrated Musical.ly's    “user base,
                                                                                                     base, some   music licensing
                                                                                                            some music   licensing agreements
                                                                                                                                    agreements and   other copyright
                                                                                                                                                 and other  copyright agreements”      with the
                                                                                                                                                                         agreements" with   the
“technology platfoun
"technology  platform […]        developed by
                        [. . . ] developed    by ByteDance
                                                 ByteDance before
                                                               before the
                                                                      the Musical.ly
                                                                           Musical.ly acquisition   had even
                                                                                        acquisition had  even occurred.”    (See Petition,
                                                                                                               occurred." (See   Petition, TikTok  Inc. et
                                                                                                                                           TikTok Inc.  et al
                                                                                                                                                           al v.  CFIUS,, No.
                                                                                                                                                              v. CFIUS     No. 20-1444,
                                                                                                                                                                                20-1444, November
                                                                                                                                                                                           November 10,10,
2020, pp.
2020,  pp. 9-10.  See also
           9-10. See           Rebecca Fannin,
                      also Rebecca        Fannin, "The
                                                   “The Strategy   Behind TikTok’s
                                                         Strategy Behind      TikTok's Global   Rise,” Harvard
                                                                                         Global Rise,"  Harvard Business
                                                                                                                 Business Review,
                                                                                                                             Review, September
                                                                                                                                      September 13,
                                                                                                                                                  13, 2019,   https://hbr.org/2019/09/the-strategy-
                                                                                                                                                      2019, https://hbr.org/2019/09/the-strategy-
behind-tiktoks-global-rise.) As
behind-tiktoks-global-rise.)      As aa result,
                                        result, the
                                                the current
                                                    current TikTok
                                                             TikTok app
                                                                      app in   the United
                                                                            in the United States  has only
                                                                                           States has  only the
                                                                                                            the barest
                                                                                                                barest attributes of the
                                                                                                                       attributes of the Musical.ly
                                                                                                                                         Musical.ly app   from 2017
                                                                                                                                                     app from     2017 and  there is
                                                                                                                                                                        and there is essentially
                                                                                                                                                                                     essentially no
                                                                                                                                                                                                  no
Musical.ly app
Musical.ly       to divest.
            app to  divest.
B1
B1 -- Northeast
      Northeast Business
                  Business
[5]
[5] Verizon    would, under
    Verizon would,     under the
                               the agreement,   “establish[] aa separate
                                   agreement, "establish[]      separate entity  for its
                                                                          entity for  its local
                                                                                          local exchange
                                                                                                exchange and
                                                                                                           and related   business assets
                                                                                                                 related business         in Maine,
                                                                                                                                   assets in  Maine, New
                                                                                                                                                       New Hampshire
                                                                                                                                                            Hampshire andand Vermont,   spin[] off
                                                                                                                                                                             Veuuont, spin[]   off that
                                                                                                                                                                                                   that
new entity
new          to Verizon’s
      entity to Verizon's stockholders,
                             stockholders, and   merge[] it
                                            and merge[]   it with
                                                             with and  into FairPoint."
                                                                   and into  FairPoint.” See    “Verizon and
                                                                                           See "Verizon          FairPoint Agree
                                                                                                            and FairPoint   Agree to
                                                                                                                                   to Merge
                                                                                                                                      Merge Verizon’s
                                                                                                                                               Verizon's Wireline    Businesses in
                                                                                                                                                           Wireline Businesses      Maine, New
                                                                                                                                                                                 in Maine,  New
Hampshire and
Hampshire     and Vermont,”
                   Veunont," Verizon      News Archives,
                                 Verizon News    Archives, January
                                                            January 16,
                                                                      16, 2007,
                                                                          2007, https://www.verizon.com/about/news/press-releases/verizon-and-fairpoint-agree-merge-verizons-wireline-
                                                                                 https://www.verizon.com/about/news/press-releases/verizon-and-fairpoint-agree-merge-verizons-wireline-
businesses-maine-new-hampshire-and-vermont.
businesses-maine-new-hampshire-and-vermont.
[6]
[6] Verizon’s
    Verizon's access
                 access lines
                         lines in  Maine, Vermont
                                in Maine,  Veunont and   New Hampshire
                                                     and New    Hampshire werewere all
                                                                                   all long-term     holdings of
                                                                                        long-tem' holdings     of Verizon.
                                                                                                                   Verizon. See  Bob Varettoni,
                                                                                                                            See Bob                 “Verizon Communications
                                                                                                                                       Varettoni, "Verizon                       History,” Verizon,
                                                                                                                                                              Communications History,"      Verizon,
September    2016, https://www.verizon.com/about/sites/default/files/Verizon_History_0916.pdf.
September 2016,      https://www.verizon.com/about/sites/default/files/Verizon_History_0916.pdf.
[7] “Within 30
[7] "Within        calendar days
               30 calendar   days following
                                   following the
                                              the date
                                                  date hereof
                                                       hereof [January
                                                                [January 15,   2007], the
                                                                           15, 2007],   the Cutover   Planning Committee
                                                                                             Cutover Planning                 shall hold
                                                                                                                  Committee shall   hold its  initial meeting
                                                                                                                                          its initial meeting to
                                                                                                                                                               to commence
                                                                                                                                                                  commence planning
                                                                                                                                                                              planning and
                                                                                                                                                                                        and preparation
                                                                                                                                                                                            preparation
for the
for the Buyers
        Buyers to to cease  using all
                     cease using   all Transition
                                       Transition Services
                                                  Services and    thereafter.” The
                                                             and thereafter."   The start
                                                                                     start date  for planning
                                                                                            date for planning isis assumed  to be
                                                                                                                   assumed to  be the
                                                                                                                                   the last
                                                                                                                                       last day
                                                                                                                                            day for
                                                                                                                                                 for cutover
                                                                                                                                                      cutover planning,
                                                                                                                                                              planning, based
                                                                                                                                                                         based on
                                                                                                                                                                                on the
                                                                                                                                                                                   the 180-day  timeline
                                                                                                                                                                                       180-day timeline
for the
for the cutover
        cutover plan.
                   plan. "On
                         “On February
                               February 9,
                                         9, 2009,  we (FairPoint)
                                            2009, we                began to
                                                      (FairPoint) began     to independently
                                                                               independently operate      on our
                                                                                                 operate on   our new
                                                                                                                   new systems.”   See Transition
                                                                                                                        systems." See   Transition Services    Agreement by
                                                                                                                                                      Services Agreement   by and
                                                                                                                                                                               and among
                                                                                                                                                                                    among Verizon
                                                                                                                                                                                           Verizon
Information
Infounation Technologies
               Technologies LLC,LLC, Northern
                                       Northern New
                                                 New England
                                                      England Telephone
                                                                 Telephone Operations
                                                                              Operations Inc.,     Enhanced Communications
                                                                                             Inc., Enhanced   Communications of   of Northern
                                                                                                                                     Northern NewNew England
                                                                                                                                                       England Inc.
                                                                                                                                                                 Inc. and FairPoint Communications,
                                                                                                                                                                      and FairPoint  Communications,
Inc.,
Inc., dated
      dated January
             January 15,    2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-011/TESTIMONY/Transition%20Service%20Agreement%20Sch%20A-
                       15, 2007,   https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-011/TESTIMONY/Transition%20Service%20Agreement%20Sch%20A-
E%20Exhibit%20SES-4%2003-23-07.pdf; FairPoint
E%20Exhibit%20SES-4%2003-23-07.pdf;               FairPoint Communications,
                                                              Communications, Inc.,       Form 10-Q/A
                                                                                  Inc., Foul'    10-Q/A for
                                                                                                          for the
                                                                                                              the Quarterly  Period Ended
                                                                                                                   Quarterly Period   Ended September      30, 2009,
                                                                                                                                               September 30,    2009,
https://www.sec.gov/Archives/edgar/data/1062613/000104746910008341/a2200213z10-ka.htm.
https://www.   sec. gov/Archives/edgar/data/1062613/000104746910008341/a2200213z10-ka.htm.




                                                                                          APP-692
                                                                                           Page 4 of 16
                                                                                          APP-'692
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                                                                                 Exhibit 1 Notes
                                                                                 Exhibit 1 Notes and Sources
                                                                                                 and Sources


B2
B2 -- 14-State
      14-State Divestiture
               Divestiture
[8]
[8] The transaction "result[ed]
    The transaction “result[ed] in
                                in Frontier
                                   Frontier owning
                                            owning Verizon’s wireline operations
                                                   Verizon's wireline operations in
                                                                                 in all or parts
                                                                                    all or parts of
                                                                                                 of 14  states.” See
                                                                                                    14 states."      “California, Nevada
                                                                                                                 See "California, Nevada and
                                                                                                                                         and South
                                                                                                                                             South Carolina Approve Frontier
                                                                                                                                                   Carolina Approve Frontier
Acquisition of
Acquisition of Verizon  Local Wireline
               Verizon Local   Wireline Operations,”
                                         Operations," Verizon News Archives,
                                                      Verizon News  Archives, October
                                                                              October 29,
                                                                                        29, 2009,   https://www.verizon.com/about/news/press-releases/california-nevada-and-south-
                                                                                            2009, https://www.verizon.com/about/news/press-releases/california-nevada-and-south-
carolina-approve-frontier-acquisition-verizon-local-wireline-operations.
carolina-approve-frontier-acquisition-verizon-local-wireline-operations.
[9]
[9] Verizon’s operations in
    Verizon's operations in 13 states were
                            13 states were long-term
                                           long-term holdings
                                                     holdings of
                                                              of Verizon’s corporate predecessor
                                                                 Verizon's corporate predecessor GTE.
                                                                                                 GTE. The other state
                                                                                                      The other state (West
                                                                                                                      (West Virginia) was aa long-time
                                                                                                                            Virginia) was    long-time holding
                                                                                                                                                       holding of
                                                                                                                                                               of Bell
                                                                                                                                                                  Bell Atlantic.
                                                                                                                                                                       Atlantic.
[10]
[10] While   the parties
      While the  parties were
                         were able to cutover
                              able to cutover the
                                               the sole
                                                   sole legacy Bell Atlantic
                                                        legacy Bell Atlantic jurisdiction
                                                                             jurisdiction (West
                                                                                           (West Virginia)  on or
                                                                                                  Virginia) on or about the closing
                                                                                                                  about the closing date,
                                                                                                                                    date, the
                                                                                                                                          the cutover for the
                                                                                                                                              cutover for the remaining
                                                                                                                                                              remaining GTE    properties
                                                                                                                                                                          GTE properties
entered
entered aa lengthy transition process.
           lengthy transition process. Frontier
                                        Frontier announced
                                                 announced onon April
                                                                April 2,
                                                                      2, 2012
                                                                         2012 that
                                                                               that "all
                                                                                    “all operating,
                                                                                         operating, financial
                                                                                                    financial and human resources
                                                                                                              and human   resources systems
                                                                                                                                    systems associated  with its
                                                                                                                                             associated with  its 2010
                                                                                                                                                                  2010 acquisition  of
                                                                                                                                                                       acquisition of
Verizon   wireline exchanges
Verizon wireline   exchanges inin 14
                                  14 states have been
                                     states have been successfully  converted onto
                                                       successfully converted        Frontier’s legacy
                                                                               onto Frontier's  legacy systems."
                                                                                                        systems.” See Frontier Communications,
                                                                                                                  See Frontier  Communications, Customers       Benefit as
                                                                                                                                                   Customers Benefit       Frontier
                                                                                                                                                                        as Frontier
Communications
Communications Completes
                   Completes 14-State
                                14-State Systems
                                         Systems Conversion,   dated April
                                                  Conversion, dated   April 2,
                                                                            2, 2012,
                                                                               2012, https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.
                                                                                      https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.
B3
B3 -- HawaiianTel
      HawaiianTel
[11]
[11] Verizon   revealed that
      Verizon revealed    that "discussions
                               “discussions [had]   taken place”
                                             [had] taken           with regard
                                                           place" with           to the
                                                                         regard to  the divestment  of approximately
                                                                                        divestment of  approximately 700,000
                                                                                                                       700,000 access    lines operated
                                                                                                                                 access lines            by Verizon
                                                                                                                                               operated by             Hawaii, Inc.
                                                                                                                                                             Verizon Hawaii,   Inc. See
                                                                                                                                                                                    See Verizon
                                                                                                                                                                                         Verizon
Communications
Communications Inc.,      Form 10-K
                    Inc., Form   10-K for
                                       for the
                                           the Fiscal
                                                Fiscal Year  Ended December
                                                       Year Ended   December 31,  31, 2003,
                                                                                      2003, p.
                                                                                            p. 15;
                                                                                               15; Verizon
                                                                                                   Verizon Communications
                                                                                                            Communications Inc.,      Form 10-K
                                                                                                                                Inc., Form   10-K for
                                                                                                                                                   for the
                                                                                                                                                       the Fiscal
                                                                                                                                                           Fiscal Year  Ended December
                                                                                                                                                                   Year Ended   December 31,
                                                                                                                                                                                           31,
2004, p.
2004,  p. 16.
          16.
[12]
[12] Verizon’s
      Verizon's local   telephone business
                  local telephone  business in   Hawaii had
                                              in Hawaii       been part
                                                         had been   part of
                                                                          of Verizon’s
                                                                             Verizon's corporate   predecessor GTE
                                                                                        corporate predecessor         for almost
                                                                                                                 GTE for  almost 40   years. See
                                                                                                                                   40 years.       “Celebrating 140
                                                                                                                                              See "Celebrating    140 Years  of Building
                                                                                                                                                                       Years of Building
Connections,”    Hawaiian Telcom,
Connections," Hawaiian                https://www.hawaiiantel.com/aboutus/Our-History.
                             Telcom, https://www.hawaiiantel.com/aboutus/Our-History.
[13] “HT Communications
[13] "HT   Communications and       BearingPoint entered
                                and BearingPoint    entered into
                                                            into aa Master
                                                                    Master Service    Agreement on
                                                                             Service Agreement   on February
                                                                                                     February 4,   2005.” "The
                                                                                                                4, 2005." “The transition
                                                                                                                                 transition period
                                                                                                                                             period has
                                                                                                                                                    has an
                                                                                                                                                         an initial nine-month tell',
                                                                                                                                                            initial nine-month  term, which
                                                                                                                                                                                      which byby
amendment     dated December
amendment dated      December 15,    2005, was
                                 15, 2005,   was extended
                                                  extended to
                                                            to April
                                                               April 1,  2006.” See
                                                                      1, 2006."        Decision and
                                                                                  See Decision  and Order   No. 21696,
                                                                                                     Order No.   21696, In
                                                                                                                         In the  Matter of
                                                                                                                            the Matter   of the Application of
                                                                                                                                            the Application   of Paradise
                                                                                                                                                                 Paradise Mergersub,
                                                                                                                                                                           Mergersub, Inc.,
                                                                                                                                                                                        Inc., GTE
                                                                                                                                                                                              GTE
Corporation, Verizon Hawaii Inc., Bell Atlantic Communications, Inc., and Verizon Select Services Inc. for Approval of a Merger Transaction and Related Matters., No. 04-
Corporation,    Verizon   Hawaii  Inc., Bell Atlantic  Communications,      Inc., and  Verizon Select  Services Inc. for Approval   of a  Merger   Transaction   and  Related Matters.,  No.  04-
0140, https://files.hawaii.gov/dcca/dca/dno/dno2005/21696.pdf;
0140,  https://files.hawaii.gov/dcca/dca/dno/dno2005/21696.pdf; Hawaiian  Hawaiian Telcom
                                                                                      Telcom Communications,
                                                                                              Communications, Inc.,    Hawaiian Telcom,
                                                                                                                 Inc., Hawaiian    Telcom, Inc.,   Hawaiian Telcom
                                                                                                                                             Inc., Hawaiian  Telcom Services
                                                                                                                                                                       Services Company,
                                                                                                                                                                                Company, Inc.,
                                                                                                                                                                                            Inc.,
Form S-4
Form       Registration Statement,
       S-4 Registration               dated January
                           Statement, dated   January 19,  2006, https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm.
                                                       19, 2006,  https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm.
C1
Cl -- ILEC
      ILEC business
              business ofof Lumen
                            Lumen Technologies,
                                    Technologies, Inc.Inc.
[14] “Lumen Technologies
[14] "Lumen   Technologies [...]
                             [...] announced
                                   announced it  has entered
                                              it has entered into
                                                             into aa definitive
                                                                     definitive agreement
                                                                                agreement toto sell
                                                                                               sell its
                                                                                                    its ILEC    (incumbent local
                                                                                                         ILEC (incumbent          exchange carrier)
                                                                                                                            local exchange            business, including
                                                                                                                                             carrier) business, including its consumer, small
                                                                                                                                                                          its consumer,  small
business, wholesale
business, wholesale and   mostly copper-served
                     and mostly    copper-served enterprise  customers and
                                                  enterprise customers    and assets, in 20
                                                                              assets, in    states [...].”
                                                                                         20 states               “Lumen to
                                                                                                            See "Lumen
                                                                                                    [...]." See           to Sell Local Incumbent
                                                                                                                             Sell Local Incumbent Carrier
                                                                                                                                                    Carrier Operations
                                                                                                                                                            Operations in   20 States
                                                                                                                                                                        in 20         to Apollo
                                                                                                                                                                               States to Apollo
Funds for
Funds  for $7.5 Billion,” PR
           $7.5 Billion," PR Newswire,
                               Newswire, August
                                          August 3,3, 2021,
                                                      2021, https://www.prnewswire.com/news-releases/lumen-to-sell-local-incumbent-carrier-operations-in-20-states-to-apollo-
                                                            https://www.prnewswire.com/news-releases/lumen-to-sell-local-incumbent-carrier-operations-in-20-states-to-apollo-
funds-for-7-5-billion-301347625.html.
funds-for-7-5-billion-301347625.html.
[15]
[15] The  public record
     The public         that II have
                 record that    have reviewed
                                     reviewed indicates  that the
                                               indicates that the seller
                                                                   seller did not acquire
                                                                          did not         the divested
                                                                                  acquire the  divested asset    within ten
                                                                                                           asset within ten years
                                                                                                                            years before
                                                                                                                                   before the
                                                                                                                                          the evaluated  divestiture.
                                                                                                                                              evaluated divestiture.
[16] “Under the
[16] "Under  the TSA,   Lumen actually
                 T SA, Lumen            began providing
                               actually began            transition services
                                               providing transition  services upon   the October
                                                                              upon the   October 3, 2022 completion
                                                                                                 3, 2022  completion date
                                                                                                                       date of the Divestiture.
                                                                                                                            of the Divestiture. [...]
                                                                                                                                                [...] The term of
                                                                                                                                                      The term  of services
                                                                                                                                                                   services to
                                                                                                                                                                            to be
                                                                                                                                                                               be provided
                                                                                                                                                                                  provided
under the
under the TSA
          T SA is
                is an
                   an average of 17
                      average of     months, subject
                                  17 months,         to Apollo's
                                             subject to Apollo’s right  to extend
                                                                  right to         the term
                                                                           extend the  term of
                                                                                            of certain
                                                                                               certain services for up
                                                                                                       services for up to
                                                                                                                       to six months and
                                                                                                                          six months      to terminate
                                                                                                                                      and to terminate early   the term
                                                                                                                                                         early the term of
                                                                                                                                                                         of any service.”
                                                                                                                                                                            any service."
     Lumen Technologies,
See Lumen
See         Technologies, Inc.,   Form 8-K,
                            Inc., Form 8-K, dated
                                             dated October
                                                   October 3,  2022, http://pdf.secdatabase.com/1788/0001193125-22-256669.pdf,
                                                            3, 2022,  http://pdf.secdatabase.com/1788/0001193125-22-256669.pdf, p.      p. 6.
                                                                                                                                            6.




                                                                                       APP-693
                                                                                        Page 5 of 16
                                                                                       APP    -'693
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                                                                                    Exhibit 1 Notes
                                                                                    Exhibit 1 Notes and Sources
                                                                                                    and Sources


C2
C2 -- Northwest
      Northwest operations
                    operations and assets of
                               and assets of Frontier
                                             Frontier Communications
                                                       Communications
[17]  For clarity,
[17] For  clarity, II have
                      have augmented the name
                           augmented the name of the target
                                              of the target as
                                                            as presented
                                                               presented in
                                                                         in S&P
                                                                            S&P Capital
                                                                                Capital IQ Pro by
                                                                                        IQ Pro by adding the geographic
                                                                                                  adding the            location of
                                                                                                             geographic location    the divested
                                                                                                                                 of the divested asset.
                                                                                                                                                 asset.
[18] “Searchlight Capital
[18] "Searchlight          Partners, L.P.
                   Capital Partners, L.P. [...]  announced [...]
                                           [...] announced          that it
                                                              [...] that    completed the
                                                                         it completed  the acquisition of the
                                                                                           acquisition of the Northwest
                                                                                                               Northwest operations
                                                                                                                           operations and
                                                                                                                                      and assets of Frontier
                                                                                                                                          assets of Frontier Communications
                                                                                                                                                             Communications [...]
                                                                                                                                                                                [...] in
                                                                                                                                                                                      in
partnership with
partnership  with WaveDivision
                  WaveDivision Capital,    LLC, [...]
                                 Capital, LLC,           the Public
                                                   [...] the Public Sector    Pension Investment
                                                                      Sector Pension               Board [...],
                                                                                      Investment Board           British Columbia
                                                                                                          [...], British Columbia Investment   Management Corporation
                                                                                                                                   Investment Management     Corporation [...]
                                                                                                                                                                         [...] and
                                                                                                                                                                               and Canada
                                                                                                                                                                                     Canada
Pension Plan
Pension  Plan Investment
              Investment Board
                          Board [...].”        “Searchlight Capital
                                         See "Searchlight
                                 [...]." See                            Partners Completes
                                                              Capital Partners               the Acquisition
                                                                                 Completes the   Acquisition of of the
                                                                                                                   the Operations
                                                                                                                       Operations and  Assets of
                                                                                                                                   and Assets of Frontier
                                                                                                                                                 Frontier Communications
                                                                                                                                                          Communications in    the Northwest
                                                                                                                                                                            in the   Northwest of
                                                                                                                                                                                               of
the U.S.
the U.S. to
         to foul'
            form Ziply
                  Ziply Fiber,"
                        Fiber,” PSP,
                                PSP, May
                                      May 1,    2020, https://www.investpsp.com/en/news/searchlight-capital-partners-completes-the-acquisition-of-the-operations-and-assets-of-
                                            1, 2020,    https://www.investpsp.com/en/news/searchlight-capital-partners-completes-the-acquisition-of-the-operations-and-assets-of-
frontier-communications-in-the-northwest-of-the-u-s-to-form-ziply-fiber/.
frontier-communications-in-the-northwest-of-the-u-s-to-folin-ziply-fiber/.
[19]
[19] The  public record
     The public           that II have
                  record that     have reviewed
                                       reviewed indicates    that Frontier
                                                  indicates that  Frontier did
                                                                            did not
                                                                                not acquire   the divested
                                                                                     acquire the  divested asset    within ten
                                                                                                             asset within  ten years
                                                                                                                               years before
                                                                                                                                     before thethe evaluated  divestiture. Although
                                                                                                                                                   evaluated divestiture.    Although Frontier
                                                                                                                                                                                        Frontier acquired
                                                                                                                                                                                                 acquired
Verizon’s wireline operations in Washington, Oregon, and Idaho in the 14-State Divestiture in 2010, the asset divested in 2019 was different than those acquired in 2010. First,
Verizon's  wireline   operations   in Washington,   Oregon,   and  Idaho  in the  14-State  Divestiture  in  2010,  the asset divested   in 2019   was  different  than  those acquired  in 2010.  First,
the divested
the divested asset
              asset included   Frontier’s wireline
                    included Frontier's    wireline operations
                                                    operations in   Montana, which
                                                                 in Montana,   which itit did
                                                                                          did not
                                                                                               not acquire  from Verizon.
                                                                                                   acquire from              (See "California,
                                                                                                                   Verizon. (See   “California, Nevada
                                                                                                                                                   Nevada and
                                                                                                                                                            and South
                                                                                                                                                                South Carolina     Approve Frontier
                                                                                                                                                                         Carolina Approve    Frontier
Acquisition of
Acquisition   of Verizon  Local Wireline
                 Verizon Local     Wireline Operations,”
                                            Operations," Verizon     News Archives,
                                                           Verizon News      Archives, October
                                                                                         October 29,
                                                                                                   29, 2009,   https://www.verizon.com/about/news/press-releases/california-nevada-and-south-
                                                                                                       2009, https://www.verizon.com/about/news/press-releases/california-nevada-and-south-
carolina-approve-frontier-acquisition-verizon-local-wireline-operations). Second,
carolina-approve-frontier-acquisition-verizon-local-wireline-operations).                    the divested
                                                                                   Second, the    divested asset   included the
                                                                                                            asset included   the lines that Frontier
                                                                                                                                 lines that  Frontier operated
                                                                                                                                                       operated inin Oregon
                                                                                                                                                                      Oregon and
                                                                                                                                                                              and Idaho   prior to
                                                                                                                                                                                   Idaho prior  to the
                                                                                                                                                                                                   the
2010 14-State
2010            Divestiture, which
      14-State Divestiture,   which were
                                      were subsequently
                                            subsequently integrated    with the
                                                           integrated with   the operations
                                                                                  operations purchased
                                                                                               purchased from
                                                                                                           from Verizon.    (See "Frontier
                                                                                                                  Verizon. (See   “Frontier Communications         Announces Sale
                                                                                                                                              Communications Announces                of Operations
                                                                                                                                                                                Sale of  Operations inin
Washington,
Washington, Oregon,     Idaho, and
               Oregon, Idaho,         Montana,” Frontier
                                  and Montana,"   Frontier Communications,
                                                            Communications, May  May 29,
                                                                                       29, 2019,
                                                                                           2019, https://investor.frontier.com/news/news-details/2019/Frontier-Communications-Announces-
                                                                                                   https://investor.frontier.com/news/news-details/2019/Frontier-Communications-Announces-
Sale-of-Operations-in-Washington-Oregon-Idaho-and-Montana-05-29-2019/default.aspx.
Sale-of-Operations-in-Washington-Oregon-Idaho-and-Montana-05-29-2019/default.aspx. Citizens            Citizens Communications
                                                                                                                 Communications Company,
                                                                                                                                     Company, Foun Form 10-K   for the
                                                                                                                                                          10-K for   the Fiscal
                                                                                                                                                                         Fiscal Year  Ended December
                                                                                                                                                                                Year Ended    December
31, 2006, https://d18m0p25nwr6d.cloudfront.net/CIK-0000020520/cldd8f8d-65be-4a83-b357-0075cbelfe54.pdf,
31, 2006,  https://d18rn0p25nwr6d.cloudfront.net/CIK-0000020520/c1dd8f8d-65be-4a83-b357-0075cbe1fe54.pdf, Exhibit                   Exhibit 21.)
                                                                                                                                              21.)
[20] Frontier committed
[20] Frontier  committed to to planning
                               planning the
                                         the transition
                                             transition of
                                                        of operations
                                                            operations at  least as
                                                                        at least  as early
                                                                                     early as
                                                                                           as July
                                                                                               July 31, 2019 ("Frontier
                                                                                                    31, 2019   (“Frontier has
                                                                                                                           has agreed
                                                                                                                               agreed toto replicate
                                                                                                                                            replicate its current IT
                                                                                                                                                      its current  IT systems.”).   Frontier stated
                                                                                                                                                                       systems."). Frontier  stated that
                                                                                                                                                                                                     that it
                                                                                                                                                                                                          it
stopped providing
stopped  providing the
                     the services
                         services regulated
                                    regulated by the TSA
                                              by the  TSA as   of October
                                                            as of October 31,    2020. See
                                                                            31, 2020.   See Testimony
                                                                                             Testimony of of Steve
                                                                                                              Steve Weed,    No. UT-190574,
                                                                                                                     Weed, No.    UT-190574, July July 31, 2019, p.
                                                                                                                                                       31, 2019,   p. 37;  Frontier Communications,
                                                                                                                                                                      37; Frontier  Communications,
Form 10-K
Foun         for the
      10-K for   the Fiscal
                     Fiscal Year    Ended December
                             Year Ended    December 31,    2020, https://d18m0p25nwr6d.cloudfront.net/CIK-0000020520/6b950dad-b24b-4079-ae7e-b089a4f71e59.pdf,
                                                       31, 2020,   https://d18rn0p25nwr6d.cloudfront.net/CIK-0000020520/6b950dad-b24b-4079-ae7e-b089a4f71e59.pdf, F-29.                      F-29.




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                                                                                           APP-'694
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                                                                                          Exhibit 1 Notes
                                                                                          Exhibit 1 Notes and Sources
                                                                                                          and Sources


C3
C3 -- International
      International business segment of
                    business segment of CDK
                                        CDK Global, Inc.
                                            Global, Inc.
[21]  “Francisco Partners
[21] "Francisco    Partners [...]
                              [...] announced     today the
                                    announced today       the execution
                                                              execution of of aa definitive
                                                                                 definitive agreement
                                                                                              agreement [...]   to acquire
                                                                                                          [...] to acquire CDK’s
                                                                                                                            CDK's International       business segment
                                                                                                                                     International business     segment […],
                                                                                                                                                                         [. . . ], aa leading  provider of
                                                                                                                                                                                      leading provider    of
automotive   retail software
automotive retail    software solutions
                                solutions in    EMEA and
                                             in EMEA           Asia, for
                                                         and Asia,   for $1.45
                                                                          $1.45 billion."
                                                                                  billion.” See    “Francisco Partners
                                                                                             See "Francisco      Partners to
                                                                                                                          to Acquire
                                                                                                                             Acquire International      Business of
                                                                                                                                        International Business     of CDK
                                                                                                                                                                      CDK Global
                                                                                                                                                                               Global forfor $1.45   Billion,”
                                                                                                                                                                                             $1.45 Billion,"
Francisco Partners,
Francisco   Partners, November
                        November 30,       2020, https://www.franciscopartners.com/media/francisco-partners-to-acquire-international-business-of-cdk-global-for-145-billion.
                                      30, 2020,    https://www.franciscopartners.com/media/francisco-partners-to-acquire-international-business-of-cdk-global-for-145-billion.
[22]  Although ADP
[22] Although    ADP spunspun off
                               off CDK
                                    CDK in     2014, this
                                           in 2014,   this spin-off
                                                            spin-off is
                                                                     is irrelevant
                                                                        irrelevant when
                                                                                     when evaluating
                                                                                             evaluating CDK’s      2021 divestiture
                                                                                                          CDK's 2021     divestiture ofof its  international business.
                                                                                                                                           its international  business. This
                                                                                                                                                                        This is      because, in
                                                                                                                                                                                 is because,   in 2021,
                                                                                                                                                                                                   2021, CDK
                                                                                                                                                                                                          CDK sold
                                                                                                                                                                                                                 sold
only one
only  one division
          division of of CDK
                         CDK (i.e.,
                                (i.e., its
                                       its international    business), rather
                                           international business),     rather than
                                                                                 than the
                                                                                      the entire
                                                                                           entire entity
                                                                                                   entity that
                                                                                                          that was
                                                                                                                was spun
                                                                                                                     spun off
                                                                                                                           off in 2014. Therefore,
                                                                                                                               in 2014.   Therefore, in    2021, CDK
                                                                                                                                                       in 2021,         had to
                                                                                                                                                                  CDK had      to disentangle
                                                                                                                                                                                   disentangle its    international
                                                                                                                                                                                                  its international
business from
business  from the
                 the rest
                      rest of the entity.
                           of the           For this
                                   entity. For   this reason,
                                                      reason, the
                                                                the divested
                                                                    divested asset
                                                                                asset (i.e., the international
                                                                                      (i.e., the                  business) was
                                                                                                  international business)    was not
                                                                                                                                  not an
                                                                                                                                       an asset   that was
                                                                                                                                           asset that  was acquired   within ten
                                                                                                                                                            acquired within     ten years
                                                                                                                                                                                      years of  the announcement
                                                                                                                                                                                            of the   announcement
date. See
date.  See John   Kirwan, "International
           John Kirwan,      “International Business
                                                Business ofof CDK
                                                              CDK Global       Becomes Keyloop,"
                                                                     Global Becomes        Keyloop,” MotorTrader.com,
                                                                                                        MotorTrader.com, March March 1, 1, 2021,
                                                                                                                                           2021, https://www.motortrader.com/motor-trader-
                                                                                                                                                   https://www.motortrader.com/motor-trader-
news/automotive-news/307888-01-03-2021.
news/automotive-news/307888-01-03-2021.
[23]
[23] The
      The TSA
          TSA is is attached   to the
                     attached to   the Share
                                       Share Sale
                                                Sale and   Purchase Agreement
                                                      and Purchase    Agreement dated        November 27,
                                                                                     dated November       27, 2020.
                                                                                                               2020. CDK
                                                                                                                      CDK Global,
                                                                                                                             Global, Inc.    “provided limited
                                                                                                                                      Inc. "provided              services to
                                                                                                                                                         limited services   to Francisco
                                                                                                                                                                                 Francisco Partners
                                                                                                                                                                                              Partners toto assist in the
                                                                                                                                                                                                            assist in the
integration  of the
integration of  the International     Business through
                      International Business      through February
                                                             February 2022."
                                                                        2022.” As As the
                                                                                     the precise
                                                                                          precise end   date is
                                                                                                    end date   is unknown,
                                                                                                                  unknown, II conservatively
                                                                                                                               conservatively assumed       that CDK’s
                                                                                                                                                  assumed that            transition services
                                                                                                                                                                 CDK's transition        services ended
                                                                                                                                                                                                    ended on
                                                                                                                                                                                                           on February
                                                                                                                                                                                                               February
1, 2022. See
1, 2022.  See CDK
               CDK Global       Holdings Ltd.
                        Global Holdings      Ltd. and
                                                   and Concorde     Bidco Ltd.,
                                                        Concorde Bidco      Ltd., Share
                                                                                    Share Sale
                                                                                            Sale and   Purchase Agreement,
                                                                                                 and Purchase      Agreement, dated
                                                                                                                                 dated November
                                                                                                                                        November 27,  27, 2020,
                                                                                                                                                          2020,
https://www.sec.gov/Archives/edgar/data/1609702/000160970221000005/cdk_q2fy21concorde-sharesa.htm; Brookfield
https://www.sec.gov/Archives/edgar/data/1609702/000160970221000005/cdk_q2fy2lconcorde-sharesa.htm;                                    Brookfield Business
                                                                                                                                                    Business Partners
                                                                                                                                                               Partners L.P.,
                                                                                                                                                                         L.P., Brookfield
                                                                                                                                                                                  Brookfield Business
                                                                                                                                                                                                Business
Corporation,   Form 6-K
Corporation, Foul'      6-K for
                            for the
                                 the Month
                                      Month of  of May
                                                   May 2022,
                                                         2022, dated
                                                                 dated May
                                                                        May 10,10, 2022,
                                                                                   2022, https://content.edgar-online.com/ExternalLink/EDGAR/0001104659-22-
                                                                                            https://content.edgar-online.com/ExternalLink/EDGAR/0001104659-22-
057962.html?hash=6a22c296048e3cbb7c3798faab71528dd41a7b4a071c7e69e4ed072b604cb2f3&dest=tm2213999d6_6k_htm#tm2213999d6_6k_htmtm2213999d6_6k_htm.
057962.html?hash=6a22c296048e3cbb7c3798faab71528dd41a7b4a071c7e69e4ed072b604cb2f3&dest=tm2213999d66khtm#tm2213999d66khtmtm2213999d66khtm.
C4
C4 -- Verizon's
      Verizon’s wireline
                   wireline operations
                              operations in   in California,     Texas and
                                                 California, Texas      and Florida
                                                                               Florida
[24]  For clarity,
[24] For  clarity, II have
                      have augmented
                            augmented the  the name
                                                name of   the target
                                                       of the  target as
                                                                      as presented
                                                                         presented in in S&P
                                                                                          S&P Capital
                                                                                                Capital IQ    Pro by
                                                                                                         IQ Pro    by adding   the geographic
                                                                                                                      adding the                  location of
                                                                                                                                   geographic location         the divested
                                                                                                                                                            of the divested asset.
                                                                                                                                                                               asset.
[25]  Frontier completed
[25] Frontier    completed its its "acquisition
                                   “acquisition of
                                                of Verizon
                                                   Verizon Communications,
                                                            Communications, Inc.Inc. (NYSE:VZ)
                                                                                     (NYSE:VZ) wireline
                                                                                                  wireline operations
                                                                                                           operations providing
                                                                                                                      providing services
                                                                                                                                 services to
                                                                                                                                          to residential,
                                                                                                                                             residential, commercial
                                                                                                                                                          commercial and   wholesale customers
                                                                                                                                                                       and wholesale  customers
in
in California,
   California, Texas
                 Texas and     Florida.” See
                         and Florida."         “Frontier Communications
                                          See "Frontier  Communications Completes       Acquisition of
                                                                            Completes Acquisition    of Verizon
                                                                                                        Verizon Wireline
                                                                                                                 Wireline Operations  in California,
                                                                                                                          Operations in  California, Texas
                                                                                                                                                     Texas and   Florida,” April
                                                                                                                                                            and Florida,"  April 1, 2016,
                                                                                                                                                                                 1, 2016,
https://investor.frontier.com/news/news-details/2016/Frontier-Communications-Completes-Acquisition-of-Verizon-Wireline-Operations-in-California-Texas-and-Florida-04-01-
http s: //investor. frontier. com/news/news-detail s/2016/Frontier-C ommunic ations-C ompletes-Ac quisition-of-Verizon-Wireline-Operations-in-C aliforni a- T exas-and-F lorida-04-01-
2016/default.aspx.
2016/default.   aspx.
[26]
[26] The    public record
      The public             that II have
                     record that     have reviewed
                                          reviewed indicates  that the
                                                    indicates that the seller
                                                                       seller did not acquire
                                                                              did not         the divested
                                                                                      acquire the divested asset within ten
                                                                                                           asset within ten years
                                                                                                                            years before
                                                                                                                                  before the
                                                                                                                                         the evaluated  divestiture.
                                                                                                                                             evaluated divestiture.
[27]
[27] II conservatively
        conservatively assumed      the start
                          assumed the   start of
                                              of the
                                                 the operational
                                                      operational timeline
                                                                  timeline March
                                                                            March 1,1, 2015,       the first
                                                                                             i.e., the
                                                                                       2015, i.e.,     first day
                                                                                                             day after the cutover
                                                                                                                 after the cutover plan
                                                                                                                                   plan support
                                                                                                                                         support agreement   was entered.
                                                                                                                                                  agreement was  entered. II considered
                                                                                                                                                                             considered the
                                                                                                                                                                                        the end
                                                                                                                                                                                            end of
                                                                                                                                                                                                of
the operational
the operational timeline,
                   timeline, April
                             April 1,  2016, the
                                    1, 2016,  the transaction
                                                   transaction close
                                                               close date.
                                                                     date. The   resulting 398
                                                                            The resulting  398 days
                                                                                                days are   consistent with
                                                                                                      are consistent  with aa 2019
                                                                                                                              2019 settlement
                                                                                                                                   settlement agreement   stating that
                                                                                                                                               agreement stating  that "Frontier
                                                                                                                                                                       “Frontier had
                                                                                                                                                                                 had been
                                                                                                                                                                                     been planning
                                                                                                                                                                                           planning
the transition
the transition for
                for more
                     more than
                           than aa year[.]"
                                   year[.]” See   Response of
                                            See Response     of Frontier
                                                                Frontier California  Inc. (U
                                                                         California Inc.  (U 1002
                                                                                              1002 C)
                                                                                                    C) toto Assigned
                                                                                                            Assigned Commissioner’s     Ruling Inviting
                                                                                                                      Commissioner's Ruling     Inviting Party
                                                                                                                                                         Party and  Public Comments
                                                                                                                                                               and Public             Regarding
                                                                                                                                                                           Comments Regarding
Issues   Raised at
Issues Raised       Public Participation
                 at Public  Participation Hearings
                                           Hearings andand Workshops
                                                           Workshops in in the
                                                                           the Intrastate Rural Call
                                                                               Intrastate Rural  Call Completion
                                                                                                       Completion Issues    Proceeding (I.14-05-012),
                                                                                                                    Issues Proceeding    (I.14-05-012), September   20, 2016,
                                                                                                                                                        September 20,   2016,
https://docs.cpuc.ca.gov/PublishedDocs/Efile/G000/M168/K257/168257703.PDF, Attachment
https://docs.cpuc.ca.gov/PublishedDocs/Efile/G000/M168/K257/168257703.PDF,                    Attachment A;  A; Frontier
                                                                                                                Frontier CPED
                                                                                                                         CPED Settlement      Agreement, December
                                                                                                                                 Settlement Agreement,    December 19,   2019,
                                                                                                                                                                     19, 2019,
https://docs.cpuc.ca.gov/PublishedDocs/Published/G000/M472/K024/472024199.pdf,
https ://docs. cpuc. ca. gov/PublishedDocs/Published/G000/M472/K024/472024199.pdf, p.              p. 2.
                                                                                                      2.




                                                                                                 APP-695
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                                                                                                 AP  P-'695
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                                                                                      Exhibit 1 Notes
                                                                                      Exhibit 1 Notes and Sources
                                                                                                      and Sources


C5
CS -- Intellectual Property &
      Intellectual Property & Science
                              Science business
                                      business of
                                               of Thomson
                                                  Thomson Reuters
                                                          Reuters Corporation
                                                                  Corporation
[28]
[28] Thomson      Reuters sold
      Thomson Reuters      sold its
                                 its Intellectual   Property &
                                      Intellectual Property    & Science      business which
                                                                  Science business        which "provides
                                                                                                “provides comprehensive
                                                                                                            comprehensive intellectual    property and
                                                                                                                             intellectual property        scientific infoli_lation,
                                                                                                                                                     and scientific  information, decision
                                                                                                                                                                                    decision support
                                                                                                                                                                                             support tools
                                                                                                                                                                                                      tools
and
and services[.]”
     services[.]" The    public record
                   The public             that II have
                                 record that      have reviewed
                                                        reviewed indicates       that aa geographic
                                                                    indicates that                   market segmentation
                                                                                         geographic market    segmentation was
                                                                                                                             was not
                                                                                                                                  not necessary
                                                                                                                                      necessary toto define
                                                                                                                                                     define the
                                                                                                                                                             the divested
                                                                                                                                                                 divested asset.   “The newly
                                                                                                                                                                           asset. "The  newly independent
                                                                                                                                                                                                independent
company will
company    will be
                 be known
                    known asas Clarivate     Analytics[.]” See
                                Clarivate Analytics[.]"            “Thomson Reuters
                                                             See "Thomson         Reuters Announces
                                                                                            Announces Definitive
                                                                                                         Definitive Agreement
                                                                                                                    Agreement to to Sell
                                                                                                                                    Sell Its
                                                                                                                                         Its Intellectual  Property &
                                                                                                                                             Intellectual Property    & Science   Business to
                                                                                                                                                                         Science Business   to Onex
                                                                                                                                                                                                Onex and
                                                                                                                                                                                                     and
Baring Asia
Baring   Asia for
               for $3.55
                   $3.55 Billion,"
                          Billion,” PR PR Newswire,
                                           Newswire, July      11, 2016,
                                                         July 11,  2016, https://www.prnewswire.com/news-releases/thomson-reuters-announces-definitive-agreement-to-sell-its-intellectual-
                                                                            https://www.prnewswire.com/news-releases/thomson-reuters-announces-definitive-agreement-to-sell-its-intellectual-
property--science-business-to-onex-and-baring-asia-for-355-billion-300296352.html; "Acquisition
property--science-business-to-onex-and-baring-asia-for-355-billion-300296352.html;                      “Acquisition of
                                                                                                                      of the
                                                                                                                         the Thomson     Reuters Intellectual
                                                                                                                              Thomson Reuters      Intellectual Property
                                                                                                                                                                Property and
                                                                                                                                                                           and Science   Business by
                                                                                                                                                                                Science Business   by Onex
                                                                                                                                                                                                       Onex
and  Baring Asia
and Baring    Asia Completed,”
                    Completed," Clarivate,
                                    Clarivate, October
                                                  October 3,3, 2016,
                                                               2016, https://clarivate.com/news/acquisition-thomson-reuters-intellectual-property-science-business-onex-baring-asia-
                                                                        https://clarivate.com/news/acquisition-thomson-reuters-intellectual-property-science-business-onex-baring-asia-
completed/.
completed/.
[29]
[29] The   public record
      The public           that II have
                   record that     have reviewed
                                          reviewed indicates     that the
                                                     indicates that    the seller
                                                                            seller did   not acquire
                                                                                    did not           the divested
                                                                                             acquire the  divested asset within ten
                                                                                                                   asset within  ten years
                                                                                                                                     years before
                                                                                                                                            before the
                                                                                                                                                    the evaluated   divestiture.
                                                                                                                                                         evaluated divestiture.
[30]
[30] II considered
        considered the
                     the start
                         start of
                               of the
                                   the operational
                                        operational timeline
                                                      timeline the
                                                                 the date
                                                                      date of   the TSA,
                                                                             of the TSA, July
                                                                                           July 10,  2016. II conservatively
                                                                                                 10, 2016.    conservatively assumed    the end
                                                                                                                              assumed the        of the
                                                                                                                                             end of  the operational
                                                                                                                                                         operational timeline
                                                                                                                                                                       timeline to
                                                                                                                                                                                 to be
                                                                                                                                                                                    be July
                                                                                                                                                                                       July 1, 2019, because
                                                                                                                                                                                            1, 2019, because
the buyer
the buyer recorded     “payments to
            recorded "payments       to Thomson     Reuters under
                                        Thomson Reuters       under thethe [TSA]"
                                                                            [TSA]” during
                                                                                      during the
                                                                                              the three
                                                                                                  three months
                                                                                                         months ended
                                                                                                                 ended September
                                                                                                                        September 30,    2019. See
                                                                                                                                     30, 2019.  See Clarivate    Analytics PLC,
                                                                                                                                                      Clarivate Analytics    PLC, Quarterly
                                                                                                                                                                                    Quarterly and
                                                                                                                                                                                               and Semi-
                                                                                                                                                                                                   Semi-
Annual Report,
Annual   Report, as   of and
                   as of      for the
                         and for   the Three
                                        Three and
                                                and Six   Months Ended
                                                     Six Months     Ended JuneJune 30,   2019, https://www.sec.gov/Archives/edgar/data/1764046/000114420419038016/tv526618_ex99-1.htm,
                                                                                    30, 2019,   https://www.sec.gov/Archives/edgar/data/1764046/000114420419038016/tv526618_ex99-1.htm,
pp. 9,
pp.     22; "Clarivate
    9, 22;  “Clarivate Analytics
                         Analytics Reports
                                      Reports Third
                                                Third Quarter     2019 Results,"
                                                        Quarter 2019      Results,” Clarivate    Analytics (November
                                                                                      Clarivate Analytics   (November 6, 6, 2019),
                                                                                                                            2019), https://clarivate.com/news/clarivate-analytics-reports-third-quarter-
                                                                                                                                    https://clarivate.com/news/clarivate-analytics-reports-third-quarter-
2019-results/.
2019-results/.
C6
C6 -- Match
      Match Group,       Inc.
               Group, Inc.
[31]
[31] S&P
     S&P Capital
            Capital IQ
                    IQ Pro
                        Pro presents   the target
                             presents the  target as  “IAC Holdings,
                                                   as "IAC  Holdings, Inc.”
                                                                        Inc." and the seller
                                                                              and the seller as  “Match Group,
                                                                                              as "Match   Group, Inc.”  For clarity,
                                                                                                                  Inc." For  clarity, II have
                                                                                                                                         have replaced   these names
                                                                                                                                               replaced these  names by
                                                                                                                                                                      by the
                                                                                                                                                                         the relevant
                                                                                                                                                                             relevant corporate
                                                                                                                                                                                       corporate
predecessors: "Match
predecessors:    “Match Group,
                         Group, Inc.”
                                 Inc." and   “IAC Holdings,
                                        and "IAC    Holdings, Inc.,”
                                                               Inc.," respectively.       “IAC Announces
                                                                                     See "IAC
                                                                      respectively. See           Announces Agreements
                                                                                                              Agreements to to Sell
                                                                                                                               Sell Shares    relating to
                                                                                                                                     Shares relating   to Match
                                                                                                                                                          Match Group   in Connection
                                                                                                                                                                 Group in                with
                                                                                                                                                                           Connection with
Separation
Separation of    Match Group
              of Match  Group and
                               and IAC,”    News Release
                                    IAC," News      Release Details,
                                                             Details, June
                                                                      June 9,
                                                                            9, 2020,
                                                                               2020,
https://ir.iac.com/news-releases/news-release-details/iac-announces-agreements-sell-shares-relating-match-group.
https://ir.iac.com/news-releases/news-release-details/iac-announces-agreements-sell-shares-relating-match-group.
[32] “Since Match
[32] "Since    Match Group’s
                     Group's initial   public offering
                               initial public  offering in  2015, the
                                                         in 2015, the company
                                                                      company hashas more
                                                                                     more than
                                                                                            than doubled
                                                                                                   doubled subscribers
                                                                                                            subscribers and  revenue. Match
                                                                                                                        and revenue.     Match Group’s     flagship product,
                                                                                                                                                 Group's flagship   product, Tinder,
                                                                                                                                                                             Tinder, is  the highest
                                                                                                                                                                                      is the highest
grossing   non-gaming app
grossing non-gaming          worldwide, with
                        app worldwide,     with aa global
                                                   global presence.”
                                                           presence." The   public record
                                                                       The public          that II have
                                                                                   record that     have reviewed
                                                                                                        reviewed indicates   that aa geographic
                                                                                                                   indicates that                  market segmentation
                                                                                                                                     geographic market     segmentation was
                                                                                                                                                                         was not
                                                                                                                                                                              not necessary
                                                                                                                                                                                  necessary toto
define the
define  the divested
             divested asset.     “IAC and
                             See "IAC
                      asset. See              Match Group
                                         and Match     Group Complete    Full Separation,”
                                                              Complete Full    Separation," IAC,
                                                                                             IAC, July
                                                                                                    July 1,
                                                                                                         1, 2020,
                                                                                                            2020, https://www.iac.com/press-releases/iac-and-match-group-complete-full-
                                                                                                                  https://www.iac.com/press-releases/iac-and-match-group-complete-full-
separation.
separation.
[33]
[33] The    public record
      The public            that II have
                   record that      have reviewed
                                          reviewed also   indicates that
                                                     also indicates  that the
                                                                           the seller  did not
                                                                               seller did  not acquire    the divested
                                                                                                 acquire the   divested asset  within ten
                                                                                                                        asset within   ten years
                                                                                                                                           years before
                                                                                                                                                 before the
                                                                                                                                                         the evaluated
                                                                                                                                                             evaluated divestiture.    Match.com was
                                                                                                                                                                         divestiture. Match.com      was
acquired
acquired byby TMCS
               TMCS (Ticketmaster
                        (Ticketmaster Online-CitySearch
                                         Online-CitySearch Inc.)
                                                               Inc.) in
                                                                      in June
                                                                         June 1999    (i.e. ,, more
                                                                               1999 (i.e.      more than
                                                                                                    than ten
                                                                                                           ten years
                                                                                                               years before  this divestiture’s
                                                                                                                      before this  divestiture's announcement
                                                                                                                                                 announcement date).
                                                                                                                                                                  date). In 2003 (still
                                                                                                                                                                         In 2003          more than
                                                                                                                                                                                   (still more   than ten
                                                                                                                                                                                                      ten years
                                                                                                                                                                                                          years
before this
before   this divestiture's
              divestiture’s announcement       date), IAC
                             announcement date),      IAC acquired
                                                            acquired TMCS,
                                                                       TMCS, and      following Match.com's
                                                                                 and following     Match.com’s IPO      on November
                                                                                                                   IPO on   November 24, 24, 2015,
                                                                                                                                             2015, IAC   retained aa significant
                                                                                                                                                    IAC retained                  stake in
                                                                                                                                                                     significant stake       the company.
                                                                                                                                                                                          in the  company. See
                                                                                                                                                                                                            See
“25 Year
"25  Year Innovator,”
            Innovator," IAC,     https://www.iac.com/history; "IAC
                          IAC, https://www.iac.com/history;        “IAC and     Match Group
                                                                           and Match              Announce Closing
                                                                                         Group Announce                 of Initial
                                                                                                               Closing of          Public Offering,”
                                                                                                                           Initial Public  Offering," IAC,   November 24,
                                                                                                                                                       IAC, November      24, 2015,
                                                                                                                                                                              2015,
https://www.iac.com/press-releases/iac-and-match-group-announce-closing-of-initial-public-offering.
https://www.iac.com/press-releases/iac-and-match-group-announce-closing-of-initial-public-offering.
[34]
[34] II considered
        considered the
                     the start
                          start of
                                of the
                                    the operational
                                        operational timeline
                                                     timeline the
                                                               the date
                                                                   date of   the TSA,
                                                                          of the TSA, June
                                                                                         June 30,
                                                                                                30, 2020.
                                                                                                    2020. II conservatively
                                                                                                              conservatively assumed     the end
                                                                                                                               assumed the   end of  the operational
                                                                                                                                                  of the              timeline to
                                                                                                                                                         operational timeline   to be
                                                                                                                                                                                    be July
                                                                                                                                                                                        July 1,  2022, because
                                                                                                                                                                                              1, 2022,  because
the seller
the seller recorded
            recorded revenues      “from IAC
                       revenues "from           for services
                                           IAC for  services provided
                                                              provided toto IAC
                                                                             IAC under    the transition
                                                                                  under the     transition services
                                                                                                            services agreement”
                                                                                                                     agreement" during     the three-month
                                                                                                                                    during the three-month period
                                                                                                                                                              period ended
                                                                                                                                                                     ended September
                                                                                                                                                                             September 30,      2022. See
                                                                                                                                                                                            30, 2022.  See
Transition
Transition Services     Agreement by
              Services Agreement       by and  between IAC/InterActiveCorp
                                          and between    IAC/InterActiveCorp and   and IAC      Holdings, Inc.,
                                                                                         IAC Holdings,      Inc., dated
                                                                                                                  dated June
                                                                                                                        June 30,   2020,
                                                                                                                              30, 2020,
https://www.sec.gov/Archives/edgar/data/1800227/000110465920080610/tm2022502d7_ex10-1.htm; Match
https://www.sec.gov/Archives/edgar/data/1800227/000110465920080610/tm2022502d7_ex10-1.htm;                                Match Group,     Inc., Foil_110-Q
                                                                                                                                   Group, Inc.,  Form 10-Q forfor the
                                                                                                                                                                  the Quarterly   Period Ended
                                                                                                                                                                      Quarterly Period      Ended September
                                                                                                                                                                                                    September
30, 2022, dated
30, 2022,    dated November
                   November 4,       2022, https://www.sec.gov/Archives/edgar/data/891103/000089110322000095/mtch-20220930.htm,
                                 4, 2022,   https://www.sec.gov/Archives/edgar/data/891103/000089110322000095/mtch-20220930.htm, p.                        p. 27.
                                                                                                                                                              27.




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                                                                                              Page 8 of 16
                                                                                             APP    -'696
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                                                                                    Exhibit 1 Notes
                                                                                    Exhibit 1 Notes and Sources
                                                                                                    and Sources


C7
C7 -- Vimeo,
      Vimeo, Inc.
             Inc.
[35]
[35] The  divestiture involved
     The divestiture  involved thethe spin-off
                                      spin-off of
                                               of Vimeo,   “the video
                                                   Vimeo, "the   video platfouuu
                                                                       platform enabling
                                                                                 enabling any   business in
                                                                                           any business   in the
                                                                                                             the world
                                                                                                                 world from
                                                                                                                        from Fortune
                                                                                                                               Fortune 500s   to local
                                                                                                                                         500s to local shops
                                                                                                                                                       shops to
                                                                                                                                                              to harness
                                                                                                                                                                 harness the
                                                                                                                                                                         the power
                                                                                                                                                                             power of
                                                                                                                                                                                    of video
                                                                                                                                                                                       video in
                                                                                                                                                                                             in
countless ways
countless  ways to
                to better create, communicate,
                   better create,   communicate, and    collaborate.” The
                                                    and collaborate."  The public   record that
                                                                             public record that II have
                                                                                                   have reviewed
                                                                                                        reviewed indicates
                                                                                                                  indicates that
                                                                                                                              that aa geographic  market segmentation
                                                                                                                                      geographic market                  was not
                                                                                                                                                          segmentation was    not necessary
                                                                                                                                                                                  necessary to
                                                                                                                                                                                            to
define the
define the divested
           divested asset.        “IAC Completes
                            See "IAC
                     asset. See          Completes Spin-Off
                                                     Spin-Off Of
                                                               Of Vimeo,”
                                                                    Vimeo," IAC,   May 25,
                                                                             IAC, May   25, 2021,
                                                                                            2021, https://www.iac.com/press-releaseshac-completes-spin-off-of-vimeo.
                                                                                                    https://www.iac.com/press-releases/iac-completes-spin-off-of-vimeo.
[36]
[36] The  public record
     The public          that II have
                 record that     have reviewed
                                       reviewed indicates   that the
                                                  indicates that the seller
                                                                     seller did not acquire
                                                                            did not         the divested
                                                                                    acquire the  divested asset  within ten
                                                                                                           asset within  ten years
                                                                                                                             years before
                                                                                                                                     before the
                                                                                                                                            the evaluated  divestiture.
                                                                                                                                                evaluated divestiture.
[37]
[37] II considered
        considered the
                    the start
                        start of
                              of the
                                 the operational
                                     operational timeline
                                                 timeline the
                                                          the date
                                                              date of the TSA,
                                                                   of the       May 24,
                                                                          T SA, May   24, 2021.
                                                                                          2021. II made
                                                                                                   made the
                                                                                                        the conservative
                                                                                                            conservative assumption   that the
                                                                                                                         assumption that   the end of the
                                                                                                                                               end of the operational
                                                                                                                                                          operational timeline
                                                                                                                                                                      timeline is
                                                                                                                                                                               is January
                                                                                                                                                                                  January 1,
                                                                                                                                                                                          1,
2023 because,
2023   because, as  of at
                as of  at least
                          least January
                                January 1, 2023, IAC
                                        1, 2023,  IAC continued  to receive
                                                      continued to           fees "for
                                                                    receive fees  “for services
                                                                                       services rendered
                                                                                                rendered pursuant to the
                                                                                                         pursuant to the transition
                                                                                                                         transition services
                                                                                                                                    services agreement.”   See Transition
                                                                                                                                             agreement." See   Transition Services
                                                                                                                                                                          Services
Agreement by
Agreement    by and
                and between
                     between IAC/InterActiveCorp
                                IAC/InterActiveCorp and
                                                      and Vimeo,
                                                           Vimeo, Inc.,  dated May
                                                                   Inc., dated May 24,
                                                                                     24, 2021,
                                                                                         2021,
https://www.sec.gov/Archives/edgar/data/1837686/000110465921073207/tm2117737d1_ex10-3.htm; IAC
https://www.sec.gov/Archives/edgar/data/1837686/000110465921073207/tm2117737dl_ex10-3.htm;                    IAC Inc., Form 10-Q
                                                                                                                  Inc., Four         for the
                                                                                                                              10-Q for   the Quarterly Period Ended
                                                                                                                                             Quarterly Period Ended March
                                                                                                                                                                      March 31,
                                                                                                                                                                             31, 2023,
                                                                                                                                                                                  2023,
https://www.sec.gov/Archives/edgar/data/1800227/000180022723000016/iaci-20230331.htm.
https://www.  sec. gov/Archives/edgar/data/1800227/000180022723000016/iaci-20230331.htm.
C8
C8 -- SolarWinds
      SolarWinds MSP MSP
[38]
[38] S&P
     S&P Capital
           Capital IQ
                   IQ Pro
                       Pro presents  the target
                           presents the  target as “N-able, Inc.,”
                                                as "N-able,        which is
                                                            Inc.," which    the name
                                                                         is the      of the
                                                                                name of the spun-off
                                                                                            spun-off company.
                                                                                                     company. For
                                                                                                              For clarity,
                                                                                                                  clarity, II have
                                                                                                                              have replaced
                                                                                                                                   replaced this
                                                                                                                                            this by
                                                                                                                                                 by the
                                                                                                                                                    the name
                                                                                                                                                        name of
                                                                                                                                                             of the
                                                                                                                                                                the SolarWinds
                                                                                                                                                                    SolarWinds
division that
division that existed
              existed prior
                      prior to
                            to the
                               the spin-off.
                                   spin-off.
[39]
[39] SolarWinds
     SolarWinds spun  off its
                spun off      Managed Service
                          its Managed            Provider (“MSP”)
                                         Service Provider            business into
                                                           ("MSP") business   into aa separate
                                                                                      separate company   called N-able.
                                                                                               company called   N-able. The
                                                                                                                        The public record that
                                                                                                                            public record that II have
                                                                                                                                                  have reviewed
                                                                                                                                                       reviewed indicates
                                                                                                                                                                indicates that
                                                                                                                                                                          that aa
geographic market segmentation
geographic market segmentation waswas not   necessary to
                                        not necessary to define
                                                         define the
                                                                the divested
                                                                    divested asset.      Kara Carlson,
                                                                                    See Kara
                                                                             asset. See                 “SolarWinds Spins
                                                                                               Carlson, "SolarWinds  Spins Off  Business Unit
                                                                                                                            Off Business Unit into  New Company,
                                                                                                                                               into New             N-able,”
                                                                                                                                                          Company, N-able,"
TechXplore,
TechXplore, July
            July 21, 2021, https://techxplore.com/news/2021-07-solarwinds-business-company-n-able.html.
                 21, 2021,   https://techxplore.com/news/2021-07-solarwinds-business-company-n-able.html.
[40]
[40] The  public record
     The public            that II have
                  record that      have reviewed
                                         reviewed indicates    that the
                                                    indicates that   the seller
                                                                         seller did not acquire
                                                                                did not          the divested
                                                                                         acquire the divested asset   within ten
                                                                                                                asset within ten years
                                                                                                                                 years before
                                                                                                                                        before the
                                                                                                                                                the evaluated  divestiture. II note
                                                                                                                                                    evaluated divestiture.     note that
                                                                                                                                                                                    that SolarWinds’
                                                                                                                                                                                         SolarWinds'
2013 acquisition
2013  acquisition of
                   of aa different
                         different company
                                    company that
                                               that was
                                                     was also   called "N-able"
                                                          also called   “N-able” is
                                                                                  is irrelevant
                                                                                     irrelevant for
                                                                                                for this
                                                                                                    this evaluation.  Following this
                                                                                                         evaluation. Following    this 2013
                                                                                                                                       2013 acquisition,
                                                                                                                                             acquisition, SolarWinds
                                                                                                                                                           SolarWinds integrated     the assets
                                                                                                                                                                        integrated the           of N-able
                                                                                                                                                                                          assets of N-able
with the
with the assets  of another
         assets of            company that
                    another company       that SolarWinds
                                               SolarWinds acquired
                                                             acquired in in 2016  (LOGICnow) to
                                                                            2016 (LOGICnow)       to create “SolarWindsMSP.” Then,
                                                                                                     create "SolarWindsMSP."       Then, in  2021, SolarWinds
                                                                                                                                          in 2021,               spun off
                                                                                                                                                    SolarWinds spun        “SolarWindsMSP” as
                                                                                                                                                                       off "SolarWindsMSP"        as aa
new entity,
new          which SolarWinds
     entity, which   SolarWinds named       “N-able.” See
                                    named "N-able."     See Stefanie     Hammond, "Happy
                                                              Stefanie Hammond,       “Happy anniversary
                                                                                               anniversary toto me!,"
                                                                                                                me!,” N-able,
                                                                                                                       N-able, November
                                                                                                                               November 24, 24, 2021,
                                                                                                                                                 2021, https://www.n-able.com/fr/blog/happy-
                                                                                                                                                       https://www.n-able.com/fr/blog/happy-
anniversary-to-me.
anniversary-to-me.
[41]
[41] The
     The TSA    was dated
          TSA was     dated as   of July
                             as of  July 16,  2021, and
                                          16, 2021,       the transition
                                                      and the transition services   were expected
                                                                           services were   expected to
                                                                                                     to end  on December
                                                                                                        end on   December 31,31, 2022
                                                                                                                                 2022 (“The   transition services
                                                                                                                                       ("The transition  services agreement
                                                                                                                                                                  agreement willwill tell_linate
                                                                                                                                                                                     terminate onon the
                                                                                                                                                                                                    the
expiration  of the
expiration of  the tem'
                   term ofof the
                             the last  service provided
                                  last service provided under
                                                           under it,  which SolarWinds
                                                                  it, which                anticipates to
                                                                             SolarWinds anticipates     to be
                                                                                                           be on
                                                                                                              on or
                                                                                                                  or around  December 31,
                                                                                                                     around December         2022.”). See
                                                                                                                                         31, 2022.").  See Transition
                                                                                                                                                            Transition Services     Agreement by
                                                                                                                                                                        Services Agreement       by and
                                                                                                                                                                                                    and
between SolarWinds
between   SolarWinds Corporation
                         Corporation and     N-Able, Inc.,
                                        and N-Able,    Inc., dated
                                                             dated July
                                                                     July 16,  2021, https://www.sec.gov/Archives/edgar/data/1739942/000162828021014064/exhibit101-
                                                                          16, 2021,   https://www.sec.gov/Archives/edgar/data/1739942/000162828021014064/exhibit101-
swinxable8xk.htm;
swinxable8xk.htm;
SolarWinds
SolarWinds Corporation,       Form 10-K for
              Corporation, Foil_110-K       for the
                                                the Fiscal
                                                     Fiscal Year   Ended December
                                                            Year Ended     December 31, 31, 2021,
                                                                                            2021, https://www.sec.gov/Archives/edgar/data/1739942/000173994222000020/swi-
                                                                                                   https://www.sec.gov/Archives/edgar/data/1739942/000173994222000020/swi-
20211231.htm, p.
20211231.htm,     p. F-36.
                     F-36.




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                                                                                    Exhibit 1 Notes
                                                                                    Exhibit 1 Notes and Sources
                                                                                                    and Sources


C9
C9 -- Software
      Software Business
               Business of Hewlett Packard
                        of Hewlett Packard Enterprise
                                           Enterprise
[42] Micro Focus
[42] Micro Focus International
                  International "purchase[d]
                                 “purchase[d] […]        Hewlett Packard
                                                  [. ..] Hewlett Packard Enterprise's
                                                                           Enterprise’s software
                                                                                          software business  for £6.8bn.”
                                                                                                    business for £6.8bn." II used
                                                                                                                             used the
                                                                                                                                  the U.S.
                                                                                                                                      U.S. dollar
                                                                                                                                           dollar value
                                                                                                                                                  value of
                                                                                                                                                        of $9.00 billion as
                                                                                                                                                           $9.00 billion as reported
                                                                                                                                                                            reported by
                                                                                                                                                                                     by S&P
                                                                                                                                                                                        S&P
Capital
Capital IQ Pro. The
        IQ Pro.     public record
                The public           that II have
                             record that     have reviewed
                                                   reviewed indicates   that aa geographic
                                                              indicates that                 market segmentation
                                                                                geographic market    segmentation was
                                                                                                                   was not
                                                                                                                        not necessary
                                                                                                                             necessary to
                                                                                                                                       to define
                                                                                                                                          define the
                                                                                                                                                 the divested
                                                                                                                                                     divested asset.
                                                                                                                                                              asset. See “UK Tech
                                                                                                                                                                     See "UK   Tech Giant
                                                                                                                                                                                     Giant
Micro Focus
Micro Focus Plunges
             Plunges in
                      in Value
                         Value asas Shares
                                    Shares Crash,”      BBC, March
                                              Crash," BBC,    March 19,   2018, https://www.bbc.com/news/business-43457024.
                                                                      19, 2018,   https://www.bbc.com/news/business-43457024.
[43]
[43] The public record that I have reviewed indicates that the seller did not acquire
     The public record  that I have  reviewed    indicates  that the seller did  not          the divested
                                                                                     acquire the  divested asset within ten
                                                                                                           asset within ten years
                                                                                                                             years before
                                                                                                                                   before the
                                                                                                                                          the evaluated divestiture.
                                                                                                                                              evaluated divestiture.
[44]  “The initial
[44] "The           term of
            initial teen of the
                             the Transition
                                 Transition Services    Agreement will
                                              Services Agreement   will be
                                                                        be nine
                                                                           nine months,
                                                                                months, and  each party
                                                                                         and each       in certain
                                                                                                  party in         circumstances may
                                                                                                           certain circumstances may extend
                                                                                                                                     extend the
                                                                                                                                            the teen
                                                                                                                                                term of
                                                                                                                                                     of services
                                                                                                                                                        services it
                                                                                                                                                                 it will
                                                                                                                                                                    will receive for up
                                                                                                                                                                         receive for up to
                                                                                                                                                                                        to
two three-month
two  three-month periods
                    periods (for
                             (for aa total
                                     total teen
                                           term of
                                                of up
                                                   up to
                                                       to 15 months).” See
                                                          15 months)." See Transition
                                                                            Transition Services Agreement by
                                                                                       Services Agreement   by and
                                                                                                               and between  Hewlett Packard
                                                                                                                    between Hewlett Packard Enterprise
                                                                                                                                            Enterprise Company
                                                                                                                                                        Company andand Seattle
                                                                                                                                                                        Seattle SpinCo,
                                                                                                                                                                                SpinCo,
Inc.,
Inc., dated
      dated September
             September 1, 1, 2017,
                             2017, https://www.sec.gov/Archives/edgar/data/1645590/000156761917001826/s001851xl_ex2-3.htm;
                                     https://www.sec.gov/Archives/edgar/data/1645590/000156761917001826/s001851x1_ex2-3.htm;
Seattle
Seattle SpinCo,
         SpinCo, Inc.
                   Inc. and  Micro Focus
                        and Micro     Focus International
                                             International plc,
                                                           plc, Foul'
                                                                Form 42B3,  dated August
                                                                      42B3, dated August 15,  2017,
                                                                                          15, 2017,
https://www.sec.gov/Archives/edgar/data/1359711/000156761917001747/s001838x1_424b3.htm#t149%7Dt149,
https ://www. sec. gov/Archives/edgar/data/1359711/000156761917001747/s001838x1_424b3.htm#t149%7Dt149, p.                  p. 219.
                                                                                                                              219.
C10
C10 -- ADP
        ADP Dealer
              Dealer Services,
                       Services, Inc.
                                   Inc.
[45] “Automatic Data
[45] "Automatic   Data Processing,
                        Processing, Inc.   (ADP) completed
                                      Inc. (ADP)   completed the
                                                              the distribution
                                                                   distribution to
                                                                                to its  stockholders of
                                                                                    its stockholders of all of the
                                                                                                        all of the issued
                                                                                                                   issued and  outstanding common
                                                                                                                           and outstanding            stock of
                                                                                                                                             common stock   of CDK
                                                                                                                                                               CDK Global,
                                                                                                                                                                      Global, Inc.
                                                                                                                                                                                Inc. in
                                                                                                                                                                                     in aa tax-free
                                                                                                                                                                                           tax-free
spin-off. The
spin-off.     distribution completes
          The distribution completes thethe spin-off
                                            spin-off by ADP of
                                                     by ADP   of its
                                                                  its automotive
                                                                      automotive dealer    services business."
                                                                                   dealer services  business.” The   public record
                                                                                                                The public         that II have
                                                                                                                            record that    have reviewed
                                                                                                                                                reviewed indicates   that aa geographic
                                                                                                                                                          indicates that                   market
                                                                                                                                                                             geographic market
segmentation was
segmentation  was not  necessary to
                   not necessary    to define
                                       define the
                                              the divested
                                                  divested asset.       “ADP Completes
                                                                   See "ADP
                                                           asset. See          Completes Spin-Off     of Automotive
                                                                                            Spin-Off of  Automotive Dealer
                                                                                                                       Dealer Services   Business,” Paul
                                                                                                                               Services Business,"   Paul Weiss,
                                                                                                                                                          Weiss, September
                                                                                                                                                                  September 30, 30, 2014,
                                                                                                                                                                                    2014,
https://www.paulweiss.com/practices/transactional/corporate/news/adp-completes-spin-off-of-automotive-dealer-services-business?id=18827.
https://www.paulweiss.com/practices/transactional/corporate/news/adp-completes-spin-off-of-automotive-dealer-services-business?id=18827.
[46]
[46] The  public record
     The public          that II have
                 record that     have reviewed
                                      reviewed indicates  that the
                                                indicates that the seller
                                                                    seller did not acquire
                                                                           did not           the divested
                                                                                   acquire the   divested asset within ten
                                                                                                          asset within  ten years
                                                                                                                            years before
                                                                                                                                  before the
                                                                                                                                          the evaluated divestiture.
                                                                                                                                              evaluated divestiture.
[47]
[47] II considered
        considered the
                    the start
                        start of
                              of the
                                 the operational
                                     operational timeline
                                                   timeline the
                                                            the date
                                                                date of the TSA,
                                                                     of the TSA, September
                                                                                  September 29, 29, 2014.
                                                                                                    2014. II considered   the end
                                                                                                             considered the       of the
                                                                                                                              end of the operational
                                                                                                                                         operational timeline
                                                                                                                                                      timeline September
                                                                                                                                                               September 30,  2015, the
                                                                                                                                                                          30, 2015, the last
                                                                                                                                                                                        last date
                                                                                                                                                                                             date
of the
of the transitional
        transitional period
                     period "pursuant
                            “pursuant toto the
                                           the transition
                                               transition services
                                                          services agreement”   with ADP.
                                                                   agreement" with     ADP. See
                                                                                              See CDK
                                                                                                   CDK Global,
                                                                                                        Global, Inc.,    Form 10-Q
                                                                                                                   Inc., Foun        for the
                                                                                                                               10-Q for  the Quarterly  Period Ended
                                                                                                                                             Quarterly Period  Ended September
                                                                                                                                                                      September 30,  2014,
                                                                                                                                                                                 30, 2014,
https://www.sec.gov/Archives/edgar/data/1609702/000160970214000006/cdk_q1fy1510-q.htm, p.
https://www.sec.gov/Archives/edgar/data/1609702/000160970214000006/cdk_qlfy1510-q.htm,                       p. 34;
                                                                                                                34; CDK
                                                                                                                    CDK Global,    Inc., Foul'
                                                                                                                           Global, Inc., Form 10-Q   for the
                                                                                                                                               10-Q for  the Quarterly Period Ended
                                                                                                                                                             Quarterly Period Ended December
                                                                                                                                                                                     December
31, 2015, https://www.sec.gov/Archives/edgar/data/1609702/000160970216000037/cdk_q2fy1610-q.htm,
31, 2015,   https://www.sec.gov/Archives/edgar/data/1609702/000160970216000037/cdk_q2fy1610-q.htm, p.                   p. 7.
                                                                                                                           7.
C11
C11 -- Website
        Website security
                  security business
                            business of
                                      of Symantec
                                          Symantec Corporation
                                                      Corporation
[48]
[48] S&P
      S&P Capital
            Capital IQ
                     IQ Pro
                        Pro presents  the seller
                             presents the  seller as “Gen Digital
                                                  as "Gen  Digital Inc.” For clarity,
                                                                   Inc." For clarity, II have
                                                                                         have replaced
                                                                                              replaced this
                                                                                                       this by
                                                                                                             by the
                                                                                                                 the name
                                                                                                                     name ofof Gen  Digital’s corporate
                                                                                                                               Gen Digital's             predecessor, Symantec
                                                                                                                                              corporate predecessor,  Symantec Corporation.
                                                                                                                                                                                Corporation.
[49] DigiCert announced
[49] DigiCert                that it
                 announced that     it acquired   “Symantec’s Website
                                       acquired "Symantec's      Website Security    business.” The
                                                                          Security business."          public record
                                                                                                  The public          that II have
                                                                                                              record that     have reviewed
                                                                                                                                    reviewed indicates  that aa geographic
                                                                                                                                              indicates that                market segmentation
                                                                                                                                                                geographic market   segmentation waswas
not necessary
not necessary toto define  the divested
                    define the  divested asset.    See John
                                            asset. See       Merrill, "DigiCert
                                                        John Merrill,  “DigiCert toto Acquire
                                                                                      Acquire Symantec’s
                                                                                                 Symantec's Website
                                                                                                              Website Security      Business,” DigiCert,
                                                                                                                        Security Business,"    DigiCert, August
                                                                                                                                                          August 2,2, 2017,
                                                                                                                                                                      2017,
https://www.digicert.com/blog/digicert-to-acquire-symantec-website-security-business.
https://www.digicert.com/blog/digicert-to-acquire-symantec-website-security-business.
[50]
[50] The   public record
      The public           that II have
                   record that     have reviewed
                                         reviewed indicates    that the
                                                     indicates that the seller
                                                                        seller did  not acquire
                                                                               did not             the divested
                                                                                         acquire the   divested asset within ten
                                                                                                                asset within    ten years
                                                                                                                                    years before
                                                                                                                                          before the
                                                                                                                                                 the evaluated   divestiture.
                                                                                                                                                     evaluated divestiture.
[51] From the
[51] From    the Purchase   Agreement between
                 Purchase Agreement        between Symantec
                                                      Symantec and    Digicert: "Unless
                                                                 and Digicert:   “Unless otherwise
                                                                                           otherwise agreed    by Anion
                                                                                                       agreed by  Arion (refers
                                                                                                                         (refers toto DigiCert)
                                                                                                                                      DigiCert) and
                                                                                                                                                and Sphinx   (refers to
                                                                                                                                                     Sphinx (refers   to Symantec)  or set
                                                                                                                                                                         Symantec) or  set forth
                                                                                                                                                                                           forth in the
                                                                                                                                                                                                 in the
Preliminary Transition
Preliminary    Transition Service
                           Service Schedules,
                                      Schedules, nono Transition   Period will
                                                       Transition Period  will last
                                                                                last for
                                                                                     for more
                                                                                          more than
                                                                                                than 12   months following
                                                                                                      12 months   following thethe Closing  Date (excluding
                                                                                                                                   Closing Date   (excluding any
                                                                                                                                                              any extensions   made to
                                                                                                                                                                   extensions made   to the
                                                                                                                                                                                        the Transition
                                                                                                                                                                                            Transition
Period in
Period   in accordance   with the
            accordance with    the teens
                                     terms of  the Transition
                                            of the  Transition Services  Agreement).” From
                                                                Services Agreement)."      From the
                                                                                                  the 10-Q  for the
                                                                                                      10-Q for  the Quarterly     Period Ended
                                                                                                                     Quarterly Period    Ended December
                                                                                                                                                December 29,
                                                                                                                                                           29, 2017:
                                                                                                                                                                 2017: "The
                                                                                                                                                                        “The services
                                                                                                                                                                              services under
                                                                                                                                                                                       under the
                                                                                                                                                                                             the TSA
                                                                                                                                                                                                  TSA
commenced with
commenced      with the
                     the close
                         close of
                                of the
                                    the transaction
                                        transaction and   expire at
                                                      and expire     various dates
                                                                  at various         through fiscal
                                                                             dates through    fiscal 2019,   with extension
                                                                                                      2019, with  extension options.”
                                                                                                                               options." See  Purchase Agreement
                                                                                                                                          See Purchase  Agreement by  by and
                                                                                                                                                                          and among
                                                                                                                                                                              among Symantec
                                                                                                                                                                                      Symantec
Corporation,    DigiCert Parent,
Corporation, DigiCert     Parent, Inc.,
                                     Inc., and  DigiCert, Inc.,
                                           and DigiCert,   Inc., dated
                                                                 dated August
                                                                       August 2,2, 2017,
                                                                                   2017, https://www.sec.gov/Archives/edgar/data/849399/000084939917000016/a092917exhibit21.htm,
                                                                                           https://www.sec.gov/Archives/edgar/data/849399/000084939917000016/a092917exhibit21.htm,
pp. 111-112;
pp. 111-112; Symantec
                Symantec Corporation,        Form 10-Q
                            Corporation, Foul'      10-Q for
                                                          for the
                                                              the Quarterly  Period Ended
                                                                  Quarterly Period     Ended December
                                                                                              December 29, 29, 2017,
                                                                                                               2017,
https://www.sec.gov/Archives/edgar/data/849399/000084939918000004/symc122917-10q.htm,
https ://www. sec. gov/Archives/edgar/data/849399/000084939918000004/symc122917-10q. htm, p.                     p. 14.
                                                                                                                    14.




                                                                                          APP-698
                                                                                          Page 10 of 16
                                                                                          APP°4
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                                                                                 Exhibit 1 Notes
                                                                                 Exhibit 1 Notes and Sources
                                                                                                 and Sources


C12
C12 -- Software Portfolio of
       Software Portfolio of IBM
                             IBM Corp.
                                 Corp.
[52] HCL Technologies
[52] HCL    Technologies agreed
                           agreed toto buy
                                       buy select
                                            select software  products from
                                                   software products   from IBM.
                                                                             IBM. The   public record
                                                                                    The public         that II have
                                                                                                record that    have reviewed
                                                                                                                    reviewed indicates  that aa geographic
                                                                                                                              indicates that               market segmentation
                                                                                                                                                geographic market  segmentation was
                                                                                                                                                                                was not
                                                                                                                                                                                    not
necessary to
necessary   to define
               define the
                      the divested
                          divested asset.       “HCL Technologies
                                            See "HCL
                                     asset. See         Technologies toto Buy
                                                                          Buy IBM
                                                                                IBM Software    Products in
                                                                                      Software Products   in $1.8 Billion Deal,"
                                                                                                             $1.8 Billion Deal,” Nikkei
                                                                                                                                  Nikkei Asia,
                                                                                                                                          Asia, December
                                                                                                                                                 December 7,  2018,
                                                                                                                                                           7, 2018,
https://asia.nikkei.com/Business/Companies/HCL-Technologies-to-buy-IBM-software-products-in-1.8-billion-deal.
https://asia.nikkei.com/Business/Companies/HCL-Technologies-to-buy-IBM-software-products-in-1.8-billion-deal.
[53]
[53] The   public record
     The public           that II have
                  record that     have reviewed
                                       reviewed indicates   that the
                                                  indicates that the seller
                                                                     seller did  not acquire
                                                                            did not          the divested
                                                                                     acquire the divested asset  within ten
                                                                                                           asset within ten years
                                                                                                                            years before
                                                                                                                                  before the
                                                                                                                                         the evaluated  divestiture.
                                                                                                                                              evaluated divestiture.
[54] For the
[54] For the lower
              lower bound    of the
                      bound of   the operational
                                     operational timeline,
                                                  timeline, II conservatively
                                                               conservatively assumed
                                                                              assumed that that the
                                                                                                the start
                                                                                                    start date
                                                                                                          date is
                                                                                                               is January  31, 2019
                                                                                                                  January 31,  2019 because
                                                                                                                                    because HCL
                                                                                                                                             HCL Tech
                                                                                                                                                  Tech announced
                                                                                                                                                        announced in
                                                                                                                                                                   in January  2019 that
                                                                                                                                                                      January 2019   that "HCL
                                                                                                                                                                                          “HCL isis
working on
working  on aa smooth
                smooth transition
                         transition plan."
                                    plan.” As
                                            As the
                                               the end
                                                    end date,
                                                        date, II conservatively
                                                                 conservatively used
                                                                                 used the
                                                                                       the date
                                                                                             date of
                                                                                                  of the
                                                                                                     the deal
                                                                                                          deal close,
                                                                                                               close, June
                                                                                                                      June 30, 2019. For
                                                                                                                           30, 2019. For the
                                                                                                                                         the upper
                                                                                                                                             upper bound,
                                                                                                                                                   bound, II conservatively
                                                                                                                                                             conservatively used
                                                                                                                                                                            used 365
                                                                                                                                                                                 365 days
                                                                                                                                                                                      days
because IBM
because  IBM stated    that "HCL
                stated that “HCL cancan renew
                                         renew certain
                                                certain [transition] services up
                                                        [transition] services up to
                                                                                  to an
                                                                                     an additional    year.” See
                                                                                          additional year."        “HCL Announces
                                                                                                              See "HCL    Announces Acquisition
                                                                                                                                      Acquisition of
                                                                                                                                                  of Select
                                                                                                                                                     Select IBM  Products Frequently
                                                                                                                                                            IBM Products   Frequently Asked
                                                                                                                                                                                       Asked
Questions,”  Products &
Questions," Products     & Platfouns,
                            Platforms, https://www.hcltech.com/sites/default/files/documents/inline-migration/general_faq_jan_2019.pdf,
                                        https://www.hcltech.com/sites/default/files/documents/inline-migration/general_faq_jan_2019.pdf, p.          p. 3;
                                                                                                                                                        3; IBM
                                                                                                                                                           IBM Corporation,   Form 10-Q
                                                                                                                                                                Corporation, Foul'         for the
                                                                                                                                                                                    10-Q for   the
Quarter Ended September
Quarter Ended                 30, 2019,
                  September 30,    2019, https://www.
                                          https://www.sec.gov/Archives/edgar/data/51143/000155837019009324/ibm-20190930x10q.htm,
                                                        sec. gov/Archives/edgar/data/51143/000155837019009324/ibm-20190930x10q.htm, p.               p. 52.
                                                                                                                                                        52.
C13
C13 -- GoTo    subsidiary of
       GoTo subsidiary      of Citrix
                                Citrix Systems,
                                        Systems, Inc.
                                                   Inc.
[55]
[55] S&P
     S&P Capital
          Capital IQ IQ Pro
                        Pro presents   the seller
                             presents the  seller as “GoTo Group
                                                  as "GoTo    Group Inc.”  For clarity,
                                                                     Inc." For  clarity, II have
                                                                                            have replaced   this by
                                                                                                  replaced this   by the
                                                                                                                     the name
                                                                                                                         name of
                                                                                                                               of GoTo
                                                                                                                                  GoTo Group’s
                                                                                                                                       Group's corporate   predecessor, LogMeIn
                                                                                                                                                corporate predecessor,  LogMeIn Inc.
                                                                                                                                                                                  Inc.
[56]
[56] The divested asset
     The divested        is "a
                   asset is “a unit
                                unit of
                                     of Citrix
                                        Citrix Systems
                                               Systems Inc   (CTXS.O) that
                                                        Inc (CTXS.O)      that makes
                                                                               makes software    products such
                                                                                      software products   such as
                                                                                                                as GoToMeeting[.]”
                                                                                                                   GoToMeeting[.]" The    public record
                                                                                                                                     The public         that II have
                                                                                                                                                 record that    have reviewed
                                                                                                                                                                      reviewed indicates that aa
                                                                                                                                                                               indicates that
geographic  market segmentation
geographic market   segmentation was was not  necessary to
                                         not necessary  to define
                                                            define the
                                                                    the divested
                                                                        divested asset.       Liana B.
                                                                                         See Liana
                                                                                  asset. See        B. Baker,
                                                                                                       Baker, "LogMeIn
                                                                                                               “LogMeIn to to Merge
                                                                                                                              Merge with
                                                                                                                                    with Citrix’s
                                                                                                                                          Citrix's GoTo  Unit in
                                                                                                                                                   GoTo Unit       All-Stock Deal,"
                                                                                                                                                                in All-Stock Deal,” Yahoo
                                                                                                                                                                                    Yahoo
Finance, July
Finance,      26, 2016,
         July 26, 2016, https://finance.yahoo.com/news/logmein-merge-citrixs-goto-unit-002645133.html.
                         https://finance.yahoo.com/news/logmein-merge-citrixs-goto-unit-002645133.html.
[57]
[57] The public record
     The public         that II have
                record that     have reviewed
                                      reviewed indicates   that the
                                                indicates that  the seller
                                                                     seller did not acquire
                                                                            did not          the divested
                                                                                    acquire the  divested asset within ten
                                                                                                          asset within ten years
                                                                                                                           years before
                                                                                                                                 before the
                                                                                                                                        the evaluated divestiture.
                                                                                                                                            evaluated divestiture.
[58]
[58] II considered
        considered the
                    the start
                        start of
                              of the
                                 the operational
                                     operational timeline
                                                  timeline the
                                                           the date
                                                               date of the TSA,
                                                                    of the T SA, January
                                                                                 January 31, 2017. II considered
                                                                                         31, 2017.               the end
                                                                                                      considered the     of the
                                                                                                                     end of  the operational
                                                                                                                                 operational timeline
                                                                                                                                             timeline December
                                                                                                                                                      December 31,  2017, the
                                                                                                                                                                31, 2017, the date when
                                                                                                                                                                              date when
the company
the company stated    that "the
               stated that “the transition
                                 transition services
                                            services are substantially complete."
                                                     are substantially complete.” See  LogMeIn, Inc.,
                                                                                   See LogMeIn,         Form 10-K
                                                                                                 Inc., Foun        for the
                                                                                                              10-K for the Fiscal
                                                                                                                           Fiscal Year
                                                                                                                                   Year ended  December 31,
                                                                                                                                        ended December        2016,
                                                                                                                                                          31, 2016,
https://www.sec.gov/Archives/edgar/data/1420302/000119312517063977/d301311d10k.htm, p.
https://www.sec.gov/Archives/edgar/data/1420302/000119312517063977/d301311d10k.htm,                   p. 90; LogMeIn, Inc.,
                                                                                                         90; LogMeIn,        Form 10-K
                                                                                                                       Inc., Foul'       for the
                                                                                                                                   10-K for  the Fiscal
                                                                                                                                                 Fiscal Year ended December
                                                                                                                                                        Year ended December 31,
                                                                                                                                                                              31, 2017,
                                                                                                                                                                                  2017,
https://www.sec.gov/Archives/edgar/data/1420302/000119312518050503/d506130d10k.htm,
https ://www. sec. gov/Archives/edgar/data/1420302/000119312518050503/d506130d10k.htm, p.             p. 71.
                                                                                                         71.




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                                                                                       APPLEM
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                                                                                  Exhibit 1 Notes
                                                                                  Exhibit 1 Notes and Sources
                                                                                                  and Sources


C14
C14 -- Enterprise
       Enterprise security
                  security business
                           business of
                                    of Symantec
                                       Symantec Corporation
                                                Corporation
[59]
[59] S&P
     S&P Capital
         Capital IQ
                 IQ Pro
                    Pro presents the seller
                        presents the seller as “Gen Digital
                                            as "Gen Digital Inc.” For clarity,
                                                            Inc." For clarity, II have
                                                                                  have replaced
                                                                                       replaced this
                                                                                                this by
                                                                                                     by the
                                                                                                        the name
                                                                                                            name of
                                                                                                                 of Gen Digital’s corporate
                                                                                                                    Gen Digital's           predecessor, Symantec
                                                                                                                                  corporate predecessor, Symantec Corporation.
                                                                                                                                                                  Corporation.
[60]  Broadcom announced
[60] Broadcom       announced plans     to "acquire
                                 plans to  “acquire the
                                                     the enterprise  security business
                                                         enterprise security   business of
                                                                                        of Symantec
                                                                                           Symantec Corporation[.]”
                                                                                                      Corporation[.]" The
                                                                                                                       The public  record that
                                                                                                                            public record  that II have
                                                                                                                                                   have reviewed
                                                                                                                                                        reviewed indicates
                                                                                                                                                                   indicates that
                                                                                                                                                                              that aa geographic
                                                                                                                                                                                      geographic
market segmentation
market     segmentation was
                          was not   necessary to
                               not necessary   to define
                                                  define the
                                                          the divested
                                                              divested asset.  “[Symantec Corporation]
                                                                        asset. "[Symantec                 is now
                                                                                            Corporation] is  now NortonLifeLock
                                                                                                                  NortonLifeLock Inc.,    but its
                                                                                                                                    Inc., but its previous  name will
                                                                                                                                                   previous name  will live  on since
                                                                                                                                                                        live on since Broadcom
                                                                                                                                                                                        Broadcom
owns the
owns    the rights
             rights to
                    to the
                       the Symantec    name for
                           Symantec name     for the
                                                 the company’s
                                                      company's previous     enterprise security
                                                                   previous enterprise  security products.”       “Broadcom to
                                                                                                             See "Broadcom
                                                                                                 products." See                to Acquire
                                                                                                                                  Acquire Symantec     Enterprise Security
                                                                                                                                           Symantec Enterprise               Business for
                                                                                                                                                                    Security Business    for $10.7
                                                                                                                                                                                             $10.7
Billion in
Billion    in Cash,”  Broadcom, August
              Cash," Broadcom,      August 8,
                                            8, 2019,
                                               2019, https://investors.broadcom.com/news-releases/news-release-details/broadcom-acquire-symantec-enterprise-security-business-107;              107;
Duncan Riley,
Duncan      Riley, "Symantec
                   “Symantec Is     Now NortonLifeLock
                                Is Now   NortonLifeLock as     Broadcom Closes
                                                            as Broadcom             Purchase of
                                                                            Closes Purchase  of Its Enterprise Business,"
                                                                                                Its Enterprise  Business,” SiliconANGLE,      November 5,
                                                                                                                            SiliconANGLE, November           2019,
                                                                                                                                                          5, 2019,
https://siliconangle.com/2019/11/05/symantec-now-nortonlifelock-broadcom-completes-acquisition-enterprise-business/.
http s: //siliconangle. com/2019/11/05/symantec-now-nortonlifelock-bro adcom-completes-ac quisition-enterpri se-business/.
[61]
[61] The     public record
      The public            that II have
                     record that    have reviewed
                                         reviewed indicates    that the
                                                    indicates that  the seller
                                                                        seller did not acquire
                                                                               did not         the divested
                                                                                       acquire the divested asset  within ten
                                                                                                             asset within ten years
                                                                                                                              years before
                                                                                                                                    before the
                                                                                                                                            the evaluated   divestiture.
                                                                                                                                                 evaluated divestiture.
[62]
[62] II considered
        considered the
                     the start
                         start of
                               of the
                                  the operational
                                      operational timeline
                                                  timeline August
                                                           August 8,
                                                                   8, 2019, the date
                                                                      2019, the date of the Asset
                                                                                     of the Asset Purchase
                                                                                                  Purchase Agreement
                                                                                                            Agreement toto which
                                                                                                                           which the
                                                                                                                                  the TSA   was attached.
                                                                                                                                      T SA was      attached. II conservatively
                                                                                                                                                                 conservatively considered  the
                                                                                                                                                                                 considered the
end
end of   the operational
     of the               timeline July
             operational timeline        2, 2020
                                    July 2, 2020 because  the parties
                                                  because the         reported having
                                                              parties reported having incurred transition services
                                                                                      incurred transition  services costs “during the
                                                                                                                    costs "during the three
                                                                                                                                      three […]      months ended
                                                                                                                                            [. . . ] months  ended October    2, 2020."
                                                                                                                                                                     October 2,  2020.” See
                                                                                                                                                                                        See
Broadcom Inc.,
Broadcom     Inc., Symantec
                   Symantec Corporation,     Asset Purchase
                               Corporation, Asset   Purchase Agreement
                                                             Agreement byby and  Between Broadcom
                                                                             and Between   Broadcom Inc.
                                                                                                      Inc. and
                                                                                                           and Symantec
                                                                                                                Symantec Corporation,   dated August
                                                                                                                           Corporation, dated    August 8,8, 2019,
                                                                                                                                                             2019,
https://www.sec.gov/Archives/edgar/data/1730168/000119312519217369/d790567dex21.htm;
https                                                                                                 NortonLifeLock Inc.,
      ://www. sec. gov/Archives/edgar/data/1730168/000119312519217369/d7 90567dex21.htm; NortonLifeLock                        Form 10-Q
                                                                                                                         Inc., Foul'      for the
                                                                                                                                     10-Q for  the Quarterly      Period Ended
                                                                                                                                                      Quarterly Period   Ended October   2,
                                                                                                                                                                                October 2,
2020, https://www.sec.gov/Archives/edgar/data/849399/000084939920000011/nlok-20201002.htm,
2020,   https://www.sec.gov/Archives/edgar/data/849399/000084939920000011/nlok-20201002.htm, p.              p. 10.
                                                                                                                10.
C15
C15 -- Yahoo’s     operating business
        Yahoo's operating      business
[63]
[63] Verizon
     Verizon acquired  “the operating
             acquired "the  operating business  of Yahoo!
                                       business of Yahoo! Inc.”
                                                            Inc." and   “combined these
                                                                  and "combined     these assets  with its
                                                                                           assets with     existing AOL
                                                                                                       its existing AOL business
                                                                                                                          business to
                                                                                                                                   to create
                                                                                                                                      create aa new
                                                                                                                                                new subsidiary[.]"
                                                                                                                                                    subsidiary[.]” The public record
                                                                                                                                                                   The public         that II
                                                                                                                                                                              record that
have reviewed
have reviewed indicates  that aa geographic
               indicates that               market segmentation
                                 geographic market segmentation waswas not
                                                                         not necessary
                                                                             necessary to
                                                                                        to define
                                                                                            define the
                                                                                                   the divested
                                                                                                       divested asset.      “Verizon Completes
                                                                                                                        See "Verizon
                                                                                                                 asset. See           Completes Yahoo    Acquisition, Creating
                                                                                                                                                  Yahoo Acquisition,   Creating aa Diverse
                                                                                                                                                                                   Diverse
House of
House  of 50+ Brands Under
          50+ Brands  Under NewNew Oath
                                    Oath Subsidiary,”
                                         Subsidiary," Verizon,
                                                      Verizon, June
                                                                 June 13,
                                                                        13, 2017,
                                                                            2017, https://www.verizon.com/about/news/verizon-completes-yahoo-acquisition-creating-diverse-house-
                                                                                   https://www.verizon.com/about/news/verizon-completes-yahoo-acquisition-creating-diverse-house-
50-brands-under-new-oath-subsidiary.
50-brands-under-new-oath-subsidiary.
[64]
[64] The public record
     The public        that II have
                record that    have reviewed
                                    reviewed indicates that the
                                             indicates that  the seller
                                                                 seller did  not acquire
                                                                        did not           the divested
                                                                                 acquire the  divested asset  within ten
                                                                                                        asset within ten years
                                                                                                                         years before
                                                                                                                               before the
                                                                                                                                      the evaluated  divestiture.
                                                                                                                                          evaluated divestiture.
[65]
[65] II conservatively
        conservatively considered  the start
                        considered the  start of the operational
                                              of the             timeline July
                                                     operational timeline      25, 2016,
                                                                          July 25, 2016, because
                                                                                           because "the
                                                                                                   “the Yahoo  transaction was
                                                                                                        Yahoo transaction  was announced”
                                                                                                                                announced" in
                                                                                                                                            in July 2016. II considered
                                                                                                                                               July 2016.                the end
                                                                                                                                                             considered the      of the
                                                                                                                                                                             end of the
operational timeline
operational   timeline June
                       June 13, 2017, the
                            13, 2017,  the date
                                           date when
                                                 when "Oath
                                                       “Oath beg[an]
                                                              beg[an] operation[.]”
                                                                       operation[.]" (Oath
                                                                                     (Oath CEO   “has been
                                                                                            CEO "has   been leading integration planning
                                                                                                            leading integration planning teams
                                                                                                                                         teams since  the Yahoo
                                                                                                                                                since the         transaction was
                                                                                                                                                          Yahoo transaction   was
announced
announced in in July 2016”). See
                July 2016").      “Verizon Completes
                             See "Verizon     Completes Yahoo    Acquisition, Creating
                                                         Yahoo Acquisition,    Creating aa Diverse
                                                                                           Diverse House
                                                                                                   House of
                                                                                                          of 50+  Brands Under
                                                                                                             50+ Brands  Under New
                                                                                                                                 New Oath
                                                                                                                                     Oath Subsidiary,”
                                                                                                                                           Subsidiary," Verizon,
                                                                                                                                                         Verizon, June
                                                                                                                                                                    June 13, 2017,
                                                                                                                                                                         13, 2017,
https://www.verizon.com/about/news/verizon-completes-yahoo-acquisition-creating-diverse-house-50-brands-under-new-oath-subsidiary.
https://www.verizon.com/about/news/verizon-completes-yahoo-acquisition-creating-diverse-house-50-brands-under-new-oath-subsidiary.
C16
C16 -- Fiber-optic
        Fiber-optic network
                     network business
                               business ofof XO
                                             XO Holdings,
                                                  Holdings, Inc.
                                                             Inc.
[66]
[66] Verizon
     Verizon agreed  to purchase
              agreed to purchase XO XO Communications’
                                        Communications' fiberfiber business.  “In February
                                                                   business. "In  February 2016,   we entered
                                                                                             2016, we  entered into
                                                                                                               into aa purchase
                                                                                                                       purchase agreement
                                                                                                                                  agreement to to acquire XO Holdings'
                                                                                                                                                  acquire XO   Holdings’ wireline
                                                                                                                                                                           wireline business
                                                                                                                                                                                    business (XO),
                                                                                                                                                                                             (XO),
which owned
which   owned and
              and operated   one of
                   operated one      the largest
                                  of the         fiber-based IP
                                         largest fiber-based   IP and  Ethernet networks
                                                                  and Ethernet   networks in
                                                                                           in the
                                                                                              the U.S."
                                                                                                  U.S.” The  public record
                                                                                                         The public           that II have
                                                                                                                      record that     have reviewed
                                                                                                                                           reviewed indicates   that aa geographic
                                                                                                                                                      indicates that               market
                                                                                                                                                                        geographic market
segmentation was
segmentation  was not  necessary to
                   not necessary   to define
                                      define the
                                             the divested
                                                 divested asset.        “Verizon Continues
                                                                   See "Verizon
                                                            asset. See                        Focus on
                                                                                   Continues Focus   on Network
                                                                                                        Network Superiority     with Agreement
                                                                                                                  Superiority with     Agreement to to Purchase
                                                                                                                                                       Purchase XO
                                                                                                                                                                 XO Communications’      Fiber
                                                                                                                                                                       Communications' Fiber
Business,” Verizon
Business,"          News Archives,
            Verizon News   Archives, February
                                       February 22,
                                                  22, 2016,
                                                      2016, https://www.verizon.com/about/news/verizon-continues-focus-network-superiority-agreement-purchase-xo-
                                                              https://www.verizon.com/about/news/verizon-continues-focus-network-superiority-agreement-purchase-xo-
communications-fiber; Verizon
communications-fiber;   Verizon Communications
                                  Communications Inc.,      Form 10-K
                                                      Inc., Foun         for the
                                                                   10-K for  the Fiscal
                                                                                 Fiscal Year  Ended December
                                                                                        Year Ended   December 31,31, 2018,
                                                                                                                      2018,
https://www.sec.gov/Archives/edgar/data/732712/000073271219000012/a2018q410-k.htm, p.
https://www.sec.gov/Archives/edgar/data/732712/000073271219000012/a2018q410-k.htm,                   p. 9.
                                                                                                        9.
[67]
[67] The  public record
     The public         that II have
                 record that    have reviewed
                                     reviewed indicates    that the
                                               indicates that   the seller
                                                                    seller did not acquire
                                                                           did not          the divested
                                                                                   acquire the  divested asset within ten
                                                                                                         asset within   ten years
                                                                                                                            years before
                                                                                                                                  before the
                                                                                                                                           the evaluated  divestiture.
                                                                                                                                               evaluated divestiture.




                                                                                         APP-700
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                                                                                     Exhibit 1 Notes
                                                                                     Exhibit 1 Notes and Sources
                                                                                                     and Sources


C17
C17 -- Mobile
       Mobile and     web assets
                 and web             of Weather
                             assets of  Weather Channel
                                                   Channel LLC  LLC
[68] “The deal
[68] "The   deal doesn't
                  doesn’t include
                          include thethe TV
                                          TV operations,
                                              operations, butbut is focused on
                                                                 is focused   on the
                                                                                 the Weather
                                                                                     Weather Company’s
                                                                                                Company's range    of digital
                                                                                                             range of  digital weather
                                                                                                                               weather information
                                                                                                                                       infoli_lation assets including smartphone
                                                                                                                                                     assets including   smartphone apps
                                                                                                                                                                                     apps and   websites
                                                                                                                                                                                           and websites
as well as
as well     data sets."
         as data sets.” The   public record
                        The public             that II have
                                       record that     have reviewed
                                                             reviewed indicates    that aa geographic
                                                                        indicates that                  market segmentation
                                                                                           geographic market   segmentation waswas not
                                                                                                                                   not necessary
                                                                                                                                        necessary to
                                                                                                                                                   to define
                                                                                                                                                      define the
                                                                                                                                                              the divested
                                                                                                                                                                  divested asset.
                                                                                                                                                                            asset. See Arik Hesseldahl,
                                                                                                                                                                                   See Arik  Hesseldahl,
“IBM in
"IBM      Deal for
       in Deal  for Weather
                     Weather Channel       Digital Assets,"
                                Channel Digital    Assets,” Vox,
                                                               Vox, October    28, 2015,
                                                                     October 28,    2015, https://www.vox.com/2015/10/28/11620118/ibm-in-deal-for-weather-channel-digital-assets.
                                                                                           https://www.vox.com/2015/10/28/11620118/ibm-in-deal-for-weather-channel-digital-assets.
[69]
[69] The   public record
     The public            that II have
                   record that     have reviewed
                                         reviewed indicates     that the
                                                     indicates that  the seller
                                                                          seller did not acquire
                                                                                 did not           the divested
                                                                                          acquire the  divested asset  within ten
                                                                                                                asset within  ten years
                                                                                                                                  years before
                                                                                                                                        before the
                                                                                                                                                the evaluated   divestiture.
                                                                                                                                                    evaluated divestiture.
C18
C18 -- Acxiom
       Acxiom marketing
                 marketing solutions
                                solutions business
                                            business
[70] Acxiom Corporation
[70] Acxiom    Corporation divested
                               divested its   Acxiom Marketing
                                          its Acxiom    Marketing Solutions      segment (“AMS”)
                                                                     Solutions segment     ("AMS") andand changed   its brand
                                                                                                           changed its  brand name
                                                                                                                               name to
                                                                                                                                    to LiveRamp
                                                                                                                                        LiveRamp after    the sell-off.
                                                                                                                                                    after the sell-off. The  public record
                                                                                                                                                                        The public          that II have
                                                                                                                                                                                    record that     have
reviewed indicates
reviewed              that aa geographic
           indicates that                    market segmentation
                              geographic market       segmentation waswas not
                                                                           not necessary
                                                                               necessary to to define the divested
                                                                                               define the divested asset. See Zacks
                                                                                                                   asset. See         Equity Research,
                                                                                                                                Zacks Equity  Research, "Acxiom
                                                                                                                                                          “Acxiom to to Divest
                                                                                                                                                                        Divest AMS
                                                                                                                                                                               AMS to to Interpublic
                                                                                                                                                                                         Interpublic
Group   for $2.3
Group for         Billion,” Yahoo
            $2.3 Billion,"            Finance, July
                              Yahoo Finance,     July 3,3, 2018,
                                                           2018, https://finance.yahoo.com/news/acxiom-divest-ams-interpublic-group-143302074.html.
                                                                  https://finance.yahoo.com/news/acxiom-divest-ams-interpublic-group-143302074.html.
[71]
[71] The   public record
     The public            that II have
                   record that     have reviewed
                                         reviewed indicates     that the
                                                     indicates that  the seller
                                                                          seller did not acquire
                                                                                 did not           the divested
                                                                                          acquire the  divested asset  within ten
                                                                                                                asset within  ten years
                                                                                                                                  years before
                                                                                                                                        before the
                                                                                                                                                the evaluated   divestiture.
                                                                                                                                                    evaluated divestiture.
C19
C19 -- Xperi
       Xperi Inc.
               Inc.
[72] Xperi Holding
[72] Xperi Holding Corporation
                     Corporation spun   off the
                                  spun off  the company’s
                                                company's product
                                                          product business, Xperi Inc.
                                                                  business, Xperi Inc. The
                                                                                       The public record that
                                                                                           public record that II have reviewed indicates
                                                                                                                 have reviewed  indicates that
                                                                                                                                          that aa geographic market segmentation
                                                                                                                                                  geographic market              was
                                                                                                                                                                    segmentation was
not necessary
not necessary to
              to define  the divested
                  define the divested asset.     Xperi Holding
                                             See Xperi
                                      asset. See       Holding Corp, “Xperi Announces
                                                               Corp, "Xperi  Announces Details
                                                                                        Details for
                                                                                                for Completion
                                                                                                    Completion of of Separation,”
                                                                                                                     Separation," September
                                                                                                                                  September 8, 8, 2022,
                                                                                                                                                  2022,
https://www.sec.gov/Archives/edgar/data/1803696/000119312522240678/d693283dex991.htm.
https://www. sec. gov/Archives/edgar/data/1803696/000119312522240678/d693283dex991.htm.
[73] Xperi (folinerly
[73] Xperi (formerly Tessera  Holding Corporation)
                      Tessera Holding Corporation) acquired  the product
                                                    acquired the product business
                                                                         business of
                                                                                  of DT
                                                                                     DTS,  Inc in
                                                                                        S, Inc    December 2016,
                                                                                               in December   2016, i.e.,  six years
                                                                                                                    i.e., six years before
                                                                                                                                    before this
                                                                                                                                           this divestiture.
                                                                                                                                                divestiture. See “Tessera Completes
                                                                                                                                                             See "Tessera Completes
Acquisition of
Acquisition of DT
               DTS,”   Business Wire,
                   S," Business       December 1,
                                Wire, December     2016, https://www.businesswire.com/news/home/20161201005268/en/Tesser;
                                                1, 2016, https://www.businesswire.com/news/home/20161201005268/en/Tesser;
“Tessera Holding
"Tessera Holding Corporation   Announces Name
                  Corporation Announces   Name Change    to Xperi
                                                 Change to  Xperi Corporation,” Xperi, February
                                                                  Corporation," Xperi, February 22,
                                                                                                  22, 2017,
                                                                                                      2017, https://investor.xperi.com/news/news-details/2017/Tessera-Holding-
                                                                                                            https://investor.xperi.com/news/news-details/2017/Tessera-Holding-
Corporation-Announces-Name-Change-to-Xperi-Corporation/default.aspx.
Corporation-Announces-Name-Change-to-Xperi-Corporation/default.aspx.
[74]
[74] While
      While II have
               have found
                     found neither
                            neither thethe precise
                                           precise start
                                                   start date
                                                         date nor   the precise
                                                               nor the             end date
                                                                         precise end   date of  the operational
                                                                                            of the                timeline from
                                                                                                     operational timeline   from public  documents, II was
                                                                                                                                  public documents,     was able  to estimate
                                                                                                                                                            able to           the operational
                                                                                                                                                                     estimate the  operational timeline
                                                                                                                                                                                                 timeline
by using
by         conservative proxy
    using conservative    proxy dates
                                   dates for
                                         for both.
                                             both. As
                                                   As the
                                                       the start
                                                            start date,
                                                                  date, II used
                                                                           used July
                                                                                  July 1, 2020, which
                                                                                       1, 2020,  which is  the first
                                                                                                        is the first day  following the
                                                                                                                     day following   the month
                                                                                                                                         month in   which Xperi
                                                                                                                                                 in which Xperi publicly
                                                                                                                                                                 publicly announced
                                                                                                                                                                           announced itsits intention to
                                                                                                                                                                                            intention to
divest its
divest  its asset
            asset (June 2020). Using
                  (June 2020).    Using this
                                         this date
                                              date as
                                                   as the
                                                      the start
                                                           start of
                                                                 of the
                                                                     the operational
                                                                         operational timeline
                                                                                        timeline is
                                                                                                  is conservative   because public
                                                                                                     conservative because     public announcements    typically occur
                                                                                                                                     announcements typically    occur following
                                                                                                                                                                       following internal
                                                                                                                                                                                   internal operational
                                                                                                                                                                                             operational
planning. As
planning.   As the
                the end
                    end date,
                         date, II used
                                  used October   22, 2022,
                                        October 22,  2022, date
                                                              date of
                                                                   of the
                                                                       the first
                                                                            first amendment
                                                                                  amendment to to the
                                                                                                   the TSA.
                                                                                                       TSA. This    date is
                                                                                                             This date   is conservative
                                                                                                                            conservative as  the implementation
                                                                                                                                          as the                  of the
                                                                                                                                                  implementation of  the TSA
                                                                                                                                                                         TSA isis likely
                                                                                                                                                                                  likely to
                                                                                                                                                                                          to continue
                                                                                                                                                                                             continue after
                                                                                                                                                                                                       after
its
its amendment     date. See
    amendment date.          Xperi Inc.,
                        See Xperi     Inc., Foun
                                            Form 10-K    for the
                                                  10-K for   the Fiscal
                                                                  Fiscal Year    Ended December
                                                                          Year Ended      December 31,    2023, https://d18m0p25nwr6d.cloudfront.net/CIK-0001788999/0768588f-717f-4908-
                                                                                                      31, 2023,  https://d18rn0p25nwr6d.cloudfront.net/CIK-0001788999/0768588f-717f-4908-
a897-745524c9f289.pdf,
a897-745524c9f289.pdf, pp.   pp. 51-52;     Xperi Inc.,
                                   51-52; Xperi         Form 10-K
                                                  Inc., Foun   10-K forfor the
                                                                           the Fiscal
                                                                                Fiscal Year   Ended December
                                                                                        Year Ended    December 31, 31, 2022,
                                                                                                                       2022,
https://www.sec.gov/ix?doc=/Archives/edgar/data/1788999/000095017023006053/xper-20221231.htm, p.
https://www.sec.gov/ix?doc=/Archives/edgar/data/1788999/000095017023006053/xper-20221231.htm,                               p. 105.
                                                                                                                               105.




                                                                                           APP-701
                                                                                           Page 13 of 16
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                                                                                  Exhibit 1 Notes
                                                                                  Exhibit 1 Notes and Sources
                                                                                                  and Sources


C20
C20 -- Cars.com Inc.
       Cars.com Inc.
[75]
[75] Cars.com
     Cars.com spun   off from
                spun off from its
                              its parent company TEGNA.
                                  parent company TEGNA. The     public record
                                                           The public         that II have
                                                                       record that    have reviewed
                                                                                           reviewed indicates that aa geographic
                                                                                                    indicates that               market segmentation
                                                                                                                      geographic market segmentation was
                                                                                                                                                     was not
                                                                                                                                                         not necessary
                                                                                                                                                             necessary to
                                                                                                                                                                       to define
                                                                                                                                                                          define the
                                                                                                                                                                                 the
divested asset.
divested            “Cars.com Completes
                See "Cars.com
         asset. See             Completes Spin-off  from Parent
                                           Spin-off from Parent Company
                                                                Company TEGNA,”
                                                                           TEGNA," Cars.com,
                                                                                       Cars.com, June
                                                                                                 June 1,  2017, https://www.cars.com/articles/carscom-completes-spin-off-from-
                                                                                                       1, 2017, https://www.cars.com/articles/carscom-completes-spin-off-from-
parent-company-tegna-1420695567172/.
parent-company-tegna-1420695567172/.
[76]
[76] Gannett,  the corporate
     Gannett, the  corporate predecessor
                             predecessor of of TEGNA,     acquired Cars.com
                                               TEGNA, acquired                in 2014,
                                                                    Cars.com in  2014, i.e.,   three years
                                                                                         i.e., three years before
                                                                                                            before this
                                                                                                                     this divestiture.
                                                                                                                          divestiture. See
                                                                                                                                       See Veronica
                                                                                                                                            Veronica Garabelli,  “Gannett Acquires
                                                                                                                                                      Garabelli, "Gannett  Acquires Cars.com     for
                                                                                                                                                                                      Cars.com for
$1.8 Billion,” Virginia
$1.8 Billion,"           Business, October
                Virginia Business, October 1,    2014, https://www.virginiabusiness.com/article/gannett-acquires-cars-com-for-1-8-billion/;
                                              1, 2014,  https://www.virginiabusiness.com/article/gannett-acquires-cars-com-for-1-8-billion/; "Separation“Separation of
                                                                                                                                                                     of Gannett
                                                                                                                                                                        Gannett into
                                                                                                                                                                                 into Two   Public
                                                                                                                                                                                      Two Public
Companies
Companies Completed,”
            Completed," TEGNA,
                           TEGNA, June     29, 2015,
                                     June 29,   2015, https://www.tegna.com/separation-of-gannett-into-two-public-companies-completed/.
                                                       https://www.tegna.com/separation-of-gannett-into-two-public-companies-completed/.
[77]
[77] TEGNA
     TEGNA and and Cars.com
                    Cars.com entered
                              entered into
                                       into aa TSA
                                               TSA on   May 31,
                                                     on May   31, 2017,
                                                                  2017, pursuant
                                                                        pursuant toto which
                                                                                       which TEGNA
                                                                                              TEGNA agreed
                                                                                                        agreed toto "provide
                                                                                                                    “provide certain
                                                                                                                               certain services  to Cars.com
                                                                                                                                       services to  Cars.com on
                                                                                                                                                              on an interim and
                                                                                                                                                                 an interim       transitional basis,
                                                                                                                                                                             and transitional  basis,
not to exceed 24 months.” See Transition Services Agreement by and between TEGNA Inc. and Cars.com Inc., dated May 31, 2017,
not to exceed  24 months."  See  Transition    Services Agreement    by and between     TEGNA     Inc. and  Cars.com    Inc., dated  May   31, 2017,
https://www.sec.gov/Archives/edgar/data/39899/000119312517196074/d514170dex101.htm; TEGNA
https://www.sec.gov/Archives/edgar/data/39899/000119312517196074/d514170dex101.htm;                                Inc., Foul'
                                                                                                         TEGNA Inc.,      Form 10-Q    for the
                                                                                                                                10-Q for   the Quarterly  Period ended
                                                                                                                                               Quarterly Period  ended September
                                                                                                                                                                        September 30,    2017,
                                                                                                                                                                                     30, 2017,
https://www.sec.gov/Archives/edgar/data/39899/000003989917000041/tgna-20170930x10q.htm, p.
https://www.sec.gov/Archives/edgar/data/39899/000003989917000041/tgna-20170930x10q.htm,                      p. 20.
                                                                                                                20.
C21
C21 -- Products
       Products business
                  business of
                            of FireEye,
                               FireEye, Inc.
                                          Inc.
[78]
[78] S&P
     S&P Capital
           Capital IQ
                   IQ Pro
                       Pro presents the seller
                           presents the  seller as  “Mandiant, Inc.”
                                                as "Mandiant,         For clarity,
                                                                Inc." For clarity, II have  replaced this
                                                                                      have replaced   this by
                                                                                                           by the
                                                                                                              the name
                                                                                                                   name ofof Mandiant's
                                                                                                                             Mandiant’s corporate
                                                                                                                                           corporate predecessor,  FireEye Inc.
                                                                                                                                                     predecessor, FireEye   Inc.
[79]
[79] S&P
     S&P Capital
           Capital IQ
                   IQ Pro
                       Pro presents the buyer
                           presents the  buyer as   “Musarubra US
                                                 as "Musarubra   US LLC."
                                                                     LLC.” For
                                                                            For clarity,
                                                                                 clarity, II have
                                                                                             have replaced   this by
                                                                                                   replaced this  by the
                                                                                                                      the name
                                                                                                                          name of   the private
                                                                                                                                 of the private equity firm holding
                                                                                                                                                equity fiun  holding Musarubra,
                                                                                                                                                                     Musarubra, Symphony
                                                                                                                                                                                   Symphony
Technology
Technology Group.    See Corporate
             Group. See               website of
                          Corporate website     of Skyhigh
                                                   Skyhigh Security,  careers section,
                                                            Security, careers            https://careers.skyhighsecurity.com/.
                                                                               section, https://careers.  skyhighsecurity.com/.
[80] FireEye, Inc.
[80] FireEye,  Inc. (now  Mandiant, Inc.)
                    (now Mandiant,         “announced it
                                     Inc.) "announced       has entered
                                                         it has entered into
                                                                        into aa definitive
                                                                                definitive agreement
                                                                                            agreement toto sell
                                                                                                           sell the
                                                                                                                the FireEye
                                                                                                                    FireEye Products
                                                                                                                            Products business
                                                                                                                                      business […]      to aa consortium
                                                                                                                                                 [. ..] to                led by
                                                                                                                                                              consortium led  by Symphony
                                                                                                                                                                                 Symphony
Technology
Technology Group[.]”
              Group[.]" The  public record
                         The public         that II have
                                    record that     have reviewed
                                                         reviewed indicates    that aa geographic
                                                                    indicates that                 market segmentation
                                                                                       geographic market    segmentation was
                                                                                                                          was not
                                                                                                                              not necessary
                                                                                                                                  necessary to to define
                                                                                                                                                  define thethe divested
                                                                                                                                                                divested asset.     “FireEye
                                                                                                                                                                                See "FireEye
                                                                                                                                                                         asset. See
Announces Sale
Announces         of FireEye
             Sale of FireEye Products  Business to
                             Products Business     to Symphony
                                                      Symphony Technology
                                                                  Technology Group       for $1.2
                                                                                 Group for        Billion,” Mandiant,
                                                                                             $1.2 Billion,"  Mandiant, June
                                                                                                                        June 2, 2021, https://www.mandiant.com/company/press-
                                                                                                                             2, 2021,  https://www.mandiant.com/company/press-
releases/fireeye-announces-sale-fireeye-products-business-symphony-technology-group.
releases/fireeye-announces-sale-fireeye-products-business-symphony-technology-group.
[81] “Through this
[81] "Through   this transaction,
                     transaction, [FireEye]
                                   [FireEye] undoes
                                              undoes its  2014 acquisition,
                                                      its 2014  acquisition, which
                                                                              which brought
                                                                                     brought Mandiant
                                                                                              Mandiant solutions
                                                                                                         solutions and  FireEye products
                                                                                                                    and FireEye products together."
                                                                                                                                          together.” See    Zacks Equity
                                                                                                                                                     See Zacks     Equity Research,
                                                                                                                                                                            Research, "FireEye
                                                                                                                                                                                      “FireEye
Rebrands as
Rebrands      Mandiant (FEYE)
           as Mandiant   (FEYE) After
                                  After Product
                                          Product Biz
                                                  Biz Sell-Off,”   Nasdaq, October
                                                       Sell-Off," Nasdaq,   October 5,5, 2021,
                                                                                         2021, https://www.nasdaq.com/articles/fireeye-rebrands-as-mandiant-feye-after-product-biz-sell-
                                                                                                https://www.nasdaq.com/articles/fireeye-rebrands-as-mandiant-feye-after-product-biz-sell-
off-2021-10-05.
off-2021-10-05.
[82]
[82] On
     On June   2, 2021,
         June 2,  2021, FireEye
                        FireEye said
                                  said it would enter
                                       it would  enter into
                                                       into aa TSA
                                                               TSA at  closing ("[FireEye]
                                                                    at closing (“[FireEye] at   closing will
                                                                                             at closing will enter
                                                                                                             enter into
                                                                                                                   into agreements
                                                                                                                        agreements [which]
                                                                                                                                   [which] include
                                                                                                                                            include [...]
                                                                                                                                                    [...] aa transition
                                                                                                                                                             transition services
                                                                                                                                                                        services agreement”).
                                                                                                                                                                                 agreement").
“The transition
"The  transition period
                 period is
                         is expected  to be
                            expected to   be approximately
                                             approximately 12   to 18
                                                             12 to     months after
                                                                   18 months         the sale
                                                                               after the sale closes."
                                                                                              closes.” See   “FireEye Announces
                                                                                                        See "FireEye   Announces Sale  of FireEye
                                                                                                                                  Sale of FireEye Products
                                                                                                                                                   Products Business
                                                                                                                                                                Business to
                                                                                                                                                                          to Symphony
                                                                                                                                                                             Symphony
Technology
Technology Group     for $1.2
              Group for        Billion,” Mandiant,
                          $1.2 Billion,"  Mandiant, June   2, 2021,
                                                     June 2,  2021, https://www.mandiant.com/company/press-releases/fireeye-announces-sale-fireeye-products-business-symphony-
                                                                    https://www.mandiant.com/company/press-releases/fireeye-announces-sale-fireeye-products-business-symphony-
technology-group; FireEye,
technology-group;   FireEye, Inc.,   Form 10-Q
                               Inc., Foul'       for the
                                            10-Q for the Quarterly   Period ended
                                                          Quarterly Period   ended June
                                                                                    June 30,  2021, https://www.sec.gov/Archives/edgar/data/1370880/000137088021000033/feye-
                                                                                          30, 2021,  https://www.sec.gov/Archives/edgar/data/1370880/000137088021000033/feye-
20210630.htm, p.12.
20210630.htm,    p.12.




                                                                                        APP-702
                                                                                        Page 14 of 16
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                                                                                 Exhibit 1 Notes
                                                                                 Exhibit 1 Notes and Sources
                                                                                                 and Sources


C22
C22 -- VMware
       VMware LLC
              LLC
[83] Dell spun
[83] Dell       off its
          spun off  its equity
                        equity ownership of VMware
                               ownership of VMware Inc.
                                                   Inc. The  public record
                                                        The public         that II have
                                                                    record that    have reviewed
                                                                                        reviewed indicates that aa geographic
                                                                                                 indicates that               market segmentation
                                                                                                                   geographic market  segmentation was
                                                                                                                                                    was not
                                                                                                                                                        not necessary
                                                                                                                                                            necessary to
                                                                                                                                                                      to define
                                                                                                                                                                         define the
                                                                                                                                                                                the
divested asset.
divested             “Dell Technologies
                See "Dell
         asset. See                      Announces Completion
                            Technologies Announces Completion ofof VMware
                                                                   VMware Spin-off,”     Dell Technologies,
                                                                             Spin-off," Dell                 November 1,
                                                                                              Technologies, November        2021, https://www.dell.com/en-
                                                                                                                         1, 2021, https://www.dell.com/en-
us/dt/corporate/newsroom/announcements/detailpage.press-releases~usa~2021~11~20211101-dell-technologies-announces-completion-of-vmware-spin-off.htm#/filter-
us/dt/corporate/newsroom/announcements/detailp   age. press-releases—usa-2021-11-20211101 -dell-technolo gies-announces-completion-of-vmware-spin-off. htm#/filter-
on/Country:en-us.
on/Country:en-us.
[84] Dell acquired
[84] Dell  acquired VMware
                     VMware in     2015, i.e.,
                               in 2015,  i.e., six years before
                                               six years        this divestiture.
                                                         before this                   Ron Miller
                                                                                  See Ron
                                                                     divestiture. See          Miller and   Alex Wilhelm,
                                                                                                       and Alex            “Dell Is
                                                                                                                 Wilhelm, "Dell   Is Spinning
                                                                                                                                     Spinning Out
                                                                                                                                               Out VMware
                                                                                                                                                   VMware in  in aa Deal
                                                                                                                                                                    Deal Expected
                                                                                                                                                                         Expected to
                                                                                                                                                                                   to Generate
                                                                                                                                                                                      Generate
Over  $9B for
Over $9B    for the
                the Company,”
                    Company," TechCrunch,       April 14,
                                 TechCrunch, April    14, 2021,  https://techcrunch.com/2021/04/14/dell-is-spinning-out-vmware-in-a-deal-expected-to-generate-over-9b-for-the-
                                                          2021, https://techcrunch.com/2021/04/14/dell-is-spinning-out-vmware-in-a-deal-expected-to-generate-over-9b-for-the-
company/.
company/.
[85] “In connection
[85] "In  connection with
                      with the
                           the Spin-Off,
                                Spin-Off, on   November 1,
                                           on November       2021, Dell
                                                          1, 2021,  Dell entered  into aa […]
                                                                          entered into    [. . . ] Transition
                                                                                                   Transition Services  Agreement[.]” "Transition
                                                                                                              Services Agreement[.]"   “Transition services  may be
                                                                                                                                                   services may     be provided
                                                                                                                                                                       provided for
                                                                                                                                                                                for up
                                                                                                                                                                                    up to
                                                                                                                                                                                       to one
                                                                                                                                                                                          one
year.” "Costs
year."  “Costs associated  with [the
                associated with  [the TSA]   were immaterial
                                      TSA] were    immaterial for
                                                              for the
                                                                   the three
                                                                       three and  nine months
                                                                             and nine  months ended ended October   28, 2022."
                                                                                                           October 28,  2022.” See  Dell Technologies
                                                                                                                               See Dell                 Inc., Foul'
                                                                                                                                         Technologies Inc.,   Form 8-K,
                                                                                                                                                                     8-K, dated
                                                                                                                                                                          dated October   29, 2022,
                                                                                                                                                                                 October 29,  2022,
https://investors.delltechnologies.com/static-files/072b94f3-090e-4891-a825-0014a787b6c9, p.
https://investors.delltechnologies.com/static-files/072b94f3-090e-4891-a825-0014a787b6c9,                 p. 4; Dell Technologies
                                                                                                             4; Dell               Inc., Foul'
                                                                                                                     Technologies Inc.,  Form 10-Q  for the
                                                                                                                                               10-Q for  the Quarterly   Period Ended
                                                                                                                                                             Quarterly Period   Ended October
                                                                                                                                                                                       October
28, 2022,
28, 2022, https://www.sec.gov/Archives/edgar/data/1571996/000157199622000044/dell-20221028.htm,
           https://www.sec.gov/Archives/edgar/data/1571996/000157199622000044/dell-20221028.htm, pp.                  pp. 15,
                                                                                                                          15, 49.
                                                                                                                              49.
C23
C23 -- Enterprise
       Enterprise Content     Division of
                    Content Division     of Dell
                                            Dell EMC
                                                  EMC
[86] Dell EMC's
[86] Dell EMC’s Enterprise
                    Enterprise Content    Division was
                                 Content Division    was aa suite  of product
                                                            suite of  product families,
                                                                               families, including  Documentum™, InfoArchive™,
                                                                                         including DocumentumTM,       InfoArchiveTM, and   LEAP™. The
                                                                                                                                       and LEAPTM.    The public record that
                                                                                                                                                          public record that II have
                                                                                                                                                                                have reviewed
                                                                                                                                                                                     reviewed
indicates that aa geographic
indicates that                  market segmentation
                  geographic market    segmentation was was not
                                                             not necessary   to define
                                                                  necessary to         the divested
                                                                                define the  divested asset.      “OpenText Signs
                                                                                                             See "OpenText
                                                                                                      asset. See                    Definitive Agreement
                                                                                                                             Signs Definitive  Agreement to
                                                                                                                                                          to Acquire
                                                                                                                                                             Acquire Dell
                                                                                                                                                                      Dell EMC's
                                                                                                                                                                           EMC’s Enterprise
                                                                                                                                                                                    Enterprise
Content  Division, including
Content Division,                Documentum,” PR
                    including Documentum,"        PR Newswire,
                                                       Newswire, September
                                                                    September 12,    2016, https://www.prnewswire.com/news-releases/opentext-signs-definitive-agreement-to-acquire-dell-
                                                                                 12, 2016,  https://www.prnewswire.com/news-releases/opentext-signs-definitive-agreement-to-acquire-dell-
emcs-enterprise-content-division-including-documentum-300326059.html.
emcs-enterprise-content-division-including-documentum-3 003260 5 9.html.
[87] Dell acquired
[87] Dell acquired EMC
                     EMC in     2016, i.e.,
                             in 2016,       the same
                                      i.e., the same year
                                                       year of
                                                             of this
                                                                this divestiture.
                                                                     divestiture. See  Noreen Seebacher,
                                                                                  See Noreen                 “OpenText Acquires
                                                                                                Seebacher, "OpenText      Acquires Dell
                                                                                                                                   Dell EMC's
                                                                                                                                        EMC’s Enterprise
                                                                                                                                                Enterprise Content  Division, Including
                                                                                                                                                           Content Division,   Including
Documentum,” CMSWire,
Documentum,"      CMSWire, September        12, 2016,
                                September 12,   2016, https://www.cmswire.com/infounation-management/opentext-acquires-dell-emcs-enterprise-content-division-including-
                                                        https://www.cmswire.com/information-management/opentext-acquires-dell-emcs-enterprise-content-division-including-
documentum/.
documentum/.
[88] “Transition services
[88] "Transition   services may
                              may be
                                  be provided
                                      provided for
                                                 for up
                                                     up to
                                                         to one
                                                            one year,
                                                                 year, with
                                                                       with an  option to
                                                                             an option to renew
                                                                                           renew after
                                                                                                  after that
                                                                                                        that period."
                                                                                                             period.” See  Dell Technologies
                                                                                                                      See Dell  Technologies Inc.,  Form 10-K
                                                                                                                                              Inc., Foun       for the
                                                                                                                                                         10-K for  the Fiscal
                                                                                                                                                                       Fiscal Year   Ended
                                                                                                                                                                               Year Ended
February 2,
February  2, 2018,
             2018, https://investors.
                     https://investors.delltechnologies.com/static-files/9d4aca86-7fd6-4b4f-ab4b-4895fa562826,
                                        delltechnologies.com/static-files/9d4aca86-7fd6-4b4f-ab4b-4895fa562826, p.          p. 104.
                                                                                                                               104.
C24
C24 -- Data  centers and
       Data centers          colocation business
                       and colocation     business ofof CenturyLink,
                                                        CenturyLink, Inc.Inc.
[89]
[89] CenturyLink
     CenturyLink soldsold its
                          its data
                              data centers
                                   centers and    colocation business,
                                            and colocation   business, and  will continue
                                                                        and will          to "focus
                                                                                 continue to “focus on
                                                                                                     on offering customers aa wide
                                                                                                        offering customers    wide range  of IT
                                                                                                                                    range of  IT services
                                                                                                                                                 services and solutions[...].” The
                                                                                                                                                          and solutions[...]."     public
                                                                                                                                                                               The public
record that
record  that II have reviewed indicates
                have reviewed              that aa geographic
                                indicates that                market segmentation
                                                   geographic market                 was not
                                                                       segmentation was   not necessary
                                                                                              necessary to
                                                                                                         to define the divested
                                                                                                            define the divested asset.      “CenturyLink Reaches
                                                                                                                                       See "CenturyLink
                                                                                                                                asset. See                 Reaches Agreement
                                                                                                                                                                    Agreement to to Sell Data
                                                                                                                                                                                    Sell Data
Centers
Centers and
         and Colocation     Business to
                Colocation Business   to aa Consortium
                                            Consortium LedLed by BC Partners
                                                              by BC  Partners and  Medina Capital,”
                                                                               and Medina              Lumen, November
                                                                                             Capital," Lumen,  November 4,    2016, https://ir.lumen.com/news/news-
                                                                                                                           4, 2016, https://ir.lumen.com/news/news-
details/2016/CenturyLink-reaches-agreement-to-sell-data-centers-and-colocation-business-to-a-consortium-led-by-BC-Partners-and-Medina-Capital/default.aspx.
details/2016/CenturyL    ink-re aches-agreement-to-sell-data-centers-and-coloc ation-business-to-a-consortium-led-by-BC -P artners-and-Medina-Capital/default. aspx.
[90] “What these
[90] "What   these new
                   new venture
                       venture partners
                               partners are
                                        are getting for their
                                            getting for their $2.15 billion plus
                                                              $2.15 billion plus stock
                                                                                 stock is
                                                                                       is Savvis, which CenturyLink
                                                                                          Savvis, which CenturyLink acquired
                                                                                                                      acquired in 2011 [i.e.,
                                                                                                                               in 2011        five years
                                                                                                                                       [i.e., five years before this divestiture]
                                                                                                                                                         before this divestiture] in
                                                                                                                                                                                  in aa
$2.5 billion cash
$2.5 billion cash +
                  + stock
                    stock deal."
                          deal.” See
                                 See Scott III Fulton,
                                     Scott III Fulton, "CenturyLink
                                                       “CenturyLink Sells   Its Colo
                                                                      Sells Its      Business to
                                                                                Colo Business to Fund
                                                                                                  Fund Level
                                                                                                       Level 33 Deal,"
                                                                                                                Deal,” Data
                                                                                                                       Data Center  Knowledge, November
                                                                                                                            Center Knowledge,     November 4,   2016,
                                                                                                                                                             4, 2016,
https://www.datacenterknowledge.com/investing/centurylink-sells-its-colo-business-to-fund-level-3-deal.
https://www.datacenterknowledge.com/investing/centurylink-sells-its-colo-business-to-fund-level-3-deal.




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                                                                                       Page 15 of 16
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                                                                                Exhibit 1 Notes
                                                                                Exhibit 1 Notes and Sources
                                                                                                and Sources


C25
C25 -- Safety
       Safety Business
                Business ofof Intrado
                              Intrado Corporation
                                        Corporation
[91]
[91] S&P
      S&P Capital
            Capital IQ
                     IQ Pro
                         Pro presents  the seller
                             presents the   seller as “Apollo Global
                                                   as "Apollo          Management, Inc.”
                                                               Global Management,            For clarity,
                                                                                       Inc." For clarity, II have
                                                                                                             have added   “Intrado Corporation,”
                                                                                                                  added "Intrado                     the specific
                                                                                                                                     Corporation," the   specific corporation
                                                                                                                                                                  corporation controlled by Apollo
                                                                                                                                                                              controlled by Apollo
that divested
that divested its
               its Safety  Business.
                   Safety Business.
[92]
[92] The
     The Safety    Business of
           Safety Business    of Intrado  represents aa separate
                                 Intrado represents      separate business
                                                                  business unit that "delivers
                                                                           unit that “delivers critical
                                                                                               critical emergency
                                                                                                        emergency data
                                                                                                                     data over
                                                                                                                            over aa highly
                                                                                                                                    highly reliable,
                                                                                                                                           reliable, secure,
                                                                                                                                                      secure, standards-based
                                                                                                                                                              standards-based network[.]"
                                                                                                                                                                               network[.]” The
                                                                                                                                                                                           The
public record
public          that II have
        record that     have reviewed
                             reviewed indicates    that aa geographic
                                        indicates that                 market segmentation
                                                           geographic market  segmentation waswas not
                                                                                                  not necessary
                                                                                                       necessary toto define
                                                                                                                      define the
                                                                                                                               the divested
                                                                                                                                   divested asset.       “Stonepeak to
                                                                                                                                                   See "Stonepeak
                                                                                                                                            asset. See                to Acquire
                                                                                                                                                                         Acquire Safety Business
                                                                                                                                                                                 Safety Business
from Intrado,"
from  Intrado,” Intrado,
                 Intrado, September
                            September 16,    2022, https://www.intrado.com/news-releases/stonepeak-acquire-safety-business-intrado.
                                        16, 2022,   https://www.intrado.com/news-releases/stonepeak-acquire-safety-business-intrado.
[93] In 2017,
[93] In  2017, Apollo
                Apollo Global    Management, LLC
                          Global Management,      LLC acquired
                                                        acquired West
                                                                  West Corporation    (rebranded to
                                                                        Corporation (rebranded    to Intrado
                                                                                                     Intrado inin 2019),
                                                                                                                  2019), i.e.,  five years
                                                                                                                          i.e., five years before
                                                                                                                                           before this
                                                                                                                                                   this divestiture.
                                                                                                                                                        divestiture. See  “West Corporation
                                                                                                                                                                     See "West  Corporation and
                                                                                                                                                                                            and
Affiliates of
Affiliates  of Certain   Funds Managed
               Certain Funds   Managed by  by Affiliates
                                               Affiliates of  Apollo Global
                                                           of Apollo         Management Announce
                                                                     Global Management      Announce thethe Closing
                                                                                                             Closing of  the Previously
                                                                                                                      of the  Previously Announced
                                                                                                                                           Announced Transaction,”
                                                                                                                                                         Transaction," West,
                                                                                                                                                                        West, October
                                                                                                                                                                              October 10,
                                                                                                                                                                                      10, 2017,
                                                                                                                                                                                          2017,
https://ir.west.com/news-releases/news-release-details/west-corporation-and-affiliates-certain-funds-managed-affiliates;
https://ir.west.com/news-releases/news-release-details/west-corporation-and-affiliates-certain-funds-managed-affiliates;
“West Corporation
"West                   Announces Rebrand
        Corporation Announces       Rebrand to to Intrado,”
                                                  Intrado," West
                                                             West (June  25, 2019),
                                                                   (June 25, 2019), https://westcorporation.gcs-web.com/news-releases/news-release-details/west-corporation-announces-
                                                                                     https://westcorporation.gcs-web.com/news-releases/news-release-details/west-corporation-announces-
rebrand-intrado.
rebrand-intrado.
C26
C26 -- Technology-Enabled
       Technology-Enabled BenefitsBenefits &    Human Resources
                                             & Human      Resources Platform
                                                                      Platform of
                                                                                of Aon
                                                                                   Aon
[94]
[94] S&P
      S&P Capital
           Capital IQ
                    IQ Pro
                       Pro presents    the seller
                             presents the  seller as “Tempo Acquisition
                                                  as "Tempo   Acquisition LLC."
                                                                            LLC.” For
                                                                                   For clarity,
                                                                                       clarity, II have
                                                                                                   have added   the "Blackstone
                                                                                                         added the  “Blackstone Group,”    the name
                                                                                                                                 Group," the   name of
                                                                                                                                                     of its
                                                                                                                                                        its affiliated co-investor. See
                                                                                                                                                            affiliated co-investor.      Foley
                                                                                                                                                                                    See Foley
Trasimene   Acquisition Corp.
Trasimene Acquisition      Corp. and   others, Proxy
                                  and others,  Proxy Statement/Prospectus/Consent
                                                       Statement/Prospectus/Consent Solicitation
                                                                                       Solicitation Statement,    dated June
                                                                                                       Statement, dated June 4,  2021,
                                                                                                                              4, 2021,
https://www.sec.gov/Archives/edgar/data/1844744/000119312521182145/d128085d424b3.htm.
https://www.  sec. gov/Archives/edgar/data/1844744/0001193 12521182145/d128085d424b3.htm.
[95]  “The business
[95] "The business isis aa leader
                           leader in  benefits administration
                                   in benefits administration and    cloud-based HR
                                                               and cloud-based   HR services
                                                                                      services serving
                                                                                                 serving 19  million workers
                                                                                                          19 million workers (approximately
                                                                                                                              (approximately 15    percent of
                                                                                                                                                15 percent  of the
                                                                                                                                                               the U.S.
                                                                                                                                                                    U.S. working
                                                                                                                                                                         working population)
                                                                                                                                                                                  population) and
                                                                                                                                                                                               and
their families
their families across
               across 1,400   clients.” The
                       1,400 clients."        public record
                                         The public          that II have
                                                      record that    have reviewed
                                                                          reviewed indicates   that aa geographic
                                                                                   indicates that                  market segmentation
                                                                                                       geographic market  segmentation waswas not
                                                                                                                                               not necessary
                                                                                                                                                   necessary to
                                                                                                                                                              to define
                                                                                                                                                                  define the
                                                                                                                                                                         the divested
                                                                                                                                                                             divested asset. See
                                                                                                                                                                                      asset. See
“Blackstone Completes
"Blackstone                 Acquisition of
              Completes Acquisition      of Aon
                                             Aon Hewitt's
                                                  Hewitt’s Technology-Enabled      Benefits &
                                                            Technology-Enabled Benefits       & Cloud-Based
                                                                                                 Cloud-Based HRHR Service   Platform,” Blackstone,
                                                                                                                    Service Platfoun,"   Blackstone, May
                                                                                                                                                      May 1,1, 2017,
                                                                                                                                                               2017,
https://www.blackstone.com/news/press/blackstone-completes-acquisition-of-aon-hewitt-s-technology-enabled-benefits-cloud-based-hr-service-platform/.
https://www.blackstone.com/news/press/blackstone-completes-acquisition-of-aon-hewitt-s-technology-enabled-benefits-cloud-based-hr-service-platfolin/.
[96]  “[]Aon Plc
[96] "[]Aon  Plc completed
                  completed aa merger
                                merger with
                                          with Hewitt
                                               Hewitt Associates
                                                        Associates inin October
                                                                        October 2010[.]
                                                                                2010[.] [...]
                                                                                        [...] The  transaction, announced
                                                                                              The transaction,               Feb. 10,
                                                                                                                 announced Feb.   10, essentially  unwinds the
                                                                                                                                      essentially unwinds   the 2010   Hewitt deal,
                                                                                                                                                                 2010 Hewitt   deal, as benefits
                                                                                                                                                                                     as benefits
outsourcing represents
outsourcing  represents that
                          that business’   most profitable
                               business' most   profitable division[.]”
                                                            division[.]" The  2010 deal
                                                                          The 2010  deal occurred     seven years
                                                                                         occurred seven     years before
                                                                                                                  before this
                                                                                                                         this divestiture.
                                                                                                                              divestiture. See  Matthew Rybaltowski,
                                                                                                                                           See Matthew    Rybaltowski, "Aon
                                                                                                                                                                          “Aon Refocuses
                                                                                                                                                                                Refocuses
Approach With
Approach         HR Admin
           With HR    Admin Unit
                               Unit Sale   to Blackstone,"
                                      Sale to Blackstone,” S&P
                                                            S&P Global,     February 16,
                                                                   Global, February      2017, https://www.spglobal.com/marketintelligence/en/news-insights/trending/rf3wi6dxjmdw7ok-
                                                                                     16, 2017,    https://www.spglobal.com/marketintelligence/en/news-insights/trending/rf3wi6dxjmdw7ok-
jjiyia2.
jjiyia2.




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                                                                                        Page 16 of 16
                                                                                       Ai:126-104
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                     Appendix A
                     Appendix A




                               APP-705
                               APP-705
USCA Case #24-1113                      Appendix A
                                        Appendix
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                                 RANDAL S.
                                 RANDAL S. MILCH
                                           MILCH
                               Chilmark, MA rsmilch@gmail.com



 Randal S. Milch is a seasoned corporate executive and strategic advisor, with particular expertise
 in cybersecurity, national security and corporate governance. At Verizon, he was responsible for
 developing and articulating the company’s
                                 company's legal, public policy, cybersecurity, national security and
 government affairs strategies, and reporting to the board of directors. Randy has testified before
 committees of Congress and has organized and led significant public policy campaigns relating
 to state and federal legislation and critical transactions. He has most recently developed, and
 now directs, a cutting-edge academic program seeking to bridge the gaps between technical and
 non-technical cybersecurity professionals.




                                         EXPERIENCE
                                         EXPERIENCE


 NEW YORK UNIVERSITY
 NEW YORK UNIVERSITY SCHOOL
                     SCHOOL OF LAW
                            OF LAW

     PROFESSOR OF LAW
     PROFESSOR     LAW FROM PRACTICE
                              PRACTICE                                          2018-PRESENT
                                                                                2018-PRESENT
    •• Faculty Co-Director, NYU Master of Science in Cybersecurity Risk
        and Strategy Program
    •• Developed interdisciplinary Cybersecurity Law and Technology
                                                         Technology class for law students
        and engineering students

     CO-CHAIR, NYU C
     CO-CHAIR,        CENTER  FOR C
                        ENTER FOR    YBERSECURITY
                                   CYBERSECURITY                                    2018-PRESENT
                                                                                    2018-PRESENT
    •• Responsible for strategic direction and supervision of Center dedicated to
        interdisciplinary research in cybersecurity issues, to the development of the next
        generation of leaders literate in the engineering, law and policy of cybersecurity, and to
        the creation of public and private convenings of business, government and academic
        leaders seeking solutions to cybersecurity issues.

    DISTINGUISHED FELLOW,
    DISTINGUISHED FELLOW, REISS
                          REISS C         LAW AND S
                                 ENTER ON LAW
                                CENTER             ECURITY
                                                  SECURITY                           2015-PRESENT
                                                                                     2015-PRESENT



 SATO TECHNOLOGIES
 SATO TECHNOLOGIES CORP.
                   CORP.

    MEMBER, B
    MEMBER,          DIRECTORS
             OARD OF DIRECTORS
            BOARD                                                                    2023-PRESENT
                                                                                     2023-PRESENT

 xMENTIUM, INC.
 xMENTIUM, INC.

    MEMBER, ADVISORY
    MEMBER, ADVISORY BOARD
                     BOARD                                                           2021-PRESENT
                                                                                     2021-PRESENT




                                           APP-706
                                             A-1706
                                           APP
USCA Case #24-1113                    Appendix A
                                      Appendix
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 RiskQ INC.
 RiskQ INC.

    ADVISOR, MEMBER
    ADVISOR, MEMBER BOARD
                    BOARD OF DIRECTORS
                             DIRECTORS                                              2019-2024

 TEXT IQ,
 TEXT IQ, INC.
          INC.

       DOMAIN ADVISOR
       DOMAIN             MEMBER, BOARD
              ADVISOR AND MEMBER, BOARD OF DIRECTORS
                                           DIRECTORS                                2017-2021

 THE ANALYSIS
 THE ANALYSIS GROUP
              GROUP

    MEMBER, B
    MEMBER,          DIRECTORS
             OARD OF DIRECTORS
            BOARD                                                                2016-PRESENT
                                                                                 2016-PRESENT


 COLUMBIA LAW SCHOOL
 COLUMBIA LAW SCHOOL

     LECTURER IN L
     LECTURER       AW
                  LAW                                                                     2016
    •• Co-taught TheThe Media Industries: Public Policy and Business Strategy
        with Prof. Jonathan Knee of Columbia Business School.



 VERIZON COMMUNICATIONS
 VERIZON                INC.
         COMMUNICATIONS INC.

    EXECUTIVE VICE
    EXECUTIVE VICE PRESIDENT,
                   PRESIDENT, STRATEGIC
                              STRATEGIC POLICY
                                          POLICY ADVISOR
                                                  ADVISOR TO THE C     HAIR AND CEO 2014-2015
                                                                      CHAIR
       •• Responsible for overseeing strategic policy initiatives for Verizon.

    EXECUTIVE VICE
    EXECUTIVE VICE PRESIDENT,
                    PRESIDENT, PUBLIC
                                PUBLIC POLICY,
                                        POLICY, AND G  ENERAL C
                                                     GENERAL     OUNSEL
                                                                COUNSEL                2008-2014
       •• Responsible for public policy, legal, compliance, regulatory, government affairs
          and security organizations.
       •• Senior cleared executive at Verizon responsible for national security matters;
          directed corporate cyber-policy; and chaired Executive Security Council, which is
          responsible for information security across all Verizon entities.
       •• Led negotiations for major corporate transactions, including Verizon's
                                                                         Verizon’s $130 billion
          purchase of Vodafone's
                       Vodafone’s 45% stake in Verizon Wireless.
       •• Managed Verizon's
                     Verizon’s corporate strategy on high-profile issues including NSA domestic
          surveillance, major transactions, net neutrality and the Snowden leaks.

    S      VICE PRESIDENT
     ENIOR VICE
    SENIOR      PRESIDENT AND GENERAL
                                GENERAL C  OUNSEL, VERIZON
                                          COUNSEL,   VERIZON B USINESS
                                                              BUSINESS                2006-2008
       •• Responsible for a team of 230 attorneys and all legal and public affairs issues for
          Verizon’s global enterprise business, including national security matters.
          Verizon's

    S      VICE PRESIDENT
     ENIOR VICE
    SENIOR      PRESIDENT AND GENERAL
                               GENERAL C   OUNSEL, VERIZON
                                         COUNSEL,   VERIZON T   ELECOM
                                                              TELECOM                  2000-2006
       •• Responsible for a team of 90 lawyers and all legal issues affecting Verizon's
                                                                              Verizon’s wireline
          businesses in 29 states.
       •• Responsible for state regulatory matters.
       •• Advised Verizon's
                  Verizon’s wireline businesses on all of their legal and public policy issues.


                                        APP-707
                                        AP A-2
                                            x107
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                                       Appendix
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    VICE PRESIDENT
    VICE PRESIDENT AND ASSOCIATE
                          ASSOCIATE G           COUNSEL (BELL
                                         ENERAL COUNSEL
                                      GENERAL             (BELL ATLANTIC)
                                                                 ATLANTIC)             1997-2000
       •• Responsible for all regulatory issues in the former NYNEX jurisdictions (New York
           and New England).
       •• Responsible for implementation of all aspects of the 1996 Telecommunications Act,
           including competition provisions.
       •• Developed and litigated the case before the New York Public Service Commission
           that resulted in Bell Atlantic-New York becoming the first Incumbent Local Exchange
           Carrier in the nation to be allowed to enter the long distance and enterprise markets.

    VICE PRESIDENT
    VICE PRESIDENT AND ASSOCIATE
                         ASSOCIATE G           COUNSEL (BELL
                                        ENERAL COUNSEL
                                      GENERAL          (BELL ATLANTIC)
                                                             ATLANTIC)          1995-1997
       •• Responsible for implementation of the 1996 Telecommunications Act across the
           seven Bell Atlantic jurisdictions.

    VICE PRESIDENT
    VICE PRESIDENT AND G ENERAL C
                       GENERAL              (BELL ATLANTIC-MARYLAND)
                                    OUNSEL (BELL
                                  COUNSEL          ATLANTIC-MARYLAND)                  1994-1995
       •• Responsible for all legal and regulatory issues in Maryland.

    REGULATORY ATTORNEY
    REGULATORY ATTORNEY (BELL
                           (BELL ATLANTIC-MARYLAND)
                                 ATLANTIC-MARYLAND)                                  1993-1994
       •• Responsible for regulatory litigation before the Maryland Public Service Commission.



 DONOVAN, LEISURE,
 DONOVAN, LEISURE, NEWTON AND IRVINE
                   NEWTON AND IRVINE LLP
                                     LLP

    PARTNER (and previously Associate)
    PARTNER                                                                            1986-1993
       •• Litigated complex federal cases and international arbitrations.



 JUDICIAL
 JUDICIAL CLERKSHIP
          CLERKSHIP

    HONORABLE C
    HONORABLE             HAYNSWORTH, J
                LEMENT F. HAYNSWORTH,
               CLEMENT                  R., CHIEF
                                      JR.,  CHIEF JUDGE
                                                  JUDGE EMERITUS,
                                                        EMERITUS,
    UNITED S
    UNITED  TATES C
           STATES          APPEALS FOR THE FOURTH
                   OURT OF APPEALS
                  COURT                     FOURTH CIRCUIT
                                                    CIRCUIT                            1985-1986




               PUBLICATIONS &
               PUBLICATIONS & CONGRESSIONAL
                              CONGRESSIONAL TESTIMONY
                                            TESTIMONY

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 dangerous-practice/

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                                                        Cybersecurity." Lawfare (Mar. 5, 2021).
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                                           A-3
                                         APP-2708
USCA Case #24-1113                      Appendix A
                                        Appendix
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 "Cybersecurity
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 https://www.lawfareblog.com/cybersecurity-one-voice-leveraging-cisa-programming-improve-ftc-
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  "How                       Worth?" (with Almudena Arcelus and Brian Ellman). The
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                                              Battle." Lawfare (Aug. 4, 2017).
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 “Q&A: Privacy and Cybersecurity: The Corporate Perspective.”
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                                                              President’s Commission on
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                              Civil Justice in America (Estreicher & Radice eds., Cambridge
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 Rights, February 26, 2014.

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                                                              The Wall
                                                                  Wall Street Journal,
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 Before the United States Senate, Committee on the Judiciary, Subcommittee on Antitrust,
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                                             A-4709
                                           APP
USCA Case #24-1113                    Appendix A
                                      Appendix
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 Market.”
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 Antitrust, Competition Policy and Consumer Rights, June 16, 2009.




                                        EDUCATION
                                        EDUCATION

 NEW YORK UNIVERSITY
 NEW YORK UNIVERSITY SCHOOL
                     SCHOOL OF LAW
                            OF LAW
    J     DOCTOR, CUM
     URIS DOCTOR,
    JURIS             LAUDE, ARTICLES
                  CUM LAUDE, ARTICLES EDITOR,
                                      EDITOR, N.Y.U. LAW
                                                     LAW REVIEW,
                                                         REVIEW, ORDER OF THE
                                                                 ORDER
    C OIF
    COIF                                                                                  1985
                                                                                          1985

 YALE UNIVERSITY
 YALE UNIVERSITY
   BACHELOR OF ARTS
   BACHELOR    ARTS IN HISTORY
                       HISTORY                                                            1980




                                          SERVICE
                                          SERVICE

 Commissioner, Dukes County Commission (current)
 American Law Institute, Member (current)
 New York University School of Law, Life Trustee, Board of Trustees (current)
 Equal Justice Works, Chair, Board of Directors
 The Constitutional Sources Project, Board of Directors
 National Veterans Legal Services Program, Board of Directors




                                        APP-710
                                          A-5
                                        APP-2710
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                     Appendix B




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                               APP-711
USCA Case #24-1113                            Appendix B
                                              Appendix
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 I.
 L        EXAMPLES
          EXAMPLES OF
                   OF VERIZON’S DIVESTITURES OF
                      VERIZON'S DIVESTITURES OF HIGHLY
                                                HIGHLY INTEGRATED ASSETS
                                                       INTEGRATED ASSETS

                    1.
                    1.       HawaiianTel (2005)
                             HawaiianTel (2005)

          1.
          1.        The
                    The divestiture of Verizon's
                        divestiture of Verizon’s local telephone business
                                                 local telephone business in
                                                                          in Hawaii
                                                                             Hawaii in
                                                                                    in 2005,
                                                                                       2005, which
                                                                                             which had
                                                                                                   had been
                                                                                                       been
 part of
 part of Verizon's
         Verizon’s corporate
                   corporate predecessor GTE for
                             predecessor GTE     almost 40
                                             for almost    years,1 demonstrates
                                                        40 years,' demonstrates that
                                                                                that even
                                                                                     even relatively
                                                                                          relatively small
                                                                                                     small
 divestitures of
 divestitures of integrated
                 integrated assets
                            assets are
                                   are complex,
                                       complex, unpredictable,
                                                unpredictable, and
                                                               and lengthy
                                                                   lengthy projects.
                                                                           projects. The HawaiianTel
                                                                                     The HawaiianTel
 divestiture spanned
 divestiture spanned 751 days between
                     751 days between Verizon's
                                      Verizon’s disclosure
                                                disclosure of
                                                           of deal
                                                              deal discussions and the
                                                                   discussions and the final operational
                                                                                       final operational
 cutover. Of
 cutover.    those 751
          Of those 751 days, the corporate
                       days, the corporate timeline
                                           timeline represented
                                                    represented 417 days 2 and
                                                                417 days2  and the
                                                                               the operational
                                                                                   operational timeline
                                                                                               timeline
 represented at least
 represented at least 422 days (from
                      422 days (from the
                                     the time
                                         time HawaiianTel
                                              HawaiianTel hired
                                                          hired BearingPoint on February
                                                                BearingPoint on February 4, 2005, to
                                                                                         4, 2005, to aid
                                                                                                     aid
 in
 in establishing
    establishing back-office support systems
                 back-office support systems to
                                             to the
                                                the final operational cutover
                                                    final operational cutover on
                                                                              on April
                                                                                 April 1, 2006). 3,4
                                                                                       1, 2006).3'4

          2.
          2.        The corporate timeline
                    The corporate timeline for
                                           for the
                                               the HawaiianTel
                                                   HawaiianTel divestiture began no
                                                               divestiture began no later
                                                                                    later than
                                                                                          than March
                                                                                               March 12,
                                                                                                     12, 2004,
                                                                                                         2004,
 when Verizon
 when Verizon revealed that "discussions
              revealed that “discussions [had]
                                         [had] taken
                                               taken place"
                                                     place” with
                                                            with regard to the
                                                                 regard to the divestment of approximately
                                                                               divestment of approximately
 700,000 access lines
 700,000 access       operated by
                lines operated by Verizon
                                  Verizon Hawaii, Inc.'5 This
                                          Hawaii, Inc.   This represented approximately 1.5
                                                              represented approximately 1.5 percent of
                                                                                            percent of
 Verizon's landlines. 66 A
 Verizon’s landlines.    A definitive
                           definitive agreement
                                      agreement between
                                                between Verizon
                                                        Verizon and
                                                                and the
                                                                    the Carlyle Group was
                                                                        Carlyle Group was signed
                                                                                          signed


 1
      See "Celebrating
      See “Celebrating 140
                        140 Years  of Building
                            Years of  Building Connections,”  Hawaiian Telcom,
                                               Connections," Hawaiian   Telcom,
      https://www.hawaiiantel.com/aboutus/Our-History. Verizon
      https://www.hawaiiantel.com/aboutus/Our-History.             was created
                                                           Verizon was          by the
                                                                        created by the merger
                                                                                       merger of   Bell Atlantic
                                                                                                of Bell Atlantic with
                                                                                                                 with
      GTE
      GTE inin 2000.
               2000. Both
                     Both parties brought with
                          parties brought with them
                                               them their
                                                    their long-held
                                                          long-held legacy wireline assets.
                                                                    legacy wireline          See "Bell
                                                                                     assets. See “Bell Atlantic
                                                                                                        Atlantic and
                                                                                                                 and GTE
                                                                                                                     GTE
      Complete
      Complete Their   Merger and
                 Their Merger      Become Verizon
                               and Become   Verizon Communications,”
                                                    Communications," Verizon     News Archives,
                                                                        Verizon News    Archives, June
                                                                                                   June 30,
                                                                                                         30, 2000,
                                                                                                             2000,
      https://www.verizon.com/about/news/press-releases/bell-atlantic-and-gte-complete-their-merger-and-become-
      https://www.verizon.com/about/news/press-releases/bell-atlantic-and-gte-complete-their-merger-and-become-
      verizon-communications.
      verizon-communications.
 2
 2
      The corporate timeline
      The corporate  timeline began
                              began on  March 12,
                                     on March       2004 (when
                                                12, 2004   (when Verizon
                                                                   Verizon announced that it
                                                                           announced that    had been
                                                                                          it had been in
                                                                                                       in divestment
                                                                                                          divestment
      discussions), and
      discussions),     it ended
                    and it       with the
                           ended with the deal  closing on
                                           deal closing     May 2,
                                                         on May   2, 2005—representing
                                                                     2005—representing aa total
                                                                                          total of
                                                                                                of 417 days. See
                                                                                                   417 days.  See Verizon
                                                                                                                  Verizon
      Communications    Inc., Foul'
      Communications Inc.,    Form 10-K   for the
                                    10-K for  the Fiscal
                                                  Fiscal Year  Ended December
                                                          Year Ended   December 31,
                                                                                31, 2003,
                                                                                    2003, p.
                                                                                           p. 15;
                                                                                              15; Verizon
                                                                                                   Verizon
      Communications    Inc., Foul'
      Communications Inc.,    Form 10-K   for the
                                    10-K for  the Fiscal
                                                  Fiscal Year  Ended December
                                                          Year Ended   December 31,
                                                                                31, 2004,
                                                                                    2004, p.
                                                                                           p. 16;  “Verizon Hawaii,
                                                                                              16; "Verizon   Hawaii, Inc.
                                                                                                                     Inc.
      (GTHI),” Federal
      (GTHI),"  Federal Communications
                         Communications Commission,
                                            Commission, https://www.fcc.gov/verizon-hawaii-inc-gthi.
                                                           https://www.fcc.gov/verizon-hawaii-inc-gthi.
 3
 3
      Decision and
      Decision   and Order  No. 21696,
                      Order No.          In the
                                 21696, In      Matter of
                                            the Matter of the Application of
                                                          the Application   of Paradise
                                                                               Paradise Mergersub,
                                                                                        Mergersub, Inc.,
                                                                                                     Inc., GTE
                                                                                                           GTE Corporation,
                                                                                                               Corporation,
      Verizon   Hawaii Inc.,
      Verizon Hawaii    Inc., Bell
                              Bell Atlantic
                                   Atlantic Communications,
                                            Communications, Inc.,
                                                               Inc., and
                                                                     and Verizon  Select Services
                                                                         Verizon Select  Services Inc.
                                                                                                  Inc. for
                                                                                                       for Approval
                                                                                                           Approval of
                                                                                                                     of aa
      Merger Transaction
      Merger                 and Related
                Transaction and   Related Matters.,
                                           Matters., No.
                                                     No. 04-0140
                                                         04-0140 (“Verizon     Decision and
                                                                   ("Verizon Decision   and Order  No. 21696"),
                                                                                            Order No.    21696”),
      https://files.hawaii.gov/dcca/dca/dno/dno2005/21696.pdf, p.
      https://files.hawaii.gov/dcca/dca/dno/dno2005/21696.pdf,       p. 20; Hawaiian Telcom
                                                                        20; Hawaiian  Telcom Communications,      Inc.,
                                                                                               Communications, Inc.,
      Hawaiian Telcom,
      Hawaiian    Telcom, Inc.,  Hawaiian Telcom
                           Inc., Hawaiian   Telcom Services
                                                    Services Company,
                                                              Company, Inc.,    Form S-4
                                                                         Inc., Foun       Registration Statement,
                                                                                     S-4 Registration   Statement, dated
                                                                                                                   dated
      January
      January 19,
                19, 2006, https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
                    2006, https://www.  sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, pp.      pp. 50-51.
                                                                                                                    50-51.
 44
      As described
      As described in
                   in Section
                      Section III.A, there is
                              III.A, there    overlap between
                                           is overlap between the
                                                              the corporate
                                                                  corporate and operational timelines.
                                                                            and operational timelines.
 5
 5
      Verizon
      Verizon Communications
              Communications Inc.,     Form 10-K
                                 Inc., Foul'       for the
                                              10-K for the Fiscal
                                                           Fiscal Year  Ended December
                                                                  Year Ended   December 31, 31, 2003,
                                                                                                2003, p.
                                                                                                      p. 15;
                                                                                                         15; Verizon
                                                                                                             Verizon
      Communications    Inc., Foul'
      Communications Inc.,    Form 10-K   for the
                                    10-K for  the Fiscal
                                                  Fiscal Year  Ended December
                                                         Year Ended   December 31, 31, 2004,
                                                                                       2004, p.
                                                                                             p. 16. Because the
                                                                                                16. Because  the public
                                                                                                                 public
      record does
      record does not
                  not disclose
                      disclose the
                               the date
                                    date of the beginning
                                         of the            of these
                                                beginning of  these discussions,
                                                                    discussions, II will
                                                                                    will begin
                                                                                         begin the
                                                                                               the corporate
                                                                                                   corporate timeline
                                                                                                             timeline with
                                                                                                                      with
      the March
      the March 12, 2004, disclosure.
                12, 2004,  disclosure.
 6
 6
      Verizon had 48.8
      Verizon had       million access
                  48.8 million  access lines,
                                       lines, according to its
                                              according to     FY2005 Foun
                                                           its FY2005   Form 10-K. See Verizon
                                                                             10-K. See Verizon Communications Inc.,
                                                                                               Communications Inc.,
      Form 10-K
      Foul'      for the
            10-K for the Fiscal
                         Fiscal Year Ended December
                                Year Ended    December 31,
                                                        31, 2005,
                                                            2005, p.
                                                                  p. 1.
                                                                     1.



                                                            B-
                                                            B-11
                                                     APP-712
                                                     APP-712
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 approximately 60
 approximately    days later
               60 days later on
                             on May
                                May 21, 2004.7 The
                                    21, 2004.7 The corporate timeline ended
                                                   corporate timeline       with the
                                                                      ended with the closing of the
                                                                                     closing of the deal
                                                                                                    deal
 approximately 345
 approximately 345 days
                   days later (on May
                        later (on May 2,
                                      2, 2005)
                                         2005) when
                                               when Verizon
                                                    Verizon Hawaii,
                                                            Hawaii, Inc. became Hawaiian
                                                                    Inc. became Hawaiian Telecom
                                                                                         Telecom
 (“HawaiianTel”), "a
 ("HawaiianTel"), “a stand-alone
                     stand-alone telecommunications provider.”8
                                 telecommunications provider."'

          3.
          3.        The
                    The operational timeline began
                        operational timeline began before
                                                   before closing,
                                                          closing, on
                                                                   on February
                                                                      February 4, 2005, with
                                                                               4, 2005, with the
                                                                                             the buyer's
                                                                                                 buyer’s hiring
                                                                                                         hiring
 of BearingPoint
 of              to create
    BearingPoint to create the
                           the necessary
                               necessary back-office
                                         back-office systems
                                                     systems for
                                                             for aa new,
                                                                    new, stand-alone HawaiianTel.9 The
                                                                         stand-alone HawaiianTel.9 The
 operational timeline
 operational timeline ended
                      ended 422 days later
                            422 days later on
                                           on April
                                              April 1, 2006, when
                                                    1, 2006, when the
                                                                  the final
                                                                      final cutover to these
                                                                            cutover to these systems
                                                                                             systems
 occurred.10
 occurred.10

          4.
          4.        The year between
                    The year between deal signing and
                                     deal signing and deal close provided
                                                      deal close provided Verizon
                                                                          Verizon and
                                                                                  and HawaiianTel
                                                                                      HawaiianTel time
                                                                                                  time to
                                                                                                       to
 plan the
 plan the operational
          operational details
                      details of
                              of the
                                 the divestiture.
                                     divestiture. The critical operational
                                                  The critical operational issues
                                                                           issues revolved around the
                                                                                  revolved around the back-
                                                                                                      back-
 office and
 office and information technology software
            information technology software challenges
                                            challenges of
                                                       of splitting
                                                          splitting off
                                                                    off integrated assets and
                                                                        integrated assets and establishing
                                                                                              establishing aa
                    11
 stand-alone entity.
 stand-alone entity."

          5.
          5.        The parties predicted
                    The parties           that HawaiianTel
                                predicted that HawaiianTel would,
                                                           would, for
                                                                  for aa period of approximately
                                                                         period of approximately 270
                                                                                                 270 days
                                                                                                     days after
                                                                                                          after
 closing, need
 closing, need Verizon's
               Verizon’s continued operational assistance
                         continued operational assistance in order to
                                                          in order to do business.12 To
                                                                      do business.12    that end,
                                                                                     To that      at closing,
                                                                                             end, at closing,
 Verizon and
 Verizon and HawaiianTel
             HawaiianTel entered into aa TSA
                         entered into    TSA under which Verizon
                                             under which Verizon would
                                                                 would provide
                                                                       provide HawaiianTel
                                                                               HawaiianTel with,
                                                                                           with,
 among other
 among other things,
             things, services,
                     services, access,
                               access, maintenance,
                                       maintenance, and
                                                    and support
                                                        support for
                                                                for aa number
                                                                       number of
                                                                              of IT applications as
                                                                                 IT applications as well
                                                                                                    well as
                                                                                                         as
 billing and
 billing and customer
             customer service support.13 228
                      service support.13 228 days
                                             days later,
                                                  later, in
                                                         in December 2005, the
                                                            December 2005, the parties
                                                                               parties realized that they
                                                                                       realized that they had
                                                                                                          had




 77
      Verizon Decision and
      Verizon Decision and Order No. 21696.
                           Order No. 21696.
 8
 8
      Hawaiian Telcom
      Hawaiian   Telcom Communications,
                         Communications, Inc.,   Hawaiian Telcom,
                                           Inc., Hawaiian  Telcom, Inc., Hawaiian Telcom
                                                                   Inc., Hawaiian Telcom Services
                                                                                          Services Company,
                                                                                                   Company, Inc.,
                                                                                                              Inc.,
      Form S-4
      Foun       Registration Statement,
             S-4 Registration            dated January
                              Statement, dated         19, 2006,
                                               January 19, 2006,
      https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
      https://www. sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, p.   p. 5; “Verizon Hawaii,
                                                                                          5; "Verizon Hawaii, Inc.
                                                                                                              Inc.
      (GTHI),” Federal
      (GTHI),"   Federal Communications
                         Communications Commission,
                                          Commission, https://www.fcc.gov/verizon-hawaii-inc-gthi.
                                                        https://www.fcc.gov/verizon-hawaii-inc-gthi.
 9
 9
      Verizon Decision and
      Verizon Decision and Order No. 21696,
                           Order No. 21696, p.
                                            p. 20.
                                               20.
 10
 10
      Hawaiian Telcom
      Hawaiian   Telcom Communications,
                         Communications, Inc.,   Hawaiian Telcom,
                                           Inc., Hawaiian  Telcom, Inc., Hawaiian Telcom
                                                                   Inc., Hawaiian Telcom Services
                                                                                          Services Company, Inc.,
                                                                                                   Company, Inc.,
      Form S-4
      Foun       Registration Statement,
             S-4 Registration            dated January
                              Statement, dated         19, 2006,
                                               January 19, 2006,
      https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
      https://www. sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, pp.  pp. 50-51.
                                                                                           50-51.
 11
 11
      As HawaiianTel
      As  HawaiianTel revealed    in its
                         revealed in its Foul'
                                         Form S-4  dated January
                                               S-4 dated January 19,    2006, "[d]uring
                                                                    19, 2006, “[d]uring the
                                                                                         the transition
                                                                                             transition period, we are
                                                                                                        period, we  are putting
                                                                                                                        putting
      in place, and
      in place,     making aa substantial
                and making                 investment in,
                               substantial investment  in, aa new
                                                              new back-office
                                                                    back-office and IT infrastructure.”
                                                                                and IT                   See Hawaiian
                                                                                        infrastructure." See  Hawaiian
      Telcom
      Telcom Communications,
               Communications, Inc.,     Hawaiian Telcom,
                                   Inc., Hawaiian  Telcom, Inc.,    Hawaiian Telcom
                                                              Inc., Hawaiian  Telcom Services
                                                                                       Services Company,     Inc., Foil
                                                                                                 Company, Inc.,    Form S-4
                                                                                                                         S-4
      Registration Statement,
      Registration              dated January
                    Statement, dated   January 19,  2006,
                                                19, 2006,
      https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
      https://www.  sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, p.             70.
                                                                                               p. 70.
 12
 12
      The
      The TSA
          TSA established
               established an
                           an initial   transition period
                                initial transition period of nine months.
                                                          of nine months. See
                                                                          See Hawaiian
                                                                               Hawaiian Telcom
                                                                                        Telcom Communications,    Inc.,
                                                                                                Communications, Inc.,
      Hawaiian Telcom,
      Hawaiian Telcom, Inc.,   Hawaiian Telcom
                         Inc., Hawaiian     Telcom Services
                                                    Services Company,
                                                              Company, Inc.,  Form S-4
                                                                        Inc., Foun     Registration Statement,
                                                                                   S-4 Registration Statement, dated
                                                                                                               dated
      January
      January 19,
              19, 2006, https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
                  2006, https ://www. sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, p.        7.
                                                                                                            p. 7.
 13
 13
      Hawaiian Telcom
      Hawaiian   Telcom Communications,
                         Communications, Inc.,   Hawaiian Telcom,
                                           Inc., Hawaiian  Telcom, Inc., Hawaiian Telcom
                                                                   Inc., Hawaiian Telcom Services
                                                                                           Services Company, Inc.,
                                                                                                    Company, Inc.,
      Form S-4
      Foun       Registration Statement,
             S-4 Registration            dated January
                              Statement, dated         19, 2006,
                                               January 19, 2006,
      https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
      https://www. sec. gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, p.      7.
                                                                                       p. 7.



                                                              B-
                                                              B-22
                                                      APP-713
                                                      APP-713
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                                                Appendix
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 underestimated the
 underestimated the complexity
                    complexity of
                               of the
                                  the software
                                      software transition,
                                               transition, and
                                                           and the
                                                               the TSA was amended
                                                                   TSA was amended to
                                                                                   to extend the initial
                                                                                      extend the initial
 276-day period
 276-day        by another
         period by another 60 days, to
                           60 days, to April
                                       April 1, 2006.14
                                             1, 2006.14


                    2.
                    2.        Northeast Business
                              Northeast Business (2007)
                                                 (2007)

          6.
          6.        In 2007, Verizon
                    In 2007, Verizon divested
                                     divested its access lines
                                              its access lines in
                                                               in Maine, Vermont and
                                                                  Maine, Vermont and New
                                                                                     New Hampshire,
                                                                                         Hampshire, all
                                                                                                    all long-
                                                                                                        long-
 term holdings
 term holdings of
               of Verizon
                  Verizon (“Northeast Business”).15 This
                          ("Northeast Business").15 This divestiture was aa lengthy
                                                         divestiture was            process, taking
                                                                            lengthy process, taking aa total
                                                                                                       total of
                                                                                                             of
 757 days between
 757 days between signing
                  signing of
                          of the
                             the agreement
                                 agreement and
                                           and the
                                               the final operational cutover.
                                                   final operational cutover. Of those 757
                                                                              Of those     days, the
                                                                                       757 days, the
 corporate timeline
 corporate timeline represented
                    represented 422 days16 and
                                422 days16 and the
                                               the operational
                                                   operational timeline
                                                               timeline represented at least
                                                                        represented at least 727 days (from
                                                                                             727 days (from
 the time
 the time cutover
          cutover planning
                  planning pursuant
                           pursuant to
                                    to the
                                       the TSA commenced on
                                           TSA commenced on February
                                                            February 14, 2007, to
                                                                     14, 2007, to the
                                                                                  the final
                                                                                      final operational
                                                                                            operational
 cutover on
 cutover on February
            February 9, 2009).17
                     9, 2009).17

          7.
          7.        The corporate timeline
                    The corporate timeline for
                                           for the
                                               the Northeast
                                                   Northeast Business divestiture began
                                                             Business divestiture began no
                                                                                        no later than January
                                                                                           later than January
             18
 15,
 15, 2007,   when Verizon's
     2007,18 when Verizon’s Northern
                            Northern New
                                     New England
                                         England Spinco Inc., and
                                                 Spinco Inc., and FairPoint
                                                                  FairPoint Communications,
                                                                            Communications, Inc.
                                                                                            Inc.
 (“FairPoint”) signed
 ("FairPoint") signed an
                      an Agreement
                         Agreement and
                                   and Plan of Merger
                                       Plan of Merger with
                                                      with regard to the
                                                           regard to the divestment of "approximately
                                                                         divestment of “approximately 1.5
                                                                                                      1.5
 million access
 million access lines in 352
                lines in     exchanges in
                         352 exchanges in Maine, New Hampshire,
                                          Maine, New Hampshire, and Vermont.”19 The
                                                                and Vermont."19 The corporate timeline
                                                                                    corporate timeline


 14
 14
      The  amendment to
      The amendment    to the
                          the initial
                              initial agreement,
                                      agreement, dated December 15,
                                                 dated December      2005, extended
                                                                 15, 2005,           the transition
                                                                           extended the  transition period for an
                                                                                                    period for an
      additional 60 days
      additional 60 days to
                         to April
                            April 1,
                                   1, 2006. See Hawaiian
                                      2006. See Hawaiian Telcom
                                                          Telcom Communications,
                                                                  Communications, Inc.,   Hawaiian Telcom,
                                                                                    Inc., Hawaiian   Telcom, Inc.,
                                                                                                              Inc.,
      Hawaiian Telcom
      Hawaiian   Telcom Services
                         Services Company,
                                   Company, Inc.,   Form S-4
                                              Inc., Form     Registration Statement,
                                                         S-4 Registration            dated January
                                                                          Statement, dated           19, 2006,
                                                                                            January 19,  2006,
      https://www.sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm,
      https://www. sec.gov/Archives/edgar/data/46216/000119312506008763/ds4.htm, p.         7.
                                                                                         p. 7.
 15
 15
      See Bob
      See Bob Varettoni,  “Verizon Communications
               Varettoni, "Verizon                   History,” Verizon,
                                   Communications History,"    Verizon, September 2016,
                                                                        September 2016,
      https://www.verizon.com/about/sites/default/files/Verizon_History_0916.pdf.
      https://www.verizon.com/about/sites/default/files/Verizon_History_0916.pdf.
 16
 16
      The   corporate timeline
      The corporate    timeline for
                                 for this
                                     this divestiture
                                          divestiture began
                                                       began on
                                                              on January  15, 2007,
                                                                 January 15,  2007, with
                                                                                    with the
                                                                                         the announcement
                                                                                              announcement of  of aa deal
                                                                                                                     deal between
                                                                                                                          between
      Verizon
      Verizon and    FairPoint Communications,
                and FairPoint   Communications, an       established telecommunications
                                                     an established  telecommunications provider,
                                                                                          provider, and
                                                                                                     and ended
                                                                                                          ended on on March
                                                                                                                       March 31,
                                                                                                                             31,
      2008, with
      2008,   with the
                   the closing
                        closing of
                                of the
                                   the deal.
                                        deal. See
                                              See Agreement
                                                  Agreement and     Plan of
                                                                and Plan  of Merger
                                                                             Merger by
                                                                                    by and  Among Verizon
                                                                                       and Among     Verizon Communications
                                                                                                               Communications
      Inc.,  Northern New
      Inc., Northern   New England
                             England Spinco
                                        Spinco Inc.,
                                                Inc., and  FairPoint Communications,
                                                      and FairPoint                     Inc., January
                                                                     Communications, Inc.,    January 15,
                                                                                                      15, 2007;
                                                                                                           2007; Joint
                                                                                                                    Joint
      Application for
      Application   for Approval
                         Approval ofof the
                                       the Transfer
                                           Transfer ofof Certain Assets by
                                                         Certain Assets  by Verizon  New England
                                                                             Verizon New  England Inc.,   Bell Atlantic
                                                                                                    Inc., Bell  Atlantic
      Communications,
      Communications, Inc.,      NYNEX Long
                           Inc., NYNEX      Long Distance
                                                  Distance Company,
                                                             Company, andand Verizon
                                                                             Verizon Select
                                                                                      Select Services
                                                                                             Services Inc.
                                                                                                      Inc. and   Associated
                                                                                                            and Associated
      Transactions   (“Verizon and
      Transactions ("Verizon           FairPoint Communications
                                  and FairPoint   Communications Joint     Application for
                                                                     Joint Application for Asset
                                                                                           Asset Transfer    ”); FairPoint
                                                                                                  Transfer ");   FairPoint
      Communications,
      Communications, Inc.,      Form 10-Q
                           Inc., Form         for the
                                        10-Q for  the Quarterly   Period Ended
                                                       Quarterly Period   Ended September
                                                                                 September 30,  2008, p.
                                                                                            30, 2008,  p. 2.
                                                                                                          2.
 17
 17
      Transition
      Transition Services Agreement by
                 Services Agreement   by and Among Verizon
                                         and Among    Verizon Information
                                                               Information Technologies  LLC, Northern
                                                                            Technologies LLC,  Northern New
                                                                                                        New England
                                                                                                               England
      Telephone
      Telephone Operations
                 Operations Inc.,  Enhanced Communications
                             Inc., Enhanced Communications of  of Northern
                                                                  Northern New
                                                                            New England
                                                                                 England Inc.
                                                                                         Inc. and FairPoint
                                                                                              and FairPoint
      Communications,
      Communications, Inc.,   dated January
                        Inc., dated January 15, 2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
                                            15, 2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
      011/TESTIMONY/Transition%20Service%20Agreement%20Sch%20A-E%20Exhibit%20SES-4%2003-23-
      011/TE ST IMONY/Transition%20Service%20Agreement%20 Sch%20A-E%20Exhibit%20 SE S-4%2003 -23 -
      07.pdf; FairPoint
      07.pdf; FairPoint Communications,   Inc., Form
                        Communications, Inc.,   Form 10-K  for the
                                                     10-K for   the Fiscal
                                                                    Fiscal Year Ended December
                                                                           Year Ended December 31,   2008, pp.
                                                                                                 31, 2008,     2-3.
                                                                                                           pp. 2-3.
 18
 18
      Agreement and
      Agreement        Plan of
                  and Plan  of Merger
                               Merger byby and Among Verizon
                                           and Among   Verizon Communications
                                                                Communications Inc.,   Northern New
                                                                                 Inc., Northern New England
                                                                                                    England Spinco
                                                                                                            Spinco
      Inc.,
      Inc., and FairPoint Communications,
            and FairPoint Communications, Inc.,
                                             Inc., January
                                                   January 15, 2007; Verizon
                                                           15, 2007; Verizon and  FairPoint Communications
                                                                             and FairPoint  Communications Joint
                                                                                                           Joint
      Application for
      Application  for Asset
                       Asset Transfer
                             Transfer ..
 19
 19
      Memorandum Opinion
      Memorandum               and Order,
                      Opinion and          In the
                                    Order, In     Matter of
                                              the Matter  of Applications
                                                             Applications Filed
                                                                          Filed for
                                                                                for the
                                                                                    the Transfer of Certain
                                                                                        Transfer of Certain Spectrum
                                                                                                             Spectrum
      Licenses and
      Licenses and Section
                     Section 214  Authorizations in
                             214 Authorizations   in the States of
                                                     the States of Maine,
                                                                   Maine, New
                                                                          New Hampshire,
                                                                               Hampshire, and
                                                                                           and Vermont    from Verizon
                                                                                                 Vermont from   Verizon
      Communications Inc.
      Communications     Inc. and
                              and Its
                                  Its Subsidiaries
                                      Subsidiaries to  FairPoint Communications,
                                                   to FairPoint                     Inc., WC
                                                                 Communications, Inc.,       Docket No.
                                                                                          WC Docket  No. 07-22,
                                                                                                          07-22, January
                                                                                                                 January
      9, 2008, p.
      9, 2008, p. 3; “Verizon and
                  3; "Verizon       FairPoint Agree
                               and FairPoint  Agree toto Merge
                                                         Merge Verizon’s
                                                                Verizon's Wireline  Businesses in
                                                                          Wireline Businesses  in Maine,
                                                                                                  Maine, New
                                                                                                           New Hampshire
                                                                                                                Hampshire



                                                              B-
                                                              B-33
                                                       APP-714
                                                       APP-714
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                                              Appendix
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 ended with the
 ended with the closing
                closing of
                        of the
                           the deal
                               deal approximately
                                    approximately 422
                                                  422 days
                                                      days later
                                                           later on
                                                                 on March
                                                                    March 31, 2008. 20 The
                                                                          31, 2008.20      operational
                                                                                       The operational
 timeline largely
 timeline         overlapped with
          largely overlapped with the
                                  the corporate
                                      corporate timeline
                                                timeline and
                                                         and began
                                                             began on
                                                                   on February
                                                                      February 14, 2007 (30
                                                                               14, 2007 (30 days after the
                                                                                            days after the
 Agreement and
 Agreement and Plan of Merger
               Plan of Merger was
                              was signed), when the
                                  signed), when the planning
                                                    planning for the transition
                                                             for the transition started pursuant to
                                                                                started pursuant to the
                                                                                                    the
                21
 TSAs and MSAs.
 TSAs and MSAs.21

          8.
          8.           The more than
                       The more than aa year
                                        year between
                                             between deal
                                                     deal signing
                                                          signing and
                                                                  and deal
                                                                      deal close
                                                                           close permitted
                                                                                 permitted Verizon
                                                                                           Verizon and
                                                                                                   and
 FairPoint ample time
 FairPoint ample time to
                      to plan the operational
                         plan the operational details
                                              details of
                                                      of the
                                                         the divestiture.
                                                             divestiture. The critical operational
                                                                          The critical operational issues
                                                                                                   issues
 revolved around the
 revolved around the information technology challenges
                     information technology challenges of
                                                       of splitting
                                                          splitting off
                                                                    off integrated assets and
                                                                        integrated assets and creating
                                                                                              creating new
                                                                                                       new
 systems to
 systems to run
            run the assets.22 The
                the assets.22     parties determined
                              The parties            that FairPoint
                                          determined that           would address
                                                          FairPoint would address this
                                                                                  this challenge by entering
                                                                                       challenge by entering
 into
 into aa TSA  with Verizon
         TSA with   Verizon and
                             and an
                                  an MSA with Capgemini
                                     MSA with  Capgemini U.S.
                                                           U.S. LLC.,  which provided
                                                                 LLC., which  provided services
                                                                                        services related to the
                                                                                                 related to the
                                                                                                   23
 transition, replication,
 transition,              and/or replacement
             replication, and/or             of certain
                                 replacement of certain business
                                                        business operations, on January
                                                                 operations, on January 15,
                                                                                         15, 2007.

          9.
          9.        The parties predicted
                    The parties           that FairPoint
                                predicted that           would, for
                                               FairPoint would, for aa period
                                                                       period of
                                                                              of approximately
                                                                                 approximately 180 days after
                                                                                               180 days after
 closing, need
 closing, need Verizon's
               Verizon’s continued operational assistance
                         continued operational assistance in
                                                          in order to do
                                                             order to    business.24 To
                                                                      do business.24 To that
                                                                                        that end, Verizon and
                                                                                             end, Verizon and
 FairPoint entered into
 FairPoint entered into aa TSA under which
                           TSA under which Verizon
                                           Verizon would
                                                   would provide
                                                         provide FairPoint with, among
                                                                 FairPoint with, among other
                                                                                       other services,
                                                                                             services,
 human resources,
 human resources, regulations, networks database,
                  regulations, networks           and benefits
                                        database, and          delivery. 25 184
                                                      benefits delivery.25      days later,
                                                                            184 days        in September
                                                                                     later, in September


      and
      and Vermont,”
           Vermont," Verizon  News Archives,
                      Verizon News   Archives, January
                                               January 16, 2007, https://www.verizon.com/about/news/press-
                                                       16, 2007, https://www.verizon.com/about/news/press-
      releases/verizon-and-fairpoint-agree-merge-verizons-wireline-businesses-maine-new-hampshire-and-vermont.
      releases/verizon-and-fairpoint-agree-merge-verizons-wireline-businesses-maine-new-hampshire-and-veii_iont.
 20
 20
      FairPoint Communications,
      FairPoint Communications, Inc., Form 10-Q
                                Inc., Four'      for the
                                            10-Q for the Quarterly Period Ended
                                                         Quarterly Period Ended September
                                                                                September 30, 2008, p.
                                                                                          30, 2008, p. 2.
                                                                                                       2.
 21
 21
      Transition
      Transition Services  Agreement by
                  Services Agreement    by and Among Verizon
                                           and Among    Verizon Information
                                                                 Infounation Technologies      LLC, Northern
                                                                               Technologies LLC,     Northern New
                                                                                                                New England
                                                                                                                     England
      Telephone
      Telephone Operations
                  Operations Inc.,  Enhanced Communications
                              Inc., Enhanced  Communications of  of Northern
                                                                    Northern New
                                                                               New England
                                                                                    England Inc.
                                                                                               Inc. and FairPoint
                                                                                                    and FairPoint
      Communications,
      Communications, Inc.,    dated January
                         Inc., dated  January 15, 2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
                                              15, 2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
      011/TESTIMONY/Transition%20Service%20Agreement%20Sch%20A-E%20Exhibit%20SES-4%2003-23-
      011/TE ST IMONY/Transition%20Service%20Agreement%20 Sch%20A-E%20Exhibit%20 SE S-4%2003 -23 -
      07.pdf, p.
      07.pdf, p. 13 (“Within 30
                 13 ("Within      calendar days
                              30 calendar       following the
                                           days following  the date hereof [January
                                                               date hereof  [January 15,
                                                                                      15, 2007,
                                                                                           2007, also  when the
                                                                                                  also when   the Agreement
                                                                                                                  Agreement
      and Plan of
      and Plan  of Merger
                   Merger was
                           was signed],  the Cutover
                                signed], the         Planning Committee
                                             Cutover Planning                shall hold
                                                                Committee shall    hold its initial meeting
                                                                                        its initial meeting to
                                                                                                             to commence
                                                                                                                commence
      planning and
      planning  and preparation  for the
                    preparation for  the Buyers
                                         Buyers to
                                                to cease
                                                   cease using
                                                         using all
                                                                all Transition
                                                                    Transition Services
                                                                                Services and   thereafter.”).
                                                                                          and thereafter.").
 22
 22
      FairPoint disclosed
      FairPoint            that it
                disclosed that     would build
                                it would build "new
                                               “new systems
                                                     systems and  processes to
                                                              and processes to replace
                                                                               replace those
                                                                                       those used
                                                                                             used by
                                                                                                  by Verizon to operate
                                                                                                     Verizon to operate
      and
      and support  our network
          support our  network and   back office
                                 and back        functions in
                                          office functions in Maine,
                                                              Maine, New
                                                                     New Hampshire
                                                                          Hampshire andand Vermont.”  See FairPoint
                                                                                           Vermont." See  FairPoint
      Communications,
      Communications, Inc.,    Form 10-K
                         Inc., Four'       for the
                                     10-K for  the Fiscal
                                                   Fiscal Year Ended December
                                                          Year Ended  December 31,   2008, p.
                                                                                 31, 2008, p. 2.
                                                                                              2.
 23
 23
      FairPoint Communications,
      FairPoint Communications, Inc.,    Form 10-Q/A
                                   Inc., Foun          for the
                                              10-Q/A for   the Quarterly Period Ended
                                                               Quarterly Period Ended September
                                                                                       September 30,
                                                                                                  30, 2009, p. 89;
                                                                                                      2009, p. 89;
      Transition
      Transition Services Agreement by
                 Services Agreement    by and Among Verizon
                                          and Among    Verizon Information
                                                                Infounation Technologies  LLC, Northern
                                                                            Technologies LLC,   Northern New
                                                                                                          New England
                                                                                                               England
      Telephone
      Telephone Operations
                 Operations Inc.,  Enhanced Communications
                             Inc., Enhanced  Communications of  of Northern
                                                                   Northern New
                                                                            New England
                                                                                  England Inc.
                                                                                          Inc. and FairPoint
                                                                                               and FairPoint
      Communications,
      Communications, Inc.,   dated January
                        Inc., dated January 15,  2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
                                             15, 2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
      011/TESTIMONY/Transition%20Service%20Agreement%20Sch%20A-E%20Exhibit%20SES-4%2003-23-
      011/TE ST IMONY/Transition%20Service%20Agreement%20 Sch%20A-E%20Exhibit%20 SE S-4%2003 -23 -
      07.pdf;
      07.pdf; Capgemini   U.S. LLC
              Capgemini U.S.   LLC and   FairPointCommunications, Inc.,
                                     and FairPointCommunications,          Master Services
                                                                     Inc., Master          Agreement between
                                                                                  Services Agreement   between
      Capgemini   U.S. LLC
      Capgemini U.S.   LLC and   FairPointCommunications, Inc.
                            and FairPointCommunications,      Inc.
 24
 24
      Services
      Services provided under transition
               provided under transition services
                                         services agreement   were designated
                                                   agreement were  designated for
                                                                               for "the
                                                                                   “the projected
                                                                                        projected six
                                                                                                  six month
                                                                                                      month period.”
                                                                                                             period."
      (See FairPoint Communications,
      (See FairPoint Communications, Inc.,   Form 10-Q
                                       Inc., Four'       for the
                                                    10-Q for the Quarterly
                                                                 Quarterly Period  Ended March
                                                                           Period Ended   March 31,
                                                                                                 31, 2008, p. 55.)
                                                                                                     2008, p. 55.)
 25   Transition
      Transition Services Agreement by
                 Services Agreement   by and Among Verizon
                                         and Among    Verizon Information
                                                               Infounation Technologies LLC, Northern
                                                                           Technologies LLC,  Northern New
                                                                                                       New England
                                                                                                           England
      Telephone
      Telephone Operations
                 Operations Inc.,  Enhanced Communications
                             Inc., Enhanced Communications of  of Northern
                                                                  Northern New
                                                                           New England
                                                                               England Inc.
                                                                                        Inc. and FairPoint
                                                                                             and FairPoint
      Communications,
      Communications, Inc.,   dated January
                        Inc., dated January 15, 2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
                                            15, 2007, https://www.puc.nh.gov/Regulatory/CaseFile/2007/07-
      011/TESTIMONY/Transition%20Service%20Agreement%20Sch%20A-E%20Exhibit%20SES-4%2003-23-
      011/TE ST IMONY/Transition%20Service%20Agreement%20 Sch%20A-E%20Exhibit%20 SE S-4%2003 -23 -
      07.pdf.
      07.pdf.



                                                            B-
                                                            B-44
                                                     APP-715
                                                     APP-715
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 2008, the
 2008, the parties
           parties realized that they
                   realized that they had
                                      had underestimated the length
                                          underestimated the length of the IT
                                                                    of the    transition and
                                                                           IT transition and extended
                                                                                             extended the
                                                                                                      the TSA
                                                                                                          TSA
 services through
 services through January 2009.26 Specifically,
                  January 2009.26               despite aa significant
                                  Specifically, despite    significant amount
                                                                       amount of
                                                                              of pre-cutover
                                                                                 pre-cutover system testing,
                                                                                             system testing,
 FairPoint
 FairPoint experienced numerous problems
           experienced numerous problems with
                                         with systems
                                              systems and
                                                      and processes that affected
                                                          processes that affected "email
                                                                                  “email service,
                                                                                         service, billing,
                                                                                                  billing,
 customer call
 customer call centers,
               centers, repair service centers,
                        repair service centers, and
                                                and the
                                                    the order
                                                        order provisioning
                                                              provisioning operations
                                                                           operations of
                                                                                      of the
                                                                                         the Company
                                                                                             Company
 throughout its
 throughout     Northern New
            its Northern New England territory.”27 On
                             England territory."'  On February
                                                      February 9, 2009, FairPoint
                                                               9, 2009,           completed the
                                                                        FairPoint completed the cutover
                                                                                                cutover
 process and
 process and began
             began operating
                   operating its new systems
                             its new systems independently from the
                                             independently from the Verizon
                                                                    Verizon systems,
                                                                            systems, 757 days after
                                                                                     757 days after
 signing of
 signing of the agreement.28
            the agreement. 28




                    3.
                    3.        14-State Divestiture
                              14-State Divestiture (2009)
                                                   (2009)

           10.
           10.      In
                    In 2009, Verizon began
                       2009, Verizon began the
                                           the divestiture of operations
                                               divestiture of operations in
                                                                         in 13 states that
                                                                            13 states that were
                                                                                           were long-term
                                                                                                long-term
 holdings of
 holdings of Verizon's
             Verizon’s corporate
                       corporate predecessor
                                 predecessor GTE
                                             GTE as
                                                 as well
                                                    well as
                                                         as its
                                                            its long-held operations in
                                                                long-held operations    West Virginia
                                                                                     in West Virginia to
                                                                                                      to
 Frontier
 Frontier Communications
          Communications Corporation (“Frontier”) in
                         Corporation ("Frontier") in aa deal
                                                        deal that
                                                             that ultimately
                                                                  ultimately took
                                                                             took nearly
                                                                                  nearly three
                                                                                         three years
                                                                                               years to
                                                                                                     to
 complete ("14-State
 complete (“14-State Divestiture”). This divestiture
                     Divestiture"). This             spanned 1,056
                                         divestiture spanned 1,056 days between signing
                                                                   days between signing of
                                                                                        of the
                                                                                           the agreement
                                                                                               agreement
 and the
 and the final
         final operational
               operational cutover.
                           cutover. Of those 1,056
                                    Of those       days, the
                                             1,056 days, the corporate
                                                             corporate timeline
                                                                       timeline represented
                                                                                represented 415 days 29 and
                                                                                            415 days29  and
 the operational
 the operational timeline
                 timeline represented at least
                          represented at least 642
                                               642 days (from the
                                                   days (from the deal
                                                                  deal closing on July
                                                                       closing on July 1, 2010, to
                                                                                       1, 2010, to the
                                                                                                   the final
                                                                                                       final
 operational cutover
 operational cutover on April 2,
                     on April    2012).30
                              2, 2012).3°




 26
 26
      FairPoint Communications,
      FairPoint  Communications, Inc.,     Form 10-Q
                                     Inc., Foil         for the
                                                 10-Q for   the Quarterly  Period Ended
                                                                Quarterly Period   Ended September
                                                                                          September 30,   2008, p.
                                                                                                     30, 2008,  p. 54
                                                                                                                   54 (“We
                                                                                                                      ("We
      expect  to continue
      expect to  continue to
                           to require
                              require transition
                                      transition services
                                                 services agreement    services from
                                                           agreement services   from Verizon   through January
                                                                                       Verizon through           2009, which
                                                                                                        January 2009,  which
      is beyond the
      is beyond   the six month period
                      six month          following the
                                 period following   the closing  of the
                                                        closing of  the merger,
                                                                        merger, during  which we
                                                                                 during which  we anticipated
                                                                                                   anticipated requiring
                                                                                                               requiring such
                                                                                                                         such
      services.”). See
      services.").  See also
                        also 2009  Annual Report,
                             2009 Annual    Report, State  of Maine
                                                     State of Maine Public
                                                                      Public Utilities
                                                                             Utilities Commission,  February 1,
                                                                                       Commission, February    1, 2010,
                                                                                                                  2010,
      https://www.maine.gov/mpuc/sites/maine.gov.mpuc/files/inline-files/AR09-FINAL.pdf, p.
      https://www.maine.gov/mpuc/sites/maine.gov.mpuc/files/inline-files/AR09-FINAL.pdf,              p. 13.
                                                                                                         13.
 27
 27
      2009 Annual
      2009  Annual Report,
                   Report, State of Maine
                           State of Maine Public
                                          Public Utilities
                                                 Utilities Commission,  February 1,
                                                           Commission, February     2010,
                                                                                 1, 2010,
      https://www.maine.gov/mpuc/sites/maine.gov.mpuc/files/inline-files/AR09-FINAL.pdf,
      https://www.maine.gov/mpuc/sites/maine.                                              p. 11.
                                               gov.mpuc/files/inline-files/AR09-FINAL.pdf, p. 11.
 28
 28
      FairPoint Communications,
      FairPoint Communications, Inc., Form 10-K
                                Inc., Foul'      for the
                                            10-K for the Fiscal
                                                         Fiscal Year Ended December
                                                                Year Ended December 31, 2008, p.
                                                                                    31, 2008, p. 3.
                                                                                                 3.
 29
 29
      The   corporate timeline
       The corporate  timeline for
                                for the
                                    the Frontier
                                        Frontier divestiture
                                                 divestiture began  no later
                                                             began no         than May
                                                                        later than May 13,
                                                                                        13, 2009,  when the
                                                                                             2009, when  the parties signed an
                                                                                                             parties signed an
      agreement
       agreement and
                  and ended    with the
                       ended with   the closing
                                        closing of
                                                of the
                                                   the deal
                                                       deal on
                                                            on July
                                                               July 1,  2010. See
                                                                     1, 2010.  See FCC
                                                                                    FCC Memorandum
                                                                                         Memorandum Opinion
                                                                                                        Opinion and
                                                                                                                  and Order,
                                                                                                                       Order,
      In the
      In      Matter of
          the Matter of Applications
                         Applications Filed
                                       Filed by Frontier Communications
                                             by Frontier  Communications Corporation
                                                                              Corporation and
                                                                                            and Verizon  Communications Inc.
                                                                                                 Verizon Communications    Inc.
      for Assignment
      for  Assignment oror Transfer  of Control,
                           Transfer of  Control, WC   Docket No.
                                                 WC Docket    No. 09-95,
                                                                   09-95, May
                                                                            May 21,   2010, p.
                                                                                 21, 2010,  p. 4;
                                                                                               4; Verizon
                                                                                                  Verizon Communications
                                                                                                          Communications
      Inc.,  Form 10-K
      Inc., Foul'        for the
                  10-K for   the Fiscal
                                 Fiscal Year  Ended December
                                        Year Ended   December 31,
                                                                31, 2010,
                                                                     2010, Note
                                                                            Note 3;   “Verizon Completes
                                                                                   3; "Verizon  Completes Spinoff
                                                                                                           Spinoff of  Local
                                                                                                                    of Local
      Exchange Businesses
      Exchange   Businesses andand Related
                                   Related Landline
                                            Landline Activities
                                                      Activities in
                                                                 in 14
                                                                    14 States,”
                                                                        States," Verizon  News Archives,
                                                                                 Verizon News     Archives, July
                                                                                                            July 1,
                                                                                                                 1, 2010,
                                                                                                                    2010,
      https://www.verizon.com/about/news/press-releases/verizon-completes-spinoff-local-exchange-businesses-and-
      https://www.verizon.com/about/news/press-releases/verizon-completes-spinoff-local-exchange-businesses-and-
      related-landline-activities-14-states.
      related-landline-activities-14-states.
 30
 30
      Frontier Communications,
      Frontier Communications, Customers     Benefit as
                                   Customers Benefit    Frontier Communications
                                                     as Frontier Communications Completes
                                                                                Completes 14-State
                                                                                          14-State Systems
                                                                                                   Systems
      Conversion, dated April
      Conversion, dated   April 2,
                                2, 2012,
                                   2012,
      https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.
      https://www. sec. gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.



                                                              B-
                                                              B-55
                                                      APP-716
                                                      APP-716
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                                             Appendix
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          11.
          11.      The corporate timeline
                   The corporate timeline for the 14-State
                                          for the 14-State Divestiture began no
                                                           Divestiture began no later than May
                                                                                later than May 13, 2009, when
                                                                                               13, 2009, when
 Frontier signed an
 Frontier signed an agreement
                    agreement to
                              to acquire
                                 acquire Verizon's
                                         Verizon’s Wireless
                                                   Wireless Operations in 14
                                                            Operations in    states for
                                                                          14 states for $8.5 billion.31 The
                                                                                        $8.5 billion.31 The
 corporate timeline
 corporate timeline ended
                    ended on
                          on July
                             July 1, 2010, 415
                                  1, 2010,     days later,
                                           415 days later, when
                                                           when the
                                                                the deal
                                                                    deal closed
                                                                         closed and
                                                                                and Verizon
                                                                                    Verizon spun
                                                                                            spun off
                                                                                                 off aa
 subsidiary called
 subsidiary called New
                   New Communications Holdings Inc.
                       Communications Holdings Inc. (the “Midwest Spinco”)
                                                    (the "Midwest          that merged
                                                                  Spinco") that merged with
                                                                                       with Frontier
                                                                                            Frontier
 pursuant to
 pursuant to aa definitive agreement.32
                definitive agreement.'

          12.
          12.      The
                   The public
                       public record
                              record provides no ascertainable
                                     provides no ascertainable date
                                                               date for the beginning
                                                                    for the beginning of
                                                                                      of the
                                                                                         the operational
                                                                                             operational
 timeline. Although
 timeline. Although planning
                    planning for
                             for the
                                 the cutover
                                     cutover undoubtedly
                                             undoubtedly began earlier, the
                                                         began earlier, the observable operational timeline
                                                                            observable operational timeline
 ran
 ran from the closing
     from the closing of
                      of the
                         the deal
                             deal on
                                  on July
                                     July 1, 2010, until
                                          1, 2010, until Frontier completed the
                                                         Frontier completed the integration
                                                                                integration of
                                                                                            of operations
                                                                                               operations to
                                                                                                          to
 its own
 its own systems
         systems on
                 on April
                    April 2,
                          2, 2012,
                             2012, 642
                                   642 days
                                       days later.
                                            later. Over this nearly
                                                   Over this nearly two-year
                                                                    two-year period, underlying operations
                                                                             period, underlying operations
 support for
 support for the
             the former GTE operations
                 former GTE operations in
                                       in 13 states were
                                          13 states were provided
                                                         provided through
                                                                  through aa replica version of
                                                                             replica version    Verizon’s
                                                                                             of Verizon's
 software until
 software until they
                they were
                     were migrated
                          migrated to
                                   to Frontier’s     systems.33
                                                 own systems.'
                                      Frontier's own

          13.
          13.      In
                   In October 2011, all
                      October 2011, all acquired
                                        acquired operations
                                                 operations in
                                                            in Indiana, Michigan, North
                                                               Indiana, Michigan, North Carolina and South
                                                                                        Carolina and South
 Carolina migrated to
 Carolina migrated to Frontier’s operating systems
                      Frontier's operating systems and
                                                   and the
                                                       the acquired
                                                           acquired operations
                                                                    operations in
                                                                               in 13 states were
                                                                                  13 states were
 incorporated
 incorporated into
              into Frontier’s
                   Frontier's financial and human
                              financial and human resources systems.34 Frontier
                                                  resources systems.34 Frontier anticipated
                                                                                anticipated commencing
                                                                                            commencing the
                                                                                                       the
 systems conversion
 systems            in the
         conversion in the remaining states in
                           remaining states in March 2012.35 Finally,
                                               March 2012.35 Finally, in April 2012,
                                                                      in April 2012, the
                                                                                     the acquired
                                                                                         acquired operations
                                                                                                  operations
 in Arizona, California,
 in Arizona, California, Idaho,
                         Idaho, Illinois, Nevada, Ohio,
                                Illinois, Nevada, Ohio, Oregon, Washington and
                                                        Oregon, Washington and Wisconsin
                                                                               Wisconsin were
                                                                                         were transitioned
                                                                                              transitioned
 to Frontier’s
 to Frontier's legacy
               legacy operating systems.36 The
                      operating systems.36     lines in
                                           The lines in West
                                                        West Virginia,
                                                             Virginia, approximately
                                                                       approximately 13 percent of
                                                                                     13 percent of the
                                                                                                   the total
                                                                                                       total




 31
 31
      FCC Memorandum
      FCC Memorandum Opinion
                          Opinion and
                                  and Order, In the
                                      Order, In     Matter of
                                                the Matter  of Applications
                                                               Applications Filed
                                                                            Filed by Frontier Communications
                                                                                  by Frontier Communications
      Corporation and
      Corporation and Verizon  Communications Inc.
                       Verizon Communications    Inc. for
                                                      for Assignment
                                                          Assignment or
                                                                     or Transfer  of Control,
                                                                         Transfer of Control, WC Docket No.
                                                                                              WC Docket No. 09-95,
                                                                                                            09-95,
      May 21,
      May 21, 2010,
              2010, p.
                    p. 4.
                       4.
 32
 32
      Verizon
      Verizon Communications
              Communications Inc.,     Form 10-K
                                 Inc., Foil'      for the
                                             10-K for the Fiscal
                                                          Fiscal Year Ended December
                                                                 Year Ended December 31,
                                                                                       31, 2010,  Note 3;
                                                                                            2010, Note  3; "Verizon
                                                                                                           “Verizon
      Completes
      Completes Spinoff   of Local
                 Spinoff of  Local Exchange
                                   Exchange Businesses
                                              Businesses and  Related Landline
                                                          and Related Landline Activities
                                                                               Activities in
                                                                                          in 14
                                                                                             14 States,”
                                                                                                States," Verizon News
                                                                                                         Verizon News
      Archives, July
      Archives, July 1,
                     1, 2010, https://www.verizon.com/about/news/press-releases/verizon-completes-spinoff-local-
                        2010, https://www.verizon.com/about/news/press-releases/verizon-completes-spinoff-local-
      exchange-businesses-and-related-landline-activities-14-states.
      exchange-businesses-and-related-landline-activities-14-states.
 33
 33
      Frontier Communications,
      Frontier Communications, Customers     Benefit as
                                   Customers Benefit     Frontier Communications
                                                      as Frontier Communications Completes
                                                                                  Completes 14-State
                                                                                             14-State Systems
                                                                                                      Systems
      Conversion,  dated April
      Conversion, dated  April 2,
                                2, 2012,
                                   2012,
      https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm; FCC
      https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm;         FCC Memorandum
                                                                                                       Memorandum
      Opinion
      Opinion and
               and Order, In the
                   Order, In      Matter of
                              the Matter    Applications Filed
                                         of Applications  Filed by Frontier Communications
                                                                by Frontier Communications Corporation
                                                                                            Corporation and
                                                                                                        and Verizon
                                                                                                              Verizon
      Communications Inc.
      Communications    Inc. for
                             for Assignment
                                 Assignment or
                                             or Transfer  of Control,
                                                Transfer of  Control, WC  Docket No.
                                                                      WC Docket  No. 09-95,
                                                                                     09-95, May
                                                                                            May 21,
                                                                                                21, 2010,
                                                                                                    2010, p.
                                                                                                           p. 12.
                                                                                                              12.
 34
 34
      Frontier Communications,
      Frontier Communications, Customers     Benefit as
                                   Customers Benefit    Frontier Communications
                                                     as Frontier Communications Completes
                                                                                Completes 14-State
                                                                                          14-State Systems
                                                                                                   Systems
      Conversion, dated April
      Conversion, dated   April 2,
                                2, 2012,
                                   2012,
      https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.
      https://www. sec. gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.
 35
 35
      Frontier Communications
      Frontier Communications Corporation,  Form 10-K
                               Corporation, Foul'      for the
                                                  10-K for the Year Ended December
                                                               Year Ended December 31,
                                                                                   31, 2012,
                                                                                       2012,
      https://d18rn0p25nwr6d.cloudfront.net/CIK-0000020520/b7334365-f330-4e9d-8f5b-850623fd18d8.pdf, p.
      https://d18m0p25nwr6d.cloudfront.net/CIK-0000020520/b7334365-f330-4e9d-8f5b-850623fdl8d8.pdf,     2.
                                                                                                     p. 2.
 36
 36
      Frontier Communications,
      Frontier Communications, Customers     Benefit as
                                   Customers Benefit    Frontier Communications
                                                     as Frontier Communications Completes
                                                                                Completes 14-State
                                                                                          14-State Systems
                                                                                                   Systems
      Conversion, dated April
      Conversion, dated   April 2,
                                2, 2012,
                                   2012,
      https://www.sec.gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.
      https://www. sec. gov/Archives/edgar/data/20520/000002052012000026/conversionpr.htm.



                                                          B-
                                                          B-66
                                                   APP-717
                                                   APP-717
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                                               Appendix
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 involved
 involved in the transaction,
          in the transaction, were
                              were migrated
                                   migrated from
                                            from Verizon's
                                                 Verizon’s systems
                                                           systems to
                                                                   to Frontier’s systems on
                                                                      Frontier's systems on or
                                                                                            or about
                                                                                               about the
                                                                                                     the
              37
 closing date.
 closing date.37




 37
 37
      Of  the 4.8
      Of the      million access
              4.8 million         lines included
                          access lines  included in   the transaction,
                                                   in the transaction, 600,000
                                                                       600,000 lines  were in
                                                                                lines were  in West
                                                                                               West Virginia.
                                                                                                     Virginia. (See  “FCC
                                                                                                               (See "FCC
      Approves Historic
      Approves    Historic Deal
                           Deal Between
                                 Between Verizon
                                            Verizon and   Frontier, All
                                                      and Frontier, All Necessary
                                                                        Necessary Approvals
                                                                                    Approvals Now
                                                                                                Now Granted,”
                                                                                                      Granted,"
      telecompetitor, May
      telecompetitor,  May 21,
                             21, 2010,  https://www.telecompetitor.com/fcc-approves-historic-deal-between-verizon-
                                 2010, https://www.telecompetitor.com/fcc-approves-historic-deal-between-verizon-
      and-frontier-all-necessary-approvals-now-granted/;
      and-frontier-all-necessary-approvals-now-granted/; FCC    FCC Memorandum
                                                                      Memorandum Opinion
                                                                                      Opinion and
                                                                                               and Order, In the
                                                                                                   Order, In      Matter of
                                                                                                              the Matter of
      Applications Filed
      Applications   Filed by Frontier Communications
                           by Frontier   Communications Corporation
                                                             Corporation and
                                                                          and Verizon    Communications Inc.
                                                                               Verizon Communications     Inc. for
                                                                                                                for Assignment
                                                                                                                    Assignment
      or Transfer
      or           of Control,
         Transfer of  Control, WC     Docket No.
                                WC Docket      No. 09-95,
                                                    09-95, May
                                                            May 21,
                                                                 21, 2010,
                                                                     2010, p.
                                                                           p. 15.)
                                                                              15.) While  the parties
                                                                                   While the          were able
                                                                                              parties were       to cutover
                                                                                                           able to  cutover the
                                                                                                                            the
      sole legacy
      sole  legacy Bell
                   Bell Atlantic
                         Atlantic jurisdiction
                                  jurisdiction (West
                                                (West Virginia)   on or
                                                       Virginia) on  or about the closing
                                                                        about the          date, the
                                                                                   closing date, the cutover for the
                                                                                                     cutover for the remaining
                                                                                                                     remaining
      GTE    properties required
      GTE properties    required aa lengthy
                                    lengthy transition
                                             transition process.
                                                        process.




                                                              B-
                                                              B-77
                                                      APP-718
                                                      APP-718
USCA Case #24-1113          Document #2060757               Filed: 06/20/2024        Page 197 of 313



                      IN
                      IN THE    UNITED STATES
                          THE UNITED       STATES COURT
                                                    COURT OF  APPEALS
                                                          OF APPEALS
                       FOR THE
                       FOR         DISTRICT OF
                             THE DISTRICT       OF COLUMBIA
                                                    COLUMBIA CIRCUIT
                                                              CIRCUIT
 __________________________________________
                                                     ))
 TIKTOK
 TIKTOK INC.,
           INC.,                                     ))
                                                     ))
 and
 and                                                 ))
                                                     ))
 BYTEDANCE LTD.,
 BYTEDANCE       LTD.,                               ))
                                                     ))
                                       Petitioners, ))
                                       Petitioners,
                                                     ))
        v.
        v.                                           ))  No. 24-1113
                                                         No. 24-1113
                                                     ))
                                                     ))
 MERRICK B.
 MERRICK      B. GARLAND,
                 GARLAND, in in his
                                his official
                                    official         ))
 Capacity
 Capacity as  United States
           as United States Attorney
                            Attorney                 ))
 General,
 General,                                            ))
                                                     ))
                                       Respondent. ))
                                       Respondent.
                                                      )
 __________________________________________)

                      DECLARATION OF
                      DECLARATION OF CHRISTOPHER
                                     CHRISTOPHER P.
                                                 P. SIMKINS
                                                    SIMKINS

        I,
        I, Christopher P. Simkins,
           Christopher P.          under penalty
                          Simkins, under         of perjury,
                                         penalty of perjury, hereby
                                                             hereby declare as follows:
                                                                    declare as follows:

 BACKGROUND
 BACKGROUND

        1.
        1.      II am the CEO
                   am the     and Founder
                          CEO and Founder of
                                          of Laconia
                                             Laconia Law
                                                     Law &
                                                         & Consulting and have
                                                           Consulting and have held that
                                                                               held that

 position
 position since 2008. II am
          since 2008.    am also the CEO
                            also the CEO and
                                         and Co-Founder
                                             Co-Founder of
                                                        of Shouldrs,
                                                           Shouldrs, Inc.
                                                                     Inc. In
                                                                          In addition,
                                                                             addition, II serve
                                                                                          serve as
                                                                                                as

 aa Director
    Director on the Board
             on the Board of Directors for
                          of Directors     Zetec, Inc.
                                       for Zetec, Inc. II received
                                                          received my B.A. and
                                                                   my B.A. and J.D. from Brigham
                                                                               J.D. from Brigham

 Young University
 Young University in
                  in 1993
                     1993 and 1997 respectively.
                          and 1997 respectively. II have
                                                    have attached
                                                         attached aa true
                                                                     true and
                                                                          and correct
                                                                              correct copy of my
                                                                                      copy of my

 curriculum
 curriculum vitae to this
            vitae to this declaration.
                          declaration.

        2.
        2.      For the
                For the past 20 years,
                        past 20 years, II have worked at
                                          have worked    the intersection
                                                      at the intersection of
                                                                          of U.S.
                                                                             U.S. national security
                                                                                  national security

 and business. From
 and business. From 2004
                    2004 to
                         to 2007,
                            2007, II served
                                     served in
                                            in the
                                               the U.S.
                                                   U.S. Department
                                                        Department of
                                                                   of Justice (“DOJ”). II started
                                                                      Justice ("DOJ").    started

 as
 as aa prosecutor
       prosecutor and investigator in
                  and investigator in DOJ's
                                      DOJ’s Counterespionage
                                            Counterespionage Section. My primary
                                                             Section. My primary areas
                                                                                 areas of focus
                                                                                       of focus

 were China
 were       and investigations
      China and investigations of
                               of media leaks of
                                  media leaks of classified
                                                 classified programs.
                                                            programs. II subsequently
                                                                         subsequently led DOJ’s
                                                                                      led DOJ's




                                           APP-719
                                           APP-719
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 participation
 participation on the Committee
               on the Committee on Foreign Investment
                                on Foreign            in the
                                           Investment in the United
                                                             United States (“CFIUS”). II was
                                                                    States ("CFIUS").    was

 promoted to Senior
 promoted to Senior Counsel within DOJ's
                    Counsel within DOJ’s Criminal Division and
                                         Criminal Division     then National
                                                           and then National Security
                                                                             Security

 Division, which
 Division, which was
                 was created
                     created during
                             during my tenure. II was
                                    my tenure.    was responsible
                                                      responsible for
                                                                  for coordinating DOJ’s
                                                                      coordinating DOJ's

 (including FBI's)
 (including FBI’s) participation in the
                   participation in the CFIUS
                                        CFIUS process
                                              process and
                                                      and directly advised the
                                                          directly advised the Attorney
                                                                               Attorney General
                                                                                        General

 and Deputy Attorney
 and Deputy Attorney General
                     General on CFIUS matters.
                             on CFIUS matters.

        3.
        3.      As DOJ’s lead
                As DOJ's lead on
                              on CFIUS,
                                 CFIUS, II reviewed
                                           reviewed over
                                                    over 200 transactions. II was
                                                         200 transactions.    was the
                                                                                  the lead
                                                                                      lead

 negotiator
 negotiator on behalf of
            on behalf of CFIUS
                         CFIUS for most of
                               for most of the
                                           the prominent transactions reviewed
                                               prominent transactions          from 2004-2007.
                                                                      reviewed from 2004-2007.

 II authored
    authored multiple
             multiple requests to the
                      requests to the President
                                      President to
                                                to exercise
                                                   exercise executive
                                                            executive authority to block
                                                                      authority to block transactions.
                                                                                         transactions.

 II was
    was the
        the primary architect and
            primary architect and drafter of multiple
                                  drafter of multiple complex
                                                      complex national
                                                              national security
                                                                       security mitigation
                                                                                mitigation

 agreements
 agreements and worked with
            and worked with the
                            the FBI
                                FBI and
                                    and other
                                        other CFIUS agencies such
                                              CFIUS agencies      as the
                                                             such as the Department
                                                                         Department of
                                                                                    of

 Defense, the
 Defense, the Department
              Department of Homeland Security,
                         of Homeland           and Intelligence
                                     Security, and Intelligence Community
                                                                Community agencies
                                                                          agencies to
                                                                                   to assess
                                                                                      assess

 national
 national risks and to
          risks and to develop mitigation strategies.
                       develop mitigation             Most of
                                          strategies. Most of the
                                                              the complex CFIUS matters
                                                                  complex CFIUS matters II

 handled involved transactions
 handled involved transactions with
                               with technology
                                    technology companies, including in
                                               companies, including in sectors
                                                                       sectors such
                                                                               such as
                                                                                    as

 telecommunications, cloud
 telecommunications, cloud computing, semiconductor design,
                           computing, semiconductor design, data
                                                            data center technology, and
                                                                 center technology, and

 computer
 computer software.
          software. II led
                       led CFIUS
                           CFIUS mitigation
                                 mitigation negotiations that were
                                            negotiations that were among the first
                                                                   among the first to
                                                                                   to include
                                                                                      include

 complex
 complex physical and logical
         physical and logical access
                              access restrictions to technology
                                     restrictions to technology platforms
                                                                platforms and
                                                                          and reliance upon
                                                                              reliance upon

 source
 source code
        code review
             review as
                    as means of discovering
                       means of             and deterring
                                discovering and deterring attacks by nation-states.
                                                          attacks by nation-states.

        4.
        4.      Since 2008, II have
                Since 2008,         been aa national
                               have been    national security
                                                     security consultant
                                                              consultant and
                                                                         and lawyer
                                                                             lawyer and
                                                                                    and

 simultaneously
 simultaneously have
                have started
                     started multiple
                             multiple companies, including Corsha,
                                      companies, including Corsha, Inc.,
                                                                   Inc., aa successful technology
                                                                            successful technology

 company that offers
 company that offers aa patented
                        patented cybersecurity
                                 cybersecurity solution
                                               solution for
                                                        for machine-to-machine
                                                            machine-to-machine network traffic
                                                                               network traffic

 that II was
 that    was involved in designing
             involved in designing and
                                   and developing. From 2011
                                       developing. From 2011 to
                                                             to 2017,
                                                                2017, II was
                                                                         was the
                                                                             the CEO
                                                                                 CEO and
                                                                                     and Co-
                                                                                         Co-

 Founder of
 Founder of Chain
            Chain Security, LLC, aa professional
                  Security, LLC,    professional services firm. Our
                                                 services firm. Our clients were primarily
                                                                    clients were primarily

 technology companies
 technology           who were
            companies who were selling
                               selling computing
                                       computing equipment
                                                 equipment and
                                                           and software,
                                                               software, including
                                                                         including



                                                  22
                                           APP-720
                                           APP-720
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 cybersecurity software, to
 cybersecurity software, to the
                            the U.S.
                                U.S. Government and U.S.
                                     Government and U.S. critical infrastructure. Our
                                                         critical infrastructure. Our customers
                                                                                      customers

 typically hired
 typically       us to
           hired us to help analyze and
                       help analyze and solve
                                        solve concerns
                                              concerns raised by government
                                                       raised by government customers
                                                                            customers

 concerning technology supply
 concerning technology supply chains as well
                              chains as well as
                                             as research,
                                                research, development,
                                                          development, and
                                                                       and production being
                                                                           production being

 performed
 performed outside the U.S.,
           outside the U.S., most
                             most often
                                  often in
                                        in China.
                                           China. As
                                                  As aa consultant,
                                                        consultant, II advise large corporations,
                                                                       advise large corporations,

 technology companies,
 technology companies, and
                       and defense
                           defense contractors
                                   contractors on
                                               on national
                                                  national security matters, including
                                                           security matters, including CFIUS
                                                                                       CFIUS

 transactions, as
 transactions, as well
                  well as
                       as operations
                          operations and
                                     and processes
                                         processes required to protect
                                                   required to protect sensitive information. II
                                                                       sensitive information.

 currently serve as
 currently serve as aa technology
                       technology and
                                  and security advisor for
                                      security advisor for aa biotech
                                                              biotech company,
                                                                      company, and
                                                                               and II am
                                                                                      am also
                                                                                         also

 currently an advisor
 currently an advisor to
                      to two
                         two different
                             different companies in the
                                       companies in the national security space
                                                        national security       where one
                                                                          space where one of
                                                                                          of my
                                                                                             my

 roles is to
 roles is to assess
             assess commercial technology platforms
                    commercial technology platforms for
                                                    for repurposing
                                                        repurposing as
                                                                    as national
                                                                       national security
                                                                                security

 platforms.
 platforms. II also
               also serve
                    serve as
                          as aa consultant and expert
                                consultant and        to law
                                               expert to law firms
                                                             firms handling CFIUS transactions.
                                                                   handling CFIUS transactions. II

 have led efforts
 have led         to analyze
          efforts to analyze national
                             national security vulnerabilities and
                                      security vulnerabilities     to put
                                                               and to     in place
                                                                      put in place operational
                                                                                   operational and
                                                                                               and

 technical mitigation
 technical mitigation plans that were
                      plans that were presented to government
                                      presented to government customers, including tracing
                                                              customers, including tracing the
                                                                                           the

 origins of software
 origins of software and
                     and hardware
                         hardware components and maintaining
                                  components and maintaining secure
                                                             secure chains of custody
                                                                    chains of         for
                                                                              custody for

 software.
 software. II remain
              remain abreast of current
                     abreast of current CFIUS trends and
                                        CFIUS trends and approaches to mitigation
                                                         approaches to mitigation as well as
                                                                                  as well as how
                                                                                             how

 U.S. Government
 U.S.            agencies with
      Government agencies with defense, intelligence, and
                               defense, intelligence, and law
                                                          law enforcement
                                                              enforcement responsibilities
                                                                          responsibilities

 assess
 assess risks
        risks associated with the
              associated with the security
                                  security of
                                           of data
                                              data and information systems,
                                                   and information systems, particularly with
                                                                            particularly with

 respect to China.
 respect to China. II have been aa testifying
                      have been    testifying expert in CFIUS-related
                                              expert in CFIUS-related litigation.
                                                                      litigation. A
                                                                                  A copy
                                                                                    copy of
                                                                                         of my
                                                                                            my

 curriculum
 curriculum vitae is attached
            vitae is attached hereto
                              hereto as
                                     as Appendix
                                        Appendix 1.
                                                 1.

 SUMMARY OF DECLARATION
 SUMMARY OF DECLARATION

        5.
        5.      Through their counsel,
                Through their counsel, II have been retained
                                          have been          by Petitioners
                                                    retained by Petitioners TikTok Inc. and
                                                                            TikTok Inc. and

 ByteDance Ltd.
 ByteDance      (“Petitioners”) 1 to
           Ltd. ("Petitioners")1  to analyze the draft
                                     analyze the       National Security
                                                 draft National Security Agreement,
                                                                         Agreement, dated August
                                                                                    dated August


 1
   References to
 1 References to ByteDance
                 ByteDance are   to the
                             are to the corporate group as
                                        corporate group as opposed to any
                                                           opposed to any particular
                                                                          particular corporate
                                                                                     corporate
 entity. However, such
 entity. However,  such references
                         references exclude
                                     exclude TikTok  U.S. Data
                                             TikTok U.S.  Data Security Inc. ("TTUSDS"),
                                                               Security Inc. (“TTUSDS”), asas
 discussed infra paras.
 discussed infra        39, 46-50,
                 paras. 39, 46-50, 53.
                                   53.


                                                  33
                                           APP-721
                                           APP-721
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 23, 2022,
 23, 2022, between
           between these
                   these parties
                         parties and CFIUS ("NSA"),
                                 and CFIUS (“NSA”), and
                                                    and to
                                                        to offer an opinion
                                                           offer an opinion on whether the
                                                                            on whether the

 NSA as
 NSA as drafted would mitigate
        drafted would          the national
                      mitigate the          security concerns
                                   national security concerns expressed by sponsors
                                                              expressed by          of the
                                                                           sponsors of the

 Protecting Americans
 Protecting           From Foreign
            Americans From Foreign Adversary
                                   Adversary Controlled
                                             Controlled Applications
                                                        Applications Act (the "Act")
                                                                     Act (the “Act”) which
                                                                                     which

 coincide with the
 coincide with the rationale
                   rationale expressed by CFIUS
                             expressed by CFIUS during its TikTok
                                                during its TikTok review.
                                                                  review.

         6.
         6.      Throughout this Declaration,
                 Throughout this Declaration, II will
                                                 will use
                                                      use the
                                                          the term
                                                              term "TikTok
                                                                   “TikTok U.S.
                                                                           U.S. App”
                                                                                App" or simply the
                                                                                     or simply the

 “App” to
 "App" to mean
          mean collectively the TikTok
               collectively the TikTok mobile
                                       mobile app
                                              app and the web-based
                                                  and the web-based version
                                                                    version of
                                                                            of TikTok that
                                                                               TikTok that

 specifically
 specifically are used by
              are used by aa "TikTok
                             “TikTok U.S. User.” 2 A
                                     U.S. User."2    “TikTok U.S.
                                                   A "TikTok U.S. User"
                                                                  User” or “User” is
                                                                        or "User" is aa person
                                                                                        person

 using the
 using the App who is
           App who is (i) in the
                      (i) in the U.S.,
                                 U.S., or (ii) outside
                                       or (ii)         the U.S.
                                               outside the U.S. but is identifiable
                                                                but is identifiable as
                                                                                    as aa U.S. person.33
                                                                                          U.S. person.

 II will
    will use the term
         use the term "TikTok
                      “TikTok U.S.
                              U.S. Platform"
                                   Platform” or
                                             or simply the "Platform"
                                                simply the “Platform” to
                                                                      to mean
                                                                         mean the
                                                                              the platform
                                                                                  platform

 components (as explained
 components (as explained more fully below)
                          more fully below) that
                                            that specifically
                                                 specifically support the TikTok
                                                              support the             App.44
                                                                                 U.S. App.
                                                                          TikTok U.S.

         7.
         7.      The U.S. Government,
                 The U.S.             including Congress
                          Government, including Congress and
                                                         and CFIUS, use aa widely
                                                             CFIUS, use    widely adopted
                                                                                  adopted

 model
 model for
       for assessing
           assessing national
                     national security
                              security risks.
                                       risks. The
                                              The risk
                                                  risk model
                                                       model has
                                                             has multiple
                                                                 multiple components—threat,
                                                                          components—threat,

 vulnerability, and
 vulnerability, and consequences. Using an
                    consequences. Using an analytic
                                           analytic approach to each
                                                    approach to each component
                                                                     component enables
                                                                               enables decision
                                                                                       decision

 makers to understand
 makers to understand what
                      what mitigation
                           mitigation may be required
                                      may be          to lower
                                             required to lower national
                                                               national security
                                                                        security risk to
                                                                                 risk to

 acceptable
 acceptable levels.
            levels.

         8.
         8.      CFIUS
                 CFIUS and Petitioners engaged
                       and Petitioners         in protracted
                                       engaged in protracted and
                                                             and detailed
                                                                 detailed mitigation
                                                                          mitigation negotiations
                                                                                     negotiations

 over the course
 over the course of
                 of nearly two years,
                    nearly two years, culminating
                                      culminating in the NSA.
                                                  in the NSA. II have
                                                                 have reviewed the NSA.
                                                                      reviewed the NSA. Using
                                                                                        Using

 the risk
 the risk model,
          model, my
                 my professional
                    professional opinion is that
                                 opinion is that if
                                                 if implemented
                                                    implemented as written, the
                                                                as written, the NSA
                                                                                NSA would
                                                                                    would

 effectively
 effectively mitigate the U.S.
             mitigate the U.S. national
                               national security
                                        security risks
                                                 risks associated with Petitioners
                                                       associated with Petitioners owning
                                                                                   owning and
                                                                                          and

 deploying the TikTok
 deploying the        U.S. App
               TikTok U.S. App and
                               and TikTok U.S. Platform.
                                   TikTok U.S. Platform.



 2
       NSA Sec.
   See NSA
 2 See     Sec. 1.33.
                1.33.
 3
       NSA Sec.
   See NSA
 3 See     Sec. 1.35.
                1.35.
 4
       NSA Sec.
   See NSA
 4 See     Sec. 1.34.
                1.34.


                                                    44
                                             APP-722
                                             APP-722
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        9.
        9.          II have
                       have organized this Declaration
                            organized this Declaration into
                                                       into the
                                                            the following
                                                                following sections, with references
                                                                          sections, with            to
                                                                                         references to

 the corresponding
 the corresponding paragraphs:
                   paragraphs:

             A.
             A.      METHODOLOGY (paras.
                     METHODOLOGY (paras. 10-29), which includes
                                         10-29), which includes these
                                                                these subsections:
                                                                      subsections:

                   i.
                   i.    Overview
                         Overview of the Risk
                                  of the Risk Model
                                              Model (paras.
                                                    (paras. 11-17)
                                                            11-17)

                  ii.
                  ii.    Threat (para. 18)
                         Threat (para. 18)

                  iii.
                  iii.   Vulnerability/Consequences
                         Vulnerability/Consequences (paras.
                                                    (paras. 19-22)
                                                            19-22)

                  iv.
                  iv.    The Role of
                         The Role    Mitigation (paras.
                                  of Mitigation (paras. 23-29)
                                                        23-29)

             B.
             B.      ANALYSIS
                     ANALYSIS (paras.
                              (paras. 30-104), which includes
                                      30-104), which          these subsections:
                                                     includes these subsections:

                   i.
                   i.    History of
                         History of Negotiations
                                    Negotiations (paras.
                                                 (paras. 32-37)
                                                         32-37)

                  ii.
                  ii.    Key Elements
                         Key Elements of the NSA
                                      of the NSA (paras.
                                                 (paras. 38-75)
                                                         38-75)

                  iii.
                  iii.   Caveats and Assumptions
                         Caveats and             (paras. 76-80)
                                     Assumptions (paras. 76-80)

                  iv.
                  iv.    Analysis of the
                         Analysis of the NSA
                                         NSA (paras.
                                             (paras. 81-104)
                                                     81-104)

             C.
             C.      CONCLUSIONS
                     CONCLUSIONS (paras.
                                 (paras. 105-107)
                                         105-107)

 METHODOLOGY
 METHODOLOGY

        10.
        10.         To
                    To assess the NSA,
                       assess the NSA, II will
                                          will use
                                               use the
                                                   the established
                                                       established risk-based
                                                                   risk-based methodology that is
                                                                              methodology that is well-
                                                                                                  well-

 known and well-accepted
 known and well-accepted across
                         across the
                                the government's
                                    government’s national security community.
                                                 national security            First, II will
                                                                   community. First,    will

 frame the model’s
 frame the         importance in
           model's importance in national
                                 national security
                                          security decision
                                                   decision making
                                                            making and
                                                                   and summarize
                                                                       summarize how the
                                                                                 how the

 model works. II will
 model works.    will then
                      then discuss in more
                           discuss in more depth
                                           depth each
                                                 each of the components
                                                      of the components or
                                                                        or parameters that feed
                                                                           parameters that feed

 into the
 into the risk model. II will
          risk model.    will then
                              then discuss the role
                                   discuss the      of mitigation
                                               role of            in addressing
                                                       mitigation in addressing national security risk.
                                                                                national security risk.

        Overview of the
        Overview of the Risk
                        Risk Model
                             Model

        11.
        11.         It is important
                    It is important to
                                    to understand
                                       understand the
                                                  the reasons
                                                      reasons for using aa model
                                                              for using    model for analyzing national
                                                                                 for analyzing national

 security
 security risk,
          risk, rather than falling
                rather than falling back
                                    back on broad or
                                         on broad    vague national
                                                  or vague          “interests” tests
                                                           national "interests" tests when
                                                                                      when making
                                                                                           making

 national security decisions.
 national security            By relying
                   decisions. By relying on an analytic
                                         on an analytic model with specific
                                                        model with specific parameters, the U.S.
                                                                            parameters, the U.S.



                                                      55
                                               APP-723
                                               APP-723
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 Government is empowered
 Government is           to make
               empowered to make better
                                 better decisions about when
                                        decisions about when to
                                                             to take
                                                                take action
                                                                     action to
                                                                            to protect
                                                                               protect national
                                                                                       national

 security interests and
 security interests     what actions
                    and what         to take.
                             actions to take. The
                                              The model
                                                  model ensures that Congress,
                                                        ensures that Congress, CFIUS,
                                                                               CFIUS, and
                                                                                      and other
                                                                                          other

 government decision
 government decision makers
                     makers are more rigorous
                            are more          in assessing
                                     rigorous in           which specific
                                                 assessing which specific mitigation
                                                                          mitigation

 mechanisms
 mechanisms are
            are needed to protect
                needed to protect national
                                  national security,
                                           security, how those mechanisms
                                                     how those mechanisms should be
                                                                          should be

 implemented and
 implemented     by whom,
             and by whom, and
                          and how to measure
                              how to         their effectiveness.
                                     measure their effectiveness. The
                                                                  The model is intended
                                                                      model is intended to
                                                                                        to

 blunt the
 blunt the temptation
           temptation to
                      to substitute
                         substitute political
                                    political decisions
                                              decisions or “gut feelings”
                                                        or "gut feelings" for analysis in
                                                                          for analysis in situations
                                                                                          situations

 where, either
 where,        by long-standing
        either by long-standing consensus or as
                                consensus or as mandated
                                                mandated by
                                                         by law,
                                                            law, aa more
                                                                    more precise, thoughtful, and
                                                                         precise, thoughtful, and

 thorough national
 thorough          security determination
          national security               is required.
                            determination is required.

        12.
        12.     U.S. Government
                U.S.            agencies use
                     Government agencies use this
                                             this risk
                                                  risk model when assessing
                                                       model when assessing cybersecurity
                                                                            cybersecurity risks
                                                                                          risks

 and
 and other
     other national
           national security
                    security risks to networks,
                             risks to networks, data,
                                                data, privacy,
                                                      privacy, and             systems. 55 For
                                                                   information systems.
                                                               and information             For

 example,
 example, as
          as recently
             recently as March 2024,
                      as March 2024, the
                                     the Government
                                         Government Accountability Office relied
                                                    Accountability Office relied on this risk
                                                                                 on this risk

 model when advising
 model when advising Congress
                     Congress on
                              on cybersecurity
                                 cybersecurity risks to critical
                                               risks to                         systems. 6 In
                                                                 infrastructure systems.6
                                                        critical infrastructure            In

 2018, Congress
 2018, Congress codified this risk
                codified this risk model in the
                                   model in the statute that governs
                                                statute that governs CFIUS,
                                                                     CFIUS, requiring
                                                                            requiring CFIUS to
                                                                                      CFIUS to

 use the
 use the model when deciding
         model when          whether to
                    deciding whether to allow,
                                        allow, block,
                                               block, or
                                                      or mitigate transactions under
                                                         mitigate transactions       review.77
                                                                               under review.

 CFIUS
 CFIUS has
       has likewise
           likewise codified this risk
                    codified this risk model
                                       model in     regulations.88
                                                its regulations.
                                             in its



 5
   See, e.g.,
 5 See,       Nat’l Counterintelligence
        e.g., Nat'l Counterintelligence and
                                        and Sec.
                                            Sec. Ctr.,
                                                 Ctr., Off.
                                                       Off. of Dir. of
                                                            of Dir.    Nat’l Intel.,
                                                                    of Nat'l         Framework for
                                                                             Intel., Framework  for
 Assessing Risks
 Assessing         (April 2021),
            Risks (April  2021),
 https://www.dni.gov/files/NCSC/documents/supplychain/Framework_for_Assessing_Risks_-
 https://www.dni.gov/files/NCSC/documents/supplychain/Framework for Assessing Risks -
   FINAL Doc.pdf
  FINAL     Doc.pdf [hereinafter
                      [hereinafter "ODNI
                                   “ODNI Framework"];
                                          Framework”]; Nat'l
                                                           Nat’l Inst.
                                                                 Inst. of
                                                                       of Standards & Tech.,
                                                                          Standards &        Dep’t of
                                                                                      Tech., Dep't of
 Com.,   NIST Special
 Com., NIST             Pub. 800-30
               Special Pub.          Rev. 1,
                             800-30 Rev.  1, Guide  for Conducting
                                             Guide for  Conducting Risk
                                                                      Risk Assessments (Sept. 2012),
                                                                           Assessments (Sept. 2012),
 https://nvlpubs.nist.gov/nistpubs/legacy/sp/nistspecialpublication800-30r1.pdf;     Dep’t of
 https://nvlpubs.nist.gov/nistpubs/legacy/sp/nistspecialpublication800-30r1.pdf; Dep't     of
 Homeland Sec.,
 Homeland          DHS Risk
             Sec., DHS   Risk Lexicon (Sept. 2010),
                              Lexicon (Sept. 2010), https://www.dhs.gov/xlibrary/assets/dhs-risk-
                                                     https://www.dhs.gov/xlibrary/assets/dhs-risk-
 lexicon-2010.pdf   [hereinafter "DHS
 lexicon-2010.pdf [hereinafter   “DHS Lexicon"].
                                       Lexicon”].
 6
 6 See U.S. Gov’t
   See U.S. Gov't Accountability
                  Accountability Off.,
                                 Off, Cybersecurity:  Improvements Needed
                                       Cybersecurity: Improvements Needed in
                                                                          in Addressing
                                                                             Addressing Risks
                                                                                        Risks
 to
 to Operational
    Operational Technology (Mar. 2024),
                Technology (Mar. 2024), https://www.gao.gov/assets/gao-24-106576.pdf.
                                        https://www.gao.gov/assets/gao-24-106576.pdf.
 7
       Foreign Investment
   See Foreign
 7 See                    Risk Review
               Investment Risk Review Modernization
                                      Modernization Act
                                                    Act of 2018 (FIRRMA),
                                                        of 2018           Pub. L.
                                                                (FIRRMA), Pub. L. 115-232,
                                                                                  115-232,
 132
 132 Stat.
     Stat. 2174 (2018) (codified
           2174 (2018) (codified at
                                 at 50 U.S.C. §§ 4565).
                                    50 U.S.C.    4565).
 8
       31 C.F.R.
   See 31
 8 See    C.F.R. §
                 § 800.102 (Risk-based analysis).
                   800.102 (Risk-based analysis).


                                                   6
                                                   6
                                            APP-724
                                            APP-724
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        13.
        13.     In the lexicon
                In the lexicon of this model,
                               of this        “risk” is
                                       model, "risk" is aa term
                                                           term of
                                                                of art.
                                                                   art. The
                                                                        The simplified formula for
                                                                            simplified formula for

 risk is as
 risk is as follows:
            follows: Risk
                     Risk =
                          = Threat
                            Threat ** Vulnerability/Consequences.
                                      Vulnerability/Consequences. Because
                                                                  Because each
                                                                          each of these elements
                                                                               of these elements

 –— threat
    threat and
           and vulnerability/consequences—
               vulnerability/consequences– are
                                           are qualitative
                                               qualitative rather than quantitative,
                                                           rather than               the formula
                                                                       quantitative, the formula is
                                                                                                 is

 obviously
 obviously not intended to
           not intended to be
                           be mathematical.
                              mathematical. Instead,
                                            Instead, it
                                                     it represents
                                                        represents aa qualitative
                                                                      qualitative combination
                                                                                  combination of
                                                                                              of

 each
 each element to make
      element to make aa holistic
                         holistic determination
                                  determination about
                                                about national security interests.
                                                      national security interests.

        14.
        14.     When conducting
                When            an analysis
                     conducting an          using the
                                   analysis using the model,
                                                      model, aa decision
                                                                decision maker
                                                                         maker or analyst
                                                                               or analyst

 considers
 considers each
           each of the elements
                of the          independently using
                       elements independently using data that is
                                                    data that is specific to the
                                                                 specific to the element. Each
                                                                                 element. Each

 element is then
 element is then typically
                 typically scored
                           scored as low, medium,
                                  as low,         or high.
                                          medium, or high. The
                                                           The elements
                                                               elements are then combined
                                                                        are then combined or
                                                                                          or

 “averaged” to
 "averaged" to produce
               produce an
                       an overall
                          overall risk that is
                                  risk that is either
                                               either low,
                                                      low, medium,
                                                           medium, or
                                                                   or high. For example,
                                                                      high. For          in aa
                                                                                example, in

 given national
 given national security
                security context,
                         context, such
                                  such as
                                       as an acquisition of
                                          an acquisition of aa U.S.
                                                               U.S. company by aa non-U.S.
                                                                    company by             buyer,
                                                                                  non-U.S. buyer,

 the model
 the model could indicate that
           could indicate that the
                               the THREAT is LOW
                                   THREAT is LOW and the
                                                 and the

 VULNERABILITY/CONSEQUENCES is HIGH,
 VULNERABILITY/CONSEQUENCES is HIGH, leading
                                     leading to
                                             to aa conclusion that the
                                                   conclusion that the overall RISK
                                                                       overall RISK

 to national
 to national security for the
             security for the transaction
                              transaction is
                                          is HIGH.
                                             HIGH. Similarly,
                                                   Similarly, e.g., the model
                                                              e.g., the model could indicate that
                                                                              could indicate that the
                                                                                                  the

 THREAT is HIGH,
 THREAT is HIGH, but
                 but the
                     the VULNERABILITY/
                         VULNERABILITY/ CONSEQUENCES
                                        CONSEQUENCES are LOW, giving
                                                     are LOW, giving the
                                                                     the

 transaction an
 transaction an overall
                overall risk of LOW.
                        risk of LOW.

        15.
        15.     Again, the formula
                Again, the formula is
                                   is ultimately
                                      ultimately qualitative, so it
                                                 qualitative, so it is
                                                                    is not as simple
                                                                       not as simple as
                                                                                     as saying,
                                                                                        saying, e.g.,
                                                                                                e.g.,

 two LOWs
 two LOWs and
          and aa HIGH
                 HIGH average
                      average out to aa MEDIUM.
                              out to    MEDIUM. Some judgment and
                                                Some judgment and weighting
                                                                  weighting are
                                                                            are required,
                                                                                required,

 depending
 depending on the context.
           on the context. The
                           The qualitative
                               qualitative risk scoring guides
                                           risk scoring guides the
                                                               the analysis and suggests
                                                                   analysis and suggests roughly
                                                                                         roughly

 the overall
 the overall risk
             risk outcome.
                  outcome.

        16.
        16.     In my experience
                In my            in the
                      experience in the CFIUS
                                        CFIUS context, when the
                                              context, when the model
                                                                model indicates
                                                                      indicates that
                                                                                that the
                                                                                     the

 national security risk
 national security      for aa transaction
                   risk for    transaction is
                                           is HIGH,
                                              HIGH, CFIUS
                                                    CFIUS typically
                                                          typically either (i) has
                                                                    either (i) has demanded that the
                                                                                   demanded that the

 parties agree to
 parties agree to mitigation
                  mitigation or (ii), in
                             or (ii), in cases where mitigation
                                         cases where mitigation was
                                                                was not
                                                                    not sufficient
                                                                        sufficient or
                                                                                   or if the parties
                                                                                      if the parties

 would not
 would not agree to CFIUS's
           agree to CFIUS’s demands,
                            demands, has
                                     has recommended that the
                                         recommended that the President
                                                              President exercise
                                                                        exercise his authority
                                                                                 his authority



                                                   77
                                            APP-725
                                            APP-725
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 to block
 to block the
          the transaction
              transaction or
                          or requested the parties
                             requested the         to abandon
                                           parties to abandon the
                                                              the transaction.
                                                                  transaction. For
                                                                               For transactions
                                                                                   transactions that
                                                                                                that

 are
 are rated as aa MEDIUM
     rated as    MEDIUM risk,
                        risk, CFIUS
                              CFIUS has typically required
                                    has typically required some
                                                           some level
                                                                level of
                                                                      of mitigation,
                                                                         mitigation, but
                                                                                     but has
                                                                                         has

 rarely blocked such
 rarely blocked such transactions.
                     transactions. Transactions with LOW
                                   Transactions with LOW risk
                                                         risk are typically approved
                                                              are typically approved without
                                                                                     without

 further
 further action.
         action.

         17.
         17.       When assessing
                   When assessing any of the
                                  any of the model’s
                                             model's components, U.S. Government
                                                     components, U.S. Government decision
                                                                                 decision

 makers typically rely
 makers typically rely on
                       on aa mix
                             mix of
                                 of publicly
                                    publicly available
                                             available information,
                                                       information, unclassified but confidential
                                                                    unclassified but confidential

 government information,
 government information, and
                         and classified information. Congress
                             classified information.          and CFIUS
                                                     Congress and CFIUS can
                                                                        can draw
                                                                            draw on
                                                                                 on reporting
                                                                                    reporting

 from the U.S.
 from the U.S. intelligence,
               intelligence, defense, and law
                             defense, and law enforcement
                                              enforcement communities,
                                                          communities, particularly
                                                                       particularly for threat
                                                                                    for threat

 information, as
 information,    well as
              as well as on
                         on expertise
                            expertise across the government
                                      across the government for
                                                            for sensitive information about
                                                                sensitive information about

 threats, vulnerabilities,
 threats, vulnerabilities, and
                           and consequences. Parties to
                               consequences. Parties to aa transaction,
                                                           transaction, such
                                                                        such as the Petitioners,
                                                                             as the Petitioners, are
                                                                                                 are

 also very important
 also very important sources
                     sources of
                             of information,
                                information, particularly
                                             particularly related to vulnerabilities.
                                                          related to vulnerabilities. Government
                                                                                      Government

 agencies also use
 agencies also use aa review
                      review of
                             of open-source information to
                                open-source information to understand
                                                           understand technologies,
                                                                      technologies, industry
                                                                                    industry

 dynamics, and customer
 dynamics, and          use cases.
               customer use cases.

         Threat
         Threat

         18.
         18.       Under the
                   Under the lexicon
                             lexicon of the risk
                                     of the risk model, “threat” focuses
                                                 model, "threat" focuses on an assessment
                                                                         on an            of the
                                                                               assessment of the

 foreign
 foreign or
         or non-U.S.
            non-U.S. actors in the
                     actors in the context. For example,
                                   context. For          the threat
                                                example, the threat analysis
                                                                    analysis here would be
                                                                             here would be focused
                                                                                           focused

 on ByteDance and,
 on ByteDance      because it
              and, because it is
                              is indirectly
                                 indirectly wholly
                                            wholly owned by ByteDance
                                                   owned by ByteDance Ltd.,
                                                                      Ltd., TikTok Inc. The
                                                                            TikTok Inc. The

 specific
 specific question when assessing
          question when assessing aa threat
                                     threat is
                                            is whether
                                               whether the
                                                       the foreign
                                                           foreign person
                                                                   person at
                                                                          at issue
                                                                             issue has (a) an
                                                                                   has (a) an intent
                                                                                              intent

 and (b) aa capability
 and (b)               to take
            capability to take action that would
                               action that would impair
                                                 impair U.S.
                                                        U.S. national security. 9 As
                                                             national security.9  As discussed
                                                                                     discussed below,
                                                                                               below,

 II assume for purposes
    assume for          of this
               purposes of this Declaration,
                                Declaration, that
                                             that the
                                                  the U.S.
                                                      U.S. Government will consider
                                                           Government will          the Chinese
                                                                           consider the Chinese



 9
        e.g., 31
   See, e.g.,
 9 See,       31 C.F.R.
                 C.F.R. §
                        § 800.102(a)
                          800.102(a) (CFIUS
                                     (CFIUS definition
                                            definition of “threat”); see
                                                       of "threat");     also ODNI
                                                                     see also      Framework,
                                                                              ODNI Framework,
 supra note
 supra note 5,
            5, at 2 ("From
               at 2  (“From the
                              the threat
                                  threat perspective,
                                         perspective, an
                                                       an understanding
                                                          understanding of    the adversary’s
                                                                           of the  adversary's intentions
                                                                                               intentions
 and
 and capabilities is vital.
     capabilities is  vital. Key
                             Key to
                                 to this
                                    this is
                                         is using the latest
                                            using the latest threat
                                                             threat information
                                                                     information to
                                                                                  to determine  if specific
                                                                                     determine if  specific
 and
 and credible
     credible evidence
              evidence suggests
                          suggests an  item or
                                    an item  or service
                                                service might
                                                         might be   targeted by
                                                                be targeted  by adversaries.").
                                                                                adversaries.”).


                                                      8
                                                      8
                                              APP-726
                                              APP-726
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 government and
 government     most if
            and most if not all Chinese
                        not all Chinese companies
                                        companies as
                                                  as posing
                                                     posing aa HIGH
                                                               HIGH threat
                                                                    threat to
                                                                           to U.S.
                                                                              U.S. national
                                                                                   national

 security
 security interests.
          interests.

         Vulnerability/Consequences
         Vulnerability/Consequences

         19.
         19.     The “vulnerability” and
                 The "vulnerability" and consequences analyses are
                                         consequences analyses are focused
                                                                   focused on the U.S.
                                                                           on the U.S. company,
                                                                                       company,

 U.S. person,
 U.S. person, or U.S.-based assets
              or U.S.-based        in the
                            assets in the transaction.
                                          transaction. The
                                                       The analysis
                                                           analysis can
                                                                    can consider
                                                                        consider an
                                                                                 an entire U.S.
                                                                                    entire U.S.

 business or
 business    just U.S.-based
          or just U.S.-based assets,
                             assets, data,
                                     data, or
                                           or operations
                                              operations in the business.
                                                         in the business.

         20.
         20.     The vulnerability analysis
                 The vulnerability          for the
                                   analysis for the current
                                                    current context would be
                                                            context would be focused
                                                                             focused on the TikTok
                                                                                     on the TikTok

 U.S. App
 U.S. App and the TikTok
          and the        U.S. Platform.
                  TikTok U.S. Platform. The
                                        The specific
                                            specific question when assessing
                                                     question when assessing aa vulnerability
                                                                                vulnerability is
                                                                                              is

 whether the
 whether the U.S.
             U.S. company,
                  company, person,
                           person, or
                                   or assets
                                      assets could be exploited
                                             could be           by the
                                                      exploited by the foreign
                                                                       foreign person (i.e., the
                                                                               person (i.e., the
                                                                   10
 foreign “threat” actor)
 foreign "threat"        to hurt
                  actor) to hurt or impair U.S.
                                 or impair U.S. national
                                                national security.
                                                         security.1°

         21.
         21.     Sponsors
                 Sponsors of the Act
                          of the Act identified
                                     identified two
                                                two U.S.
                                                    U.S. interests
                                                         interests that
                                                                   that could be harmed
                                                                        could be        by the
                                                                                 harmed by the

 Petitioners through
 Petitioners through their
                     their control of the
                           control of the TikTok U.S. App
                                          TikTok U.S. App and the TikTok
                                                          and the             Platform. 11 The
                                                                         U.S. Platform."
                                                                  TikTok U.S.              The

 first is
 first is the
          the data
              data about U.S. users
                   about U.S. users or
                                    or subgroups
                                       subgroups of
                                                 of users that is
                                                    users that is gathered by or
                                                                  gathered by or stored
                                                                                 stored on the TikTok
                                                                                        on the TikTok

 U.S. Platform
 U.S. Platform as
               as aa result
                     result of
                            of using the TikTok
                               using the        U.S. App.
                                         TikTok U.S. App. The
                                                          The data
                                                              data could include personal
                                                                   could include personal

 identifying information,
 identifying information, financial
                          financial information,
                                    information, geolocation,
                                                 geolocation, social
                                                              social connections,
                                                                     connections, and
                                                                                  and patterns
                                                                                      patterns of
                                                                                               of




 10
 1°      e.g., 31
    See, e.g.,
    See,       31 C.F.R.
                  C.F.R. §
                         § 800.102(b)
                           800.102(b) (CFIUS
                                       (CFIUS definition
                                                definition of “vulnerability”); see
                                                           of "vulnerability");  see also   DHS
                                                                                     also DHS
 Lexicon, supra
 Lexicon,   supra note
                  note 5,
                       5, at
                          at 38 (“physical feature
                             38 ("physical feature or
                                                   or operational
                                                      operational attribute that renders
                                                                  attribute that  renders anan entity,
                                                                                               entity,
 asset,
 asset, system,
        system, network,   or geographic
                 network, or  geographic area
                                         area open  to exploitation
                                              open to  exploitation or
                                                                    or susceptible
                                                                       susceptible toto aa given
                                                                                           given
 hazard”).
 hazard").
 11
 11 While
    While II have
             have limited
                  limited my
                           my discussion    in this
                                discussion in  this Declaration
                                                    Declaration toto the
                                                                     the two
                                                                         two asserted
                                                                              asserted vulnerabilities   that
                                                                                         vulnerabilities that
 apparently
 apparently motivated    the sponsors
              motivated the  sponsors of   the Act,
                                        of the Act, as
                                                     as part
                                                        part of
                                                              of my
                                                                 my analysis
                                                                     analysis II considered
                                                                                 considered anan expanded
                                                                                                 expanded
 array
 array of
       of relevant
          relevant national
                    national security  vulnerabilities, including
                              security vulnerabilities,   including those
                                                                     those cited  by CFIUS.
                                                                           cited by             See, e.g.,
                                                                                      CFIUS. See,    e.g.,
 Exec. Order
 Exec.         No. 14083,
       Order No.    14083, Sec.   3(c)(i), 87
                            Sec. 3(c)(i),     Fed. Reg.
                                           87 Fed.  Reg. 57369,
                                                           57369, 57372-73    (Sept. 15,
                                                                   57372-73 (Sept.        2022); Letter
                                                                                      15, 2022);  Letter from
                                                                                                          from
 Thomas
 Thomas P.P. Feddo,
              Feddo, Assistant
                      Assistant Secretary
                                 Secretary Investment
                                            Investment Security,     U.S. Dept.
                                                           Security, U.S.  Dept. of
                                                                                  of Treasury
                                                                                     Treasury (on
                                                                                                (on behalf
                                                                                                    behalf of
                                                                                                            of
 CFIUS)
 CFIUS) toto David
             David N.N. Fagan
                        Fagan and    Michael E.
                                and Michael    E. Leiter
                                                  Leiter (counsel
                                                          (counsel for  ByteDance and
                                                                    for ByteDance     and TikTok)
                                                                                           TikTok) 33 (Jul.
                                                                                                      (Jul.
 30, 2020)
 30, 2020) (CFIUS
            (CFIUS referral    to the
                      referral to the President).
                                      President). MyMy opinion    that the
                                                        opinion that   the NSA
                                                                           NSA would
                                                                                  would effectively
                                                                                          effectively mitigate
                                                                                                      mitigate
 national
 national security
          security risks  includes mitigating
                    risks includes               the full
                                    mitigating the   full array
                                                          array of  vulnerabilities II considered
                                                                 of vulnerabilities                that could
                                                                                       considered that  could
 possibly
 possibly be
           be associated  with the
              associated with   the TikTok    U.S. App
                                    TikTok U.S.     App and   the TikTok
                                                          and the          U.S. Platform.
                                                                   TikTok U.S.    Platform.


                                                      99
                                              APP-727
                                              APP-727
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 behavior. Whether
 behavior. Whether standing
                   standing alone or combined
                            alone or          with other
                                     combined with other compromised
                                                         compromised data
                                                                     data sets,
                                                                          sets, compromised
                                                                                compromised

 user data
 user data could be used
           could be used for
                         for "the
                             “the surveillance, tracing, tracking,
                                  surveillance, tracing, tracking, and
                                                                   and targeting
                                                                       targeting of individuals or
                                                                                 of individuals or

 groups of
 groups of individuals,"
           individuals,” particularly
                         particularly in light of
                                      in light of recent
                                                  recent advancements in artificial
                                                         advancements in            intelligence and
                                                                         artificial intelligence and

 data science. 12
 data science. 12 The
                  The second interest identified
                      second interest identified by
                                                 by congressional
                                                    congressional sponsors
                                                                  sponsors of the Act
                                                                           of the Act is that the
                                                                                      is that the

 content
 content on the TikTok
         on the        U.S. Platform
                TikTok U.S. Platform could be manipulated
                                     could be             to serve
                                              manipulated to       the interests
                                                             serve the interests of the Chinese
                                                                                 of the Chinese

 government through
 government through spreading
                    spreading pro-Chinese
                              pro-Chinese propaganda,
                                          propaganda, censoring
                                                      censoring anti-Chinese
                                                                anti-Chinese content,
                                                                             content, or
                                                                                      or

 promoting
 promoting content
           content intended to incite
                   intended to incite disunity
                                      disunity and
                                               and foment
                                                   foment hate in the
                                                          hate in the U.S.
                                                                      U.S. on
                                                                           on divisive issues.
                                                                              divisive issues.

         22.
         22.     The “consequences” (sometimes
                 The "consequences" (sometimes called “impact”) assessment
                                               called "impact")            is closely
                                                                assessment is closely related to
                                                                                      related to

 the vulnerability
 the vulnerability assessment
                   assessment and
                              and is
                                  is often
                                     often included
                                           included as
                                                    as an
                                                       an element
                                                          element of vulnerability. The
                                                                  of vulnerability. The

 consequences
 consequences assessment focuses on
              assessment focuses    the specific
                                 on the specific national
                                                 national security
                                                          security interests
                                                                   interests at stake or
                                                                             at stake    affected
                                                                                      or affected

 by the
 by the U.S.
        U.S. company,
             company, person,
                      person, or
                              or asset.
                                 asset. It
                                        It seeks to characterize
                                           seeks to characterize how
                                                                 how much
                                                                     much damage would be
                                                                          damage would be

 caused to national
 caused to national security
                    security if
                             if aa vulnerability
                                   vulnerability is
                                                 is exploited.
                                                    exploited.

         The Role of
         The Role of Mitigation
                     Mitigation

         23.
         23.     The
                 The role
                     role of
                          of mitigation
                             mitigation is to reduce
                                        is to reduce specific
                                                     specific elements
                                                              elements of the risk
                                                                       of the risk model such that
                                                                                   model such that

 the overall
 the overall national
             national security
                      security risk
                               risk level
                                    level drops to an
                                          drops to an acceptable
                                                      acceptable level, typically LOW
                                                                 level, typically LOW or MEDIUM.
                                                                                      or MEDIUM.

 To
 To accomplish this, mitigation
    accomplish this, mitigation must
                                must be
                                     be specifically tuned to
                                        specifically tuned to the
                                                              the elements of threat
                                                                  elements of threat and
                                                                                     and

 vulnerability, including
 vulnerability, including consequences.
                          consequences.

         24.
         24.     Mitigation is
                 Mitigation is typically
                               typically accomplished
                                         accomplished by imposing aa legal
                                                      by imposing    legal obligation
                                                                           obligation on the parties
                                                                                      on the parties

 in aa particular
 in    particular national
                  national security
                           security context to take
                                    context to take action to mitigate
                                                    action to          the risk.
                                                              mitigate the risk. These
                                                                                 These legal
                                                                                       legal

 obligations typically take
 obligations typically take the
                            the form
                                form of
                                     of an
                                        an agreement with the
                                           agreement with the U.S.
                                                              U.S. Government,
                                                                   Government, or they may
                                                                               or they may

 include unilateral
 include unilateral action taken by
                    action taken by private
                                    private parties.
                                            parties. In the context
                                                     In the context of business operations
                                                                    of business operations and
                                                                                           and




 12
    Exec. Order
 12 Exec. Order 14083,
                14083, Sec. 3(c)(i), 87
                       Sec. 3(c)(i),    Fed. Reg.
                                     87 Fed. Reg. at
                                                  at 57372-73.
                                                     57372-73.


                                                    10
                                                    10
                                             APP-728
                                             APP-728
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 mergers
 mergers and
         and acquisitions, the mitigation
             acquisitions, the mitigation obligations
                                          obligations can be required
                                                      can be          of aa foreign
                                                             required of    foreign actor,
                                                                                    actor, aa U.S.
                                                                                              U.S.

 actor,
 actor, or both. The
        or both.     NSA is
                 The NSA is an
                            an example of such
                               example of such aa mitigation
                                                  mitigation contract.
                                                             contract.

        25.
        25.     The U.S. Government
                The U.S. Government has
                                    has aa long
                                           long history
                                                history of
                                                        of favoring
                                                           favoring mitigation to reduce
                                                                    mitigation to reduce national
                                                                                         national

 security
 security risks. CFIUS is
          risks. CFIUS is aa prime, but not
                             prime, but not exclusive,
                                            exclusive, example of aa government
                                                       example of    government entity
                                                                                entity engaging in
                                                                                       engaging in

 mitigation to reduce
 mitigation to reduce risk.
                      risk. The Federal Communications
                            The Federal                Commission ("FCC"),
                                        Communications Commission (“FCC”), in
                                                                           in conjunction
                                                                              conjunction
                                            13
 with the
 with the interagency
          interagency group
                      group "Team
                            “Team Telecom,”
                                  Telecom," 13 adopts
                                               adopts mitigation agreements similar
                                                      mitigation agreements         to those
                                                                            similar to those

 imposed by
 imposed by CFIUS
            CFIUS as
                  as aa condition
                        condition of granting Section
                                  of granting         214 licenses
                                              Section 214 licenses to
                                                                   to non-U.S.
                                                                      non-U.S. applicants
                                                                               applicants for the
                                                                                          for the

 provision
 provision of
           of international telecommunications services
              international telecommunications          to or
                                               services to    from the
                                                           or from the United
                                                                       United States.
                                                                              States. The U.S.
                                                                                      The U.S.

 Department of
 Department    Defense as
            of Defense    well as
                       as well as Intelligence
                                  Intelligence Community
                                               Community agencies frequently enter
                                                         agencies frequently       into
                                                                             enter into

 mitigation
 mitigation agreements to address
            agreements to address foreign
                                  foreign ownership,
                                          ownership, control,
                                                     control, and influence by
                                                              and influence by foreign
                                                                               foreign persons
                                                                                       persons

 over U.S. companies
 over U.S. companies and will also
                     and will also enter
                                   enter into
                                         into agreements
                                              agreements or
                                                         or require unilateral action
                                                            require unilateral        to reduce
                                                                               action to reduce

 risk
 risk in technology supply
      in technology supply chains.
                           chains.

        26.
        26.     CFIUS
                CFIUS has been reluctant
                      has been           to use
                               reluctant to use mitigation to lower
                                                mitigation to lower national
                                                                    national security
                                                                             security risk when
                                                                                      risk when

 the mitigation
 the mitigation depends
                depends on
                        on an untrusted foreign
                           an untrusted foreign company to faithfully
                                                company to            implement the
                                                           faithfully implement the mitigation
                                                                                    mitigation

 terms. CFIUS
 terms. CFIUS has
              has reasoned that, e.g.,
                  reasoned that,       it cannot
                                 e.g., it        trust aa Chinese
                                          cannot trust    Chinese company to comply
                                                                  company to        with
                                                                             comply with

 contractual
 contractual mitigation
             mitigation commitments if the
                        commitments if the Chinese
                                           Chinese government
                                                   government at
                                                              at some
                                                                 some point
                                                                      point demands that the
                                                                            demands that the

 company take action
 company take action against U.S. national
                     against U.S. national security interests. This
                                           security interests. This is the reason
                                                                    is the reason many
                                                                                  many China-
                                                                                       China-

 related transactions have
 related transactions      been turned
                      have been turned away by CFIUS
                                       away by       in recent
                                               CFIUS in        years, when
                                                        recent years, when similar
                                                                           similar transactions
                                                                                   transactions

 deriving
 deriving from
          from other
               other high-threat
                     high-threat countries
                                 countries have been cleared
                                           have been cleared subject to mitigation.
                                                             subject to mitigation.

        27.
        27.     The
                The exception to this
                    exception to this pattern is when
                                      pattern is when CFIUS
                                                      CFIUS has been able
                                                            has been      to rely
                                                                     able to rely on
                                                                                  on aa trusted
                                                                                        trusted

 third-party U.S.
 third-party U.S. company
                  company as the primary
                          as the primary mechanism
                                         mechanism for
                                                   for ensuring
                                                       ensuring compliance with mitigation,
                                                                compliance with mitigation,

 even
 even in
      in China-related transactions. In
         China-related transactions. In such
                                        such cases
                                             cases CFIUS
                                                   CFIUS has
                                                         has been
                                                             been able to get
                                                                  able to get comfortable with
                                                                              comfortable with


 13
        Exec. Order
    See Exec.
 13 See       Order 13913,
                    13913, 85 Fed. Reg.
                           85 Fed. Reg. 19643
                                        19643 (Apr.
                                              (Apr. 4,
                                                    4, 2020).
                                                       2020).


                                                  11
                                                  11
                                           APP-729
                                           APP-729
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 entering into mitigation
 entering into mitigation agreements
                          agreements similar to the
                                     similar to the NSA.
                                                    NSA. Under
                                                         Under the
                                                               the rubric
                                                                   rubric of the risk
                                                                          of the risk model, the
                                                                                      model, the

 reliance
 reliance on
          on aa trusted
                trusted third
                        third party
                              party helps
                                    helps reduce the foreign
                                          reduce the foreign party’s access to
                                                             party's access to U.S.
                                                                               U.S. national security
                                                                                    national security

 assets
 assets and thereby effectively
        and thereby effectively reduces the ability
                                reduces the         of the
                                            ability of the foreign
                                                           foreign party to exploit
                                                                   party to exploit vulnerabilities.
                                                                                    vulnerabilities.

        28.
        28.     A
                A public
                  public example
                         example of this is
                                 of this is the
                                            the CFIUS
                                                CFIUS approval
                                                      approval in 2018 of
                                                               in 2018    the proposed
                                                                       of the proposed

 acquisition
 acquisition of
             of Genworth Financial, aa U.S.
                Genworth Financial,    U.S. mortgage insurance provider,
                                            mortgage insurance           by China
                                                               provider, by China Oceanwide
                                                                                  Oceanwide

 Holdings. CFIUS’s
 Holdings. CFIUS' s approval was conditioned
                    approval was conditioned on the use
                                             on the use of “a U.S.-based,
                                                        of "a U.S.-based, third-party
                                                                          third-party service
                                                                                      service

 provider to manage
 provider to manage and
                    and protect the personal
                        protect the personal data
                                             data of
                                                  of Genworth’s U.S. policyholders”
                                                     Genworth's U.S. policyholders" after the
                                                                                    after the

 transaction closed. 14
 transaction closed.    Another public
                     14 Another public example is Lenovo's
                                       example is Lenovo’s acquisition
                                                           acquisition of
                                                                       of IBM’s PC Division
                                                                          IBM's PC Division in
                                                                                            in

 2005 and
 2005 and its
          its subsequent acquisition of
              subsequent acquisition of IBM's
                                        IBM’s X86
                                              X86 server
                                                  server business
                                                         business in 2014. 15 CFIUS
                                                                  in 2014.15  CFIUS approved
                                                                                    approved

 both transactions
 both transactions subject to mitigation
                   subject to mitigation agreements that required
                                         agreements that required IBM to continue
                                                                  IBM to continue playing
                                                                                  playing aa

 primary
 primary role
         role in
              in servicing the computing
                 servicing the computing equipment
                                         equipment for years after
                                                   for years       the transaction
                                                             after the transaction closed,
                                                                                   closed, despite
                                                                                           despite

 no
 no longer
    longer owning the sold
           owning the sold assets.
                           assets. CFIUS was able
                                   CFIUS was      to rely
                                             able to rely on
                                                          on IBM’s bona fides
                                                             IBM's bona fides to
                                                                              to ensure that the
                                                                                 ensure that the

 key technical and
 key technical and process-related terms of
                   process-related terms    the mitigation
                                         of the            were faithfully
                                                mitigation were faithfully and
                                                                           and effectively
                                                                               effectively

 implemented, without
 implemented, without having to rely
                      having to rely on Lenovo, which
                                     on Lenovo, which at the time
                                                      at the time was
                                                                  was aa Chinese
                                                                         Chinese company with
                                                                                 company with

 Chinese
 Chinese government
         government ownership.
                    ownership.

        29.
        29.     In
                In addition to using
                   addition to using aa trusted
                                        trusted U.S.
                                                U.S. third
                                                     third party to lower
                                                           party to lower the
                                                                          the vulnerability
                                                                              vulnerability level,
                                                                                            level,

 mitigation
 mitigation agreements used by
            agreements used by not
                               not only
                                   only CFIUS
                                        CFIUS but
                                              but other government agencies
                                                  other government agencies have
                                                                            have relied
                                                                                 relied on
                                                                                        on aa




 14
    See Genworth
 14 See          Financial Announces
        Genworth Financial Announces Second
                                     Second Quarter      Results, Genworth
                                                    2018 Results,
                                            Quarter 2018                   (Jul. 31,
                                                                  Genworth (Jul. 31, 2018)
                                                                                     2018)
 https://investor.genworth.com/sec-filings/all-sec-filings/content/0001193125-18-
 https://investor.genworth.com/sec-filings/all-sec-filings/content/0001193125-18-
 233445/d610764dex991.htm.
 233445/d610764dex991.htm.
 15
    See, e.g.,
 15 See,       Patrick Moorhead,
         e.g., Patrick Moorhead, IBM-Lenovo
                                 IBM-Lenovo Server
                                            Server Agreement
                                                   Agreement Basically
                                                             Basically a
                                                                       a Done
                                                                         Done Deal, Forbes
                                                                              Deal, Forbes
 (Aug. 26,
 (Aug.  26, 2014)
            2014) https://www.forbes.com/sites/patrickmoorhead/2014/08/26/ibm-lenovo-server-
                  https://www.forbes.com/sites/patrickmoorhead/2014/08/26/ibm-lenovo-server-
 agreement-basically-a-done-deal/?sh=aa570a24bbc7;
 agreement-basically-a-done-deal/?sh=aa570a24bbc7; Committee    on Foreign
                                                      Committee on Foreign Investment
                                                                           Investment in
                                                                                      in U.S.
                                                                                         U.S.
 Completes   Review of
 Completes Review    of Lenovo-IBM
                        Lenovo-IBM Deal, Lenovo (Mar.
                                   Deal, Lenovo  (Mar. 9, 2005)
                                                       9, 2005)
 https://news.lenovo.com/pressroom/press-releases/committee-on-foreign-investment-in-u-s-
 https://news.lenovo.com/pressroom/press-releases/committee-on-foreign-investment-in-u-s-
 completes-review-of-lenovo-ibm-deal/.
 completes-review-of-lenovo-ibm-deal/.


                                                  12
                                                  12
                                            APP-730
                                            APP-730
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 number
 number of well-accepted mitigation
        of well-accepted mitigation principles,
                                    principles, primarily
                                                primarily aimed
                                                          aimed at
                                                                at reducing vulnerabilities. They
                                                                   reducing vulnerabilities. They

 include (i)
 include (i) technical
             technical and
                       and operational
                           operational processes that eliminate
                                       processes that eliminate or materially reduce
                                                                or materially        access to
                                                                              reduce access to

 products and services,
 products and           with aa goal
              services, with    goal of
                                     of reducing the level
                                        reducing the level of
                                                           of access
                                                              access available to aa foreign
                                                                     available to    foreign "threat"
                                                                                             “threat”

 actor to exploit
 actor to         vulnerabilities; (ii)
          exploit vulnerabilities; (ii) mechanisms
                                        mechanisms for
                                                   for high visibility and
                                                       high visibility     accountability through
                                                                       and accountability through

 inspections, auditing,
 inspections, auditing, and monitoring, with
                        and monitoring, with the
                                             the goal
                                                 goal of
                                                      of deterring
                                                         deterring aa foreign “threat” actor
                                                                      foreign "threat" actor from
                                                                                             from

 taking adverse
 taking adverse action
                action that
                       that would
                            would be
                                  be discovered
                                     discovered and
                                                and could lead to
                                                    could lead to significant
                                                                  significant criminal
                                                                              criminal penalties
                                                                                       penalties or
                                                                                                 or

 unilateral action
 unilateral        by U.S.
            action by U.S. law
                           law enforcement,
                               enforcement, defense,
                                            defense, and/or intelligence agencies;
                                                     and/or intelligence           (iii) automatic
                                                                         agencies; (iii) automatic

 and in some
 and in some cases
             cases liquidated
                   liquidated damages
                              damages provisions
                                      provisions and
                                                 and other
                                                     other enforcement
                                                           enforcement and
                                                                       and penalty
                                                                           penalty mechanisms
                                                                                   mechanisms

 for
 for non-compliance, with the
     non-compliance, with the goal
                              goal of
                                   of deterring
                                      deterring exploitation with aa threat
                                                exploitation with    threat of
                                                                            of significant
                                                                               significant monetary
                                                                                           monetary

 penalties;
 penalties; and (iv) provisions
            and (iv)            allowing for
                     provisions allowing for CFIUS
                                             CFIUS to
                                                   to reopen
                                                      reopen reviews
                                                             reviews or unilaterally initiate
                                                                     or unilaterally initiate

 stoppages or even
 stoppages or even divestment for material
                   divestment for material non-compliance, which preserves
                                           non-compliance, which preserves CFIUS’s
                                                                           CFIUS' s power to
                                                                                    power to

 take additional
 take additional action to protect
                 action to protect national
                                   national security
                                            security for the entire
                                                     for the        term of
                                                             entire term of aa mitigation
                                                                               mitigation agreement.
                                                                                          agreement.

 ANALYSIS
 ANALYSIS

        30.
        30.     The
                The purpose of this
                    purpose of this Declaration
                                    Declaration is to analyze
                                                is to         the NSA
                                                      analyze the NSA as written and
                                                                      as written and offer
                                                                                     offer an
                                                                                           an

 opinion, based on
 opinion, based    my professional
                on my professional experience,
                                   experience, as to whether
                                               as to whether it
                                                             it is
                                                                is sufficient
                                                                   sufficient to
                                                                              to mitigate
                                                                                 mitigate national
                                                                                          national

 security
 security risk to aa level
          risk to          that should
                     level that should be
                                       be acceptable to Congress
                                          acceptable to          and CFIUS.
                                                        Congress and CFIUS.

        31.
        31.     II believe
                   believe it
                           it is
                              is important
                                 important to
                                           to contextualize the NSA.
                                              contextualize the NSA. Based
                                                                     Based on
                                                                           on my
                                                                              my experience
                                                                                 experience

 negotiating
 negotiating other such agreements,
             other such agreements, the
                                    the NSA
                                        NSA was
                                            was likely
                                                likely the
                                                       the result
                                                           result of thousands of
                                                                  of thousands of collective
                                                                                  collective hours
                                                                                             hours

 of work between
 of work between CFIUS, the Petitioners,
                 CFIUS, the Petitioners, and
                                         and their
                                             their advisors
                                                   advisors to
                                                            to arrive
                                                               arrive at the best
                                                                      at the best possible
                                                                                  possible solution
                                                                                           solution

 to address
 to address national
            national security
                     security risk in the
                              risk in the context of the
                                          context of the TikTok U.S. App
                                                         TikTok U.S.     and the
                                                                     App and the TikTok U.S.
                                                                                 TikTok U.S.

 Platform. II therefore
 Platform.    therefore will
                        will summarize the history
                             summarize the         of negotiations
                                           history of negotiations surrounding the NSA.
                                                                   surrounding the NSA. II will
                                                                                           will

 then provide
 then         an overview
      provide an overview description of the
                          description of the key terms of
                                             key terms of the
                                                          the NSA
                                                              NSA as
                                                                  as well
                                                                     well as an explanation
                                                                          as an explanation of
                                                                                            of

 important caveats
 important caveats and
                   and assumptions that are
                       assumptions that are relevant to my
                                            relevant to my analysis.
                                                           analysis. II will
                                                                        will then
                                                                             then analyze the terms
                                                                                  analyze the terms



                                                  13
                                                  13
                                            APP-731
                                            APP-731
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 of the NSA
 of the NSA itself
            itself using
                   using the
                         the risk model II have
                             risk model    have described
                                                described above
                                                          above and will draw
                                                                and will draw conclusions
                                                                              conclusions about
                                                                                          about

 the effectiveness
 the               of the
     effectiveness of the NSA's
                          NSA’s terms
                                terms to
                                      to mitigate
                                         mitigate national
                                                  national security
                                                           security risk.
                                                                    risk.

        History of
        History of Negotiations
                   Negotiations

        32.
        32.     Petitioners formally
                Petitioners          filed aa voluntary
                            formally filed    voluntary notice with CFIUS
                                                        notice with CFIUS on May 27,
                                                                          on May 27, 2020.
                                                                                     2020. A
                                                                                           A

 first period
 first period of
              of engagement
                 engagement resulted in CFIUS
                            resulted in CFIUS referring the matter
                                              referring the        to President
                                                            matter to President Trump
                                                                                Trump on
                                                                                      on July 30,
                                                                                         July 30,

 2020, and
 2020,     President Trump
       and President       issuing aa divestment
                     Trump issuing    divestment order
                                                 order on
                                                       on August
                                                          August 14, 2020.
                                                                 14, 2020.

        33.
        33.     II understand that Petitioners
                   understand that Petitioners and the U.S.
                                               and the U.S. Government
                                                            Government agreed to an
                                                                       agreed to an abeyance
                                                                                    abeyance of
                                                                                             of

 the litigation
 the            Petitioners brought
     litigation Petitioners brought challenging the divestment
                                    challenging the divestment order
                                                               order so they could
                                                                     so they could engage in
                                                                                   engage in

 negotiations to determine
 negotiations to           whether mitigation
                 determine whether            was possible.
                                   mitigation was possible.

        34.
        34.     After
                After exchanging terms sheets,
                      exchanging terms         Petitioners provided
                                       sheets, Petitioners provided CFIUS with aa first
                                                                    CFIUS with    first draft
                                                                                        draft of
                                                                                              of

 the NSA
 the NSA on
         on January
            January 4, 2021. From
                    4, 2021. From January
                                  January 2021 through August
                                          2021 through August 2022, Petitioners and
                                                              2022, Petitioners and CFIUS
                                                                                    CFIUS

 engaged
 engaged in
         in active
            active negotiations
                   negotiations regarding the terms
                                regarding the terms of the NSA.
                                                    of the NSA. Based
                                                                Based on the CFIUS
                                                                      on the CFIUS record,
                                                                                   record, at
                                                                                           at

 least 23 sets
 least 23 sets of
               of revisions to the
                  revisions to the NSA
                                   NSA were
                                       were exchanged between the
                                            exchanged between the parties.
                                                                  parties. In that time
                                                                           In that time period,
                                                                                        period,

 CFIUS
 CFIUS heavily
       heavily redlined
               redlined all
                        all or
                            or aa portion
                                  portion of the NSA
                                          of the NSA eight
                                                     eight different times. Many
                                                           different times. Many of
                                                                                 of CFIUS’s
                                                                                    CFIUS' s

 revisions
 revisions or
           or comments
              comments reflect that the
                       reflect that the Committee
                                        Committee and
                                                  and its
                                                      its agencies very actively
                                                          agencies very          tried to
                                                                        actively tried to

 understand the
 understand the TikTok U.S. App
                TikTok U.S. App and
                                and platform
                                    platform and
                                             and how they would
                                                 how they would operate
                                                                operate at
                                                                        at aa technical
                                                                              technical level.
                                                                                        level.

 The
 The substantive
     substantive provisions
                 provisions of the NSA
                            of the NSA that
                                       that CFIUS
                                            CFIUS commented
                                                  commented on
                                                            on or
                                                               or revised
                                                                  revised ranged
                                                                          ranged from
                                                                                 from

 corporate governance, U.S.
 corporate governance, U.S. control
                            control of
                                    of TikTok U.S. Data
                                       TikTok U.S. Data Security
                                                        Security Inc. (“TTUSDS”), hiring
                                                                 Inc. ("TTUSDS"),        by
                                                                                  hiring by

 TTUSDS, the role
 TTUSDS, the role of the Trusted
                  of the Trusted Technology Partner, 16 use
                                 Technology Partner,16  use of technical vendors
                                                            of technical vendors and
                                                                                 and contractors,
                                                                                     contractors,

 mechanisms
 mechanisms for
            for source
                source code
                       code review,
                            review, chain
                                    chain of
                                          of custody
                                             custody for
                                                     for reviewed
                                                         reviewed code,
                                                                  code, storage
                                                                        storage and
                                                                                and protection
                                                                                    protection

 of “Protected Data,"
 of "Protected Data,” monitoring,
                      monitoring, auditing,
                                  auditing, and
                                            and enforcement. Petitioners’ responses
                                                enforcement. Petitioners' responses appear to
                                                                                    appear to

 incorporate or
 incorporate or accept with some
                accept with some revision the vast
                                 revision the vast majority
                                                   majority of
                                                            of revisions
                                                               revisions proposed
                                                                         proposed by
                                                                                  by CFIUS.
                                                                                     CFIUS.


 16
 16 As
    As discussed infra paras.
       discussed infra paras. 54-56.
                              54-56.


                                                 14
                                                 14
                                           APP-732
                                           APP-732
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        35.
        35.     In
                In addition to written
                   addition to written redline
                                       redline exchanges, the CFIUS
                                               exchanges, the CFIUS record indicates that
                                                                    record indicates that between
                                                                                          between

 January 2021 and
 January 2021 and August 2022, there
                  August 2022, there were
                                     were at least 14
                                          at least    meetings or
                                                   14 meetings or calls between CFIUS
                                                                  calls between CFIUS and
                                                                                      and

 Petitioners to
 Petitioners to discuss NSA terms.
                discuss NSA terms. The
                                   The meetings
                                       meetings included
                                                included at
                                                         at least
                                                            least nine written presentations
                                                                  nine written               by
                                                                               presentations by

 Petitioners to
 Petitioners to CFIUS
                CFIUS about the NSA
                      about the NSA mitigation
                                    mitigation mechanisms
                                               mechanisms and the status
                                                          and the status of implementation.
                                                                         of implementation.

 In
 In addition to meetings
    addition to meetings and
                         and presentations, there were
                             presentations, there were at least 15
                                                       at least    additional email
                                                                15 additional email exchanges
                                                                                    exchanges

 where CFIUS
 where CFIUS posed
             posed questions
                   questions related to Petitioners'
                             related to Petitioners’ operations and the
                                                     operations and the NSA
                                                                        NSA terms,
                                                                            terms, which
                                                                                   which

 emails were followed
 emails were followed by
                      by written
                         written responses by Petitioners.
                                 responses by Petitioners.

        36.
        36.     In short, CFIUS
                In short, CFIUS and Petitioners had
                                and Petitioners had aa protracted,
                                                       protracted, detailed,
                                                                   detailed, and
                                                                             and productive
                                                                                 productive

 negotiation
 negotiation over
             over nearly two years
                  nearly two years that
                                   that led
                                        led to
                                            to the
                                               the version
                                                   version of the NSA
                                                           of the NSA at issue here.
                                                                      at issue here.

        37.
        37.     The final working
                The final working draft
                                  draft of the NSA
                                        of the NSA was
                                                   was delivered by Petitioners
                                                       delivered by Petitioners to
                                                                                to CFIUS
                                                                                   CFIUS on
                                                                                         on

 August 23, 2022.
 August 23, 2022. Including
                  Including its
                            its annexes,
                                annexes, the
                                         the NSA
                                             NSA is
                                                 is 103
                                                    103 pages
                                                        pages long and is
                                                              long and is the
                                                                          the most
                                                                              most sophisticated
                                                                                   sophisticated

 and thorough mitigation
 and thorough mitigation agreement
                         agreement II have
                                      have reviewed in my
                                           reviewed in    20 years
                                                       my 20 years of
                                                                   of working
                                                                      working on
                                                                              on national
                                                                                 national

 security agreements, including
 security agreements, including my time as
                                my time as aa member
                                              member of
                                                     of CFIUS
                                                        CFIUS and in my
                                                              and in my current
                                                                        current legal
                                                                                legal and
                                                                                      and

 consulting
 consulting roles advising companies
            roles advising           in their
                           companies in their negotiations with CFIUS
                                              negotiations with       as well
                                                                CFIUS as well as
                                                                              as with
                                                                                 with the
                                                                                      the

 Department of
 Department    Defense and
            of Defense and the
                           the Intelligence
                               Intelligence Community.
                                            Community.

        Key Elements
        Key Elements of
                     of the
                        the NSA
                            NSA

        38.
        38.     The NSA is
                The NSA is lengthy
                           lengthy and
                                   and has
                                       has aa significant
                                              significant amount
                                                          amount of
                                                                 of detail about the
                                                                    detail about the overarching
                                                                                     overarching

 mitigation
 mitigation mechanisms.
            mechanisms. II will
                           will not
                                not recount
                                    recount all
                                            all of the details,
                                                of the details, but to inform
                                                                but to inform my
                                                                              my analysis
                                                                                 analysis of the
                                                                                          of the

 terms, II provide
 terms,    provide here an overview
                   here an overview description of the
                                    description of the key terms of
                                                       key terms of the
                                                                    the NSA
                                                                        NSA that
                                                                            that II believe
                                                                                    believe are
                                                                                            are most
                                                                                                most

 relevant to my
 relevant to my analysis and conclusions.
                analysis and conclusions. II will
                                             will define
                                                  define aa few
                                                            few key terms that
                                                                key terms that are
                                                                               are important
                                                                                   important to
                                                                                             to

 understanding the
 understanding the NSA.
                   NSA. II am using definitions
                           am using             in aa more
                                    definitions in    more colloquial way than
                                                           colloquial way than the
                                                                               the precise
                                                                                   precise




                                                 15
                                                 15
                                           APP-733
                                           APP-733
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 contractual
 contractual language in the
             language in the NSA.
                             NSA. The
                                  The precise
                                      precise definitions
                                              definitions of these terms
                                                          of these terms will
                                                                         will of
                                                                              of course
                                                                                 course still be
                                                                                        still be

 informed by
 informed by the
             the NSA itself. 17
                 NSA itself.17

           39.
           39.   The NSA requires
                 The NSA          the creation
                         requires the creation of
                                               of aa new
                                                     new entity
                                                         entity called
                                                                called TTUSDS.
                                                                       TTUSDS. It
                                                                               It is to be
                                                                                  is to be aa U.S.
                                                                                              U.S.

 corporation
 corporation and
             and aa wholly
                    wholly owned
                           owned subsidiary
                                 subsidiary of
                                            of TikTok
                                               TikTok Inc.
                                                      Inc. The
                                                           The role
                                                               role of
                                                                    of TTUSDS
                                                                       TTUSDS is
                                                                              is critical to the
                                                                                 critical to the

 NSA. 18
 NSA.18

           40.
           40.   Non-public personal
                 Non-public          information about
                            personal information about TikTok U.S. Users,
                                                       TikTok U.S. Users, whether
                                                                          whether it
                                                                                  it is
                                                                                     is provided
                                                                                        provided

 to the
 to the App
        App by the User
            by the User or gathered from
                        or gathered      use of
                                    from use    the App,
                                             of the      is defined
                                                    App, is defined as            Data.” 19 It
                                                                       “Protected Data."19
                                                                    as "Protected              is
                                                                                            It is

 this Protected
 this Protected Data
                Data that
                     that is
                          is central to one
                             central to one of the two
                                            of the two national
                                                       national security
                                                                security risks
                                                                         risks raised
                                                                               raised by
                                                                                      by sponsors
                                                                                         sponsors of
                                                                                                  of

 the Act—i.e.,
 the Act—i.e., intelligence
               intelligence collection.
                            collection. The
                                        The App
                                            App and Platform contain
                                                and Platform contain other
                                                                     other information,
                                                                           information, such
                                                                                        such as
                                                                                             as

 user content,
 user          that is
      content, that is meant to be
                       meant to be shared
                                   shared as well as
                                          as well as information
                                                     information from
                                                                 from other
                                                                      other platforms
                                                                            platforms or
                                                                                      or data
                                                                                         data sets
                                                                                              sets

 that is
 that is non-confidential
         non-confidential such
                          such as
                               as news
                                  news and
                                       and advertisements,
                                           advertisements, all
                                                           all of which is
                                                               of which is considered to be
                                                                           considered to be

 publicly
 publicly available
          available and
                    and is
                        is defined
                           defined as “Public Data"
                                   as "Public Data” in
                                                    in the NSA. 20
                                                       the NSA.20

           41.
           41.   The Platform includes
                 The Platform includes various
                                       various layers
                                               layers of
                                                      of software, including software
                                                         software, including software referred to as
                                                                                      referred to as

 the "Recommendation
 the “Recommendation Engine,"
                     Engine,” which
                              which continuously learns from
                                    continuously learns      User behavior
                                                        from User behavior as well as
                                                                           as well as input
                                                                                      input

 from
 from TikTok Inc. to
      TikTok Inc. to recommend
                     recommend content to TikTok
                               content to             Users. 21 This
                                                 U.S. Users.21
                                          TikTok U.S.                Recommendation Engine
                                                                This Recommendation Engine

 is central
 is         to the
    central to the second
                   second national
                          national security
                                   security risk
                                            risk raised
                                                 raised by
                                                        by sponsors
                                                           sponsors of the Act—i.e.,
                                                                    of the Act—i.e., propaganda.
                                                                                     propaganda.

           42.
           42.   When software
                 When software developers
                               developers or
                                          or engineers write computer
                                             engineers write computer software, they use
                                                                      software, they     words
                                                                                     use words

 and
 and phrases that describe
     phrases that          the logic
                  describe the logic and
                                     and commands
                                         commands of the software.
                                                  of the software. There
                                                                   There are
                                                                         are different
                                                                             different coding
                                                                                       coding



 17
 17
    II understand
       understand that
                  that Petitioners
                       Petitioners may
                                    may have   voluntarily started
                                         have voluntarily          implementing some
                                                           started implementing  some of the NSA's
                                                                                      of the NSA’s
 terms. In
 terms.     this Declaration,
         In this Declaration, II will
                                 will discuss the NSA
                                      discuss the NSA as
                                                       as if
                                                          if it
                                                             it remains
                                                                remains completely
                                                                        completely prospective.
                                                                                   prospective.
 18
        NSA Sec.
    See NSA
 18 See     Sec. 2.1.
                 2.1.
 19
        NSA Sec.
    See NSA
 19 See     Sec. 1.22.
                 1.22.
 20
        NSA Sec.
    See NSA
 20 See     Sec. 1.23.
                 1.23.
 21
        NSA Sec.
    See NSA
 21 See     Sec. 1.24.
                 1.24.


                                                  16
                                                  16
                                           APP-734
                                           APP-734
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 languages that have
 languages that have different ways of
                     different ways of phrasing
                                       phrasing commands
                                                commands and
                                                         and different
                                                             different syntax, but ultimately
                                                                       syntax, but ultimately all
                                                                                              all

 coding languages are
 coding languages are readable to aa human.
                      readable to    human. This
                                            This human-readable
                                                 human-readable set
                                                                set of
                                                                    of commands is called
                                                                       commands is called

 "Source Code." 22
 “Source Code.” 22 A trained engineer
                   A trained          who understands
                             engineer who understands the
                                                      the general
                                                          general function
                                                                  function of
                                                                           of software and who
                                                                              software and who

 knows the particular
 knows the particular coding language that
                      coding language that was
                                           was used
                                               used should
                                                    should be
                                                           be able to read
                                                              able to read Source
                                                                           Source Code,
                                                                                  Code,

 understand what
 understand what the
                 the software
                     software will
                              will do and how
                                   do and     it will
                                          how it will operate,
                                                      operate, and spot anomalies
                                                               and spot anomalies and
                                                                                  and

 vulnerabilities. There
 vulnerabilities. There are
                        are also
                            also automated tools available
                                 automated tools available that
                                                           that can
                                                                can read
                                                                    read Source Code to
                                                                         Source Code to ensure
                                                                                        ensure

 integrity and
 integrity     spot vulnerabilities.
           and spot vulnerabilities. Source
                                     Source Code
                                            Code reviewers
                                                 reviewers often use these
                                                           often use these automated
                                                                           automated tools
                                                                                     tools to
                                                                                           to

 assist with manual
 assist with manual reviews.
                    reviews.

         43.
         43.     To
                 To deploy software to
                    deploy software to aa machine
                                          machine or
                                                  or aa computer and make
                                                        computer and make it
                                                                          it work
                                                                             work as
                                                                                  as an
                                                                                     an

 application,
 application, Source
              Source Code must be
                     Code must be converted
                                  converted from words and
                                            from words and phrases to "binary"
                                                           phrases to “binary” code, which
                                                                               code, which

 consists
 consists of
          of 1s
             is and
                and 0s.
                    Os. This
                        This conversion is done
                             conversion is      through feeding
                                           done through feeding Source
                                                                Source Code into aa specialized
                                                                       Code into    specialized

 set
 set of
     of applications in aa process
        applications in            that is
                           process that is called
                                           called aa "Build."
                                                     “Build.” The output of
                                                              The output of aa Build
                                                                               Build process that has
                                                                                     process that has

 converted
 converted Source Code into
           Source Code into aa machine-executable application consisting
                               machine-executable application            of 1s
                                                              consisting of    and 0s
                                                                            is and    is called
                                                                                   Os is called

 “Executable Code"
 "Executable Code” (sometimes
                   (sometimes also
                              also called “Object Code”
                                   called "Object Code" or “Binary”). 23 Humans
                                                        or "Binary").23  Humans cannot
                                                                                cannot read
                                                                                       read

 or understand Executable
 or understand Executable Code.
                          Code. There are some
                                There are some specialized
                                               specialized applications
                                                           applications that
                                                                        that can
                                                                             can check the
                                                                                 check the

 integrity of
 integrity    Executable Code
           of Executable Code and
                              and can
                                  can monitor its behavior
                                      monitor its behavior when
                                                           when running
                                                                running as
                                                                        as aa software
                                                                              software

 application. However, identifying
 application. However, identifying vulnerabilities
                                   vulnerabilities or malicious code
                                                   or malicious      is much
                                                                code is much easier
                                                                             easier during
                                                                                    during aa

 Source
 Source Code
        Code review than when
             review than when testing
                              testing Executable
                                      Executable Code.
                                                 Code.

         44.
         44.     During aa Build
                 During    Build process, the final
                                 process, the final software
                                                    software can
                                                             can consist of proprietary
                                                                 consist of proprietary Source Code
                                                                                        Source Code

 developed by aa company
 developed by    company as well as
                         as well as third
                                    third party
                                          party code that may
                                                code that may be
                                                              be incorporated
                                                                 incorporated into
                                                                              into the
                                                                                   the software.
                                                                                       software.

 Third
 Third party
       party code
             code can be integrated
                  can be integrated either as Source
                                    either as Source Code
                                                     Code or
                                                          or may be licensed
                                                             may be licensed or
                                                                             or acquired
                                                                                acquired only in
                                                                                         only in


 22
        NSA Sec.
    See NSA
 22 See     Sec. 1.28.
                 1.28.
 23
        NSA Sec.
    See NSA
 23 See     Sec. 1.12.
                 1.12.


                                                   17
                                                   17
                                             APP-735
                                             APP-735
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 Binary form.
 Binary form. A Build process
              A Build process can
                              can combine third-party Executable
                                  combine third-party Executable Code with proprietary
                                                                 Code with proprietary Source
                                                                                       Source

 Code to make
 Code to make aa unified
                 unified software
                         software application
                                  application in
                                              in aa single final Executable
                                                    single final Executable form.
                                                                            form.

        45.
        45.     The
                The App and the
                    App and the Platform
                                Platform are
                                         are largely
                                             largely composed of software
                                                     composed of software developed by
                                                                          developed by

 ByteDance and
 ByteDance and its
               its affiliates.
                   affiliates. The software is
                               The software is developed
                                               developed as
                                                         as Source
                                                            Source Code, which is
                                                                   Code, which is then
                                                                                  then run
                                                                                       run

 through aa Build
 through    Build process to create
                  process to        Executable Code.
                             create Executable Code. The Executable Code
                                                     The Executable Code for
                                                                         for the
                                                                             the App is
                                                                                 App is

 published to app
 published to app stores (e.g., Apple
                  stores (e.g., Apple and
                                      and Google)
                                          Google) or
                                                  or loaded
                                                     loaded onto the TikTok
                                                            onto the        website. The
                                                                     TikTok website. The

 Executable Code
 Executable      for the
            Code for the Platform
                         Platform is
                                  is deployed to cloud
                                     deployed to       infrastructure, servers,
                                                 cloud infrastructure, servers, networks,
                                                                                networks,

 gateways, and
 gateways, and databases in order
               databases in order to
                                  to operate
                                     operate the
                                             the Platform.
                                                 Platform. The
                                                           The key
                                                               key functionality of the
                                                                   functionality of the Platform
                                                                                        Platform

 is embedded
 is          in software,
    embedded in           although that
                software, although that software
                                        software runs
                                                 runs on some physical
                                                      on some          infrastructure. The
                                                              physical infrastructure. The

 manner in which
 manner in which the
                 the App
                     App and
                         and the
                             the Platform
                                 Platform operates as software
                                          operates as software depends
                                                               depends on both the
                                                                       on both the commands
                                                                                   commands

 and features in
 and features in the
                 the Code as well
                     Code as well as
                                  as how the App
                                     how the App and the Platform
                                                 and the Platform are
                                                                  are configured when they
                                                                      configured when they are
                                                                                           are

 installed on
 installed on phones,
              phones, computers,
                      computers, cloud infrastructure, servers,
                                 cloud infrastructure, servers, networks,
                                                                networks, and
                                                                          and databases.
                                                                              databases.

        46.
        46.     Under the
                Under the NSA,
                          NSA, the
                               the overall
                                   overall function
                                           function of the newly
                                                    of the newly created
                                                                 created TTUSDS is to
                                                                         TTUSDS is to have
                                                                                      have

 primary
 primary responsibility for the
         responsibility for the security
                                security of the App
                                         of the App and the Platform
                                                    and the Platform and
                                                                     and for
                                                                         for the
                                                                             the protection
                                                                                 protection of
                                                                                            of

 Protected Data.
 Protected Data. The NSA contains
                 The NSA contains key
                                  key provisions that directly
                                      provisions that          affect the
                                                      directly affect the governance
                                                                          governance and
                                                                                     and control
                                                                                         control

 of
 of TTUSDS and the
    TTUSDS and the access
                   access Petitioners
                          Petitioners have to TTUSDS
                                      have to TTUSDS and the App,
                                                     and the      the Platform,
                                                             App, the Platform, and
                                                                                and
                 24
 Protected Data.
 Protected Data. 24

        47.
        47.     The NSA requires
                The NSA          Petitioners to
                        requires Petitioners to relinquish both governance
                                                relinquish both governance control
                                                                           control and
                                                                                   and

 operational
 operational control
             control over TTUSDS. 25
                     over TTUSDS. 25 TTUSDS’s Board of
                                     TTUSDS's Board    Directors will
                                                    of Directors will consist
                                                                      consist of three
                                                                              of three

 Security Directors who
 Security Directors who are U.S. citizens
                        are U.S. citizens residing in the
                                          residing in the U.S.
                                                          U.S. and who have
                                                               and who have had
                                                                            had no
                                                                                no previous
                                                                                   previous




 24
        NSA Sec.
    See NSA
 24 See     Sec. 2.4.
                 2.4.
 25
        NSA Sec.
    See NSA
 25 See     Sec. 2.7.
                 2.7.


                                                 18
                                                 18
                                           APP-736
                                           APP-736
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                                                                               26
 affiliation with Petitioners
 affiliation with Petitioners and who must
                              and who must be
                                           be approved
                                              approved by the U.S.
                                                       by the U.S. Government.
                                                                   Government.26  One of
                                                                                  One    the
                                                                                      of the

 three directors
 three           will serve
       directors will serve as
                            as Chair.
                               Chair. There may be
                                      There may be other
                                                   other members and observers
                                                         members and observers on the Board,
                                                                               on the Board, but
                                                                                             but

 they can
 they can only be persons
          only be persons associated with TTUSDS.
                          associated with         No representative
                                          TTUSDS. No representative of Petitioners can
                                                                    of Petitioners     attend
                                                                                   can attend

 or
 or participate with the
    participate with the TTUSDS Board unless
                         TTUSDS Board unless the
                                             the U.S.
                                                 U.S. Government grants express
                                                      Government grants express approval.
                                                                                approval.

 The
 The exception is that
     exception is that TTUSDS will not
                       TTUSDS will     be able
                                   not be able to
                                               to take
                                                  take certain
                                                       certain extraordinary actions without
                                                               extraordinary actions without

 consulting Petitioners, such
 consulting Petitioners,      as selling
                         such as selling TTUSDS’s
                                         TTUSDS's assets
                                                  assets or filing for
                                                         or filing for bankruptcy.
                                                                       bankruptcy. This
                                                                                   This allowance
                                                                                        allowance

 of Petitioners to
 of Petitioners to have
                   have aa say in extraordinary
                           say in               action is
                                  extraordinary action is aa standard
                                                             standard provision in mitigation
                                                                      provision in mitigation

 agreements, both with
 agreements, both with CFIUS
                       CFIUS and
                             and when
                                 when the
                                      the Department
                                          Department of
                                                     of Defense
                                                        Defense is
                                                                is mitigating
                                                                   mitigating foreign
                                                                              foreign

 ownership,
 ownership, control,
            control, or influence of
                     or influence    foreign-owned U.S.
                                  of foreign-owned U.S. companies that perform
                                                        companies that perform classified work.
                                                                               classified work.

        48.
        48.     The
                The management
                    management of
                               of TTUSDS will be
                                  TTUSDS will be appointed by the
                                                 appointed by the TTUSDS Board, and
                                                                  TTUSDS Board,     the
                                                                                and the

 key management personnel
 key management           must all
                personnel must all be
                                   be U.S.
                                      U.S. citizens with no
                                           citizens with no prior
                                                            prior affiliation      Petitioners. 27
                                                                              with Petitioners.27
                                                                  affiliation with

 The
 The only
     only involvement from Petitioners
          involvement from Petitioners is that TikTok
                                       is that TikTok Inc.
                                                      Inc. must
                                                           must be
                                                                be consulted
                                                                   consulted in
                                                                             in setting the
                                                                                setting the

                                                     28
 compensation for TTUSDS’s
 compensation for TTUSDS's key
                           key management
                               management personnel.
                                          personnel.28

        49.
        49.     The NSA also
                The NSA also requires
                             requires aa change in the
                                         change in the Board
                                                       Board of
                                                             of TikTok Inc. The
                                                                TikTok Inc.     Board will
                                                                            The Board will have
                                                                                           have

 five members—two
 five members—two representing ByteDance; two
                  representing ByteDance; two outside
                                              outside directors who have
                                                      directors who have had
                                                                         had no
                                                                             no prior
                                                                                prior

 affiliation with Petitioners
 affiliation with Petitioners and
                              and who
                                  who are
                                      are citizens
                                          citizens of the U.S.
                                                   of the U.S. or
                                                               or one
                                                                  one of the "Five
                                                                      of the “Five Eyes"
                                                                                   Eyes” countries
                                                                                         countries

                                                                            29
 (i.e., Canada,
 (i.e., Canada, U.K.,
                U.K., Australia,
                      Australia, and New Zealand);
                                 and New Zealand); and the Chair
                                                   and the Chair of
                                                                 of TTUSDS.
                                                                    TTUSDS.29  TikTok
                                                                               TikTok Inc.
                                                                                      Inc.

 must
 must have
      have aa Compliance
              Compliance Officer,
                         Officer, and
                                  and TTUSDS
                                      TTUSDS must
                                             must have
                                                  have aa Security
                                                          Security Officer, who are
                                                                   Officer, who     U.S.
                                                                                are U.S.




 26
        NSA Secs.
    See NSA
 26 See           3.1-3.2.
            Secs. 3.1-3.2.
 27
        NSA Sec.
    See NSA
 27 See     Sec. 5.1.
                 5.1.
 28
        NSA Sec.
    See NSA
 28 See     Sec. 3.11(3).
                 3.11(3).
 29
        NSA Sec.
    See NSA
 29 See     Sec. 4.1.
                 4.1.


                                                   19
                                                   19
                                            APP-737
                                            APP-737
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 citizens to be
 citizens to be liaisons
                liaisons with
                         with TTUSDS
                              TTUSDS as well as
                                     as well    with the
                                             as with the U.S.
                                                         U.S. Government
                                                              Government on
                                                                         on compliance
                                                                            compliance and
                                                                                       and
                   30
 security
 security matters.
          matters.3°

         50.
         50.     Operationally,
                 Operationally, TTUSDS
                                TTUSDS must
                                       must be
                                            be completely
                                               completely separated
                                                          separated from Petitioners, with
                                                                    from Petitioners, with no
                                                                                           no
                                                        31
 sharing
 sharing of
         of locations,
            locations, systems,
                       systems, networks,
                                networks, or
                                          or personnel.
                                             personne1.31  TTUSDS will have
                                                           TTUSDS will have full
                                                                            full autonomy,
                                                                                 autonomy,

 subject to oversight
 subject to           by the
            oversight by the Security Directors and
                             Security Directors and Third-Party Monitor, as
                                                    Third-Party Monitor, as described below, over
                                                                            described below, over

 its employees
 its employees and vendors, with
               and vendors, with no input or
                                 no input    involvement from
                                          or involvement      Petitioners. 32
                                                         from Petitioners.32

         51.
         51.     The NSA allows
                 The NSA allows TikTok
                                TikTok Inc. to continue
                                       Inc. to continue managing the business
                                                        managing the business strategy in the
                                                                              strategy in the

 U.S. for
 U.S.     the App
      for the App and the Platform
                  and the Platform and to coordinate
                                   and to            that strategy
                                          coordinate that          with the
                                                          strategy with the rest
                                                                            rest of the world,
                                                                                 of the world,

 which includes
 which includes identifying
                identifying new
                            new features,
                                features, gathering
                                          gathering customer feedback in
                                                    customer feedback    the U.S.,
                                                                      in the U.S., coordinating
                                                                                   coordinating
                                                                               33
 with advertisers,
 with advertisers, and
                   and managing
                       managing certain
                                certain legal,
                                        legal, compliance,
                                               compliance, and
                                                           and safety
                                                               safety matters.
                                                                      matters.33

         52.
         52.     The
                 The Source
                     Source Code for the
                            Code for the App and the
                                         App and the Platform
                                                     Platform will
                                                              will continue to be
                                                                   continue to be written
                                                                                  written

 primarily by ByteDance,
 primarily by ByteDance, presumably in China.
                         presumably in China.

         53.
         53.     The
                 The primary thrust of
                     primary thrust    the NSA
                                    of the NSA is
                                               is that
                                                  that it
                                                       it sets
                                                          sets up
                                                               up key technical and
                                                                  key technical and operational
                                                                                    operational

 security
 security provisions that govern
          provisions that govern use
                                 use of the App
                                     of the     and the
                                            App and the Platform,
                                                        Platform, as well as
                                                                  as well as access to and
                                                                             access to and storage
                                                                                           storage

 of Protected Data,
 of Protected Data, and
                    and places
                        places responsibility for all
                               responsibility for all of those activities
                                                      of those activities exclusively in TTUSDS.
                                                                          exclusively in TTUSDS.

 The NSA refers
 The NSA        to these
         refers to these as
                         as "CFIUS
                            “CFIUS Functions."
                                   Functions.” They include: (i)
                                               They include: (i) storage and protection
                                                                 storage and protection of
                                                                                        of

 Protected Data,
 Protected Data, (ii)
                 (ii) review
                      review and inspection of
                             and inspection of all
                                               all Source Code for
                                                   Source Code for the
                                                                   the App
                                                                       App and the Platform
                                                                           and the Platform prior
                                                                                            prior

 to the
 to the Build
        Build process, (iii) actual
              process, (iii) actual deployment in the
                                    deployment in the U.S.
                                                      U.S. of
                                                           of all Executable Code
                                                              all Executable Code for
                                                                                  for the
                                                                                      the App
                                                                                          App and
                                                                                              and

 the Platform,
 the Platform, (iv)
               (iv) all business and
                    all business and compliance functions that
                                     compliance functions that may
                                                               may require
                                                                   require access to Protected
                                                                           access to Protected




 30
 3°     NSA Secs.
    See NSA
    See     Secs. 6.2,
                  6.2, 6.3.
                       6.3.
 31
        NSA Secs.
    See NSA
 31 See           2.2, 2.5,
            Secs. 2.2, 2.5, 2.6, 2.7, 12.1(3).
                            2.6, 2.7, 12.1(3).
 32
        NSA Secs.
    See NSA
 32 See     Secs. 13.1-13.7.
                  13.1-13.7.
 33
        NSA Sec.
    See NSA
 33 See     Sec. 4.2.
                 4.2.


                                                 20
                                                 20
                                           APP-738
                                           APP-738
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 Data, (v)
 Data, (v) review and control
           review and         over the
                      control over the performance of the
                                       performance of the Recommendation
                                                          Recommendation Engine,
                                                                         Engine, and (vi)
                                                                                 and (vi)

 overall
 overall compliance with the
         compliance with     NSA. 34 The
                         the NSA.34      NSA requires
                                     The NSA          Petitioners to
                                             requires Petitioners to grant
                                                                     grant to
                                                                           to TTUSDS
                                                                              TTUSDS all
                                                                                     all of the
                                                                                         of the

 rights
 rights and
        and licenses to the
            licenses to the App
                            App and the Platform
                                and the Platform necessary to use
                                                 necessary to use them
                                                                  them in
                                                                       in the
                                                                          the U.S.
                                                                              U.S.

        54.
        54.     A
                A critical
                  critical element
                           element in the NSA
                                   in the NSA is
                                              is the
                                                 the appointment
                                                     appointment of
                                                                 of aa Trusted
                                                                       Trusted Technology Partner
                                                                               Technology Partner

 (“TTP”) to
 ("TTP") to support
            support TTUSDS
                    TTUSDS in
                           in all
                              all of these "CFIUS
                                  of these        Functions.” 35 The
                                           “CFIUS Functions."35      U.S. Government
                                                                 The U.S. Government must
                                                                                     must

 approve the appointment
 approve the appointment of the TTP.
                         of the TTP. The NSA identifies
                                     The NSA identifies Oracle,
                                                        Oracle, Inc.,
                                                                Inc., aa publicly traded U.S.
                                                                         publicly traded U.S.

 company,
 company, as the initial
          as the initial TTP.
                         TTP. Oracle
                              Oracle may be replaced
                                     may be          by another
                                            replaced by another approved third-party vendor
                                                                approved third-party vendor if
                                                                                            if
         36
 needed.
 needed.36

        55.
        55.     The NSA requires
                The NSA          that Petitioners
                        requires that Petitioners and
                                                  and TTUSDS
                                                      TTUSDS enter into aa master
                                                             enter into    master services
                                                                                  services

 agreement with Oracle
 agreement with        to implement
                Oracle to implement the NSA. 37 While
                                    the NSA.37  While Petitioners
                                                      Petitioners are
                                                                  are responsible
                                                                      responsible for
                                                                                  for funding
                                                                                      funding

 the efforts
 the         by Oracle,
     efforts by Oracle, Oracle works solely
                        Oracle works        under the
                                     solely under the direction of TTUSDS,
                                                      direction of TTUSDS, and its fiduciary
                                                                           and its fiduciary

 obligations
 obligations are to TTUSDS
             are to TTUSDS and the U.S.
                           and the U.S. Government,
                                        Government, not to Petitioners.
                                                    not to Petitioners. For
                                                                        For all
                                                                            all the
                                                                                the work
                                                                                    work related
                                                                                         related

 to the
 to the NSA,
        NSA, Oracle is required
             Oracle is          to follow
                       required to follow the
                                          the same
                                              same hiring
                                                   hiring parameters that govern
                                                          parameters that govern TTUSDS—i.e.,
                                                                                 TTUSDS—i.e.,

 using only
 using      individuals who
       only individuals who do
                            do not work for
                               not work for or
                                            or have any other
                                               have any       affiliation with
                                                        other affiliation with Petitioners,
                                                                               Petitioners, and
                                                                                            and

 with constraints
 with constraints on the hiring
                  on the        of citizens
                         hiring of          of certain
                                   citizens of certain countries,           China. 38
                                                                  including China.
                                                       countries, including        38


        56.
        56.     Oracle’s
                Oracle's role
                         role is
                              is central to the
                                 central to the entire
                                                entire mitigation
                                                       mitigation mechanism under the
                                                                  mechanism under the NSA.
                                                                                      NSA. Oracle
                                                                                           Oracle

 will be
 will be charged with carrying
         charged with carrying out the technical
                               out the technical aspects
                                                 aspects of
                                                         of TTUSDS’s
                                                            TTUSDS's obligations to secure
                                                                     obligations to secure the
                                                                                           the




 34
        NSA Sec.
    See NSA
 34 See     Sec. 2.4.
                 2.4.
 35
        NSA Secs.
    See NSA
 35 See     Secs. 1.37,
                  1.37, 2.4,
                        2.4, 2.5.
                             2.5.
 36
        NSA Sec.
    See NSA
 36 See     Sec. 1.37.
                 1.37.
 37
        NSA Sec.
    See NSA
 37 See     Sec. 8.2.
                 8.2.
 38
        NSA Secs.
    See NSA
 38 See     Secs. 1.4,
                  1.4, 5.3,
                       5.3, 8.2.
                            8.2.


                                                  21
                                                  21
                                            APP-739
                                            APP-739
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 App, the Platform,
 App, the Platform, and
                    and the
                        the Protected Data. 39 Oracle
                            Protected Data.39  Oracle will
                                                      will work
                                                           work with
                                                                with other U.S.-based third-party
                                                                     other U.S.-based third-party

 vendors who
 vendors who will
             will play
                  play additional
                       additional roles for TTUSDS,
                                  roles for         as described
                                            TTUSDS, as           below.
                                                       described below.

        57.
        57.     The NSA’s technical
                The NSA's technical mitigation
                                    mitigation scheme
                                               scheme can be understood
                                                      can be understood by
                                                                        by examining the
                                                                           examining the

 process governing the
 process governing the software for the
                       software for the App
                                        App and the Platform.
                                            and the Platform. After
                                                              After ByteDance
                                                                    ByteDance writes
                                                                              writes the
                                                                                     the Source
                                                                                         Source

 Code for both
 Code for both the
               the App
                   App and the Platform
                       and the Platform (including
                                        (including the
                                                   the Recommendation
                                                       Recommendation Engine),
                                                                      Engine), it
                                                                               it will
                                                                                  will deliver
                                                                                       deliver
                                                                                                   40
 the Source
 the        Code to
     Source Code to aa facility
                       facility in
                                in the
                                   the U.S.
                                       U.S. that
                                            that the
                                                 the NSA
                                                     NSA calls
                                                         calls aa "Dedicated
                                                                  “Dedicated Transparency
                                                                             Transparency Center.”
                                                                                          Center."49

 This is essentially
 This is essentially aa computer
                        computer environment whose sole
                                 environment whose sole purpose is to
                                                        purpose is to hold the Source
                                                                      hold the Source Code and
                                                                                      Code and

 make it available
 make it           to TTUSDS
         available to TTUSDS and Oracle. There
                             and Oracle.       may be
                                         There may be more
                                                      more than
                                                           than one Dedicated Transparency
                                                                one Dedicated Transparency

 Center, but each
 Center, but      one must
             each one must have
                           have an
                                an exact
                                   exact copy
                                         copy of any Source
                                              of any        Code placed
                                                     Source Code        in any
                                                                 placed in any other
                                                                               other Center
                                                                                     Center

 (i.e., they
 (i.e., they are mirrored). ByteDance
             are mirrored). ByteDance will
                                      will be
                                           be able
                                              able to
                                                   to push
                                                      push Source
                                                           Source Code to the
                                                                  Code to the Dedicated
                                                                              Dedicated

 Transparency
 Transparency Centers but cannot
              Centers but        “pull” any
                          cannot "pull" any data
                                            data nor
                                                 nor have
                                                     have any
                                                          any other
                                                              other access to the
                                                                    access to the Dedicated
                                                                                  Dedicated
                       41
 Transparency
 Transparency Centers.
              Centers.41

        58.
        58.     The Dedicated Transparency
                The Dedicated Transparency Centers
                                           Centers must be located
                                                   must be located only in the
                                                                   only in the U.S.
                                                                               U.S. or
                                                                                    or in
                                                                                       in one
                                                                                          one of
                                                                                              of
                            42
 the "Five
 the “Five Eyes"
           Eyes” countries.
                 countries.42  There
                               There must
                                     must always be aa Dedicated
                                          always be    Dedicated Transparency
                                                                 Transparency Center
                                                                              Center located
                                                                                     located

 within Oracle’s
 within Oracle's own
                 own proprietary
                     proprietary secure
                                 secure cloud
                                        cloud environment, which II will
                                              environment, which    will refer to as
                                                                         refer to    the "Secure
                                                                                  as the “Secure
                43
 Oracle
 Oracle Cloud.”
        Cloud."43

        59.
        59.     When ByteDance
                When ByteDance delivers
                               delivers Source Code to
                                        Source Code to the
                                                       the Dedicated
                                                           Dedicated Transparency
                                                                     Transparency Centers, it
                                                                                  Centers, it

 must
 must also
      also deliver
           deliver aa "software
                      “software bill
                                bill of
                                     of materials"
                                        materials” or “SBOM” along
                                                   or "SBOM" along with
                                                                   with each tranche of
                                                                        each tranche of Source
                                                                                        Source




 39
        NSA Sec.
    See NSA
 39 See     Sec. 8.2.
                 8.2.
 40
        NSA Secs.
    See NSA
 40 See     Secs. 1.10,
                  1.10, 9.2.
                        9.2.
 41
        NSA Secs.
    See NSA
 41 See     Secs. 9.1,
                  9.1, 9.3.
                       9.3.
 42
        NSA Sec.
    See NSA
 42 See     Sec. 9.1.
                 9.1.
 43
 43 See NSA Sec.
    See NSA Sec. 9.4; see also
                 9.4; see      id. Sec.
                          also id. Sec. 8.4.
                                        8.4.


                                                 22
                                                 22
                                           APP-740
                                           APP-740
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 Code that is
 Code that    lodged. 44 An
           is lodged.44  An SBOM is aa detailed
                            SBOM is    detailed list
                                                list or
                                                     or description
                                                        description of
                                                                    of all the components
                                                                       all the            in the
                                                                               components in the

 Source
 Source Code
        Code and their sources
             and their         (e.g., written
                       sources (e.g., written by
                                              by ByteDance,
                                                 ByteDance, licenses
                                                            licenses from
                                                                     from aa third
                                                                             third party,
                                                                                   party, or
                                                                                          or open
                                                                                             open

 source), which can
 source), which can include individualized Source
                    include individualized Source Code
                                                  Code modules for particular
                                                       modules for particular features
                                                                              features as well as
                                                                                       as well as

 any third-party Source
 any third-party Source Code
                        Code or Executable Code.
                             or Executable Code.

         60.
         60.     When ByteDance
                 When ByteDance delivers
                                delivers Source
                                         Source Code
                                                Code and
                                                     and an
                                                         an accompanying
                                                            accompanying SBOM, it must
                                                                         SBOM, it must

 electronically
 electronically sign
                sign both
                     both of them. 45 Electronic
                          of them.45  Electronic signatures
                                                 signatures are
                                                            are aa technical
                                                                   technical method
                                                                             method of fingerprinting
                                                                                    of fingerprinting

 electronic information or
 electronic information or code.
                           code. There
                                 There are
                                       are various
                                           various methods
                                                   methods of
                                                           of doing it, but
                                                              doing it, but the
                                                                            the essential
                                                                                essential point
                                                                                          point is
                                                                                                is

 that once
 that once code is signed,
           code is signed, it is very
                           it is very hard to replicate
                                      hard to replicate or
                                                        or spoof the signature.
                                                           spoof the signature. It is aa way
                                                                                It is    way of
                                                                                             of uniquely
                                                                                                uniquely

 identifying aa particular
 identifying    particular copy
                           copy of
                                of any
                                   any Source
                                       Source Code
                                              Code or Executable Code.
                                                   or Executable Code. An
                                                                       An electronic
                                                                          electronic signature
                                                                                     signature

 remains
 remains attached to Executable
         attached to Executable Code
                                Code so that it
                                     so that it will
                                                will always be possible
                                                     always be          to know
                                                               possible to know from which
                                                                                from which

 Source
 Source Code the deployed
        Code the          Executable Code
                 deployed Executable      was derived.
                                     Code was derived.

         61.
         61.     Once
                 Once Source
                      Source Code is available
                             Code is           in the
                                     available in the Dedicated
                                                      Dedicated Transparency Center, the
                                                                Transparency Center, the Source
                                                                                         Source

 Code will be
 Code will be reviewed.
              reviewed. The
                        The purpose
                            purpose of the review
                                    of the        will be
                                           review will    to identify
                                                       be to identify any
                                                                      any malicious
                                                                          malicious code, bugs,
                                                                                    code, bugs,

 “backdoors,” or
 "backdoors," or exploits that have
                 exploits that      been written
                               have been written into
                                                 into the
                                                      the Source
                                                          Source Code
                                                                 Code as well as
                                                                      as well as non-malicious
                                                                                 non-malicious
                                                                                   46
 vulnerabilities that
 vulnerabilities that sometimes
                      sometimes result from the
                                result from the normal
                                                normal code
                                                       code development
                                                            development processes.
                                                                        processes.46

         62.
         62.     The NSA requires
                 The NSA requires TTUSDS
                                  TTUSDS and Oracle to
                                         and Oracle to retain yet another
                                                       retain yet another U.S.-based
                                                                          U.S.-based security
                                                                                     security

 vendor who
 vendor who specializes
            specializes in
                        in reviewing source code
                           reviewing source      to conduct
                                            code to         the Source
                                                    conduct the        Code security
                                                                Source Code security review
                                                                                     review

 within the
 within the Secure
            Secure Oracle
                   Oracle Cloud.
                          Cloud. The NSA calls
                                 The NSA       this security
                                         calls this security vendor
                                                             vendor the
                                                                    the Source
                                                                        Source Code
                                                                               Code

 Inspector. 47
 Inspector. 47




 44
        NSA Sec.
    See NSA
 44 See     Sec. 9.2.
                 9.2.
 45
        NSA Sec.
    See NSA
 45 See     Sec. 9.2.
                 9.2.
 46
        NSA Sec.
    See NSA
 46 See     Sec. 9.5.
                 9.5.
 47
        NSA Sec.
    See NSA
 47 See     Sec. 9.11.
                 9.11.


                                                   23
                                                   23
                                            APP-741
                                            APP-741
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          63.
          63.   TTUSDS,
                TTUSDS, Oracle,
                        Oracle, and the Source
                                and the        Code Inspector
                                        Source Code           are charged
                                                    Inspector are         with ensuring
                                                                  charged with          that
                                                                               ensuring that

 there is
 there is nothing
          nothing malicious
                  malicious in
                            in any
                               any Source
                                   Source Code
                                          Code provided    ByteDance. 48
                                                        by ByteDance.
                                               provided by            48 This
                                                                         This review
                                                                              review must be
                                                                                     must be

 conducted
 conducted on
           on every
              every single
                    single piece
                           piece of
                                 of Source
                                    Source Code that is
                                           Code that is required to operate
                                                        required to         the entirety
                                                                    operate the entirety of what is
                                                                                         of what is

 known
 known as “TikTok”—i.e., the
       as "TikTok"—i.e., the App itself and
                             App itself and all
                                            all software
                                                software required
                                                         required for the Platform,
                                                                  for the Platform, including
                                                                                    including the
                                                                                              the

 Recommendation Engine. 49 It
 Recommendation Engine.49  It also
                              also includes
                                   includes any updates, patches,
                                            any updates, patches, or
                                                                  or new
                                                                     new versions
                                                                         versions of the App
                                                                                  of the App or
                                                                                             or

 the Platform.
 the Platform. The
               The review
                   review must
                          must be
                               be completed
                                  completed for
                                            for any version of
                                                any version    the App
                                                            of the App or Platform that
                                                                       or Platform that is
                                                                                        is

 deployed
 deployed in the U.S.,
          in the U.S., and the reviewed
                       and the reviewed Source
                                        Source Code
                                               Code must
                                                    must match the SBOM
                                                         match the      that was
                                                                   SBOM that was delivered
                                                                                 delivered

      it. 50
 with it.
 with

          64.
          64.   Any indication of
                Any indication of malicious
                                  malicious code
                                            code or
                                                 or exploit
                                                    exploit or
                                                            or any
                                                               any deviation from the
                                                                   deviation from the SBOM
                                                                                      SBOM

 must be reported
 must be          to the
         reported to the U.S. Government. 51
                         U.S. Government. 51 TTUSDS
                                             TTUSDS and
                                                    and Oracle will require
                                                        Oracle will         ByteDance to
                                                                    require ByteDance to fix
                                                                                         fix

 any
 any security
     security problem identified during
              problem identified        the Source
                                 during the Source Code
                                                   Code review
                                                        review and will report
                                                               and will        the outcome
                                                                        report the         to
                                                                                   outcome to

 the U.S.
 the      Government. 52
     U.S. Government. 52 All
                         All security fixes or
                             security fixes or revisions
                                               revisions performed
                                                         performed by ByteDance must
                                                                   by ByteDance      go back
                                                                                must go back

 through the
 through the Source
             Source Code
                    Code review process. 53
                         review process. 53

          65.
          65.   If ByteDance does
                If ByteDance does not
                                  not correct
                                      correct an
                                              an identified
                                                 identified security
                                                            security problem to the
                                                                     problem to the satisfaction
                                                                                    satisfaction of
                                                                                                 of

 TTUSDS,
 TTUSDS, Oracle
         Oracle and the U.S.
                and the U.S. Government, the NSA
                             Government, the NSA gives
                                                 gives Oracle
                                                       Oracle unilateral
                                                              unilateral authority to
                                                                         authority to

 suspend the use
 suspend the use of the App
                 of the App and the Platform
                            and the Platform in
                                             in the U.S. 54
                                                the U.S.54




 48
        NSA Secs.
    See NSA
 48 See           2.4, 9.5-9.13,
            Secs. 2.4, 9.5-9.13, 9.15.
                                 9.15.
 49
        NSA Sec.
    See NSA
 49 See     Sec. 9.7,
                 9.7, 9.13.
                      9.13.
 50
        NSA Secs.
    See NSA
 59 See     Secs. 9.7,
                  9.7, 9.10,
                       9.10, 9.12.
                             9.12.
 51
        NSA Sec.
    See NSA
 51 See     Sec. 9.6.
                 9.6.
 52
        NSA Sec.
    See NSA
 52 See     Sec. 9.10.
                 9.10.
 53
        NSA Secs.
    See NSA
 53 See     Secs. 9.7,
                  9.7, 9.10,
                       9.10, 9.12-9.14.
                             9.12-9.14.
 54
        NSA Secs.
    See NSA
 54 See     Secs. 9.14-9.15.
                  9.14-9.15.


                                                 24
                                                 24
                                          APP-742
                                          APP-742
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         66.
         66.    Once Oracle signs
                Once Oracle       off on
                            signs off on reviewed
                                         reviewed Source
                                                  Source Code for the
                                                         Code for the App,
                                                                      App, Oracle will build
                                                                           Oracle will build
                                                          55
 Executable Code
 Executable Code from the secured
                 from the secured and
                                  and signed
                                      signed Source
                                             Source Code.
                                                    Code.55  This will be
                                                             This will be done
                                                                          done exclusively
                                                                               exclusively in
                                                                                           in
                          56
 the Secure
 the Secure Oracle
            Oracle Cloud.
                   Cloud.56

         67.
         67.    As
                As for the Executable
                   for the Executable Code
                                      Code for the Platform,
                                           for the Platform, it
                                                             it is
                                                                is reviewed by Oracle
                                                                   reviewed by Oracle and
                                                                                      and built
                                                                                          built

 and
 and deployed by TTUSDS.
     deployed by TTUSDS. The NSA requires
                         The NSA          that the
                                 requires that the Platform
                                                   Platform be
                                                            be deployed
                                                               deployed on
                                                                        on and
                                                                           and operate
                                                                               operate

 exclusively in the
 exclusively in the Secure
                    Secure Oracle Cloud. 57
                           Oracle Cloud. 57 The NSA requires
                                            The NSA requires TTUSDS
                                                             TTUSDS and Oracle to
                                                                    and Oracle to ensure that
                                                                                  ensure that

 the Platform
 the Platform connects
              connects only to Content
                       only to Content Delivery Networks 58 located
                                       Delivery Networks58          in the
                                                            located in the U.S.
                                                                           U.S. that
                                                                                that have
                                                                                     have no
                                                                                          no
                                                                                59
 affiliation with Petitioners
 affiliation with Petitioners when
                              when delivering
                                   delivering content within the
                                              content within the United
                                                                 United States.
                                                                        States.59

         68.
         68.    Once Oracle has
                Once Oracle     built secure
                            has built        Executable Code
                                      secure Executable Code for
                                                             for the
                                                                 the App
                                                                     App itself,
                                                                         itself, it
                                                                                 it will
                                                                                    will use
                                                                                         use the
                                                                                             the

 secure version to
 secure version to deploy the App
                   deploy the App on the website
                                  on the website in
                                                 in the
                                                    the U.S.,
                                                        U.S., which
                                                              which will
                                                                    will be
                                                                         be hosted within the
                                                                            hosted within the

 Secure
 Secure Oracle
        Oracle Cloud, and to
               Cloud, and to the
                             the major
                                 major app stores (e.g.,
                                       app stores (e.g., Apple
                                                         Apple and
                                                               and Google) servicing TikTok
                                                                   Google) servicing TikTok

 U.S. Users. 60 TTUSDS
 U.S. Users.60         and Oracle
                TTUSDS and        will ensure
                           Oracle will        that only
                                       ensure that      the reviewed
                                                   only the          versions of
                                                            reviewed versions of the
                                                                                 the App are
                                                                                     App are

 made available in
 made available in the
                   the U.S.
                       U.S. The version of
                            The version of the
                                           the App
                                               App deployed by Oracle
                                                   deployed by        will be
                                                               Oracle will be configured to
                                                                              configured to

 allow
 allow connections
       connections only to the
                   only to the Platform
                               Platform in
                                        in the
                                           the Secure
                                               Secure Oracle Cloud and
                                                      Oracle Cloud and to
                                                                       to no
                                                                          no other
                                                                             other network or
                                                                                   network or

 platform. Any movement
 platform. Any movement of
                        of content or Public
                           content or Public Data
                                             Data from
                                                  from TikTok U.S. Users
                                                       TikTok U.S. Users to
                                                                         to or from the
                                                                            or from the rest
                                                                                        rest

 of the world
 of the world will
              will be
                   be routed through the
                      routed through the Platform
                                         Platform in
                                                  in the
                                                     the Secure
                                                         Secure Oracle
                                                                Oracle Cloud before transiting
                                                                       Cloud before transiting to
                                                                                               to

 Content Delivery Networks
 Content Delivery Networks that
                           that carry the traffic
                                carry the         globally. 61 Oracle
                                          traffic globally.61  Oracle will
                                                                      will monitor
                                                                           monitor all
                                                                                   all


 55
        NSA Secs.
    See NSA
 55 See     Secs. 8.4,
                  8.4, 9.10,
                       9.10, 9.12.
                             9.12.
 56
    See id.
 56 See id.
 57
        NSA Secs.
    See NSA
 57 See     Secs. 8.4,
                  8.4, 8.5,
                       8.5, 11.5.
                            11.5.
 58
 58 Content Delivery Networks
    Content Delivery Networks are
                              are servers
                                  servers and
                                          and related
                                              related infrastructure that are
                                                      infrastructure that     used for
                                                                          are used     the delivery
                                                                                   for the delivery
 of
 of static
    static and
           and live
               live content to the
                    content to the TikTok U.S. App.
                                   TikTok U.S. App. See NSA Sec.
                                                    See NSA Sec. 1.5.
                                                                 1.5.
 59
        NSA Secs.
    See NSA
 59 See     Secs. 8.4,
                  8.4, 8.5.1.i.
                       8.5.1.i.
 60
        NSA Secs.
    See NSA
 69 See     Secs. 8.4,
                  8.4, 9.8,
                       9.8, 9.10.
                            9.10.
 61
        NSA Secs.
    See NSA
 61 See     Secs. 8.4,
                  8.4, 8.5,
                       8.5, 11.2.
                            11.2.


                                                  25
                                                  25
                                           APP-743
                                           APP-743
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 interconnections between
 interconnections between the
                          the Platform
                              Platform and the rest
                                       and the rest of the world
                                                    of the world and
                                                                 and can block any
                                                                     can block     such
                                                                               any such

 interactions that,
 interactions that, in
                    in its
                       its discretion,
                           discretion, are unexpected or
                                       are unexpected    unauthorized. 62 Oracle
                                                      or unauthorized.62         will also
                                                                          Oracle will also be
                                                                                           be

 responsible for assessing
 responsible for assessing and
                           and reporting to the
                               reporting to the U.S.
                                                U.S. Government
                                                     Government on
                                                                on an
                                                                   an ongoing
                                                                      ongoing basis
                                                                              basis any
                                                                                    any risks
                                                                                        risks

 posed to U.S.
 posed to U.S. national
               national security
                        security and User privacy
                                 and User privacy identified in the
                                                  identified in the course
                                                                    course of
                                                                           of its
                                                                              its Source
                                                                                  Source Code
                                                                                         Code

 review. 63
 review. 63


         69.
         69.    The NSA requires
                The NSA          that all
                        requires that     Protected Data
                                      all Protected Data provided
                                                         provided or
                                                                  or derived
                                                                     derived from use of
                                                                             from use    the
                                                                                      of the

 App, including data
 App, including      voluntarily provided
                data voluntarily          by TikTok
                                 provided by        U.S. Users
                                             TikTok U.S. Users at
                                                               at registration
                                                                  registration and
                                                                               and any
                                                                                   any heuristic
                                                                                       heuristic

 or behavioral data
 or behavioral      gathered from
               data gathered from use
                                  use of the App,
                                      of the      be transported
                                             App, be transported from the App
                                                                 from the     to the
                                                                          App to the Platform
                                                                                     Platform in
                                                                                              in
                          64
 the Secure
 the Secure Oracle
            Oracle Cloud.
                   Cloud.64  TTUSDS and Oracle
                             TTUSDS and        will ensure
                                        Oracle will        that Protected
                                                    ensure that Protected Data
                                                                          Data is
                                                                               is stored
                                                                                  stored

 exclusively within the
 exclusively within the Secure
                        Secure Oracle
                               Oracle Cloud
                                      Cloud and
                                            and nowhere
                                                nowhere else, and Oracle
                                                        else, and        will be
                                                                  Oracle will be charged with
                                                                                 charged with

 securing and monitoring
 securing and            all access
              monitoring all        to the
                             access to the stored
                                           stored Protected Data. 65 TTUSDS
                                                  Protected Data.65         will control
                                                                     TTUSDS will         all
                                                                                 control all

 requests
 requests for
          for access, including requests
              access, including requests pursuant to court
                                         pursuant to court orders
                                                           orders or subpoenas. The
                                                                  or subpoenas.     NSA requires
                                                                                The NSA requires

 that no
 that no one
         one outside the U.S.
             outside the U.S. be
                              be allowed
                                 allowed to
                                         to view
                                            view or
                                                 or have
                                                    have access
                                                         access of
                                                                of any Protected Data,
                                                                   any Protected Data, including
                                                                                       including

 any
 any employee
     employee of
              of TTUSDS,
                 TTUSDS, Oracle,
                         Oracle, or
                                 or aa Dedicated
                                       Dedicated Transparency
                                                 Transparency Center
                                                              Center located in aa "Five
                                                                     located in    “Five Eyes"
                                                                                         Eyes”

 country, subject to
 country, subject to limited
                     limited exceptions under aa set
                             exceptions under    set of “Limited Access
                                                     of "Limited        Protocols.” 66
                                                                 Access Protocols."66

         70.
         70.    The NSA requires
                The NSA          that TTUSDS
                        requires that        make aa complete
                                      TTUSDS make             list of
                                                     complete list of all
                                                                      all vendors
                                                                          vendors and
                                                                                  and third
                                                                                      third

 parties that provide
 parties that provide services,
                      services, code,
                                code, or
                                      or content
                                         content related to the
                                                 related to the App
                                                                App or the Platform,
                                                                    or the Platform, and the
                                                                                     and the

 TTUSDS
 TTUSDS Security Directors, with
        Security Directors, with oversight from the
                                 oversight from the Third-Party Monitor, must
                                                    Third-Party Monitor, must conduct
                                                                              conduct aa




 62
        NSA Secs.
    See NSA
 62 See     Secs. 8.5,
                  8.5, 9.8,
                       9.8, 9.17,
                            9.17, 9.18.
                                  9.18.
 63
        NSA Sec.
    See NSA
 63 See     Sec. 9.18.
                 9.18.
 64
        NSA Secs.
    See NSA
 64 See     Secs. 8.4,
                  8.4, 11.5.
                       11.5.
 65
        NSA Secs.
    See NSA
 65 See     Secs. 8.4,
                  8.4, 9.8,
                       9.8, 11.5.
                            11.5.
 66
        NSA Secs.
    See NSA
 66 See     Secs. 11.8-11.9.
                  11.8-11.9.


                                                  26
                                                  26
                                            APP-744
                                            APP-744
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 security
 security review
          review of
                 of each vendor, with
                    each vendor, with disclosure of the
                                      disclosure of the list
                                                        list to
                                                             to the
                                                                the U.S.
                                                                    U.S. Government
                                                                         Government for
                                                                                    for review
                                                                                        review and
                                                                                               and

 approval. 67
 approval. 67


         71.
         71.    The NSA requires
                The NSA requires TTUSDS to establish
                                 TTUSDS to establish aa Content
                                                        Content Advisory
                                                                Advisory Council
                                                                         Council of
                                                                                 of external
                                                                                    external
                                                                                  68
 social
 social media, free speech,
        media, free         and content
                    speech, and         moderation experts
                                content moderation         who are
                                                   experts who     U.S. citizens.
                                                               are U.S. citizens.68  TTUSDS and
                                                                                     TTUSDS and

 the Content
 the Content Advisory
             Advisory Council will review
                      Council will review aa so-called “playbook” created
                                             so-called "playbook"         by Petitioners
                                                                  created by Petitioners that
                                                                                         that

 informs how
 informs     the Recommendation
         how the Recommendation Engine
                                Engine decides what content
                                       decides what         to recommend
                                                    content to           to particular
                                                               recommend to particular

 users, both
 users, both global
             global users
                    users and
                          and TikTok U.S. Users.
                              TikTok U.S. Users. A
                                                 A copy
                                                   copy of the "playbook"
                                                        of the “playbook” will
                                                                          will also
                                                                               also be
                                                                                    be given
                                                                                       given to
                                                                                             to

 the U.S.
 the U.S. Government
          Government and
                     and Oracle.
                         Oracle. TTUSDS will have
                                 TTUSDS will      ultimate say
                                             have ultimate say on
                                                               on how the playbook
                                                                  how the playbook and
                                                                                   and

 Recommendation Engine
 Recommendation Engine for
                       for the
                           the TikTok U.S. Platform
                               TikTok U.S. Platform make
                                                    make decisions for the
                                                         decisions for the App and will
                                                                           App and will

 ensure that the
 ensure that the Recommend
                 Recommend Engine
                           Engine is
                                  is trained
                                     trained exclusively within the
                                             exclusively within the Secure        Cloud. 69
                                                                           Oracle Cloud.69
                                                                    Secure Oracle

 Oracle will test
 Oracle will test the
                  the Recommendation
                      Recommendation Engine
                                     Engine to
                                            to ensure it complies
                                               ensure it          with the
                                                         complies with the playbook,
                                                                           playbook, as
                                                                                     as
                                                                   70
 reviewed
 reviewed and
          and approved
              approved by
                       by TTUSDS
                          TTUSDS and the Content
                                 and the Content Advisory
                                                 Advisory Council.
                                                          Counci1.79

         72.
         72.    In
                In addition to relying
                   addition to relying on
                                       on TTUSDS,
                                          TTUSDS, Oracle,
                                                  Oracle, and the Source
                                                          and the Source Code
                                                                         Code Inspector to
                                                                              Inspector to

 carry
 carry out NSA functions,
       out NSA            the NSA
               functions, the NSA contains
                                  contains heavy
                                           heavy oversight
                                                 oversight monitoring
                                                           monitoring and
                                                                      and audit
                                                                          audit provisions,
                                                                                provisions,

 which will
 which will be
            be carried
               carried out
                       out by yet three
                           by yet three more independent U.S.-based
                                        more independent U.S.-based entities that must
                                                                    entities that must be
                                                                                       be engaged
                                                                                          engaged

 by TTUSDS.
 by TTUSDS. These
            These additional U.S. entities
                  additional U.S. entities must
                                           must be
                                                be approved by and
                                                   approved by     will have
                                                               and will have reporting
                                                                             reporting and
                                                                                       and

 fiduciary responsibilities
 fiduciary                  to the
           responsibilities to the U.S.
                                   U.S. Government.
                                        Government. They
                                                    They cannot
                                                         cannot have
                                                                have any
                                                                     any prior involvement or
                                                                         prior involvement or

 contractual
 contractual relationship with Petitioners.
             relationship with Petitioners.




 67
        NSA Secs.
    See NSA
 67 See     Secs. 13.1-13.5.
                  13.1-13.5.
 68
        NSA Sec.
    See NSA
 68 See     Sec. 5.4.
                 5.4.
 69
        NSA Sec.
    See NSA
 69 See     Sec. 9.13.
                 9.13.
 70
    See id.
 70 See id.


                                                27
                                                27
                                              APP-745
                                              APP-745
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        73.
        73.     The first of
                The first    these is
                          of these is aa Third-Party Monitor, which
                                         Third-Party Monitor, which will
                                                                    will be
                                                                         be responsible
                                                                            responsible for
                                                                                        for

 conducting
 conducting ongoing
            ongoing oversight
                    oversight of the actual
                              of the        implementation of
                                     actual implementation    the NSA
                                                           of the NSA by
                                                                      by TTUSDS,
                                                                         TTUSDS, Oracle,
                                                                                 Oracle, and
                                                                                         and
                            71
 the Source
 the Source Code
            Code Inspector.
                 Inspector.71  The
                               The Third-Party Monitor will
                                   Third-Party Monitor will be
                                                            be aa principal
                                                                  principal point
                                                                            point of
                                                                                  of contact
                                                                                     contact for the
                                                                                             for the
                                       72
 U.S. Government
 U.S. Government regarding
                 regarding compliance.
                           compliance.72  Second, the NSA
                                          Second, the NSA requires
                                                          requires aa Third-Party
                                                                      Third-Party Auditor to
                                                                                  Auditor to

 conduct
 conduct an independent audit
         an independent audit of
                              of compliance
                                 compliance by Petitioners and
                                            by Petitioners and TTUSDS upon request
                                                               TTUSDS upon         by the
                                                                           request by the
                  73
 U.S. Government.
 U.S. Government.73  The U.S. Government
                     The U.S.            must approve
                              Government must approve the
                                                      the audit
                                                          audit plan. Finally, the
                                                                plan. Finally, the NSA
                                                                                   NSA

 requires
 requires aa Cybersecurity
             Cybersecurity Auditor, which will
                           Auditor, which will conduct
                                               conduct aa more
                                                          more tailored
                                                               tailored technical
                                                                        technical audit of
                                                                                  audit of

 TTUSDS’s and Oracle’s
 TTUSDS's and Oracle's compliance with implementation
                       compliance with implementation of
                                                      of the
                                                         the Source
                                                             Source Code
                                                                    Code review
                                                                         review processes,
                                                                                processes,

 the establishment
 the establishment and operations of
                   and operations of Dedicated
                                     Dedicated Transparency
                                               Transparency Centers, the secure
                                                            Centers, the        Build process,
                                                                         secure Build process,

 the deployment
 the deployment of the App,
                of the      the deployment
                       App, the deployment of the Platform
                                           of the Platform in the Secure
                                                           in the Secure Oracle
                                                                         Oracle Cloud,
                                                                                Cloud, and the
                                                                                       and the

 storage and protection
 storage and            of Protected
             protection of           Data. 74
                           Protected Data. 74

        74.
        74.     In
                In addition to this
                   addition to this oversight, the U.S.
                                    oversight, the U.S. Government
                                                        Government retains the right
                                                                   retains the       to monitor
                                                                               right to monitor all
                                                                                                all

 of Petitioners’ and
 of Petitioners' and TTUSDS’s
                     TTUSDS's compliance
                              compliance directly
                                         directly and to conduct
                                                  and to         inspections at
                                                         conduct inspections at its
                                                                                its discretion.
                                                                                    discretion.

 The U.S. Government
 The U.S. Government can “inspect the
                     can "inspect the books
                                      books and
                                            and records,
                                                records, equipment,
                                                         equipment, servers,
                                                                    servers, and
                                                                             and facilities,
                                                                                 facilities, and
                                                                                             and

 premises
 premises owned,
          owned, leased,
                 leased, managed,
                         managed, or
                                  or operated
                                     operated in the United
                                              in the United States by [Petitioners
                                                            States by [Petitioners as well as
                                                                                   as well as

 TTUSDS]
 TTUSDS] for the purposes
         for the purposes of
                          of monitoring
                             monitoring compliance with or
                                        compliance with or enforcing this Agreement;
                                                           enforcing this Agreement;

 provided that in
 provided that in exigent
                  exigent circumstances,
                          circumstances, no
                                         no advance
                                            advance notice is required.
                                                    notice is required. This
                                                                        This right to access
                                                                             right to access and
                                                                                             and

 inspect extends
 inspect         to the
         extends to the Personnel,
                        Personnel, books
                                   books and
                                         and records,
                                             records, equipment,
                                                      equipment, servers,
                                                                 servers, facilities,
                                                                          facilities, and
                                                                                      and premises
                                                                                          premises

 of
 of any third-party contractor
    any third-party contractor or
                               or agent working on
                                  agent working    behalf of
                                                on behalf    [Petitioners and
                                                          of [Petitioners and any
                                                                              any of their
                                                                                  of their




 71
        NSA Secs.
    See NSA
 71 See     Secs. 16.1-16.6.
                  16.1-16.6.
 72
        NSA Sec.
    See NSA
 72 See     Sec. 16.4.
                 16.4.
 73
        NSA Sec.
    See NSA
 73 See     Sec. 15.1.
                 15.1.
 74
        NSA Secs.
    See NSA
 74 See     Secs. 14.1-14.6.
                  14.1-14.6.


                                                 28
                                                 28
                                           APP-746
                                           APP-746
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               75
 Affiliates].”
 Affiliates]."75  The U.S. Government
                  The U.S. Government also
                                      also retains
                                           retains access
                                                   access and
                                                          and inspection
                                                              inspection rights with respect
                                                                         rights with         to
                                                                                     respect to

 Oracle
 Oracle and its compliance
        and its            with the
                compliance with     NSA. 76
                                the NSA. 76


        75.
        75.     The final critical
                The final critical element of the
                                   element of the NSA
                                                  NSA is
                                                      is its
                                                         its collection
                                                             collection of
                                                                        of enforcement
                                                                           enforcement mechanisms.
                                                                                       mechanisms.

 II have already mentioned
    have already           one of
                 mentioned one    them above—i.e.,
                               of them above—i.e., the
                                                   the ability of Oracle
                                                       ability of Oracle unilaterally
                                                                         unilaterally to
                                                                                      to stop
                                                                                         stop use
                                                                                              use of
                                                                                                  of
                                                                           77
 the App
 the App if
         if ByteDance
            ByteDance fails
                      fails to
                            to fix
                               fix security
                                   security problems with the
                                            problems with the Source
                                                              Source Code.
                                                                     Code.77  In addition
                                                                              In addition to
                                                                                          to this
                                                                                             this

 provision
 provision related to Source
           related to        Code review,
                      Source Code         the NSA
                                  review, the NSA contains
                                                  contains aa provision that authorizes
                                                              provision that authorizes the
                                                                                        the U.S.
                                                                                            U.S.

 Government to shut
 Government to shut down
                    down operations
                         operations of the App
                                    of the App and
                                               and the
                                                   the Platform
                                                       Platform if
                                                                if (i)
                                                                   (i) there
                                                                       there are
                                                                             are material
                                                                                 material

 violations of
 violations    the NSA,
            of the NSA, (ii)
                        (ii) Petitioners
                             Petitioners attempt
                                         attempt to
                                                 to interfere
                                                    interfere with
                                                              with any
                                                                   any aspect of the
                                                                       aspect of the NSA,
                                                                                     NSA, (iii)
                                                                                          (iii)

 Oracle is denied
 Oracle is denied access to the
                  access to the Dedicated
                                Dedicated Transparency
                                          Transparency Centers, (iv) there
                                                       Centers, (iv) there is
                                                                           is any attempt by
                                                                              any attempt by

 Petitioners to
 Petitioners to deploy any version
                deploy any version of
                                   of the
                                      the App
                                          App or Platform that
                                              or Platform that has
                                                               has not been reviewed
                                                                   not been reviewed or
                                                                                     or deployed
                                                                                        deployed

 by Oracle,
 by Oracle, or (v) there
            or (v) there is
                         is any actual or
                            any actual    attempted unauthorized
                                       or attempted unauthorized access
                                                                 access to
                                                                        to Protected Data. 78 In
                                                                           Protected Data.78     my
                                                                                              In my

 experience with mitigation
 experience with mitigation agreements, the magnitude
                            agreements, the magnitude of this unilateral
                                                      of this unilateral enforcement
                                                                         enforcement authority
                                                                                     authority

 given to
 given to the
          the U.S.
              U.S. Government is unprecedented.
                   Government is unprecedented.

        Caveats and Assumptions
        Caveats and Assumptions

        76.
        76.     II now turn to
                   now turn to analyzing the effectiveness
                               analyzing the effectiveness of these terms
                                                           of these terms of the NSA,
                                                                          of the NSA, in
                                                                                      in light of the
                                                                                         light of the

 risk model. However,
 risk model. However, before
                      before doing
                             doing so, it is
                                   so, it is important to state
                                             important to state certain
                                                                certain caveats
                                                                        caveats and
                                                                                and assumptions.
                                                                                    assumptions.

        77.
        77.     II note that the
                   note that the only information II have
                                 only information    have relied upon in
                                                          relied upon in preparing this Declaration
                                                                         preparing this Declaration is
                                                                                                    is

 the CFIUS
 the CFIUS record
           record provided by Petitioners
                  provided by Petitioners to
                                          to the
                                             the U.S.
                                                 U.S. Government as well
                                                      Government as well as widely accepted
                                                                         as widely accepted

 and
 and publicly
     publicly available
              available facts. My opinion
                        facts. My opinion is
                                          is based
                                             based solely
                                                   solely on those sources
                                                          on those sources and
                                                                           and not
                                                                               not on
                                                                                   on anything
                                                                                      anything




 75
        NSA Sec.
    See NSA
 75 See     Sec. 17.1.
                 17.1.
 76
        NSA Sec.
    See NSA
 76 See     Sec. 17.2.
                 17.2.
 77
        NSA Secs.
    See NSA
 77 See     Secs. 9.14-9.15.
                  9.14-9.15.
 78
        NSA Secs.
    See NSA
 78 See           21.3-21.5.
            Secs. 21.3-21.5.


                                                  29
                                                  29
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 confidential
 confidential or unavailable to
              or unavailable to the
                                the public.
                                    public. II have
                                               have had
                                                    had no
                                                        no access to any
                                                           access to any classified information
                                                                         classified information

 regarding this matter.
 regarding this         Neither my
                matter. Neither my description
                                   description of the risk
                                               of the risk model
                                                           model nor
                                                                 nor my
                                                                     my opinions
                                                                        opinions herein
                                                                                 herein are
                                                                                        are

 derived
 derived from or rely
         from or rely on
                      on classified
                         classified or
                                    or non-public information.
                                       non-public information.

         78.
         78.     My first
                 My first important
                          important assumption
                                    assumption relates to the
                                               relates to the "threat"
                                                              “threat” element of the
                                                                       element of the risk model. II
                                                                                      risk model.

 will assume
 will assume for
             for purposes
                 purposes of this Declaration
                          of this Declaration that
                                              that Petitioners
                                                   Petitioners are subject to
                                                               are subject to at
                                                                              at least
                                                                                 least influence
                                                                                       influence if
                                                                                                 if not
                                                                                                    not

 control by Chinese
 control by Chinese interests.
                    interests. II understand
                                  understand that
                                             that Petitioners
                                                  Petitioners disagree with this
                                                              disagree with this assumption,
                                                                                 assumption, but
                                                                                             but

 analysis of this
 analysis of this question
                  question is
                           is not within the
                              not within the scope
                                             scope of this Declaration.
                                                   of this Declaration. Based
                                                                        Based on this assumption,
                                                                              on this assumption, II

 will also
 will also assume without analyzing
           assume without analyzing or
                                    or opining that Congress
                                       opining that Congress and
                                                             and CFIUS
                                                                 CFIUS considered Petitioners
                                                                       considered Petitioners

 to pose
 to      HIGH threats.
    pose HIGH threats.

         79.
         79.     In light of
                 In light    this assumption
                          of this            about Petitioners,
                                  assumption about Petitioners, II also
                                                                   also assume without analyzing
                                                                        assume without analyzing or
                                                                                                 or

 opining that Congress
 opining that          and CFIUS
              Congress and       would not
                           CFIUS would     be willing
                                       not be willing to
                                                      to trust
                                                         trust Petitioners
                                                               Petitioners to
                                                                           to faithfully
                                                                              faithfully comply
                                                                                         comply

 with the
 with the NSA
          NSA in
              in the
                 the absence
                     absence of
                             of some
                                some means of either
                                     means of either ensuring trust or
                                                     ensuring trust or removing the requirement
                                                                       removing the requirement

 to trust
 to trust Petitioners,
          Petitioners, such
                       such as the use
                            as the use of
                                       of aa trusted
                                             trusted third
                                                     third party to be
                                                           party to be responsible
                                                                       responsible for
                                                                                   for mitigation
                                                                                       mitigation

 implementation.
 implementation.

         80.
         80.     My final
                 My final assumption
                          assumption relates to the
                                     relates to the "consequences"
                                                    “consequences” posed by Petitioners
                                                                   posed by Petitioners control
                                                                                        control of
                                                                                                of

 or
 or access to the
    access to the App
                  App or the Platform.
                      or the Platform. II will
                                          will assume for purposes
                                               assume for purposes of this Declaration
                                                                   of this Declaration that
                                                                                       that if
                                                                                            if

 Protected Data
 Protected Data is
                is compromised
                   compromised or if the
                               or if the App
                                         App or Platform is
                                             or Platform is used to exploit
                                                            used to exploit content
                                                                            content on the
                                                                                    on the

 Platform, the
 Platform, the national
               national security
                        security consequences will be
                                 consequences will    HIGH. Again,
                                                   be HIGH. Again, II am
                                                                      am not
                                                                         not analyzing this
                                                                             analyzing this

 question
 question and
          and offer
              offer no
                    no opinion
                       opinion on the magnitude
                               on the magnitude of the asserted
                                                of the asserted consequences
                                                                consequences one way or
                                                                             one way    the
                                                                                     or the

 other.
 other. II understand
           understand Petitioners
                      Petitioners may
                                  may disagree with this
                                      disagree with this assessment, but the
                                                         assessment, but the resolution
                                                                             resolution of this
                                                                                        of this

 question is not
 question is not necessary to my
                 necessary to my analysis.
                                 analysis.




                                                   30
                                                   30
                                             APP-748
                                             APP-748
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        Analysis of
        Analysis of the NSA
                    the NSA

        81.
        81.     Because II am
                Because       assuming aa HIGH
                           am assuming    HIGH threat
                                               threat posed by Petitioners
                                                      posed by Petitioners and
                                                                           and aa HIGH
                                                                                  HIGH

 consequence to national
 consequence to national security if vulnerabilities
                         security if vulnerabilities are
                                                     are exploited, my analysis
                                                         exploited, my          is focused
                                                                       analysis is focused

 exclusively
 exclusively on the vulnerability
             on the vulnerability analysis
                                  analysis under
                                           under the
                                                 the risk model. The
                                                     risk model. The seminal
                                                                     seminal question is whether
                                                                             question is whether

 the NSA,
 the NSA, if
          if faithfully implemented as
             faithfully implemented    written, is
                                    as written, is sufficient to effectively
                                                   sufficient to effectively mitigate vulnerabilities
                                                                             mitigate vulnerabilities

 associated with Petitioners'
 associated with Petitioners’ control
                              control of the App
                                      of the     and Platform,
                                             App and Platform, including
                                                               including access to Protected
                                                                         access to Protected Data,
                                                                                             Data,

 such that the
 such that the overall vulnerability assessment
               overall vulnerability assessment would
                                                would be
                                                      be reduced to aa LOW
                                                         reduced to    LOW level.
                                                                           level.

        82.
        82.     As
                As discussed
                   discussed above in connection
                             above in            with the
                                      connection with the risk model, the
                                                          risk model, the vulnerability
                                                                          vulnerability analysis
                                                                                        analysis

 asks whether, by
 asks whether, by virtue
                  virtue of
                         of controlling
                            controlling aa U.S.
                                           U.S. company or asset,
                                                company or asset, aa foreign
                                                                     foreign "threat"
                                                                             “threat” actor would
                                                                                      actor would

 have
 have sufficient
      sufficient access to allow
                 access to allow it to capitalize
                                 it to capitalize and implement methods
                                                  and implement methods of
                                                                        of exploitation to impair
                                                                           exploitation to impair

 national
 national security. In this
          security. In this case, the question
                            case, the          is whether
                                      question is whether Petitioners
                                                          Petitioners could use their
                                                                      could use their control,
                                                                                      control,

 influence, or
 influence, or access to exploit
               access to         the App
                         exploit the     or Platform
                                     App or Platform to
                                                     to (i)
                                                        (i) use
                                                            use Protected
                                                                Protected Data
                                                                          Data to
                                                                               to gather
                                                                                  gather intelligence
                                                                                         intelligence

 about U.S. persons,
 about U.S.          or (ii)
            persons, or (ii) use
                             use the
                                 the Platform,
                                     Platform, including
                                               including control
                                                         control of the Recommendation
                                                                 of the Recommendation Engine,
                                                                                       Engine, to
                                                                                               to

 engage in propaganda
 engage in            or misinformation
           propaganda or misinformation campaigns
                                        campaigns either in China’s
                                                  either in         favor or
                                                            China's favor or against the U.S.
                                                                             against the U.S.

        83.
        83.     As
                As aa threshold
                      threshold matter,
                                matter, II first
                                           first consider whether the
                                                 consider whether the U.S.
                                                                      U.S. Government would be
                                                                           Government would be

 required to rely
 required to rely on Petitioners to
                  on Petitioners to faithfully
                                    faithfully comply with the
                                               comply with the NSA
                                                               NSA in
                                                                   in order
                                                                      order to
                                                                            to mitigate
                                                                               mitigate national
                                                                                        national

 security
 security risks.
          risks. To
                 To reiterate, the U.S.
                    reiterate, the U.S. Government
                                        Government has been reluctant
                                                   has been           to enter
                                                            reluctant to       into mitigation
                                                                         enter into mitigation

 agreements with companies
 agreements with           based in
                 companies based in China
                                    China or under Chinese
                                          or under Chinese control because of
                                                           control because of concern that the
                                                                              concern that the

 Chinese government could
 Chinese government       force companies
                    could force           to subvert
                                companies to         U.S. national
                                             subvert U.S. national security interests despite
                                                                   security interests         the
                                                                                      despite the

 existence
 existence of
           of contractual mitigation requirements.
              contractual mitigation requirements. The important exception
                                                   The important           to this
                                                                 exception to this reluctance
                                                                                   reluctance has
                                                                                              has

 been where
 been where the
            the U.S.
                U.S. Government
                     Government has been able
                                has been able to
                                              to rely
                                                 rely on
                                                      on aa trusted
                                                            trusted third
                                                                    third party to ensure
                                                                          party to ensure

 compliance such that
 compliance such that blind
                      blind reliance
                            reliance on
                                     on aa Chinese
                                           Chinese company is not
                                                   company is not required.
                                                                  required.




                                                  31
                                                  31
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                                           APP-749
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        84.
        84.     That is the
                That is the case
                            case here. First, the
                                 here. First, the NSA
                                                  NSA requires the creation
                                                      requires the          of TTUSDS,
                                                                   creation of         which will
                                                                               TTUSDS, which will

 have governance and
 have governance and operational independence. Its
                     operational independence.     Board and
                                               Its Board     management will
                                                         and management will be
                                                                             be free
                                                                                free from the
                                                                                     from the

 control
 control or influence of
         or influence of Petitioners.
                         Petitioners. TTUSDS will be
                                      TTUSDS will be responsible for the
                                                     responsible for the core security functions
                                                                         core security functions

 (i.e., "CFIUS
 (i.e., “CFIUS Functions")
               Functions”) that
                           that are at the
                                are at the heart
                                           heart of the NSA's
                                                 of the NSA’s mitigation
                                                              mitigation mechanisms.
                                                                         mechanisms.

        85.
        85.     Second, importantly, the
                Second, importantly, the NSA
                                         NSA requires the use
                                             requires the use of
                                                              of aa third-party
                                                                    third-party TTP—Oracle—to
                                                                                TTP—Oracle—to

 be the
 be the technical
        technical overseer
                  overseer of the NSA
                           of the NSA and to deploy
                                      and to deploy and operate the
                                                    and operate the App
                                                                    App and the Platform.
                                                                        and the Platform.

 Oracle is aa trusted
 Oracle is    trusted U.S.
                      U.S. company, and under
                           company, and under the
                                              the terms
                                                  terms of the NSA,
                                                        of the NSA, Oracle
                                                                    Oracle will
                                                                           will have
                                                                                have

 responsibilities
 responsibilities directly to the
                  directly to the U.S.
                                  U.S. Government. Its economic
                                       Government. Its          incentives will
                                                       economic incentives will align
                                                                                align with
                                                                                      with U.S.
                                                                                           U.S.

 Government interests because
 Government interests because non-compliance
                              non-compliance could lead to
                                             could lead to the
                                                           the U.S.
                                                               U.S. Government
                                                                    Government exerting its
                                                                               exerting its

 shut-down authority under
 shut-down authority under the
                           the NSA,
                               NSA, which
                                    which would
                                          would end what is
                                                end what is certainly well-compensated work
                                                            certainly well-compensated work

 by Oracle
 by Oracle under
           under the
                 the master
                     master services
                            services agreement.
                                     agreement.

        86.
        86.     By using
                By using TTUSDS and Oracle,
                         TTUSDS and         the U.S.
                                    Oracle, the U.S. Government is not
                                                     Government is not required to rely
                                                                       required to rely on
                                                                                        on

 Petitioners’ compliance.
 Petitioners' compliance. It
                          It effectively
                             effectively means that U.S.
                                         means that U.S. citizens with obligations
                                                         citizens with obligations and
                                                                                   and loyalties to
                                                                                       loyalties to

 the U.S.
 the U.S. Government will be
          Government will be in
                             in control
                                control of NSA implementation.
                                        of NSA implementation.

        87.
        87.     It is relevant
                It is          to re-emphasize
                      relevant to              that this
                                  re-emphasize that this use
                                                         use of
                                                             of aa secure
                                                                   secure U.S.
                                                                          U.S. subsidiary
                                                                               subsidiary of
                                                                                          of aa foreign
                                                                                                foreign

 parent is aa well-recognized
 parent is    well-recognized and
                              and long-used method for
                                  long-used method for addressing
                                                       addressing national
                                                                  national security
                                                                           security risks. CFIUS
                                                                                    risks. CFIUS

 has
 has often used it,
     often used it, as
                    as has the FCC
                       has the FCC and “Team Telecom.”
                                   and "Team Telecom." It is also
                                                       It is also used
                                                                  used often by the
                                                                       often by the Department
                                                                                    Department

 of Defense to
 of Defense to protect
               protect classified information and
                       classified information and classified
                                                  classified contracts
                                                             contracts from the control
                                                                       from the         and
                                                                                control and

 influence of
 influence    foreign parent
           of foreign parent companies.
                             companies.

        88.
        88.     The
                The next step in
                    next step in the
                                 the analysis
                                     analysis is
                                              is to
                                                 to look at whether
                                                    look at whether Petitioners
                                                                    Petitioners could
                                                                                could still
                                                                                      still have
                                                                                            have

 sufficient
 sufficient access to exploit
            access to         the App
                      exploit the App or the Platform,
                                      or the Platform, despite
                                                       despite not
                                                               not having
                                                                   having control
                                                                          control or influence over
                                                                                  or influence over

 TTUSDS
 TTUSDS or any of
        or any    the mechanisms
               of the mechanisms for
                                 for deploying
                                     deploying or
                                               or operating the App
                                                  operating the App or the Platform.
                                                                    or the Platform.




                                                  32
                                                  32
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                                           APP-750
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        89.
        89.     In the absence
                In the absence of Board or
                               of Board or management
                                           management control,
                                                      control, aa relevant
                                                                  relevant question is whether
                                                                           question is whether

 Petitioners might
 Petitioners might still
                   still have the ability
                         have the         to manipulate
                                  ability to manipulate or
                                                        or control the placement
                                                           control the placement of
                                                                                 of co-opted
                                                                                    co-opted

 employees in TTUSDS
 employees in TTUSDS or
                     or Oracle
                        Oracle or to influence
                               or to influence decisions
                                               decisions regarding vendors associated
                                                         regarding vendors associated with
                                                                                      with the
                                                                                           the

 App
 App or the Platform.
     or the Platform. The NSA effectively
                      The NSA effectively cuts off these
                                          cuts off these vectors
                                                         vectors by
                                                                 by imposing
                                                                    imposing rules around
                                                                             rules around

 TTUSDS
 TTUSDS hiring and controlling
        hiring and             the ability
                   controlling the ability of
                                           of TTUSDS to use
                                              TTUSDS to use employees who are
                                                            employees who are non-U.S.
                                                                              non-U.S

 citizens
 citizens or who have
          or who have had
                      had aa prior affiliation with
                             prior affiliation with Petitioners.
                                                    Petitioners. These same hiring
                                                                 These same hiring and vendor rules
                                                                                   and vendor rules

 are imposed on
 are imposed    Oracle.
             on Oracle.

        90.
        90.     Because the
                Because the NSA
                            NSA cuts
                                cuts off these governance,
                                     off these governance, management,
                                                           management, and
                                                                       and hiring/contracting
                                                                           hiring/contracting

 vectors, the
 vectors, the lone
              lone remaining
                   remaining potential access that
                             potential access that could
                                                   could enable
                                                         enable exploitation by Petitioners
                                                                exploitation by Petitioners is
                                                                                            is

 through technical
 through technical exploits
                   exploits of the App
                            of the App or the Platform.
                                       or the Platform. For
                                                        For purposes of clarity,
                                                            purposes of          it is
                                                                        clarity, it is important
                                                                                       important to
                                                                                                 to

 re-emphasize that under
 re-emphasize that under the
                         the NSA,
                             NSA, ByteDance
                                  ByteDance will
                                            will remain
                                                 remain completely in control
                                                        completely in control of
                                                                              of developing
                                                                                 developing

 Source
 Source Code
        Code for
             for all of the
                 all of the components that comprise
                            components that          “TikTok”—the App
                                            comprise "TikTok"—the App and the Platform,
                                                                      and the Platform,

 including the
 including the Recommendation
               Recommendation Engine.
                              Engine. As
                                      As stated
                                         stated above,
                                                above, II am
                                                          am assuming without concluding
                                                             assuming without            that
                                                                              concluding that

 this access
 this access could be used
             could be used for
                           for exploiting vulnerabilities, such
                               exploiting vulnerabilities, such as
                                                                as misappropriating Protected Data
                                                                   misappropriating Protected Data

 or
 or manipulating
    manipulating content
                 content on the TikTok
                         on the        Platform.
                                TikTok Platform.

        91.
        91.     With that
                With that said, in my
                          said, in my professional
                                      professional opinion, the NSA
                                                   opinion, the NSA effectively
                                                                    effectively cuts
                                                                                cuts off this
                                                                                     off this

 technical "access"
 technical “access” vector
                    vector and
                           and effectively
                               effectively mitigates the ability
                                           mitigates the ability of Petitioners to
                                                                 of Petitioners to exploit the App
                                                                                   exploit the App or
                                                                                                   or

 the Platform.
 the Platform. There
               There are two technical
                     are two technical access
                                       access methods to consider.
                                              methods to consider. The first is
                                                                   The first is whether
                                                                                whether by
                                                                                        by virtue
                                                                                           virtue

 of understanding the
 of understanding the Source Code for
                      Source Code for the
                                      the App
                                          App and the Platform,
                                              and the Platform, Petitioners
                                                                Petitioners or
                                                                            or some
                                                                               some other third-
                                                                                    other third-

 party
 party could gain control
       could gain         over and
                  control over and access to deployed
                                   access to          Executable Code
                                             deployed Executable Code and
                                                                      and configuration of the
                                                                          configuration of the

 App and the
 App and the Platform.
             Platform. The second is
                       The second is whether
                                     whether there
                                             there may
                                                   may be
                                                       be self-executing
                                                          self-executing functions,
                                                                         functions,

 “backdoors,” or
 "backdoors,"    other exploits
              or other exploits planted in the
                                planted in the Source
                                               Source Code that could
                                                      Code that could exploit the App
                                                                      exploit the App or the
                                                                                      or the




                                                  33
                                                  33
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 Platform even
 Platform      if Petitioners
          even if Petitioners could
                              could not take control
                                    not take         following deployment
                                             control following deployment or
                                                                          or control
                                                                             control

 configuration.
 configuration.

        92.
        92.       On the first
                  On the first point—Petitioners using deployed
                               point—Petitioners using          Executable versions
                                                       deployed Executable versions of
                                                                                    of the
                                                                                       the App
                                                                                           App and
                                                                                               and

 the Platform—as
 the Platform—as explained
                 explained above, the NSA
                           above, the NSA requires that all
                                          requires that all deployment
                                                            deployment and
                                                                       and operations
                                                                           operations of the
                                                                                      of the

 App and the
 App and the Platform
             Platform must
                      must emanate from and
                           emanate from     be controlled
                                        and be            by TTUSDS
                                               controlled by        within the
                                                             TTUSDS within the Secure
                                                                               Secure

 Oracle
 Oracle Cloud, including all
        Cloud, including all application and network
                             application and network configurations. Oracle’s infrastructure
                                                     configurations. Oracle's                will
                                                                              infrastructure will

 be the
 be the exclusive
        exclusive source in the
                  source in the U.S.
                                U.S. for
                                     for issuance
                                         issuance of the App
                                                  of the App and the Platform.
                                                             and the Platform. Petitioners
                                                                               Petitioners will
                                                                                           will

 have
 have no
      no physical
         physical or logical access
                  or logical        to the
                             access to the App or the
                                           App or the Platform
                                                      Platform once signed Source
                                                               once signed Source Code and
                                                                                  Code and

 accompanying
 accompanying SBOMs are deposited
              SBOMs are           in Dedicated
                        deposited in Dedicated Transparency
                                               Transparency Centers.
                                                            Centers. All functionality and
                                                                     All functionality and

 all interconnectedness for
 all interconnectedness for the
                            the Platform
                                Platform will
                                         will be
                                              be hosted
                                                 hosted on and run
                                                        on and     through the
                                                               run through the Secure Oracle
                                                                               Secure Oracle

 Cloud.
 Cloud. There may not
        There may     be aa more
                  not be    more secure
                                 secure commercial
                                        commercial cloud
                                                   cloud environment in the
                                                         environment in the U.S.
                                                                            U.S. than
                                                                                 than the
                                                                                      the

 Secure
 Secure Oracle
        Oracle Cloud.
               Cloud. The NSA’s terms
                      The NSA's terms ensure that there
                                      ensure that there will
                                                        will be
                                                             be no
                                                                no logical
                                                                   logical or
                                                                           or physical
                                                                              physical access
                                                                                       access or
                                                                                              or

 interconnection points
 interconnection        between the
                 points between the App
                                    App and the Platform
                                        and the Platform and
                                                         and any untrusted entity
                                                             any untrusted        because
                                                                           entity because

 TTUSDS, with Oracle
 TTUSDS, with Oracle serving
                     serving as
                             as aa trusted
                                   trusted validator,
                                           validator, will
                                                      will control the end-to-end
                                                           control the end-to-end process.
                                                                                  process. Oracle
                                                                                           Oracle

 will be
 will be able to view,
         able to view, inspect,
                       inspect, and
                                and stop
                                    stop any traffic between
                                         any traffic between the
                                                             the App
                                                                 App and the Platform
                                                                     and the Platform and well as
                                                                                      and well as

 all
 all movement
     movement of Protected Data.
              of Protected Data. Under
                                 Under the
                                       the direction
                                           direction of
                                                     of TTUSDS,
                                                        TTUSDS, Oracle will have
                                                                Oracle will      technical
                                                                            have technical

 operational
 operational responsibility for the
             responsibility for the storage,
                                    storage, protection,
                                             protection, and
                                                         and control
                                                             control of Protected Data.
                                                                     of Protected Data.

        93.
        93.       The
                  The second
                      second consideration
                             consideration relates to embedded
                                           relates to          self-executing exploits
                                                      embedded self-executing          in the
                                                                              exploits in the

 Source
 Source Code.
        Code. As
              As discussed at length
                 discussed at        above, aa key
                              length above,    key component
                                                   component of the NSA
                                                             of the NSA is
                                                                        is the
                                                                           the Source
                                                                               Source Code
                                                                                      Code

 review
 review process.
        process. This
                 This falls under the
                      falls under the responsibility of TTUSDS,
                                      responsibility of         Oracle, and
                                                        TTUSDS, Oracle, and an
                                                                            an additional
                                                                               additional Source
                                                                                          Source

 Code
 Code Inspector. It will
      Inspector. It will be
                         be conducted within the
                            conducted within the Secure
                                                 Secure Oracle Cloud, after
                                                        Oracle Cloud, after pulling
                                                                            pulling Source
                                                                                    Source Code
                                                                                           Code

 and
 and SBOMs from the
     SBOMs from the Dedicated
                    Dedicated Transparency
                              Transparency Centers. Oracle will
                                           Centers. Oracle will enable the Source
                                                                enable the Source Code
                                                                                  Code




                                                  34
                                                  34
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                                           APP-752
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 Inspector to have
 Inspector to      full manual
              have full manual and
                               and automated
                                   automated access. No Source
                                             access. No Source Code will enter
                                                               Code will       the Build
                                                                         enter the Build

 process until it
 process until    is reviewed
               it is reviewed by
                              by Oracle.
                                 Oracle.

         94.
         94.     Source
                 Source Code
                        Code review is aa difficult
                             review is    difficult and
                                                    and detailed
                                                        detailed process. However, highly
                                                                 process. However,        trained
                                                                                   highly trained

 reviewers are adept
 reviewers are adept at understanding code.
                     at understanding       Automated tools
                                      code. Automated tools for
                                                            for helping
                                                                helping review
                                                                        review code
                                                                               code have
                                                                                    have

 greatly enhanced
 greatly          the effectiveness
         enhanced the               of Source
                      effectiveness of Source Code
                                              Code review, including new
                                                   review, including     tools empowered
                                                                     new tools           by
                                                                               empowered by

 artificial
 artificial intelligence.
            intelligence.

         95.
         95.     While it
                 While    is hypothetically
                       it is hypothetically possible that some
                                            possible that some security
                                                               security flaws
                                                                        flaws or
                                                                              or even
                                                                                 even exploits
                                                                                      exploits could
                                                                                               could

 slip through the
 slip through the Source
                  Source Code
                         Code review
                              review process, it would
                                     process, it would be
                                                       be implausible as aa practical
                                                          implausible as              matter for
                                                                            practical matter for

 Petitioners to
 Petitioners to attempt to evade
                attempt to       the NSA
                           evade the NSA by
                                         by embedding
                                            embedding malicious
                                                      malicious code. First, there
                                                                code. First, there is
                                                                                   is aa high
                                                                                         high

 likelihood
 likelihood of
            of discovery. Both Oracle
               discovery. Both Oracle and the Source
                                      and the Source Code
                                                     Code Inspector will be
                                                          Inspector will be very
                                                                            very highly trained
                                                                                 highly trained

 in spotting
 in spotting malicious
             malicious code,
                       code, especially when using
                             especially when using robust tools. The
                                                   robust tools. The reviewers
                                                                     reviewers are
                                                                               are experienced in
                                                                                   experienced in

 spotting both intentionally
 spotting both intentionally malicious
                             malicious code
                                       code as well as
                                            as well as non-malicious vulnerabilities that
                                                       non-malicious vulnerabilities that emerge
                                                                                          emerge

 during the coding
 during the coding process.
                   process.

         96.
         96.     Second, there will
                 Second, there will be
                                    be immediate
                                       immediate reporting to the
                                                 reporting to the Third-Party Monitor and
                                                                  Third-Party Monitor     the U.S.
                                                                                      and the U.S.

 Government if malicious
 Government if malicious code is found.
                         code is found.

         97.
         97.     Third, the use
                 Third, the use of
                                of SBOMs
                                   SBOMs and
                                         and signed
                                             signed code
                                                    code means that Oracle
                                                         means that Oracle and the Source
                                                                           and the Source Code
                                                                                          Code

 Inspector will be
 Inspector will be able to track
                   able to track the
                                 the provenance
                                     provenance of
                                                of malicious
                                                   malicious code
                                                             code and
                                                                  and identify
                                                                      identify quickly where it
                                                                               quickly where it

 came
 came from
      from and when it
           and when it arrived.
                       arrived. Oracle
                                Oracle and the Source
                                       and the Source Code Inspector will
                                                      Code Inspector will also
                                                                          also be
                                                                               be able to
                                                                                  able to

 compare versions of
 compare versions of Source
                     Source Code that it
                            Code that it reviewed
                                         reviewed and will be
                                                  and will be able
                                                              able to
                                                                   to see
                                                                      see when
                                                                          when new features or
                                                                               new features or

 commands
 commands have
          have been
               been added
                    added or
                          or removed,
                             removed, all
                                      all of which will
                                          of which will have to comport
                                                        have to         with SBOMs
                                                                comport with       that
                                                                             SBOMs that

 accompany the reviewed
 accompany the reviewed Source
                        Source Code.
                               Code.

         98.
         98.     All
                 All of this will
                     of this will enable
                                  enable not
                                         not only
                                             only reporting under the
                                                  reporting under the terms
                                                                      terms of the NSA,
                                                                            of the NSA, but
                                                                                        but if there
                                                                                            if there

 is malicious
 is           intent or
    malicious intent or an
                        an attempt to compromise
                           attempt to compromise aa protected
                                                    protected computer
                                                              computer or
                                                                       or network,
                                                                          network, it
                                                                                   it could
                                                                                      could



                                                  35
                                                  35
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 become aa federal
 become    federal criminal
                   criminal matter under the
                            matter under the federal
                                             federal computer
                                                     computer intrusion
                                                              intrusion statute
                                                                        statute and,
                                                                                and, depending
                                                                                     depending on
                                                                                               on

 the facts,
 the facts, could also be
            could also be investigated
                          investigated or
                                       or prosecuted as an
                                          prosecuted as an attempt by aa foreign
                                                           attempt by    foreign power to take
                                                                                 power to take action
                                                                                               action

 against U.S. interests
 against U.S. interests under
                        under national
                              national security
                                       security statutes.
                                                statutes.

        99.
        99.     In
                In addition, the NSA
                   addition, the NSA imposes
                                     imposes rigorous broad oversight
                                             rigorous broad oversight over the NSA's
                                                                      over the NSA’s

 implementation, mandating
 implementation,           the involvement
                 mandating the involvement of three additional
                                           of three additional independent
                                                               independent monitors
                                                                           monitors and
                                                                                    and

 auditors—the
 auditors—the Third-Party Monitor, the
              Third-Party Monitor, the Third-Party
                                       Third-Party Auditor,
                                                   Auditor, and the Cybersecurity
                                                            and the Cybersecurity Auditor.
                                                                                  Auditor.

        100.
        100.    The
                The provisions in the
                    provisions in the NSA
                                      NSA that
                                          that give
                                               give the
                                                    the U.S.
                                                        U.S. Government the ability
                                                             Government the ability to
                                                                                    to

 unilaterally stop
 unilaterally      the use
              stop the use of the App
                           of the App and the Platform
                                      and the Platform for
                                                       for non-compliance is aa high-water
                                                           non-compliance is    high-water mark for
                                                                                           mark for

 U.S. Government
 U.S. Government control in aa mitigation
                 control in    mitigation environment.
                                          environment. The
                                                       The fact that there
                                                           fact that there are
                                                                           are six
                                                                               six independent
                                                                                   independent

 U.S. entities
 U.S. entities involved in NSA
               involved in NSA implementation
                               implementation and
                                              and compliance—TTUSDS,
                                                  compliance—TTUSDS, Oracle, the Source
                                                                     Oracle, the Source

 Code
 Code Inspector, the Third-Party
      Inspector, the             Monitor, the
                     Third-Party Monitor, the Third-Party
                                              Third-Party Auditor,
                                                          Auditor, and the Cybersecurity
                                                                   and the Cybersecurity

 Auditor—means that if
 Auditor—means that if any
                       any one
                           one of those entities
                               of those entities catch
                                                 catch or
                                                       or alert
                                                          alert on
                                                                on non-compliance,
                                                                   non-compliance, it
                                                                                   it could
                                                                                      could

 trigger the
 trigger the process that could
             process that could result
                                result in the U.S.
                                       in the U.S. Government
                                                   Government putting
                                                              putting aa stop to the
                                                                         stop to the App
                                                                                     App and the
                                                                                         and the

 Platform. It
 Platform.    is aa very
           It is         broad net
                    very broad net and would be
                                   and would be aa significant
                                                   significant and
                                                               and complex
                                                                   complex set
                                                                           set of
                                                                               of obstacles to
                                                                                  obstacles to

 navigate
 navigate even
          even if there were
               if there were an intent by
                             an intent by Petitioners—or
                                          Petitioners—or some
                                                         some other
                                                              other Chinese
                                                                    Chinese interest—to
                                                                            interest—to

 surreptitiously
 surreptitiously exploit vulnerabilities via
                 exploit vulnerabilities via the
                                             the Source
                                                 Source Code
                                                        Code or the deployed
                                                             or the deployed App
                                                                             App or Platform.
                                                                                 or Platform.

        101.
        101.    In
                In addition to my
                   addition to my experience
                                  experience and
                                             and expertise with CFIUS
                                                 expertise with CFIUS and
                                                                      and mitigation
                                                                          mitigation

 agreements,
 agreements, II am
                am also
                   also aa former
                           former counterespionage investigator and
                                  counterespionage investigator and prosecutor.
                                                                    prosecutor. In
                                                                                In my
                                                                                   my experience
                                                                                      experience

 related to nation-state
 related to              intelligence gathering
            nation-state intelligence gathering efforts, when aa potential
                                                efforts, when    potential avenue
                                                                           avenue for intelligence
                                                                                  for intelligence

 collection
 collection is
            is highly
               highly scrutinized
                      scrutinized and
                                  and spotlighted, there are
                                      spotlighted, there are strong
                                                             strong incentives to choose
                                                                    incentives to choose an
                                                                                         an alternate
                                                                                            alternate

 method
 method and
        and avoid
            avoid detection.
                  detection. The
                             The App
                                 App and the Platform
                                     and the Platform are under intense
                                                      are under intense scrutiny.
                                                                        scrutiny. The NSA
                                                                                  The NSA

 will accelerate
 will            the scrutiny
      accelerate the scrutiny and visibility in
                              and visibility in an
                                                an exponential
                                                   exponential manner.
                                                               manner. II believe
                                                                          believe Chinese
                                                                                  Chinese interests,
                                                                                          interests,




                                                  36
                                                  36
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 even if they
 even if they were
              were otherwise
                   otherwise motivated to want
                             motivated to want to
                                               to exploit the App
                                                  exploit the App and the Platform,
                                                                  and the Platform, would
                                                                                    would choose
                                                                                          choose

 alternate vectors of
 alternate vectors of collection in order
                      collection in       to avoid
                                    order to avoid discovery.
                                                   discovery.

        102.
        102.    My final
                My final point of analysis
                         point of analysis relates to the
                                           relates to the Recommendation
                                                          Recommendation Engine
                                                                         Engine and the potential
                                                                                and the potential

 manipulation
 manipulation of
              of content
                 content on the Platform
                         on the Platform to
                                         to disseminate
                                            disseminate propaganda,
                                                        propaganda, squelch information that
                                                                    squelch information that is
                                                                                             is

 harmful to Chinese
 harmful to         interests, or
            Chinese interests, or foment
                                  foment disunity within the
                                         disunity within the U.S.
                                                             U.S. Access
                                                                  Access vectors
                                                                         vectors for Petitioners to
                                                                                 for Petitioners to

 exploit this vulnerability,
 exploit this vulnerability, if
                             if they
                                they were
                                     were to
                                          to retain
                                             retain control of the
                                                    control of the Platform,
                                                                   Platform, would
                                                                             would be
                                                                                   be to
                                                                                      to embed
                                                                                         embed

 functionality in the
 functionality in the Source
                      Source Code
                             Code for the Recommendation
                                  for the Recommendation Engine
                                                         Engine or to manipulate
                                                                or to            the
                                                                      manipulate the

 configuration
 configuration of the Recommendation
               of the Recommendation Engine,
                                     Engine, including feeding "training"
                                             including feeding “training” data into it
                                                                          data into    in an
                                                                                    it in an

 effort to sway
 effort to sway how
                how content is distributed.
                    content is distributed. The NSA contains
                                            The NSA contains several
                                                             several provisions that would
                                                                     provisions that would make
                                                                                           make

 misuse of the
 misuse of the Recommendation
               Recommendation Engine
                              Engine unlikely. First, the
                                     unlikely. First, the Source
                                                          Source Code
                                                                 Code review
                                                                      review likely will find
                                                                             likely will find

 security flaws. More
 security flaws. More importantly,
                      importantly, the
                                   the Recommendation
                                       Recommendation Engine
                                                      Engine will
                                                             will be
                                                                  be accompanied
                                                                     accompanied by
                                                                                 by aa

 playbook that will
 playbook that will be
                    be available to TTUSDS
                       available to TTUSDS and
                                           and Oracle,
                                               Oracle, as well as
                                                       as well    to the
                                                               as to the Content
                                                                         Content Advisory
                                                                                 Advisory

 Council,
 Council, on
          on how
             how recommendations to users
                 recommendations to users should look. The
                                          should look. The Third-Party Monitor will
                                                           Third-Party Monitor will also
                                                                                    also be
                                                                                         be

 involved and
 involved and will
              will enable the U.S.
                   enable the U.S. Government to have
                                   Government to have aa say in the
                                                         say in the playbook.
                                                                    playbook. Oracle, which will
                                                                              Oracle, which will

 have
 have complete and exclusive
      complete and exclusive control of the
                             control of the deployed Recommendation Engine
                                            deployed Recommendation Engine in
                                                                           in the
                                                                              the U.S.,
                                                                                  U.S., will
                                                                                        will

 be required
 be          to monitor
    required to         its behavior
                monitor its behavior against the playbook.
                                     against the playbook. Oracle will conduct
                                                           Oracle will         testing and
                                                                       conduct testing and

 analysis to assess
 analysis to        its behavior.
             assess its behavior. In addition, all
                                  In addition, all of the training
                                                   of the training (i.e.,
                                                                   (i.e., machine
                                                                          machine learning)
                                                                                  learning) for
                                                                                            for the
                                                                                                the

 Recommendation Engine
 Recommendation Engine will
                       will be
                            be done in the
                               done in the Secure Oracle Cloud
                                           Secure Oracle       using only
                                                         Cloud using      training data
                                                                     only training      in that
                                                                                   data in that

 Cloud, which means
 Cloud, which       there will
              means there will be
                               be no
                                  no opportunity to train
                                     opportunity to train the
                                                          the Recommendation
                                                              Recommendation Engine
                                                                             Engine on
                                                                                    on

 Chinese
 Chinese propaganda
         propaganda or misinformation. Only
                    or misinformation. Only U.S.
                                            U.S. persons will be
                                                 persons will be involved
                                                                 involved in
                                                                          in the
                                                                             the deployment
                                                                                 deployment

 and training of
 and training of the
                 the Recommendation
                     Recommendation Engine.
                                    Engine.

        103.
        103.    Similar
                Similar protections
                        protections exist with respect
                                    exist with         to other
                                               respect to other processes for the
                                                                processes for the promotion
                                                                                  promotion or
                                                                                            or

 filtering of
 filtering of TikTok
              TikTok content
                     content apart from the
                             apart from the Recommendation
                                            Recommendation Engine.
                                                           Engine. The NSA requires
                                                                   The NSA requires



                                                   37
                                                   37
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 TTUSDS to ensure
 TTUSDS to        that only
           ensure that only authorized
                            authorized personnel
                                       personnel can
                                                 can engage in video
                                                     engage in video promotion and filtering
                                                                     promotion and filtering

 for the App
 for the     and Platform
         App and Platform and to document
                          and to          for the
                                 document for the Third-Party Monitor how
                                                  Third-Party Monitor     video promotion
                                                                      how video           and
                                                                                promotion and

 filtering functions
 filtering           will be
           functions will be carried
                             carried out.
                                     out. The
                                          The Third-Party Monitor and
                                              Third-Party Monitor     the Third-Party
                                                                  and the Third-Party Auditor
                                                                                      Auditor can
                                                                                              can

 conduct audits to
 conduct audits to ensure
                   ensure promotion
                          promotion and filtering decisions
                                    and filtering           are consistent
                                                  decisions are            with the
                                                                consistent with the playbook
                                                                                    playbook and
                                                                                             and

 other
 other policies
       policies and are properly
                and are          geared toward
                        properly geared toward commercial
                                               commercial purposes. Reports of
                                                          purposes. Reports of those
                                                                               those audits
                                                                                     audits will
                                                                                            will

 be provided
 be          to the
    provided to the U.S.
                    U.S. Government, which can
                         Government, which can conduct its own
                                               conduct its own audits.
                                                               audits.

        104.
        104.    To be clear,
                To be clear, II do
                                do not assess any
                                   not assess any one
                                                  one provision
                                                      provision of the NSA
                                                                of the NSA as
                                                                           as the
                                                                              the single “silver
                                                                                  single "silver

 bullet” that
 bullet" that renders the NSA
              renders the NSA effective to mitigate
                              effective to mitigate national security risk.
                                                    national security       Rather, it
                                                                      risk. Rather,    is the
                                                                                    it is the

 combination of the
 combination of the level
                    level of independence granted
                          of independence granted to
                                                  to TTUSDS,
                                                     TTUSDS, reliance
                                                             reliance on multiple trusted
                                                                      on multiple trusted third
                                                                                          third

 parties such as
 parties such as Oracle,
                 Oracle, the
                         the operational
                             operational security
                                         security processes,
                                                  processes, complex
                                                             complex and thorough technical
                                                                     and thorough technical

 mitigations, as well
 mitigations, as well as unprecedented oversight,
                      as unprecedented oversight, monitoring, and very
                                                  monitoring, and very rigorous
                                                                       rigorous enforcement
                                                                                enforcement

 mechanisms, that lead
 mechanisms, that lead me to conclude
                       me to          that the
                             conclude that the NSA
                                               NSA effectively
                                                   effectively mitigates
                                                               mitigates national
                                                                         national security
                                                                                  security risk
                                                                                           risk

 associated with the
 associated with the App
                     App and
                         and the
                             the Platform.
                                 Platform. Using
                                           Using the
                                                 the risk
                                                     risk model
                                                          model described above, if
                                                                described above, if the
                                                                                    the NSA
                                                                                        NSA

 were implemented
 were implemented as written, the
                  as written, the overall vulnerability assessment
                                  overall vulnerability assessment associated with Petitioners
                                                                   associated with Petitioners

 owning and deploying
 owning and           the TikTok
            deploying the        U.S. App
                          TikTok U.S. App and the TikTok
                                          and the        U.S. Platform
                                                  TikTok U.S. Platform would
                                                                       would be
                                                                             be reduced to aa
                                                                                reduced to

 LOW level.
 LOW level. II cannot
               cannot conceive of aa more
                      conceive of    more technically
                                          technically secure mitigation scheme
                                                      secure mitigation        for the
                                                                        scheme for the App
                                                                                       App and
                                                                                           and

 the Platform
 the Platform in
              in the
                 the U.S.
                     U.S. than
                          than the
                               the scheme
                                   scheme devised by the
                                          devised by the NSA.
                                                         NSA.

 CONCLUSIONS
 CONCLUSIONS

        105.
        105.    The
                The risk model described
                    risk model           above is
                               described above is the
                                                  the national
                                                      national security analytic model
                                                               security analytic       that is
                                                                                 model that is used
                                                                                               used

 by Congress,
 by Congress, CFIUS,
              CFIUS, and
                     and other U.S. government
                         other U.S. government entities to assess
                                               entities to assess the
                                                                  the effectiveness
                                                                      effectiveness of the NSA
                                                                                    of the NSA

 to mitigate
 to mitigate national
             national security
                      security risk.
                               risk.

        106.
        106.    II have
                   have reviewed the NSA
                        reviewed the NSA as well as
                                         as well    the history
                                                 as the history of
                                                                of negotiations between CFIUS
                                                                   negotiations between CFIUS

 and Petitioners regarding
 and Petitioners           the NSA.
                 regarding the NSA.



                                                  38
                                                  38
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        107.
        107.    Using the
                Using the risk
                          risk model,
                               model, my
                                      my professional
                                         professional opinion is that
                                                      opinion is that if
                                                                      if implemented
                                                                         implemented as
                                                                                     as written,
                                                                                        written,

 the NSA
 the NSA would
         would effectively
               effectively mitigate the U.S.
                           mitigate the U.S. national
                                             national security
                                                      security risks
                                                               risks associated with Petitioners
                                                                     associated with Petitioners

 owning and deploying
 owning and           the TikTok
            deploying the        U.S. App
                          TikTok U.S. App and the TikTok
                                          and the        U.S. Platform.
                                                  TikTok U.S. Platform.



        Pursuant to
        Pursuant to 28
                    28 U.S.C.
                       U.S.C. §§ 1746,
                                 1746, II declare
                                          declare under
                                                  under penalty
                                                        penalty of
                                                                of perjury that the
                                                                   perjury that the foregoing
                                                                                    foregoing is true
                                                                                              is true

 and
 and correct to the
     correct to the best
                    best of
                         of my
                            my knowledge.
                               knowledge.

        Executed this
        Executed this day June 17,
                      day June 17, 2024.
                                   2024.


                                                              _______________________
                                                              Christopher P. Simkins
                                                              Christopher P. Simkins




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                                                 39
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                                            APP-757
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                            Appendix 1
                            Appendix 1




                               APP-758
                               APP-758
Christopher
USCA Case #24-1113
                   P. Simkins
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                                                                        csimkins@laconialawconsulting.com
                                                                       www.linkedin.com/in/christophersimkins/


Chris Simkins is an entrepreneur, lawyer, and advisor
                                                 advisor with decades of experience working at the
intersection of
             of business and the
                               the U.S. Government’s
                                        Government's national security
                                                               security interests. He has deep legal,
operational, and
             and technical experience
                              experience with regulatory processes that protect technology and
information. He has counseled hundreds of companies ranging from the  the Fortune 500 to start-ups
                                                                                          start-ups on
CFIUS, DCSA, and other security
                           security matters and
                                              and has designed and implemented security
                                                                                   security mitigation
programs to protect against
                     against nation-state attacks.
                                          attacks.
Mr. Simkins is also an experienced entrepreneur, having founded and served as CEO for multiple
companies. He is currently the CEO and founder of Laconia Law & Consulting, which provides legal,
consulting, advisory,
             advisory, and
                       and operational services
                                         services to companies. He was the co-founder and and CEO of
Corsha, a cybersecurity company that securessecures machine-to-machine communications, and  and Chain
Security, aa professional services
                          services company that identifies vulnerabilities in technology supply
                                                                                         supply chains
and designs and
              and implements technical
                               technical and operational mitigation programs. He is currently the CEO
and co-founder ofof Shouldrs, Inc., a tech start-up
                                           start-up building an AI-powered platform that autonomously
                                                                                         autonomously
performs back-office functions
                       functions for small
                                     small businesses.

 Positions Held:
 Positions
 •• 2023-Present   Co-Founder & CEO, Shouldrs, Inc.
                                               Inc.
 •• 2008-Present   Founder & CEO, Laconia Law & Consulting
 •• 2023-Present   Director & Chair of Government Security Committee, Zetec, Inc.
 •• 2024-Present   Leadership Council, National Small Business Association
 •• 2017-2023      Co-Founder & CEO and
                                    and Strategic Advisor, Corsha, Inc.
                                                                   Inc.
 •• 2011-2017      Co-Founder & CEO, Chain Security, LLC
 •• 2007-2008      Senior Counsel, Covington & Burling
 •• 2006-2007      Senior Counsel to the Assistant Attorney General, Criminal Division and
                   National Security Division, U.S. Department of Justice
 •• 2004-2006      Counterespionage Section, U.S. Department of
                                                             of Justice
 •• 1998-2004
    1998-2004      Counsel (and Associate), WilmerHale


 Education:
 Education:
 •• 1997           Brigham Young University Law School, J.D.
                   magna cum laude, Order of the Coif, Managing Editor of BYU Law Review
 •• 1994           Brigham Young University, B.A., Political Science
                   magna cum laude


 Patents:
 Patents:
 •• Co-Inventor, Pat. No. US10992651B2 (“Streaming
                                       ("Streaming authentication using chained identifiers”)
                                                                                identifiers")
 •• Co-Inventor, Pat. No. US11343243B2 (“Machine-to-machine
                                       ("Machine-to-machine streaming authentication of network
    elements”)
    elements")
 •• Co-Inventor, Pat. No. US20230006841A1 ("Machine-to-machine
                                            (“Machine-to-machine cryptographic material rotation”)
                                                                                         rotation")

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                                           APP-759
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                      IN THE UNITED STATES COURT OF APPEALS
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT
 _________________________________________
                                                  )
 TIKTOK INC.                                      ))
                                                  )
        and                                       )
                                                  ))
 BYTEDANCE LTD.,                                  ))
                                                  ))
                                     Petitioners, )
                                                  ))
        v.                                        )) No. 24-1113
                                                  ))
                                                  ))
 MERRICK B. GARLAND, in his official              ))
 capacity as Attorney General of the              ))
 United States,                                   ))
                                                  ))
                                     Respondent. )
                                                  ))


                       DECLARATION OF STEVEN WEBER




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                                  APP-760
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        I, Steven Weber, under penalty of perjury, hereby declare as follows:

        1.      I am a Professor of the Graduate School at the University of California, Berkeley

 (“UC Berkeley"),
 ("UC Berkeley”), where I hold joint appointments as Professor at the School of Information and

 in the Department of Political Science. I am also the founder and former faculty director of the

 Center for Long Term Cybersecurity at UC Berkeley, where for seven years I led a multi-

 disciplinary research group that worked on emerging digital security issues at the confluence of

 new technologies, human behavior, and risk calculations made by firms and governments. In

 addition to my academic appointments, I am a Partner at Breakwater Strategy, a strategic insights

 and communications firm, where I assist clients with strategic decision-making and

 communications in areas that involve the intersection of technology and public policy. I

 received a Ph.D. in political science from Stanford University in 1989 and have been a professor

 at UC Berkeley since 1989.

        2.      My work focuses on U.S. national security issues with particular emphasis on

 how digital technologies impact and are impacted by national and international security. I have

 written three relevant university press peer-reviewed books and a number of peer-reviewed

 journal articles on this subject, as well as many other articles published in non-peer reviewed

 publications. I have served as a consultant to a wide variety of U.S. and global firms as well as

 U.S. government agencies dealing with strategic issues at the intersection of national security

 and the digital economy. A copy of my curriculum vitae is attached hereto as Appendix 1.

        3.      I have been retained by counsel for Petitioners TikTok Inc. and ByteDance Ltd. in

 this action to analyze certain reported justifications for the Protecting Americans from Foreign

 Adversary Controlled Applications Act (the "Act"),
                                            “Act”), which was signed into law by President

 Biden on April 24, 2024. As I discuss below in greater detail, I understand that some have




                                                  2
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 suggested justifications for the Act focused on two issues: (1) the security of the data that TikTok

 collects from its U.S. users, particularly as it relates to alleged risks of disclosure to the Chinese

 government; and (2) the possibility that TikTok’s
                                          TikTok's recommendation algorithm (i.e., the computer

 code that selects what content to present in a user's
                                                user’s feed) could be misused for the benefit of the

 Chinese government, either by censoring certain content or promoting propaganda or

 disinformation.'1
 disinformation.

        4.      As I discuss below, these issues are not unique or even distinctive to TikTok. (By

 TikTok, I mean to refer to the platform as opposed to any particular corporate entity.) It is

 inherent in digital technologies that every company, governmental entity, or non-governmental

 organization faces risks to the security of the data that it creates, processes, transmits, and

                                                      others.22 Major companies (including
 stores—whether on behalf of employees, customers, or others.

 many with highly sophisticated security operations) such as Yahoo!, LinkedIn, Meta, Marriott,

 Experian, Adobe, UnitedHealth, and many others have suffered well-known data breaches of

                  records.33 And with respect to TikTok’s
 millions of user records.                       TikTok's recommendation algorithm, I am

 unaware of any evidence that supports the contention that TikTok’s
                                                           TikTok's algorithm has been

 manipulated to promote propaganda or disinformation. Insofar as there is a concern that

 propaganda or disinformation exists on the platform, that is an issue that essentially all social



 1
   Because the Act does not contain any legislative findings or a statement of purpose, I have
 'Because
 reviewed statements from individual Members of Congress as well as other sources expressing
 possible justifications for the Act.
 2
  See, e.g., Department of Homeland Security Unveils Strategy to Guide Cybersecurity Efforts,
 2 See, e.g., Department of Homeland Security Unveils Strategy to Guide Cybersecurity Efforts,

      Dep’t of Homeland Security (May 15, 2018), https://perma.cc/EDJ4-Y3DP.
 U.S. Dep't
 3
  Michael Hill & Dan Swinhoe, The 15 Biggest Data Breaches of the 21st Century, CSO Online
 3 Michael Hill & Dan Swinhoe, The 15 Biggest Data Breaches of the 21st Century, CSO Online

 (Nov. 8, 2022), https://perma.cc/T3U4-8TPU; see also Manas Mishra & Zeba Siddiqui,
 UnitedHealth Says Hackers Possibly Stole Large Number of
                                                        of Americans'
                                                           Americans’ Data, Reuters (Apr. 22,
 2024), https://perma.cc/2DPZ-ZJUK.


                                                    3
                                            APP-762
                                            APP-762
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 media and entertainment platforms are dealing with more generally—a fact the U.S. government

                                           reports.44 YouTube, for example, has previously added
 has acknowledged in official intelligence reports.

 disclaimers to certain channels that were reportedly being used to spread disinformation on

                       government.55 Meta issues quarterly reports on its efforts to respond to
 behalf of the Russian government.

 coordinated inauthentic behavior on its platforms and, in a recent report, announced that it had

 removed thousands of accounts originating in China and Russia that had engaged in coordinated

                         2023.6 Indeed, it is now common practice among major social media
 inauthentic behavior in 2023.6

 firms to work to identify and take down content and accounts that promote disinformation and to

                                                                      operations.7
 make regular public disclosures in which they offer details on these operations.'

        5.      In short, while there are legitimate policy issues regarding data security and the

 use of online platforms for propaganda and disinformation, they are industry-wide issues that are

 not unique to TikTok. Indeed, even if TikTok were able to implement the type of "qualified
                                                                                 “qualified

 divestiture”
 divestiture" contemplated by the Act, the concerns that animated the Act would remain, just as

 they do with respect to many other social media and entertainment platforms. To the extent that

 TikTok is different from its peers, moreover, it is distinguished by the commitments it has made

                     government’s stated concerns, which are expressed in the draft National
 to address the U.S. government's


 4
  Nat’l Intel. Council, Declassified Intelligence Community Assessment, Foreign Threats to the
 4 Nat'l Intel. Council, Declassified Intelligence Community Assessment, Foreign Threats to the
 2020 U.S. Federal Elections (Mar. 10, 2021), https://perma.cc/JKF3-7KDC.
 5
  Paresh Dave & Christopher Bing, Russian Disinformation on YouTube Draws Ads, Lacks
 5 Paresh Dave & Christopher Bing, Russian Disinformation on YouTube Draws Ads, Lacks
 Warning Labels: Researchers, Reuters (June 7, 2019), https://perma.cc/SB9H-R76W.
 6
  Ben Nimmo, Nathaniel Gleicher, Margarita Franklin, Lindsay Hundley & Mike Torrey, Third
 6 Ben Nimmo, Nathaniel Gleicher, Margarita Franklin, Lindsay Hundley & Mike Torrey, Third
 Quarter Adversarial Threat Report, Meta (Nov. 2023), https://perma.cc/R9HW-Y49Y.
 7
   See, e.g., YouTube Community Guidelines Enforcement, Google (last accessed June 12, 2024),
 7 See, e.g., YouTube Community Guidelines Enforcement, Google (last accessed June 12, 2024),

 https://perma.cc/33PU-QN6S; Transparency Reports, Meta (last accessed June 17, 2024),
 https://perma.cc/AJE9-YWPL; Transparency Report, July 1, 2023—December
                                                             2023–December 31, 2023, Snap
 (last accessed June 12, 2024), https://perma.cc/Q629-WU9K; Covert Influence Operations,
 TikTok (last accessed June 12, 2024), https://perma.cc/EF89-NNDH.


                                                  4
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                                          APP-763
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 Security Agreement and reflect protections for the integrity of TikTok data and content that go

 beyond industry norms.

          6.       With this introduction, I address in detail the two issues that have been cited by

 some Members of Congress as justifications for the Act: data security and the susceptibility of

 TikTok’s
 TikTok's algorithm to foreign government influence.

 I.       Data Security

          7.       The first justification that some have suggested for the Act is a perceived need to

 protect U.S. TikTok users'
                     users’ "data security."'8 According to a House Committee Report for an
                            “data security.”

 earlier version of the Act, mobile applications, including those purportedly controlled by foreign

 adversaries, can "collect                         Americans.”9 The House Committee Report
                  “collect vast amounts of data on Americans."'

 expressed a concern that data collected through mobile applications could be used by a foreign

 adversary to "conduct
              “conduct espionage campaigns,”                                individuals.10
                                 campaigns," including by tracking specific individuals.10

          8.       As an initial matter, the assertion that mobile applications, including TikTok,

 “collect vast amounts of data on Americans”
 "collect                         Americans" is principally a statement about data privacy, not

 data security. There is a separate policy debate about the extent to which social media and other

 digital product companies collect information from users, and this debate is beyond the scope of

 my testimony. I note, however, that the type and amount of data that TikTok collects from U.S.

 users—which is disclosed to users pursuant to TikTok’s
                                               TikTok's Privacy Policy, to which users agree as a



 8
 8 Jane Coaston, What the TikTok Bill Is Really About, According to a Leading Republican, N.Y.

 Times (Apr. 1, 2024), https://perma.cc/B2YN-7QFK (quoting the Act’s
                                                                  Act's original sponsor,
 Representative Mike Gallagher).
 9
  H.R. Comm. on Energy & Com., Protecting Americans from Foreign Adversary Controlled
 9 H.R. Comm. on Energy & Com., Protecting Americansfrom Foreign Adversary Controlled

 Applications Act, H.R. Rep. No. 118-417 at 2 (2024) (hereinafter, the "House
                                                                       “House Committee
 Report”).
 Report").
 10
 1° Id. at 2, 4.


                                                     5
                                             APP-764
                                             APP-764
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 condition of signing up for the app—is comparable to the type and amount of data that other

                                                           users.11 In other words, the data
 social media platforms and applications collect from U.S. users."

 collected by TikTok is not meaningfully different—either in amount or kind—from the data that

 other applications collect, including applications owned by U.S. companies like Google, Snap,

     Meta.12
 and Meta.12

        9.      Social media and online entertainment platforms are also not unique in collecting

 data from users. A wide variety of mobile applications collect significant amounts of user data,

                                                                       information.13 Indeed,
 such as weather apps that collect precise geolocation data and device information.13

 some apps have been shown to collect categories of information that bear little or no relationship

 to the business purpose of the app at all—such as utility apps (like a flashlight app on a cell
                                                               14
 phone) that collect geolocation and other non-pertinent data.
                                                         data.14




 11
 " Milton L. Mueller & Karim Farhat, TikTok and U.S. National Security, Georgia Inst. of Tech.
 Internet Governance Project, at 19 (2023), https://perma.cc/JR3Z-F5TK (explaining that
 “TikTok’s behavior is not suspicious and it is not exfiltrating unusual data”
 "TikTok's                                                               data" and that "[w]hile
                                                                                        “[w]hile
 TikTok collect[s] many data items, overall they still fall within general industry norms for user
 data collection”
      collection" (citation omitted)).
 12
    It is worth noting that, in some respects, TikTok collects more limited data than other mobile
 12 It is worth noting that, in some respects, TikTok collects more limited data than other mobile

 applications. For example, the current version of the TikTok app does not collect precise or
 approximate GPS data from U.S. users. See Mythbusting:
                                                Mythbusting: The Facts on Reports about Our Data
 Collection Practices, TikTok (Feb. 22, 2023), https://perma.cc/GS8A-W9FC. Additional
 transparency around the data TikTok collects is now also available by virtue of TikTok storing
 such data in the Oracle Corporation cloud environment, as discussed below.
 13
   Thorin Klosowski, We Checked 250 iPhone Apps—This
 13 Thorin Klosowski, We Checked 250 iPhone Apps      This Is How They’re
                                                                   They're Tracking You, N.Y.
 Times (May 6, 2021), https://perma.cc/9YS5-AECB; Jennifer Valentino-DeVries, Natasha
 Singer, Michael H. Keller & Aaron Krolik, Your Apps Know Where You Were Last Night, and
 They’re
 They're Not Keeping It Secret, N.Y. Times (Dec. 10, 2018), https://perma.cc/B5AU-YLKP.
 14
 ' Android Flashlight App Developer Settles FTC Charges It Deceived Consumers, Fed. Trade
 Comm’n
 Comm'n (Dec. 5, 2023), https://perma.cc/KN96-7TTL.


                                                   6
                                           APP-765
                                           APP-765
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         10.    Although the assertion that TikTok "collect[s]
                                                   “collect[s] vast amounts of data on

 Americans”
 Americans" is primarily a statement about data privacy, the assertion that user data collected by

 TikTok could be used by a foreign adversary to "conduct
                                                “conduct espionage campaigns”
                                                                   campaigns" is an assertion

 about data security because it is a statement regarding who has access to data and for what

 purpose. The validity of this statement can therefore be analyzed based on principles of data

 security.

         11.    Before proceeding with the analysis, there are two general information security

 principles that should be kept in mind. First, data security is not a binary switch that can be

 toggled on or off. There are always tradeoffs being made among three components of security:
                                                       15
 confidentiality, integrity, and availability of data.
                                                 data.15  As with many enterprise risks, data security

 is an exercise in risk management—identifying risks, assessing them, and mitigating those risks

               levels.16
 to acceptable levels.16

         12.    Second, when it comes to data security threats, it is virtually impossible to prove

 the negative and establish that there are no risks associated with a particular application,
                                                17
 network, or data storage and management system.
                                         system.'' Sophisticated organizations and information

 security professionals base their work on the foundational proposition that malicious actors and

 technology are constantly evolving, which means the threat landscape is always changing. Even



 15
 15 This three-part framework is explained by the National Institute of Standards and Technology
               for Security Categorization of
 in Standardsfor                           of Federal Information and Information Systems, Fed.
 Info. Processing Standards Publication 199 (Feb. 2004), https://perma.cc/52R4-XE3H.
 16
     Cybersecurity Strategy, U.S. Dep't
                                  Dep’t of Homeland Security (May 15, 2018),
  https://perma.cc/5UUV-ZVE7; Nat'l
                                  Nat’l Inst. of Standards & Tech., Security and
                                                                             and Privacy Controls
  for Information Systems and Organizations, Special Publication 800-53 Rev. 5, at 13 (Sept.
 for
 2020), https://perma.cc/KY6M-4TF9.
 17
   Shuman Ghosemajumder, You Can’t Secure 100% of Your Data 100% of the Time, Harv. Bus.
 17 Shuman Ghosemajumder, You Can't Secure 100% of Your Data 100% of the Time, Harv. Bus.

 Rev. (Dec. 4, 2017), https://perma.cc/22XX-DQLU.


                                                   7
                                            APP-766
                                            APP-766
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 an organization with state-of-the-art security practices across the board cannot, with full

 confidence, assert that there is no risk that its data could be vulnerable to attack or inadvertently

 accessed, improperly accessed, or disclosed. These principles form the basis of sophisticated

 data security programs and strategies in advanced organizations.

            13.   With these general principles in mind, turning to the specific asserted national

 security concerns related to TikTok’s
                              TikTok's user data, it is important to first assess the type of data we

 are discussing. As a recent report by the Internet Governance Project at the Georgia Institute of

 Technology ("Georgia
            (“Georgia Tech”)
                      Tech") explained, "[f]u11
                                        “[f]ull access to all TikTok data would provide [an

 actor with] aggregate data about the user population’s
                                           population's video uploading and consumption

 behavior.”18 As the report explained, while such information may be "commercially
 behavior."18                                                        “commercially valuable"
                                                                                   valuable” to

 TikTok as well as certain developers and advertisers, it is unlikely to be particularly valuable to a

 foreign state like China, as it provides no "special
                                             “special insight into the control of critical

 infrastructure, military secrets, opportunities for corporate espionage, or knowledge of weapons

 systems 19
 systems.”

            14.   Even assuming some national security-related intelligence value for high-value

 targets (e.g., individuals of particular interest from an intelligence perspective) could be derived

 from collecting a data set of commercially-focused information, the notion that the Chinese

 government would seek to amass this intelligence information by appropriating TikTok user data

 is not plausible, given the alternative means available to a nation state interested in acquiring

 information about individuals in another country. Those alternatives include conducting open

 source intelligence gathering from public information sources (including LinkedIn, Facebook,



 18
      Mueller & Farhat, supra n.11, at 20.
 18 Mueller & Farhat, supra n.11, at 20.

 19
      Id.
 19 Id.




                                                    8
                                             APP-767
                                             APP-767
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 and other platforms) where people regularly disclose information about themselves that could be

 valuable to an intelligence program; and direct cyberattack operations like China’s
                                                                             China's reported

 intrusion into the database of the U.S. Office of Personnel Management ("OPM")
                                                                        (“OPM”) as well as

 Russia’s reported theft of certain email correspondence between U.S. government agencies and
 Russia's
                                                            20
 Microsoft through a breach of Microsoft's
                               Microsoft’s software systems.
                                                    systems.2°

           15.    Another avenue by which a nation-state actor may acquire information about

 high-value targets is by purchasing such information on the open market. Historically, there has

 been little regulation of the U.S. data brokerage industry, which is comprised of thousands of

 companies that collect, sell, and distribute individuals’
                                              individuals' data. At the same time as it passed the

 Act, Congress also passed legislation that places certain restrictions on data brokers'
                                                                                brokers’ ability to

 transfer certain categories of information to "foreign
                                               “foreign adversary countr[ies]”
                                                                  countr[ies]" (defined to include

 China, Russia, Iran, and North Korea) as well as entities "controlled"
                                                           “controlled” by such foreign adversary
            21
 countries.
 countries.21  The legislation, however, does not forestall a foreign adversary’s
                                                                      adversary's ability to purchase

 U.S. user data through the broader, multilayered data brokerage market. The recently passed

 legislation, for example, applies only to "data
                                           “data broker[s],"
                                                 broker[s],” a statutorily defined term with
                       22
 enumerated exceptions.
            exceptions.22 Commentators have also noted that the legislation does not regulate


 20
 20 Josh Fruhlinger, Ax Sharma & John Breeden, 15 Top Open-Source Intelligence Tools, CSO
 Online (Aug. 15, 2023), https://perma.cc/7TFG-KSCH; Josh Fruhlinger, The OPM
                                                                            OPM Hack
                                    Meet China’s
 Explained: Bad Security Practices Meet  China's Captain America, CSO Online (Feb. 12, 2020),
 https://perma.cc/L9SV-N6SY; Sean Lyngaas, Russian Hackers Steal U.S. Government Emails
      Microsoft, Officials Confirm, CNN (Apr. 11, 2024), https://perma.cc/P7DF-96EV.
 with Microsoft,
 21
      H.R. 815, div. I, § 2(a), 118th Cong., Pub. L. No. 118-50 (Apr. 24, 2024).
 21 H.R. 815, div. I, § 2(a), 118th Cong., Pub. L. No. 118-50 (Apr. 24, 2024).

 22
    Id. § 3. For example, the legislation defines a "data
 22 Id. § 3.                                            “data broker"
                                                              broker” to include entities that "sell[],
                                                                                               “sell[],
 license[], rent[], trade[], transfer[], release[], disclose[], provide[] access to, or otherwise make[]
 available data of United States individuals, that the entity did not collect directly from such
 individuals.” Id. Entities that sell the "data
 individuals."                               “data of United States individuals"
                                                                     individuals” that they themselves
 “collect directly from such individuals"
 "collect                       individuals” fall outside the definition.


                                                    9
                                             APP-768
                                             APP-768
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 the sale of U.S. user data to intermediary entities who may, in turn, sell or provide the purchased
                             23
 data to foreign adversaries.
                 adversaries.23 Given these and other limitations, there are still a variety of ways

 by which a nation-state actor, like China, can obtain U.S. user data from the data broker

 ecosystem, notwithstanding the recent enactment of legislation designed to regulate brokers.

        16.     Given the existence of more effective and efficient means of obtaining relevant

 information about high-value targets, it is unlikely that China would seek to compel TikTok to

 turn over user data for intelligence-gathering purposes. Data security professionals generally

 work from the proposition that attackers will choose the path of least resistance to achieve their

 objectives. A review of cybersecurity breaches over the last decade bears this assumption out:

 the vast majority of attacks are not the most technically sophisticated operations (that often

 receive the most attention among specialists), but are instead much simpler attacks carried out

 through mundane vulnerabilities, such as unchanged default passwords and the lack of two-

 factor authentication.

        17.     Another reported reason for the Act is TikTok’s
                                                       TikTok's asserted ties to China, which

 Members of Congress have suggested increase the vulnerability of U.S. TikTok data to

 misappropriation. A House Committee Report for an earlier version of the Act asserts that

 because affiliates of TikTok Inc.'s
                              Inc.’s parent company, ByteDance Ltd., are headquartered in China

 and employ Chinese citizens, TikTok user data is less secure than data collected and maintained

                   platforms.24 According to the report, under Chinese law, "the
 by other apps and platforms.24                                             “the [Chinese


 23
    Justin Sherman, The Pros and Cons of the House’s Data Broker Bill, Lawfare (Apr. 11, 2024),
 23 Justin Sherman, The Pros and Cons of the House's Data Broker Bill, Lawfare (Apr. 11, 2024),

 https://perma.cc/5BTM-FW9N.
 24
    House Committee Report at 3–4. TikTok has pointed out that ByteDance Ltd. is a Cayman
 24 House Committee Report at 3-4.
 Islands holding company, and that its operating entities in China are subsidiaries of ByteDance
 Ltd. References in this declaration to "ByteDance"
                                        “ByteDance” are to the corporate group, rather than any
 particular entity.


                                                  10
                                                  10
                                           APP-769
                                           APP-769
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 government] can require a company headquartered in [China] to surrender all its data to the

 [Chinese government], making companies headquartered [in China] an espionage tool of the

                        Party].”25 The report further contends that TikTok "rel[ies]
 CCP [Chinese Communist Party]."25                                         “rel[ies] on . . .

 engineers and back-end support in China to update its algorithms and the source code needed to

 run the TikTok application,” “potentially expos[ing] U.S. users to malicious code, backdoor
                application," "potentially

 vulnerabilities, surreptitious surveillance, and other problematic activities tied to source code

               26
 development.”
 development."26  Finally, the report contends that ByteDance "has
                                                              “has close ties to the CCP,

 including a cooperation agreement with a security agency and over 130 CCP members in

                        27
 management positions.”
            positions."27

            18.   From a data security perspective, these asserted ties to China do not distinguish

 TikTok from other multinational corporations that create, maintain, and utilize U.S. user data.

 With respect to the concern that the Chinese government may require ByteDance to surrender

 data on U.S. TikTok users, it bears emphasis that many U.S. technology companies—including

 Cisco, Dell, Electronic Arts, Hewlett-Packard, IBM, LiveRamp, and Palo Alto Networks—have

 Chinese-headquartered subsidiaries, and therefore face the same theoretical risk that Chinese

 government officials may seek to compel disclosure of customer or user data from those

            28
 companies.
 companies.28  Moreover, a number of apps and platforms that appear to have connections to and



 25
   Id. at 4; see also Threat Posed by TikTok, U.S. Dep’t of Justice (Mar. 6, 2024) (“[The Chinese
 25 Id. at 4; see also Threat Posed by TikTok, U.S. Dep't of Justice (Mar. 6, 2024) ("[The Chinese

 government’s] national security law requires any company doing business in China to make its
 government's]
 data accessible to the [Chinese] government and to support its intelligence efforts.”).
                                                                             efforts.").
 26
      House Committee Report at 5.
 26 House Committee Report at 5.

 27
      Id. at 7.
 27 Id. at 7.

 28
   Cisco Systems, Inc., Annual Report (Form 10-K) (Sept. 7, 2023); Dell Technologies Inc.,
 28 Cisco Systems, Inc., Annual Report (Form 10-K) (Sept. 7, 2023); Dell Technologies Inc.,
 Annual Report (Form 10-K) (Mar. 25, 2024); Electronic Arts Inc., Annual Report (Form 10-K)
 (May 22, 2024); HP Inc., Annual Report (Form 10-K) (Dec. 15, 2023); International Business
 Machines Corporation, Annual Report (Form 10-K) (Feb. 26, 2024); LiveRamp Holdings, Inc.,


                                                   11
                                            APP-770
                                            APP-770
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 operations in China—such as Temu and Shein, two popular e-commerce apps in the United

                                               well.29
 States—collect and maintain U.S. user data as wel1.29

        19.     With respect to the concern that ByteDance relies on "engineers
                                                                     “engineers and back-end

 support in China to update its algorithms and the source code needed to run the TikTok

 application,”
 application," many U.S. companies maintain software and other engineering operations in China.

 Electronic Arts, for example, maintains a major development studio in China that, as of June

                               30
 2024, has over 400 employees.
                    employees.30  These employees, many of whom are Chinese citizens, work
                                                              31
 on developing popular video games, such as FIFA and The Sims,
                                                         Sims,31 both of which have millions

                           users.32 Such companies’
 of U.S. and international users.32      companies' Chinese operations reflect that the issues

 identified in the House Committee Report are, once again, not unique to TikTok, but instead are

 industry-wide issues. Indeed, companies face risks that "engineers
                                                         “engineers and back-end support”
                                                                                 support" may

 engage in "problematic
           “problematic activities tied to source code development,”
                                                       development," regardless of whether those

 companies have offices or operations in China. For example, earlier this year, a former Google

 software engineer based in California was indicted on charges of stealing trade secrets related to




 Annual Report (Form 10-K) (May 22, 2024); Palo Alto Networks, Inc., Annual Report (Form
 10-K) (Sept. 1, 2023).
 29
 29Nicholas Kaufman, Shein, Temu, and Chinese e-Commerce: Data Risks,
                                                                   Risks, Sourcing Violations,
 and Trade Loopholes, U.S.-China Econ. & Security Review Comm'n
                                                           Comm’n (Apr. 14, 2023),
 https://perma.cc/8X32-DSDR; Mark A. Green, It Isn't
                                               Isn’t Just TikTok: Americans Like Other
 Chinese-Owned Apps Too, Wilson Ctr. (May 2, 2023), https://perma.cc/Z5FT-MV7G.
 30
 30 EA China, Electronic Arts (last accessed Jun. 12, 2024), https://perma.cc/Y43K-GKKV.
 31 Id
    Id.
 32
 32 The Sims 4 Becomes the Most Widely Played
                                        Played Game in the 23 Year History of of the Franchise
 With More
       More Than 7070 Million Players Worldwide, Electronic Arts (Apr. 18, 2023),
 https://perma.cc/57E4-K2JD; FIFA 23, Active Player (last accessed Jun. 12, 2024),
 https://perma.cc/8937-UEZ5.


                                                 12
                                          APP-771
                                          APP-771
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 artificial intelligence systems in development at Alphabet, allegedly to benefit two Chinese
                                                  33
 companies the engineer was secretly working for.
                                             for.33

        20.     Finally, the fact that ByteDance reportedly employs certain CCP members is

 likewise not a distinguishing feature of TikTok. As U.S. government officials have

 acknowledged, virtually all major Chinese companies are required to maintain internal

 committees comprised of CCP members, and in recent years, a number of U.S. companies doing
                                                                 34
 business in China have instituted such committees of their own.
                                                            own.34  There is evidence that many
                                                        35
 of these CCP committees are purely symbolic in nature.
                                                nature.35  But even if they are not, the assertion

 that ByteDance maintains an internal CCP committee does not distinguish the company from

 other companies with CCP committees (including both Chinese and U.S. companies) that are not

 treated the same way as TikTok under the Act.

        21.     There is one material respect, however, in which it is possible to distinguish

 TikTok from other industry participants when it comes to the data security concerns that were



 33
    Karen Freifeld & Jonathan Stempel, Former Google Engineer Indicted for Stealing AI Secrets
 33 Karen Freifeld & Jonathan Stempel, Former Google Engineer Indictedfor Stealing AI Secrets
 to Aid Chinese Companies, Reuters (Mar. 6, 2024), https://perma.cc/F4PZ-JHW3.
 34
 34 Christopher Wray, The Threat Posed by the Chinese Government and the Chinese Communist
 Party to the Economic and National Security of
                                              of the United States, Hudson Inst. (July 7, 2020),
 https://perma.cc/4JNC-N3AY; John K. Costello, Mem. for the Secretary, Proposed Prohibited
 Transactions Related to TikTok Pursuant to Executive Order 13942 (Sept. 17, 2020), at 7 (noting
 that, as of 2017, CCP committees "existed
                                  “existed in around 70 percent of 1.86 million private owned
 companies in China”).
                China").
 35
    Joris Mueller, Jaya Wen & Cheryl Wu, The Party and the Firm, Working Paper (Dec. 2023),
 35 Joris Mueller, Jaya Wen & Cheryl Wu, The Party and the Firm, Working Paper (Dec. 2023),

 at 2, 5–6,
       5-6, https://perma.cc/P3YV-V88S                    “[p]arty influence is more rhetorical than
            https://perma.cc/P3YV-V885 (explaining that "[p]arty
 behavioral among domestic private and foreign-owned firms");
                                                         firms”); Lauren Yu-Hsin Lin & Curtis
 Milhaupt, Party Building or Noisy Signaling? The Contours of of Political Conformity in Chinese
 Corporate Governance, 50 J. Legal Stud. 187, 189-90
                                                189–90 (2021) (explaining that privately owned
 enterprises in China that have adopted charters providing for internal CCP committees "have
                                                                                         “have
 largely limited their adoptions to symbolic provisions”
                                             provisions" and have not "acced[ed]
                                                                       “acced[ed] to
 institutionalized party involvement in corporate governance").
                                                  governance”).


                                                 13
                                          APP-772
                                          APP-772
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 raised by Members of Congress, and that is the company’s
                                                company's efforts to address the U.S.

 government’s concerns through a national security agreement. I have reviewed the draft
 government's

 National Security Agreement ("NSA")
                             (“NSA”) that TikTok Inc. negotiated with the Committee on

 Foreign Investment in the United States ("CFIUS"),
                                         (“CFIUS”), which I understand was designed to alleviate

 certain national security concerns identified by CFIUS concerning the U.S. TikTok platform. I

 am not an expert on the CFIUS process in particular, and I am not offering an opinion on the

 CFIUS review in this case. In my view, however, the relevance of the draft NSA is not limited

 to the specific confines of the CFIUS process. Rather, the draft NSA can be assessed more

 broadly as a set of commitments intended to mitigate a set of perceived national security risks,

 and the effectiveness of the draft NSA can also be analyzed on those terms, without regard to the

 specific parameters of the CFIUS review process.

           22.     Analyzing the draft NSA on those terms, it is my opinion that it provides for a

 robust system of controls to mitigate data security risks that might arise were foreign

 governments or adversarial groups acting as their agents to attempt to access protected U.S. user

 data. Moreover, in my view, these proposals significantly exceed and improve upon the controls

 that have been proposed and reportedly implemented by other social media and technology

 companies, including U.S. companies.

           23.     Pursuant to the NSA, TikTok Inc. has agreed to form a special-purpose

 subsidiary, TikTok U.S. Data Security Inc. ("USDS"),                             issues.36
                                            (“USDS”), to oversee security-related issues.36

 USDS would be overseen by a special board of Security Directors, whose appointment would be

 subject to the U.S. government’s approval.37 The NSA further provides that protected U.S. user
                     government's approval.'



 36
      NSA arts. 2, 3, 8 & 11.
 36 NSA arts. 2, 3, 8 & 11.

 37
      Id. § 3.1.
 37 Id. § 3.1.




                                                   14
                                             APP-773
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 data would be stored in the cloud environment of a U.S.-government-approved partner, Oracle

 Corporation ("Oracle"),                                                 USDS.38 The NSA
             (“Oracle”), with access to such data managed exclusively by USDS.38

 also provides for an extensive, independent third-party cybersecurity audit with multiple layers

    review.39 The NSA also includes a "shut-down
 of review.39                         “shut-down option”
                                                 option" that would allow the U.S. government

 to suspend TikTok in the United States if TikTok Inc. does not abide by certain obligations under
                40
 the agreement.
     agreement."

           24.      I understand that TikTok Inc. has started voluntarily implementing certain

 provisions of the NSA, including by incorporating and staffing USDS and partnering with Oracle

 on the migration of the U.S. TikTok platform and protected U.S. user data to the Oracle cloud
             41
 environment.
 environment.41 I am not aware of any other online platform or service that maintains

 organizational and functional data security controls of the kind that have been proposed under

     NSA.42
 the NSA.42




 38
 38 Id. arts. 8 & 9.
    Id
 39
      Id. § 14.1.
 39 Id. § 14.1.

 40
      Id. §§ 21.3-5.
      Id     21.3–5.
 41
      About Project Texas, TikTok (last accessed June 12, 2024), https://perma.cc/W8Q5-F5Y6.
 41 About Project Texas, TikTok (last accessed June 12, 2024), https://perma.cc/W8Q5-F5Y6.

 42
   Zoom Video Communications (“Zoom”), for example, has adopted some—but not all—of the
 42 Zoom Video Communications ("Zoom"), for example, has adopted some—but not all—of the
 protocols contemplated by the draft NSA. Zoom has created a separate product—Zoom for
 Government—that includes security features beyond those included in Zoom's
                                                                         Zoom’s standard product
 and processes communications "exclusively
                                 “exclusively in continental U.S. data centers that are managed
 solely by U.S.-based, U.S. people.”
                             people." Josh Rogin, The White House Use of  of Zoom for
                                                                                    for Meetings
                                                                                        Meetings
 Raises China-Related Security Concerns, Wash. Post (Mar. 3, 2021), https://perma.cc/M5GV-
 NS6Z. TikTok, by contrast, is restructuring the company to maintain a version of the TikTok
 platform for the United States in a U.S. subsidiary; erecting software barriers to isolate the U.S.
 version of the TikTok app within the Oracle cloud; and granting Oracle—a U.S. company—
                                                                                     company
 access to its underlying source code.


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                                              APP-774
                                              APP-774
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          25.    Members of Congress have expressed particular concerns about the ability of the

                                                                           journalists.43 This
 Chinese government to use TikTok to track specific individuals, including journalists.43

 concern appears to be based on press reports that a few ByteDance employees used their

 previous access to certain TikTok user data to attempt to determine whether certain U.S.-based

 journalists were meeting with TikTok personnel who were suspected of leaking confidential

 information.44 As with the other data security issues discussed above, the data security concerns
 information.44

 raised by this episode relate to an industry-wide issue: the potential access to, and misuse of, data

 by corporate insiders for purposes not authorized by company policy. For example, Google has

 reportedly terminated dozens of employees between 2018 and 2020 for abusing their access to
                                                                                    45
 the company’s
     company's tools or data, including with respect to accessing Google user data.
                                                                              data.45  As another

 example, in November 2022, Meta reportedly fired or disciplined more than two dozen
                                                                                      46
 employees and contractors who inappropriately took control of Facebook user accounts.
                                                                             accounts.46 And

 Uber has settled claims related to the company’s “God View"
                                        company's "God View” tool, which reportedly allowed
                                                                                   47
 employees to track the location of Uber riders without obtaining their permission.
                                                                        permission.47 Indeed, even


 43
      House Committee Report at 4, 8.
 43 House Committee Report at 4, 8.

 44
   Emily Baker-White, Lawmakers Express Outrage that TikTok Spied on Journalists, Forbes
 44 Emily Baker-White, Lawmakers Express Outrage that TikTok Spied on Journalists, Forbes

 (Dec. 23, 2022), https://perma.cc/G8ZF-ERR6; Emily Baker-White, TikTok Spied on Forbes
 Journalists, Forbes (Dec. 22, 2022), https://perma.cc/45YP-QVPK; Mitchell Clark & Alex
 Heath, TikTok’s
        TikTok's Parent Company Accessed
                                   Accessed the Data ofof US Journalists, The Verge (Dec. 22,
 2022), https://perma.cc/N4EJ-DHXX.
 45
   Joseph Cox, Leaked Document Says Google Fired Dozens of Employees for Data Misuse, Vice
 45 Joseph Cox, Leaked Document Says Google Fired Dozens of Employeesfor Data Misuse, Vice

 (Aug. 4, 2021), https://perma.cc/96LZ-39DH.
 46
   Rohan Goswami, Meta Reportedly Disciplined or Fired More than Two Dozen Workers for
 46 Rohan Goswami, Meta Reportedly Disciplined or Fired More than Two Dozen Workersfor

 Taking Over Facebook User Accounts, CNBC (Nov. 17, 2022), https://perma.cc/GY4Q-6D72.
 47
    Chris Welch, Uber Will Pay $20,000 Fine in Settlement Over ‘God
 47 Chris Welch, Uber Will Pay $20, 000 Fine in Settlement Over `God View’
                                                                     View ' Tracking, The Verge
 (Jan. 6, 2016), https://perma.cc/43QZ-42UK; Brian Fung, Uber Settles with FTC Over ‘God
                                                                                      `God
 View’
 View ' and Some Other Privacy Issues, L.A. Times (Aug. 15, 2017), https://perma.cc/U82U-
 4B44.


                                                  16
                                           APP-775
                                           APP-775
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 outside the technology industry, the potential misuse of customer data by corporate insiders is a
                                                   48
 compliance challenge for virtually all companies.
                                        companies.48

          26.    In the case of TikTok, it has been reported that the company investigated the

 misconduct, disclosed its findings, took action against the employees involved, and implemented

 remediation efforts, including a restructuring of the department in which the employees involved

 in the misconduct were employed and reforms meant to strengthen the company’s
                                                                     company's internal
           49                                                                                 50
 controls.
 controls.49  This is consistent with how other companies have handled incidents of this kind.
                                                                                         kind.'

 From a data security perspective, TikTok’s
                                   TikTok's actions reflect an industry-best-practice response to

 an economy-wide compliance challenge, not a unique and extraordinary national security threat
                                                                                             51
 that would support consideration of an outright ban or divestment of the platform involved.
                                                                                   involved.'

 II.      Susceptibility of TikTok’s
                            TikTok's Algorithmic Recommendation System to Outside
          Influence

          27.    The second justification that some have suggested for the Act pertains to

 TikTok’s
 TikTok's algorithmic recommendation system, which certain Members of Congress have


 48
 48 Credit Suisse Staffer Took Salary Data, Reuters (Feb. 13, 2023), https://perma.cc/DHR2-
 7NYQ (reporting that former Credit Suisse staffer misappropriated employee salary data as well
 as bank account information, Social Security numbers, and addresses); Supermarket Morrisons
                                                                                      Morrisons
 Sued by Staff
          Staff Over Personal Data Leak, BBC News (Oct. 9, 2017), https://perma.cc/CJQ9-
 M6CG (reporting that former grocery store employee misappropriated employees’
                                                                         employees' personal
 data).
 49
 49 David Shepardson, ByteDance Finds Employees Obtained TikTok User Data of
                                                                          of Two
 Journalists, Reuters (Dec. 22, 2022), https://perma.cc/499P-JWHE.
 50
      Cox, supra n.45; Goswami, supra n.46.
 50 Cox, supra n.45; Goswami, supra n.46.

 51
 51 The arbitrariness of the Act’s
                             Act's approach to data security is underscored by the Act's
                                                                                   Act’s exemption
 for companies that operate a website or application "whose
                                                      “whose primary purpose is to allow users to
 post product reviews, business reviews, or travel information and reviews.”
                                                                     reviews." See Act
 § 2(g)(2)(B). Websites or applications that "allow
                                              “allow users to post product reviews, business
 reviews, or travel information and reviews”
                                     reviews" also frequently collect data from users. I am
 unaware of any national security-based reason for exempting companies that maintain such
 websites and applications from coverage under the Act.


                                                 17
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                                                                                             52
 suggested could be used to disseminate propaganda or otherwise mislead the American public.
                                                                                     public.52

 For example, Representative Mike Gallagher, one of the Act’s
                                                        Act's co-sponsors, stated that TikTok

 presents a "propaganda
            “propaganda threat"
                        threat” to the United States by "placing
                                                        “placing the control of . . . information—

                       America’s youth gets—in the hands of America’s
 like what information America's                            America's foremost adversary [i.e.,
          53
 China].”
 China]."53  Representative Raja Krishnamoorthi, another of the Act’s
                                                                Act's co-sponsors, stated that

 “the [TikTok] platform continue[s] to show dramatic differences in content relative to other
 "the

              platforms.”54 And Representative Chip Roy, a member of the House Select
 social media platforms."54

 Committee on the CCP, stated that "[TikTok]
                                   “[TikTok] is . . . poisoning the minds of our youth every day
                      55
 on a massive scale.”
              scale."55  These statements could be construed to suggest that foreign actors,

 including China, may be using TikTok to influence users'
                                                   users’ allegiances or belief systems by

 promoting and/or censoring certain content; alternatively, they could be interpreted as criticisms

 of the content available on TikTok irrespective of any such alleged manipulation. For purposes

 of this declaration, I focus on the allegation that TikTok is being used to manipulate users'
                                                                                        users’ belief

 systems in furtherance of the aims of a foreign actor.

           28.    Before assessing these specific allegations, it is important to be clear about the

 applicable terminology. Specifically, it is important to draw a threshold distinction between

 “censorship” and "content
 "censorship"     “content moderation.”
                           moderation." The two concepts are not the same. The issue around



 52
      House Committee Report at 2, 7–8.
 52 House Committee Report at 2, 7—8.

 53
      Coaston, supra n.8 (quoting Representative Gallagher).
 53 Coaston, supra n.8 (quoting Representative Gallagher).

 54
     Sapna Maheshwari, David McCabe & Annie Karni, House Passes Bill to Force TikTok Sale
 54 Sapna Maheshwari, David McCabe & Annie Karni, House Passes Bill to Force TikTok Sale
  from Chinese Owner or Ban the App, N.Y. Times (Mar. 13, 2024), https://perma.cc/3C6F-7P4V.
 from
 55
    Press Release, U.S. House Select Comm. on Strategic Competition between the U.S. and the
 55 Press Release, U.S. House Select Comm. on Strategic Competition between the U.S. and the
 Chinese Communist Party, Gallagher, Bipartisan Coalition Introduce Legislation to Protect
 Americans from Foreign Adversary Controlled Applications, Including TikTok (Mar. 5, 2024),
 https://perma.cc/Q7DH-853D.


                                                   18
                                             APP-777
                                             APP-777
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 censorship here is whether an algorithm is being used to downgrade, remove, or prevent the

 creation of content that expresses opinions that the censor finds objectionable for illegitimate

 reasons. Content moderation, by contrast, refers to the legitimate removal or restriction of

 content that violates platforms’
                       platforms' stated policies and the law. Here again, the practice of content

 moderation is an industry-wide issue and not an issue or practice limited to TikTok. X (formerly

                                                        tweets.56 Meta has an evolving set of
 known as Twitter) attempts to block violence-promoting tweets.56
                                                             57
 policies that attempt to block various kinds of hate speech.
                                                      speech.57 YouTube has modified its content

 moderation policies in an attempt to reduce radicalization, and in fact, the company reports that it

 removed over 9 million videos from the site in the 3-month period spanning October to

          2023.58
 December 2023.58

          29.     It is similarly important to draw a distinction between "propaganda"
                                                                          “propaganda” and "content
                                                                                           “content

 recommendation”
 recommendation" or "content
                    “content promotion.”
                             promotion." Much like the discussion of censorship, the issue of

 propaganda here is whether an algorithm is being used to promote or distribute content in order

 to influence or manipulate an audience for some illegitimate purpose. Content recommendation

 or promotion, by contrast, refers to the recommendation and/or promotion of certain content to

 users for legitimate business purposes. Here again, the practice of content recommendation and

 promotion is an industry-wide phenomenon. For example, for many years, YouTube partnered

 with creators to create original content for the site, which the company distributed through its




 56
      The X Rules, X (last accessed June 12, 2024), https://perma.cc/RJL9-62CS.
 56 The X Rules, X (last accessed June 12, 2024), https://perma.cc/RJL9-62CS.

 57
  Community Standards, Facebook (last accessed June 12, 2024), https://perma.cc/5CMJ-
 57 Community Standards, Facebook (last accessed June 12, 2024), https://perma.cc/5CMJ-
 UWCK.
 58
    YouTube Community Guidelines Enforcement (last accessed June 12, 2024), YouTube,
 58 YouTube Community Guidelines Enforcement (last accessed June 12, 2024), YouTube,

 https://perma.cc/8P6N-W6Q5.


                                                  19
                                           APP-778
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                         59
 YouTube Originals page.
                   page.59  Instagram uses a variety of artificial intelligence tools to select, rank,

 and deliver content to a user's
                          user’s "Explore"
                                 “Explore” page, which has a clear business purpose, to facilitate

                                     like.60
 users’ access to content they might like.60
 users'

        30.     From a national security perspective, the question is whether the algorithm is

 legitimately shaping the flow of content in accordance with a commercial product strategy, along

 with appropriate restrictions to counter proscribed activity (such as hate speech) consistent with

 its public Terms of Service; or whether the algorithm is illegitimately seeking to manipulate

 perspectives and opinions in directions that serve a foreign state’s
                                                              state's short- and long-term strategic

 interests, which may be at odds with those of the United States.

        31.     Specifically with regard to TikTok, the question can be stated as follows: Is there

 evidence and reason to believe that TikTok is now or would become essentially an algorithmic

 propaganda tool of the Chinese government or the Chinese Communist Party? Based on the

 information that I have reviewed, my answer to this question is "no."
                                                                 “no.”

        32.     As an initial matter, a small number of anecdotes about allegedly "censored"
                                                                                  “censored” or

 “promoted” content do not in and of themselves demonstrate either the use of a platform for
 "promoted"

 propaganda purposes or, even more so, a national security risk. That is partly because

 algorithmic content moderation and user experience customization are based on a fast-evolving

 science that involves state-of-the-art machine learning techniques to solve some of the hardest

 problems in content recognition, natural language processing, and other technology that

 sometimes go under the label of "artificial
                                 “artificial intelligence."
                                             intelligence.” Like humans, algorithms can make


 59
    Todd Spangler, YouTube Shuts Down Original Content Group, Variety (Jan. 18, 2022),
 59 Todd Spangler, YouTube Shuts Down Original Content Group, Variety (Jan. 18, 2022),

 https://perma.cc/B7AD-CADB.
 60
 6° How Posts Are Chosen for
                          for Explore on Instagram, Instagram (last accessed June 12, 2024),
 https://perma.cc/M9LG-YVEE.
 https://perma.ccNI9LG-YVEE.


                                                  20
                                           APP-779
                                           APP-779
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 mistakes and then learn from those mistakes. In most companies, algorithmic moderation is

 supplemented by human content moderators who typically make assessments about "gray"
                                                                               “gray” or

 uncertain cases where algorithmic decision-making is ambiguous or inconsistent, as well as

 overseeing how algorithms perform relative to the platforms’
                                                   platforms' policies. The question,

 accordingly, is whether and how social media platforms react and evolve as they develop their

 technologies and practices over time and in response to ambiguous cases, concerns, complaints,

 and errors.

           33.     TikTok Inc.'s
                          Inc.’s commitments in the draft NSA indicate that it is willing to respond

 to concerns about content moderation. For example, the NSA provides that all content

 moderation on the TikTok U.S. platform—both human and algorithmic—would be subject to
                                         61
 third-party verification and monitoring.
                              monitoring.61 Moreover, the NSA provides that the TikTok U.S.

 platform and application would be deployed through the Oracle cloud infrastructure, and Oracle

 and another third-party partner (to be approved by the U.S. government) would have access to
                       62
 TikTok’s
 TikTok's source code.
                 code.62  Oracle and the third-party partner would review and vet TikTok’s
                                                                                  TikTok's

 source code and conduct inspections and tests of TikTok’s
                                                  TikTok's recommendation algorithm to ensure

                                       TikTok's publicly stated, published content policies.63
 that it is acting in conformance with TikTok’s                                             63



 Oracle would report the findings of its inspections to the Security Directors (discussed above),

 after which the NSA contemplates that TikTok and Oracle would work to implement any

 necessary changes to TikTok’s
                      TikTok's software based on Oracle’s findings.64
                                                 Oracle's findings.64




 61
      NSA §§ 5.4, 9.13, 16.6.
 61 NSA §§ 5.4, 9.13, 16.6.

 62
      Id. §§ 8.4, 9.1, 9.11.
 62 Id §§ 8.4, 9.1, 9.11.

 63
    Id. § 9.13.
 63 Id. § 9.13.

 64 id.
    Id.


                                                   21
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           34.    Once again, I am unaware of any other major social media or entertainment

 platform that has committed to the level of transparency and extensive controls proposed under

 the NSA.

           35.    Recent academic studies further indicate that TikTok is honoring its commitment

 to responsible and viewpoint-neutral content moderation practices, notwithstanding certain

 anecdotal press reports to the contrary. For example, a 2023 report from Georgia Tech’s
                                                                                  Tech's Internet

 Governance Project (referenced above) found that videos depicting "content
                                                                   “content . . . known to be

 major Communist Party taboos,"
                       taboos,” including "[s]upport
                                          “[s]upport for Hong Kong democracy protesters,”
                                                                             protesters,"
                                     65
 were "easily
      “easily . . . found on TikTok,”
                             TikTok,"65 rebutting earlier press reports that such videos were
                     66
 uncommon on TikTok.
             TikTok.66  The report also found that searches related to the Chinese

 government’s treatment of the Uyghur minority, an ethnic minority group based in China’s
 government's                                                                     China's

 Xinjiang Province, produced a list of search terms and videos "that
                                                               “that by themselves are likely
                                   67
 illegal on Chinese social media.”
                           media."67  Such evidence indicates that TikTok is neither promoting

 pro-China content nor censoring content that may be critical of China in a systematic way that

 supports allegations of a propaganda or disinformation campaign.

           36.    Certain Members of Congress—including Senator Mitt Romney and

 Representative Mike Lawler—have suggested that passage of the Act was motivated, at least in

 part, by concerns that TikTok has promoted pro-Palestinian content in the aftermath of Hamas's
                                                                                        Hamas’s




 65
      Mueller & Farhat, supra n.11, at 12–13.
 65 Mueller & Farhat, supra n.11, at 12-13.

 66
    Drew Harwell & Tony Romm, Inside TikTok: A Culture Clash Where U.S. Views about
 66 Drew Harwell & Tony Romm, Inside TikTok: A Culture Clash Where U.S. Views about

 Censorship Often Were Overridden by the Chinese Bosses, Wash. Post (Nov. 5. 2019),
 https://perma.cc/HX57-WYRK.
 67
      Mueller & Farhat, supra n.11, at 13.
 67 Mueller & Farhat, supra n.11, at 13.




                                                 22
                                             APP-781
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                                                                     68
 October 7, 2023 attacks on Israel and the ongoing conflict in Gaza.
                                                               Gaza.68  This assertion, however,

 rests on faulty inferences drawn from data—including the number of videos on TikTok with

 purportedly pro-Palestinian hashtags as compared to videos with pro-Israeli hashtags—that has

 been taken out of context. For example, it has been reported that, as of late October 2023, videos

 posted with the hashtag "standwithpalestine"
                         “standwithpalestine” had 10 times as many views on TikTok as videos

                         “standwithisrael.”69 But subsequent reporting has clarified that this 10-
 posted with the hashtag "standwithisrael."69

 to-1 statistic includes view counts from TikTok users located outside of the United States as well

                                                               attacks.70 This is significant
 as view counts dating back to 2020, well before the October 7 attacks.76

 because reporting has shown that videos with pro-Palestinian hashtags are overwhelmingly
                                                          71
 created and viewed by users outside of the United States,
                                                   States,71 and pro-Palestinian hashtags are older
                                                 72
 and more established than pro-Israeli hashtags.
                                       hashtags.72  In other words, the 10-to-1 statistic is not an

 accurate characterization of the videos posted and viewed on TikTok in the United States—and




 68
    Ben Metzner, Mitt Romney Reveals the Twisted Reason Why Congress Moved to Ban TikTok,
 68 Ben Metzner, Mitt Romney Reveals the Twisted Reason Why Congress Moved to Ban TikTok,

 The New Republic (May 6, 2024), https://perma.cc/VV6Y-QEYV (quoting Senator Romney);
 Will Bunch, Is TikTok Ban to Stop Kids Learning about Gaza?, Phila. Inquirer (May 7, 2024),
 https://perma.cc/3D2N-ERYL (quoting Representative Lawler).
 69
   David Ingram & Kat Tenbarge, Critics Renew Calls for a TikTok Ban, Claiming Platform Has
 69 David Ingram & Kat Tenbarge, Critics Renew Callsfor a TikTok Ban, Claiming Platform Has
    Anti-Israel
 an AntiIsrael Bias (Nov. 1, 2023), NBC News, https://perma.cc/U2MW-BJSR.
 70 Id
      Id.
 71
   Louise Matsakis & J.D. Capelouto, Asian & Middle Eastern Users Tilt TikTok Balance
 71 Louise Matsakis & J.D. Capelouto, Asian & Middle Eastern Users Tilt TikTok Balance
 Toward Palestinians, Semafor (Nov. 3, 2023), https://perma.cc/U5BL-XVEF.
 72
    The Truth about TikTok Hashtags and Content During the Israel-Hamas War, TikTok (Nov.
 72 The Truth about TikTok Hashtags and Content During the Israel-Hamas War, TikTok (Nov.

 13, 2023), https://perma.cc/KE8G-98S2; see also Paul Matzko, Lies, Damned Lies, and  and
               Misleading Study Compares TikTok and
 Statistics: A Misleading                          and Instagram, Cato Inst. (Jan. 2, 2024),
 https://perma.cc/KK77-HN2X (criticizing study comparing the use of political hashtags on
 TikTok and Instagram insofar as the study failed to control for how long each platform existed
 and thus the time period over which certain political hashtags were used on each platform).


                                                  23
                                           APP-782
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 most importantly does not accurately describe data about what U.S. users were seeing—after the

           attacks.73
 October 7 attacks.73

          37.     A review of U.S. hashtag data for the month after the October 7 attacks shows

 that only a slightly higher number of videos with pro-Palestinian hashtags were posted to the
                                                                       74
 U.S. TikTok platform as compared to videos with pro-Israeli hashtags.
                                                             hashtags.74  Moreover, the view
                                                       75
 counts for these sets of videos were roughly the same.
                                                  same.75 Indeed, an analysis by TikTok shows

 that videos with pro-Israeli hashtags received 68% more views per video in the United States
                                           76
 than videos with pro-Palestinian hashtags.
                                  hashtags.76 And third-party analyses based on TikTok’s
                                                                                TikTok's

 Research API—a data set comprised of public data that TikTok makes available to researchers—
                                                                                 researchers

 similarly show that videos with pro-Israeli hashtags and/or hashtags associated with content

 about the Israeli-Palestinian conflict that is neither pro-Israeli nor pro-Palestinian generally

 received more views per video in the weeks and months after the October 7 attacks as compared
                                         77
 to videos with pro-Palestinian hashtags.
                                hashtags.77 This suggests that, in general, videos posted with pro-

 Israeli hashtags received as many or more views per video on TikTok than videos with pro-
                      78
 Palestinian hashtags.
             hashtags.78 These statistics undercut the claim that TikTok is somehow "promoting"
                                                                                    “promoting”

 pro-Palestinian content on the app.


 73
   It should also be noted that analyses based on hashtag data have certain limitations. For
 73 It should also be noted that analyses based on hashtag data have certain limitations.
 example, hashtags are assigned by users and do not always accurately reflect the subject matter
 of the videos to which they are assigned. Users may also post videos without hashtags.
 74
      Ingram & Tenbarge, supra n.69.
 74 Ingram & Tenbarge, supra n.69.

 75
   Id.; see also EJ Dickson, Is TikTok Really Boosting Pro-Palestinian Content?, Rolling Stone
 75 Id.; see also EJ Dickson, Is TikTok Really Boosting Pro

 (Nov. 12, 2023), https://perma.cc/K6NV-RXJ2.
 76
      The Truth about TikTok Hashtags, supra n.72.
 76 The Truth about TikTok Hashtags, supra n.72.

 77
   Laura Edelson, Getting to Know the TikTok Research API, Cybersecurity for Democracy (last
 77 Laura Edelson, Getting to Know the TikTok Research API, Cybersecurity for Democracy (last

 accessed June 12, 2024), https://perma.cc/V3AJ-8JEP.
 78
      Ingram & Tenbarge, supra n.69; Dickson, supra n.75.
 78 Ingram & Tenbarge, supra n.69; Dickson, supra n.75.




                                                   24
                                            APP-783
                                            APP-783
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        38.     Even if there were significantly more pro-Palestinian content on TikTok, the

 presence of such content does not demonstrate or in any manner prove that TikTok’s
                                                                           TikTok's

 recommendation algorithm is "promoting"
                             “promoting” a pro-Palestinian message. Rather, the prevalence of

 such content may simply be a function of the demographics of TikTok’s
                                                              TikTok's user base, which trends

                               79
 younger than other platforms.
                    platforms.79  This is significant because recent polling shows that young

 people are less likely to support Israel's
                                   Israel’s actions following the October 7 attacks as compared to

 older individuals, with one poll finding that only 20% of 18-to-24-year-olds support Israel’s
                                                                                      Israel's

                                                                                    80
 reaction to the attacks, as compared to 58% of respondents aged 50 years or older.
                                                                             older.8°  More

 broadly, the polling trends show that young people’s
                                             people's support for Israel has been decreasing over

 the last 10 years—a trend that pre-dates TikTok’s
                                          TikTok's existence and even more so its widespread

             81
 popularity.
 popularity.81  In other words, the evidence does not support the conclusion that TikTok is the

 cause of young people’s
                people's lower levels of support for Israel, as opposed to a reflection of pre-

          trends.82
 existing trends.82


 79
   Monica Anderson Michelle Faverio & Jeffrey Gottfried, Teens, Social Media & Technology
 79 Monica Anderson Michelle Faverio & Jeffrey Gottfried, Teens, Social Media & Technology

 2023, Pew Research Center (Dec. 11, 2023), https://perma.cc/3PKM-NXAT (finding that a
 greater percentage of teenagers use TikTok than any other social media application or
 entertainment platform, with the exception of YouTube); Rebecca Jennings, TikTok Isn't
                                                                                      Isn’t
 Creating False Support for
                          for Palestine. It's
                                         It’s Just Reflecting What’s
                                                              What's Already There., Vox (Dec. 13,
 2023), https://perma.cc/B5KE-KMQ8 (reporting that approximately 60% of TikTok’s
                                                                               TikTok's U.S.
 monthly active users are between 16 and 24 years old and another 26% are between 25 and 44
 years old).
 80
 80 Sympathy Grows for
                    for Palestinians but Majority
                                         Majority Still Sympathize More
                                                                   More with Israelis, Quinnipiac
 University National Poll Finds; Generational Divide Widens on View ofof Israel, Quinnipiac Univ.
 Poll (Nov. 16, 2023), https://perma.cc/B7QS-FC67.
 81
    Lydia Saad, Young Adults’ Views on Middle East Changing Most, Gallup (Mar. 24, 2023),
 81 Lydia Saad, Young Adults' Views on Middle East Changing Most, Gallup (Mar. 24, 2023),
 https://perma.cc/83J2-YD6U.
 82
   To the extent Members of Congress have cited the incidence of pro-Palestinian content on
 82 To the extent Members of Congress have cited the incidence of pro-Palestinian content on
 TikTok as compared to other platforms, see, e.g., Metzner supra n.68, it is important to note that
 comparing the type and volume of content across different applications can be difficult,
 including because different platforms have different user numbers, serve different markets and


                                                 25
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                                           APP-784
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         39.    Certain Members of Congress have also cited the existence of videos on TikTok

 reciting, discussing, or reacting to Osama bin Laden's
                                                Laden’s "Letter
                                                        “Letter to America”
                                                                   America" as a reason for voting
                      83
 in favor of the Act.
                 Act.83  Content related to bin Laden's
                                                Laden’s letter, however, is not unique to TikTok.

 Other social media platforms saw increased engagement with bin Laden's
                                                                Laden’s letter in the aftermath
                                                                                       84
 of the October 7 attacks, indicating that the letter presented an industry-wide issue.
                                                                                 issue.84 The

 temporary virality of the letter may also be a function of a media "feedback
                                                                    “feedback loop”
                                                                              loop" that is a

 familiar phenomenon of social media. According to public reports, engagement with TikTok

 videos regarding bin Laden's
                      Laden’s letter increased dramatically only after media reports about the

 existence of such content on the app, suggesting that interest in the videos stemmed in substantial

 measure from media reports on other platforms about the existence of the videos as opposed to

 the popularity of such content on its own, let alone efforts by TikTok to promote or disseminate




  demographics, and were founded at different times, see Matzko, supra n.72. Moreover, different
  platforms make different types of data publicly available. Even so, there are public reports that
 there is significantly more content with pro-Palestinan hashtags on Facebook and Instagram as
  compared to content with pro-Israeli hashtags. See, e.g., Drew Harwell, TikTok Was Slammed
  for Its Pro-Palestinian Hashtags. But It's
 for                                     It’s Not Alone, Wash. Post. (Nov. 13, 2023),
  https://perma.cc/6CYQ-GE3N (reporting that, as of November 2023, there were 39 times as
  many posts on Facebook with the #freepalestine hashtag as compared to posts with the
  #standwithisrael hashtag; on Instagram, there were 26 times as many posts with the
  #freepalestine hashtag as compared to posts with the #standwithisrael hashtag).
 83
 83 See, e.g., Maheshwari et al., supra n.54 (quoting Representative Krishnamoorthi). In his
 “Letter to America,”
 "Letter     America," written in 2002, bin Laden purports to explain why al Qaeda attacked the
 United States on September 11, 2001. In doing so, bin Laden criticizes the U.S. government's
                                                                                 government’s
 involvement in the Middle East and its support for Israel. See Bobby Allyn, The Story Behind
                                                                                        Behind
 the Osama bin Laden Videos on TikTok, NPR (Nov. 17, 2023), https://perma.cc/U9FS-BY5E.
 84
    See Daysia Tolentino, TikTok Removes Hashtag for Osama bin Laden’s “Letter to America”
 84 See Daysia Tolentino, TikTok Removes Hashtagfor Osama bin Laden's "Letter to America"

 after Viral Videos Circulate, NBC News (Nov. 16, 2023), https://perma.cc/4BHJ-48YL
 (reporting a 4,300% increase in references to bin Laden on X between November 14 and 16,
 2023, and a 400% increase in searches for bin Laden on YouTube over the same period).


                                                 26
                                           APP-785
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               85
 such content.
      content.85  The reported temporary virality of the letter may also have resulted from efforts

 by malicious actors to manipulate platforms’
                                   platforms' recommendation engines. Such conduct is a well-

 documented phenomenon that exists across many different platforms and is not limited to
         86
 TikTok.
 TikTok.86

            40.   Other Members of Congress have cited TikTok’s
                                                       TikTok's March 2024 decision to display

 a pop-up message urging users to contact their representatives about the Act as a reason for
                                          87
 voting in favor of the Act’s
                        Act's provisions.
                              provisions.87  According to Representative Krishnamoorthi, TikTok’s
                                                                                         TikTok's

 action "transformed                               yeses.”88 Here again, however, TikTok’s
        “transformed a lot of lean yeses into hell yeses."88                      TikTok's actions

 do not distinguish TikTok from other companies and, in fact, reflect industry-wide practices. In

 response to a proposal by then-New York City Mayor Bill de Blasio to restrict the number of

 Uber drivers allowed to operate in New York City, Uber added an option on its app that allowed

 users to select a "DE
                   “DE BLASIO"
                       BLASIO” ride, which Uber suggested would resemble the app experience
                                      89
 if Mayor de Blasio's
             Blasio’s measure passed.
                              passed.89  Among other things, the "DE
                                                                 “DE BLASIO"
                                                                     BLASIO” option informed
                                                   90
 users that their ride would arrive in 25 minutes.
                                          minutes.90  In 2012, Google displayed a blacked-out logo

 on its homepage along with a message directing users to "Tell
                                                         “Tell Congress: Please don’t
                                                                                don't censor the



 85
  Drew Harwell & Victoria Bisset, How Osama bin Laden’s “Letter to America” Reached
 85 Drew Harwell & Victoria Bisset, How Osama bin Laden's "Letter to America" Reached
 Millions Online, Wash. Post (Nov. 16, 2023), https://perma.cc/29VS-QBML.
 Millions
 86
    Christian Kastner, Security and Privacy in ML-Enabled Systems, Medium (Dec. 20, 2022),
 86 Christian Kastner, Security and Privacy in ML-Enabled Systems, Medium (Dec. 20, 2022),

 https://perma.cc/9BNW-2JAF.
 https: //p erm a. cc/9BNW-2JAF.
 87
 87
   Sapna Maheshwari, David McCabe & Cecilia Kang, “Thunder        Run”: Behind Lawmakers'
                                                       "Thunder Run":            Lawmakers’
 Secretive Push to Pass the TikTok Bill, N.Y. Times (Apr. 24, 2024), https://perma.cc/BR72-P779
 (quoting Representative Krishnamoorthi).
 88 id.
      Id.
 89
   Christopher Spata, Uber Slams NYC Mayor with New “DE BLASIO” Feature, Complex (Jul.
 89 Christopher Spata, Uber Slams NYC Mayor with New "DE BLASIO" Feature, Complex (Jul.

 16, 2015), https://perma.cc/T3ZQ-SRUS.
 90 id.
      Id.


                                                 27
                                          APP-786
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 Web.”91 Google’s
 Web."91 Google's temporary change to its homepage responded to certain legislation pending in

 Congress at the time, which Google believed would "impose
                                                   “impose huge regulatory costs and stifle

                   Web.”92 Such actions are not materially different from TikTok’s
 innovation on the Web."92                                                TikTok's asserted

 efforts to mobilize its user base in response to the Act's
                                                      Act’s introduction. In each instance, it was left

 to users whether to engage in the democratic activity of contacting their representatives.

            41.   Finally, it bears mention that the Act’s
                                                     Act's treatment of TikTok stands in contrast to

 its treatment of foreign-owned news applications, including applications owned by Xinhua News

                                                                                     93
 (China), RT News (Russia), and NewsBreak (China), that operate in the United States.
                                                                              States.93 RT

 News has been publicly identified by the U.S. Department of State as "play[ing]
                                                                      “play[ing] an important

 role within Russia's
             Russia’s disinformation ecosystem”
                                     ecosystem" and, according to the Department of State, serves

 as a "conduit[]
      “conduit[] for Kremlin talking points aimed at influencing foreign public opinion in a way
                                                                         94
 that benefits Russia's
               Russia’s foreign policy and national security interests.”
                                                             interests."94  Xinhua News, in turn, has
                                                           95
 been described as the "world's
                       “world’s biggest propaganda agency,”
                                                   agency,"95 with the U.S. State Department

                                                                                    96
 characterizing Xinhua as a "PRC
                            “PRC [People's
                                 [People’s Republic of China] propaganda outlet[].”
                                                                         outlet[]."96  And


 91
   Michael Cavna, Google Blacks Out: “Censored” Logo Goes Dark to Oppose SOPA/PIPA
 91 Michael Cavna, Google Blacks Out: "Censored" Logo Goes Dark to Oppose SOPA/PIPA

 Legislation, Wash. Post (Jan. 18, 2012), https://perma.cc/V69T-NJGZ.
 92
      Id.
 93
    See Xinhua News (last accessed June 12, 2024), https://perma.cc/W4X3-X9GV; RT News
 93 See Xinhua News (last accessed June 12, 2024), https://perma.cc/W4X3-X9GV; RT News

 (last accessed June 12, 2024), https://perma.cc/F4FX-2KE9; James Pearson, NewsBreak: Most  Most
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 94
    Kremlin-Funded
 94 Kremlin        Media: RT
            Funded Media:  RT and Sputnik's
                                   Sputnik’s Role in Russia's
                                                     Russia’s Disinformation and
                                                                              and Propaganda
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 95
    Xinhua: The World’s Biggest Propaganda Agency, Reporters Without Borders (Oct. 2005),
 95 Xinhua: The World's Biggest Propaganda Agency, Reporters Without Borders (Oct. 2005),

 https://perma.cc/UGB9-M4ES.
 https: //p erm a. cc/UGB9-M4ES.
 96
   Designation of Additional Chinese Media Entities as Foreign Missions, U.S. Dep’t of State
 96 Designation of Additional Chinese Media Entities as Foreign Missions, U.S. Dep't of State

 (June 22, 2020), https://perma.cc/VJS6-5JE6.


                                                   28
                                            APP-787
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 recent reports state that NewsBreak—a subsidiary of a "Chinese
                                                       “Chinese news aggregation app”
                                                                                 app" with a

 China-based engineering team—has become a popular news app in the United States,
                                                                                                 97
 notwithstanding claims that the app routinely publishes fictitious news stories on its platform.
                                                                                        platform.97

 From a national security perspective, there is no reason to apply one set of rules to applications

 owned by or affiliated with ByteDance (including TikTok) and another set of rules to

 applications owned by or affiliated with RT News, Xinhua News, NewsBreak, and similar

 companies.

 III.      Conclusion

           42.    Social media and entertainment platforms, like TikTok, raise important policy

 issues, including the appropriate protection of user data, content moderation, and propaganda.

 These are legitimate issues to consider from a policy perspective, but they are issues that the

 industry confronts as a whole and are not unique or distinctive to TikTok.

           43.    As I have discussed above, TikTok’s
                                             TikTok's approach for dealing with these issues is in

 line with—and in many respects markedly better than—industry best practices, even for

 companies that hold significant sensitive user data. In light of the foregoing, there is no evident

 national security rationale for the Act’s
                                     Act's particular focus on TikTok. It is arbitrary to select one

 market participant for policy issues that an entire industry faces. This is particularly the case

 where there exist alternative mechanisms—including the mitigation proposals that TikTok Inc.

 has outlined in the NSA negotiated with CFIUS—that enable the federal government to use

 regulatory frameworks and establish extensive processes that mitigate data and national security

 risks around data and algorithms beyond what they would currently be able to achieve with peer

 firms.


 97
      Pearson, supra n.93.
 97 Pearson, supra n.93.




                                                  29
                                           APP-788
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                 Krsuant        Ü.S.C. § 1146,1 dcclarc
                 Pursuant to 28 U.S.C.          declare under penalty of perjury that the forcgoing
                                                                                          foregoing is truc
                                                                                                       true

          and correct to the best of my knowledge.

                 Executed this 17th day of June, 2024.
                                        ofJune,




                                                                     Steven Weber




                                                         30




                                               APP-789
                                               APP-789
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                            APPENDIX 1




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 STEVEN WEBER
 STEVEN WEBER

 steve_weber@berkeley.edu
 steve_weber@berkeley.edu
 +1 415-203-8432
 +1 415-203-8432

 Professor of
 Professor of the
              the Graduate   School
                  Graduate School
 UC Berkeley
 UC            School of
     Berkeley School     Information
                      of Information
 203 B
 203   South Hall
     B South  Hall
 UC Berkeley,
 UC  Berkeley, Berkeley  CA 94720
               Berkeley CA   94720

 Partner
 Partner
 Breakwater
 Breakwater Strategy
            Strategy
 1299
 1299 Pennsylvania Ave Floor
      Pennsylvania Ave Floor 12
                             12
 Washington DC
 Washington DC 20004
                 20004



 Major
 Major Fields
       Fields of Work
              of Work

 International Political
 International           Economy
               Political Economy
 Technology  and Data
 Technology and          Governance
                  Data Governance
 International Institutions
 International Institutions
 American Foreign
 American   Foreign Policy,
                     Policy, particularly National Security
                             particularly National Security and
                                                            and FDI
                                                                FDI Issues
                                                                    Issues
 Applications of
 Applications     Cognitive and
               of Cognitive   and Behavioral  Psychology to
                                  Behavioral Psychology   to Decision-making
                                                             Decision-making
 Scenarios and
 Scenarios and Strategic
                Strategic Planning
                           Planning

 Education
 Education

 July 1988
 July      June 1989
      1988 June        Postdoctoral Fellow
                  1989 Postdoctoral  Fellow Center
                                            Center for   International Affairs,
                                                     for International Affairs, Harvard University
                                                                                Harvard University
 March
 March 1985     June 1988
         1985 June   1988 Ph.D.,
                          Ph.D., Stanford Dept. of
                                 Stanford Dept.  of Political Science
                                                    Political Science
 Sept. 1982
 Sept.        June 87
       1982 June   87 M.D. Student, Stanford
                      M.D. Student, Stanford Medical    School
                                              Medical School
 Sept 1984
 Sept  1984 March
             March 8585 M.A. Stanford Dept.
                        M.A. Stanford  Dept. of
                                              of Political Science
                                                 Political Science
 Sept 1979
 Sept        June 82
       1979 June   82 B.A.  Washington University
                       B.A. Washington    University (History,
                                                      (History, International
                                                                International Development)
                                                                              Development)


 Administrative Appointments
 Administrative Appointments UC
                             UC Berkeley
                                Berkeley

 Director, Institute
 Director, Institute of
                     of International
                        International Studies,
                                      Studies, 2004-2009
                                               2004-2009
 Founder and
 Founder  and Director,
               Director, Center
                          Center for
                                  for Long Term Cybersecurity,
                                      Long Term  Cybersecurity, UC
                                                                UC Berkeley,  2015 -- 2022
                                                                    Berkeley, 2015    2022
 Associate Dean
 Associate  Dean and
                   and Head    of School
                         Head of  School of  Information, Division
                                          of Information, Division of Computing Data
                                                                   of Computing   Data Science   and
                                                                                         Science and
 Society 2020-2021
 Society 2020-2021




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 Books
 Books

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      By Bloc:
          Bloc: How
                How toto Organize
                         Organize aa Global
                                     Global Enterprise
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                                                       for the New Regional
                                                                   Regional Order Harvard
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                                                                                     20111 (with
                                                                                           (with
 Nils Gilman and
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                        Goldhammer)

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                                                  Columbia University Press, 2001.
                                                           University Press, 2001.

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                                                                                      The Anatomy     an
                                                                                                   of an
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                                               Barma, Ely Ratner, and
                                                      Ely Ratner, and Matthew
                                                                      Matthew Kroenig),
                                                                              Kroenig),
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                             (with Naazneen
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                                            Barma and     Ratner), The National
                                                      Ely Ratner),The           Interest.
                                                                       National Interest.
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           Without the
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                          West: Empirical  Patterns and
                                 Empirical Patterns and Theoretical Implications,” Chinese
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                                                                                   Chinese Journal
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                                    (with Naazneen
                                          Naazneen Barma,
                                                    Barma, Giacomo
                                                           Giacomo Chiozza,    and Ely
                                                                      Chiozza, and      Ratner)
                                                                                    Ely Ratner)

 “Taking Soft
 "Taking Soft Power
              Power Seriously,"
                    Seriously,” Comparative
                                Comparative Strategy 2010 (with
                                            Strategy 2010 (with Matthew Kroenig and
                                                                Matthew Kroenig and Melissa
                                                                                    Melissa
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 McAdam)

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               Liberal Order",The           Interest 2013
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                                                          (with Naazneen
                                                                Naazneen Barma and Ely
                                                                         Barma and Ely
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                                                                     (with Galen
                                                                           Galen Panger
                                                                                 Panger and
                                                                                        and Bryan
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 `Back in the USSR:
              USSR: Is   the European
                      Is the          Union Heading
                             European Union Heading for
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                                                           Soviet-Style Collapse?'
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 Data,          and Government
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             IN
             IN THE
                THE UNITED       STATES COURT
                       UNITED STATES      COURT OF   APPEALS
                                                 OF APPEALS
              FOR
              FOR THE
                    THE DISTRICT
                         DISTRICT OF   OF COLUMBIA
                                          COLUMBIA CIRCUIT
                                                     CIRCUIT
 ____________________________________
                                           ))
 TIKTOK INC.
 TIKTOK      INC.                          ))
                                           ))
        and
        and                                ))
                                           ))
 BYTEDANCE
 BYTEDANCE LTD.,  LTD.,                    ))
                                           ))
                          Petitioners,
                          Petitioners,     ))
                                           ))
        v.
        v.                                 )) No.
                                              No. 24-1113
                                                  24-1113
                                           ))
                                           ))
 MERRICK
 MERRICK B.    B. GARLAND,
                  GARLAND, in  in his
                                  his      ))
 official
 official capacity
           capacity as Attorney General
                    as Attorney  General ))
 of
 of the
    the United
         United States,
                 States,                   ))
                                           ))
                          Respondent.
                          Respondent.      ))
                                           ))

                DECLARATION
                DECLARATION OF ADAM PRESSER
                            OF ADAM PRESSER

       1.
       1.   II am
               am TikTok’s
                  TikTok's Head
                           Head of
                                of Operations
                                   Operations and
                                              and Trust
                                                  Trust &
                                                        & Safety,
                                                          Safety, a
                                                                  a role
                                                                    role

 II have served in
    have served    since March
                in since March 2024,
                               2024, and
                                     and II am
                                            am employed by Petitioner
                                               employed by Petitioner

 TikTok
 TikTok Inc.
        Inc. Between
             Between June
                     June 2023
                          2023 and March 2024,
                               and March 2024, II was
                                                  was TikTok’s
                                                      TikTok's Head
                                                               Head

 of
 of Operations,
    Operations, and before that,
                and before that, from April 2022
                                 from April 2022 to
                                                 to June
                                                    June 2023,
                                                         2023, II was Vice
                                                                  was Vice

 President
 President and
           and TikTok
               TikTok Chief
                      Chief of
                            of Staff. As Head
                               Staff. As Head of
                                              of Operations
                                                 Operations and
                                                            and Trust
                                                                Trust

 &
 & Safety,
   Safety, my
           my responsibilities
              responsibilities include
                               include cultivating,
                                       cultivating, maintaining
                                                    maintaining and
                                                                and

 protecting
 protecting TikTok’s
            TikTok's global
                     global content
                            content ecosystem.
                                    ecosystem. The
                                               The teams
                                                   teams II lead
                                                            lead manage
                                                                 manage




                               APP-799
                               APP-799
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 our content
 our         operations and
     content operations and distribution
                            distribution all
                                         all over
                                             over the
                                                  the world,
                                                      world, as
                                                             as well
                                                                well as
                                                                     as

 our efforts
 our efforts to
             to identify
                identify and
                         and remove
                             remove harmful
                                    harmful content on the
                                            content on the platform
                                                           platform

 globally. As a
 globally. As   senior executive,
              a senior executive, II have
                                     have also become broadly
                                          also become broadly familiar
                                                              familiar with
                                                                       with

 our operations
 our operations and
                and policies
                    policies across
                             across a
                                    a range
                                      range of
                                            of areas,
                                               areas, including
                                                      including TikTok’s
                                                                TikTok's

 data
 data privacy
      privacy and security policies,
              and security policies, engineering
                                     engineering operations,
                                                 operations, and our
                                                             and our

 engagement
 engagement with stakeholders and
            with stakeholders and regulators
                                  regulators in
                                             in the United States
                                                the United States and
                                                                  and

 abroad.
 abroad.

       2.
       2.   II am
               am a U.S. citizen
                  a U.S.         born and
                         citizen born and raised
                                          raised in
                                                 in Los Angeles,
                                                    Los Angeles,

 California.
 California. II have
                have a
                     a B.A.
                       B.A. and M.A. from
                            and M.A.      Yale University,
                                     from Yale University, a
                                                           a J.D.
                                                             J.D. from
                                                                  from

 Harvard
 Harvard Law
         Law School,
             School, and
                     and an MBA from
                         an MBA from Harvard
                                     Harvard Business
                                             Business School.
                                                      School.

 Before
 Before II joined
           joined TikTok,
                  TikTok, II worked
                             worked for
                                    for Warner
                                        Warner Bros.
                                               Bros. Entertainment
                                                     Entertainment and
                                                                   and

 then
 then WarnerMedia,
      WarnerMedia, most
                   most recently
                        recently as
                                 as Executive Vice President,
                                    Executive Vice President,

 International
 International and
               and Head
                   Head of
                        of WarnerMedia
                           WarnerMedia China, Australia and
                                       China, Australia and New
                                                            New

 Zealand,
 Zealand, and
          and Head
              Head of
                   of WarnerMedia
                      WarnerMedia International
                                  International Home
                                                Home Entertainment
                                                     Entertainment

 Licensing.
 Licensing. II have
               have extensive
                    extensive experience
                              experience working
                                         working in
                                                 in multinational
                                                    multinational

 business operations
 business operations in
                     in a
                        a variety
                          variety of structures, including
                                  of structures, including with
                                                           with joint
                                                                joint

 ventures,
 ventures, licensing
           licensing partners,
                     partners, and,
                               and, as
                                    as with
                                       with TikTok,
                                            TikTok, globally
                                                    globally integrated
                                                             integrated

 businesses.
 businesses.




                                     2
                                     2
                                APP-800
                                APP-800
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       3.
       3.   The
            The purpose
                purpose of
                        of this
                           this declaration
                                declaration is
                                            is to
                                               to provide
                                                  provide an
                                                          an overview
                                                             overview of
                                                                      of

 the
 the TikTok
     TikTok platform,
            platform, including
                      including how
                                how we
                                    we protect U.S. users’
                                       protect U.S. users' data
                                                           data and
                                                                and

 guard
 guard against
       against foreign
               foreign government
                       government influence.
                                  influence. II also
                                                also explain
                                                     explain why
                                                             why the U.S.
                                                                 the U.S.

 TikTok
 TikTok platform
        platform cannot
                 cannot realistically be severed
                        realistically be severed from
                                                 from the
                                                      the rest
                                                          rest of
                                                               of the
                                                                  the

 global
 global platform
        platform in
                 in one year, as
                    one year, as II understand
                                    understand would be required
                                               would be required to
                                                                 to avoid
                                                                    avoid

 a ban of
 a ban of TikTok
          TikTok under
                 under the “Protecting Americans
                       the "Protecting Americans from
                                                 from Foreign
                                                      Foreign

 Adversary Controlled
 Adversary            Applications Act."
           Controlled Applications Act.”

  I.
  I.   Background
       Background on
                  on Petitioners
                     Petitioners TikTok
                                 TikTok Inc.
                                        Inc. and
                                             and ByteDance
                                                 ByteDance
       Ltd.
       Ltd.

       4.
       4.   Like
            Like many
                 many global businesses, TikTok
                      global businesses,        operates through
                                         TikTok operates through

 multiple
 multiple corporate
          corporate entities.
                    entities. In
                              In the United States,
                                 the United States, the
                                                    the TikTok
                                                        TikTok platform
                                                               platform is
                                                                        is

 provided by TikTok
 provided by TikTok Inc.,
                    Inc., a
                          a California-incorporated
                            California-incorporated company that has
                                                    company that has its
                                                                     its

 principal
 principal place
           place of business in
                 of business in Culver
                                Culver City,
                                       City, California
                                             California and
                                                        and offices
                                                            offices in
                                                                    in New
                                                                       New

 York, San
 York, San Jose,
           Jose, Chicago,
                 Chicago, and Miami, among
                          and Miami,       other locations.
                                     among other locations. TikTok
                                                            TikTok Inc.
                                                                   Inc.

 has
 has thousands
     thousands of
               of employees
                  employees in
                            in the United States.
                               the United States. References
                                                  References in
                                                             in my
                                                                my

 declaration
 declaration to “TikTok Inc.”
             to "TikTok Inc." are
                              are to
                                  to this specific corporate
                                     this specific corporate entity;
                                                             entity;

 references
 references to “TikTok” are
            to "TikTok" are to
                            to the online platform.
                               the online platform.

       5.
       5.   TikTok
            TikTok Inc.’s
                   Inc.'s ultimate
                          ultimate parent
                                   parent company
                                          company is
                                                  is ByteDance
                                                     ByteDance Ltd.,
                                                               Ltd., a
                                                                     a

  Cayman
  Cayman Islands-incorporated
         Islands-incorporated equity
                              equity holding
                                     holding company that has
                                             company that has

  multiple operating subsidiaries,
  multiple operating subsidiaries, including
                                   including in
                                             in China.
                                                China. References
                                                       References in
                                                                  in my
                                                                     my


                                      3
                                      3
                                 APP-801
                                 APP-801
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  declaration
  declaration to “ByteDance Ltd.”
              to "ByteDance Ltd." are
                                  are to
                                      to this specific corporate
                                         this specific corporate entity,
                                                                 entity,

  whereas
  whereas more
          more general
               general references
                       references to “ByteDance” are
                                  to "ByteDance" are to
                                                     to the
                                                        the corporate
                                                            corporate

  group,
  group, including
         including its operating subsidiaries.
                   its operating subsidiaries. ByteDance
                                               ByteDance was
                                                         was founded
                                                             founded in
                                                                     in

  2012 by two
  2012 by two Chinese
              Chinese engineers.
                      engineers. Today,
                                 Today, approximately
                                        approximately 58
                                                      58 percent
                                                         percent of
                                                                 of

  ByteDance
  ByteDance Ltd.
            Ltd. is
                 is owned by global
                    owned by global institutional
                                    institutional investors,
                                                  investors, including
                                                             including

  General Atlantic and
  General Atlantic and Susquehanna
                       Susquehanna International
                                   International Group;
                                                 Group; 21
                                                        21 percent
                                                           percent is
                                                                   is

  owned by its
  owned by its global
               global employee
                      employee workforce;
                               workforce; and
                                          and 21
                                              21 percent
                                                 percent is
                                                         is owned by
                                                            owned by

  one
  one of
      of its
         its founders,
             founders, Zhang Yiming (a
                       Zhang Yiming (a Chinese
                                       Chinese national
                                               national who
                                                        who lives
                                                            lives in
                                                                  in

  Singapore).
  Singapore).

       6.
       6.   In
            In addition
               addition to
                        to TikTok
                           TikTok Inc.,
                                  Inc., which
                                        which provides
                                              provides the
                                                       the TikTok
                                                           TikTok

 platform
 platform in
          in the United States,
             the United         other subsidiaries
                        States, other subsidiaries of
                                                   of ByteDance
                                                      ByteDance Ltd.
                                                                Ltd.

 provide several other
 provide several other applications, services, and
                       applications, services, and online
                                                   online platforms
                                                          platforms in
                                                                    in the
                                                                       the

 United States,
 United States, including
                including for
                          for content sharing, video
                              content sharing, video and
                                                     and music
                                                         music editing
                                                               editing

 (such
 (such as
       as the
          the popular
              popular video-editing
                      video-editing app
                                    app CapCut),
                                        CapCut), e-commerce,
                                                 e-commerce, gaming,
                                                             gaming,

 and
 and enterprise
     enterprise productivity.
                productivity.

 II.
 II.   The
       The TikTok
           TikTok Platform
                  Platform

       7.
       7.   TikTok
            TikTok is
                   is an
                      an online
                         online platform
                                platform that
                                         that enables
                                              enables users
                                                      users to
                                                            to create,
                                                               create,

 share, and
 share, and view
            view videos.
                 videos. TikTok’s
                         TikTok's mission
                                  mission is “to inspire
                                          is "to inspire creativity
                                                         creativity and
                                                                    and




                                      4
                                      4
                                APP-802
                                APP-802
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 bring joy,"11 and
 bring joy,”   and we seek to
                   we seek    bring this
                           to bring this mission
                                         mission to
                                                 to life
                                                    life through
                                                         through the
                                                                 the

 products
 products we build, the
          we build, the content
                        content we
                                we cultivate
                                   cultivate and
                                             and recommend,
                                                 recommend, and
                                                            and the
                                                                the

 rules
 rules we
       we publish
          publish and
                  and enforce
                      enforce to
                              to keep
                                 keep harmful
                                      harmful content
                                              content away
                                                      away from our
                                                           from our

 users.
 users.

       8.
       8.   TikTok
            TikTok is
                   is designed
                      designed to
                               to provide
                                  provide a
                                          a creative
                                            creative and
                                                     and entertaining
                                                         entertaining

 forum
 forum for our users
       for our users to
                     to express
                        express themselves
                                themselves and
                                           and make
                                               make connections
                                                    connections with
                                                                with

 other content
 other content creators
               creators and
                        and viewers.
                            viewers. TikTok
                                     TikTok users
                                            users primarily
                                                  primarily engage
                                                            engage with
                                                                   with

 the
 the platform by creating
     platform by creating and sharing videos
                          and sharing videos or by watching
                                             or by watching and
                                                            and

 interacting
 interacting with
             with videos
                  videos posted by others.
                         posted by others. In
                                           In addition
                                              addition to sharing and
                                                       to sharing and

 commenting on videos,
 commenting on videos, users
                       users can
                             can connect
                                 connect with one another
                                         with one another in
                                                          in a
                                                             a variety
                                                               variety

 of other ways,
 of other ways, including “tagging” other
                including "tagging" other users
                                          users in the comments,
                                                in the comments, using
                                                                 using

 the
 the app’s “duet” and
     app's "duet"     “stitch” tools
                  and "stitch" tools to
                                     to create
                                        create new
                                               new content
                                                   content that
                                                           that

 incorporates
 incorporates and
              and responds
                  responds to
                           to content
                              content created by others,
                                      created by others, using the
                                                         using the

 “TikTok LIVE”
 "TikTok LIVE" feature
               feature to
                       to communicate
                          communicate live
                                      live with others on
                                           with others on the
                                                          the platform,
                                                              platform,

 and sending direct
 and sending direct messages
                    messages to one another.
                             to one another. The
                                             The TikTok
                                                 TikTok platform
                                                        platform is
                                                                 is

 offered
 offered in
         in more than 170
            more than 170 countries, but it
                          countries, but it is
                                            is not offered in
                                               not offered in mainland
                                                              mainland

 China.
 China.




 11 Our Mission, TikTok,
    Our Mission, TikTok, https://www.tiktok.com/about?lang_en
                          https://www.tiktok.com/about?lang_en (last
                                                               (last
  visited
  visited June
          June 17,
               17, 2024).
                   2024).

                                      5
                                      5
                                 APP-803
                                 APP-803
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         9.
         9.    TikTok
               TikTok is
                      is a
                         a globally
                           globally integrated
                                    integrated platform,
                                               platform, meaning
                                                         meaning that
                                                                 that

 content
 content posted
         posted in
                in one
                   one country
                       country is
                               is generally
                                  generally available
                                            available to
                                                      to users
                                                         users in
                                                               in any
                                                                  any of
                                                                      of

 the
 the 170+
     170+ countries
          countries in
                    in which
                       which TikTok
                             TikTok is
                                    is available.
                                       available. There
                                                  There is
                                                        is an
                                                           an enormous
                                                              enormous

 array
 array of
       of international
          international content
                        content available
                                available to U.S. users
                                          to U.S. users on
                                                        on the
                                                           the platform,
                                                               platform,

 some of
 some of which
         which is
               is extremely
                  extremely popular.
                            popular. Just
                                     Just to
                                          to take
                                             take a
                                                  a few
                                                    few examples,
                                                        examples, there
                                                                  there

 is
 is content
    content about
            about global sporting events
                  global sporting events like
                                         like the
                                              the Olympic
                                                  Olympic Games
                                                          Games

 (@olympics
 (@olympics has 8.3 million
            has 8.3 million followers),
                            followers), international sports teams
                                        international sports teams

 (@realmadrid
 (@realmadrid has
              has 45.5
                  45.5 million
                       million followers),
                               followers), and
                                           and international
                                               international music such
                                                             music such

 as
 as K-pop
    K-pop (one
          (one of
               of the
                  the most
                      most popular
                           popular groups,
                                   groups, BTS,
                                           BTS, has
                                                has 65.3
                                                    65.3 million
                                                         million

 followers)
 followers) and
            and Tomorrowland,
                Tomorrowland, an
                              an annual
                                 annual music
                                        music festival
                                              festival in
                                                       in Ibiza,
                                                          Ibiza, Spain
                                                                 Spain

 (@tomorrowland
 (@tomorrowland has
                has 5.7
                    5.7 million
                        million followers).
                                followers).

         10.
         10.   TikTok
               TikTok was
                      was first
                          first launched
                                launched globally
                                         globally in May 2017
                                                  in May 2017 in over 150
                                                              in over 150

 countries,
 countries, including
            including the United States.
                      the United States. After
                                         After ByteDance
                                               ByteDance Ltd.
                                                         Ltd. acquired
                                                              acquired

 another short-form video
 another short-form video platform,
                          platform, musical.ly,
                                    musical.ly, and
                                                and moved
                                                    moved its
                                                          its user base
                                                              user base

 to TikTok,
 to TikTok, TikTok
            TikTok was
                   was re-launched
                       re-launched in the United
                                   in the United States
                                                 States in August
                                                        in August

 2018.
 2018.

         11.
         11.   Since then, TikTok
               Since then, TikTok has
                                  has grown to become
                                      grown to become one
                                                      one of the most
                                                          of the most

 widely
 widely used online platforms
        used online platforms in the world.
                              in the world. TikTok
                                            TikTok has
                                                   has more than 170
                                                       more than 170

 million
 million monthly
         monthly users
                 users in the United
                       in the United States
                                     States and
                                            and more than 1
                                                more than 1 billion
                                                            billion


                                       6
                                       6
                                  APP-804
                                  APP-804
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 users
 users worldwide.
       worldwide. With so many
                  With so      U.S. users,
                          many U.S. users, the
                                           the volume
                                               volume of
                                                      of content
                                                         content

 created
 created and
         and viewed
             viewed in
                    in the United States
                       the United States is
                                         is correspondingly
                                            correspondingly immense.
                                                            immense. In
                                                                     In

 2023,
 2023, TikTok
       TikTok users
              users in the United
                    in the United States
                                  States uploaded
                                         uploaded more than 5.5
                                                  more than     billion
                                                            5.5 billion

 videos,
 videos, which
         which were
               were viewed
                    viewed more than 13
                           more than 13 trillion
                                        trillion times
                                                 times here
                                                       here and
                                                            and abroad;
                                                                abroad;

 half
 half of
      of those
         those video
               video views
                     views came
                           came from
                                from users outside the
                                     users outside     United States.
                                                   the United States. In
                                                                      In

 the same year,
 the same year, TikTok
                TikTok users
                       users in
                             in the United States
                                the United States viewed
                                                  viewed content
                                                         content from
                                                                 from

 outside the
 outside     United States
         the United States more
                           more than
                                than 2.7
                                     2.7 trillion
                                         trillion times,
                                                  times, which
                                                         which accounted
                                                               accounted

 for
 for more than a
     more than a quarter
                 quarter of
                         of all
                            all video
                                video views
                                      views in
                                            in the United States.
                                               the United States. U.S.
                                                                  U.S.

 content
 content is
         is also
            also disproportionately
                 disproportionately popular
                                    popular abroad;
                                            abroad; for
                                                    for example,
                                                        example, last
                                                                 last

 year, even
 year, even in several of
            in several of TikTok’s
                          TikTok's non-U.S.
                                   non-U.S. English-speaking
                                            English-speaking markets,
                                                             markets,

 content
 content from
         from the United States
              the United States comprised
                                comprised more than a
                                          more than a third
                                                      third of
                                                            of all
                                                               all video
                                                                   video

 views.
 views.

       12.
       12.   TikTok’s
             TikTok's initial
                      initial growth
                              growth was spurred by
                                     was spurred by its
                                                    its appeal
                                                        appeal to
                                                               to those
                                                                  those

 who
 who value the blend
     value the blend of
                     of light
                        light entertainment
                              entertainment and
                                            and humor our platform
                                                humor our platform

 provides.
 provides. Today,
           Today, TikTok
                  TikTok also
                         also has become a
                              has become a forum
                                           forum for
                                                 for all
                                                     all types
                                                         types of speech,
                                                               of speech,

 including
 including about
           about politics, sports, family,
                 politics, sports, family, religion,
                                           religion, and
                                                     and users’
                                                         users' jobs
                                                                jobs and
                                                                     and

 hobbies.   Many content
 hobbies.22 Many content creators
                         creators use our platform
                                  use our platform to
                                                   to express
                                                      express their
                                                              their



 2
 2TikTok
  TikTok does
          does not,
               not, however,
                    however, permit
                             permit paid
                                    paid political
                                         political advertising
                                                   advertising on
                                                               on the
                                                                  the
 platform. See TikTok
 platform. See TikTok Business
                      Business Help
                                Help Center,  Ad Policy
                                     Center, Ad  Policy Handbook:
                                                        Handbook: North
                                                                    North

                                      7
                                      7
                                 APP-805
                                 APP-805
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 opinions, share their
 opinions, share       stories, support
                 their stories, support their
                                        their preferred
                                              preferred political
                                                        political

 candidates,
 candidates, and speak out
             and speak out on
                           on today’s
                              today's many
                                      many pressing
                                           pressing issues,
                                                    issues, all
                                                            all to
                                                                to a
                                                                   a

 global
 global audience
        audience of
                 of more
                    more than
                         than one billion monthly
                              one billion monthly users.
                                                  users.

       13.
       13.   TikTok
             TikTok Inc.
                    Inc. itself
                         itself maintains
                                maintains an
                                          an active
                                             active account on TikTok,
                                                    account on TikTok,

 operated by
 operated by a U.S.-based team,
             a U.S.-based team, which
                                which has
                                      has more than 80
                                          more than 80 million
                                                       million

 followers
 followers globally.
           globally. TikTok
                     TikTok Inc.
                            Inc. uses
                                 uses the
                                      the TikTok
                                          TikTok platform
                                                 platform to
                                                          to create
                                                             create and
                                                                    and

 share its
 share     own content
       its own content about
                       about issues
                             issues and
                                    and current
                                        current events,
                                                events, including,
                                                        including, for
                                                                   for

 example,
 example, its support for
          its support     small businesses,
                      for small businesses, Earth
                                            Earth Day,
                                                  Day, and
                                                       and literacy
                                                           literacy and
                                                                    and

 education.
 education. The
            The company
                company also
                        also interacts
                             interacts with
                                       with users by promoting
                                            users by promoting public-
                                                               public-

 interest
 interest content on TikTok,
          content on         such as
                     TikTok, such    our "EduTok"
                                  as our “EduTok” campaign,
                                                  campaign, which
                                                            which

 encourages
 encourages users
            users to
                  to create
                     create and share educational
                            and share educational and
                                                  and motivational
                                                      motivational

 content on a
 content on a variety
              variety of themes. The
                      of themes. The company
                                     company has
                                             has also
                                                 also launched other
                                                      launched other

 campaigns
 campaigns to
           to promote
              promote public
                      public interest
                             interest content.
                                      content. TikTok
                                               TikTok users
                                                      users also
                                                            also have
                                                                 have

 the ability
 the ability to
             to use special filters,
                use special          special effects,
                            filters, special effects, and stickers available
                                                      and stickers available on
                                                                             on

 the platform
 the platform to
              to enhance their content
                 enhance their content and
                                       and express their views
                                           express their       on issues
                                                         views on issues

 of
 of public
    public interest.
           interest.




 America (last
 America   (last updated
                 updated June
                         June 2024),
                              2024),
 https://ads.tiktok.com/help/article/ad-policy-handbook-north-america.
 https://ads.tiktok.com/help/article/ad-policy-handbook-north-america.

                                       8
                                       8
                                  APP-806
                                  APP-806
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       14.
       14.   Although there
             Although there are other platforms
                            are other           that allow
                                      platforms that allow users
                                                           users to
                                                                 to post
                                                                    post

 and share content,
 and share content, TikTok
                    TikTok differs
                           differs from these platforms
                                   from these platforms in
                                                        in important
                                                           important

 respects.
 respects. For
           For example,
               example, unlike other platforms,
                        unlike other platforms, TikTok
                                                TikTok does
                                                       does not
                                                            not host
                                                                host

 written
 written posts
         posts (except
               (except insofar
                       insofar as
                               as a
                                  a user
                                    user posts
                                         posts a
                                               a video or picture
                                                 video or         showing
                                                          picture showing

 written
 written text),
         text), and
                and it
                    it is
                       is not
                          not as
                              as focused on users’
                                 focused on users' interactions
                                                   interactions with
                                                                with

 existing
 existing friends,
          friends, family,
                   family, or
                           or co-workers,
                              co-workers, like some other
                                          like some other platforms
                                                          platforms are.
                                                                    are.

       15.
       15.   Instead, the TikTok
             Instead, the TikTok experience
                                 experience is
                                            is centered on discovering
                                               centered on discovering

 video
 video content
       content primarily through the
               primarily through the app’s
                                     app's For You feed,
                                           For You feed, which opens a
                                                         which opens a

 collection
 collection of
            of videos
               videos curated by TikTok’s
                      curated by TikTok's proprietary
                                          proprietary recommendation
                                                      recommendation

 engine based on
 engine based on an
                 an individual
                    individual user’s
                               user's interests
                                      interests and
                                                and how the user
                                                    how the user

 interacts
 interacts with
           with content they watch.
                content they watch. With the For
                                    With the     You feed,
                                             For You feed, TikTok’s
                                                           TikTok's

 focus
 focus is on facilitating
       is on facilitating users’
                          users' discovery
                                 discovery and
                                           and exploration
                                               exploration of
                                                           of new
                                                              new content
                                                                  content

 and
 and new
     new communities that might
         communities that       be of
                          might be of interest to them.
                                      interest to them. The
                                                        The For You
                                                            For You

 feed
 feed provides
      provides individual,
               individual, regular
                           regular TikTok
                                   TikTok users
                                          users a
                                                a unique
                                                  unique ability
                                                         ability to
                                                                 to

 discover
 discover new
          new content
              content and,
                      and, for those who
                           for those who choose to post
                                         choose to      their own
                                                   post their own

 content, to reach
 content, to reach a
                   a new
                     new and broader audience.
                         and broader audience. The
                                               The For You feed
                                                   For You feed (and
                                                                (and its
                                                                     its

 recommendation
 recommendation engine)
                engine) is
                        is central to the
                           central to the TikTok
                                          TikTok experience
                                                 experience and one of
                                                            and one of

 the defining
 the defining features
              features of the TikTok
                       of the TikTok platform that made
                                     platform that made it successful.
                                                        it successful.




                                      9
                                      9
                                APP-807
                                APP-807
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       16.
       16.   Although the
             Although the For You feed
                          For You feed is the most
                                       is the most popular
                                                   popular way
                                                           way users
                                                               users use
                                                                     use

 TikTok,
 TikTok, users
         users can
               can explore
                   explore content on TikTok
                           content on TikTok in
                                             in a
                                                a variety
                                                  variety of other ways.
                                                          of other ways.

 For
 For example,
     example, users
              users can
                    can use the search
                        use the search function to find
                                       function to find content
                                                        content about
                                                                about

 particular
 particular topics
            topics they
                   they are
                        are interested
                            interested in. Videos in
                                       in. Videos    search results
                                                  in search results are
                                                                    are

 sorted according
 sorted according to
                  to a
                     a combination
                       combination of
                                   of factors,
                                      factors, including
                                               including relevance to a
                                                         relevance to a

 user’s search query
 user's search query and other users’
                     and other users' level
                                      level of
                                            of engagement
                                               engagement with the video.
                                                          with the video.

 Relevance
 Relevance is
           is determined based on
              determined based on things
                                  things like
                                         like video
                                              video captions,
                                                    captions, video
                                                              video text,
                                                                    text,

 and “hashtags,” all
 and "hashtags," all of
                     of which
                        which can only be
                              can only be added by the
                                          added by the users themselves
                                                       users themselves

 upon
 upon uploading the videos.
      uploading the videos.

       17.
       17.   On
             On TikTok
                TikTok and other online
                       and other online platforms,
                                        platforms, hashtags
                                                   hashtags function
                                                            function as
                                                                     as

 content
 content aggregators,
         aggregators, which
                      which means that a
                            means that a user
                                         user can
                                              can locate other content
                                                  locate other content

 with that hashtag
 with that         by searching
           hashtag by searching for the hashtag
                                for the         or clicking
                                        hashtag or          on the
                                                   clicking on the

 hashtag
 hashtag in
         in a
            a comment or video
              comment or video caption.
                               caption. Hashtags
                                        Hashtags help
                                                 help users to find
                                                      users to find

 content that appeals
 content that         to their
              appeals to their particular
                               particular hobbies,
                                          hobbies, athletic
                                                   athletic pursuits, or
                                                            pursuits, or

 identities
 identities and to connect
            and to connect with others, including
                           with others,           through #booktok
                                        including through #booktok (33.8
                                                                   (33.8

 million
 million posts), #baseball (4.3
         posts), #baseball (4.3 million
                                million posts), #blacktiktok (4.7
                                        posts), #blacktiktok (4.7 million
                                                                  million

 posts),
 posts), and #fitness (37.8
         and #fitness (37.8 million
                            million posts). Many creators
                                    posts). Many creators also
                                                          also use the
                                                               use the

 platform to post
 platform to post product
                  product reviews, business reviews,
                          reviews, business reviews, and travel
                                                     and travel




                                     10
                                     10
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 information
 information and
             and reviews.
                 reviews. For
                          For example, #travel has
                              example, #travel has 46.1
                                                   46.1 million
                                                        million posts
                                                                posts on
                                                                      on

 TikTok.
 TikTok.

       18.
       18.   Because
             Because a significant percentage
                     a significant percentage of
                                              of videos
                                                 videos posted on TikTok
                                                        posted on TikTok

 do
 do not
    not have
        have any
             any hashtags
                 hashtags at
                          at all,
                             all, hashtags
                                  hashtags will
                                           will rarely
                                                rarely capture
                                                       capture all
                                                               all of
                                                                   of the
                                                                      the

 content
 content associated
         associated with
                    with a specific topic.
                         a specific topic. For that reason,
                                           For that reason, the
                                                            the platform’s
                                                                platform's

 search function
 search function is based on
                 is based on a
                             a number
                               number of
                                      of inputs,
                                         inputs, not
                                                 not just
                                                     just hashtags.
                                                          hashtags. For
                                                                    For

 example,
 example, while #taylorswift is
          while #taylorswift is associated
                                associated with
                                           with 13.2
                                                13.2 million
                                                     million posts on
                                                             posts on

 TikTok,
 TikTok, a search for
         a search     the term
                  for the term "Taylor
                               “Taylor Swift”
                                       Swift" would
                                              would generate
                                                    generate many
                                                             many more
                                                                  more

 posts.
 posts. For the same
        For the same reason,
                     reason, it
                             it is
                                is not
                                   not possible to compare
                                       possible to         the prevalence
                                                   compare the prevalence

 of
 of different
    different kinds
              kinds of
                    of content on TikTok,
                       content on         or make
                                  TikTok, or make comparisons to other
                                                  comparisons to other

 platforms, by looking
 platforms, by looking only
                       only at
                            at hashtag
                               hashtag numbers.
                                       numbers. Through our Research
                                                Through our Research

 Tools,
 Tools, qualifying
        qualifying researchers
                   researchers in the U.S.
                               in the U.S. and
                                           and Europe
                                               Europe can
                                                      can apply to study
                                                          apply to study

 public
 public data
        data about
             about TikTok
                   TikTok content
                          content and
                                  and accounts.
                                      accounts.

       19.
       19.   Users can
             Users can also
                       also view
                            view a
                                 a feed
                                   feed consisting only of
                                        consisting only of content
                                                           content posted
                                                                   posted

 by those
 by those creators they have
          creators they have decided to "follow."
                             decided to “follow.” That
                                                  That allows
                                                       allows users to
                                                              users to

 curate their own
 curate their own viewing
                  viewing experience,
                          experience, rather than only
                                      rather than only relying on
                                                       relying on

 TikTok to do
 TikTok to    so.
           do so.

       20.
       20.   Creators
             Creators come to TikTok
                      come to        because of
                              TikTok because of the
                                                the platform’s
                                                    platform's unique
                                                               unique

 attributes.
 attributes. In
             In my
                my experience,
                   experience, creators
                               creators join
                                        join TikTok because of
                                             TikTok because of its
                                                               its ability
                                                                   ability


                                     11
                                     11
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 to
 to facilitate
    facilitate discovery
               discovery through
                         through organic
                                 organic reach—that
                                         reach—that is,
                                                    is, the
                                                        the number
                                                            number of
                                                                   of

 people
 people who see a
        who see a post
                  post through
                       through unpaid
                               unpaid distribution.
                                      distribution. TikTok’s organic
                                                    TikTok's organic

 reach
 reach allows
       allows creators
              creators to
                       to reach
                          reach large
                                large numbers
                                      numbers of
                                              of users—beyond
                                                 users—beyond their
                                                              their

 current
 current universe
         universe of
                  of followers—without
                     followers—without any
                                       any paid
                                           paid promotion. Moreover,
                                                promotion. Moreover,

 TikTok’s
 TikTok's recommendation system facilitates
          recommendation system facilitates users’
                                            users' access
                                                   access to
                                                          to content
                                                             content

 created by a
 created by a wide
              wide range
                   range of
                         of individuals,
                            individuals, meaning
                                         meaning that
                                                 that it
                                                      it is
                                                         is not
                                                            not unusual
                                                                unusual

 for
 for videos
     videos created by regular
            created by regular people
                               people to “go viral”
                                      to "go viral" and
                                                    and receive
                                                        receive thousands,
                                                                thousands,

 if
 if not
    not millions,
        millions, of
                  of views. Many platforms
                     views. Many platforms offer
                                           offer creators
                                                 creators a
                                                          a forum to reach
                                                            forum to reach

 new
 new audiences.
     audiences. But
                But TikTok
                    TikTok is
                           is unique
                              unique in
                                     in its
                                        its ability
                                            ability to
                                                    to generate
                                                       generate reach
                                                                reach for
                                                                      for

 regular
 regular people.
         people. For
                 For example,
                     example, nine
                              nine of
                                   of the
                                      the top ten TikTok
                                          top ten TikTok accounts
                                                         accounts with
                                                                  with

 the
 the most
     most followers
          followers were
                    were regular
                         regular people before they
                                 people before they joined the platform
                                                    joined the platform

 and started posting,
 and started posting, and
                      and the tenth account
                          the tenth account is
                                            is TikTok’s
                                               TikTok's own
                                                        own account.
                                                            account. By
                                                                     By

 comparison,
 comparison, for several of
             for several    our competitors,
                         of our competitors, the
                                             the most-followed
                                                 most-followed accounts
                                                               accounts

 belong to
 belong to people
           people who
                  who are
                      are independently
                          independently famous,
                                        famous, like
                                                like athletes,
                                                     athletes, actors,
                                                               actors,

 and
 and musicians.
     musicians.

 III.
 III.   The
        The Content Available on
            Content Available    the TikTok
                              on the TikTok Platform
                                            Platform
        21.
        21.   We
              We always strive to
                 always strive to show
                                  show our
                                       our users
                                           users content that serves
                                                 content that serves our
                                                                     our

 mission
 mission to “inspire creativity
         to "inspire creativity and bring joy”
                                and bring joy" in
                                               in a safe environment.
                                                  a safe environment. In
                                                                      In

 service of
 service    that goal,
         of that goal, we
                       we use three main
                          use three main editorial
                                         editorial processes to determine
                                                   processes to determine



                                     12
                                     12
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 what
 what content
      content is shown to
              is shown to users:
                          users: content
                                 content moderation,
                                         moderation, content
                                                     content

 recommendation,
 recommendation, and
                 and video
                     video promotion
                           promotion and
                                     and filtering.
                                         filtering.

             A. Content
             A.         Moderation
                Content Moderation
       22.
       22.   The
             The first
                 first process that determines
                       process that            the content
                                    determines the content available
                                                           available to
                                                                     to

 users
 users is
       is content
          content moderation. As noted
                  moderation. As noted above,
                                       above, II oversee
                                                 oversee the
                                                         the TikTok
                                                             TikTok Trust
                                                                    Trust

 &
 & Safety
   Safety team,
          team, which
                which is
                      is responsible
                         responsible for
                                     for content
                                         content moderation
                                                 moderation globally.
                                                            globally.

 This year, we
 This year, we anticipate spending more
               anticipate spending      than $2
                                   more than    billion on
                                              2 billion on Trust
                                                           Trust &
                                                                 &

 Safety
 Safety globally,
        globally, and
                  and the
                      the TikTok
                          TikTok Trust
                                 Trust &
                                       & Safety
                                         Safety team
                                                team II oversee
                                                        oversee includes
                                                                includes

 more than 40,000
 more than 40,000 employees
                  employees and
                            and contractors
                                contractors worldwide.
                                            worldwide.

       23.
       23.   Consistent
             Consistent with our guiding
                        with our guiding principle to enable
                                         principle to enable free
                                                             free

 expression
 expression while
            while preventing
                  preventing harm, the goal
                             harm, the goal of
                                            of content
                                               content moderation
                                                       moderation is to
                                                                  is to

 create
 create a
        a welcoming
          welcoming and safe experience
                    and safe experience for our users.
                                        for our users. The
                                                       The content
                                                           content

 moderation
 moderation process
            process applies to all
                    applies to all content
                                   content available on the
                                           available on the platform,
                                                            platform,

 whether
 whether viewed on the
         viewed on the For You feed
                       For You      or discovered
                               feed or discovered via searching.
                                                  via searching.

       24.
       24.   Our
             Our approach to content
                 approach to content moderation
                                     moderation is built on
                                                is built on the
                                                            the

 foundation of our
 foundation of our Community
                   Community Guidelines,
                             Guidelines, a
                                         a publicly
                                           publicly available
                                                    available collection
                                                              collection

 of rules
 of rules and standards that
          and standards that apply to all
                             apply to all TikTok
                                          TikTok users
                                                 users and content. 3 The
                                                       and content.3  The




 3 Community
 3           Guidelines, TikTok
   Community Guidelines, TikTok (last
                                (last updated April 17,
                                      updated April 17, 2024),
                                                        2024),
 https://www.tiktok.com/community-guidelines?lang=en.
 https://www.tiktok.com/community-guidelines?lang=en.

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                                     13
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 team
 team that
      that writes
           writes the
                  the Community
                      Community Guidelines
                                Guidelines reports
                                           reports to
                                                   to me,
                                                      me, and
                                                          and II

 ultimately
 ultimately approve
            approve the
                    the Community
                        Community Guidelines before they
                                  Guidelines before they are
                                                         are

 published
 published on
           on the
              the platform
                  platform and our website.
                           and our website. The
                                            The Community
                                                Community Guidelines
                                                          Guidelines

 were
 were created
      created and
              and are
                  are continually
                      continually refined
                                  refined in
                                          in consultation
                                             consultation with
                                                          with third-
                                                               third-

 party
 party experts,
       experts, including our U.S.
                including our U.S. Content Advisory Council.
                                   Content Advisory Council. The
                                                             The

 Content Advisory Council
 Content Advisory         brings together
                  Council brings together groups
                                          groups of American
                                                 of American

 independent
 independent experts
             experts who
                     who help
                         help us
                              us develop
                                 develop forward-looking
                                         forward-looking policies
                                                         policies and
                                                                  and

 processes
 processes to
           to help
              help create
                   create a safe platform
                          a safe platform for
                                          for everyone.
                                              everyone. They
                                                        They work
                                                             work with
                                                                  with us
                                                                       us

 to
 to inform
    inform and strengthen our
           and strengthen our policies,
                              policies, product
                                        product features,
                                                features, and safety
                                                          and safety

 processes.
 processes.

       25.
       25.    The
              The Community
                  Community Guidelines
                            Guidelines include
                                       include rules
                                               rules for
                                                     for what
                                                         what is
                                                              is allowed
                                                                 allowed

 on
 on TikTok,
    TikTok, as
            as well
               well as standards for
                    as standards for what
                                     what content
                                          content is
                                                  is eligible
                                                     eligible for
                                                              for

 recommendation
 recommendation to
                to users
                   users in the For
                         in the     You feed.
                                For You       Among other
                                        feed. Among other things,
                                                          things, the
                                                                  the

 Community
 Community Guidelines
           Guidelines prohibit
                      prohibit nudity;
                               nudity; promotion
                                       promotion of or incitement
                                                 of or incitement to
                                                                  to

 violence;
 violence; promotion
           promotion of
                     of criminal
                        criminal activities
                                 activities that
                                            that may
                                                 may harm
                                                     harm people,
                                                          people,

 animals, or property;
 animals, or property; hate speech, hateful
                       hate speech, hateful ideology,
                                            ideology, and
                                                      and hateful
                                                          hateful

 behaviors; promotion
 behaviors; promotion of
                      of violent or hateful
                         violent or hateful political organizations;
                                            political organizations;

 animal
 animal abuse;
        abuse; and
               and harassment
                   harassment and bullying. Of
                              and bullying. Of course, on a
                                               course, on a platform
                                                            platform as
                                                                     as

 large
 large as ours, it
       as ours, it is
                   is natural
                      natural for
                              for people
                                  people to
                                         to have
                                            have different opinions, and
                                                 different opinions, and we
                                                                         we


                                     14
                                     14
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 welcome
 welcome that, but we
         that, but we do
                      do not
                         not allow
                             allow influence operations, where
                                   influence operations, where networks
                                                               networks

 of
 of accounts
    accounts work
             work together
                  together to
                           to mislead
                              mislead people or our
                                      people or our systems
                                                    systems and try to
                                                            and try to

 strategically influence
 strategically influence public
                         public discussion.
                                discussion. The
                                            The Community
                                                Community Guidelines
                                                          Guidelines

 also outline our
 also outline our policies
                  policies for
                           for dealing
                               dealing with
                                       with misinformation. And we
                                            misinformation. And we also
                                                                   also

 have
 have a
      a publicly
        publicly disclosed
                 disclosed policy
                           policy regarding
                                  regarding State-Affiliated Media.
                                            State-Affiliated Media.

       26.
       26.   We
             We proactively
                proactively enforce our Community
                            enforce our Community Guidelines through a
                                                  Guidelines through a

 mix
 mix of
     of technology-based
        technology-based and
                         and human
                             human moderation.
                                   moderation. Every
                                               Every video
                                                     video uploaded
                                                           uploaded

 to
 to TikTok
    TikTok goes through automated
           goes through automated moderation before it
                                  moderation before it appears on the
                                                       appears on the

 platform so that
 platform so that content
                  content flagged
                          flagged as
                                  as potentially
                                     potentially violative
                                                 violative can be
                                                           can be

 automatically
 automatically removed or escalated
               removed or escalated for
                                    for human
                                        human review by trained
                                              review by trained

 moderators. More than
 moderators. More than 75%
                       75% of
                           of all
                              all videos
                                  videos removed
                                         removed for
                                                 for violating the
                                                     violating the

 Community
 Community Guidelines
           Guidelines are
                      are never
                          never viewed by a
                                viewed by   single user.
                                          a single user. We
                                                         We also
                                                            also

 encourage
 encourage users
           users to take advantage
                 to take advantage of
                                   of various
                                      various tools
                                              tools provided through the
                                                    provided through the

 app or on
 app or on the
           the website
               website to
                       to report
                          report content that they
                                 content that they believe
                                                   believe violates the
                                                           violates the

 Community
 Community Guidelines.
           Guidelines. If
                       If we
                          we identify
                             identify violative
                                      violative content—on our own
                                                content—on our own or
                                                                   or

 through our
 through our users—we
             users—we remove such content
                      remove such content from the platform.
                                          from the platform. The
                                                             The

 team responsible
 team responsible for
                  for enforcing the Community
                      enforcing the Community Guidelines
                                              Guidelines globally
                                                         globally also
                                                                  also

 reports to me.
 reports to me. This team is
                This team is governed by strict
                             governed by strict company-wide
                                                company-wide policies
                                                             policies

 intended to ensure
 intended to        that content
             ensure that content is
                                 is moderated
                                    moderated in
                                              in accordance
                                                 accordance with our
                                                            with our


                                    15
                                    15
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 Community Guidelines, and we enforce these policies with measures to

 track and audit moderation decisions.

       27.   In total, over 176 million videos were removed from TikTok

 in the period of October through December 2023 for violating the

 Community Guidelines. We publicly disclose these and other statistics

 regarding our enforcement of the Community Guidelines in our

 quarterly Community Guidelines Enforcement reports, which are

 posted on our website. 4 We also publish a report with information about

 covert influence operations we disrupt, including how they were

 detected, how many accounts we removed, how many followers the

 accounts had, and a description of the operations, including where it

 was operating from and the country that was targeted. 5 In addition to

 our transparency reports, as I mentioned above, through our Research

 Tools, qualifying researchers in the U.S. and Europe can apply to study

 public data about TikTok content and accounts, which provides

 additional transparency into the activity on our platform.


 4 Community Guidelines Enforcement Report, TikTok (published Mar.

 19, 2024), https://www.tiktok.com/transparency/en/community-
 guidelines-enforcement/.
 5 Covert Influence Operations Report, TikTok,

 https://www.tiktok.com/transparency/en/covert-influence-operations/.

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       28.
       28.   Even
             Even if
                  if content
                     content does
                             does not
                                  not violate our Community
                                      violate our Community Guidelines,
                                                            Guidelines,

 we take steps
 we take steps as
               as part
                  part of our content
                       of our content moderation
                                      moderation processes to limit
                                                 processes to limit

 access
 access to
        to content
           content that
                   that may
                        may not be suitable
                            not be suitable for
                                            for certain
                                                certain users.
                                                        users. For
                                                               For

 example,
 example, even
          even though
               though it
                      it may
                         may not
                             not violate the Guidelines,
                                 violate the Guidelines, content
                                                         content

 depicting
 depicting consumption
           consumption of
                       of excessive
                          excessive amounts
                                    amounts of
                                            of alcohol by adults
                                               alcohol by adults is
                                                                 is not
                                                                    not

 eligible
 eligible for
          for recommendation
              recommendation in
                             in the
                                the For You feed.
                                    For You       Additionally, videos
                                            feed. Additionally, videos

 that some
 that some users
           users may
                 may find
                     find to be distressing
                          to be             but that
                                distressing but that involve
                                                     involve a subject of
                                                             a subject of

 important
 important public
           public interest,
                  interest, are
                            are instead
                                instead covered by "opt-in
                                        covered by “opt-in viewing
                                                           viewing

 screens” when
 screens" when flagged.
               flagged. These opt-in screens
                        These opt-in screens warn the user
                                             warn the      that the
                                                      user that the

 video
 video may
       may contain sensitive material
           contain sensitive material and
                                      and give the user
                                          give the      the option
                                                   user the option to
                                                                   to

 either
 either view the content
        view the         or skip
                 content or skip to
                                 to the
                                    the next video.66 Such
                                        next video.   Such videos
                                                           videos are
                                                                  are also
                                                                      also

 ineligible
 ineligible for
            for recommendation
                recommendation on
                               on users’
                                  users' For You feeds.
                                         For You feeds.?7

             B.
             B. Content
                Content Recommendation
                        Recommendation

       29.
       29.   The second process
             The second process we
                                we use
                                   use to
                                       to determine
                                          determine what
                                                    what content
                                                         content to
                                                                 to

 show to
 show to users
         users is
               is content
                  content recommendation.
                          recommendation. Content
                                          Content recommendation
                                                  recommendation is
                                                                 is


 6
 6 Cormac
   Cormac Keenan,
            Keenan, Refreshing
                      Refreshing Our
                                  Our Policies
                                       Policies to
                                                to Support
                                                   Support Community
                                                           Community Well-
                                                                      Well-
 Being,
 Being, TikTok
         TikTok (Dec.
                 (Dec. 15,
                       15, 2020),
                            2020), https://newsroom.tiktok.com/en-
                                   https://newsroom.tiktok.com/en-
 us/refreshing-our-policies-to-support-community-well-being;
 us/refreshing-our-policies-to-support-community-well-being; TaraTara
 Wadhwa,
 Wadhwa, NewNew Resources    to Support
                  Resources to  Support Our
                                          Our Community’s
                                               Community's Well-Being,
                                                            Well-Being,
 TikTok
 TikTok (Sept.
          (Sept. 14,
                 14, 2021),
                     2021), https://newsroom.tiktok.com/en-us/new-
                            https://newsroom.tiktok.com/en-us/new-
 resources-to-support-well-being.
 resources-to-support-well-being.
 7 Keenan,
 7          supra n.6;
   Keenan, supra   n.6; Wadhwa,    supra n.6.
                        Wadhwa, supra     n.6.

                                     17
                                     17
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 implemented by TikTok’s
 implemented by TikTok's recommendation
                         recommendation engine,
                                        engine, a sorting and
                                                a sorting and

 ranking
 ranking mechanism
         mechanism that
                   that uses statistical modeling
                        uses statistical modeling to select videos
                                                  to select videos for
                                                                   for a
                                                                       a

 user’s
 user's For You feed.
        For You feed.

       30.
       30.   The
             The recommendation system analyzes
                 recommendation system analyzes various signals from
                                                various signals from

 the
 the user
     user and other users,
          and other        such as
                    users, such    their likes,
                                as their likes, comments,
                                                comments, and
                                                          and what
                                                              what they
                                                                   they

 watch.
 watch. The
        The recommendation
            recommendation engine
                           engine identifies
                                  identifies a
                                             a pool
                                               pool of
                                                    of candidate
                                                       candidate videos
                                                                 videos

 for
 for a
     a user, then scores
       user, then scores and
                         and ranks those videos
                             ranks those videos using
                                                using machine-learning
                                                      machine-learning

 models that seek
 models that seek to
                  to determine
                     determine which
                               which video
                                     video would be most
                                           would be most interesting to
                                                         interesting to

 the user.
 the       As II described
     user. As    described above,
                           above, certain
                                  certain content
                                          content is
                                                  is not
                                                     not eligible
                                                         eligible for
                                                                  for

 recommendation
 recommendation in the For
                in the     You feed
                       For You feed and this content
                                    and this content is
                                                     is not
                                                        not part
                                                            part of the
                                                                 of the

 candidate
 candidate pool.
           pool. To
                 To evaluate
                    evaluate whether
                             whether a
                                     a user
                                       user would
                                            would find
                                                  find a
                                                       a particular
                                                         particular

 video
 video interesting, these models
       interesting, these models assign
                                 assign different
                                        different weights
                                                  weights to
                                                          to a
                                                             a variety
                                                               variety of
                                                                       of

 factors,
 factors, including
          including user
                    user engagement or activity
                         engagement or activity information
                                                information (such
                                                            (such as
                                                                  as

 video
 video playtime,
       playtime, likes, shares, accounts
                 likes, shares, accounts followed,
                                         followed, comments,
                                                   comments, content
                                                             content

 created),
 created), account or device
           account or device information
                             information (such
                                         (such as
                                               as language
                                                  language preference,
                                                           preference,

 country setting, device
 country setting, device type),
                         type), and
                                and video
                                    video information
                                          information (such
                                                      (such as
                                                            as captions,
                                                               captions,

 sounds, hashtags).
 sounds, hashtags). The system may
                    The system may adjust the weight
                                   adjust the weight assigned to a
                                                     assigned to a

 particular
 particular parameter
            parameter if
                      if it “learns” that
                         it "learns" that it
                                          it is
                                             is more or less
                                                more or less important than
                                                             important than




                                      18
                                      18
                                 APP-816
                                 APP-816
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 other factors
 other factors in
               in determining
                  determining whether
                              whether users
                                      users are,
                                            are, or
                                                 or a
                                                    a particular
                                                      particular user
                                                                 user is,
                                                                      is,

 likely
 likely to
        to engage
           engage with
                  with a
                       a given
                         given video.
                               video.

       31.
       31.   In
             In essence, the recommendation
                essence, the recommendation engine
                                            engine functions
                                                   functions as
                                                             as a
                                                                a large
                                                                  large

 matching system, matching
 matching system, matching users
                           users with
                                 with content
                                      content they
                                              they are
                                                   are predicted
                                                       predicted to
                                                                 to

 like based on
 like based on their
               their viewing
                     viewing habits.
                             habits.

       32.
       32.   The source code
             The source code for
                             for TikTok’s
                                 TikTok's recommendation
                                          recommendation engine
                                                         engine was
                                                                was

 originally developed
 originally           by ByteDance
            developed by ByteDance engineers based in
                                   engineers based in China
                                                      China and
                                                            and is
                                                                is

 continually
 continually developed by the
             developed by the TikTok
                              TikTok Global
                                     Global Engineering
                                            Engineering Team.
                                                        Team. The
                                                              The

 recommendation
 recommendation engine
                engine is
                       is customized
                          customized for
                                     for TikTok’s
                                         TikTok's various
                                                  various global
                                                          global

 markets,
 markets, including
          including in the United
                    in the United States,
                                  States, and that customization
                                          and that customization is
                                                                 is

 subject to
 subject to special
            special vetting
                    vetting in the United
                            in the United States.
                                          States. In
                                                  In addition to those
                                                     addition to those

 protections,
 protections, which
              which II describe below, as
                       describe below, as with other source
                                          with other source code,
                                                            code, we
                                                                  we have
                                                                     have

 technical measures
 technical measures in
                    in place
                       place intended to ensure
                             intended to        that only
                                         ensure that only employees
                                                          employees

 with
 with appropriate
      appropriate access
                  access controls
                         controls are
                                  are able to update
                                      able to        the recommendation
                                              update the recommendation

 engine,
 engine, and those updates
         and those updates are
                           are also
                               also auditable.
                                    auditable.

             C. Video Promotion
             C. Video Promotion and
                                and Filtering
                                    Filtering
       33.
       33.   Video promotion
             Video promotion and
                             and filtering
                                 filtering is
                                           is the
                                              the third
                                                  third process
                                                        process

 determining
 determining what
             what content
                  content is shown to
                          is shown to users,
                                      users, and
                                             and is similarly intended
                                                 is similarly intended

 to
 to ensure that users
    ensure that users have
                      have a
                           a positive
                             positive experience
                                      experience with
                                                 with content
                                                      content they
                                                              they enjoy.
                                                                   enjoy.



                                       19
                                       19
                                APP-817
                                APP-817
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 We
 We may
    may promote specific content
        promote specific content (e.g.,
                                 (e.g., highlights
                                        highlights from the Super
                                                   from the Super Bowl,
                                                                  Bowl,

 or
 or videos
    videos from
           from a
                a Beyoncé
                  Beyonce concert)
                          concert) in
                                   in line
                                      line with
                                           with company
                                                company content
                                                        content policies,
                                                                policies,

 including
 including to support the
           to support the inclusion
                          inclusion of
                                    of diverse
                                       diverse and
                                               and high-quality
                                                   high-quality content
                                                                content on
                                                                        on

 the
 the platform.
     platform.

       34.
       34.   Our
             Our internal
                 internal policies strictly limit
                          policies strictly limit which
                                                  which employees
                                                        employees can
                                                                  can

 request
 request promotion
         promotion of
                   of content.
                      content. Each
                               Each request
                                    request to
                                            to promote
                                               promote a
                                                       a video
                                                         video is
                                                               is

 manually
 manually reviewed
          reviewed and
                   and either
                       either approved or rejected
                              approved or          based on
                                          rejected based on an
                                                            an

 assessment
 assessment of
            of whether
               whether it
                       it follows the platform’s
                          follows the platform's content
                                                 content policies,
                                                         policies,

 including
 including to support content
           to support content diversity
                              diversity and
                                        and quality
                                            quality (for
                                                    (for example, being
                                                         example, being

 engaging
 engaging and
          and meaningful
              meaningful and
                         and focusing on timely/relevant
                             focusing on timely/relevant content)
                                                         content) and
                                                                  and

 business objectives.
 business objectives. Each
                      Each video that is
                           video that is promoted
                                         promoted is
                                                  is reviewed
                                                     reviewed at
                                                              at least
                                                                 least

 once by
 once by a
         a human
           human reviewer,
                 reviewer, and these teams
                           and these teams are
                                           are regionalized, so all
                                               regionalized, so all

 videos
 videos promoted
        promoted in the U.S.
                 in the U.S. are
                             are reviewed by a
                                 reviewed by   U.S.-based reviewer.
                                             a U.S.-based reviewer. Our
                                                                    Our

 global security teams
 global security teams also
                       also audit
                            audit promotion
                                  promotion requests to ensure
                                            requests to        that they
                                                        ensure that they

 are
 are consistent
     consistent with our policies.
                with our policies. Promotion
                                   Promotion currently
                                             currently impacts
                                                       impacts less than
                                                               less than

 1% of video
 1% of video views
             views in the United
                   in the United States.
                                 States.

       35.
       35.   Just
             Just as
                  as we
                     we promote certain specific
                        promote certain specific content to improve
                                                 content to         the
                                                            improve the

 user
 user experience,
      experience, we
                  we also
                     also apply
                          apply a set of
                                a set of rules to filter
                                         rules to        out and
                                                  filter out and disperse
                                                                 disperse

 certain content,
 certain content, i.e.,
                  i.e., not show one
                        not show one video
                                     video after
                                           after another
                                                 another about the same
                                                         about the same


                                     20
                                     20
                                APP-818
                                APP-818
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 subject, in
 subject, in users’
             users' For You feeds.
                    For You feeds. The
                                   The objective
                                       objective of
                                                 of filtering
                                                    filtering content
                                                              content is
                                                                      is to
                                                                         to

 make
 make the
      the platform safer and
          platform safer and more
                             more enjoyable
                                  enjoyable for our users
                                            for our users and
                                                          and to
                                                              to

 support commercial
 support commercial and
                    and product
                        product goals such as
                                goals such as prioritizing
                                              prioritizing content
                                                           content from
                                                                   from

 the same country,
 the same country, avoiding
                   avoiding duplication,
                            duplication, and
                                         and ensuring
                                             ensuring appropriate
                                                      appropriate video
                                                                  video

 length.
 length. For
         For example,
             example, we
                      we filter out from
                         filter out from users’
                                         users' For You feed
                                                For You feed content that
                                                             content that

 is
 is predicted
    predicted to be low
              to be low quality
                        quality (e.g.,
                                (e.g., extremely short videos).
                                       extremely short videos). We
                                                                We also
                                                                   also

 disperse
 disperse content
          content to
                  to try
                     try to
                         to ensure sufficient diversity
                            ensure sufficient diversity of
                                                        of content
                                                           content in
                                                                   in a
                                                                      a

 user’s
 user's For You feed.
        For You feed.

       36.
       36.   We
             We also
                also attempt
                     attempt to
                             to identify
                                identify and
                                         and disperse
                                             disperse content that,
                                                      content that,

 viewed sparingly, is
 viewed sparingly, is not
                      not harmful, but viewed
                          harmful, but viewed repeatedly
                                              repeatedly could be
                                                         could be

 problematic, such as
 problematic, such as content
                      content about
                              about exercise,
                                    exercise, dieting, or mental
                                              dieting, or mental health.
                                                                 health.

 These
 These videos
       videos may be eligible
              may be eligible for
                              for the
                                  the For You feed,
                                      For You       but, to
                                              feed, but, to protect our
                                                            protect our

 community,
 community, we
            we work
               work to
                    to interrupt
                       interrupt repetitive
                                 repetitive patterns
                                            patterns to
                                                     to ensure
                                                        ensure they
                                                               they are
                                                                    are

 not
 not viewed
     viewed too
            too often.
                often.

 IV.
 IV.   TikTok’s
       TikTok's Efforts
                 Efforts to Safeguard U.S.
                         to Safeguard U.S. User
                                           User Data
                                                Data and
                                                     and the
                                                         the
       Integrity
       Integrity of the Platform
                 of the          Against Foreign
                        Platform Against         Government
                                         Foreign Government
       Influence.
       Influence.
       37.
       37.   TikTok
             TikTok has
                    has undertaken
                        undertaken unprecedented
                                   unprecedented efforts
                                                 efforts to safeguard
                                                         to safeguard

 U.S. user
 U.S. user data
           data and
                and protect
                    protect the
                            the integrity
                                integrity of
                                          of the
                                             the platform
                                                 platform against
                                                          against foreign
                                                                  foreign

 government
 government influence.
            influence.



                                      21
                                      21
                                 APP-819
                                 APP-819
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       38.
       38.   Like other platforms,
             Like other platforms, TikTok
                                   TikTok collects
                                          collects certain
                                                   certain information
                                                           information

 from
 from users
      users in
            in accordance
               accordance with
                          with its
                               its Privacy
                                   Privacy Policy
                                           Policy and
                                                  and Terms
                                                      Terms of
                                                            of Service,
                                                               Service,

 to
 to which
    which users
          users must
                must agree
                     agree as
                           as a
                              a condition
                                condition of signing up
                                          of signing up for the app.
                                                        for the app.88

 Pursuant
 Pursuant to
          to the
             the Privacy
                 Privacy Policy,
                         Policy, TikTok
                                 TikTok collects
                                        collects users’
                                                 users' usernames,
                                                        usernames, dates
                                                                   dates

 of birth, and,
 of birth, and, depending
                depending on
                          on how
                             how they sign up
                                 they sign up for
                                              for the
                                                  the app,
                                                      app, a
                                                           a user’s
                                                             user's phone
                                                                    phone

 number
 number or
        or email address.99 Notably,
           email address.   Notably, however,
                                     however, there
                                              there are
                                                    are also several
                                                        also several

 categories
 categories of
            of data that we
               data that we do
                            do not
                               not collect. Unlike other
                                   collect. Unlike other platforms,
                                                         platforms, for
                                                                    for

 example,
 example, TikTok
          TikTok does
                 does not
                      not require
                          require its
                                  its users
                                      users to
                                            to provide
                                               provide certain
                                                       certain types
                                                               types of
                                                                     of

 personal
 personal identifying
          identifying information, such as
                      information, such as the
                                           the user’s
                                               user's real
                                                      real name,
                                                           name,

 employment
 employment information,
            information, or
                         or familial
                            familial relationships
                                     relationships or
                                                   or relationship
                                                      relationship

 status. The
 status. The current
             current version
                     version of
                             of the
                                the TikTok
                                    TikTok app
                                           app also
                                               also does
                                                    does not
                                                         not collect
                                                             collect GPS
                                                                     GPS

 information
 information from U.S. users.
             from U.S. users.

       39.
       39.   Starting in
             Starting in 2019,
                         2019, the U.S. government
                               the U.S. government expressed
                                                   expressed concerns
                                                             concerns

 that
 that the
      the Chinese
          Chinese government
                  government could obtain access
                             could obtain access to
                                                 to user
                                                    user data
                                                         data TikTok
                                                              TikTok

 collects
 collects from U.S. users,
          from U.S. users, or
                           or compel
                              compel ByteDance
                                     ByteDance to
                                               to manipulate
                                                  manipulate the
                                                             the TikTok
                                                                 TikTok



 8
 8         Policy, TikTok
   Privacy Policy,
   Privacy         TikTok (last
                            (last updated March 28,
                                  updated March 28, 2024),
                                                    2024),
 https://www.tiktok.com/legal/page/us/privacy-policy/en;   see also
 https://www.tiktok.com/legal/page/us/privacy-policy/en; see   also Terms
                                                                    Terms
 of Service, TikTok
 of Service, TikTok (last
                     (last updated
                           updated November
                                    November 2023),
                                              2023),
 https://www.tiktok.com/legal/page/us/terms-of-service/en.
 https://www.tiktok.com/legal/page/us/terms-of-service/en.
 9         Policy, TikTok
   Privacy Policy,
 9 Privacy         TikTok (last
                            (last updated March 28,
                                  updated March 28, 2024),
                                                    2024),
 https://www.tiktok.com/legal/page/us/privacy-policy/en.
 https://www.tiktok.com/legal/page/us/privacy-policy/en.

                                     22
                                     22
                                APP-820
                                APP-820
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 platform
 platform to
          to promote
             promote the
                     the Chinese
                         Chinese government’s
                                 government's agenda
                                              agenda in
                                                     in the United
                                                        the United

 States.
 States. We
         We disagree
            disagree that
                     that these
                          these concerns
                                concerns are
                                         are well-founded, but made
                                             well-founded, but made a
                                                                    a

 voluntary
 voluntary decision
           decision to
                    to engage
                       engage for several years
                              for several years with
                                                with the
                                                     the Committee on
                                                         Committee on

 Foreign
 Foreign Investment
         Investment in
                    in the United States
                       the United States on
                                         on how
                                            how to
                                                to address
                                                   address those
                                                           those

 concerns.
 concerns. Following
           Following extensive
                     extensive engagement
                               engagement and
                                          and the
                                              the incorporation
                                                  incorporation of
                                                                of

 significant U.S.
 significant U.S. government
                  government feedback,
                             feedback, that
                                       that process
                                            process culminated
                                                    culminated in
                                                               in a
                                                                  a 90-
                                                                    90-

 page
 page draft
      draft National
            National Security Agreement, the
                     Security Agreement, the latest
                                             latest draft
                                                    draft of
                                                          of which
                                                             which we
                                                                   we

 provided
 provided to
          to the
             the government
                 government on August 23,
                            on August 23, 2022.
                                          2022.

       40.
       40.   The
             The full
                 full range
                      range of
                            of commitments
                               commitments is
                                           is described
                                              described in
                                                        in the
                                                           the draft
                                                               draft

 National
 National Security Agreement, but
          Security Agreement, but in summary it
                                  in summary it contains several layers
                                                contains several layers

 of
 of protections
    protections that
                that would
                     would enable
                           enable the U.S. government
                                  the U.S. government to
                                                      to validate
                                                         validate the
                                                                  the

 security of
 security    U.S. user
          of U.S. user data
                       data and
                            and confirm that the
                                confirm that the platform
                                                 platform is
                                                          is free
                                                             free from
                                                                  from

 improper
 improper influence by any
          influence by any foreign
                           foreign government.
                                   government. To our knowledge,
                                               To our knowledge, no
                                                                 no

 other online
 other online platform
              platform provides
                       provides these
                                these kinds
                                      kinds of
                                            of protections,
                                               protections, which
                                                            which even
                                                                  even

 include
 include a “shut-down option”
         a "shut-down option" that
                              that would
                                   would give
                                         give the
                                              the government
                                                  government the
                                                             the

 authority
 authority to suspend TikTok
           to suspend TikTok in
                             in the United States
                                the United States if
                                                  if we
                                                     we violate
                                                        violate certain
                                                                certain

 obligations
 obligations under
             under the
                   the agreement.
                       agreement. These
                                  These protections
                                        protections are
                                                    are in
                                                        in addition
                                                           addition to
                                                                    to

 our
 our existing
     existing policy,
              policy, technical,
                      technical, and
                                 and transparency safeguards
                                     transparency safeguards




                                    23
                                    23
                                APP-821
                                APP-821
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 implemented
 implemented on
             on a
                a global basis to
                  global basis    safeguard TikTok
                               to safeguard TikTok user
                                                   user data
                                                        data and
                                                             and

 protect the integrity
 protect the integrity of the platform
                       of the platform against
                                       against foreign
                                               foreign interference.
                                                       interference.

       41.
       41.    Although the
              Although the draft
                           draft National
                                 National Security Agreement was
                                          Security Agreement was never
                                                                 never

 signed, we
 signed, we have
            have voluntarily begun implementing
                 voluntarily begun implementing many
                                                many measures that
                                                     measures that

 do
 do not
    not require the U.S.
        require the U.S. government’s
                         government's cooperation.
                                      cooperation. We
                                                   We have
                                                      have invested
                                                           invested

 more than $2
 more than    billion on
            2 billion on that
                         that effort—sometimes
                              effort—sometimes referred to as
                                               referred to    “Project
                                                           as "Project

 Texas.” Among the
 Texas." Among the steps
                   steps we
                         we have taken as
                            have taken as part
                                          part of this initiative
                                               of this initiative are the
                                                                  are the

 following:
 following:

       42.
       42.    Independent
              Independent Governance.
                          Governance. We
                                      We have
                                         have created
                                              created a special purpose
                                                      a special purpose

 subsidiary of
 subsidiary of TikTok
               TikTok Inc.
                      Inc. called
                           called TikTok U.S. Data
                                  TikTok U.S. Data Security
                                                   Security Inc.
                                                            Inc.

 (“TikTok
 ("TikTok USDS”)
          USDS") to
                 to control
                    control access
                            access to
                                   to protected U.S. user
                                      protected U.S. user data
                                                          data (as
                                                               (as

 defined
 defined in our draft
         in our draft National
                      National Security Agreement) and
                               Security Agreement) and monitor
                                                       monitor the
                                                               the

 security of
 security of the
             the platform.
                 platform. The
                           The TikTok USDS team
                               TikTok USDS team is
                                                is currently
                                                   currently led by
                                                             led by

 Interim
 Interim General Manager Andy
         General Manager Andy Bonillo
                              Bonillo and
                                      and Interim
                                          Interim Security
                                                  Security Officer
                                                           Officer

 Will
 Will Farrell, both of
      Farrell, both of whom
                       whom are U.S. citizens
                            are U.S. citizens with significant experience
                                              with significant experience

 working
 working with
         with the U.S. government
              the U.S. government on
                                  on national security and
                                     national security and

 cybersecurity
 cybersecurity matters. All TikTok
               matters. All        USDS employees,
                            TikTok USDS employees, of
                                                   of which
                                                      which there
                                                            there are
                                                                  are

 now
 now over
     over 2,000,
          2,000, report
                 report to Mr. Bonillo
                        to Mr. Bonillo and Mr. Farrell.
                                       and Mr. Farrell. TikTok
                                                        TikTok USDS
                                                               USDS




                                     24
                                     24
                                APP-822
                                APP-822
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 employees
 employees work
           work in
                in offices
                   offices that
                           that are
                                are physically separate from
                                    physically separate from that
                                                             that of
                                                                  of

 other TikTok
 other TikTok or
              or ByteDance
                 ByteDance personnel. 10
                           personnel.'°

       43.
       43.   Data
             Data Protection
                  Protection and Access Controls.
                             and Access Controls. We
                                                  We have
                                                     have partnered
                                                          partnered

 with
 with Oracle
      Oracle Corporation
             Corporation on
                         on the
                            the migration
                                migration of
                                          of the U.S. platform
                                             the U.S. platform and
                                                               and

 protected U.S. user
 protected U.S. user data
                     data to
                          to Oracle’s
                             Oracle's cloud
                                      cloud environment.
                                            environment. Every
                                                         Every U.S.
                                                               U.S. user
                                                                    user

 now
 now interacts
     interacts with
               with a
                    a version
                      version of
                              of TikTok
                                 TikTok that
                                        that is
                                             is run
                                                run in
                                                    in the
                                                       the Oracle
                                                           Oracle

 environment,
 environment, and
              and we
                  we have
                     have taken steps to
                          taken steps    store protected
                                      to store           U.S. user
                                               protected U.S. user data
                                                                   data

 there. Access to
 there. Access to the
                  the Oracle
                      Oracle environment
                             environment is
                                         is limited
                                            limited to
                                                    to only
                                                       only TikTok
                                                            TikTok USDS
                                                                   USDS

 personnel,
 personnel, unless
            unless authorization
                   authorization is
                                 is given by TikTok
                                    given by TikTok USDS
                                                    USDS pursuant
                                                         pursuant to
                                                                  to

 limited
 limited exceptions, such as
         exceptions, such as for
                             for legal
                                 legal and
                                       and compliance
                                           compliance purposes.
                                                      purposes.

       44.
       44.   Software Assurance. TikTok
             Software Assurance.        USDS and
                                 TikTok USDS and Oracle
                                                 Oracle review
                                                        review

 updates
 updates to
         to the U.S. TikTok
            the U.S. TikTok app
                            app developed by employees
                                developed by employees outside
                                                       outside TikTok
                                                               TikTok

 USDS, and
 USDS, and all software updates
           all software updates are
                                are deployed,
                                    deployed, i.e.,
                                              i.e., implemented
                                                    implemented on
                                                                on the
                                                                   the

 U.S. TikTok
 U.S. TikTok platform, by TikTok
             platform, by        USDS personnel.
                          TikTok USDS personnel. TikTok USDS also
                                                 TikTok USDS also

 reviews
 reviews changes
         changes to
                 to the
                    the platform
                        platform code base, and
                                 code base, and Oracle
                                                Oracle has
                                                       has full
                                                           full access
                                                                access to
                                                                       to


 10 The
 10 The draft
        draft National
              National Security  Agreement requires
                        Security Agreement   requires TikTok   USDS to
                                                       TikTok USDS       be
                                                                      to be
 governed  by an
 governed by  an independent   board with
                  independent board   with Security
                                           Security Directors
                                                     Directors whose
                                                                whose
 appointment
 appointment would    be subject
               would be  subject to
                                 to the U.S. government’s
                                    the U.S. government's approval
                                                            approval and
                                                                      and
 would
 would exclude
        exclude ByteDance
                 ByteDance and
                             and its subsidiaries and
                                 its subsidiaries and affiliates
                                                      affiliates from
                                                                 from any
                                                                      any
 oversight of
 oversight of TikTok  USDS. TikTok
              TikTok USDS.            USDS has
                              TikTok USDS    has provided
                                                  provided nominees
                                                            nominees for
                                                                      for
 these
 these directors
       directors to
                 to the U.S. government,
                    the U.S.               but the
                             government, but   the government
                                                   government hashas not yet
                                                                     not yet
 approved
 approved them.
           them.

                                     25
                                     25
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 review
 review the
        the entire source code,
            entire source code, including
                                including any
                                          any updates,
                                              updates, in
                                                       in dedicated
                                                          dedicated

 transparency
 transparency centers
              centers located
                      located in
                              in Columbia, Maryland; Denver,
                                 Columbia, Maryland; Denver, Colorado;
                                                             Colorado;

 the United Kingdom;
 the United Kingdom; and Australia.
                     and Australia.

       45.
       45.   Content Assurance. TikTok’s
             Content Assurance.          U.S. recommendation
                                TikTok's U.S. recommendation engine
                                                             engine is
                                                                    is

 stored in
 stored in the
           the Oracle
               Oracle cloud.
                      cloud. TikTok USDS now
                             TikTok USDS now deploys
                                             deploys the
                                                     the

 recommendation
 recommendation engine
                engine in
                       in the United States,
                          the United States, and
                                             and as
                                                 as noted
                                                    noted above,
                                                          above,

 Oracle
 Oracle has
        has full
            full access
                 access to
                        to review
                           review the
                                  the entire
                                      entire TikTok
                                             TikTok platform source code,
                                                    platform source code,

 which
 which includes
       includes the
                the algorithm
                    algorithm for
                              for the
                                  the recommendation
                                      recommendation engine.
                                                     engine. TikTok
                                                             TikTok

 USDS also
 USDS also reviews
           reviews and
                   and approves
                       approves content
                                content promotion
                                        promotion requests
                                                  requests to
                                                           to help
                                                              help

 ensure
 ensure that
        that content
             content promotion
                     promotion on
                               on the U.S. TikTok
                                  the U.S. TikTok platform
                                                  platform is
                                                           is conducted
                                                              conducted

 consistently
 consistently with
              with our
                   our policies
                       policies and
                                and is
                                    is free
                                       free of
                                            of foreign-government
                                               foreign-government

 interference.
 interference.

  V.
  V.   The
       The Prohibitions
           Prohibitions in  the Act
                         in the Act Will
                                    Will Lead to TikTok
                                         Lead to TikTok Being
                                                        Being
       Inoperable
       Inoperable in the United
                  in the         States.
                          United States.

       46.
       46.   As II understand
             As    understand it, the Act
                              it, the Act contains
                                          contains two
                                                   two types
                                                       types of
                                                             of

 prohibitions.
 prohibitions. First,
               First, it
                      it prohibits “services to
                         prohibits "services to distribute,
                                                distribute, maintain,
                                                            maintain, or
                                                                      or

 update” the TikTok
 update" the TikTok platform
                    platform in the United
                             in the United States
                                           States "by
                                                  “by means
                                                      means of
                                                            of a
                                                               a

 marketplace
 marketplace (including
             (including an online mobile
                        an online mobile application store).” Second,
                                         application store)." Second, it
                                                                      it

 prohibits “internet hosting
 prohibits "internet         services to
                     hosting services to enable
                                         enable the
                                                the distribution,
                                                    distribution,

 maintenance, or updating
 maintenance, or          of” the
                 updating of  the TikTok
                                  TikTok platform.
                                         platform. Together, these
                                                   Together, these

                                      26
                                      26
                                 APP-824
                                 APP-824
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 prohibitions
 prohibitions would
              would render
                    render the
                           the TikTok
                               TikTok platform
                                      platform inoperable
                                               inoperable in
                                                          in the United
                                                             the United

 States.
 States.

       47.
       47.   With
             With respect
                  respect to
                          to the
                             the first
                                 first prohibition,
                                       prohibition, removing
                                                    removing the
                                                             the app
                                                                 app from
                                                                     from

 U.S. app
 U.S.     stores will
      app stores will halt
                      halt the
                           the influx
                               influx of
                                      of any
                                         any new U.S. users,
                                             new U.S. users, immediately
                                                             immediately

 foreclosing
 foreclosing millions
             millions of Americans who
                      of Americans who have
                                       have not yet downloaded
                                            not yet            the app
                                                    downloaded the app

 from
 from joining
      joining TikTok.
              TikTok.

       48.
       48.   Even
             Even those
                  those users
                        users and
                              and creators
                                  creators who
                                           who choose to stay
                                               choose to stay on
                                                              on the
                                                                 the

 platform
 platform would be affected
          would be          by the
                   affected by the removal
                                   removal of the TikTok
                                           of the TikTok app
                                                         app from
                                                             from app
                                                                  app

 stores. We
 stores. We also
            also regularly
                 regularly update the software
                           update the software for the TikTok
                                               for the TikTok app,
                                                              app, and
                                                                   and

 consumers
 consumers receive those updates
           receive those updates via
                                 via app store downloads.
                                     app store downloads. This
                                                          This

 prohibition
 prohibition would
             would accordingly
                   accordingly prevent
                               prevent users
                                       users from
                                             from downloading
                                                  downloading updates
                                                              updates

 to the
 to the app,
        app, including security fixes.
             including security fixes. The
                                       The inability to download
                                           inability to download updates
                                                                 updates

 would
 would eventually
       eventually render the app
                  render the app incompatible
                                 incompatible with
                                              with the
                                                   the TikTok
                                                       TikTok platform
                                                              platform

 and therefore inoperable.
 and therefore inoperable.

       49.
       49.   The second prohibition,
             The second              on the
                        prohibition, on the provision of internet
                                            provision of internet hosting
                                                                  hosting

 services, would
 services, would likewise
                 likewise prevent
                          prevent us
                                  us and our commercial
                                     and our commercial partners
                                                        partners from
                                                                 from

 providing the services
 providing the services that
                        that enable the TikTok
                             enable the TikTok platform to function,
                                               platform to function,

 effectively shutting down
 effectively shutting down TikTok
                           TikTok in the United
                                  in the United States.
                                                States. For
                                                        For example,
                                                            example,

 internet service providers
 internet service providers may stop routing
                            may stop         traffic to
                                     routing traffic to TikTok.com;
                                                        TikTok.com; data
                                                                    data


                                     27
                                     27
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 centers
 centers may
         may not
             not renew
                 renew contracts because it
                       contracts because it would be unclear
                                            would be unclear if
                                                             if they
                                                                they

 would be allowed
 would be allowed to
                  to host
                     host TikTok
                          TikTok code,
                                 code, content, or data;
                                       content, or data; and
                                                         and content
                                                             content

 delivery
 delivery networks
          networks (“CDNs”) that are
                   ("CDNs") that     spread throughout
                                 are spread throughout the
                                                       the country
                                                           country

 may
 may also be covered.
     also be covered. The
                      The termination
                          termination of
                                      of these services would
                                         these services would cripple the
                                                              cripple the

 platform
 platform in
          in the United States
             the United States and
                               and make
                                   make it
                                        it totally
                                           totally unusable.
                                                   unusable.

       50.
       50.   Even
             Even a
                  a temporary
                    temporary implementation
                              implementation of
                                             of these
                                                these prohibitions
                                                      prohibitions

 would
 would cause significant and
       cause significant and irreversible
                             irreversible harms to our
                                          harms to our business
                                                       business and our
                                                                and our

 brand. Users
 brand. Users and
              and content
                  content creators tend to
                          creators tend to develop
                                           develop lasting brand loyalty
                                                   lasting brand loyalty

 when
 when it
      it comes to social
         comes to social media
                         media and online entertainment
                               and online entertainment platforms,
                                                        platforms, and
                                                                   and

 if
 if we
    we lose these users
       lose these users and
                        and content
                            content creators to our
                                    creators to our competitors,
                                                    competitors, even on a
                                                                 even on a

 temporary basis,
 temporary basis, some
                  some are
                       are not
                           not likely to return,
                               likely to return, even
                                                 even if the prohibitions
                                                      if the prohibitions

 are
 are later
     later lifted. Accordingly, even
           lifted. Accordingly, even if the prohibitions
                                     if the prohibitions of the Act
                                                         of the Act are
                                                                    are later
                                                                        later

 lifted,
 lifted, we
         we would
            would not be able
                  not be      to make
                         able to make up
                                      up for
                                         for lost
                                             lost ground, because people
                                                  ground, because people

 who
 who would
     would have
           have downloaded
                downloaded TikTok
                           TikTok will
                                  will have
                                       have already turned to
                                            already turned to other
                                                              other

 competing
 competing platforms.
           platforms.

       51.
       51.   The
             The prohibitions
                 prohibitions also
                              also would
                                   would dramatically
                                         dramatically undercut the
                                                      undercut the

 commercial
 commercial goodwill
            goodwill associated
                     associated with
                                with TikTok
                                     TikTok and
                                            and impede our ability
                                                impede our         to
                                                           ability to

 form
 form and
      and maintain
          maintain commercial
                   commercial partnerships.
                              partnerships. By
                                            By destroying the vibrant
                                               destroying the vibrant

 TikTok
 TikTok community
        community in the U.S.,
                  in the U.S., the
                               the prohibitions
                                   prohibitions will
                                                will deal
                                                     deal a
                                                          a heavy blow
                                                            heavy blow


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                                      28
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 to our reputation
 to our reputation and
                   and attractiveness
                       attractiveness as
                                      as a
                                         a commercial
                                           commercial partner.
                                                      partner. This
                                                               This

 collapse
 collapse of
          of goodwill
             goodwill will
                      will harm
                           harm our
                                our revenues
                                    revenues from
                                             from existing
                                                  existing partnerships
                                                           partnerships

 and
 and prevent
     prevent us
             us from
                from realizing
                     realizing revenue
                               revenue from
                                       from future opportunities, as
                                            future opportunities, as

 prospective
 prospective partners
             partners forge
                      forge relationships
                            relationships with our competitors
                                          with our competitors instead.
                                                               instead. If
                                                                        If

 we
 we are
    are perceived
        perceived to be an
                  to be an unreliable
                           unreliable partner
                                      partner in
                                              in the
                                                 the marketplace,
                                                     marketplace,

 advertisers
 advertisers will build partnerships
             will build partnerships with other platforms.
                                     with other platforms.

       52.
       52.   Being banned from
             Being banned      the United
                          from the United States
                                          States will
                                                 will also
                                                      also devastate our
                                                           devastate our

 U.S. workforce,
 U.S. workforce, permanently
                 permanently harming our ability
                             harming our ability to
                                                 to recruit
                                                    recruit and
                                                            and retain
                                                                retain

 talent.
 talent. TikTok
         TikTok is
                is a
                   a technology
                     technology company,
                                company, and
                                         and we
                                             we compete
                                                compete fiercely
                                                        fiercely for the
                                                                 for the

 software engineers
 software engineers and other talent
                    and other talent we
                                     we rely
                                        rely upon to run
                                             upon to     our business.
                                                     run our business.

 These
 These candidates often have
       candidates often have multiple
                             multiple offers
                                      offers from other companies.
                                             from other companies.

 Since the Act
 Since the Act was signed into
               was signed into law, our competitors
                               law, our competitors have been
                                                    have been

 aggressively trying to
 aggressively trying to recruit our talent.
                        recruit our         As the
                                    talent. As the prohibitions
                                                   prohibitions come
                                                                come into
                                                                     into

 effect, these problems
 effect, these problems with
                        with recruitment
                             recruitment and
                                         and retention
                                             retention will be greatly
                                                       will be greatly

 magnified,
 magnified, given that the
            given that the business
                           business these
                                    these employees support would
                                          employees support       be
                                                            would be

 banned in
 banned    the United
        in the United States.
                      States.

 VI.
 VI.   Severing the
       Severing the U.S.
                    U.S. TikTok
                         TikTok Platform
                                Platform from
                                         from ByteDance
                                              ByteDance and
                                                        and the
                                                            the
       Global TikTok
       Global TikTok Platform.
                     Platform.
       53.
       53.   II understand that the
                understand that the only
                                    only way to avoid
                                         way to       those prohibitions
                                                avoid those prohibitions is
                                                                         is

 if the U.S.
 if the U.S. TikTok
             TikTok platform
                    platform is sold, leaving
                             is sold, leaving no subsequent operational
                                              no subsequent operational


                                     29
                                     29
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 relationship
 relationship with
              with the
                   the rest
                       rest of
                            of the
                               the global
                                   global TikTok
                                          TikTok platform
                                                 platform or
                                                          or the
                                                             the

 ByteDance
 ByteDance affiliate
           affiliate employees
                     employees that
                               that currently support it.
                                    currently support it.

       54.
       54.    As discussed
              As discussed above,
                           above, TikTok
                                  TikTok in
                                         in the United States
                                            the United States is
                                                              is an
                                                                 an

 integrated
 integrated part
            part of
                 of the
                    the global
                        global TikTok
                               TikTok platform.
                                      platform. The
                                                The global
                                                    global TikTok
                                                           TikTok

 business is
 business is led by a
             led by a leadership
                      leadership team based in
                                 team based in Singapore
                                               Singapore and
                                                         and the United
                                                             the United

 States. Many
 States. Many of
              of the
                 the teams that support
                     teams that support the
                                        the global
                                            global TikTok
                                                   TikTok platform,
                                                          platform,

 including
 including engineering, operations, Trust
           engineering, operations, Trust &
                                          & Safety,
                                            Safety, and
                                                    and advertising
                                                        advertising

 sales, are
 sales,     spread across
        are spread        several different
                   across several different corporate
                                            corporate entities
                                                      entities and
                                                               and

 countries.
 countries.

       55.
       55.    Because the platform
              Because the platform and the content
                                   and the content is
                                                   is global, the teams
                                                      global, the teams

 working on the
 working on the platform,
                platform, and the tools
                          and the tools they
                                        they use,
                                             use, necessarily
                                                  necessarily must be, as
                                                              must be, as

 well.
 well. For
       For example,
           example, as
                    as II mentioned
                          mentioned above,
                                    above, we
                                           we do
                                              do not
                                                 not allow
                                                     allow animal
                                                           animal abuse
                                                                  abuse

 on the
 on the platform,
        platform, and
                  and we
                      we use software tools
                         use software       to identify
                                      tools to identify content
                                                        content depicting
                                                                depicting

 animal
 animal abuse.
        abuse. It
               It is
                  is important that the
                     important that the tools
                                        tools used
                                              used to
                                                   to automatically
                                                      automatically detect
                                                                    detect

 animal
 animal abuse
        abuse are
              are effective
                  effective and
                            and consistent.
                                consistent. We
                                            We have
                                               have accordingly
                                                    accordingly

 developed
 developed and
           and refined those tools
               refined those tools at the global
                                   at the global level,
                                                 level, drawing on
                                                        drawing on

 resources
 resources from
           from multiple
                multiple functions
                         functions in
                                   in different
                                      different countries.
                                                countries.

       56.
       56.    As another
              As another example, several members
                         example, several         of my
                                          members of    senior
                                                     my senior

 leadership team are
 leadership team     based outside
                 are based outside the
                                   the United
                                       United States,
                                              States, including
                                                      including in
                                                                in


                                     30
                                     30
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 London,
 London, Dublin,
         Dublin, and
                 and Singapore,
                     Singapore, and
                                and they
                                    they are
                                         are responsible
                                             responsible for
                                                         for a
                                                             a wide
                                                               wide

 range
 range of
       of global
          global functions
                 functions on our Operations
                           on our Operations and
                                             and Trust
                                                 Trust &
                                                       & Safety
                                                         Safety teams,
                                                                teams,

 including
 including managing
           managing all
                    all content
                        content moderators
                                moderators globally,
                                           globally, overseeing
                                                     overseeing global
                                                                global

 publisher
 publisher relationships,
           relationships, working
                          working with
                                  with law
                                       law enforcement
                                           enforcement authorities
                                                       authorities

 around
 around the
        the world
            world to
                  to prevent
                     prevent crimes on the
                             crimes on the platform,
                                           platform, and
                                                     and managing
                                                         managing

 copyright
 copyright takedown
           takedown requests.
                    requests.

       57.
       57.   The
             The global
                 global TikTok
                        TikTok platform
                               platform also
                                        also relies
                                             relies on
                                                    on the support of
                                                       the support of

 employees
 employees of other ByteDance
           of other           subsidiaries for
                    ByteDance subsidiaries     some functions,
                                           for some functions, including
                                                               including

 the
 the development
     development of
                 of portions
                    portions of
                             of the
                                the computer
                                    computer code
                                             code that
                                                  that runs
                                                       runs the
                                                            the TikTok
                                                                TikTok

 platform.
 platform. These
           These integrated
                 integrated relationships
                            relationships are
                                          are consistent
                                              consistent with our
                                                         with our

 commitments
 commitments under
             under Project
                   Project Texas,
                           Texas, pursuant
                                  pursuant to
                                           to which
                                              which TikTok USDS
                                                    TikTok USDS

 and
 and Oracle
     Oracle vet
            vet updates
                updates to the U.S.
                        to the U.S. platform
                                    platform developed by engineers
                                             developed by engineers

 outside TikTok
 outside        USDS. In
         TikTok USDS.    other words,
                      In other words, Project
                                      Project Texas
                                              Texas contemplates that
                                                    contemplates that

 source code
 source      supporting the
        code supporting the TikTok
                            TikTok platform,
                                   platform, including the
                                             including the

 recommendation
 recommendation engine,
                engine, will
                        will continue
                             continue to be developed
                                      to be developed and
                                                      and maintained
                                                          maintained

 by ByteDance
 by           subsidiary employees,
    ByteDance subsidiary employees, including
                                    including in the United
                                              in the United States
                                                            States and
                                                                   and

 in
 in China,
    China, and that any
           and that     such source
                    any such source code
                                    code is
                                         is reviewed
                                            reviewed and
                                                     and vetted by
                                                         vetted by

 TikTok USDS and
 TikTok USDS and Oracle.
                 Oracle




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       58.   Given these integrated relationships, there are several

 reasons why a severance of the U.S. TikTok platform from the rest of

 the globally integrated TikTok platform and business is not feasible.

       59.   First, as I have mentioned, TikTok is a globally integrated

 online platform where content created in one place is generally

 available everywhere else. The same is true of TikTok’s competitors in

 the United States, like YouTube, Instagram, and Snapchat. For

 example, as mentioned above, in 2023, half of views of videos posted in

 the United States came from users outside the United States, and non-

 U.S. content accounted for more than a quarter of all video views in the

 United States.

       60.   Divesting the U.S. TikTok business in a way that precludes

 any further operational relationship with the rest of TikTok outside the

 United States would prevent international content from being

 seamlessly available in the U.S. market and vice versa. I understand

 that, to avoid a ban, the Act requires divestment of the U.S. TikTok

 application, without any ongoing operational relationship with non-U.S.

 TikTok or ByteDance entities, including any agreement to share user

 data. In the absence of an operational relationship, including an


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 agreement
 agreement to share content
           to share content and
                            and data
                                data with
                                     with the
                                          the entities
                                              entities that
                                                       that operate
                                                            operate the
                                                                    the

 global
 global platform,
        platform, the U.S. TikTok
                  the U.S. TikTok platform
                                  platform would become an
                                           would become    “island”
                                                        an "island"

 where Americans would
 where Americans would have
                       have an
                            an experience
                               experience isolated
                                          isolated from
                                                   from the
                                                        the rest
                                                            rest of
                                                                 of the
                                                                    the

 global
 global platform. U.S. users
        platform. U.S. users on
                             on a
                                a U.S.-only
                                  U.S.-only version
                                            version of
                                                    of TikTok
                                                       TikTok would be
                                                              would be

 unable
 unable to
        to access the content
           access the content posted by any
                              posted by any non-U.S.
                                            non-U.S. TikTok
                                                     TikTok users,
                                                            users, and
                                                                   and

 U.S. creators
 U.S. creators would be unable
               would be        to reach
                        unable to       that audience
                                  reach that audience abroad.
                                                      abroad.

       61.
       61.   Such
             Such a U.S.-only version
                  a U.S.-only         of TikTok
                              version of TikTok would be unable
                                                would be        to
                                                         unable to

 compete
 compete with
         with rival,
              rival, global
                     global platforms.
                            platforms. The
                                       The rich
                                           rich pool
                                                pool of
                                                     of global
                                                        global content on
                                                               content on

 the TikTok
 the TikTok platform
            platform helps
                     helps generate
                           generate more
                                    more users
                                         users and
                                               and more traffic, which
                                                   more traffic, which

 in turn attracts
 in turn attracts more
                  more (and
                       (and more
                            more popular)
                                 popular) creators,
                                          creators, which
                                                    which in turn
                                                          in turn

 attracts
 attracts more
          more user traffic, restarting
               user traffic,            the cycle.
                             restarting the cycle. Our
                                                   Our ability to attract
                                                       ability to attract

 advertisers
 advertisers and
             and drive
                 drive revenue
                       revenue depends on user
                               depends on user engagement. A platform
                                               engagement. A platform

 of
 of exclusively American users
    exclusively American users will be significantly
                               will be significantly less
                                                     less attractive to
                                                          attractive to

 global
 global advertisers
        advertisers and
                    and creators than a
                        creators than a rival
                                        rival platform operating on
                                              platform operating on a
                                                                    a

 global scale, leading
 global scale,         to the
               leading to the reverse of the
                              reverse of the cycle
                                             cycle II described
                                                      described above.
                                                                above.

       62.
       62.   The operational costs
             The operational costs associated
                                   associated with
                                              with running
                                                   running an online
                                                           an online

 platform
 platform for
          for user-generated
              user-generated content,
                             content, including the extensive
                                      including the extensive Trust
                                                              Trust &
                                                                    &

 Safety and
 Safety and content
            content assurance operations II have
                    assurance operations    have described
                                                 described above,
                                                           above, could
                                                                  could

 not be sustained
 not be sustained by
                  by a
                     a purely U.S.-only platform.
                       purely U.S.-only platform. For
                                                  For example,
                                                      example, II


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 mentioned
 mentioned above
           above that
                 that we
                      we will spend over
                         will spend over $2 billion on
                                          2 billion on Trust
                                                       Trust &
                                                             & Safety
                                                               Safety

 this year. A
 this year. A U.S.-only
              U.S.-only platform
                        platform would
                                 would likely
                                       likely incur
                                              incur many
                                                    many of
                                                         of the same
                                                            the same

 expenses,
 expenses, including
           including on
                     on technology
                        technology tools
                                   tools and
                                         and third-party safety experts,
                                             third-party safety experts,

 because those
 because those costs
               costs are
                     are largely
                         largely independent
                                 independent of the number
                                             of the number of
                                                           of users on
                                                              users on

 the
 the platform
     platform and
              and instead
                  instead are
                          are mainly
                              mainly fixed
                                     fixed costs
                                           costs associated
                                                 associated with
                                                            with

 continually
 continually refining
             refining and
                      and maintaining
                          maintaining a
                                      a complicated set of
                                        complicated set of technological
                                                           technological

 and
 and human systems and
     human systems and processes
                       processes for
                                 for a
                                     a large
                                       large platform
                                             platform hosting
                                                      hosting user-
                                                              user-

 generated
 generated content.
           content. But
                    But while the costs
                        while the costs for
                                        for a U.S.-only platform
                                            a U.S.-only platform would be
                                                                 would be

 on the same
 on the same scale
             scale as they are
                   as they are currently, the base
                               currently, the base of
                                                   of revenue to support
                                                      revenue to support

 them would
 them       be considerably
      would be              smaller.
               considerably smaller.

       63.
       63.   Second, setting aside
             Second, setting       these commercial
                             aside these commercial dynamics,
                                                    dynamics, divesting
                                                              divesting

 the U.S.
 the U.S. TikTok
          TikTok platform
                 platform in the manner
                          in the manner and on the
                                        and on the timeline
                                                   timeline required
                                                            required

 by the
 by the Act
        Act would
            would not be technologically
                  not be technologically feasible because it
                                         feasible because it would
                                                             would

 require the U.S.
 require the U.S. platform to be
                  platform to be severed
                                 severed from the ByteDance
                                         from the ByteDance engineers
                                                            engineers

 responsible
 responsible for
             for maintaining
                 maintaining and
                             and updating
                                 updating its
                                          its code base.
                                              code base.

       64.
       64.   The
             The code base supporting
                 code base supporting the
                                      the TikTok
                                          TikTok platform
                                                 platform includes
                                                          includes

 billions of
 billions of lines of code
             lines of      that have
                      code that      been developed
                                have been           over multiple
                                          developed over          years by
                                                         multiple years by

 a team of
 a team of thousands
           thousands of
                     of global
                        global engineers,
                               engineers, including
                                          including in
                                                    in China.
                                                       China. To
                                                              To

 complete
 complete a
          a divestiture
            divestiture required by the
                        required by the Act,
                                        Act, none of those
                                             none of those thousands
                                                           thousands of
                                                                     of


                                    34
                                    34
                                APP-832
                                APP-832
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 ByteDance
 ByteDance employees
           employees would be permitted
                     would be permitted to
                                        to continue
                                           continue to support TikTok
                                                    to support TikTok

 in
 in the United States.
    the United         Under those
               States. Under those circumstances,
                                   circumstances, there
                                                  there is
                                                        is no
                                                           no question
                                                              question

 that
 that it
      it would
         would take
               take at
                    at least several years
                       least several years for
                                           for an
                                               an entirely
                                                  entirely new set of
                                                           new set of

 engineers
 engineers to
           to gain sufficient familiarity
              gain sufficient familiarity with
                                          with the source code
                                               the source code to
                                                               to perform
                                                                  perform

 the
 the ongoing,
     ongoing, necessary
              necessary maintenance
                        maintenance and
                                    and development
                                        development activities
                                                    activities for
                                                               for the
                                                                   the

 platform.
 platform. Even
           Even then, such a
                then, such a newly-created
                             newly-created team
                                           team of
                                                of engineers
                                                   engineers would
                                                             would

 need
 need access
      access to
             to custom-made
                custom-made ByteDance software tools,
                            ByteDance software tools, which the Act
                                                      which the Act

 prohibits.
 prohibits.

       65.
       65.    As II mentioned
              As    mentioned above,
                              above, during
                                     during my time at
                                            my time at WarnerMedia
                                                       WarnerMedia and
                                                                   and

 most
 most recently
      recently at
               at TikTok,
                  TikTok, II have
                             have worked to implement
                                  worked to implement a
                                                      a variety of
                                                        variety of

 corporate
 corporate relationships
           relationships and
                         and reorganizations,
                             reorganizations, including
                                              including licensing
                                                        licensing

 agreements,
 agreements, joint
             joint ventures,
                   ventures, mergers,
                             mergers, and spin-offs. The
                                      and spin-offs. The divestiture
                                                         divestiture

 contemplated by the
 contemplated by the Act
                     Act is
                         is fundamentally
                            fundamentally different—a sale within
                                          different—a sale        one
                                                           within one

 year without
 year without any
              any possibility of follow-on
                  possibility of follow-on cooperation. Such a
                                           cooperation. Such   transaction
                                                             a transaction

 for
 for a
     a platform of TikTok’s
       platform of          size and
                   TikTok's size     scope is
                                 and scope is infeasible
                                              infeasible along the timeline
                                                         along the timeline

 dictated by the
 dictated by the Act.
                 Act.




                                       35
                                       35
                                  APP-833
                                  APP-833
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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury

   that the foregoing is true and correct to the best of my knowledge.


        Executed this day June 17, 2024.


                                                   a‘f       400 ,41
                                                     Adam Presser




                                      36




                                  APP-834
                                  APP-834
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                        CERTIFICATE
                        CERTIFICATE OF SERVICE
                                    OF SERVICE

         II hereby
            hereby certify that II electronically
                   certify that    electronically filed
                                                  filed the
                                                        the foregoing with the
                                                            foregoing with the

 Clerk of the
 Clerk of the Court
              Court for the United
                    for the United States
                                   States Court of Appeals
                                          Court of Appeals for
                                                           for the
                                                               the District
                                                                   District

 of
 of Columbia
    Columbia Circuit by using
             Circuit by       the appellate
                        using the appellate CM/ECF
                                            CM/ECF system
                                                   system on
                                                          on June
                                                             June 20,
                                                                  20,

 2024.
 2024.

         II certify
            certify that
                    that all participants in
                         all participants in the case are
                                             the case are registered
                                                          registered CM/ECF
                                                                     CM/ECF

 users
 users and
       and that service will
           that service will be
                             be accomplished by the
                                accomplished by the appellate
                                                    appellate CM/ECF
                                                              CM/ECF

 system.
 system.


                                     /s/ Alexander A.
                                     /s/ Alexander A. Berengaut
                                                      Berengaut
 June
 June 20,
      20, 2024
          2024                       Alexander A.
                                     Alexander  A. Berengaut
                                                   Berengaut
                                     C OVINGTON &
                                     COVINGTON   &B  URLING LLP
                                                   BURLING  LLP
                                     850 Tenth
                                     850  Tenth Street,
                                                Street, NW
                                                        NW
                                     Washington,
                                     Washington, DC
                                                  DC 20001
                                                      20001
                                     (202)
                                     (202) 662-600
                                           662-600
                                     aberengaut@cov.com
                                     aberengaut@cov.com

                                     Counsel for Petitioners
                                     Counsel for Petitioners TikTok Inc.
                                                             TikTok Inc.
                                     and ByteDance
                                     and ByteDance Ltd.
                                                     Ltd.
